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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

   IN RE: ZANTAC (RANITIDINE)                                      MDL NO. 2924
   PRODUCTS LIABILITY LITIGATION                                    20-MD-2924

                                                   JUDGE ROBIN L. ROSENBERG
                                      /   MAGISTRATE JUDGE BRUCE E. REINHART


       CONSOLIDATED MEDICAL MONITORING CLASS ACTION COMPLAINT
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             Pursuant to Pretrial Order (“PTO”) No. 31, and this Court’s Orders [DE 2513, 2515, 2716,

    and 2720], Plaintiffs file this Consolidated Medical Monitoring Class Action Complaint on behalf

    of themselves and all others similarly situated, against the defendants named herein

    (“Defendants”), and seek equitable relief to remedy the harms caused by Defendants’ unlawful

    design, testing, manufacture, marketing, packaging, labeling, handling, distribution, storage,

    and/or sale of over-the-counter (“OTC”) and prescription ranitidine-containing medications,

    including those sold under the brand name Zantac (collectively, “Ranitidine-Containing

    Products”). Plaintiffs’ allegations are based upon personal knowledge as to Plaintiffs’ own

    conduct, investigation of counsel based on publicly available information, and the limited

    discovery conducted to date.

                                   I.   INTRODUCTION

             Zantac is the branded name for ranitidine, a drug that was touted and sold for nearly four

    decades as a safe and effective heartburn and indigestion drug. Zantac and other Ranitidine-

    Containing Products were among the most popular heartburn drugs, used by thousands of people

    every day. Indeed, Zantac was the first-ever “blockbuster” drug to reach $1 billion in sales.

             But recent scientific studies confirmed what Defendants knew or should have known

    decades ago: ranitidine transforms over time and under natural conditions into high levels of N-

    Nitrosodimethylamine (“NDMA”), a carcinogen that is potent and dangerous. The U.S. Food and

    Drug Administration (“FDA”) recognizes NDMA as “a probable human carcinogen” 1 and the




    1
        https://www.fda.gov/news-events/press-announcements/fda-requests-removal-all-ranitidine-
        products-zantac-market.


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    World Health Organization has described it as “clearly carcinogenic.”2 Its only use is to induce

    cancerous tumors in animals as part of laboratory research and experiments; it has no medicinal

    purpose.

             In 2019, an analytical pharmacy ran tests on Zantac and discovered the link between

    ranitidine and NDMA and that ranitidine itself is unstable and can break down into NDMA,

    particularly in the environment of the stomach. On September 13, 2019, the analytical pharmacy

    filed a citizen petition asking the FDA to recall all products that contain ranitidine. In early

    October 2019, the FDA ordered testing on Zantac and other Ranitidine-Containing Products and

    specified the protocols for such testing. Within days of the FDA’s announcement, certain

    Defendants recalled Zantac and Ranitidine-Containing Products in the United States and

    internationally. On November 1, 2019, the FDA announced that its recent testing showed

    “unacceptable levels” of NDMA in Zantac and other Ranitidine-Containing Products and

    requested that all manufacturers recall Zantac and other Ranitidine-Containing Products.

    Ultimately, on April 1, 2020, the FDA called for a withdrawal of Zantac and all other Ranitidine-

    Containing Products in the United States, citing unacceptable levels of NDMA in those drugs.

             While any exposure to NDMA can be harmful, the FDA has set an allowable daily limit of

    96 nanograms (ng) of NDMA. Tests of ranitidine revealed NDMA levels as high as 304,500 ng

    per tablet, which is 3,171 times the maximum daily limit. For reference, “the typical recommended

    dose of ranitidine for therapy of peptic ulcer disease in adults is 150 mg twice daily or 300 mg




    2
         R.G. Liteplo et al., Concise International Chemical Assessment Document 38: N-
        Nitrosodimethylamine, World Health Organization (2002), https://www.who.int/ipcs/
        publications/cicad/en/cicad38.pdf.


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    once nightly for four to eight weeks, and maintenance doses of 150 mg once daily.”3 Thus,

    individuals who ingested Zantac and other Ranitidine-Containing Products have been exposed to

    staggering levels of carcinogenic NDMA.

           As these recent revelations make clear, people who ingested Zantac and/or other

    Ranitidine-Containing Products, including Plaintiffs and the Classes face a significantly increased

    risk of developing serious and potentially fatal cancers. Those cancers include serious and

    potentially fatal bladder, breast, colorectal/intestinal, esophageal, gastric, kidney, liver, lung,

    pancreatic, and prostate cancers (the “Subject Cancers”).

           Medical monitoring is a recognized cause of action or form of relief (depending on state

    law) that allows a plaintiff and class members to obtain diagnostic medical examinations that are

    funded and/or reimbursed by a defendant, when the defendant’s tortious conduct has exposed the

    plaintiff and class members to an increased risk of harm that proximately causes the need for the

    comprehensive diagnostic examinations.

           In other words, medical monitoring recognizes that plaintiffs and class members can be

    significantly harmed, notwithstanding the latent exposure of that harm. To obtain relief, plaintiffs

    generally must prove exposure to a hazardous substance at greater than background levels, caused

    by the defendant’s tortious conduct, which significantly increases the risk of contracting a serious

    latent disease.4 The proposed monitoring procedure must permit early detection, be reasonably

    necessary, and differ from routine medical treatment.5




    3
       LiverTox: Clinical and Research Information on Drug-Induced Liver Injury [Internet],
      Ranitidine, Nat’l Inst. Diabetes & Digestive & Kidney Diseases (Updated Jan. 25, 2018),
      https://www.ncbi.nlm.nih.gov/books/NBK548867/.
    4
      See, e.g., Petito v. A.H. Robins Co., Inc., 750 So. 2d 103, 106-07 (Fla. Dist. Ct. App. 1999).
    5
      Id.

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           Some states do not require a present physical injury as a condition to obtaining medical

    monitoring relief; rather, the injury is the exposure to the toxic materials and concomitant increased

    risk of harm, and/or the expensive diagnostic examinations plaintiff will incur as a result of that

    increased risk. Other states require a plaintiff to plead a physical manifestation (or present physical

    injury) of some sort, along with a significantly increased risk of harm.

           Plaintiffs and the Classes seek medical monitoring in those 14 states where present physical

    injury is not required, and where a significantly increased risk of harm (and/or related diagnostic

    examination costs) is a legally sufficient injury.

           Here, Defendants inter alia designed, manufactured, distributed, packaged, labeled,

    marketed, and/or sold Zantac and other Ranitidine-Containing Products without proper expiration

    dates and appropriate packaging; failed to ensure the proper conditions for the manufacture,

    transportation, handling, and storage of Zantac and other Ranitidine-Containing Products; and

    failed to disclose material facts regarding the safety of Zantac and other Ranitidine-Containing

    Products and the dangers and risks associated with their intended use. In doing so, Defendants

    breached their respective duties to Plaintiffs and the Classes.

           Plaintiffs and the Classes ingested Zantac and/or other Ranitidine-Containing Products that

    contained excessive and unacceptable levels of NDMA, a potent carcinogen. As a result, Plaintiffs

    and the Classes were exposed to a hazardous substance at greater than background levels and

    sustained a significantly increased risk of developing the Subject Cancers. Based on their

    increased risk, Plaintiffs and the Classes need medical monitoring that is different than routine

    medical treatment to permit early detection of the Subject Cancers, as well as treatments and/or

    medications.

           This Medical Monitoring Complaint is drafted and organized based on the Court’s recent


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    Orders. As detailed below, Plaintiffs, individually and on behalf of the Classes (comprised of

    individuals who ingested Defendants’ Zantac and/or other Ranitidine-Containing Products in

    specific identified States), seek medical monitoring as a result of their exposure to Defendants’

    Zantac and/or other Ranitidine-Containing Products under the law of the State in which each

    Plaintiff resided at the time of use.

            Plaintiffs bring separate claims against five categories of Defendants. Plaintiffs’ claims

    are organized first by Defendant group, then by Defendant, and finally by the State in which each

    respective Plaintiff used the applicable Zantac and/or other Ranitidine-Containing Products as

    follows:

            (a) Brand Prescription Manufacturer Defendant GSK, which manufactured, distributed,

                and sold prescription Brand Zantac;

            (b) Brand OTC Manufacturer Defendants GSK, BI, Pfizer, and Sanofi, which

                manufactured, distributed, and sold OTC Brand Zantac;

            (c) Generic Prescription Manufacturer Defendants Amneal, Dr. Reddy’s, Sandoz, Strides,

                and Teva, which manufactured, distributed, and sold Ranitidine-Containing Products

                as generic prescription medications;

            (d) Store-Brand Defendants CVS, Rite Aid, Walgreens, and Walmart, which are private-

                label distributors that contracted with one or more Store-Brand Manufacturer

                Defendants to manufacture Ranitidine-Containing Products sold under their respective

                store-brand names; and

            (e) Store-Brand Manufacturer Defendants Apotex, Dr. Reddy’s, Perrigo, and Strides, each

                of which contracted with one or more Store-Brand Defendants to manufacture store-

                brand Ranitidine-Containing Products.


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                           II.    JURISDICTION AND VENUE

           1.      This Court has original subject-matter jurisdiction over this action under 28 U.S.C.

    §1331 (federal question) and 18 U.S.C. §1964 (civil remedies). This Court also has subject matter

    jurisdiction over this action pursuant to 28 U.S.C. §1332, as amended by the Class Action Fairness

    Act of 2005, 28 U.S.C. §1332(d)(2), because: (a) there are at least 100 class members; (b) the

    matter in controversy exceeds $5 million, exclusive of interest and costs; and (c) at least one

    Plaintiff is a citizen of a different state than at least one Defendant. In addition, this Court has

    supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. §1367.

           2.      This Court has personal jurisdiction over Defendants under Fla. Stat. Ann. §48.193

    and 18 U.S.C. §1965(b) and (d).         This Court also has pendent personal jurisdiction over

    Defendants.

           3.      In addition and/or in the alternative, Defendants and/or their agents or alter egos

    each have significant contacts with each of the States and territories of the United States because

    they designed, manufactured, tested, marketed, labeled, packaged, handled, distributed, stored,

    and/or sold Ranitidine-Containing Products within each of the States and territories of the United

    States, and/or they derived revenue from the sale of their Ranitidine-Containing Products in each

    of the States and territories of the United States, through the purposeful direction of their activities

    to the States and territories of the United States and purposeful availment of the protections of the

    laws of the States and territories of the United States, such that personal jurisdiction would be

    proper in those States and territories under traditional notions of fair play and substantial justice.

           4.      In addition and/or in the alternative, the district to which each Plaintiff’s action may

    be remanded upon conclusion of these pretrial proceedings pursuant to 28 U.S.C. §1407(a) will

    have personal jurisdiction over the Defendants who themselves or through an agent or alter ego


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    are incorporated within that district, have a principal place of business in that district, or conduct

    a substantial amount of business in that district, such that they are essentially at home in that district

    and, thus, that personal jurisdiction would be proper in that district under traditional notions of fair

    play and substantial justice.

            5.      Venue is proper in this District under 28 U.S.C. §1391(b) because a substantial part

    of the events or omissions giving rise to Plaintiffs’ claims occurred in this District. Defendants

    designed, manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or

    sold Ranitidine-Containing Products, and otherwise conducted extensive business, within this

    District. In addition and/or in the alternative, venue is proper under 28 U.S.C. §1407(a) and the

    Conditional Transfer Orders of the Judicial Panel on Multidistrict Litigation.

                                       III.    PARTIES

    A. DEFENDANTS

            6.      Defendants are entities that designed, manufactured, marketed, distributed, labeled,

    packaged, handled, stored, and/or sold Zantac or generic Ranitidine-Containing Products.

        1. Brand Manufacturer Defendants (Prescription and OTC)

                                          GlaxoSmithKline (GSK)

            7.      Defendant GlaxoSmithKline LLC is a Delaware limited liability company with its

    principal place of business located at Five Crescent Drive, Philadelphia, Pennsylvania 19112.

    Defendant GlaxoSmithKline LLC’s sole member is Defendant GlaxoSmithKline (America) Inc.,

    a Delaware corporation with its principal place of business in that state.                    Defendant

    GlaxoSmithKline LLC is a citizen of Delaware.

            8.      Defendant GlaxoSmithKline (America) Inc. is a Delaware corporation with its

    principal place of business located at 1105 North Market Street, Suite 622, Wilmington, Delaware


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    19801. Defendant GlaxoSmithKline (America) Inc. is a citizen of Delaware.

           9.      Defendant GlaxoSmithKline plc is a public limited company formed and existing

    under the laws of the United Kingdom, having a principal place of business at 980 Great West

    Road, Brentford Middlesex XO, TW8 9GS, United Kingdom. Defendant GlaxoSmithKline plc is

    a citizen of the United Kingdom.

           10.     Defendants GlaxoSmithKline LLC and GlaxoSmithKline (America) Inc. are

    subsidiaries of Defendant GlaxoSmithKline plc.6 Collectively, all of these entities shall be referred

    to as “GSK.” Defendant GSK is a manufacturer, distributor, and seller of brand prescription and

    OTC Zantac.

                                                   Pfizer

           11.     Defendant Pfizer Inc. (“Pfizer”) is a Delaware corporation with its principal place

    of business located at 235 East 42nd Street, New York, New York 10017. Defendant Pfizer is a

    citizen of Delaware and New York. Defendant Pfizer is a manufacturer, distributor, and seller of

    brand OTC Zantac.

                                       Boehringer Ingelheim (BI)7

           12.     Defendant Boehringer Ingelheim Pharmaceuticals, Inc., is a Delaware corporation

    with its principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

    Defendant Boehringer Ingelheim Pharmaceuticals, Inc., is a citizen of Delaware and Connecticut.

           13.     Defendant Boehringer Ingelheim Corporation is a Nevada corporation with its


    6
       Pursuant to the Joint Stipulation Relating to GlaxoSmithKline PLC [DE 1470], Defendant
      GlaxoSmithKline LLC stipulated that Defendants GlaxoSmithKline plc is an affiliated company,
      and that Defendant GlaxoSmithKline LLC is the proper party for purposes of all claims asserted
      against Defendant GlaxoSmithKline plc in this litigation.
    7
      Defendant Boehringer Ingelheim also manufactured generic ranitidine under ANDA 074662, as
      well as through its former subsidiary Ben Venue Laboratories Inc. d/b/a Bedford Laboratories
      (ANDA 074764). Ben Venue Laboratories Inc. is no longer in operation.

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    principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

    Defendant Boehringer Ingelheim Corporation is a citizen of Nevada and Connecticut.

             14.     Defendant Boehringer Ingelheim USA Corporation is a Delaware corporation with

    its principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

    Defendant Boehringer Ingelheim USA Corporation is a citizen of Delaware and Connecticut.

             15.     Defendant Boehringer Ingelheim International GmbH is a limited liability

    company formed and existing under the laws of Germany, having a principal place of business at

    Binger Strasse 173, 55216 Ingelheim AM Rhein, Rheinland-Phalz, Germany. Defendant

    Boehringer Ingelheim International GmbH is a citizen of Germany.

             16.     Defendant Boehringer Ingelheim Promeco, S.A. de C.V. is a foreign corporation

    organized and existing under the laws of Mexico with its principal place of business located at

    Maiz No. 49, Barrio Xaltocan, Xochimilco, Ciudad de Mexico, 16090 Mexico. Defendant

    Boehringer Ingelheim Promeco, S.A. de C.V. is a citizen of Mexico.

             17.     Defendant Boehringer Ingelheim Pharmaceuticals, Inc. is a direct or indirect

    subsidiary of Defendants Boehringer Ingelheim Corporation and Boehringer Ingelheim USA

    Corporation, which are themselves wholly owned, directly or indirectly, by Defendant Boehringer

    Ingelheim International GmbH.8 Collectively, all of these entities and Defendant Boehringer

    Ingelheim Promeco, S.A. de C.V. shall be referred to as “Boehringer Ingelheim” or “BI.”

    Defendant BI is a manufacturer, distributor, and seller of brand OTC Zantac.



    8
         Pursuant to the Joint Stipulation Relating to Boehringer Ingelheim Defendants [DE 1478],
        Defendants Boehringer Ingelheim Pharmaceuticals, Inc. stipulated that Defendants Boehringer
        Ingelheim International GmbH and Boehringer Ingelheim Promeco, S.A. de C.V. are affiliated
        companies, and that Defendant Boehringer Ingelheim Pharmaceuticals, Inc. is the proper party
        for purposes of all claims asserted against Defendants Boehringer Ingelheim International GmbH
        and Boehringer Ingelheim Promeco, S.A. de C.V. in this litigation.

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                                                  Sanofi

           18.     Defendant Sanofi-Aventis U.S. LLC is a Delaware limited liability company with

    its principal place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807.

    Defendant Sanofi-Aventis U.S. LLC’s sole member is Defendant Sanofi U.S. Services, Inc., a

    Delaware corporation with its principal place of business in New Jersey. Defendant Sanofi-

    Aventis U.S. LLC is a citizen of Delaware and New Jersey.

           19.     Defendant Sanofi US Services Inc. is a Delaware corporation with its principal

    place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807. Defendant

    Sanofi US Services Inc. is a citizen of Delaware and New Jersey.

           20.     Defendant Sanofi SA is a corporation formed and existing under the laws of France,

    having a principal place of business at 54 Rue La Boetie, 8th Arrondissement, Paris, France 75008.

    Defendant Sanofi SA is a citizen of France.

           21.     Defendant Patheon Manufacturing Services LLC is a Delaware limited liability

    company with its principal place of business located at 5900 Martin Luther King Jr. Highway,

    Greenville, North Carolina 27834. Thermo Fisher Scientific, Inc. is the sole member of Defendant

    Patheon Manufacturing Services LLC. Thermo Fisher Scientific, Inc. is a Delaware corporation

    with its principal place of business in Massachusetts. Defendant Patheon Manufacturing Services

    LLC is a citizen of Delaware and Massachusetts.

           22.     Defendant Chattem, Inc. is a Tennessee corporation with its principal place of

    business located at 1715 West 38th Street Chattanooga, Tennessee 37409. Defendant Chattem,

    Inc. is a citizen of Tennessee. Defendant Chattem, Inc purchased ranitidine and repackaged and/or

    relabeled it under its own brand.

           23.     Defendants Sanofi-Aventis U.S. LLC and Sanofi US Services Inc., and Chattem,


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    Inc. are subsidiaries of Defendant Sanofi SA.9 Defendants Patheon Manufacturing Services LLC

    and Boehringer Ingelheim Promeco, S.A. de C.V. packaged and manufactured the finished Zantac

    product for Sanofi. Collectively, all of these entities shall be referred to as “Sanofi.” Defendant

    Sanofi is a manufacturer, distributor, and seller of brand OTC Zantac.

           24.     Defendants BI, GSK, Pfizer, and Sanofi, shall be referred to collectively as the

    “Brand Manufacturer Defendants.” At all relevant times, the Brand Manufacturer Defendants

    have conducted business and derived substantial revenue from their design, manufacture, testing,

    marketing, labeling, packaging, handling, distribution, storage, and/or sale of Zantac within each

    of the States and Territories of the United States, Puerto Rico, and the District of Columbia.10

        2. Generic Prescription Manufacturer Defendants and/or Store-Brand Manufacturer
           Defendants

                                                 Amneal

           25.     Defendant Amneal Pharmaceuticals LLC is a Delaware limited liability company

    with its principal place of business located at 400 Crossing Boulevard, Bridgewater, New Jersey

    08807. The sole member of Defendant Amneal Pharmaceuticals LLC is non-party Amneal

    Pharmaceuticals, Inc., a Delaware corporation with its principal place of business in New Jersey.

    Amneal Pharmaceuticals LLC is a citizen of Delaware and New Jersey.

           26.     Defendant Amneal Pharmaceuticals LLC registered an establishment with the

    FDA, allowing it to manufacture, repack, or relabel drug products within the United States.11



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      Pursuant to the Joint Stipulation Relating to Sanofi Defendants [DE 1450], Defendants Sanofi-
      Aventis U.S. LLC and Sanofi US Services Inc. stipulated that Defendant Sanofi SA is an
      affiliated company, and that Defendants Sanofi-Aventis U.S. LLC and Sanofi US Services Inc.
      are the proper parties for purposes of all claims asserted against Sanofi SA relief sought in this
      litigation.
    10
       All references to “States” include Puerto Rico and the District of Columbia.
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             27.   Defendant Amneal Pharmaceuticals of New York, LLC is a Delaware limited

    liability company with its principal place of business located at 50 Horseblock Road, Brookhaven,

    New York 11719.

             28.   The membership interest of Defendant Amneal Pharmaceuticals of New York, LLC

    is owned by non-party Amneal Pharmaceuticals, Inc., a Delaware corporation with its principal

    place of business located in New Jersey, through an intervening limited liability company.

    Defendant Amneal Pharmaceuticals of New York, LLC is a citizen of Delaware and New Jersey.

             29.   Defendant Amneal Pharmaceuticals of New York, LLC applied to the FDA for the

    right to manufacture and sell a generic form of ranitidine and subsequently received that approval

    as discussed herein. Defendant Amneal Pharmaceuticals of New York, LLC applied to the FDA

    for the power and privilege of listing and labeling Ranitidine-Containing Products for sale in all

    states and territories within the United States. Defendant Amneal Pharmaceuticals of New York,

    LLC registered an establishment with the FDA, allowing it to manufacture, repack, or relabel drug

    products within the United States.12

             30.   Defendants Amneal Pharmaceuticals LLC and Amneal Pharmaceuticals of New

    York, LLC are subsidiaries of non-party Amneal Pharmaceuticals, Inc. Collectively, these entities

    shall be referred to as “Amneal.”

             31.   Defendant Amneal is a manufacturer, distributor, and seller of generic prescription

    Ranitidine-Containing Products.

                                                 Apotex

             32.   Defendant Apotex Corporation is a Delaware corporation with its principal place




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    of business located at 2400 North Commerce Parkway, Suite 400, Weston, Florida 33326.

    Defendant Apotex Corporation is a citizen of Delaware and Florida.

             33.    Defendant Apotex Corporation applied to the FDA for the power and privilege of

    listing and labeling Ranitidine-Containing Products for sale in all states and territories within the

    United States. Further, Defendant Apotex Corporation is Defendant Apotex Inc.’s appointed agent

    in the United States for the very purpose of lawfully selling and distributing drugs including

    Ranitidine-Containing Products. Defendant Apotex Corporation as a regulatory agent also fulfills

    a regulatory compliance role for Defendant Apotex Inc. by regularly filing materials the FDA

    requires abbreviated new drug application (“ANDA”) holders to provide to maintain their right to

    manufacture drugs.13

             34.    Defendant Apotex Inc. is a corporation organized and existing under the laws of

    Canada with its principal place of business located at 150 Signet Drive, Toronto, Ontario, M9L

    1T9 Canada. Defendant Apotex Inc. is a citizen of Canada.

             35.    Defendant Apotex Inc. applied to the FDA for the right to manufacture and sell a

    generic form of ranitidine and subsequently received that approval as discussed herein. Further,

    Defendant Apotex Inc. registered an establishment with the FDA, allowing it to manufacture,

    repack, or relabel drug products within the United States.14

             36.    Defendant Apotex Corporation is a subsidiary of Defendant Apotex Inc.

    Collectively, these entities shall be referred to as “Apotex.”

             37.    Defendant Apotex is a contract manufacturer that contracted with one or more

    Store-Brand Defendants to manufacture store-brand Ranitidine-Containing Products.


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         Apotex Corp 00255.
    14
         Apotex Corp 00121.

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                                               Dr. Reddy’s

           38.     Defendant Dr. Reddy’s Laboratories, Inc. is a New Jersey corporation with its

    principal place of business located at 107 College Road East, Princeton, New Jersey 08540.

    Defendant Dr. Reddy’s Laboratories, Inc. is a citizen of New Jersey.

           39.     Defendant Dr. Reddy’s Laboratories, Inc. applied to the FDA for the right to

    manufacture and sell a generic form of ranitidine and subsequently received that approval as

    discussed herein. Defendant Dr. Reddy’s Laboratories, Inc. also applied to the FDA for the power

    and privilege of listing and labeling Ranitidine-Containing Products for sale in all states and

    territories within the United States.

           40.     Defendant Dr. Reddy’s Laboratories, Inc. is also the appointed agent in the United

    States for the very purpose of lawfully selling and distributing drugs including Ranitidine-

    Containing Products manufactured by Defendant Dr. Reddy’s Laboratories, Ltd.

           41.     Defendant Dr. Reddy’s Laboratories, Inc. as a regulatory agent also fulfills a

    regulatory compliance role for other Dr. Reddy’s entities by regularly filing materials the FDA

    requires ANDA holders to provide to maintain their right to manufacture drugs.15

           42.     Defendant Dr. Reddy’s Laboratories, Ltd.16 is corporation organized and existing

    under the laws of India with its principal place of business located at 8-2-337, Road No. 3, Banjara

    Hills, Hyderabad Telangana 500 034, India. Defendant Dr. Reddy’s Laboratories, Ltd. is a citizen

    of India.



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      DRLMDL 004629.
    16
      Pursuant to the Joint Stipulation Relating to Dr. Reddy’s Defendants [DE 2029], Dr. Reddy’s
     Laboratories, Inc., stipulated that Defendants Dr. Reddy’s Laboratories, Ltd. and Dr. Reddy’s
     Laboratories SA are affiliated companies, and that Defendant Dr. Reddy’s Laboratories, Inc. is
     the proper party for purposes of all claims asserted against Defendants Dr. Reddy’s Laboratories,
     Ltd. and Dr. Reddy’s Laboratories SA in this litigation.

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            43.    Defendant Dr. Reddy’s Laboratories, Ltd. applied to the FDA for the right to

    manufacture and sell a generic form of ranitidine and subsequently received that approval as

    discussed herein. Defendant Dr. Reddy’s Laboratories, Ltd. also applied to the FDA for the power

    and privilege of listing and labeling Ranitidine-Containing Products for sale in all states and

    territories within the United States. Defendant Dr. Reddy’s Laboratories, Ltd. further registered

    an establishment with the FDA, allowing it to manufacture, repack, or relabel drug products within

    the United States.

            44.    Defendant Dr. Reddy’s Laboratories LLC is a limited liability company with its

    principal place of business located at 107 College Road East, Princeton, New Jersey 08540. The

    LLC has three registered officers, each of whom are citizens of New Jersey. Dr. Reddy’s

    Laboratories LLC is a citizen of New Jersey.

            45.    Defendant Dr. Reddy’s Laboratories LLC registered an establishment with the

    FDA, allowing it to manufacture, repack, or relabel drug products within the United States.17

            46.    Defendant Dr. Reddy’s Laboratories SA is a corporation organized and existing

    under the laws of Switzerland with its principal place of business located at Elisabethenanlage, 11,

    Basel, 4051 Switzerland. Defendant Dr. Reddy’s Laboratories SA is a citizen of Switzerland.

            47.    Defendant Dr. Reddy’s Laboratories, Inc., Dr. Reddy’s Laboratories, Ltd., and Dr.

    Reddy’s Laboratories LLC are subsidiaries of Dr. Reddy’s Laboratories SA. Collectively, these

    entities shall be referred to as “Dr. Reddy’s.”

            48.    Defendant Dr. Reddy’s is a manufacturer, distributor, and seller of generic

    prescription Ranitidine-Containing Products and is also a contract manufacturer that contracted




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    with one or more Store-Brand Defendants to manufacture store-brand Ranitidine-Containing

    Products.

                                                Glenmark

             49.    Defendant Glenmark Pharmaceuticals, Inc., USA (f/k/a Glenmark Generics, Inc.

    USA) is a Delaware corporation with its principal place of business located at 750 Corporate Drive,

    Mahwah, New Jersey 07430. Defendant Glenmark Pharmaceuticals, Inc., USA is a citizen of

    Delaware and New Jersey.

             50.    Defendant Glenmark Pharmaceuticals, Inc., USA applied to the FDA for the right

    to manufacture and sell a generic form of ranitidine and subsequently received that approval as

    discussed herein. Defendant Glenmark Pharmaceuticals, Inc., USA also applied to the FDA for

    the power and privilege of listing and labeling Ranitidine-Containing Products for sale in all states

    and territories within the United States.

             51.    Defendant Glenmark Pharmaceuticals, Inc., USA is also Defendant Glenmark

    Pharmaceuticals Ltd.’s appointed agent in the United States for the very purpose of lawfully

    selling and distributing drugs including Ranitidine-Containing Products. Defendant Glenmark

    Pharmaceuticals, Inc., USA as a regulatory agent also fulfills a regulatory compliance role for

    Glenmark Pharmaceuticals Ltd. by regularly filing materials the FDA requires ANDA holders to

    provide to maintain their right to manufacture drugs.18

             52.    Defendant Glenmark Pharmaceuticals Ltd. (f/k/a Glenmark Generics Ltd.) is a

    corporation organized and existing under the laws of India with its principal place of business

    located at Glenmark House, B.D. Sawant Marg., Chakala, Western Express Highway, Andheri




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         Glenmark 002130, 0030383, 0003691.

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    (E), Mumbai 400 099, India. Defendant Glenmark Pharmaceuticals Ltd. is a citizen of India.

           53.     Defendant Glenmark Pharmaceuticals Ltd. registered an establishment with the

    FDA, allowing it to manufacture, repack, or relabel drug products within the United States.

           54.     Defendant Glenmark Pharmaceuticals, Inc., USA is a subsidiary of Defendant

    Glenmark Pharmaceuticals Ltd. Collectively, these entities shall be referred to as “Glenmark.”

           55.     Defendant Glenmark is a manufacturer, distributor, and seller of generic

    prescription Ranitidine-Containing Products.

                                                Perrigo

           56.     Defendant L. Perrigo Co. is a Michigan corporation with its principal place of

    business located at 515 Eastern Avenue, Allegan, Michigan 49010. Defendant L. Perrigo Co. is a

    citizen of Michigan.

           57.     Defendant L. Perrigo Co. applied to the FDA for the right to manufacture and sell

    a generic form of ranitidine and subsequently received that approval as discussed herein.

    Defendant L. Perrigo Co. also applied to the FDA for the power and privilege of listing and

    labeling Ranitidine-Containing Products for sale in all states and territories within the United

    States. Defendant L. Perrigo Co. further registered an establishment with the FDA, allowing it to

    manufacture, repack, or relabel drug products within the United States.

           58.     Defendant Perrigo Company is a Michigan corporation with its principal place of

    business located at 515 Eastern Avenue, Allegan, Michigan 49010. Defendant Perrigo Company

    is a citizen of Michigan.

           59.     Defendant Perrigo Research & Development Company is a Michigan corporation

    with its principal place of business located at 515 Eastern Avenue, Allegan, Michigan 49010.

    Defendant Perrigo Research & Development Company is a citizen of Michigan.


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           60.     Defendant Perrigo Research & Development Company applied to the FDA for the

    right to manufacture and sell a generic form of ranitidine and subsequently received that approval

    as discussed herein.

           61.     L. Perrigo Co., Perrigo Company, and Perrigo Research & Development Company

    are subsidiaries of non-party Perrigo Company, plc., a corporation organized and existing under

    the laws of Ireland with its principal place of business in Ireland. Collectively, these entities shall

    be referred to as “Perrigo.”19

           62.     Defendant Perrigo is a contract manufacturer that contracted with one or more

    Store-Brand Defendants to manufacture store-brand Ranitidine-Containing Products.

                                                   Sandoz

           63.     Defendant Sandoz Inc. (“Sandoz”) is a Colorado corporation with its principal

    place of business located at 100 College Road West, Princeton, New Jersey 08540. Defendant

    Sandoz is a citizen of Colorado and New Jersey.

           64.     Defendant Sandoz applied to the FDA for the right to manufacture and sell a generic

    form of ranitidine and subsequently received that approval as discussed herein. Defendant Sandoz

    applied to the FDA for the power and privilege of listing and labeling Ranitidine-Containing

    Products for sale in all states and territories within the United States.

           65.     Defendant Sandoz is a manufacturer, distributor, and seller of generic prescription

    Ranitidine-Containing Products.




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      Pursuant to the Joint Stipulation Relating to Perrigo Defendants [DE 1555], L. Perrigo Co.,
     Perrigo Company, and Perrigo Research & Development Company stipulated that they are the
     proper parties for purposes of all relief sought in this litigation.

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                                                 Strides

           66.     Defendant Strides Pharma, Inc. (“Strides”) is a New Jersey corporation with its

    principal place of business located at 2 Tower Center, Boulevard Suite 1102, East Brunswick, New

    Jersey 08816. Defendant Strides is a citizen of New Jersey.

           67.     Strides is a subsidiary of non-parties Strides Pharma Science Ltd., a corporation

    organized and existing under the laws of India, and Strides Global Pte Ltd, a corporation organized

    and existing under the laws of Singapore.

           68.     Defendant Strides registered an establishment with the FDA, allowing it to

    manufacture, repack, or relabel drug products within the United States.20

           69.     Defendant Strides is a manufacturer, distributor, and seller of generic prescription

    Ranitidine-Containing Products and is also a contract manufacturer that contracted with one or

    more Store-Brand Defendants to manufacture store-brand Ranitidine-Containing Products.21

                                                  Teva

           70.     Defendant Actavis Mid Atlantic LLC is a Delaware limited liability company with

    its principal place of business located at 1877 Kawai Road, Lincolnton, North Carolina 28092.

    The membership interest of Defendant Actavis Mid Atlantic LLC is owned by Teva

    Pharmaceuticals U.S.A., Inc., a Delaware corporation with its principal place of business in

    Pennsylvania, either directly or through an intervening limited liability company. Defendant Teva

    Pharmaceuticals U.S.A., Inc. is a Delaware corporation with its principal place of business in



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      Pursuant to the Joint Stipulation Relating to Strides Defendants [DE 1635], Defendant Strides
     stipulated that non-parties Strides Pharma Science Ltd. and Strides Global Pte Ltd. are affiliated
     companies, and that Defendant Strides is the proper party in interest for purposes of all claims
     asserted in this litigation. As alleged below, multiple Strides entities held ANDAs and
     manufactured generic ranitidine.

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    Pennsylvania. Actavis Mid Atlantic LLC is a citizen of Delaware and Pennsylvania.

           71.     Defendant Actavis Mid Atlantic LLC applied to the FDA for the right to

    manufacture and sell a generic form of ranitidine and subsequently received that approval as

    discussed herein.

           72.     Defendant Teva Pharmaceuticals U.S.A., Inc. is a Delaware corporation with its

    principal place of business located at 1090 Horsham Road, North Wales, Pennsylvania 19454.

    Teva Pharmaceuticals U.S.A., Inc. is a citizen of Delaware and Pennsylvania.

           73.     Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

    place of business located at 400 Interpace Parkway, Building A., Parsippany, New Jersey 07054.

    Watson Laboratories, Inc. is a citizen of Nevada and New Jersey.

           74.     Defendant Watson Laboratories, Inc. applied to the FDA for the right to

    manufacture and sell a generic form of ranitidine and subsequently received that approval as

    discussed herein.

           75.     In 2006, non-party Teva Pharmaceutical Industries Ltd. acquired IVAX

    Pharmaceuticals.    IVAX LLC and IVAX Pharmaceuticals, Inc. are subsidiaries of Teva

    Pharmaceutical U.S.A., Inc. (collectively, “IVAX”). IVAX applied to the FDA for the right to

    manufacture and sell a generic form of ranitidine and subsequently received that approval, which

    rights were subsequently transferred to Teva.

           76.     Defendants Actavis Mid Atlantic LLC, Teva Pharmaceuticals U.S.A., Inc., and

    Watson Laboratories, Inc. are subsidiaries of non-party Teva Pharmaceutical Industries Ltd., a

    corporation organized and existing under the laws of Israel with its principal place of business

    located in Israel. Collectively, all of these entities shall be referred to as “Teva.” Defendant Teva

    is a manufacturer, distributor, and seller of generic prescription Ranitidine-Containing Products.


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           77.     Defendants Amneal, Apotex, Dr. Reddy’s, Glenmark, Perrigo, Sandoz, Strides, and

    Teva are collectively referred to as “Generic Manufacturers.” At all relevant times, the Generic

    Manufacturers have conducted business and derived substantial revenue from their manufacture,

    testing, marketing, labeling, packaging, handling, distribution, storage, and/or sale of Ranitidine-

    Containing Products within each of the States and Territories of the United States. GSK, Pfizer,

    BI, Sanofi, Amneal, Apotex, Dr. Reddy’s, Glenmark, Perrigo, Sandoz, Strides, and Teva may be

    collectively referred to as “Manufacturer Defendants.”

       3. Store-Brand Defendants

                                                   CVS

           78.     Defendant CVS Pharmacy, Inc. (“CVS”) is a Delaware corporation with its

    principal place of business located at One CVS Drive, Woonsocket, Rhode Island 02895.

    Defendant CVS is a citizen of Delaware and Rhode Island.

           79.     Defendant CVS is a private-label distributor that contracts with one or more

    contract manufacturer to manufacture Ranitidine-Containing Products sold by CVS under its store-

    brand, CVS Health.

                                                 Rite Aid

           80.     Defendant Rite Aid Corporation (“Rite Aid”) is a Delaware corporation with its

    principal place of business located at 30 Hunter Lane, Camp Hill, Pennsylvania 17011. Rite Aid

    is a citizen of Delaware and Pennsylvania.

           81.     Defendant Rite Aid is a private-label distributor that contracts with one or more

    contract manufacturer to manufacture Ranitidine-Containing Products sold by Rite Aid under its

    store-brand, Rite Aid.

                                                 Walgreens


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           82.     Defendant Walgreen Co. is a Delaware corporation with its principal place of

    business located at 108 Wilmot Road, Deerfield, Illinois 60015. Walgreen Co. is a citizen of

    Delaware and Illinois.

           83.     Defendant Duane Reade, Inc. is a Delaware corporation with its principal place of

    business located at 108 Wilmot Road, Deerfield, Illinois 60015. Duane Reade, Inc. is a citizen of

    Delaware and Illinois.

           84.     Defendant Walgreens Boots Alliance, Inc. is a Delaware corporation with its

    principal place of business located at 108 Wilmot Road, Deerfield, Illinois 60015. Walgreens

    Boots Alliance, Inc. is a citizen of Delaware and Illinois.

           85.     Defendant Walgreens Boots Alliance, Inc. purchased ranitidine and repackaged

    and/or relabeled it under Defendant’s own brand.

           86.     Walgreen Co. and Duane Reade, Inc. are subsidiaries of Walgreens Boots Alliance,

    Inc. Collectively, these entities shall be referred to as “Walgreens.”

           87.     Defendant Walgreens is a private-label distributor that contracts with one or more

    contract manufacturer to manufacture Ranitidine-Containing Products sold by Walgreens under

    its store-brand, Wal-Zan.

                                                  Walmart

           88.     Defendant Walmart Inc. f/k/a Wal-Mart Stores, Inc. is a Delaware corporation with

    its principal place of business located at 702 SW 8th Street, Bentonville, Arkansas 72716. Walmart

    Inc. is a citizen of Delaware and Arkansas.

           89.     Defendant Sam’s West, Inc. is an Arkansas corporation with its principal place of

    business located at 702 SW 8th Street, Bentonville, Arkansas 72716. Sam’s West, Inc. is a citizen

    of Arkansas.


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           90.     Sam’s West, Inc. is a subsidiary of Walmart Inc. Collectively, these entities shall

    be referred to as “Walmart.”

           91.     Defendant Walmart is a private-label distributor that contracts with one or more

    contract manufacturer to manufacture Ranitidine-Containing Products sold by Walmart under its

    store-brand, Equate.

    B. PLAINTIFFS

           92.     Plaintiffs are individuals who purchased and used Defendants’ Ranitidine-

    Containing Products, as described below and infra, Section VI.

           93.     Plaintiff Elaine Aaron (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Missouri.    Plaintiff purchased and used Ranitidine-Containing Products in Missouri from

    approximately 2009 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included prescription 150 mg generic ranitidine tablets and capsules from

    approximately 2009 to 2020 (manufactured by Sandoz and Glenmark). Further, based on the

    limited discovery obtained to date, Plaintiff purchased and used additional prescription 150 mg

    generic ranitidine tablets and capsules manufactured by one or more of the following defendants:

    Amneal, Dr. Reddy’s, Strides, and Teva. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides

    and Teva are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a

    direct and proximate result of consuming these Ranitidine-Containing Products, which were

    unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

    Cancers22 and is in need of regular monitoring. Plaintiff would not have consumed these

    Ranitidine-Containing Products had Plaintiff known that doing so would subject Plaintiff to a


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      As set out above, the Subject Cancers include serious and potentially fatal bladder, breast,
     colorectal/intestinal, esophageal, gastric, kidney, liver, lung, pancreatic, and prostate cancers
     (“Subject Cancers”).

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    significantly increased risk of developing the Subject Cancers, as well as the cost of medical

    monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of

    Defendants’ wrongful conduct.

           94.     Plaintiff Ida Adams (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Maryland. Plaintiff purchased and used Ranitidine-Containing Products from approximately 2000

    to 2005 and 2012 in West Virginia as a citizen of West Virginia, and from approximately 2005 to

    2017 in Maryland as a citizen of Maryland. The Ranitidine-Containing Products purchased and

    used by Plaintiff specifically included the following: (a) OTC 150 mg Zantac tablets and capsules

    from approximately 2005 to 2017 in Maryland while a citizen of Maryland (manufactured by

    Pfizer, BI and Sanofi); and (b) OTC 150 mg Zantac tablets and capsules from approximately 2000

    to 2005 and 2012 in West Virginia while a citizen of West Virginia (manufactured by Pfizer and

    BI). Thus, Pfizer, BI and Sanofi are “Defendants” with respect to purchases made in Maryland

    while a citizen of Maryland, unless otherwise specified; and Pfizer and BI are “Defendants” with

    respect to purchases made in West Virginia while a citizen of West Virginia, unless otherwise

    specified. As a direct and proximate result of consuming these Ranitidine-Containing Products,

    which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing

    the Subject Cancers and is in need of regular monitoring. Plaintiff would not have consumed these

    Ranitidine-Containing Products had Plaintiff known that doing so would subject Plaintiff to a

    significantly increased risk of developing the Subject Cancers, as well as the cost of medical

    monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of

    Defendants’ wrongful conduct.

           95.     Plaintiff Virginia Aragon (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of California. Plaintiff purchased and used Ranitidine-Containing Products in California from


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    approximately 2006 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included (a) OTC Zantac tablets and capsules from approximately 2006 to 2020

    (manufactured by Pfizer, BI, and Sanofi); and (b) prescription 300 mg generic ranitidine tablets

    and capsules from approximately 2006 to 2020 (manufactured by Amneal). Further, based on the

    limited discovery obtained to date, Plaintiff purchased and used additional prescription 300 mg

    generic ranitidine tablets and capsules manufactured by one or more of the following defendants:

    Dr. Reddy’s, Glenmark, Sandoz, Strides, and Teva. Thus, Pfizer, BI, Sanofi, Amneal, Dr. Reddy’s,

    Glenmark, Sandoz, Strides, and Teva are “Defendants” for the purposes of Plaintiff’s claims,

    unless otherwise specified. As a direct and proximate result of consuming these Ranitidine-

    Containing Products, which were unsafe for human ingestion, Plaintiff is at a significantly

    increased risk for developing the Subject Cancers and is in need of regular monitoring. Plaintiff

    would not have consumed these Ranitidine-Containing Products had Plaintiff known that doing so

    would subject Plaintiff to a significantly increased risk of developing the Subject Cancers, as well

    as the cost of medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete

    injury as a result of Defendants’ wrongful conduct.

           96.      Plaintiff Irma Arcaya (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Florida.     Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2014 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included prescription 150 mg generic ranitidine tablets and capsules from

    approximately 2014 to 2020. Further, based on the limited discovery obtained to date, Plaintiff

    purchased and used prescription 150 mg generic ranitidine tablets and capsules manufactured by

    one or more of the following defendants: Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides, and

    Teva. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides, and Teva are “Defendants” for the


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    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           97.     Plaintiff Golbenaz Bakhtiar (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of California. Plaintiff purchased and used Ranitidine-Containing Products in

    California from approximately 2000 to December 2019. The Ranitidine-Containing Products

    purchased and used by Plaintiff specifically included (a) OTC Zantac tablets and capsules from

    approximately 2000 to 2019 (manufactured by Pfizer, BI, and Sanofi); (b) prescription 150 mg

    generic ranitidine tablets and capsules from approximately 2005 to 2019; and (c) prescription

    Zantac tablets and capsules beginning in approximately 2000 (manufactured by GSK). Plaintiff

    also purchased and used OTC 150 mg Walgreens-branded and Rite Aid-branded ranitidine tablets

    and capsules from Walgreens and Rite Aid, respectively, from approximately 2005 to 2019, but

    based on the limited available sources of information and discovery conducted to date, does not

    yet know the specific manufacturer(s) of the store-branded ranitidine tablets and capsules. During

    the time period in question, Dr. Reddy’s, Perrigo, Strides, and Apotex manufactured OTC 150

    mg Walgreens-branded ranitidine tablets and capsules for Walgreens, and Perrigo, Strides, and

    Apotex manufactured OTC 150 mg Rite Aid-branded ranitidine tablets and capsules for Rite Aid,

    and therefore, Dr. Reddy’s, Perrigo, Strides, and Apotex are named as Defendants until adequate

    information is produced to identify the specific entity(ies) that manufactured the store-branded


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    ranitidine tablets and capsules purchased by Plaintiff. Further, based on the limited discovery

    obtained to date, Plaintiff purchased and used prescription 150 mg generic ranitidine tablets and

    capsules manufactured by one or more of the following defendants: Amneal, Dr. Reddy’s,

    Glenmark, Sandoz, Strides, and Teva. Thus, Walgreens, Rite Aid, GSK, Pfizer, BI, Sanofi, Dr.

    Reddy’s, Perrigo, Apotex, Amneal, Glenmark, Sandoz, Strides, and Teva are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           98.     Plaintiff Felicia Ball (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Pennsylvania. Plaintiff purchased and used Ranitidine-Containing Products in Pennsylvania from

    approximately 2000 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included (a) prescription Zantac (manufactured by GSK); and (b) prescription 150 mg

    and 300 generic ranitidine tablets and capsules from approximately 2000 to 2020 (manufactured

    by Strides and Amneal). Further, based on the limited discovery obtained to date, Plaintiff

    purchased and used additional prescription 150 mg generic ranitidine tablets and capsules

    manufactured by one or more of the following defendants: Dr. Reddy’s, Glenmark, Sandoz, and

    Teva; and prescription 300 mg generic tablets and capsules by one or more of the following

    defendants: Dr. Reddy’s, Glenmark, and Teva. Thus, GSK, Amneal, Dr. Reddy’s, Glenmark,

    Strides, Sandoz, and Teva are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise


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    specified. As a direct and proximate result of consuming these Ranitidine-Containing Products,

    which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing

    the Subject Cancers and is in need of regular monitoring. Plaintiff would not have consumed these

    Ranitidine-Containing Products had Plaintiff known that doing so would subject Plaintiff to a

    significantly increased risk of developing the Subject Cancers, as well as the cost of medical

    monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of

    Defendants’ wrongful conduct.

           99.     Plaintiff Jeannie Black (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Florida.   Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2015 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included (a) OTC Zantac tablets and capsules from approximately 2015 to 2018

    (manufactured by BI and Sanofi); and (b) prescription 300 mg generic ranitidine tablets and

    capsules from approximately 2018 to 2020 (manufactured by Glenmark and Strides). Further,

    based on the limited discovery obtained to date, Plaintiff purchased and used additional

    prescription 300 mg generic ranitidine tablets and capsules manufactured by one or more of the

    following defendants: Dr. Reddy’s, and Sandoz. Thus, BI, Sanofi, Glenmark, Strides, Dr. Reddy’s,

    and Sandoz are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As

    a direct and proximate result of consuming these Ranitidine-Containing Products, which were

    unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

    Cancers and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’


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    wrongful conduct.

           100.    Plaintiff Antrenise Campbell (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Missouri. Plaintiff purchased and used Ranitidine-Containing Products in Missouri from

    approximately 1998 to 2013. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included (a) prescription 150 mg generic ranitidine tablets and capsules from

    approximately 1998 to 2008; and (b) OTC 150 mg Zantac tablets and capsules from approximately

    2008 to 2013 (manufactured by BI). Further, based on the limited discovery obtained to date,

    Plaintiff purchased and used prescription 150 mg generic ranitidine tablets and capsules

    manufactured by one or more of the following defendants: Dr. Reddy’s, Sandoz, and Teva. Thus,

    BI, Dr. Reddy’s, Sandoz, and Teva are “Defendants” for the purposes of Plaintiff’s claims, unless

    otherwise specified. As a direct and proximate result of consuming these Ranitidine-Containing

    Products, which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for

    developing the Subject Cancers and is in need of regular monitoring. Plaintiff would not have

    consumed these Ranitidine-Containing Products had Plaintiff known that doing so would subject

    Plaintiff to a significantly increased risk of developing the Subject Cancers, as well as the cost of

    medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a

    result of Defendants’ wrongful conduct.

           101.    Plaintiff Sonia Diaz (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Florida.   Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2017 to 2020 while a resident of Florida. The Ranitidine-Containing Products

    purchased and used by Plaintiff specifically included: (a) prescription 150 mg and 300 mg generic

    ranitidine tablets and capsules from approximately 2017 to 2020 in Florida (manufactured by

    Amneal); and (b) OTC Zantac tablets and capsules from approximately 2017 to 2020 in Florida


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    (manufactured by Sanofi). Further, based on the limited discovery obtained to date, Plaintiff also

    purchased and used additional prescription 150 mg and 300 mg generic ranitidine tablets and

    capsules from approximately 2017 to 2020 manufactured by Dr. Reddy’s, Glenmark, Sandoz, and

    Strides in Florida while a citizen of Florida. Thus, Dr. Reddy’s, Glenmark, Sandoz, Strides, Sanofi

    and Amneal are “Defendants” for the purposes of Plaintiff’s claims for purchases in Florida while

    a citizen of Florida, unless otherwise specified. As a direct and proximate result of consuming

    these Ranitidine-Containing Products, which were unsafe for human ingestion, Plaintiff is at a

    significantly increased risk for developing the Subject Cancers and is in need of regular

    monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had Plaintiff

    known that doing so would subject Plaintiff to a significantly increased risk of developing the

    Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           102.    Plaintiff Teresa Dowler (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Indiana. Plaintiff purchased and used Ranitidine-Containing Products from approximately 2011

    to December 2019 in Indiana. The Ranitidine-Containing Products Plaintiff purchased and used

    specifically included (a) OTC 150 mg Zantac tablets and capsules from approximately 2012 to

    2019 (manufactured by BI and Sanofi); (b) prescription 150 mg generic ranitidine tablets and

    capsules from approximately 2017 to December 2019 (manufactured by Strides): (c) and

    prescription 150 mg Zantac tablets and capsules from approximately 2011 to 2013 (manufactured

    by GSK). Further, based on the limited discovery obtained to date, Plaintiff purchased and used

    additional prescription 150 mg generic ranitidine tablets and capsules manufactured by one or

    more of the following defendants: Amneal, Dr. Reddy’s, Glenmark, and Sandoz. Thus, BI, Sanofi,

    Strides, GSK, Amneal, Dr. Reddy’s, Glenmark, and Sandoz are “Defendants” for the purposes of


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    Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of consuming these

    Ranitidine-Containing Products, which were unsafe for human ingestion, Plaintiff is at a

    significantly increased risk for developing the Subject Cancers and is in need of regular

    monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had Plaintiff

    known that doing so would subject Plaintiff to a significantly increased risk of developing the

    Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           103.    Plaintiff Jonathan Ferguson (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Washington. Plaintiff purchased and used Ranitidine-Containing Products in Nevada

    from approximately 1996 to 1999 while a citizen of Nevada, and in California from approximately

    2007 to 2012 while a citizen of California. The Ranitidine-Containing Products purchased and

    used by Plaintiff specifically included (a) OTC Zantac tablets and capsules from approximately

    1996 to 1999 in Nevada while a citizen of Nevada (manufactured by GSK and Pfizer); (b) OTC

    Zantac tablets and capsules from approximately 2007 to 2012 while a citizen of California

    (manufactured by BI); and (c) OTC Walmart-branded ranitidine tablets from Walmart, and

    Walgreens-branded ranitidine tablets from Walgreens from approximately from 2010 to 2012 in

    California while a citizen of California. Based on the limited available sources of information and

    discovery conducted to date, Plaintiff does not yet know the specific manufacturer(s) of the store-

    branded ranitidine tablets and capsules. During the time period in question, Dr. Reddy’s and

    Perrigo manufactured OTC tablets and capsules for Walmart, and Dr. Reddy’s and Perrigo

    manufactured OTC tablets and capsules for Walgreens, and therefore, Dr. Reddy’s and Perrigo are

    named as Defendants until adequate information is produced to identify the specific entity(ies) that

    manufactured the store-branded ranitidine tablets and capsules purchased by Plaintiff. Thus, GSK


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    and Pfizer are “Defendants” with respect to purchases made in Nevada while a citizen of Nevada,

    unless otherwise specified; and BI, Walmart, Walgreens, Dr. Reddy’s, and Perrigo are

    “Defendants” with respect to purchases made in California while a citizen of California, unless

    otherwise specified. As a direct and proximate result of consuming these Ranitidine-Containing

    Products, which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for

    developing the Subject Cancers and is in need of regular monitoring. Plaintiff would not have

    consumed these Ranitidine-Containing Products had Plaintiff known that doing so would subject

    Plaintiff to a significantly increased risk of developing the Subject Cancers, as well as the cost of

    medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a

    result of Defendants’ wrongful conduct.

           104.    Plaintiff Michael Fesser (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Florida. Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2010 to December 2019. The Ranitidine-Containing Products purchased and used

    by Plaintiff specifically included prescription 150 mg generic ranitidine tablets and capsules from

    approximately 2010 to 2019 (manufactured by Amneal). Further, based on the limited discovery

    obtained to date, Plaintiff purchased and used additional prescription 150 mg generic ranitidine

    tablets and capsules manufactured by one or more of the following defendants: Dr. Reddy’s,

    Glenmark, Sandoz, Strides, and Teva. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides,

    and Teva are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a

    direct and proximate result of consuming these Ranitidine-Containing Products, which were

    unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

    Cancers and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly


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    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           105.    Plaintiff Karen Foster (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Virginia. Plaintiff purchased and used Ranitidine-Containing Products from approximately 2013

    to 2017 while a citizen of Florida. The Ranitidine-Containing Products purchased and used by

    Plaintiff specifically included the following: (a) prescription 150 mg generic ranitidine tablets and

    capsules from approximately 2013 to 2017 in Florida while a citizen of Florida (manufactured by

    Glenmark); and (b) OTC 150 mg Zantac tablets and capsules in or around 2013 in Florida while a

    citizen of Florida (manufactured by BI). Further, based on the limited discovery obtained to date,

    Plaintiff purchased and used additional prescription 150 mg generic ranitidine tablets and capsules

    manufactured by one or more of the following defendants: Amneal, Dr. Reddy’s, Sandoz, Strides,

    and Teva. Thus, BI, Amneal, Glenmark, Sandoz, Dr. Reddy’s, Strides, and Teva are “Defendants”

    with respect to purchases made in Florida while a citizen of Florida, unless otherwise specified.

    As a direct and proximate result of consuming these Ranitidine-Containing Products, which were

    unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

    Cancers and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           106.    Plaintiff Michael Galloway (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Ohio. Plaintiff purchased and used Ranitidine-Containing Products in Florida from


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    approximately 1997 through 1999 while a resident of Florida, and in Ohio from approximately

    1999 through October 2019 while a resident of Ohio. The Ranitidine-Containing Products

    purchased and used by Plaintiff specifically included (a) prescription 150 mg Zantac tablets and

    capsules from approximately 1997 through 1999 in Florida while a citizen of Florida

    (manufactured by GSK); (b) prescription 150 mg generic ranitidine tablets and capsules from

    approximately 1997 through 1999 in Florida while a citizen of Florida; (c) OTC Zantac tablets and

    capsules from approximately 1997 through 1999 in Florida while a citizen of Florida

    (manufactured by GSK and Pfizer); (d) prescription 150 mg Zantac tablets and capsules beginning

    in approximately 1999 in Ohio while a citizen of Ohio (manufactured by GSK); (e) prescription

    150 mg generic ranitidine tablets and capsules from approximately 1999 through October 2019 in

    Ohio while a citizen of Ohio (manufactured by Teva); and (f) OTC Zantac tablets and capsules

    from approximately 1999 through October 2019 in Ohio while a citizen of Ohio (manufactured by

    Pfizer, BI, and Sanofi). Further, based on the limited discovery obtained to date, Plaintiff

    purchased additional prescription 150 mg generic ranitidine tablets and capsules manufactured by

    one or more of the following defendants: Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides, and

    Teva. Thus, GSK, Pfizer, Sandoz, and Teva are “Defendants” with respect to purchases made in

    Florida while a citizen of Florida unless otherwise specified; and GSK, Pfizer, BI, Sanofi, Amneal,

    Dr. Reddy’s, Glenmark, Sandoz, Strides, and Teva are “Defendants” with respect to purchases

    made in Ohio while a citizen of Ohio unless otherwise specified. As a direct and proximate result

    of consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing


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    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           107.    Plaintiff Cynthia Gibbs (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Missouri. Plaintiff purchased and used Ranitidine-Containing Products in Missouri from

    approximately 2005 to 2019. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included prescription 150 mg and 300 mg generic ranitidine tablets and capsules from

    approximately 2005 to 2019. Further, based on the limited discovery obtained to date, Plaintiff

    purchased and used prescription generic ranitidine tablets and capsules manufactured by one or

    more of the following defendants: Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides and Teva.

    Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides and Teva are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           108.    Plaintiff Timberly Goble (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Indiana. Plaintiff purchased and used Ranitidine-Containing Products from approximately 2013

    to 2019 while a citizen of Indiana. The Ranitidine-Containing Products purchased and used by

    Plaintiff specifically included the following: prescription 150 mg generic ranitidine tablets and

    capsules from approximately 2013 to 2019 in Indiana while a citizen of Indiana (manufactured by

    Strides and Glenmark). Further, based on the limited discovery obtained to date, Plaintiff


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    purchased and used additional prescription 150 mg generic ranitidine tablets and capsules

    manufactured by one or more of the following defendants: Amneal, Dr. Reddy’s, Sandoz, and

    Teva. Thus, Glenmark, Amneal, Dr. Reddy’s, Sandoz, Strides, and Teva are “Defendants” for

    purchases made in Indiana while a citizen of Indiana, unless otherwise specified. As a direct and

    proximate result of consuming these Ranitidine-Containing Products, which were unsafe for

    human ingestion, Plaintiff is at a significantly increased risk for developing the Subject Cancers

    and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           109.    Plaintiff Alberta Griffin (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Maryland. Plaintiff purchased and used Ranitidine-Containing Products in Maryland from

    approximately 2000 to March 2020. The Ranitidine-Containing Products purchased and used by

    Plaintiff specifically included: (a) prescription Zantac tablets and capsules beginning in

    approximately 2000 (manufactured by GSK); (b) prescription 150 mg generic ranitidine tablets

    and capsules from approximately 2013 to March 2020 (manufactured by Strides and Glenmark);

    and (c) OTC 150 mg Zantac tablets and capsules from approximately 2000 to March 2020

    (manufactured by Pfizer, BI, and Sanofi). Further, based on the limited discovery obtained to date,

    Plaintiff purchased and used prescription 150 mg generic ranitidine tablets and capsules

    manufactured by one or more of the following defendants: Amneal, Dr. Reddy’s, Sandoz, and

    Teva. Thus, GSK, Strides, Glenmark, Pfizer, BI, Sanofi, Amneal, Dr. Reddy’s, Sandoz, and Teva

    are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and


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    proximate result of consuming these Ranitidine-Containing Products, which were unsafe for

    human ingestion, Plaintiff is at a significantly increased risk for developing the Subject Cancers

    and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           110.    Plaintiff Joyce Guerrieri (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Pennsylvania. Plaintiff purchased and used Ranitidine-Containing Products in Pennsylvania

    from approximately 2000 to September 2019 while a citizen of Pennsylvania. The Ranitidine-

    Containing Products purchased and used by Plaintiff specifically included prescription 150 mg

    generic ranitidine tablets and capsules. Based on the limited discovery obtained to date, Plaintiff

    purchased and used prescription 150 mg generic ranitidine tablets and capsules manufactured by

    one or more of the following defendants: Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides, and

    Teva. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides, and Teva are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           111.    Plaintiff Royal Handy (for the purpose of this paragraph, “Plaintiff”), is a citizen of


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    California. Plaintiff purchased and used Ranitidine-Containing Products in California from

    approximately 2015 to December 2019. The Ranitidine-Containing Products purchased and used

    by Plaintiff specifically included prescription generic ranitidine tablets and capsules from

    approximately 2015 to December 2019 manufactured by Glenmark. Further, based on the limited

    discovery obtained to date, Plaintiff purchased and used additional prescription generic ranitidine

    tablets and capsules manufactured by one or more of the following defendants: Amneal, Dr.

    Reddy’s, Sandoz, Teva, and Strides. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Teva, and

    Strides are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a

    direct and proximate result of consuming these Ranitidine-Containing Products, which were

    unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

    Cancers and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           112.    Plaintiff Mynetta Hastings (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of West Virginia. Plaintiff purchased and used Ranitidine-Containing Products from

    approximately 2003 to December 2019 as a citizen of West Virginia. The Ranitidine-Containing

    Products purchased by Plaintiff specifically included the following: (a) prescription generic

    ranitidine tablets and capsules from approximately 2003 to 2019 (manufactured by Dr. Reddy’s,

    Strides, and Teva); (b) OTC CVS-branded ranitidine tablets and capsules in or about 2019; and (c)

    OTC Walmart-branded ranitidine tablets and capsules in or about 2019. Plaintiff purchased OTC

    CVS-branded ranitidine tablets and capsules, and OTC Walmart-branded ranitidine tablets and


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    capsules, from CVS and Walmart, respectively, in or about 2019, but based on the limited available

    sources of information and discovery conducted to date, does not yet know the specific

    manufacturer(s) of the store-branded ranitidine tablets and capsules. During the time period in

    question, Perrigo, Strides, and Dr. Reddy’s manufactured OTC CVS-branded ranitidine tablets and

    capsules for CVS, and Perrigo, Dr. Reddy’s, Strides, and Apotex manufactured OTC Walmart-

    branded ranitidine tablets and capsules for Walmart, and therefore, Perrigo, Dr. Reddy’s, Strides,

    and Apotex are named as Defendants until adequate information is produced to identify the

    specific entity(ies) that manufactured the store-branded ranitidine tablets and capsules purchased

    by Plaintiff.   Further, based on the limited discovery obtained to date, Plaintiff purchased

    prescription generic ranitidine tablets and capsules manufactured by one or more of the following

    defendants: Amneal, Glenmark, and Sandoz. Thus, Apotex, Walmart, Dr. Reddy’s, Strides, Teva,

    CVS, Perrigo, Amneal, Glenmark, and Sandoz are referred to as “Defendants” for the purposes of

    Plaintiff’s claims, unless otherwise specified, unless otherwise specified. As a direct and proximate

    result of consuming these Ranitidine-Containing Products, which were unsafe for human

    ingestion, Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in

    need of regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing

    Products had Plaintiff known that doing so would subject Plaintiff to a significantly increased risk

    of developing the Subject Cancers, as well as the cost of medical monitoring and subsequent

    treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           113.     Plaintiff Patricia Hess (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Ohio. Plaintiff purchased and used Ranitidine-Containing Products in Ohio from approximately

    2010 to January 2019. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included the following: (a) prescription 150 mg generic ranitidine tablets and capsules


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    (manufactured by Dr. Reddy’s, Strides, and Sandoz); and (b) OTC Zantac tablets and capsules

    (manufactured by BI). Further, based on the limited discovery obtained to date, Plaintiff purchased

    and used additional prescription 150 mg generic ranitidine tablets and capsules manufactured by

    one or more of the following defendants: Amneal, Glenmark, and Teva. Plaintiff also purchased

    and used OTC 75 mg and 150 mg CVS-branded ranitidine tablets and capsules purchased from

    CVS from approximately 2010 to January 2019 but, based on the limited available sources of

    information and discovery conducted to date, does not yet know the specific manufacturer(s) of

    the store-branded ranitidine tablets and capsules. During the time period in question, Dr. Reddy’s,

    Strides, and Perrigo manufactured OTC 75 mg and 150 mg CVS-branded ranitidine tablets and

    capsules for CVS, and therefore, Dr. Reddy’s, Strides, and Perrigo are named as Defendants until

    adequate information is produced to identify the specific entity(ies) that manufactured the store-

    branded ranitidine tablets and capsules purchased by Plaintiff. Thus, CVS, BI, Amneal, Dr.

    Reddy’s, Glenmark, Sandoz, Strides, Teva, and Perrigo are “Defendants” for the purposes of

    Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of consuming these

    Ranitidine-Containing Products, which were unsafe for human ingestion, Plaintiff is at a

    significantly increased risk for developing the Subject Cancers and is in need of regular

    monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had Plaintiff

    known that doing so would subject Plaintiff to a significantly increased risk of developing the

    Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           114.    Plaintiff Hattie Kelley (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Florida.   Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2012 to 2018. The Ranitidine-Containing Products purchased and used by Plaintiff


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    specifically included prescription 150 mg generic ranitidine tablets and capsules from

    approximately2012 to 2018 (manufactured by Teva and Glenmark). Further, based on the limited

    discovery obtained to date, Plaintiff purchased and used additional prescription 150 mg generic

    ranitidine tablets and capsules manufactured by one or more of the following defendants: Amneal,

    Dr. Reddy’s, Sandoz, and Strides. Thus, Amneal, Dr. Reddy’s, Teva, Glenmark, Strides, and

    Sandoz are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a

    direct and proximate result of consuming these Ranitidine-Containing Products, which were

    unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

    Cancers and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           115.    Plaintiff Lorie Kendall-Songer (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Missouri.     Plaintiff purchased and used Ranitidine-Containing Products from

    approximately 2016 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included OTC 150 mg Zantac tablets and capsules from approximately 2016 to 2020

    (manufactured by BI and Sanofi). Thus, BI and Sanofi are “Defendants” for the purposes of

    Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of consuming these

    Ranitidine-Containing Products, which were unsafe for human ingestion, Plaintiff is at a

    significantly increased risk for developing the Subject Cancers and is in need of regular

    monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had Plaintiff

    known that doing so would subject Plaintiff to a significantly increased risk of developing the


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    Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           116.    Plaintiff Ronda Lockett (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Texas.     Plaintiff purchased and used Ranitidine-Containing Products in Missouri from

    approximately 1990 to 2000 while a citizen of Missouri. The Ranitidine-Containing Products

    purchased and used by Plaintiff in Missouri while a citizen of Missouri specifically included (a)

    prescription Zantac tablets and capsules from approximately 1990 to 1995 (manufactured by

    GSK); and (b) OTC Zantac tablets and capsules from approximately 1995 to 2000 (manufactured

    by GSK and Pfizer). Thus, GSK and Pfizer are “Defendants” with respect to purchases made in

    Missouri while a citizen of Missouri, unless otherwise specified. As a direct and proximate result

    of consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           117.    Plaintiff Charles Longfield (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Nebraska.      Plaintiff purchased and used Ranitidine-Containing Products from

    approximately 1995 to 1996 and 2011 while a citizen of Maryland. The Ranitidine-Containing

    Products Plaintiff purchased and used while a citizen of Maryland specifically included (a) OTC

    Zantac tablets and capsules from approximately 1995 to 1996 (manufactured by GSK and Pfizer);

    and (b) OTC 150 mg Zantac tablets and capsules in or about 2011 (manufactured by BI). Thus,

    GSK, Pfizer, and BI are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise


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    specified. As a direct and proximate result of consuming these Ranitidine-Containing Products,

    which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing

    the Subject Cancers and is in need of regular monitoring. Plaintiff would not have consumed these

    Ranitidine-Containing Products had Plaintiff known that doing so would subject Plaintiff to a

    significantly increased risk of developing the Subject Cancers, as well as the cost of medical

    monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of

    Defendants’ wrongful conduct.

           118.    Plaintiff Marva Mccall (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Florida. Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2007 to December 2019. The Ranitidine-Containing Products purchased and used

    by Plaintiff specifically included (a) OTC Zantac tablets and capsules from approximately 2007 to

    2015 (manufactured by BI); and (b) prescription 300 mg generic ranitidine tablets and capsules

    from approximately 2015 to 2019 (manufactured by Strides and Glenmark). Further, based on the

    limited discovery obtained to date, Plaintiff purchased and used prescription 300 mg generic

    ranitidine tablets and capsules manufactured by one or more of the following defendants: Dr.

    Reddy’s, Sandoz, and Teva. Thus, BI, Strides, Glenmark, Dr. Reddy’s, Sandoz, and Teva are

    “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and

    proximate result of consuming these Ranitidine-Containing Products, which were unsafe for

    human ingestion, Plaintiff is at a significantly increased risk for developing the Subject Cancers

    and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’


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    wrongful conduct.

           119.    Plaintiff Clifton McKinnon (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Florida. Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2008 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included (a) OTC 75 and 150 mg Zantac tablets and capsules from approximately 2008

    to 2010 (manufactured by BI); and (b) prescription 150 mg generic ranitidine tablets and capsules

    from approximately 2010 to 2020 (manufactured by Glenmark, Teva, and Strides). Further, based

    on the limited discovery obtained to date, Plaintiff purchased and used additional prescription 150

    mg generic ranitidine tablets and capsules manufactured by one or more of the following

    defendants: Amneal, Dr. Reddy’s, Sandoz, and Strides. Thus, BI, Glenmark, Strides, Amneal, Dr.

    Reddy’s, Sandoz, and Teva are “Defendants” for the purposes of Plaintiff’s claims, unless

    otherwise specified. As a direct and proximate result of consuming these Ranitidine-Containing

    Products, which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for

    developing the Subject Cancers and is in need of regular monitoring. Plaintiff would not have

    consumed these Ranitidine-Containing Products had Plaintiff known that doing so would subject

    Plaintiff to a significantly increased risk of developing the Subject Cancers, as well as the cost of

    medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a

    result of Defendants’ wrongful conduct.

           120.    Plaintiff Kristen Monger, as power of attorney and on behalf of, Alexander Monger,

    (for the purpose of this paragraph, “Plaintiff”), is a citizen of Florida. Plaintiff purchased and used

    Ranitidine-Containing Products in Florida from approximately 1999 to 2020. The Ranitidine-

    Containing Products purchased and used by Plaintiff specifically included (a) prescription generic

    ranitidine syrup from approximately 1999 to 2020 manufactured by Amneal; and (b) prescription


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    Zantac syrup (manufactured by GSK) from approximately 1999 to 2020. Further, based on the

    limited discovery obtained to date, Plaintiff purchased and used additional prescription generic

    ranitidine syrup manufactured by Teva. Thus, Amneal, GSK, and Teva are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           121.    Plaintiff Kristen Monger, as power of attorney and on behalf of, Laura Monger, (for

    the purpose of this paragraph, “Plaintiff”), is a citizen of Florida. Plaintiff purchased and used

    Ranitidine-Containing Products in Florida from approximately 1997 to 2020. The Ranitidine-

    Containing Products purchased and used by Plaintiff specifically included: (a) prescription generic

    ranitidine syrup from approximately 1997 to 2020; and (b) prescription Zantac syrup

    (manufactured by GSK). Further, based on the limited discovery obtained to date, Plaintiff

    purchased and used prescription generic ranitidine syrup manufactured by Amneal and Teva.

    Thus, GSK, Amneal, and Teva are “Defendants” for the purposes of Plaintiff’s claims, unless

    otherwise specified. As a direct and proximate result of consuming these Ranitidine-Containing

    Products, which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for

    developing the Subject Cancers and is in need of regular monitoring. Plaintiff would not have

    consumed these Ranitidine-Containing Products had Plaintiff known that doing so would subject

    Plaintiff to a significantly increased risk of developing the Subject Cancers, as well as the cost of


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    medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a

    result of Defendants’ wrongful conduct.

           122.    Plaintiff Ricardo Moròn (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Florida.   Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 1995 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included OTC Zantac tablets and capsules from approximately 1995 to 2020

    manufactured by GSK, Pfizer, BI, and Sanofi. Thus, GSK, Pfizer, BI, and Sanofi are “Defendants”

    for the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result

    of consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           123.    Plaintiff Kevin Nelson (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of the District of Columbia. Plaintiff purchased and used Ranitidine-Containing Products in

    Maryland from approximately May 2018 to December 2018. The Ranitidine-Containing Products

    purchased and used by Plaintiff specifically included prescription 150 mg generic ranitidine tablets

    and capsules in or around approximately 2018, in Maryland while a citizen of Maryland. Further,

    based on the limited discovery obtained to date, Plaintiff purchased and used prescription 150 mg

    generic ranitidine tablets and capsules manufactured by Amneal, Dr. Reddy’s, Glenmark, Sandoz,

    and Strides. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, and Strides are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of


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    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           124.    Plaintiff Brenda Newcomb (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Missouri. Plaintiff purchased and used Ranitidine-Containing Products in Missouri from

    approximately 2016 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included prescription 150 mg generic ranitidine tablets and capsules from

    approximately 2016 to 2020 manufactured by Strides. Further, based on the limited discovery

    obtained to date, Plaintiff purchased and used prescription 150 mg generic ranitidine tablets and

    capsules manufactured by one or more of the following defendants: Amneal, Dr. Reddy’s,

    Glenmark, Sandoz, and Teva. Thus, Strides, Amneal, Dr. Reddy’s, Glenmark, Sandoz, and Teva

    are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and

    proximate result of consuming these Ranitidine-Containing Products, which were unsafe for

    human ingestion, Plaintiff is at a significantly increased risk for developing the Subject Cancers

    and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           125.    Plaintiff Richard Obrien (for the purpose of this paragraph, “Plaintiff”), is a citizen


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    of California. Plaintiff purchased and used Ranitidine-Containing Products in California from

    approximately 1998 to November 2019. The Ranitidine-Containing Products purchased and used

    by Plaintiff specifically included OTC Zantac tablets and capsules from approximately 1998 to

    2019 (manufactured by GSK, Pfizer, BI, and Sanofi). Plaintiff also purchased and used OTC 150

    mg CVS-branded and Rite Aid-branded ranitidine tablets and capsules purchased from CVS and

    Rite Aid, respectively, until approximately 2019, but based on the limited available sources of

    information and discovery conducted to date, does not yet know the specific manufacturer(s) of

    the store-branded ranitidine tablets and capsules. During the time period in question, Dr. Reddy’s,

    Strides, and Perrigo manufactured OTC 150 mg CVS-branded ranitidine tablets and capsules for

    CVS, and Strides, Perrigo and Apotex manufactured 150 mg Rite Aid-branded ranitidine tablets

    and capsules for Rite Aid, and therefore, Strides, Dr. Reddy’s, Perrigo, and Apotex are named as

    Defendants until adequate information is produced to identify the specific entity(ies) that

    manufactured the store-branded ranitidine tablets and capsules purchased by Plaintiff. Thus, CVS,

    GSK, Pfizer, BI, Sanofi, Dr. Reddy’s, Strides, Perrigo, and Apotex are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           126.    Plaintiff Ana Pereira (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Florida.   Plaintiff purchased and used Ranitidine-Containing Products in Florida from


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    approximately May 2017 to 2020. The Ranitidine-Containing Products purchased and used by

    Plaintiff specifically included prescription 150 mg generic ranitidine tablets and capsules from

    approximately 2017 to 2020 manufactured by Glenmark. Further, based on the limited discovery

    obtained to date, Plaintiff purchased and used prescription 150 mg generic ranitidine tablets and

    capsules manufactured by one or more of the following defendants: Amneal, Dr. Reddy’s, Sandoz,

    and Strides. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, and Strides are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           127.    Plaintiff Cesar Pinon (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Nevada.     Plaintiff purchased and used Ranitidine-Containing Products in Nevada from

    approximately 2009 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included OTC 75 mg and 150 mg Zantac tablets and capsules from approximately

    2009 to 2015 (manufactured by BI). Thus, BI is the “Defendant” for the purposes of Plaintiff’s

    claims, unless otherwise specified. As a direct and proximate result of consuming these Ranitidine-

    Containing Products, which were unsafe for human ingestion, Plaintiff is at a significantly

    increased risk for developing the Subject Cancers and is in need of regular monitoring. Plaintiff

    would not have consumed these Ranitidine-Containing Products had Plaintiff known that doing so

    would subject Plaintiff to a significantly increased risk of developing the Subject Cancers, as well


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    as the cost of medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete

    injury as a result of Defendant’s wrongful conduct.

           128.    Plaintiff Jeffrey Pisano (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Colorado. Plaintiff purchased and used Ranitidine-Containing Products in Colorado from

    approximately 1998 to February 2020. The Ranitidine-Containing Products purchased and used

    by Plaintiff specifically included (a) OTC Zantac tablets and capsules from approximately 1998 to

    2020 (manufactured by GSK, Pfizer, BI, and Sanofi); (b) prescription 150 mg generic ranitidine

    tablets and capsules from approximately 1998 to 2003; and (c) prescription 150 mg Zantac tablets

    and capsules in approximately this same time frame (manufactured by GSK). Plaintiff also

    purchased and used OTC 150 mg Walmart-branded and Walgreens-branded ranitidine tablets and

    capsules purchased from Walmart and Walgreens, respectively, until approximately 2020, but

    based on the limited available sources of information and discovery conducted to date, does not

    yet know the specific manufacturer(s) of the store-branded ranitidine tablets and capsules. During

    the time period in question, Perrigo, Dr. Reddy’s, Strides, and Apotex manufactured OTC 150 mg

    Walmart-branded ranitidine tablets and capsules for Walmart, and Walgreens-branded ranitidine

    tablets and capsules for Walgreens, respectively, and therefore, Perrigo, Dr. Reddy’s, Strides, and

    Apotex are named as Defendants until adequate information is produced to identify the specific

    entity(ies) that manufactured the store-branded ranitidine tablets and capsules purchased by

    Plaintiff. Further, based on the limited discovery obtained to date, Plaintiff purchased prescription

    generic ranitidine tablets and capsules manufactured by one or more of the following defendants:

    Sandoz and Teva. Thus, Walmart, Walgreens, GSK, Pfizer, BI, Sanofi, Perrigo, Dr. Reddy’s,

    Sandoz, Strides, Teva, and Apotex are “Defendants” for the purposes of Plaintiff’s claims, unless

    otherwise specified. As a direct and proximate result of consuming these Ranitidine-Containing


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    Products, which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for

    developing the Subject Cancers and is in need of regular monitoring. Plaintiff would not have

    consumed these Ranitidine-Containing Products had Plaintiff known that doing so would subject

    Plaintiff to a significantly increased risk of developing the Subject Cancers, as well as the cost of

    medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a

    result of Defendants’ wrongful conduct.

           129.    Plaintiff Ronald Ragan (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Colorado. Plaintiff purchased and used Ranitidine-Containing Products in Colorado from

    approximately 2012 to 2019. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included OTC 150 mg Zantac tablets and capsules from approximately 2012 to 2019

    (manufactured by BI and Sanofi). Plaintiff also purchased and used OTC 150 mg Walmart-branded

    and Walgreens-branded ranitidine tablets and capsules purchased from Walmart and Walgreens,

    respectively, from approximately 2012 to 2019, but based on the limited available sources of

    information and discovery conducted to date, does not yet know the specific manufacturer(s) of

    the store-branded ranitidine tablets and capsules. During the time period in question, Perrigo, Dr.

    Reddy’s, Strides, and Apotex manufactured both OTC 150 mg Walmart-branded ranitidine tablets

    and capsules for Walmart, and Walgreens-branded ranitidine tablets and capsules for Walgreens,

    and therefore, Perrigo, Dr. Reddy’s, Strides, and Apotex are named as Defendants until adequate

    information is produced to identify the specific entity(ies) that manufactured the store-branded

    ranitidine tablets and capsules purchased by Plaintiff. Thus, Walmart, Walgreens, BI, Sanofi,

    Perrigo, Dr. Reddy’s, Strides, and Apotex are “Defendants” for the purposes of Plaintiff’s claims,

    unless otherwise specified. As a direct and proximate result of consuming these Ranitidine-

    Containing Products, which were unsafe for human ingestion, Plaintiff is at a significantly


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    increased risk for developing the Subject Cancers and is in need of regular monitoring. Plaintiff

    would not have consumed these Ranitidine-Containing Products had Plaintiff known that doing so

    would subject Plaintiff to a significantly increased risk of developing the Subject Cancers, as well

    as the cost of medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete

    injury as a result of Defendants’ wrongful conduct.

           130.    Plaintiff Ronald Ragis (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Vermont and Florida. Plaintiff purchased and used Ranitidine-Containing Products from

    approximately 1998 to 2016 as a citizen of Florida. The Ranitidine-Containing Products purchased

    and used by Plaintiff specifically included the following: (a) OTC 75 mg and 150 mg Zantac tablets

    and capsules from approximately 1998 to 2016 in Florida as a citizen of Florida (manufactured by

    GSK, Pfizer, and BI); and (b) OTC 75 mg and 150 mg Walgreens-branded ranitidine tablets and

    capsules from approximately 2011 to 2016 in Florida as a citizen of Florida. Plaintiff purchased

    and used additional OTC 75 mg and 150 mg Walgreens-branded ranitidine tablets and capsules

    from Walgreens in Florida from approximately 2011 to 2016, but based on the limited available

    sources of information and discovery conducted to date, does not yet know the specific

    manufacturer(s) of the Walgreens-branded ranitidine tablets and capsules. During the time period

    in question, Dr. Reddy’s, Strides, Perrigo, and Apotex manufactured OTC 75 mg and 150 mg

    Walgreens-branded ranitidine tablets and capsules for Walgreens, and therefore, Dr. Reddy’s,

    Strides, Perrigo, and Apotex are named as Defendants until adequate information is produced to

    identify the specific entity(ies) that manufactured the store-branded ranitidine tablets and capsules

    purchased by Plaintiff. Thus, GSK, Pfizer, BI, Walgreens, Apotex, Perrigo, Strides, and Dr.

    Reddy’s are “Defendants” with respect to purchases made in Florida while a citizen of Florida,

    unless otherwise specified. As a direct and proximate result of consuming these Ranitidine-


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    Containing Products, which were unsafe for human ingestion, Plaintiff is at a significantly

    increased risk for developing the Subject Cancers and is in need of regular monitoring. Plaintiff

    would not have consumed these Ranitidine-Containing Products had Plaintiff known that doing so

    would subject Plaintiff to a significantly increased risk of developing the Subject Cancers, as well

    as the cost of medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete

    injury as a result of Defendants’ wrongful conduct.

           131.     Plaintiff Tangie Sims (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Arizona.      Plaintiff purchased and used Ranitidine-Containing Products in Arizona from

    approximately 2007 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included OTC 150 mg Zantac tablets and capsules from approximately 2007 to 2020

    manufactured by BI and Sanofi. Plaintiff also purchased and used OTC Walmart-branded

    ranitidine tablets and capsules and OTC Walgreens-branded ranitidine tablets and capsules

    purchased from Walmart and Walgreens, respectively, until approximately 2020 but, based on the

    limited available sources of information and discovery conducted to date, does not yet know the

    additional manufacturer(s) of the store-branded ranitidine tablets and capsules. During that time

    period in question, Dr. Reddy’s, Apotex, Strides, and Perrigo manufactured both OTC Walmart-

    branded ranitidine tablets and capsules for Walmart and OTC Walgreens-branded ranitidine tablets

    and capsules for Walgreens, and therefore, Dr. Reddy’s, Apotex, Strides, and Perrigo are named

    as Defendants until adequate information is produced to identify the specific entity(ies) that

    manufactured the store-branded ranitidine tablets and capsules purchased by Plaintiff. Thus,

    Walmart, Walgreens, BI, Sanofi, Dr. Reddy’s, Apotex, Strides, and Perrigo are “Defendants” for

    the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,


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    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           132.    Plaintiff Rebecca Sizemore (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Indiana.     Plaintiff purchased and used Ranitidine-Containing Products from

    approximately 2015 to February 2020 in Indiana. The Ranitidine-Containing Products Plaintiff

    purchased and used specifically included (a) OTC 75 mg Zantac tablets and capsules from

    approximately 2015 to February 2020 (manufactured by BI and Sanofi); and (b) prescription 150

    mg generic ranitidine tablets and capsules from approximately 2015 to February 2020

    (manufactured by Sandoz, Strides, and Teva). Plaintiff also purchased and used OTC 75 mg CVS

    Health-branded ranitidine tablets and capsules from CVS from approximately 2015 to 2020 but,

    based on the limited available sources of information and discovery conducted to date, does not

    yet know the specific manufacturer(s) of the store-branded ranitidine tablets and capsules. During

    the time period in question, Dr. Reddy’s, Strides, and Perrigo manufactured OTC 75 mg CVS

    Health-branded ranitidine tablets and capsules for CVS, therefore, Dr. Reddy’s, Strides, and

    Perrigo are named as Defendants until adequate information is produced to identify the specific

    entity(ies) that manufactured the store-branded ranitidine tablets and capsules purchased by

    Plaintiff. Further, based on the limited discovery obtained to date, Plaintiff purchased and used

    prescription 150 mg generic ranitidine tablets and capsules manufactured by one or more of the

    following defendants: Amneal, Dr. Reddy’s, and Glenmark. Thus, BI, Sanofi, Sandoz, Strides,

    Teva, Perrigo, Amneal, Dr. Reddy’s, CVS and Glenmark are “Defendants” for the purposes of


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    Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of consuming these

    Ranitidine-Containing Products, which were unsafe for human ingestion, Plaintiff is at a

    significantly increased risk for developing the Subject Cancers and is in need of regular

    monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had Plaintiff

    known that doing so would subject Plaintiff to a significantly increased risk of developing the

    Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           133.    Plaintiff Armando Tapia (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Arizona. Plaintiff purchased and used Ranitidine-Containing Products in Arizona from

    approximately 2007 to 2019. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included (a) prescription 150 mg generic ranitidine tablets and capsules from

    approximately 2007 to 2019 (manufactured by Glenmark, Sandoz, Dr. Reddy’s, and Amneal).

    Further, based on the limited discovery obtained to date, Plaintiff purchased and used additional

    prescription 150 mg generic ranitidine tablets and capsules manufactured by one or more of the

    following defendants: Strides, and Teva. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides,

    and Teva are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As

    a direct and proximate result of consuming these Ranitidine-Containing Products, which were

    unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

    Cancers and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.


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           134.      Plaintiff Daniel Taylor (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Florida.     Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2015 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

    specifically included prescription 150 mg generic ranitidine tablets and capsules from

    approximately 2015 to 2020 (manufactured by Glenmark). Further, based on the limited discovery

    obtained to date, Plaintiff purchased and used additional prescription 150 mg generic ranitidine

    tablets and capsules manufactured by one or more of the following defendants: Amneal, Dr.

    Reddy’s, Sandoz, Strides, and Teva. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides, and

    Teva are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a

    direct and proximate result of consuming these Ranitidine-Containing Products, which were

    unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

    Cancers and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           135.      Plaintiff Joyce Taylor (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Florida.      Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2010 to February 2020. The Ranitidine-Containing Products purchased and used

    by Plaintiff specifically included prescription 150 mg generic ranitidine tablets and capsules from

    approximately 2010 to 2020. Further, based on the limited discovery obtained to date, Plaintiff

    purchased and used prescription 150 mg generic ranitidine tablets and capsules manufactured by

    one or more of the following defendants: Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides, and


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    Teva. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, Strides, and Teva are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           136.    Plaintiff Michael Tomlinson (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Florida. Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2000 to November 2019. The Ranitidine-Containing Products purchased and used

    by Plaintiff specifically included (a) OTC 150 mg Zantac tablets and capsules from approximately

    2014 to 2019 (manufactured by BI and Sanofi); (b) prescription 150 mg (manufactured by Amneal)

    and 300 mg generic ranitidine tablets and capsules from approximately 2006 to 2019; and (c)

    prescription 150 mg Zantac tablets and capsules from approximately 2000 to 2002 (manufactured

    by GSK). Further, based on the limited discovery obtained to date, Plaintiff purchased and used

    prescription generic ranitidine tablets and capsules manufactured by one or more of the following

    defendants: Dr. Reddy’s, Glenmark, Sandoz, Strides, and Teva. Plaintiff also purchased and used

    OTC Walmart-branded ranitidine tablets and capsules purchased from Walmart from

    approximately 2014 to 2019 but, based on the limited available sources of information and

    discovery conducted to date, does not yet know the specific manufacturer(s) of the store-branded

    ranitidine tablets and capsules. During the time period in question, Perrigo, Dr. Reddy’s, Strides,

    and Apotex manufactured OTC Walmart-branded ranitidine tablets and capsules for Walmart, and


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    therefore, Perrigo, Dr. Reddy’s, Strides, and Apotex are named as Defendants until adequate

    information is produced to identify the specific entity(ies) that manufactured the store-branded

    ranitidine tablets and capsules purchased by Plaintiff. Thus, Walmart, BI, Sanofi, Amneal, GSK,

    Dr. Reddy’s, Glenmark, Sandoz, Strides, Teva, Perrigo, and Apotex are “Defendants” for the

    purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of

    consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

    Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

    regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

    Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

    the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           137.    Plaintiff Chris Troyan (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Ohio. Plaintiff purchased and used Ranitidine-Containing Products in Ohio from approximately

    2002 to 2020. The Ranitidine-Containing Products purchased and used by Plaintiff specifically

    included OTC Zantac tablets and capsules manufactured by Pfizer, BI, and Sanofi. Plaintiff also

    purchased and used OTC CVS-branded ranitidine tablets and capsules purchased from CVS from

    approximately 2011 to 2020 but, based on the limited available sources of information and

    discovery conducted to date, does not yet know the specific manufacturer(s) of the store-branded

    ranitidine tablets and capsules. During the time period in question, Dr. Reddy’s, Strides, and

    Perrigo manufactured OTC CVS-branded ranitidine tablets and capsules for CVS; and therefore,

    Dr. Reddy’s, Perrigo, and Strides are named as Defendants until adequate information is produced

    to identify the specific entity(ies) that manufactured the store-branded ranitidine tablets and

    capsules purchased by Plaintiff. Thus, CVS, Pfizer, BI, Sanofi, Dr. Reddy’s, Perrigo, and Strides


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    are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and

    proximate result of consuming these Ranitidine-Containing Products, which were unsafe for

    human ingestion, Plaintiff is at a significantly increased risk for developing the Subject Cancers

    and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           138.     Plaintiff Sharon Tweg (for the purpose of this paragraph, “Plaintiff”), is a citizen

    of Florida. Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2010 to June 2018. The Ranitidine-Containing Products purchased and used by

    Plaintiff specifically included OTC 150 mg Zantac tablets and capsules in approximately 2010 to

    2018 (manufactured by BI and Sanofi). Thus, BI and Sanofi are “Defendants” for the purposes of

    Plaintiff’s claims, unless otherwise specified. As a direct and proximate result of consuming these

    Ranitidine-Containing Products, which were unsafe for human ingestion, Plaintiff is at a

    significantly increased risk for developing the Subject Cancers and is in need of regular

    monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had Plaintiff

    known that doing so would subject Plaintiff to a significantly increased risk of developing the

    Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

    Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

           139.     Plaintiff Angel Vega (for the purpose of this paragraph, “Plaintiff”), is a citizen of

    Montana.      Plaintiff purchased and used Ranitidine-Containing Products in Montana from

    approximately 2011 to 2016. The Ranitidine-Containing Products purchased and used by Plaintiff


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    specifically included OTC Zantac tablets and capsules from approximately 2015 to 2016,

    manufactured by BI. Thus, BI is the “Defendant” for the purposes of Plaintiff’s claims, unless

    otherwise specified. As a direct and proximate result of consuming these Ranitidine-Containing

    Products, which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for

    developing the Subject Cancers and is in need of regular monitoring. Plaintiff would not have

    consumed these Ranitidine-Containing Products had Plaintiff known that doing so would subject

    Plaintiff to a significantly increased risk of developing the Subject Cancers, as well as the cost of

    medical monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a

    result of Defendants’ wrongful conduct.

           140.    Plaintiff Gustavo Velasquez (for the purpose of this paragraph, “Plaintiff”), is a

    citizen of Florida. Plaintiff purchased and used Ranitidine-Containing Products in Florida from

    approximately 2000 to February 2020. The Ranitidine-Containing Products purchased and used

    by Plaintiff specifically included OTC 75 and 150 mg Zantac tablets and capsules from

    approximately 2000 to 2020 (manufactured by Pfizer, BI, and Sanofi). Thus, Pfizer, BI, and Sanofi

    are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and

    proximate result of consuming these Ranitidine-Containing Products, which were unsafe for

    human ingestion, Plaintiff is at a significantly increased risk for developing the Subject Cancers

    and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

    Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

    increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

    subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

    wrongful conduct.

           141.    Plaintiff Teresa Waters (for the purpose of this paragraph, “Plaintiff”), is a citizen


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   of Utah. Plaintiff purchased and used Ranitidine-Containing Products in Utah from approximately

   2017 to March 2020. The Ranitidine-Containing Products purchased and used by Plaintiff

   specifically included the following: (a) prescription 150 mg generic ranitidine tablets and capsules

   from approximately 2017 to 2020; and (b) OTC 150 mg Zantac tablets and capsules from

   approximately 2017 to 2020 (manufactured by BI and Sanofi). Further, based on the limited

   discovery obtained to date, Plaintiff purchased and used prescription 150 mg generic ranitidine

   tablets and capsules manufactured by one or more of the following defendants: Amneal, Dr.

   Reddy’s, Glenmark, Sandoz, and Strides. Thus, BI, Sanofi, Amneal, Dr. Reddy’s, Glenmark,

   Sandoz, and Strides are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise

   specified. As a direct and proximate result of consuming these Ranitidine-Containing Products,

   which were unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing

   the Subject Cancers and is in need of regular monitoring. Plaintiff would not have consumed these

   Ranitidine-Containing Products had Plaintiff known that doing so would subject Plaintiff to a

   significantly increased risk of developing the Subject Cancers, as well as the cost of medical

   monitoring and subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of

   Defendants’ wrongful conduct.

          142.    Plaintiff Tracy Wells (for the purpose of this paragraph, “Plaintiff”), is a citizen of

   Indiana. Plaintiff purchased and used Ranitidine-Containing Products from approximately 2013

   to 2019 in Indiana. The Ranitidine-Containing Products Plaintiff purchased and used specifically

   included the following: (a) OTC 150 mg Zantac tablets and capsules from approximately 2013 to

   2019 (manufactured by BI and Sanofi); and (b) prescription 300 mg generic ranitidine tablets and

   capsules from approximately 2013 to 2019. Further, based on the limited discovery obtained to

   date, Plaintiff purchased and used prescription 300 mg generic ranitidine tablets and capsules


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   manufactured by one or more of the following defendants: Dr. Reddy’s, Glenmark, Sandoz,

   Strides, and Teva. Thus, BI, Sanofi, Dr. Reddy’s, Glenmark, Sandoz, Strides, and Teva are

   “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and

   proximate result of consuming these Ranitidine-Containing Products, which were unsafe for

   human ingestion, Plaintiff is at a significantly increased risk for developing the Subject Cancers

   and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

   Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly

   increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

   subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

   wrongful conduct.

          143.    Plaintiff Darlene Whittington-Coates (for the purpose of this paragraph,

   “Plaintiff”), is a citizen of Maryland. Plaintiff purchased and used Ranitidine-Containing Products

   from approximately 2017 to October 2019 in Maryland. The Ranitidine-Containing Products

   Plaintiff purchased and used specifically included prescription 300 mg generic ranitidine tablets

   and capsules from approximately 2017 to October 2019, manufactured by Amneal. Further, based

   on the limited discovery obtained to date, Plaintiff purchased and used prescription 300 mg generic

   ranitidine tablets and capsules manufactured by one or more of the following defendants: Dr.

   Reddy’s, Glenmark, Sandoz, and Strides. Thus, Amneal, Dr. Reddy’s, Glenmark, Sandoz, and

   Strides are “Defendants” for the purposes of Plaintiff’s claims, unless otherwise specified. As a

   direct and proximate result of consuming these Ranitidine-Containing Products, which were

   unsafe for human ingestion, Plaintiff is at a significantly increased risk for developing the Subject

   Cancers and is in need of regular monitoring. Plaintiff would not have consumed these Ranitidine-

   Containing Products had Plaintiff known that doing so would subject Plaintiff to a significantly


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   increased risk of developing the Subject Cancers, as well as the cost of medical monitoring and

   subsequent treatment. Thus, Plaintiff has suffered concrete injury as a result of Defendants’

   wrongful conduct.

          144.    Plaintiff Joshua Winans (for the purpose of this paragraph, “Plaintiff”), is a citizen

   of Florida. Plaintiff purchased and used Ranitidine-Containing Products in Florida from

   approximately 2000 to 2019. The Ranitidine-Containing Products purchased and used by Plaintiff

   specifically included OTC 75 and 150 mg Zantac tablets and capsules from approximately 2000

   to 2019 (manufactured by Pfizer, BI, and Sanofi). Thus, Pfizer, BI, and Sanofi are “Defendants”

   for the purposes of Plaintiff’s claims, unless otherwise specified. As a direct and proximate result

   of consuming these Ranitidine-Containing Products, which were unsafe for human ingestion,

   Plaintiff is at a significantly increased risk for developing the Subject Cancers and is in need of

   regular monitoring. Plaintiff would not have consumed these Ranitidine-Containing Products had

   Plaintiff known that doing so would subject Plaintiff to a significantly increased risk of developing

   the Subject Cancers, as well as the cost of medical monitoring and subsequent treatment. Thus,

   Plaintiff has suffered concrete injury as a result of Defendants’ wrongful conduct.

                          IV.     FACTUAL ALLEGATIONS

   A. THE CREATION OF RANITIDINE-CONTAINING PRODUCTS AND THEIR
      INTRODUCTION TO THE MARKET

          145.    Defendants designed, manufactured, tested, marketed, labeled, packaged, handled,

   distributed, stored, and/or sold ranitidine under the Brand Zantac or a generic equivalent by either

   prescription or OTC.

                  1. GSK Develops Zantac Through a Flurry of Aggressive Marketing
                     Maneuvers

          146.    Ranitidine belongs to a class of medications called histamine H2-receptor


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   antagonists (or H2 blockers), which decrease the amount of acid produced by cells in the lining of

   the stomach. Other drugs within this class include cimetidine (branded Tagamet), famotidine

   (Pepcid), and nizatidine (Axid).

            147.   GSK-predecessor Smith, Kline & French discovered and developed Tagamet, the

   first H2 blocker and the prototypical histamine H2 receptor antagonist from which the later

   members of the class were developed.

            148.   GSK23 developed Zantac specifically in response to the success of cimetidine.

   Recognizing the extraordinary potential of having its own H2 blocker in the burgeoning anti-ulcer

   market, GSK was all too willing to ensure its drug succeeded at all costs.

            149.   In 1976, scientist John Bradshaw, on behalf of GSK-predecessor Allen & Hanburys

   Ltd. synthesized and discovered ranitidine.

            150.   Allen & Hanburys Ltd., a then-subsidiary of Glaxo Laboratories Ltd., is credited

   with developing ranitidine and was awarded Patent No. 4,128,658 by the U.S. Patent and

   Trademark Office in December 1978, which covered the ranitidine molecule.

            151.   In 1983, the FDA granted approval to GSK to sell Zantac, pursuant to the New

   Drug Application (“NDA”) No. 18-703, and it quickly became GSK’s most successful product—

   a “blockbuster.” Indeed, Zantac became the first prescription drug in history to reach $1 billion in

   sales.

            152.   To accomplish this feat, GSK entered into a joint promotion agreement with



   23
     GSK, as it is known today, was created through a series of mergers and acquisitions: In 1989,
    Smith, Kline & French merged with the Beecham Group to form SmithKline Beecham plc. In
    1995, Glaxo merged with the Wellcome Foundation to become Glaxo Wellcome plc. In 2000,
    Glaxo Wellcome plc merged with SmithKline Beecham plc to form GlaxoSmithKline plc and
    GlaxoSmithKline LLC.


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   Hoffmann-LaRoche, Inc.,

        .24 More salespersons drove more sales and blockbuster profits for GSK.

          153.    In June 1986, the FDA approved Zantac for maintenance therapy of duodenal ulcers

   and for treatment of patients with gastroesophageal reflux disease (“GERD”).

          154.    In December 1993, GSK (through Glaxo Wellcome plc) entered into a partnership

   agreement with Pfizer-predecessor company Warner-Lambert Co. to develop and market an OTC

   version of Zantac.25 In 1995, the FDA approved OTC Zantac 75 mg tablets through NDA 20-520.

   In 1998, the FDA approved OTC Zantac 75 mg effervescent tablets through NDA 20-745.

          155.    In 1998, GSK (Glaxo Wellcome plc) and Warner-Lambert Co. ended their

   partnership. As part of the separation, Warner-Lambert Co. retained control over the OTC NDA

   for Zantac and the Zantac trademark in the United States and Canada but was required to obtain

   approval from GSK prior to making any product or trademark improvements or changes. GSK

   retained rights to sell OTC Zantac outside of the United States and Canada,26 and retained control

   over the Zantac trademark internationally.27

          156.    In 2000, Pfizer acquired Warner-Lambert Co. Pfizer controlled the Zantac OTC

   NDAs until December 2006.

          157.    In October 2000, GSK sold to Pfizer the full rights to OTC Zantac in the United

   States and Canada pursuant to a divestiture and transfer agreement. As part of that agreement,

   GSK divested all domestic Zantac OTC assets to Pfizer, including all trademark rights. The

   agreement removed the restrictions on Pfizer’s ability to seek product line extensions or the



   24
      GSKZAN0000348881; GSKZAN0000348871
   25
      GSKZAN0000022775.
   26
      GSK also still held the right to sell prescription Zantac in the United States.
   27
      PFI00245109.

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   approval for higher doses of OTC Zantac. GSK retained the right to exclusive use of the Zantac

   name for any prescription Ranitidine-Containing Product in the United States.

            158.   In October 2003, Pfizer submitted NDA 21-698 for approval to market OTC Zantac

   150 mg. The FDA approved NDA 21-698 on August 31, 2004.

            159.   During the time that Pfizer owned the rights to OTC Zantac, GSK continued to

   manufacture the product.

            160.   In 2006, pursuant to a Stock and Asset Purchase Agreement, Pfizer sold and

   divested its entire consumer health division (including employees and documents) to Johnson &

   Johnson (“J&J”).28 Because of antitrust issues, however, Zantac was transferred to Boehringer

   Ingelheim.

            161.   Pfizer, through a divestiture agreement, transferred all assets pertaining to its

   Zantac OTC line of products, including the rights to sell and market all formulations of OTC

   Zantac in the United States and Canada, as well as all intellectual property, research and

   development, and customer and supply contracts to Boehringer Ingelheim.

            162.   As part of that deal, Boehringer Ingelheim obtained control and responsibility over

   all of the Zantac OTC NDAs.

            163.   GSK continued marketing prescription Zantac in the United States until 2017 and

   still holds the NDAs for several prescription formulations of Zantac. GSK continued to maintain

   manufacturing and supply agreements relating to various formulations of both prescription and

   OTC Zantac. According to its recent annual report, GSK claims to have “discontinued making




   28
        PFI00191352.


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   and selling prescription Zantac tablets in 2017 . . . in the U.S.”29

           164.   Boehringer Ingelheim owned and controlled the NDA for OTC Zantac between

   December 2006 and January 2017, and manufactured, marketed, and distributed the drug in the

   United States during that period.30

           165.   In 2017, Boehringer Ingelheim sold the rights of OTC Zantac to Sanofi pursuant to

   an asset swap agreement. As part of that deal, Sanofi obtained control and responsibility over

   Boehringer Ingelheim’s entire consumer healthcare business, including the OTC Zantac NDAs.

   As part of this agreement, Boehringer Ingelheim and Sanofi entered into a manufacturing

   agreement wherein Boehringer Ingelheim continued to manufacture OTC Zantac for Sanofi.

           166.   Sanofi has controlled the OTC Zantac NDAs and marketed, sold, and distributed

   Zantac in the United States from January 2017 until 2019 when it issued a global recall and ceased

   marketing, selling, and distributing OTC Zantac. In addition, Sanofi has marketed, sold, and

   distributed ranitidine globally since 1983.31

           167.   Throughout the time that Sanofi controlled the OTC Zantac NDAs, Boehringer

   Ingelheim Promeco, S.A. de C.V. and Patheon Manufacturing Services LLC manufactured the

   finished drug product.

           168.   Sanofi voluntarily recalled all Brand OTC Zantac and ranitidine on October 18,

   2019.

           169.   Pfizer and Boehringer Ingelheim have made demands for indemnification per the

   Stock and Asset Purchase Agreement against J&J for legal claims related to OTC Zantac products.



   29
      GlaxoSmithKline, plc, Annual Report 37 (2019), https://www.gsk.com/media/5894/annual-
     report.pdf.
   30
      Boehringer Ingelheim also owned and controlled ANDA 074662.
   31
      SANOFI_ZAN_MDL_0000208478.

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           170.   Sanofi has made a demand for indemnification against J&J pursuant to a 2016 Asset

   Purchase Agreement between J&J and Sanofi.

           171.   The times during which each Brand Manufacturer Defendant manufactured and

   sold branded Zantac are alleged below:

     Manufacturer/                            Prescription or     Sale Start      Sale End
      Repackager          Product            Over the Counter     Date Year       Date Year
                    Pills, Syrup, and
    GlaxoSmithKline Injection                Prescription            1983           2019
    Pfizer          Pills                    OTC                     1998           2006
    Boehringer
    Ingelheim       Pills                    OTC                     2007           2016
    Sanofi          Pills                    OTC                     2017           2019

        2. Patents Expire, Allowing Prescription and Later, OTC Generics (and Store
           Brands) to Enter the Market

           172.   In 1997, GSK’s patent on the original prescription Zantac product expired, allowing

   generic manufacturers to sell prescription ranitidine.

           173.   When GSK and Pfizer’s patent on the original OTC Zantac product expired, generic

   manufacturers and store-brand retailers were allowed to sell OTC ranitidine.

           174.   The FDA approved numerous generic and store-brand manufacturers for the sale

   of prescription and OTC ranitidine through the ANDA process. Those generic manufacturers who

   are named in this medical monitoring complaint are:

   ANDA              ANDA Holder       Strength
                                           Dosage              Date          Sold Until OTC/RX
   #                                       Form/               Approved
                                           Route
             Actavis Mid Atlantic EQ 15 mg Syrup;
   76124                                                       2/21/07       03/2015       Discontinued
             LLC                  Base/ml  Oral
             Amneal               EQ 150 &
                                           Tablet;
   77824     Pharmaceuticals   of 300 mg                       10/13/06      11/2019       Discontinued
                                           Oral
             New York, LLC        Base




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   ANDA            ANDA Holder       Strength   Dosage     Date       Sold Until OTC/RX
   #                                            Form/      Approved
                                                Route
                                     EQ 150 &
            Amneal                              Syrup;
   78312                             300 mg                9/2/08     11/2019   Rx
            Pharmaceuticals                     Oral
                                     Base
                                     EQ 150     Tablet;
   200172   Apotex Inc.                                    5/31/12    09/2019   OTC
                                     mg Base    Oral
                                     EQ 150 &
                                                Tablet;
   74680    Apotex Inc.              300 mg                9/12/97    09/2010   Rx
                                                Oral
                                     Base
                                     EQ 75 mg   Tablet;
   75167    Apotex Inc.                                    5/4/00     09/2019   OTC
                                     Base       Oral
                                     EQ 15 mg   Syrup;
   77602    Apotex Inc.                                    9/17/07    08/2009   Discontinued
                                     Base/ml    Oral
                                     EQ 150 &
                                                Tablet;
   74662    Boehringer Ingelheim     300 mg                8/29/97              Discontinued
                                                Oral
                                     Base
            Dr            Reddy’s    EQ 75 mg   Tablet;
   75294                                                   3/28/00    09/2019   OTC
            Laboratories Ltd.        Base       Oral
                                     EQ 150 &
            Dr            Reddy’s               Capsule;
   75742                             300 mg                11/29/00   09/2019   Rx
            Laboratories Ltd.                   Oral
                                     Base
                                     EQ 150 &
            Dr             Reddy’s              Tablet;
   76705                             300 mg                7/27/05    09/2019   Rx
            Laboratories Inc.                   Oral
                                     Base
            Dr            Reddy’s    EQ 150     Tablet;
   78192                                                   8/31/07    09/2019   OTC
            Laboratories Ltd.        mg Base    Oral
                                                                      Various
                                                                      dates
            Glenmark               EQ 150 &
                                            Tablet;                   between
   78542    Pharmaceuticals, Inc., 300 mg                  11/19/08             Rx
                                            Oral                      08-2019
            USA                    Base
                                                                      and
                                                                      10/2019
                                                                      Various
                                                                      dates
                                     EQ 75 mg Tablet;                 between
   76195    L. Perrigo Co.                                 8/30/02              OTC
                                     Base     Oral                    04/2007
                                                                      and
                                                                      10/2019
            Perrigo Research &
                               EQ 150           Tablet;
   91429    Development                                    5/11/11    10/2019   OTC
                               mg Base          Oral
            Company
                               EQ 150 &         Tablet;
   74467    Sandoz Inc.                                    8/29/97    09/2017   Rx
                               300 mg           Oral

                                                   69
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   ANDA            ANDA Holder   Strength    Dosage    Date          Sold Until OTC/RX
   #                                         Form/     Approved
                                             Route
                                 Base
                                 EQ 150 &
                                          Capsule;
   74655    Sandoz Inc.          300 mg                10/22/97      09/2019     Rx
                                          Oral
                                 Base
                                                                     On
                                                                     informati
                                 EQ 75 mg Tablet;                    on     and
   75519    Sandoz Inc.                                9/26/02                  Discontinued
                                 Base     Oral                       belief, on
                                                                     or before
                                                                     04/2020
            Strides Pharma Global EQ 150     Tablet;
   200536                                              6/28/11       10/2017     OTC
            Pte Ltd               mg Base    Oral
            Strides Pharma Global EQ 75 mg   Tablet;
   201745                                              2/29/12       12/2017     OTC
            Pte. Ltd.             Base       Oral
                                  EQ 150 &
            Strides Pharma Global            Tablet;
   205512                         300 mg               8/22/16       03/2020     Rx
            Pte. Ltd.                        Oral
                                  Base
            Strides Pharma Global EQ 75 mg   Tablet;
   209160                                              3/5/18        09/2018     OTC
            Pte. Ltd.             Base       Oral
            Strides Pharma Global EQ 150     Tablet;
   209161                                              2/22/18       09/2018     OTC
            Pte. Ltd.             mg Base    Oral
                                                                     On
                                  EQ 150 &                           informati
            Strides Pharma Global          Tablet;
   210010                         300 mg               8/1/18        on      and Rx
            Pte Ltd                        Oral
                                  Base                               belief,
                                                                     04/2020
           Teva Pharmaceuticals 150 mg & Tablet;
   74488                                                             2/2008      Rx
           USA, Inc.             300 mg     Oral
           Watson Laboratories, 150 mg & Tablet;
   074864                                                            10/2015     Rx
           Inc.                  300 mg     Oral
           IVAX Pharmaceuticals
           Inc     Sub     Teva 150 mg & Tablet;
   075165                                                            9/2016      Rx
           Pharmaceuticals USA, 300 mg      Oral
           Inc.
           IVAX Pharmaceuticals
           Inc     Sub     Teva             Tablet;
   075296                        75 mg                               1/2008      OTC
           Pharmaceuticals USA,             Oral
           Inc.
           Actavis Mid Atlantic
   076124                        15 mg/ml Syrup                      3/2015      Rx
           LLC
         175. “An abbreviated new drug application (ANDA) contains   data which is submitted


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   to FDA for the review and potential approval of a generic drug product. Once approved, an

   applicant may manufacture and market the generic drug product to provide a safe, effective, lower

   cost alternative to the Brand drug it references.”32

             176.   Generic (and store-brand) drugs must be comparable to the branded drug in dosage

   form, strength, route of administration, quality, performance characteristics, and intended use. 33

             177.   ANDA applicants generally do not need to establish safety and effectiveness.

   Instead, applicants must scientifically demonstrate that their product performs in the same manner

   as the innovator drug, known as “bioequivalence.”

             178.   Once a manufacturer’s ANDA is approved, that manufacturer is subject to post-

   market obligations. These obligations include submitting annual reports to the FDA, tracking and

   reporting adverse events, and tracking and reporting relevant medical literature, among other

   things.

             179.   These ANDA approvals allowed the Generic Manufacturer Defendants and Store-

   Brand Defendants to sell their ranitidine products throughout the country. And they did so.

             180.   All Defendants who have the power of labeling and listing drugs within the United

   States must obtain a National Drug Code (“NDC”). All NDC holders are required to register all

   drugs and list them with the FDA.

             181.   All Defendants who have registered establishments with the FDA must provide

   “[c]omplete, accurate and up-to-date establishment registration and drug listing information

   [which] is essential to promote patient safety. FDA relies on establishment registration and drug




   32
       https://www.fda.gov/drugs/types-applications/abbreviated-new-drug-application-anda.         U.S.
     Food & Drug Admin., Abbreviated New Drug Application (ANDA) (May 22, 2019).
   33
      Id.

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   listing information for several key programs, including:

                 Drug establishment inspections
                 Post market surveillance
                 Counterterrorism
                 Recalls
                 Drug quality reports
                 Adverse event reports
                 Monitoring of drug shortages and availability
                 Supply chain security
                 Drug import and export
                 Identification of products that are marketed without an approved application”34

          182.    In registering with the FDA to manufacture, label, distribute, and sell Ranitidine-

   Containing Products within all states and territories of the United States, all Defendants holding

   an ANDA, NDC or which registered an establishment had an obligation to comply with federal

   law.

          183.    Based upon the information provided by Defendants to date, the following Generic

   Prescription Defendants and Store-Brand Defendants manufactured Ranitidine-Containing

   Products during the following date ranges. Upon information and belief, each Defendant began

   researching Ranitidine-Containing Products at least one year prior to the date they commenced

   selling the product and, therefore, knew or should have known of all risks associated with

   Ranitidine-Containing Products discussed herein from that date onward:

                                                               Prescription
    Manufacturer/                                              or Over the Sale Start Sale End
    Repackager (by Corporate Family)             Product       Counter      Date Year Date Year
    Apotex                                  Pills and Syrup    Prescription   1997       2019
    Sandoz                                  Pills              Prescription   1997       2019
    Teva                                    Pills and Syrup    Both           1998       2016
    Perrigo                                 Pills              OTC            2000       2019


   34
     U.S. Food & Drug Admin., Electronic Drug Registration and Listing System (eDRLS) (Dec. 18,
    2020) https://www.fda.gov/drugs/guidance-compliance-regulatory-information/electronic-drug-
    registration-and-listing-system-edrls.

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                                                                Prescription
    Manufacturer/                                               or Over the Sale Start Sale End
    Repackager (by Corporate Family)             Product        Counter      Date Year Date Year
    Dr. Reddy’s                             Pills               Both           2005       2019
    Amneal                                  Pills and Syrup     Prescription   2009       2019
    Glenmark                                Pills               Prescription   2009       2019
    Strides                                 Pills               Both           2012       2020

          184.    Despite generic entry, the Brand Manufacturer Defendants continued to sell

   prescription and OTC Zantac. Although sales of Zantac declined as a result of generic competition,

   ranitidine sales remained strong over time. As recently as 2018, Zantac was one of the top 10

   antacid tablets in the United States, with sales of OTC Zantac 150 totaling $128.9 million – a 3.1%

   increase from the previous year.

        3. NDMA Is a Carcinogen Whose Dangerous Properties Are Well Established

          185.    According to the Environmental Protection Agency (“EPA”), NDMA is a

   semivolatile organic chemical that forms in both industrial and natural processes.”35 It is one of

   the simplest members of a class of N-nitrosamines, a family of potent carcinogens. Scientists have

   long recognized the dangers that NDMA poses to human health. A 1979 news article noted that

   “NDMA has caused cancer in nearly every laboratory animal tested so far.”36 NDMA is no longer



   35
       U.S. Environmental Protection Agency, Technical Fact Sheet – N-Nitroso-dimethylamine
     (NDMA)        (Nov.    2017),     https://www.epa.gov/sites/production/files/2017-10/documents/
     ndma_fact_sheet_update_9-15-17_508.pdf.
   36
       Jane Brody, Bottoms Up: Alcohol in Moderation Can Extend Life, The Globe & Mail
     (CANADA) (Oct. 11, 1979); see Rudy Platiel, Anger Grows as Officials Unable to Trace Poison
     in Reserve’s Water, The Globe & Mail (CANADA) (Jan. 6, 1990) (reporting that residents of Six
     Nations Indian Reserve “have been advised not to drink, cook or wash in the water because
     testing has found high levels of N-nitrosodimethylamine (NDMA), an industrial byproduct
     chemical that has been linked to cancer”); Kyrtopoulos et al, DNA Adducts in Humans After
     Exposure to Methylating Agents, 405 Mut. Res. 135 (1998) (noting that “chronic exposure of rats
     to very low doses of NDMA gives rise predominantly to liver tumors, including tumors of the
     liver cells (hepatocellular carcinomas), bile ducts, blood vessels and Kupffer cells”).


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   produced or commercially used in the United States except for research. Its only use today is to

   cause cancer in laboratory animals.

          186.    Both the EPA and the International Agency for Research on Cancer (“IARC”)

   classify NDMA as a probable human carcinogen.37

          187.    The IARC classification is based upon data that demonstrates NDMA “is

   carcinogenic in all animal species tested: mice, rats, Syrian gold, Chinese and European hamsters,

   guinea-pigs, rabbits, ducks, mastomys, various fish, newts and frogs. It induces benign and

   malignant tumors following its administration by various routes, including ingestion and

   inhalation, in various organs in various species.” Further, in 1978, IARC stated that NDMA

   “should be regarded for practical purposes as if it were carcinogenic to humans.”38

          188.    The American Conference of Governmental Industrial Hygienists classifies NDMA

   as a confirmed animal carcinogen.39

          189.    The Department of Health and Human Services (“DHHS”) states that NDMA is

   reasonably anticipated to be a human carcinogen.40 This classification is based upon DHHS’s

   findings that NDMA caused tumors in numerous species of experimental animals, at several

   different tissue sites, and by several routes of exposure, with tumors occurring primarily in the

   liver, respiratory tract, kidney, and blood vessels.41




   37
      See EPA Technical Fact Sheet, supra, note 35; Int’l Agency for Research on Cancer (IARC),
      Summaries & Evaluations, N-NITROSODIMETHYLAMINE (1978), http://www.inchem.org/
      documents/iarc/vol17/n-nitrosodimethylamine.html.
   38
       17 Int’l Agency for Research on Cancer, IARC Monographs on the Evaluation of the
     Carcinogenic Risk of Chemicals to Humans, Some N-Nitroso Compounds 151–52 (May 1978).
   39
      See EPA Technical Fact Sheet, supra note 35.
   40
      Id. at 3.
   41
      Id.


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          190.   The FDA considers NDMA a carcinogenic impurity42 and chemical that “could

   cause cancer” in humans.43 The FDA recognizes that NDMA is “known to be toxic.”44

          191.   The World Health Organization states that there is “conclusive evidence that

   NDMA is a potent carcinogen” and that there is “clear evidence of carcinogenicity.” 45 NDMA

   belongs to the so-called “cohort of concern” which is a group of highly potent mutagenic

   carcinogens that have been classified as probable human carcinogens.46

          192.   NDMA is among the chemicals known to the State of California to cause cancer

   (Title 27, California Code of Regulations, Section 27001), pursuant to California’s Safe Drinking

   Water and Toxic Enforcement Act of 1986 (Proposition 65).

          193.   The European Medicines Agency “(EMA”) has referred to NDMA as “highly

   carcinogenic.” It recommended that “primary attention with respect to risk for patients should be

   on these highly carcinogenic N-nitrosamines” (including NDMA), and categorized NDMA as “of

   highest concern with respect to mutagenic and carcinogenic potential.”47




   42
       ApotexCorp_0000000786.
   43
       FDA Statement, Janet Woodcock, Director – Ctr. for Drug Evaluation & Research, Statement
      Alerting Patients and Health Care Professionals of NDMA Found in Samples of Ranitidine
      (Sept. 13, 2019), https://www.fda.gov/news-events/press-announcements/statement-alerting-
      patients-and-health-care-professionals-ndma-found-samples-ranitidine.
   44
       Amneal_prod 1 _ 0000002938.
   45
       World Health Org., Guidelines for Drinking Water Quality, N-Nitrosodimethylamine (NDMA)
     (3d ed. 2008), https://www.who.int/water_sanitation_health/dwq/chemicals/ndmasummary_
     2ndadd.pdf.
   46
       International Council for Harmonisation of Technical Requirements for Pharmaceuticals for
     Human Use (ICH), Assessment and Control of DNA Reactive (Mutagenic) Impurities in
     Pharmaceuticals to Limit Potential Carcinogenic Risk, M7(R1), March 2017;
     https://database.ich.org/sites/default/files/M7_R1_Guideline.pdf.
   47
        Nitrosamines EMEA-H-A5(3)-1490 - Assessment Report (europa.eu) (June 25, 2020),
     https://www.ema.europa.eu/en/documents/referral/nitrosamines-emea-h-a53-1490-assessment-
     report_en.pdf.


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          194.    In 1989, the Agency for Toxic Substances and Disease Registry (ATSDR) stated

   that it is “reasonable to expect that exposure to NDMA by eating, drinking or breathing could

   cause cancer in humans” and that the “carcinogenicity of orally administered NDMA has been

   demonstrated unequivocally in acute, intermediate and chronic durations studies” in animals and

   “it is important to recognize that this evidence also indicates that oral exposures of acute and

   intermediate duration are sufficient to induce cancer.”       Moreover, “hepatoxicity has been

   demonstrated in all animal species that have been tested and has been observed in humans who

   were exposed to NDMA by ingestion or inhalation.” 48

          195.    The International Register of Potentially Toxic Chemicals (IRPTC 1988) lists

   regulations imposed by 13 countries for NDMA for occupational exposure, packing, storing and

   transport, disposal, and warns of its probable human carcinogenicity and its high level of toxicity

   by ingestion or inhalation.

          196.    The Occupational Safety and Health Administration classifies NDMA as “a

   carcinogen” that requires special and significant precautions along with specific hazard

   warnings.49

          197.    A review of Defendants’ own internal documents reveals that there is simply no

   question of material fact that it has been widely known within the medical and scientific

   community for over 40 years that NDMA is toxic and a known carcinogen.

          198.    In September 2019, Defendant GSK




   48
      ATSDR Toxicological Profile For N-Nitrosodimethylamine (December 1989), http://www.
     atsdr.cdc.gov/toxprofiles/tp141.pdf.
   49
      29 C.F.R §1910.1003 (2012).


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                          .”50 In addition, GSK



                                                                      Id. GSK



            Id.

         199.




                                                                         .51



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                .53

         200.




   50
      GSKZAN0000236640.
   51
      GSKZAN0000369506.
   52
      GSKZAN0000257640.
   53
      Id.


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          201.   Likewise, Defendant Sanofi

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                            59



                                                                                         Id.

          202.   Dr. Reddy’s



                                              60




   54
      GSKZAN0000163882.
   55
      See GSK Dear HCP Letter, (October 3, 2019), publicly available (for example, https://www.
     hpra. ie/docs/default-source/Safety-Notices/gsk-hcp-letter-03oct2019.pdf).
   56
      GSKZAN0000178581.
   57
      GSKZAN0000172037.
   58
      SANOFI_ZAN_MDL_0000169790.
   59
      SANOFI_ZAN_MDL_0000206858.
   60
      DRLMDL0000077291.


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         203.




   Id.

         204.   Defendant Apotex




                           .”64

         205.   Defendant Glenmark admits in its recall notification letter that “a carcinogenic




   61
      DRLMDL0000070414.
   62
      Id.
   63
      DRLMDL0000069991.
   64
      ApotexCorp_0000030734.


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   impurity, NDMA, has been found in ranitidine medications at levels exceeding the FDA allowable

   limit.”65

           206.   As early as 1980, consumer products containing unsafe levels of NDMA and other

   nitrosamines have been recalled by manufacturers, either voluntarily or at the direction of the FDA.

           207.   Most recently, beginning in the summer of 2018, there have been recalls of several

   generic drugs used to treat high blood pressure and heart failure – Valsartan, Losartan, and

   Irbesartan – because the medications contained nitrosamine impurities that do not meet the FDA’s

   safety standards. Some of the manufacturers of those contaminated medications also are parties

   to this case. They include Sandoz and Teva.

           208.   This continued in 2020 when the FDA required recalls of numerous generic

   manufacturers’ metformin, including metformin made by Apotex, Amneal, Granules, Sun

   Pharmaceuticals, Nostrum, and Teva.66

           209.   NDMA is a genotoxin which interacts with DNA and may subsequently induce

   mutations. Genotoxins are not considered to have a safe threshold or dose due to their ability to

   alter DNA.

           210.   The FDA has set an acceptable daily intake (“ADI”) level for NDMA at 96 ng.

   That means that consumption of 96 ng of NDMA a day would increase the risk of developing

   cancer by 0.001% over the course of a lifetime. That risk increases as the level of NDMA exposure




   65
     GiantEagle_MDL2924_00000303.
   66
     U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Metformin
    (Jan. 6, 2021), https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-
    announcements-ndma-metformin.


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   increases. However, any level above 96 ng is considered unacceptable.67

          211.    In studies examining carcinogenicity through oral administration, mice exposed to

   NDMA developed cancer in the kidney, bladder, liver, and lung. In comparable rat studies, cancers

   were observed in the liver, kidney, pancreas, and lung. In comparable hamster studies, cancers

   were observed in the liver, pancreas, and stomach. In comparable guinea-pig studies, cancers were

   observed in the liver and lung. In comparable rabbit studies, cancers were observed in the liver

   and lung.

          212.    In other long-term animal studies in mice and rats utilizing different routes of

   exposures – inhalation, subcutaneous injection, and intraperitoneal (abdomen injection) – cancer

   was observed in the lung, liver, kidney, nasal cavity, and stomach.

          213.    Prior to the withdrawal of ranitidine, it was considered a category B drug for birth

   defects, meaning it was considered safe to take during pregnancy. Yet animals exposed to NDMA

   during pregnancy birthed offspring with elevated rates of cancer in the liver and kidneys.

          214.    NDMA is a very small molecule. That allows it to pass through the blood-brain

   and placental barrier. This is particularly concerning as ranitidine has been marketed for pregnant

   women and young children for years.

          215.    Exposure to high levels of NDMA has been linked to liver damage in humans.68

          216.    Numerous in vitro studies confirm that NDMA is a mutagen – causing genetic

   mutations in human and animal cells.




   67
      U.S. Food & Drug Admin., FDA Updates and Press Announcements on Angiotensin II Receptor
      Blocker (ARB) Recalls (Valsartan, Losartan, and Irbesartan) (Feb. 28, 2019),
      https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
      angiotensin-ii-receptor-blocker-arb-recalls-valsartan-losartan.
   68
      See EPA Technical Fact Sheet, supra note 35.

                                                       81
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          217.    Overall, the animal data demonstrates that NDMA is carcinogenic in all animal

   species tested: mice; rats; Syrian golden, Chinese and European hamsters; guinea pigs; rabbits;

   ducks; mastomys; fish; newts; and frogs.

          218.    The EPA classified NDMA as a probable human carcinogen “based on the

   induction of tumors at multiple sites in different mammal species exposed to NDMA by various

   routes.”69

          219.    Pursuant to EPA cancer guidelines, “tumors observed in animals are generally

   assumed to indicate that an agent may produce tumors in humans.”70

          220.    In addition to the overwhelming animal data linking NDMA to cancer, there are

   numerous human epidemiological studies exploring the effects of dietary exposure to various

   cancers. These studies consistently show increased risks of various cancers.

          221.    In a 1995 epidemiological case-control study looking at NDMA dietary exposure

   with 220 cases, researchers observed a statistically significant 700% increased risk of gastric

   cancer in persons exposed to more than 0.51 micrograms/day.71

          222.    In a 1995 epidemiological case-control study looking at NDMA dietary exposure

   with 746 cases, researchers observed statistically significant elevated rates of gastric cancer in

   persons exposed to more than 0.191 micrograms/day.72

          223.    In another 1995 epidemiological case-control study looking at, in part, the effects



   69
       Id.
   70
       See U.S. Envtl. Protection Agency, Risk Assessment Forum, Guidelines for Carcinogen Risk
      Assessment (Mar. 2005), https://www3.epa.gov/airtoxics/cancer_guidelines_final_3-25-05.pdf.
   71
       Pobel et al., Nitrosamine, Nitrate and Nitrite in Relation to Gastric Cancer: A Case-control
      Study in Marseille, France, 11 Eur. J. Epidemiol. 67-73 (1995).
   72
       La Vecchia, et al., Nitrosamine Intake & Gastric Cancer Risk, 4 Eur. J. Cancer Prev. 469-74
      (1995).


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   of dietary consumption on cancer, researchers observed a statistically significant elevated risk of

   developing aerodigestive cancer after being exposed to NDMA at 0.179 micrograms/day. 73

          224.    In a 1999 epidemiological cohort study looking at NDMA dietary exposure with

   189 cases and a follow up of 24 years, researchers noted that “N-nitroso compounds are potent

   carcinogens” and that dietary exposure to NDMA more than doubled the risk of developing

   colorectal cancer.74

          225.    In a 2000 epidemiological cohort study looking at occupational exposure of

   workers in the rubber industry, researchers observed significant increased risks for NDMA

   exposure for esophagus, oral cavity, and pharynx cancer.75

          226.    In a 2011 epidemiological cohort study looking at NDMA dietary exposure with

   3,268 cases and a follow up of 11.4 years, researchers concluded that “[d]ietary NDMA intake was

   significantly associated with increased cancer risk in men and women” for all cancers, and that

   “NDMA was associated with increased risk of gastrointestinal cancers” including rectal cancers.76

          227.    In a 2014 epidemiological case-control study looking at NDMA dietary exposure

   with 1,760 cases, researchers found a statistically significant elevated association between NDMA

   exposure and rectal cancer.77


   73
       Rogers et al., Consumption of Nitrate, Nitrite, and Nitrosodimethylamine and the Risk of Upper
      Aerodigestive Tract Cancer, 5 Cancer Epidemiol. Biomarkers Prev. 29–36 (1995).
   74
       Knekt et al., Risk of Colorectal and Other Gastro-Intestinal Cancers after Exposure to Nitrate,
      Nitrite and N-nitroso Compounds: A Follow-Up Study, 80 Int. J. Cancer 852–56 (1999).
   75
       Straif et al., Exposure to High Concentrations of Nitrosamines and Cancer Mortality Among a
      Cohort of Rubber Workers, 57 Occup. Envtl. Med 180–87 (2000).
   76
        Loh et al., N-nitroso Compounds and Cancer Incidence: The European Prospective
      Investigation into Cancer and Nutrition (EPIC)–Norfolk Study, 93 Am. J. Clinical Nutrition
      1053–61 (2011).
   77
       Zhu et al., Dietary N-nitroso Compounds and Risk of Colorectal Cancer: A Case-control Study
      in Newfoundland and Labrador and Ontario, Canada, 111 Brit. J. Nutrition 6, 1109–17 (2014).


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          228.    NDMA is also known to be genotoxic – meaning, it can cause DNA damage in

   human cells. Indeed, multiple studies demonstrate that NDMA is genotoxic both in vivo and in

   vitro. However, recent studies have shown that the ability of NDMA to cause mutations in cells

   is affected by the presence of enzymes typically found in living humans, suggesting that “humans

   may be especially sensitive to the carcinogenicity of NDMA.”78

          229.    In addition to studies demonstrating that NDMA directly causes cancer, research

   shows that exposure to NDMA (a:) can exacerbate existing but dormant (i.e., not malignant) tumor

   cells; (b) promote otherwise “initiated cancer cells” to develop into cancerous tumors; and (c)

   reduce the ability of the body to combat cancer as NDMA is immunosuppressive. Thus, in addition

   to NDMA being a direct cause of cancer itself, NDMA can also be a contributing factor to a cancer

   injury caused by some other source.

        4. NDMA Is Discovered in Ranitidine-Containing Products, Leading to Market
           Withdrawal

          230.    On September 9, 2019, pharmacy and testing laboratory Valisure LLC and

   ValisureRX LLC (collectively, “Valisure”) filed a Citizen Petition calling for the recall of all

   Ranitidine-Containing Products due to detecting exceedingly high levels of NDMA when testing

   ranitidine pills using gas chromatography-mass spectrometry. FDA and European regulators

   started reviewing the safety of ranitidine with specific focus on the presence of NDMA. 79 This set

   off a cascade of recalls by Defendants.




   78
     World Health Org., supra note 45.
   79
     FDA Statement, Woodcock, supra note 43; Press Release, European Medicines Agency, EMA
    to Review Ranitidine Medicines Following Detection of NDMA (Sept. 13, 2019),
    https://www.ema.europa.eu/en/news/ema-review-ranitidine-medicines-following-detection-
    ndma.


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          231.    On September 13, 2019, the FDA’s Director for Drug Evaluation and Research, Dr.

   Janet Woodcock, issued a statement warning that some ranitidine medicines may contain

   NDMA.80

          232.    On September 24, 2019, Sandoz voluntarily recalled all of its Ranitidine-

   Containing Products due to concerns of a “nitrosamine impurity, N-nitrosodimethylamine

   (NDMA), which was found in the recalled medicine.”81

          233.    On September 26, 2019, Apotex, Walgreens, Walmart, and Rite Aid voluntarily

   recalled all ranitidine products and removed them from shelves.82 Apotex issued a statement,

   noting that “Apotex has learned from the U.S. Food and Drug Administration and other Global

   regulators that some ranitidine medicines including brand and generic formulations of ranitidine

   regardless of the manufacturer, contain a nitrosamine impurity called N-nitrosodimethylamine

   (NDMA).”83

          234.    On September 28, 2019, CVS stated that it would stop selling Zantac and its CVS

   Health Store-Brand ranitidine out of concern that it might contain a carcinogen.




   80
       FDA Statement, Woodcock, supra note 43.
   81
       FDA News Release, U.S. Food & Drug Admin., FDA Announces Voluntary Recall of Sandoz
      Ranitidine Capsules Following Detection of an Impurity (Sept. 24, 2019),
      https://www.fda.gov/news-events/press-announcements/fda-announces-voluntary-recall-
      sandoz-ranitidine-capsules-following-detection-impurity.
   82
       U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Zantac
      (ranitidine) (Sept. 26, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-
      updates-and-press-announcements-ndma-zantac-ranitidine.
   83
        Company Announcement, U.S. Food & Drug Admin., Apotex Corp. Issues Voluntary
      Nationwide Recall of Ranitidine Tablets 75mg and 150mg (All Pack Sizes and Formats) Due to
      the Potential for Detection of an Amount of Unexpected Impurity, N-nitrosodimethylamine
      (NDMA) Impurity in the Product (Sept. 25, 2019), https://www.fda.gov/safety/recalls-market-
      withdrawals-safety-alerts/apotex-corp-issues-voluntary-nationwide-recall-ranitidine-tablets-
      75mg-and-150mg-all-pack-sizes-and.


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          235.    On October 2, 2019, the FDA ordered manufacturers of ranitidine to test their

   products and recommended using a liquid chromatography with high resolution mass spectrometer

   (“LC-HRMS”) testing protocol, which “does not use elevated temperatures.”84

          236.    On October 8, 2019, GSK voluntarily recalled all Ranitidine-Containing Products

   internationally.85 As part of the recall, GSK publicly acknowledged that unacceptable levels of

   NDMA were discovered in Zantac and noted that “GSK is continuing with investigations into the

   potential source of the NDMA.”86

          237.    On October 18 and 23, 2019, Sanofi and Dr. Reddy’s voluntarily recalled all of

   their Ranitidine-Containing Products.87

          238.    On October 28, 2019, Perrigo voluntarily recalled all of its Ranitidine-Containing

   Products.88

          239.    In its recall notice, Perrigo stated, “[a]fter regulatory bodies announced that

   ranitidine may potentially contain NDMA, Perrigo promptly began testing of its externally sourced

   ranitidine API (active pharmaceutical ingredient) and ranitidine-based products. On October 8,

   2019, Perrigo halted shipments of the product based upon preliminary results. Based on the totality



   84
       U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Zantac
      (ranitidine) (Oct. 2, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-
      and-press-announcements-ndma-zantac-ranitidine.
   85
       Press Release, Gov. UK, Zantac – MHRA Drug Alert Issued as GlaxoSmithKline Recalls All
      Unexpired Stock (Oct. 8, 2019), https://www.gov.uk/government/news/zantac-mhra-drug-alert-
      issued-as-glaxosmithkline-recalls-all-unexpired-stock.
   86
       Justin George Varghese, GSK Recalls Popular Heartburn Drug Zantac Globally After Cancer
      Scare, Reuters (Oct. 8, 2019), https://www.reuters.com/article/us-gsk-heartburn-zantac/gsk-
      recalls-popular-heartburn-drug-zantac-globally-after-cancer-scare-idUSKBN1WN1SL.
   87
       U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Zantac
      (ranitidine) (Oct. 23, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-
      updates-and-press-announcements-ndma-zantac-ranitidine.
   88
       Id.


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   of data gathered to date, Perrigo has made the decision to conduct this voluntary recall.”89

           240.    On November 1, 2019, the FDA announced the results of recent testing, finding

   unacceptable levels of NDMA in Ranitidine-Containing Products, and requested that drug makers

   begin to voluntarily recall their Ranitidine-Containing Products if the FDA or manufacturers

   discovered NDMA levels above the acceptable limits.90

           241.    On December 4, 2019, the FDA issued a statement notifying consumers who

   wished to continue taking ranitidine to consider limiting their intake of nitrite-containing foods,

   e.g., processed meats and preservatives like sodium nitrite.91 This advice mirrored an admonition

   issued by Italian scientists in 1981 after finding that ranitidine reacted with nitrites in vitro to form

   toxic and mutagenic effects in bacteria. The prudent advice of Dr. Silvio de Flora published in

   October 1981 in The Lancet was to “avoid nitrosation as far as possible by, for example, suggesting

   a diet low in nitrates and nitrites, by asking patients not to take these at times close to (or with)

   meals or by giving inhibitors of nitrosation such as ascorbic acid.”92 If GSK had only heeded Dr.

   de Flora’s advice in 1981, millions of people might have avoided exposure to NDMA formed as a

   result of ranitidine’s interaction with the human digestive system.




   89
       Company Announcement, U.S. Food & Drug Admin., Perrigo Company plc Issues Voluntary
     Worldwide Recall of Ranitidine Due to Possible Presence of Impurity, N-nitrosodimethylamine
     (NDMA) Impurity in the Product (Oct. 23, 2019), https://www.fda.gov/safety/recalls-market-
     withdrawals-safety-alerts/perrigo-company-plc-issues-voluntary-worldwide-recall-ranitidine-
     due-possible-presence-impurity-n.
   90
       U.S. Food & Drug Admin., Laboratory Tests | Ranitidine, https://www.fda.gov/drugs/drug-
      safety-and-availability/laboratory-tests-ranitidine (content current as of Nov. 1, 2019).
   91
       U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Zantac
     (ranitidine) (Dec. 4, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-
     and-press-announcements-ndma-zantac-ranitidine.
   92
       Silvio de Flora, Cimetidine, Ranitidine and Their Mutagenic Nitroso Derivatives, The Lancet,
      Oct. 31, 1981, at 993-94.


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          242.    Between November 1, 2019, and February 27, 2020, Amneal and Glenmark

   recalled their products from the market, citing NDMA concerns.93

          243.    On January 2, 2020, research laboratory, Emery Pharma, submitted a Citizen

   Petition to the FDA, showing that the ranitidine molecule is heat-liable and under certain

   temperatures progressively accumulates NDMA.

          244.    Emery’s Citizen Petition outlined its substantial concern that ranitidine is a time-

   and temperature-sensitive pharmaceutical product that develops NDMA when exposed to heat, a

   common occurrence during shipping, handling, and storage. Emery requested that the FDA issue

   a directive to manufacturers to clearly label ranitidine with a warning that “by-products that are

   probable carcinogens can be generated if exposed to heat.” In addition to warning about this

   condition, Emery requested agency directives to manufacturers and distributors to ship ranitidine

   products in temperature-controlled vehicles.94

          245.    In response,95 on April 1, 2020, the FDA recounted that a recall is an “effective

   methods [sic] of removing or correcting defective FDA-regulated products . . . particularly when

   those products present a danger to health.”96        The FDA sought the voluntary consent of

   manufacturers to accept the recall “to protect the public health from products that present a risk of




   93
       See generally U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA
      in Zantac (ranitidine) https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-
      press-announcements-ndma-zantac-ranitidine (content current as of Apr. 16, 2020).
   94
       Emery Pharma FDA Citizen Petition (Jan. 2, 2020) https://emerypharma.com/news/emery-
     pharma-ranitidine-fda-citizen-petition/.
   95
       Letter of Janet Woodcock, U.S. Food & Drug Admin., Docket No. FDA-2020-P-0042 (Apr. 1,
     2020), available at https://emerypharma.com/wp-content/uploads/2020/04/FDA-2020-P-0042-
     CP-Response-4-1-2020.pdf.
   96
       Id. at 5 (citing 21 CFR 7.40(a)).


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   injury.”97 The FDA found that the recall of all Ranitidine-Containing Products and a public

   warning of the recall was necessary because the “product being recalled presents a serious health

   risk.”98 The FDA therefore sent Information Requests to all applicants and pending applicants of

   Ranitidine-Containing Products “requesting a market withdrawal.”99

          246.    The FDA found its stability testing raised concerns that NDMA levels in some

   Ranitidine-Containing Products stored at room temperature can increase with time to unacceptable

   levels. In the same vein, FDA testing revealed that higher NDMA levels were found as the

   products approached their expiration dates. The FDA’s testing eroded the agency’s confidence

   that any Ranitidine-Containing Product would remain stable through its labeled expiration date.

   Consequently, the FDA requested a market withdrawal of all ranitidine products. The FDA also

   announced to the public that the Agency’s laboratory tests indicate that temperature and time

   contribute to an increase in NDMA levels in some ranitidine products. The FDA’s decision to

   withdraw the drug rendered moot Emery’s request for temperature-controlled shipping conditions.

          247.    The FDA’s reaction was consistent with comparable regulatory action throughout

   the world. Before the FDA acted, over 43 different countries and jurisdictions restricted or banned

   Ranitidine-Containing Products.100

          248.    The European Medicines Agency (“EMA”), the Union’s EU equivalent to the FDA,

   through an Article 31 Referral, determined the sale of all Ranitidine-Containing Products should




   97
       Id.
   98
       Id. at 7.
   99
       Id. at 10 n.43.
   100
        Margaret Newkirk & Susan Berfield, FDA Recalls Are Always Voluntary and Sometimes
      Haphazard – and The Agency Doesn’t Want More Authority to Protect Consumers, Bloomberg
      Businessweek (Dec. 3, 2019), https://www.bloomberg.com/graphics/2019-voluntary-drug-
      recalls-zantac/.

                                                       89
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   be suspended on September 19, 2019. On April 30, 2020, the Human Medicines Committee of

   the EMA “has recommended the suspension of all ranitidine medicines in the EU due to the

   presence of low levels of an impurity called N-nitrosodimethylamine (NDMA).” The EMA

   recognizes NDMA as a probable human carcinogen and issued a “precautionary suspension of

   these medicines in the EU” because “NDMA has been found in several ranitidine medicines above

   levels considered acceptable, and there are unresolved questions about the source of the

   impurities.”101

          249.       On September 17, 2020, after a ranitidine manufacturer requested that the EMA re-

   examine its decision and permit ranitidine to be marketed again in the EU, the EMA confirmed its

   prior recommendation to suspend all ranitidine medicines in the EU due to the presence of NDMA

   noting that it is a probable human carcinogen and that there is evidence that NDMA forms from

   the degradation of ranitidine itself with increasing levels seen over shelf life.102

   B. THE SCIENCE

         1. How Ranitidine Transforms into NDMA

          250.       The ranitidine molecule itself contains the constituent molecules to form NDMA.

   See Figure 1.




   101
        Eur. Med. Agency, Suspension of Ranitidine Medicines in the EU (Apr. 30, 2020),
     https://www.ema.europa.eu/en/documents/referral/ranitidine-article-31-referral-suspension-
     ranitidine-medicines-eu_en.pdf.
   102
       Eur. Med. Agency, EMA Confirms Recommendation to Suspend All Ranitidine Medicines in
     the EU (Nov. 24, 2020), https://www.ema.europa.eu/en/documents/referral/ranitidine-article-31-
     referral-ema-confirms-recommendation-suspend-all-ranitidine-medicines-eu_en.pdf.

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    Figure 1 – Diagram of Ranitidine & NDMA Molecules




           251.     The degradation occurs independently in two parts of the ranitidine molecule, with

   the products of the degradation combining to produce NDMA.

           252.     The formation of NDMA by the reaction of DMA and a nitroso source (such as a

   nitrite) is well characterized in the scientific literature and has been identified as a concern for

   contamination of the U.S. water supply.103 Indeed, in 2003, alarming levels of NDMA in drinking

   water processed by wastewater-treatment plants were specifically linked to the presence of

   ranitidine.104

           253.     The high levels of NDMA observed in Ranitidine-Containing Products are a

   function of various factors. The ranitidine molecule internally degrades to form NDMA. The

   degradation of ranitidine can increase over time under normal storage conditions, but more so with

   exposure to heat and/or humidity. Once in the body, ranitidine continues to degrade and can yield

   increasing levels of NDMA in the human digestive system, and when it interacts with nitrogenous

   products.


   103
       Ogawa et al., Purification and Properties of a New Enzyme, NG, NG-dimethylarginine
     Dimethylaminohydrolase, from Rat Kidney, 264 J. Bio. Chem. 17, 10205–209 (1989).
   104
       Mitch et al., N-Nitrosodimethylamine (NDMA) as a Drinking Water Contaminant: A Review,
     20 Env. Eng. Sci. 5, 389–404 (2003).

                                                        91
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         2. Formation of NDMA in the Environment of the Human Stomach

          254.    When the ranitidine molecule is exposed to the acidic environment of the stomach,

   particularly when accompanied by nitrites (a chemical commonly found in heartburn-inducing

   foods), the Nitroso molecule (0=N) and the DMA molecule (H3C-N-CH3) break off and reform as

   NDMA.

          255.    In 1981, Dr. Silvio de Flora, an Italian researcher from the University of Genoa,

   published the results of experiments he conducted on ranitidine in the well-known journal, The

   Lancet. When ranitidine was exposed to human gastric fluid in combination with nitrites, his

   experiment showed “toxic and mutagenic effects.”105 Dr. de Flora hypothesized that these

   mutagenic effects could have been caused by the “formation of more than one nitroso derivative

   [which includes NDMA] under our experimental conditions.” Id. Dr. de Flora cautioned that, in

   the context of ranitidine ingestion, “it would seem prudent to . . . suggest[] a diet low in nitrates

   and nitrites, by asking patients not to take these at times close to (or with) meals.”106 Id.

          256.    GSK knew of Dr. de Flora’s publication because, two weeks later, GSK responded

   in The Lancet, claiming that the levels of nitrite needed to induce the production of nitroso

   derivatives (i.e., NDMA) were not likely to be experienced by people in the real world.107

          257.    This response reflects GSK’s reputation for “adopting the most combative,




   105
       De Flora, supra note 92.
   106
       This admonition came two years before the FDA approved Zantac in 1983. Notwithstanding,
     in 1998 GSK applied for and obtained an indication for OTC Zantac “[f]or the prevention of
     meal-induced heartburn at a dose of 75 mg taken 30 to 60 minutes prior to a meal.” See Ctr. for
     Drug Eval. & Research, Approval Package (June 8, 1998), available at
     https://www.accessdata.fda.gov/drugsatfda_docs/nda/98/20520s1_Zantac.pdf.            So     GSK
     specifically invited patients to take Zantac shortly before eating heartburn-inducing food.
   107
       R. T., Brittain et al., Safety of Ranitidine, The Lancet 1119 (Nov. 14, 1981).


                                                        92
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   scorched-earth positions in defense of its brands.”108 The company has no compunctions against

   distorting objective science to maintain its lucrative monopoly franchises, and its egregious

   conduct surrounding Zantac is not some isolated incident.

          258.    GSK endangered patient health while reaping billions of dollars in profits from

   Paxil, Wellbutrin, and Avandia. As we now know, the company was involved in covering up

   scientific data, offering illegal kickbacks to prescribing physicians, intimidating witnesses, and

   defrauding Medicare to profit from these medicines. In the wake of Congressional hearings into

   the company’s outrageous misbehavior,109 GSK’s actions resulted in a criminal investigation and

   the then-largest guilty plea by a pharmaceutical company for fraud and failure to report safety data

   in the country’s history.110 There is currently an open investigation of GSK and Sanofi being

   conducted by the Department of Justice relating to the failure to disclose to the federal government

   information about the potential presence of NDMA in Zantac.111

          259.    GSK attended an FDA Advisory Committee in May 1982 where its representative

   testified and presented evidence relating to the safety of Zantac, including the potential for

   ranitidine to form nitrosamines. However, GSK failed to disclose its new evidence relating to




   108
       Jim Edwards, GSK’s Alleged Coverup of Bad Avandia Data: A Snapshot of Its Poisonous
     Corporate Culture, Moneywatch (July 13, 2010) https://www.cbsnews.com/news/gsks-alleged-
     coverup-of-bad-avandia-data-a-snapshot-of-its-poisonous-corporate-culture/.
   109
       Staff Report on GlaxoSmithKline and the Diabetes Drug Avandia, Senate Comm. on Finance,
     111th Cong.2d Sess. 1 (Comm. Print Jan. 2010).
   110
       U.S. Dep’t of Justice, GlaxoSmithKline to Please Guilty and Pay $3 Billion to Resolve Fraud
     Allegations     and      Failure   to     Report    Safety     Data     (July    2,     2012),
     https://www.justice.gov/opa/pr/glaxosmithkline-plead-guilty-and-pay-3-billion-resolve-fraud-
     allegations-and-failure-report.
   111
        Sanofi, Half-Year Financial Report (2020), https://www.sanofi.com/-/media/Project/One-
     Sanofi-Web/Websites/Global/Sanofi-COM/Home/en/investors/docs/2020_07_29_HY_
     financial_report_EN.pdf.


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   ranitidine and the formation of a nitrosamine, specifically the formation of NDMA.112

          260.    One month later, in June 1982, GSK submitted its draft Summary Basis of Approval

   and labeling for Zantac. Again, GSK failed to submit or otherwise disclose its new evidence

   relating to ranitidine and the formation of NMDA.113

          261.    In its submission to the FDA, GSK discussed its findings from internal studies

   performed in 1980 that ranitidine formed a different nitrosamine, n-nitroso-nitrolic acid, a potent

   mutagen, but explained that these results had no “practical clinical significance”114:




          262.    In 1980 – before Zantac was approved by the FDA – GSK conducted another study

   to examine, among other things, how long-term use of ranitidine could affect the levels of nitrite

   in the human stomach.115 Remarkably, GSK admitted that ranitidine use caused the proliferation

   of bacteria in the human stomach that are known to convert nitrates to nitrites, which leads to

   elevated levels of nitrite in the stomach environment. GSK acknowledged this could increase the

   risk of forming nitrosamines and, in turn, cancer, but then dismissed this risk because people were



   112
       GSKZAN0000050413.
   113
       GSKZNDAA0000071900.
   114
       Excerpted from the Summary Basis of Approval submitted to the FDA to obtain approval of
     Zantac in the early 1980s. This document was obtained through a Freedom of Information Act
     request to the FDA.
   115
       The results of this study are discussed in the Summary Basis of Approval, obtained from the
     FDA.

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   allegedly only expected to use Ranitidine-Containing Products for a short-term period:




          263.    GSK knew – and indeed specifically admitted – that ranitidine could react with

   nitrite in the human stomach to form nitrosamines and, at the same time, that long-term use of

   ranitidine could lead to elevated levels of nitrite in the human stomach. GSK also knew, but did

   not disclose, that it had new evidence showing that NDMA was generated by ranitidine under

   certain conditions.

          264.    In response to Dr. de Flora’s findings, in 1982, GSK conducted a clinical study

   specifically investigating gastric contents in human patients.116 The study, in part, specifically

   measured the levels of N-Nitroso compounds in human gastric fluid. GSK indicated that there

   were no elevated levels, and even published the results of this study five years later, in 1987. The

   study, however, was flawed. It did not use gold-standard mass spectrometry to test for NDMA,

   but instead, used a process that could not measure N-nitrosamines efficiently. And worse, in the

   testing it did do, GSK refused to test gastric samples that contained ranitidine in them out of

   concern that samples with ranitidine would contain “high concentrations of N-nitroso compounds

   being recorded.”117 In other words, GSK intentionally engineered the study to exclude the very

   samples most likely to contain a dangerous carcinogen.


   116
       Thomas et al., Effects of One Year’s Treatment with Ranitidine and of Truncal Vagotomy on
     Gastric Contents, 6 Gut. Vol. 28, 726–38 (1987).
   117
       Id.

                                                       95
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             265.   Given the above information that was disclosed relating to the nitrosation potential

   and formation of nitrosamines, it is shocking that GSK conducted an internal study to assess the

   formation of NDMA and found that ranitidine, when exposed to sodium nitrite, formed hundreds

   of thousands of nanograms of NDMA. The GSK study was never published or disclosed to the

   public.

             266.   In 1983, the same year GSK started marketing Zantac in the United States, seven

   researchers from the University of Genoa published a study discussing ranitidine and its genotoxic

   effects (ability to harm DNA).118 The researchers concluded “it appears that reaction of ranitidine

   with excess sodium nitrite under acid conditions gives rise to a nitroso-derivative (or derivatives)

   [like NDMA] capable of inducing DNA damage in mammalian cells.” Id.

             267.   Then, again in 1983, Dr. de Flora, along with four other researchers, published their

   complete findings.119 The results “confirm our preliminary findings on the formation of genotoxic

   derivatives from nitrite and ranitidine.” Again, the authors noted that, “the widespread clinical use

   [of ranitidine] and the possibility of a long-term maintenance therapy suggest the prudent adoption

   of some simple measures, such as a diet low in nitrates and nitrites or the prescription of these anti-

   ulcer drugs at a suitable interval from meals.” This admonition carries weight considering GSK’s

   studies indicate that long-term ranitidine consumption, itself, leads to elevated levels of nitrites in

   the human gut.

             268.   In addition, as multiple Defendants have noted in internal documents and recent

   submissions to regulatory authorities, a mechanism for ranitidine to form NDMA




   118
       Maura et al., DNA Damage Induced by Nitrosated Ranitidine in Cultured Mammalian Cells,
     18 Tox. Lttrs. 97-102 (1983).
   119
       De Flora et al., Genotoxicity of Nitrosated Ranitidine, 4 Carcinogenesis 3, 255-60 (1983).

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                      .120 Therefore, this potential mechanism was disregarded.

            269.




         .121

            270.   However, in 1985 GSK



                                                                .122




   120
       SANOFI_ZAN_MDL-0000033849-SANOFI_ZAN_MDL_0000033891, at SANOFI_ZAN_
     MDL_0000033873.
   121
       GSKZNDAA0000072103-GSKZNDAA0000072128.
   122
       GSKZAN0000369313, (



                                                     97
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                              .123




          271.    The high instability of the ranitidine molecule was elucidated in scientific studies

   investigating ranitidine as a source of NDMA in drinking water and specific mechanisms for the

   breakdown of ranitidine were proposed.124 These studies underscore the instability of the NDMA

   group on the ranitidine molecule and its ability to form NDMA in the environment of water-

   treatment plants that supply many U.S. cities with water.

          272.    In 2002, researchers conducted a controlled study to evaluate the concentration of

   nitrosamines, including NDMA, in the gastric fluid and urine in children with gastritis before and

   after four to six weeks of treatment with ranitidine. The study reported statistically significant

   increases in the nitrosamine concentration, including NDMA, in the gastric juice and urine in

   93.3% of children after taking ranitidine for only four weeks. The researchers noted that

   nitrosamines belong to the most potent known carcinogens and no organisms have been found that

   would be resistant to the harmful effects, that neoplastic lesions induced by nitroso compounds

   may develop in any organ, and that nitrosamines induced a wide spectrum of tumors in studies

   using animal models. In addition, the authors noted specifically that NDMA induced similar


   123
      GSKZNDAA0000636549.
   124
      Le Roux et al., NDMA Formation by Chloramination of Ranitidine: Kinetics and Mechanism,
     46 Envtl. Sci. Tech. 20, 11095-103 (2012).

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   symptoms of acute poisoning in humans and animals. They advised that prophylactic measures to

   avoid nitrosamine formation include a diet high in fruits and inclusion of ascorbic acid as well as

   limiting intake of processed meat.       The conclusion was that ranitidine should only be

   recommended in children after careful consideration.125

          273.    Despite the direct evidence that children taking ranitidine were being exposed to

   dangerously high levels of carcinogenic nitrosamines including NDMA, Defendants recklessly

   continued to market and promote Zantac and/or ranitidine as safe and effective for children.

          274.    Similarly, in 2016, researchers at Stanford University conducted an experiment on

   healthy adult volunteers. They measured the NDMA in urine of healthy individuals over the course

   of 24 hours, administered one dose of ranitidine, and then measured the NDMA in the urine of the

   same individuals for another 24 hours. The study reported that on average, the level of NDMA

   increased by 400 times, to approximately 47,000 ng. The only change during that 24-hour period

   was the consumption of ranitidine. In the study, the scientists further explained that previous

   studies have indicated a high metabolic conversion rate of NDMA, meaning it will be processed

   by the human body. This study showed that ranitidine generates NDMA in the human body.126

          275.    Valisure is an online pharmacy that also runs an analytical laboratory that is ISO

   17025 accredited by the International Organization for Standardization (“ISO”) – an accreditation

   recognizing the laboratories technical competence for regulatory purposes. Valisure’s mission is

   to help ensure the safety, quality, and consistency of medications and supplements in the market.




   125
       Krawczynski, et al. Nitrosamines in Children with Chronic Gastritis, Journal of the Polish
     Pediatric Society (GSKZAN0000235261).
   126
       Zeng et al., Oral intake of Ranitidine Increases Urinary Excretion of N-nitrosodimethylamine,
     37 Carcinogenesis 625–34 (2016).


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   In response to rising concerns about counterfeit medications, generics, and overseas

   manufacturing, Valisure developed proprietary analytical technologies that it uses in addition to

   FDA standard assays to test every batch of every medication it dispenses.

          276.    In its September 9, 2019, Citizen’s Petition to the FDA, 127 Valisure disclosed as

   part of its testing of Ranitidine-Containing Products that in every lot tested there were exceedingly

   high levels of NDMA. Valisure’s ISO 17025 accredited laboratory used FDA recommended

   GC/MS headspace analysis method FY19-005-DPA for the determination of NDMA levels. As

   per the FDA protocol, this method was validated to a lower limit of detection of 25 ng. 128 The

   results of Valisure’s testing show levels of NDMA well above 2 million ng per 150 mg Zantac

   tablet, shown below in Table 1.

    Table 1 – Ranitidine Samples Tested by Valisure Laboratory Using GC/MS Protocol

    150 mg Tablets or equivalent                  Lot #                  NDMA per tablet (ng)

    Reference Powder                              125619                 2,472,531
    Zantac, Brand OTC                             18M498M                2,511,469
    Zantac (mint), Brand OTC                      18H546                 2,834,798
    Wal-Zan, Walgreens                            79L800819A             2,444,046
    Wal-Zan (mint), Walgreens                     8ME2640                2,635,006
    Ranitidine, CVS                               9BE2773                2,520,311
    Zantac (mint), CVS                            9AE2864                3,267,968
    Ranitidine, Equate                            9BE2772                2,479,872
    Ranitidine (mint), Equate                     8ME2642                2,805,259
    Ranitidine, Strides                           77024060A              2,951,649


   127
       Valisure, Citizen Petition on Ranitidine (Sept. 9, 2019), available at https://www.valisure.com/
     wp-content/uploads/Valisure-Ranitidine-FDA-Citizen-Petition-v4.12.pdf.
   128
        U.S. Food & Drug Admin., Combined N-Nitrosodimethlyamine (NDMA) and N-
     Nitrosodiethylamine (NDEA) Impurity Assay, FY19-005-DPA-S (Jan. 28, 2019).

                                                       100
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           277.    This testing by GC-MS demonstrates the instability of the ranitidine molecule and

   its propensity to break down under higher temperatures.

           278.    Valisure was concerned that the extremely high levels of NDMA observed in its

   testing were a product of the modest oven heating parameter of 130 °C in the FDA recommended

   GC/MS protocol. So Valisure developed a low temperature GC/MS method that could still detect

   NDMA but would only subject samples to 37 °C, the average temperature of the human body.

   This method was validated to a lower limit of detection of 100 ng.

           279.    Valisure tested ranitidine tablets by themselves and in conditions simulating the

   human stomach. Industry standard “Simulated Gastric Fluid” (“SGF”: 50 mM potassium chloride,

   85 mM hydrochloric acid adjusted to pH 1.2 with 1.25 g pepsin per liter) and “Simulated Intestinal

   Fluid” (“SIF”: 50 mM potassium chloride, 50 mM potassium phosphate monobasic adjusted to pH

   6.8 with hydrochloric acid and sodium hydroxide) were used alone and in combination with

   various concentrations of nitrite, which is commonly ingested in foods like processed meats and

   is elevated in the stomach by antacid drugs. The inclusion of nitrite in gastric fluid testing is

   commonplace and helps simulate the environment of a human stomach.

           280.    Indeed, Ranitidine-Containing Products were specifically advertised to be used

   when consuming foods containing high levels of nitrates, such as tacos or pizza.129

           281.    The results of Valisure’s tests on ranitidine tablets in biologically relevant

   conditions demonstrate significant NDMA formation under simulated gastric conditions with

   nitrite present (see Table 2).



   129
      See, e.g., Zantac television commercial, Family Taco Night, https://www.ispot.tv/ad/dY7n/
    zantac-family-taco-night; Zantac television commercial, Spicy, https://youtu.be/jzS2kuB5_wg;
    Zantac television commercial, Heartburn, https://youtu.be/Z3QMwkSUlEg; Zantac television
    commercial, Zantac Heartburn Challenge, https://youtu.be/qvh9gyWqQns.

                                                      101
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    Table 2 – Valisure Biologically Relevant Tests for NDMA Formation

    Ranitidine Tablet Studies                     NDMA (ng/mL)              NDMA per tablet (ng)
    Tablet without Solvent                        Not Detected              Not Detected
    Tablet                                        Not Detected              Not Detected
    Simulated Gastric Fluid (“SGF”)               Not Detected              Not Detected
    Simulated Intestinal Fluid (“SIF”)            Not Detected              Not Detected
    SGF with 10 mM Sodium Nitrite                 Not Detected              Not Detected
    SGF with 25 mM Sodium Nitrite                 236                       23,600
    SGF with 50 mM Sodium Nitrite                 3,045                     304,500

          282.      Under biologically relevant conditions, when nitrites are present, high levels of

   NDMA are found in one dose of 150 mg ranitidine, ranging between 245 and 3,100 times above

   the FDA-allowable limit. One would need to smoke over 500 cigarettes to achieve the same levels

   of NDMA found in one dose of 150 mg ranitidine at the 25 nanogram level (over 7,000 for the 50

   nanogram level).

          283.      Following the release of Valisure Citizen’s Petition, the FDA conducted additional

   laboratory tests, which showed NDMA levels in all ranitidine samples it tested, including API and

   the finished drug, both tablets and syrup. The FDA developed SGF and SIF models to use with

   the LC-MS testing method to estimate the biological significance of in vitro findings. These

   models are intended to detect the formation of NDMA in systems that approximate the stomach

   and intestine.

          284.      When the scientific data is assessed overall, the literature demonstrates that the

   ingestion of ranitidine already containing NDMA combined with the presence of human-relevant

   levels of nitrite in the stomach – a substance that is commonly found in foods that induce heartburn

   and that is known to be elevated in people taking ranitidine for longer than a month – the ranitidine

   molecule transforms into more NDMA which would dramatically increase a person’s risk of


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   developing cancer.

           3. Formation of NDMA in Other Organs of the Human Body

             285.   In addition to the gastric fluid mechanisms investigated in the scientific literature,

   Valisure identified a possible enzymatic mechanism for the liberation of ranitidine’s DMA group

   via the human enzyme dimethylarginine dimethylaminohydrolase (“DDAH”), which can occur in

   other tissues and organs separate from the stomach.

             286.   Valisure explained that liberated DMA can lead to the formation of NDMA when

   exposed to nitrite present on the ranitidine molecule, nitrite freely circulating in the body, or other

   potential pathways, particularly in weak acidic conditions such as that in the kidney or bladder.

   The original scientific paper detailing the discovery of the DDAH enzyme in 1989 specifically

   comments on the propensity of DMA to form NDMA: “This report also provides a useful

   knowledge for an understanding of the endogenous source of dimethylamine as a precursor of a

   potent carcinogen, dimethylnitrosamine [NDMA].”130




   130
         Ogawa, et al., supra note 103.

                                                         103
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          287.   Valisure reported as illustrated in Figure 2, below, computational modelling

   demonstrates that ranitidine (shown in green) can readily bind to the DDAH-1 enzyme (shown as

   a cross-section in grey) in a manner similar to the natural substrate of DDAH-1 known as

   asymmetric dimethylarginine (“ADMA,” shown in blue).


         Figure 2 – Computational Modelling of Ranitidine Binding to DDAH-1 Enzyme




          288.   Valisure reported that these results suggest that the enzyme DDAH-1 increases

   formation of NDMA in the human body when ranitidine is present; therefore, the expression of

   the DDAH-1 gene is useful for identifying organs most susceptible to this action.




                                                     104
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             289.   Figure 3 below, derived from the National Center for Biotechnology Information,

   illustrates the expression of the DDAH-1 gene in various tissues in the human body.


   Figure 3 – Expression levels of DDAH-1 enzyme by Organ




             290.   DDAH-1 is most strongly expressed in the kidneys but also broadly distributed

   throughout the body, such as in the brain, colon, liver, small intestine, stomach, bladder, and

   prostate. Valisure noted that this offers both a general mechanism for NDMA formation in the

   human body from ranitidine and specifically raises concern for the effects of NDMA on numerous

   organs.

             291.   The possible enzymatic reaction of ranitidine to DDAH-1, or other enzymes,

   suggests that high levels of NDMA can form throughout the human body. Indeed, ranitidine

   metabolizes and circulates throughout the human body, crossing the placental and blood-brain

   barrier, within 1-2 hours. When ranitidine interacts with the DDAH-1 enzyme in various organs

   throughout the body, it breaks down into NDMA. This observation is validated by the Stanford



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   study, discussed above.

        4. Formation of NDMA by Exposure to Heat, Moisture, and/or Time

          292.    The risk of creating NDMA by exposing ranitidine to heat has been well-known

   and documented.     Early studies, including the one conducted by GSK in the early 1980s,

   demonstrated that nitrosamines were formed when ranitidine was exposed to heat. This point was

   underscored in the Valisure petition, which initially used a high heat testing method.

          293.    In response to Valisure, on October 2, 2019, the FDA recommended that

   researchers use the LC-HRMS protocol for detecting NDMA in ranitidine because the “testing

   method does not use elevated temperatures” and has been proven capable of detecting NDMA.

          294.    On January 2, 2020, Emery Pharma, an FDA-certified pharmaceutical testing

   laboratory, conducted a series of tests on ranitidine. The researchers exposed ranitidine to 70 ⸰C

   for varying periods of time. The results showed that increasing levels of NDMA formed based on

   exposure to heat. As reported by Emery Pharma, the following diagram reveals how NDMA

   accumulates over time when exposed to 70 ⸰C:




                                                      106
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         Figure 4 – Rate of Development of NDMA when Exposed to Heat




             295.   The researchers cautioned:

             NDMA accumulates in ranitidine-containing drug products on exposure to elevated
             temperatures, which would be routinely reached during shipment and during
             storage. More importantly, these conditions occur post-lot release by the
             manufacturer. Hence, while NDMA levels in ranitidine may be acceptable at the
             source, they may not be so when the drug is purchased and subsequently at the time
             of consumption by the consumer.131

             296.   The results of this data demonstrate that in normal transport and storage, and

   especially when exposed to heat or humidity, the ranitidine molecule systematically breaks down

   into NDMA, accumulating over time in the finished product. Considering Ranitidine-Containing

   Products have an approved shelf life of 36 months, the possibility of the drug accumulating

   dangerously high levels of NDMA prior to consumption is very real – a point underscored by the

   FDA’s swift removal of the product from the market.


   131
      Emery Pharma, Emery Pharma Ranitidine: FDA Citizen Petition (Jan. 2, 2020), available at
    https://emerypharma.com/news/emery-pharma-ranitidine-fda-citizen-petition/.


                                                       107
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          297.    In fact, the FDA acknowledged that testing revealed that NDMA levels in ranitidine

   products stored at room temperature can increase with time to unacceptable levels.132

          298.    In 2019, the findings by Valisure unleashed an avalanche of regulatory authorities

   throughout the world demanding that the manufacturers of Zantac and/or ranitidine conduct testing

   of their products for the presence of NDMA as well as investigate the root cause as to how NDMA

   was being generated. In April 2020, the FDA requested that manufacturers immediately remove

   all Ranitidine-Containing Products from the market.

          299.    In the interim between the Valisure findings being released to the public and the

   FDA announcement requesting recall of all ranitidine products in April 2020, the manufacturers

   were investigating the root cause of NDMA in their products.

          300.    After undertaking an investigation, GSK concluded that “the presence of NDMA

   in ranitidine drug substance is due to a slow degradation reaction occurring primarily in the solid

   state. The two constituent parts of NDMA, the nitroso group and the dimethylamino group, are

   both derived from internal degradation reactions which occur at slow rates with the ranitidine

   molecule.”133 Unsurprisingly, GSK



                                       ”134 In addition, GSK’s



                                                                   .135




   132
       Woodcock Letter, supra note 95.
   133
       GSKZAN0000052019-GSKZAN0000052127
   134
       Id. p. 2.
   135
       Id. p. 12.


                                                      108
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          301.   Similarly,




                                                      .”136

          302.




                                                                                                 137



          303.   Defendants could dictate the conditions under which API was transported to them.

   The labeling requirements do not apply to transporting API, in part because the finished product

   and API are packaged differently and may degrade under different conditions.

          304.   Based upon the documents produced by Defendants and based upon further

   information and belief, Defendants failed to ensure that their Ranitidine-Containing Products (in

   both API and finished dose form) were kept safely from excessive heat and humidity.138

         5. Evidence Directly Links Ranitidine to Cancer

          305.   In addition to numerous epidemiology studies examining how NDMA causes


   136
       SANOFI_ZAN_MDL_0000151458
   137
       SANOFI_ZAN_MDL_0000166517-527, at p. 11.
   138
        See, e.g., BOE_ZAN_MDL_0000203482 (“
                                      ”); GSKZAN0000178835 (




             ”); DRLMDL0000087754

              ); DRLMDL0000077957 (
                                                                    ).


                                                     109
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   cancer in humans, researchers have also specifically looked at ranitidine and found an association

   with cancer.

          306.    One epidemiology study, published in 2004, showed that men taking either

   ranitidine or cimetidine (Tagamet) had increased risks of bladder cancer.139

          307.    In one epidemiology study specifically designed to look at breast cancer, ranitidine

   was shown to more than double the risk, an effect that was even more pronounced in those with

   specific gene mutations.140

          308.    In another epidemiological study looking at various cancer risks and histamine H2-

   receptor antagonists (or H2 blockers), including ranitidine, the data showed that ranitidine

   consumption increased the risk of prostate, lung, esophageal, pancreatic, and kidney cancer. Of

   particular note, the study indicated that people under the age of 60 who took ranitidine were five

   times more likely to develop prostate cancer. In addition, there was more than a doubling of the

   risk of pancreatic cancer with ranitidine use.141

          309.    A study published in 2018, demonstrated an increased risk of liver cancer

   associated with use of ranitidine in comparison with other H2 blockers in the class. The purpose

   of the study was to determine whether there was an increased risk of liver cancer associated with

   proton pump inhibitors, a different class of medications indicated for the treatment of GERD. This




   139
       D. Michaud et al., Peptic Ulcer Disease and the Risk of Bladder Cancer in a Prospective Study
     of Male Health Professionals, 13 Cancer Epi. Biomarkers & Prevention 250-54 (Feb. 2004).
   140
       Robert W. Mathes et al., Relationship Between Histamine2-receptor Antagonist Medications
     and Risk of Invasive Breast Cancer, 17 Cancer Epi. Biomarkers & Prevention 1, 67-72 (2008).
   141
       Laurel A Habel et al., Cimetidine Use and Risk of Breast, Prostate, and Other Cancers, 9
     Pharmacoepidemiology & Drug Safety 149–55 (2000).


                                                       110
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   finding is particularly notable as the authors adjusted for variables.142

          310.    In 2018, a study found an increased risk in hepatocellular carcinoma associated

   with use of H2 blockers.143 The authors were evaluating the risk of cancer in association with

   proton pump inhibitors and looked at H2 blockers as a confounder. The study only considered use

   of H2 blockers within one year of cancer diagnosis and still found an increased odds ratio

   associated with use of H2 blockers and hepatocellular carcinoma, a type of liver cancer.

          311.    A number of other studies have been published over the years showing an increased

   risk of various cancers associated with use of ranitidine and/or H2 blockers.144 These cancers

   include breast, gastric, pancreatic, and stomach cancer. Additional research reports that ranitidine

   use was associated with a significant increase in the risk of bladder, breast, colorectal/intestinal,

   esophageal, gastric, kidney, liver, lung, pancreatic, and prostate cancer.145

   C. DEFENDANTS’ KNOWLEDGE OF THE NDMA RISK

          312.    As early as 1981, two years before Zantac entered the market, research showed




   142
       Kim Tu Tran et al., Proton Pump Inhibitor and Histamine‐2 receptor Antagonist Use and Risk
     of Liver Cancer in Two Population‐based Studies, 48 Alimentary Pharmacology & Therapeutics
     1, 55-64 (2018).
   143
       Y‐H J Shao et al., Association Between Proton Pump Inhibitors and the Risk of Hepatocellular
     Carcinoma, 48 Alimentary Pharmacology & Therapeutics 4, 460-68 (2018).
   144
        Mathes et al., supra note 140; see also Jeong Soo Ahn et al., Acid Suppressive Drugs and
     Gastric Cancer: A Meta-analysis of Observational Studies, 19 World J. Gastroenterology 16,
     2560 (2013); Shih-Wei Lai et al., Use of Proton Pump Inhibitors Correlates with Increased Risk
     of Pancreatic Cancer: A Case-control Study in Taiwan, 46 Kuwait Med J. 1, 44-48 (2014);
     Poulsen et al., Proton Pump Inhibitors and Risk of Gastric Cancer – A Population Based Cohort
     Study, 100 Brit. J. Cancer 1503-07 (2009); E Wennerström, Acid-suppressing Therapies and
     Subsite-specific Risk of Stomach Cancer, 116 Brit. J. Cancer 9, 1234–38 (2017).
   145
       Richard H. Adamson & Bruce A. Chabne, The Finding of N‐Nitrosodimethylamine in Common
     Medicines,      The     Oncologist,    June     2020;     25(6):    460-62,    available    at
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7288647/.


                                                        111
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   elevated rates of NDMA, when properly tested.146 This was known or should have been known

   Defendants as the information was available in medical literature.

          313.    In 1981, GSK, the originator of the ranitidine molecule, published a study focusing

   on the metabolites of ranitidine in urine using liquid chromatography.147 Many metabolites were

   listed, though there is no indication that the study looked for NDMA.

          314.    Indeed, in that same year, Dr. de Flora published a note discussing the results of his

   experiments showing that ranitidine was turning into mutagenic N-nitroso compounds, of which

   NDMA is one, in human gastric fluid when accompanied by nitrites – a substance commonly found

   in food and in the body.148 GSK was aware of this study because GSK specifically responded to

   the note and attempted to discredit it. Manufacturer Defendants knew or should have known about

   this scientific exchange as it was published in a popular scientific journal.         Manufacturer

   Defendants were obligated to investigate this issue properly. None did.

          315.    By 1987, after numerous studies raised concerns over ranitidine and cancerous

   nitroso compounds, GSK published a clinical study specifically investigating gastric contents in

   human patients and N-nitroso compounds.149 That study specifically indicated that there were no

   elevated levels of N-nitroso compounds (of which NDMA is one). But the study was flawed. It

   used an analytical system called a “nitrogen oxide assay” for the determination of N-nitrosamines,

   which was developed for analyzing food and is a detection method that indirectly and non-

   specifically measures N-nitrosamines. Not only is that approach not accurate, but GSK also



   146
       See supra ¶¶242, 256 (discussing de Flora research).
   147
       Carey et al., Determination of Ranitidine and Its Metabolites in Human Urine by Reversed-
     phase Ion-pair High-performance Liquid Chromatography, 255 J. Chromatography B:
     Biomedical Sci. & Appl. 1, 161-68 (1981).
   148
       De Flora, supra note 92.
   149
       Thomas et al., supra note 116.

                                                       112
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   removed all gastric samples that contained ranitidine out of concern that samples with ranitidine

   would contain “high concentrations of N-nitroso compounds being recorded.” Without the

   chemical being present in any sample, any degradation into NDMA could not, by design, be

   observed. The inadequacy of that test was knowable in light of its scientific publication in 1987.

          316.    All Defendants either knew or should have known about the inadequacy of that

   study and should have investigated the issue properly and/or taken action to protect consumers

   from the NDMA risks in their products. None did.

   D. THE FEDERAL REGULATORY LANDSCAPE

          317.    Plaintiffs reference federal law herein not in any attempt to enforce it, but only to

   demonstrate that their state-law tort claims do not impose any additional obligations on

   Defendants, beyond what is already required of them under federal law.

         1. Generic Drugs

          318.    According to FDA, “[a] generic drug is a medication created to be the same as an

   already marketed Brand drug in dosage form, safety, strength, route of administration, quality,

   performance characteristics, and intended use.           These similarities help to demonstrate

   bioequivalence, which means that a generic medicine works in the same way and provides the

   same clinical benefit as its Brand version. In other words, you can take a generic medicine as an

   equal substitute for its Brand counterpart.”150

          319.    While Brand medications undergo a more rigorous review before being approved,

   generic manufacturers are permitted to submit an ANDA. As the first “A” in ANDA denotes, the

   generic approval process is “abbreviated” to serve Congress’s intent to expeditiously offer


   150
      U.S. Food & Drug Admin., Generic Drugs: Questions & Answers U.S. Food and Drug
    Administration, https://www.fda.gov/drugs/questions-answers/generic-drugs-questions-answers
    (current as of June 1, 2018)

                                                      113
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   consumers lower-cost, previously approved medicines. But the abbreviated NDA process does

   not absolve generic manufacturers of their obligations to ensure that their drugs are safe and

   effective. To obtain FDA approval, an ANDA applicant must demonstrate that the generic

   medicine is the same as the Brand version in the following ways:

          a. The active ingredient in the generic medicine is the same as in the Brand drug/innovator
             drug.
          b. The generic medicine has the same strength, use indications, form (such as a tablet or
             an injectable), and route of administration (such as oral or topical).
          c. The inactive ingredients of the generic medicine are acceptable.
          d. The generic medicine is manufactured under the same strict standards as the Brand
             medicine.
          e. The container in which the medicine will be shipped and sold is appropriate.151

          320.    Because the Brand manufacturer previously and theoretically demonstrated clinical

   safety and efficacy when the NDA was approved, an ANDA applicant does not need to do so if it

   can show bioequivalence to the branded, reference listed drug (“RLD”). Bioequivalence is the

   “absence of a significant difference” in the pharmacokinetic profiles of two pharmaceutical

   products.152

          321.    Though an ANDA applicant’s drug must be bioequivalent to the RLD, no two

   manufacturers’ drugs will be exactly the same. For that reason, generic manufacturers are

   responsible for conducting their own, independent stability testing, which must be “designed to

   assess the stability characteristics of drug products.”153

          322.    Because a generic manufacturer’s drug must be bioequivalent to the RLD, a

   compliant generic label should be “the same as the labeling of the reference listed drug” in many



   151
        U.S. Food & Drug Admin., Generic Drug Facts, https://www.fda.gov/drugs/generic-
     drugs/generic-drug-facts (current as of June 1, 2018).
   152
       21 C.F.R. §§320.1(e) & 314.3(b).
   153
       Id., §211.166(a).


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   respects.154 But, because a generic drug may not be exactly the same as the RLD, the generic label

   “may include differences in expiration date, formulation, bioavailability, or pharmacokinetics,

   labeling revisions made to comply with current FDA labeling guidelines or other guidance.”155

   This regulation by its terms does not apply to non-label elements of a generic drug, including the

   container and number of units.

             323.    Pursuant to this regulation, it is common for a generic drug’s label to differ from

   the RLD by setting a different expiration date, requiring the drug to be shipped and stored under

   different temperature conditions, and/or requiring the drug to receive different (or no) exposure to

   light. Several of the Generic Prescription Manufacturer Defendants relied on 21 C.F.R.

   §314.94(a)(8)(iv) and their independent stability studies to sell approved, generic ranitidine with

   labels that differed from the RLD label.

           2. Federal Law Required the Manufacturer Defendants to Notify the FDA about the
              Presence of NDMA in Ranitidine-Containing Products

             324.    During the time that Defendants manufactured and sold Ranitidine-Containing

   Products in the United States, the weight of scientific evidence showed that ranitidine exposed

   users to unsafe levels of NDMA. Manufacturer Defendants failed to report these risks to the FDA.

             325.    Manufacturer Defendants concealed the ranitidine–NDMA link from ordinary

   consumers in part by not reporting it to the FDA, which relies on drug manufacturers (or others,

   such as those who submit citizen petitions) to bring new information about an approved drug like

   ranitidine to the agency’s attention.

             326.    Manufacturers (brand and generic) of an approved drug are required by regulation




   154
         Id., §314.94(a)(8)(iii).
   155
         Id., §314.94(a)(8)(iv).

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   to submit an annual report to the FDA containing, among other things, new information regarding

   the drug’s safety pursuant to 21 C.F.R. §314.81(b)(2):

          The report is required to contain . . . [a] brief summary of significant new
          information from the previous year that might affect the safety, effectiveness, or
          labeling of the drug product. The report is also required to contain a brief
          description of actions the applicant has taken or intends to take as a result of this
          new information, for example, submit a labeling supplement, add a warning to the
          labeling, or initiate a new study.

          327.   Title 21 C.F.R. §314.81(b)(2)(v) provides that the manufacturer’s annual report

   must also contain:

          Copies of unpublished reports and summaries of published reports of new
          toxicological findings in animal studies and in vitro studies (e.g., mutagenicity)
          conducted by, or otherwise obtained by, the [manufacturer] concerning the
          ingredients in the drug product.

          328.   Manufacturer Defendants ignored these regulations and, disregarding the scientific

   evidence available to them regarding the presence of NDMA in their products and the risks

   associated with NDMA, did not report to the FDA significant new information affecting the safety

   or labeling of Ranitidine-Containing Products.

          329.   Knowledge regarding the risk of NDMA in ranitidine was sufficiently available in

   the publicly available scientific literature such that any manufacturer, consistent with its

   heightened obligations to ensure the safety of its products, also should have known about the

   potential NDMA risks associated with ranitidine consumption.

          330.   Manufacturer Defendants never conducted or provided the relevant studies to the

   FDA, nor did they present the FDA with a proposed disclosure noting the various ways that

   ranitidine transforms into NDMA. Accordingly, because Manufacturer Defendants never properly

   disclosed the risks to the FDA, they never proposed any labeling or storage / transportation

   guidelines that would have addressed this risk. Thus, the FDA was never able to reject any


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   proposed warning or proposal for transport / storage.

             331.   When the FDA eventually learned about the NDMA risks posed by Ranitidine-

   Containing Products, it ordered manufacturers to voluntarily remove the products from the market.

   Thus, had any Manufacturer Defendant alerted the FDA to the risks of NDMA, the FDA would

   have required the manufacturers to remove Ranitidine-Containing Products from the market.

           3. Good Manufacturing Practices as Applicable to All Defendants, Including the
              Store-Brand Defendants’ Obligations

             332.   Under federal law, a manufacturer must manufacture, store, warehouse, and

   distribute pharmaceutical drugs in accordance with “Current Good Manufacturing Practices”

   (“cGMPs”) to ensure they meet safety, quality, purity, identity, and strength standards. 156

             333.   Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

             334.   Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Defendants had a duty and were obligated to properly store, handle, and warehouse

   ranitidine.

             335.   Based on the above, the Defendants, including the Store-Brand Defendants, had a



   156
         21 U.S.C. §351(a)(2)(B).

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   duty and was obligated to ensure that its ranitidine was properly stored, handled, and warehoused

   by it and its suppliers.

             336.   Testing conducted by the FDA confirms that under accelerated conditions the

   elevated temperatures can lead to the presence of NDMA in the drug product.157 FDA has also

   concluded that NDMA can increase in ranitidine under storage conditions allowed by the labels,

   and NDMA has been found to increase significantly in samples stored at higher temperatures,

   including temperatures the product may be exposed to during normal distribution and handling.

             337.   FDA’s testing also showed that the level of NDMA in Ranitidine-Containing

   Products increases with time. And, while Emery’s Citizen Petition sought to obtain a directive

   regarding temperature-controlled shipping of ranitidine, which was necessary given the time and

   temperature sensitivity of the drug, that request was deemed moot by the FDA because the agency

   sought to withdraw Ranitidine-Containing Products altogether.

             338.   Nothing prevented any Defendant, including the Store-Brand Defendants, from, on

   their own, taking actions to prevent accumulation of NDMA in Ranitidine-Containing Products by

   ensuring that ranitidine was not exposed to heat or moisture over long periods and by ensuring

   storage and transport at the lower end of the temperature range contained on the labels. Nothing

   prevented the Store-Brand Defendants from ensuring that ranitidine was not exposed to humidity

   or moisture.

             339.   Based on the public scientific information, Defendants, including the Store-Brand

   Defendants, knew or should have known that NDMA could form in ranitidine by exposure to heat,

   humidity, nitrites, the conditions of the human stomach, and/or over time in storage.




   157
         Woodcock Letter, supra note 95.

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          340.    At no time did Defendants, including the Store-Brand Defendants, change the

   labelling of Ranitidine-Containing Products to shorten the expiration date. The Store-Brand

   Defendants had the ability to cause its suppliers to unilaterally make such label changes for

   Ranitidine-Containing Products without prior FDA approval pursuant to the CBE regulation. Had

   the Store-Brand Defendants attempted such label changes, the FDA would not have rejected them.

          341.    Because the Store-Brand Defendants failed to include appropriate expiration dates

   on its products, they failed to warn regarding and made false statements in the labeling of its

   products.

          342.    Further, as alleged above, each Private Label Distributor was required to conduct,

   or cause its contract manufacturer to conduct, stability testing, which was required to take the

   container into account.

          343.    As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          344.    Defendants, including the Store-Brand Defendants knew or should have known that

   ranitidine had an inherent risk of degrading into NDMA because it has both a nitroso (N) and

   dimethylamine (DMA), which are all the ingredients needed to form NDMA.

          345.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          346.    A substantial factor in NDMA formation was the container system the Store-Brand

   Defendants chose. Pill bottles with large numbers of units of ranitidine are likely to be stored for

   long periods by consumers after the seal is broken. This exposes the remaining units to humidity

   over time, which produces NDMA.


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          347.    A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                   (a) Placing each unit of ranitidine in a blister pack or similar individually packaged
                       container would ensure humidity control until the consumer used each unit.

                   (b) Reducing the number of units of ranitidine in each bottle to a low number
                       would ensure the unused units were subject to humidity for only a shorter time
                       period, since consumers would purchase new bottles more frequently.

          348.    The Store-Brand Defendants could have changed, or caused its contract

   manufacturers to change, the container system it sold. FDA guidance specifically allows changing

   the number of units in a non-sterile drug under its Changes Being Effected regulation.

          349.    FDA guidance also would treat changing to a unit-dose container such as a blister-

   pack to be a moderate change that could be implemented through the Changes Being Effected

   regulation.

          350.    The Store-Brand Defendants was not required to put its ranitidine in the same

   containers as the other store-brand OTC products, because the duty of sameness does not apply to

   containers. It applies only to the drug label.

          351.    A reasonably prudent private label distributor would have changed the containers

   for Ranitidine-Containing Products to protect the products from humidity and reduce the time

   between manufacture and consumption, both of which would reduce the amount of NDMA

   produced.

          352.    As an example only, Walmart sold its Equate ranitidine product in bottles with as

   many as 220 tablets. Similarly, Walgreens sold its Wal-Zan ranitidine products in bottles with as

   many as 200 tablets. CVS also sold its ranitidine products, called CVS Health, in bottles with as

   many as 200 tablets.

          353.    Further the demand for large quantity package sizes put Defendants, including

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   Store-Brand Defendants, on notice that purchases were made for regular and extended use, and

   not for a one-time occasion.

          354.      Because the Store-Brand Defendants failed to package its products in appropriate

   container sizes, those Defendants failed to warn regarding and made false statements in the

   packaging of its products.

         355.       During the time that the Defendants repackaged, distributed, and sold Ranitidine-

   Containing Products in the United States, the weight of scientific evidence showed that ranitidine

   exposed users to unsafe levels of NDMA.

         356.       The U.S. Pharmacopeia Convention (hereinafter “USP”) sets forth industry

   standards applicable – in relevant part – to distributors. Chapter 1079, entitled “Good Storage and

   Shipping Practices,” specifies that:

          Good storage and distribution practices apply to all organizations and individuals
          involved in any aspect of the storage and distribution of all drug products, including
          but not limited to the following: . . .

                   Repackaging operations in which the drug product may be owned by an
                    organization other than the primary manufacturer
                   Pharmacies including but not limited to retail, compounding, specialty, mail
                    order, hospital, and nursing home pharmacies. . .
                   Wholesale distributors; distribution companies involved in automobile, rail,
                    sea, and air services.

         357.       USP 1079 further states that the

          drug product manufacturer (in the case of many OTSs, where there is no
          application) and the repackager bear primary responsibility and accountability
          including but not limited to the following: . . .

                   Determining proper storage and handling practices
                   Communicating storage and distribution practices through the supply chain
                   Drug product stability profiles or the associated stability information from
                    the holder, inclusive of distribution conditions and excursion that may be
                    allowable should they occur. These stability profiles include the approved
                    storage conditions for the shelf life of the drug product and, where


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                  applicable, supporting data for the distribution conditions, if they differ
                  from the storage conditions.

         358.     USP 1079 continues: “However, all organizations along the supply chain bear

   responsibility for ensuring that they handle drug products within adequate storage and distribution

   parameters that will not affect the drug product identity, strength, quality, purity, or safety.”

          359.    Store-Brand Defendants conduct, as described above, was reckless. Defendants

   regularly risked the lives of consumers and users of their products, including Plaintiffs, with full

   knowledge of the dangers of its products. The Store-Brand Defendants made conscious decisions

   not to change the containers for its Ranitidine-Containing Products.

   E. DEFENDANTS’ TORTIOUS CONDUCT IN PACKAGING AND LABELING

           1. Brand Prescription Manufacturer GSK’s Failure to Warn                                    and
              Misrepresentations in the Labeling of Ranitidine-Containing Products

          360.    21 U.S.C. §352(a)(1) provides, in pertinent part,

                          A drug or device shall be deemed to be misbranded –

                                  (a) FALSE OR MISLEADING LABEL

                                          (1) If its labeling is false or misleading in any particular.

          361.    A manufacturer is required to give adequate directions for the use of a

   pharmaceutical drug such that a “layman can use a drug safely and for the purposes for which it is

   intended,”158 and conform to requirements governing the appearance of the label.159

          362.     “Labeling” encompasses all written, printed, or graphic material accompanying the

   drug or device,160 and, therefore, broadly encompasses nearly every form of promotional activity,




   158
       21 C.F.R. §201.5.
   159
       Id. §201.15.
   160
       Id.; 65 Fed. Reg. 14286 (Mar. 16, 2000).

                                                        122
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   including not only “package inserts” but also advertising.

          363.    “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the FDCA

   as including all printed matter accompanying any article. Congress did not, and we cannot, exclude

   from the definition printed matter which constitutes advertising.”161

          364.    GSK was responsible for conducting stability testing, which must be “designed to

   assess the stability characteristics of drug products.”162 Manufacturers must adopt a written testing

   program that includes: “(1) Sample size and test intervals based on statistical criteria for each

   attribute examined to assure valid estimates of stability; (2) Storage conditions for samples retained

   for testing; (3) Reliable, meaningful, and specific test methods; (4) Testing of the drug product in

   the same container-closure system as that in which the drug product is marketed; (5) Testing of

   drug products for reconstitution at the time of dispensing (as directed in the labeling) as well as

   after they are reconstituted.”163

          365.    The purpose of stability testing is, in part, to determine the “appropriate storage

   conditions and expiration dates.”164 And, expiration dates, in turn, must be set to “assure that a

   drug product meets applicable standards of identity, strength, quality, and purity at the time of

   use.”165 An expiration date is “related to any storage conditions stated on the labeling, as

   determined by stability studies listed in §211.166.”166

          366.    Notably, while generic medications must have the same active ingredients as their

   branded counterparts, the inactive ingredients, or excipients, may not necessarily be identical. For



   161
       United States v. Research Labs., 126 F.2d 42, 45 (9th Cir. 1942).
   162
       21 C.F.R. §211.166(a).
   163
       Id.
   164
       Id.
   165
       Id., §211.137(a).
   166
       Id., §211.137(b).

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   this reason, the stability of each generic drug may differ from manufacturer to manufacturer, or

   even from manufacturing process to manufacturing process.

          367.    GSK was required to conduct its own tests to determine and set accurate retest or

   expiration dates.

          368.    The FDA made clear when it first adopted the expiration-date provision that the

   regulation means what it says. The purpose of the expiration date is not merely to consider the

   “stability of a specific active ingredient.” Instead, a compliant expiration date must account for

   multiple factors, including “the stability of the inactive ingredients, the interaction of active and

   inactive ingredients, the manufacturing process, the dosage form, the container closure system, the

   conditions under which the drug product is shipped, stored, and handled by wholesalers and

   retailers, and the length of time between initial manufacture and final use.”167

          369.    The FDA expressly recognizes that an initial expiration date may not be the final

   expiration date: “Where data from accelerated studies are used to project a tentative expiration

   date that is beyond a date supported by actual shelf life studies, there must be stability studies

   conducted . . . until the tentative expiration date is verified or the appropriate expiration date

   determined.”168

          370.    After a drug is approved, a manufacturer (brand or generic) can make changes to

   its drug application. To do so, manufacturers must comply with the requirements of §§314.70 and

   314.71.169

          371.    Some of the requirements in those regulations require a brand or generic



   167
       43 Fed. Reg. 45059 (Sept. 29, 1978).
   168
       21 C.F.R. §211.166(b).
   169
       See id., §314.97(a) (requiring generics to comply with §§314.70, 314.71).


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   manufacturer of an approved drug to obtain FDA approval before implementing a label change.170

           372.    But the FDA has long recognized a “changes being effected” (“CBE”) supplement

   that permits a manufacturer to make immediate changes, subject to FDA’s post-change review.171

           373.    A manufacturer of an approved drug can use the CBE supplement to immediately

   make an “[a]ddition to a specification or changes in the methods or controls to provide increased

   assurance that the drug substance or drug product will have the characteristics of identity, strength

   quality, purity, or potency that it purports or is represented to possess.”172 “A specification is

   defined as a list of tests, references to analytical procedures, and appropriate acceptance criteria

   that are numerical limits, ranges, or other criteria for the tests described.”173

           374.    A manufacturer, therefore, need not seek FDA pre-approval to make changes to its

   stability studies to identify the appropriate expiration date – which must “assure that a drug product

   meets applicable standards of identity, strength, quality, and purity at the time of use” 174 – or to

   ensure that the drug is shipped and stored under appropriate conditions.

           375.    A manufacturer of an approved drug can also use the CBE supplement to make

   changes “in the labeling to reflect newly acquired information” in order to “add or strengthen a

   contraindication, warning, precaution, or adverse reaction for which the evidence of a causal

   association satisfies the standard for inclusion in the labeling under §201.57(c) of this chapter”;

   “add or strengthen an instruction about dosage and administration that is intended to increase the

   safe use of the drug product”; and “delete false, misleading, or unsupported indications for use or



   170
       Id., §314.70(b).
   171
       Id., §314.70(c)(3), (c)(6).
   172
       Id., §314.70(c)(6)(i).
   173
       65 Fed. Reg. 83042 (Dec. 29, 2000).
   174
       21 C.F.R. §211.137(a).


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   claims for effectiveness.”175

           376.    A manufacturer of an approved drug may make minor changes to a label with no

   approval or notice, so long as that change is described in an annual report. The illustrative but

   non-exhaustive list of minor changes includes “[a] change in the labeling concerning the

   description of the drug product or in the information about how the drug product is supplied, that

   does not involve a change in the dosage strength or dosage form.”176

           377.    A “minor change” further includes “[a]n extension of an expiration dating period

   based upon full shelf life data on production batches obtained from a protocol approved in the

   NDA.”177

           378.    At no time did GSK attempt to include a warning on the labels for Ranitidine-

   Containing Products that consumers were at elevated risk of developing cancer if the products

   were: (i) exposed to excessive heat; (ii) exposed to excessive moisture/humidity; (iii) consumed

   with high-nitrite foods; and (iv) consumed daily for a period of greater than a few months. The

   FDA never rejected such cancer warnings.

           379.    At no time did GSK attempt to change its label to delete a false or misleading

   expiration date, or to add a proper expiration date to ensure that Ranitidine-Containing Products

   would not break down into NDMA prior to human consumption.

           380.    Based on the public scientific information, GSK knew or should have known that

   NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the human

   stomach, and/or over time in storage.




   175
       Id., §314.70(c)(6)(iii)(A), (C), (D).
   176
       Id., §314.70 (d)(2)(ix).
   177
       Id., §314.70 (d)(2)(vi); see also id., §314.70(d)(2)(vii), (x).

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          381.    At no time did GSK change its label to shorten the expiration date. GSK had the

   ability to unilaterally make such label changes (for both prescription and OTC) without prior FDA

   approval pursuant to the CBE regulation. Had any Manufacturer Defendant attempted such label

   changes, the FDA would not have rejected them.

          382.    Because they failed to include appropriate expiration dates on their products,

   Manufacturer Defendants made failed to warn regarding and made false statements in the labeling

   of their products.

          383.    Because it failed to include a warning on the labels for Ranitidine-Containing

   Products that consumers were at elevated risk of developing cancer if the products were: (i)

   exposed to excessive heat; (ii) exposed to excessive moisture/humidity; (iii) consumed with high-

   nitrite foods; and (iv) consumed daily for a period of greater than a few months, GSK failed to

   warn regarding and made false statements in the labeling of its products.

           2. The Brand OTC Manufacturer Defendants’ Failure to Warn and
              Misrepresentations in the Labeling and Packaging of OTC Ranitidine-
              Containing Products

          384.    The Brand OTC Manufacturer Defendants are GSK, Pfizer, BI, and Sanofi.

          385.    Each of these Brand OTC Manufacturer Defendants increased OTC Ranitidine–

   Containing Product demand through a fundamental and uniform message, parlayed through a

   multi-media campaign that OTC Zantac is safe, it can be used frequently, long-term, with high-

   nitrate and -nitrite foods, and poses no serious health risks such as those associated with the

   consumption of NDMA—a known human carcinogen.

          386.    Examples of this campaign include a series of television, print, radio, and internet

   ads for OTC Zantac throughout the United States and to consumers that uniformly omitted the

   material safety risks that the products contained NDMA, that ranitidine was instable, that NDMA


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   content could increase through the lapse of time and when exposed to heat or humidity, and that it

   should not be used in connection with high-nitrate or -nitrite foods.

           387.   At the point of sale, Brand OTC Manufacturer Defendants sold Zantac packaged

   and labeled with misleading information and material omissions.

                  a. Failure to Warn and Misrepresentations with Respect to the Labels

           388.   Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                          A drug or device shall be deemed to be misbranded –

                                  (a) False or misleading label

                                         (1) If its labeling is false or misleading in any particular.

           389.   The Brand OTC Manufacturer Defendants were required to give adequate

   directions for the use of a pharmaceutical drug such that a “layman can use a drug safely and for

   the purposes for which it is intended,” and conform to requirements governing the appearance of

   the label.

           390.    “Labeling” encompasses all written, printed or graphic material accompanying the

   drug or device, and, therefore, broadly encompasses nearly every form of promotional activity,

   including not only “package inserts” but also advertising.

           391.   “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the FDCA

   as including all printed matter accompanying any article. Congress did not, and we cannot, exclude

   from the definition printed matter which constitutes advertising.”

           392.   The Brand OTC Manufacturer Defendants were also responsible for conducting

   stability testing, which must be “designed to assess the stability characteristics of drug products.”

   Manufacturers must adopt a written testing program that includes: “(1) Sample size and test

   intervals based on statistical criteria for each attribute examined to assure valid estimates of


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   stability; (2) Storage conditions for samples retained for testing; (3) Reliable, meaningful, and

   specific test methods; (4) Testing of the drug product in the same container-closure system as that

   in which the drug product is marketed; (5) Testing of drug products for reconstitution at the time

   of dispensing (as directed in the labeling) as well as after they are reconstituted.”

          393.    The purpose of stability testing is, in part, to determine the “appropriate storage

   conditions and expiration dates.” And, expiration dates, in turn, must be set to “assure that a drug

   product meets applicable standards of identity, strength, quality, and purity at the time of use.” An

   expiration date is “related to any storage conditions stated on the labeling, as determined by

   stability studies listed in §211.166.”

          394.    Each Brand OTC Manufacturer Defendant must conduct its own tests to determine

   and set accurate retest or expiration dates.

          395.    The FDA made clear when it first adopted the expiration-date provision that the

   regulation means what it says. The purpose of the expiration date is not merely to consider the

   “stability of a specific active ingredient.” Instead, a compliant expiration date must account for

   multiple factors, including “the stability of the inactive ingredients, the interaction of active and

   inactive ingredients, the manufacturing process, the dosage form, the container closure system, the

   conditions under which the drug product is shipped, stored, and handled by wholesalers and

   retailers, and the length of time between initial manufacture and final use.”

          396.    The FDA expressly recognizes that an initial expiration date may not be the final

   expiration date: “Where data from accelerated studies are used to project a tentative expiration

   date that is beyond a date supported by actual shelf life studies, there must be stability studies

   conducted . . . until the tentative expiration date is verified or the appropriate expiration date

   determined.”


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          397.    After a drug is approved, a brand manufacturer can make changes to its drug

   application. To do so, manufacturers must comply with the requirements of §§314.70 and 314.71.

          398.    Some of the requirements in those regulations require a brand manufacturer of an

   approved drug to obtain FDA approval before implementing a label change.

          399.    But the FDA has long recognized a “changes being effected” (“CBE”) supplement

   that permits a manufacturer to make immediate changes, subject to FDA’s post-change review.

          400.    A manufacturer of an approved drug can use the CBE supplement to immediately

   make an “[a]ddition to a specification or changes in the methods or controls to provide increased

   assurance that the drug substance or drug product will have the characteristics of identity, strength

   quality, purity, or potency that it purports or is represented to possess.” “A specification is defined

   as a list of tests, references to analytical procedures, and appropriate acceptance criteria that are

   numerical limits, ranges, or other criteria for the tests described.”

          401.    A manufacturer, therefore, need not seek FDA pre-approval to make changes to its

   stability studies to identify the appropriate expiration date – which must “assure that a drug product

   meets applicable standards of identity, strength, quality, and purity at the time of use”—or to

   ensure that the drug is shipped and stored under appropriate conditions.

          402.    A manufacturer of an approved drug can also use the CBE supplement to make

   changes “in the labeling to reflect newly acquired information” in order to “add or strengthen a

   contraindication, warning, precaution, or adverse reaction for which the evidence of a causal

   association satisfies the standard for inclusion in the labeling under §201.57(c) of this chapter”;

   “add or strengthen an instruction about dosage and administration that is intended to increase the

   safe use of the drug product”; and “delete false, misleading, or unsupported indications for use or

   claims for effectiveness.”


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           403.   A manufacturer of an approved drug may make minor changes to a label with no

   approval or notice, so long as that change is described in an annual report. The illustrative but

   non-exhaustive list of minor changes includes “[a] change in the labeling concerning the

   description of the drug product or in the information about how the drug product is supplied, that

   does not involve a change in the dosage strength or dosage form.”

           404.   A “minor change” further includes “[a]n extension of an expiration dating period

   based upon full shelf life data on production batches obtained from a protocol approved in the

   NDA.”

           405.   At no time did any Brand OTC Manufacturer Defendant attempt to include a

   warning on the labels for Ranitidine-Containing Products that consumers were at elevated risk of

   developing cancer if the products were: (i) exposed to excessive heat; (ii) exposed to excessive

   moisture/humidity; (iii) consumed with high-nitrite foods; and (iv) consumed daily for a period of

   greater than a few months. The FDA never rejected such cancer warnings.

           406.   At no time did any Brand OTC Manufacturer Defendant attempt to change its label

   to delete a false or misleading expiration date, or to add a proper expiration date to ensure that

   Ranitidine-Containing Products would not break down into NDMA prior to human consumption.

           407.   Based on the public scientific information, the any Brand OTC Manufacturer

   Defendants knew or should have known that NDMA could form in ranitidine by exposure to heat,

   humidity, nitrites, the conditions of the human stomach, and/or over time in storage.

           408.   At no time did any Brand OTC Manufacturer Defendant change its label to shorten

   the expiration date. Brand OTC Manufacturer Defendants had the ability to unilaterally make such

   label changes (for both prescription and OTC) without prior FDA approval pursuant to the CBE

   regulation. Had any Brand OTC Manufacturer Defendant attempted such label changes, the FDA


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   would not have rejected them.

          409.       Because they failed to include appropriate expiration dates on their products, Brand

   OTC Manufacturer Defendants failed to warn regarding and made false statements in the labeling

   of their products.

          410.       Because they failed to include a warning on the labels for Ranitidine-Containing

   Products that consumers were at elevated risk of developing cancer if the products were: (i)

   exposed to excessive heat; (ii) exposed to excessive moisture/humidity; (iii) consumed with high-

   nitrite foods;and (iv) consumed daily for a period of greater than a few months, Brand OTC

   Manufacturer Defendants failed to warn regarding and made false statements in the labeling of

   their products.

                 b. Failure to Warn and Misrepresentations with Respect to the Packaging


          411.       21 U.S.C. §352(i)(1) provides, in pertinent part,

                            A drug or device shall be deemed to be misbranded—

                            (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE

                            UNDER ANOTHER NAME

                                    (1) If it is a drug and its container is so made, formed, or filled as

                                    to be misleading;

   (emphasis in original).

          412.       As alleged above, each Brand OTC Manufacturer Defendant was required to

   conduct stability testing, which was required to take the container into account.

          413.       As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.



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          414.      The Brand OTC Manufacturer Defendants knew that ranitidine had an inherent risk

   of degrading into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are

   all the ingredients needed to form NDMA.

          415.      The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          416.      A substantial factor in NDMA formation was the container system manufacturers

   chose. Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods

   by consumers after the seal is broken. This exposes the remaining units to humidity over time,

   which produces NDMA.

          417.      A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                    (a) Placing each unit of ranitidine in a blister pack or similar individually packaged
                        container would ensure humidity control until the consumer used each unit.

                    (b) Reducing the number of units of ranitidine in each bottle to a low number would
                        ensure the unused units were subject to humidity for only a shorter time period,
                        since consumers would purchase new bottles more frequently.

          418.      Each Brand OTC Manufacturer Defendant could have unilaterally changed the

   container system it sold. FDA guidance specifically allows changing the number of units in a non-

   sterile drug under its Changes-Being Effected regulation. See FDA, Guidance for Industry,

   Changes     to     an   Approved     NDA     or   ANDA,      Revision   1,   at   21   (Apr.    2004),

   https://www.fda.gov/media/71846/download (“A change in the number of units (e.g., tablets,

   capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in a unit-of-use

   container.”). FDA guidance also would treat changing to a unit-dose container such as a blister-



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   pack to be a moderate change that could be implemented through the Changes-Being Effected

   regulation. See id. at 20-21 (only requiring pre-approval for sterile drug products, when moving

   from unit dose containers to multiple dose containers, rather than non-sterile drug products moving

   to unit dose containers).

          419.    Brand OTC Manufacturer Defendants were not required to put their ranitidine in

   the same containers as the others, because the duty of sameness does not apply to containers. It

   applies only to the drug label. See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container

   label, package insert, and, if applicable, Medication Guide) proposed for the drug product must be

   the same as the labeling approved for the reference listed drug ….”).

          420.    A reasonably prudent manufacturer would have changed the containers for

   Ranitidine-Containing Products to protect the products from humidity and reduce the time between

   manufacture and consumption, both of which would reduce the amount of NDMA produced.

          421.    As examples only, beginning in or about December 2006, BI sold Zantac 75 mg

   under NDC 0597-0122-96 in a bottle containing 96 pills, under NDC 0597-0122-81 in a bottle

   containing 80 pills, and under NDC 0597-0122-61 in a container containing 100 pills in pouches.

          422.    As examples only, beginning in or about December 2006, BI sold Zantac Maximum

   Strength 150 Cool Mint under NDC 0597-0120-87 in a bottle containing 85 tablets, under NDC

   0597-0120-82 in a container containing 80 tablets in pouches, and under NDC 0597-0120-78 in a

   bottle containing 78 tablets.

          423.    An example of a BI label for a package of 80 tablets follows:




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          424.    As examples only, beginning in or about April 2018, Sanofi sold Zantac 150 mg

   under NDC 41167-0310-6 in a bottle containing 90 tablets, under NDC 41167-0310-9 in a bottle

   containing 78 pills, and under 41167-0310-8 in two bottles packaged in one carton with each bottle



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   containing 60 tablets (for a 120-tablet package).

          425.    An example of a Sanofi label for a package of 90 tablets follows:




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         426.   Because they failed to package their products in appropriate container sizes, Brand



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   OTC Manufacturer Defendants failed to warn regarding and made false statements with regard to

   the packaging of their products.

          427.    Brand OTC Manufacturer Defendants’ conduct, as described above, was reckless.

   Defendants regularly risked the lives of consumers and users of their products, including Plaintiffs,

   with full knowledge of the dangers of their products. Brand OTC Manufacturer Defendants have

   made conscious decisions not to change the containers for their Ranitidine-Containing Products.

           3. Generic Prescription Manufacturer Defendants’ Failure to Warn and
              Misrepresentations in the Labeling of Prescription Ranitidine-Containing
              Products

          428.    The Generic Prescription Manufacturer Defendants are Amneal, Apotex, Dr.

   Reddy’s, Glenmark, Sandoz, Strides, and Teva.

          429.    Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                          A drug or device shall be deemed to be misbranded –

                          (a) FALSE OR MISLEADING LABEL

                          (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

          430.    A manufacturer is required to give adequate directions for the use of a

   pharmaceutical drug such that a “layman can use a drug safely and for the purposes for which it is

   intended,” and conform to requirements governing the appearance of the label.

          431.    “Labeling” encompasses all written, printed or graphic material accompanying the

   drug or device, and, therefore, broadly encompasses nearly every form of promotional activity,

   including not only “package inserts” but also advertising.

          432.    “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the FDCA

   as including all printed matter accompanying any article. Congress did not, and we cannot, exclude


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   from the definition printed matter which constitutes advertising.”

          433.    All drug manufacturers (brand and generic) are also responsible for conducting

   stability testing, which must be “designed to assess the stability characteristics of drug products.”

   Manufacturers must adopt a written testing program that includes: “(1) Sample size and test

   intervals based on statistical criteria for each attribute examined to assure valid estimates of

   stability; (2) Storage conditions for samples retained for testing; (3) Reliable, meaningful, and

   specific test methods; (4) Testing of the drug product in the same container-closure system as that

   in which the drug product is marketed; (5) Testing of drug products for reconstitution at the time

   of dispensing (as directed in the labeling) as well as after they are reconstituted.”

          434.    The purpose of stability testing is, in part, to determine the “appropriate storage

   conditions and expiration dates.” And, expiration dates, in turn, must be set to “assure that a drug

   product meets applicable standards of identity, strength, quality, and purity at the time of use.”

   An expiration date is “related to any storage conditions stated on the labeling, as determined by

   stability studies listed in §211.166.”

          435.    Notably, while generic medications must have the same active ingredients as their

   branded counterparts, the inactive ingredients, or excipients, may not necessarily be identical. For

   this reason, the stability of each generic drug may differ from manufacturer to manufacturer, or

   even from manufacturing process to manufacturing process.

          436.    Each generic manufacturer must therefore conduct its own tests to determine and

   set accurate retest or expiration dates.

          437.    The FDA made clear when it first adopted the expiration-date provision that the

   regulation means what it says. The purpose of the expiration date is not merely to consider the

   “stability of a specific active ingredient.” Instead, a compliant expiration date must account for


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   multiple factors, including “the stability of the inactive ingredients, the interaction of active and

   inactive ingredients, the manufacturing process, the dosage form, the container closure system, the

   conditions under which the drug product is shipped, stored, and handled by wholesalers and

   retailers, and the length of time between initial manufacture and final use.”

          438.    The FDA expressly recognizes that an initial expiration date may not be the final

   expiration date: “Where data from accelerated studies are used to project a tentative expiration

   date that is beyond a date supported by actual shelf life studies, there must be stability studies

   conducted . . . until the tentative expiration date is verified or the appropriate expiration date

   determined.”

          439.    After a drug is approved, a generic manufacturer can make changes to its drug

   application. To do so, manufacturers must comply with the requirements of §§314.70 and 314.71.

          440.    Some of the requirements in those regulations require the manufacturer of an

   approved drug to obtain FDA approval before implementing a label change.

          441.    But the FDA has long recognized a “changes being effected” (“CBE”) supplement

   that permits a manufacturer to make immediate changes, subject to FDA’s post-change review.

          442.    A manufacturer of an approved drug can use the CBE supplement to immediately

   make an “[a]ddition to a specification or changes in the methods or controls to provide increased

   assurance that the drug substance or drug product will have the characteristics of identity, strength

   quality, purity, or potency that it purports or is represented to possess.” “A specification is defined

   as a list of tests, references to analytical procedures, and appropriate acceptance criteria that are

   numerical limits, ranges, or other criteria for the tests described.”

          443.    A manufacturer, therefore, need not seek FDA pre-approval to make changes to its

   stability studies to identify the appropriate expiration date – which must “assure that a drug product


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   meets applicable standards of identity, strength, quality, and purity at the time of use” – or to

   ensure that the drug is shipped and stored under appropriate conditions.

           444.   A manufacturer of an approved drug can also use the CBE supplement to make

   changes “in the labeling to reflect newly acquired information” in order to “add or strengthen a

   contraindication, warning, precaution, or adverse reaction for which the evidence of a causal

   association satisfies the standard for inclusion in the labeling under §201.57(c) of this chapter”;

   “add or strengthen an instruction about dosage and administration that is intended to increase the

   safe use of the drug product”; and “delete false, misleading, or unsupported indications for use or

   claims for effectiveness.”

           445.   A manufacturer of an approved drug may make minor changes to a label with no

   approval or notice, so long as that change is described in an annual report. The illustrative but

   non-exhaustive list of minor changes includes “[a] change in the labeling concerning the

   description of the drug product or in the information about how the drug product is supplied, that

   does not involve a change in the dosage strength or dosage form.”

           446.   A “minor change” further includes “[a]n extension of an expiration dating period

   based upon full shelf life data on production batches obtained from a protocol approved in the

   NDA.”

           447.   At no time did any Generic Manufacturer Defendant attempt to change its label to

   delete a false or misleading expiration date, or to add a proper expiration date to ensure that

   Ranitidine-Containing Products would not break down into NDMA prior to human consumption.

           448.   Based on the public scientific information, the Generic Manufacturer Defendants

   knew or should have known that NDMA could form in ranitidine by exposure to heat, humidity,

   nitrites, the conditions of the human stomach, and/or over time in storage.


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             449.   At no time did any Generic Manufacturer Defendant change its label to shorten the

   expiration date. The Generic Manufacturer Defendants had the ability to unilaterally make such

   label changes (for both prescription and OTC) without prior FDA approval pursuant to the CBE

   regulation. Had any Generic Manufacturer Defendant attempted such label changes, the FDA

   would not have rejected them.

             450.   Because they failed to include appropriate expiration dates on their products, the

   Generic Manufacturer Defendants failed to warn regarding and made false statements in the

   labeling of their products.

              4. The Store-Brand Defendants’ Failure to Warn and Misrepresentations in the
                 Labeling and Packaging of OTC Ranitidine-Containing Products

             451.   The Store-Brand Defendants (or Private-Label Distributors, (“PLDs”))178 are

   Walmart, Walgreens, CVS, and Rite Aid.

             452.   The FDA considers a firm that does not manufacture or process the drug but instead

   markets and distributes it under its own trade name, and labels a drug product made by someone

   else, a PLD.

             453.   While a PLD contracts with a contract manufacturing organization (“CMO”) to

   manufacture and process a drug, the FDA holds the PLD responsible for ensuring that all of its

   products comply with cGMPs, are not adulterated for failure to comply with cGMPs, and are not

   misbranded.

             454.   Delegating manufacturing or testing operations for a store-branded product to other

   companies does not exonerate the PLD from complying with its regulatory and state law

   requirements.


   178
         Defined at 21 C.F.R. §207.1.

                                                       142
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             455.    Thus, a PLD that contracts out some or all of its operations must establish a system

   of production and process controls to ensure its private-label product is not adulterated or

   misbranded prior to distribution or sale.

               a. CVS’ Failure to Warn and Misrepresentations in the Labeling and Packaging
                  of OTC Ranitidine-Containing Products

                    i. CVS is a Private Label Distributor for the Private-Label Product CVS
                       Health Ranitidine

             456.    CVS offers store brands, which are low-priced alternatives to name-brand products.

   CVS has numerous store brands, each catering to a different consumer need.

             457.    Almost all products offered under CVS store-brands are private label products,

   meaning CVS produces them through subsidized contracts awarded to the lowest bidder.

             458.    CVS Health is CVS’s store brand, or private label, for healthcare needs, including

   OTC medications.

             459.    CVS represents that “CVS Health® products meet the highest quality standards for

   your health, wellness and beauty needs.”179

             460.    CVS contracts with third-party manufacturers to manufacture its CVS Health OTC

   medications.

             461.    With respect to OTC medications, CVS is considered a PLD. As a PLD, CVS is

   responsible for ensuring that all of its products comply with cGMPs and are not adulterated for

   failure to comply with cGMPs and are not misbranded.

             462.    Since at least 1997, CVS has required all suppliers that provide pharmaceutical

   products to its to abide by its standards and submit to regular audits.


   179
         https://www.cvs.com/shopbrand/exclusive-brands?stop_mobi=yes (last accessed Feb. 6, 2021).



                                                         143
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             463.    CVS loftily claims that its “purpose” in helping people on a path to better health

   means ensuring “a safe working environment” for the “suppliers worldwide.”180

             464.    To achieve this goal CVS claims it was the first health care retailer to join the

   “Responsible Factory Initiative” which is dedicated to corporate social responsibility in global

   supply chains.

             465.    This partnership includes training on what CVS purports to be the “most critical

   risks” in the manufacturing supply chain, including health and safety, chemical management,

   environmental sustainability, recognizing forced labor, and corrective action planning.
             466.
                     CVS proclaims that it maintains the “highest level of performance” in the areas of

   supply chain responsibility.181

             467.    CVS claims that this high level of performance extends to the “creation and

   production” of each of CVS’s private-label products to ensure the “highest level of quality and

   environmental safety.”182

             468.    CVS touts that its suppliers play an “integral part in our success as a health care

   leader” and CVS purports to “engage them down to the factor level to better understand the source

   of our products’ raw materials, how and where the products were manufactured, and under what

   conditions.”183



   180
      https://cvshealth.com/news-and-insights/articles/strengthening-our-commitment-to-ethical-
    sourcing-across-our-supply-chain (last accessed Jan. 26, 2021).
   181
         https://cvshealth.com/sites/default/files/2018-csr-full-report.pdf (last accessed Jan. 26, 2021).
   182
     https://s2.q4cdn.com/447711729/files/doc_downloads/company_documents/2014-
    CVSCaremark-CSR-Report.pdf (last accessed Feb. 5, 2021)
   183
     https://s2.q4cdn.com/447711729/files/doc_downloads/company_documents/2014-
    CVSCaremark-CSR-Report.pdf (last accessed Feb. 5, 2021)



                                                          144
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             469.   To this end, CVS audits all its suppliers, to ensure that “import suppliers and other

   store brand suppliers are in compliance with social, legal and trade security standards” in

   manufacturing OTC products for consumers.184

             470.   CVS requires all suppliers to submit to “Intertek GMP quality audits” to “be

   performed on all factories producing Store Brand FDA regulated items.”185

             471.   In or about 2012, CVS launched “an enhanced factory audit program” with an aim

   “to help ensure our import suppliers and global supply chain partners” comply with “good

   manufacturing processes”. As CVS explained in a training for suppliers:186




             472.   To that end, CVS stated in its training that any supplier of a private-label product

   that was both a “CVS Store Brand Import Item” and “FDA Regulated Import Item” was required




   184
     https://s2.q4cdn.com/447711729/files/doc_downloads/company_documents/2014-
    CVSCaremark-CSR-Report.pdf (last accessed Feb. 5, 2021).
   185
     https://www.cvssuppliers.com/sites/default/files/Direct%20Import%20Guide%20For%20
    Product%20Suppliers%20063017_.pdf (last accessed Feb. 6, 2021).
   186
         https://studylib.net/doc/8860947/cvs-factory-audit-program (last accessed Feb. 6, 2021).



                                                        145
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   to submit to four types of audits: WCA, GSV, GMP, and SQP.187 Likewise, any supplier of a

   private-label product that was both a “CVS Store Domestic Purchased Item” and “FDA Regulated

   Domestic Purchased Item” was required to submit to two types of audits: GMP and SQP.188

               473.   These acronyms stand for: Workplace Conditions Audit/Social Audit (WCA);

   Global Security Verification/Security Audit (GSV); Supplier Qualification Program/Quality Audit

   (SQP); and Good Manufacturing Practices/ Quality Audit for Regulated Items (GMP).189

               474.   CVS’s supplier requirements demonstrate its knowledge that it is ultimately

   responsible for ensuring that all of its products comply with cGMPs and are not adulterated for

   failure to comply with cGMPs and are not misbranded.

               475.   As part of its CVS Health OTC product line, CVS sold ranitidine.

               476.   An example of a CVS Health label for CVS’s store-brand or private-label ranitidine

   follows:190




   187
         Id.
   188
         Id.
   189
         Id.
   190
     https://www.instacart.com/products/2679999-cvs-health-acid-reducer-regular-strength-75-
    mg-tablets-80-ea (last accessed Feb. 6, 2021).

                                                         146
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           477.   CVS’s ranitidine products can be identified by the unique labeler code assigned to

   CVS by the FDA: 69842. Any NDC number starting with 69842 is a CVS private-label product.

           478.   A list of the CVS Health ranitidine products sold by CVS as the PLD includes, inter

   alia:




                                                     147
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                                                                                ANDA           Start Marketing
   Product          Dosage   Package              NDC              ANDA         Manufacturer   Approval Date
   CVS Health
   Ranitidine (CVS)

                   150 mg    95 tablet bottle     69842-869-62     ANDA078192   Dr. Reddys            5/1/2010

                   75 mg     30 tablet bottle     69842-871-30     ANDA075294   Dr. Reddys            7/1/2009

                   75 mg     160 tablet bottle    69842-871-37     ANDA075294   Dr. Reddys            7/1/2009

                   75 mg     80 tablet bottle     69842-871-80     ANDA075294   Dr. Reddys            7/1/2009

                   75 mg     160 tablet bottle    69842-293-06     ANDA076195   Perrigo              5/25/2018

                   75 mg     80 tablet bottle     69842-293-27     ANDA076195   Perrigo              5/25/2018

                   75 mg     30 tablet bottle     69842-293-65     ANDA076195   Perrigo              5/25/2018

                   150 mg    95 tablet bottle     59779-540-01     ANDA091429   Perrigo              9/14/2015

                   150 mg    24 tablet bottle     59779-540-02     ANDA091429   Perrigo              9/14/2015

                   150 mg    65 tablet bottle     59779-540-09     ANDA091429   Perrigo              9/14/2015

                   150 mg    200 tablet bottle    59779-540-82     ANDA091429   Perrigo              9/14/2015

                   150 mg    95 tablet bottle     59779-950-01     ANDA091429   Perrigo              9/21/2011

                   150 mg    65 tablet bottle      59779-950-09    ANDA091429   Perrigo              9/21/2011
                             1 tablet in blister
                   150 mg    pack, 8 blister pack 59779-950-51     ANDA091429   Perrigo              9/21/2011
                             1 tablet in blister
                   150 mg    pack, 24 blister pack 59779-950-62    ANDA091429   Perrigo              9/21/2011

                   150 mg    32 tablet bottle     59779-950-64     ANDA091429   Perrigo              9/21/2011

                   75 mg     80 tablet bottle     59779-356-08     ANDA201745   Strides               9/9/2013

                   75 mg     160 tablet bottle    59779-356-16     ANDA201745   Strides               9/9/2013

                   75 mg     30 tablet blister pack 59779-356-31   ANDA201745   Strides               9/9/2013

                   150 mg    200 tablet bottle    59779-354-20     ANDA200536   Strides              8/21/2012

                   150 mg    24 tablet blister pack 59779-354-24   ANDA200536   Strides              8/21/2012

                   150 mg    65 tablet bottle     59779-354-65     ANDA200536   Strides              8/21/2012

                   150 mg    95 tablet bottle     59779-354-95     ANDA200536   Strides              8/21/2012


          479.    CVS contracted with Perrigo, Dr. Reddy’s Laboratories, and Strides to manufacture

   its CVS Health ranitidine products.

          480.    Delegating manufacturing or testing operations for CVS Health ranitidine to other


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   companies did not exonerate CVS as the PLD from its regulatory requirements to establish a

   system of production and process controls to ensure its private-label products were not adulterated

   or misbranded prior to sale.

                    ii. CVS’ Failure to Warn and Misrepresentations with Respect to the Labels

             481.   Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                           A drug or device shall be deemed to be misbranded –

                           (a) FALSE OR MISLEADING LABEL

                           (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

             482.   Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

             483.   Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, CVS had a duty and was obligated to properly store, handle, and warehouse ranitidine.

             484.   Testing conducted by the FDA confirms that improper storage of ranitidine has

   resulted in extremely high levels of NDMA.191 The FDA has also concluded that NDMA can



   191
         Woodcock Letter, supra note 95.

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   increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

   found to increase significantly in samples stored at higher temperatures, including temperatures

   the product may be exposed to during normal distribution and handling. FDA’s testing also

   showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

   Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

   ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

   was deemed moot by the FDA because the agency sought to withdraw Ranitidine-Containing

   Products altogether.

          485.    Nothing prevented CVS from, on its own, taking actions to prevent accumulation

   of NDMA in Ranitidine-Containing Products by ensuring storage and transport at the lower end

   of the temperature range contained on the labels. Nothing prevented CVS from ensuring that

   ranitidine was not exposed to humidity or moisture.

          486.    At no time did CVS attempt to include, or cause its suppliers to attempt to include,

   a warning on the labels for CVS Health ranitidine that consumers were at elevated risk of

   developing cancer if the products were: (i) exposed to excessive heat; (ii) exposed to excessive

   moisture/humidity; (iii) consumed with high-nitrite foods; (iv) consumed daily for a period of

   greater than a few months. The FDA never rejected such cancer warnings.

          487.    At no time did CVS attempt to change, or cause its suppliers to attempt to change,

   the CVS Health ranitidine label to delete a false or misleading expiration date, or to add a proper

   expiration date to ensure that CVS Health ranitidine products would not break down into NDMA

   prior to human consumption.

          488.    An example of a CVS Health ranitidine label reflecting that expiration dates were

   included on the packaging follows:


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          489.    Based on the public scientific information, CVS knew or should have known that

   NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the human

   stomach, and/or over time in storage.

          490.    At no time did CVS change its CVS Health ranitidine label to shorten the expiration

   date. CVS had the ability to cause its suppliers to unilaterally make such label changes for CVS

   Health ranitidine without prior FDA approval pursuant to the CBE regulation. Had CVS attempted

   such label changes, the FDA would not have rejected them.

          491.    Because CVS failed to include appropriate expiration dates on its products, CVS

   failed to warn regarding and made false statements in the labeling of its products.

                  iii. CVS’ Failure to Warn and Misrepresentations with Respect to the
                       Packaging

          492.    Title 21 U.S.C. §352(i)(1) provides, in pertinent part,

                         A drug or device shall be deemed to be misbranded –

                         (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE UNDER
                         ANOTHER NAME


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                         (1) If it is a drug and its container is so made, formed, or filled as to be
                         misleading;….

   (emphasis in original).

          493.    As alleged above, each PLD was required to conduct, or cause its contract

   manufacturer to conduct, stability testing, which was required to take the container into account.

          494.    As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          495.    CVS knew or should have known that ranitidine had an inherent risk of degrading

   into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all the

   ingredients needed to form NDMA.

          496.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          497.    A substantial factor in NDMA formation was the container system CVS chose. Pill

   bottles with large numbers of units of ranitidine are likely to be stored for long periods by

   consumers after the seal is broken. This exposes the remaining units to humidity over time, which

   produces NDMA.

          498.    A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                   (a) Placing each unit of ranitidine in a blister pack or similar individually
                       packaged container would ensure humidity control until the consumer used
                       each unit.

                   (b) Reducing the number of units of ranitidine in each bottle to a low number
                       would ensure the unused units were subject to humidity for only a shorter time
                       period, since consumers would purchase new bottles more frequently.


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           499.    CVS could have changed, or caused its contract manufacturers to change, the

   container system it sold. FDA guidance specifically allows changing the number of units in a non-

   sterile drug under its Changes-Being Effected regulation.192 FDA guidance also would treat

   changing to a unit-dose container such as a blister-pack to be a moderate change that could be

   implemented through the Changes-Being Effected regulation.193

           500.    CVS was not required to put its ranitidine in the same containers as the other store-

   brand OTC products, because the duty of sameness does not apply to containers. It applies only

   to the drug label.194

           501.    A reasonably prudent PLD would have changed the containers for Ranitidine-

   Containing Products to protect the products from humidity and reduce the time between

   manufacture and consumption, both of which would reduce the amount of NDMA produced.

           502.    As reflected in the chart above, and as an example only, CVS sold its CVS Health

   ranitidine product in bottles with as many as 200 tablets.

           503.    A copy of the label for the CVS Health ranitidine product with 200 tablets follows:




   192
      See FDA, Guidance for Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21
    (Apr. 2004), https://www.fda.gov/media/71846/download (“A change in the number of units
    (e.g., tablets, capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in
    a unit-of-use container.”).
   193
     See id. at 20-21 (only requiring pre-approval for sterile drug products, when moving from unit
    dose containers to multiple dose containers, rather than non-sterile drug products moving to unit
    dose containers).
   194
      See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container label, package insert, and,
    if applicable, Medication Guide) proposed for the drug product must be the same as the labeling
    approved for the reference listed drug ….”).

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          504.    Further the demand for large quantity package sizes put CVS on notice that

   purchases were made for regular and extended use, and not for a one-time occasion.

          505.    Because CVS failed to package its products in appropriate container sizes, CVS

   failed to warn regarding and made false statements in the packaging of its products.

          506.    CVS’s conduct, as described above, was reckless. Defendant regularly risked the

   lives of consumers and users of their products, including Plaintiffs, with full knowledge of the

   dangers of its products. CVS made conscious decisions not to change the containers for its

   Ranitidine-Containing Products.

             b. Rite Aid’s Failure to Warn and Misrepresentations in the Labeling and
                Packaging of OTC Ranitidine-Containing Products

                   i. Rite Aid Is a Private Label Distributor for the Private-Label Product
                      Rite Aid Ranitidine



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          507.    Rite Aid offers store brands, which are low-priced alternatives to name-brand

   products. Rite Aid has numerous store brands, each catering to a different consumer need.

          508.    Almost all products offered under Rite Aid store-brands are private label products,

   meaning Rite Aid produces them through subsidized contracts awarded to the lowest bidder.

          509.    Rite Aid is Rite Aid’s store brand, or private label, for, inter alia, OTC medications.

          510.    Rite Aid contracts with third-party manufacturers to manufacture its Rite Aid OTC

   medications.

          511.    With respect to OTC medications, Rite Aid is considered a PLD. As a PLD, Rite

   Aid is responsible for ensuring that all of its products comply with cGMPs and are not adulterated

   for failure to comply with cGMPs and are not misbranded.

          512.    As part of its Rite Aid OTC product line, Rite Aid sold ranitidine.

          513.    An example of a Rite Aid acid reducer ranitidine label for Rite Aid’s store-brand

   or private-label ranitidine follows:




          514.    Rite Aid’s ranitidine products can be identified by the unique labeler code assigned

   to Rite Aid by the FDA: 11822. Any NDC number starting with 11822 is a Rite Aid private-label

                                                       155
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   product.

           515.   A list of the Rite Aid ranitidine products sold by Rite Aid as the PLD includes, inter

   alia:




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                                                                            ANDA           Start Marketing
   Product      Dosage   Package               NDC             ANDA         Manufacturer   Approval Date
   Rite Aid
   Ranitidine
                         1 tablet in 1 blister
                150 mg   pack, 24 blister pack 11822-0852-1    ANDA091429   Perrigo             10/26/2011

                150 mg   50 tablet bottle      11822-0852-2    ANDA091429   Perrigo             10/26/2011

                150 mg   65 tablet botlte      11822-0852-3    ANDA091429   Perrigo             10/26/2011

                150 mg   95 tablet bottle      11822-0852-4    ANDA091429   Perrigo             10/26/2011

                150 mg   24 tablet bottle      11822-0852-5    ANDA091429   Perrigo             10/26/2011

                150 mg   24 tablet bottle      11822-0950-0    ANDA091429   Perrigo              12/7/2011

                150 mg   50 tablet bottle      11822-0950-1    ANDA091429   Perrigo              12/7/2011

                150 mg   95 tablet bottle      11822-4727-3    ANDA200172   Apotex               6/26/2017

                150 mg   24 tablet bottle      11822-6051-8    ANDA200172   Apotex               6/26/2017

                150 mg   50 tablet bottle      11822-6052-1    ANDA200172   Apotex               6/26/2017

                150 mg   65 tablet bottle      11822-6052-2    ANDA200172   Apotex               6/26/2017

                150 mg   24 tablet bottle      11822-6107-4    ANDA200172   Apotex               6/30/2017

                75 mg    30 tablet bottle      11822-6190-0    ANDA200536   Strides              6/15/2013

                75 mg    60 tablet bottle      11822-6190-1    ANDA200536   Strides              6/15/2013

                75 mg    80 tablet bottle      11822-6190-8    ANDA200536   Strides              6/15/2013

                150 mg   24 blister pack       11822-0852-1    ANDA091429   Perrigo             10/26/2011

                150 mg   50 tablet bottle      11822-0852-2    ANDA091429   Perrigo             10/26/2011

                150 mg   65 tablet bottle      11822-0852-3    ANDA091429   Perrigo             10/26/2011

                150 mg   95 tablet bottle      11822-0852-4    ANDA091429   Perrigo             10/26/2011

                150 mg   24 tablet bottle      11822-0852-5    ANDA091429   Perrigo             10/26/2011

                75 mg    60 tablet bottle      11822-0271-1    ANDA076760   Wockhardt            11/4/2011
                         2 bottle carton, 80
                75 mg    tablets per bottle    11822-0271-2    ANDA076760   Wockhardt            11/4/2011

                75 mg    30 tablet bottle      11822-0271-3    ANDA076760   Wockhardt            11/4/2011

                150 mg   50 tablet bottle      11822-0047-1    ANDA078653   Wockhardt            12/3/2008

                150 mg   24 tablet blister pack 11822-0047-2   ANDA078653   Wockhardt            12/3/2008

                150 mg   65 tablet bottle      11822-0047-3    ANDA078653   Wockhardt            12/3/2008

                150 mg   95 tablet bottle      11822-0047-4    ANDA078653   Wockhardt            12/3/2008



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          516.    Rite Aid contracted with Perrigo, Apotex, and Strides, and non-party Wockhardt,

   to manufacture its Rite Aid ranitidine products.

          517.    Delegating manufacturing or testing operations for Rite Aid ranitidine products to

   other companies did not exonerate Rite Aid as the PLD from its regulatory requirements to

   establish a system of production and process controls to ensure its private-label products were not

   adulterated or misbranded prior to sale.

                   ii. Rite Aid’s Failure to Warn and Misrepresentations with Respect to the
                       Labels

          518.    Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                          A drug or device shall be deemed to be misbranded –

                          (a) FALSE OR MISLEADING LABEL

                          (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

          519.    Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

          520.    Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Rite Aid had a duty and was obligated to properly store, handle, and warehouse ranitidine.



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             521.   Testing conducted by the FDA confirms that improper storage of ranitidine has

   resulted in extremely high levels of NDMA.195 The FDA has also concluded that NDMA can

   increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

   found to increase significantly in samples stored at higher temperatures, including temperatures

   the product may be exposed to during normal distribution and handling. FDA’s testing also

   showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

   Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

   ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

   was deemed moot by the FDA because the agency sought to withdraw Ranitidine-Containing

   Products altogether.

             522.   Nothing prevented Rite Aid from, on its own, taking actions to prevent

   accumulation of NDMA in Ranitidine-Containing Products by ensuring storage and transport at

   the lower end of the temperature range contained on the labels. Nothing prevented Rite Aid from

   ensuring that ranitidine was not exposed to humidity or moisture.

             523.   At no time did Rite Aid attempt to include, or cause its suppliers to attempt to

   include, a warning on the labels for Rite Aid ranitidine that consumers were at elevated risk of

   developing cancer if the products were: (i) exposed to excessive heat; (ii) exposed to excessive

   moisture/humidity; (iii) consumed with high-nitrite foods; (iv) consumed daily for a period of

   greater than a few months. The FDA never rejected such cancer warnings.

             524.   At no time did Rite Aid attempt to change, or cause its suppliers to attempt to

   change, the Rite Aid ranitidine label to delete a false or misleading expiration date, or to add a



   195
         Woodcock Letter, supra note 95.

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   proper expiration date to ensure that Rite Aid ranitidine products would not break down into

   NDMA prior to human consumption.

             525.   An example of a Rite Aid ranitidine label reflecting that expiration dates were

   included on the packaging follows:196




             526.   Based on the public scientific information, Rite Aid knew or should have known

   that NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the

   human stomach, and/or over time in storage.

             527.   At no time did Rite Aid change its Rite Aid ranitidine label to shorten the expiration

   date. Rite Aid had the ability to cause its suppliers to unilaterally make such label changes for



   196
         https://ndclist.com/ndc/11822-0950.

                                                         160
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   Rite Aid ranitidine without prior FDA approval pursuant to the CBE regulation. Had Rite Aid

   attempted such label changes, the FDA would not have rejected them.

          528.    Because Rite Aid failed to include appropriate expiration dates on its products, Rite

   Aid failed to warn regarding and made false statements in the labeling of its products.

                  iii. Rite Aid’s Failure to Warn and Misrepresentations with Respect to the
                       Packaging

          529.    Title 21 U.S.C. §352(i)(1) provides, in pertinent part,

                         A drug or device shall be deemed to be misbranded –

                         (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE UNDER
                         ANOTHER NAME

                         (1) If it is a drug and its container is so made, formed, or filled as to be
                         misleading;….

   (emphasis in original).

          530.    As alleged above, each PLD was required to conduct, or cause its contract

   manufacturer to conduct, stability testing, which was required to take the container into account.

          531.    As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          532.    Rite Aid knew or should have known that ranitidine had an inherent risk of

   degrading into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all

   the ingredients needed to form NDMA.

          533.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          534.    A substantial factor in NDMA formation was the container system Rite Aid chose.



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   Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods by

   consumers after the seal is broken. This exposes the remaining units to humidity over time, which

   produces NDMA.

          535.    A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                  (a) Placing each unit of ranitidine in a blister pack or similar individually packaged
                      container would ensure humidity control until the consumer used each unit.

                  (b) Reducing the number of units of ranitidine in each bottle to a low number would
                      ensure the unused units were subject to humidity for only a shorter time period,
                      since consumers would purchase new bottles more frequently.

          536.    Rite Aid could have changed, or caused its contract manufacturers to change, the

   container system it sold. FDA guidance specifically allows changing the number of units in a non-

   sterile drug under its Changes-Being Effected regulation.197 FDA guidance also would treat

   changing to a unit-dose container such as a blister-pack to be a moderate change that could be

   implemented through the Changes-Being Effected regulation.198

          537.    Rite Aid was not required to put its ranitidine in the same containers as the other

   store-brand OTC products, because the duty of sameness does not apply to containers. It applies

   only to the drug label.199


   197
      See FDA, Guidance for Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21
    (Apr. 2004), https://www.fda.gov/media/71846/download (“A change in the number of units
    (e.g., tablets, capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in
    a unit-of-use container.”).
   198
     See id. at 20-21 (only requiring pre-approval for sterile drug products, when moving from unit
    dose containers to multiple dose containers, rather than non-sterile drug products moving to unit
    dose containers).
   199
      See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container label, package insert, and,
    if applicable, Medication Guide) proposed for the drug product must be the same as the labeling
    approved for the reference listed drug ….”).

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          538.    A reasonably prudent PLD would have changed the containers for Ranitidine-

   Containing Products to protect the products from humidity and reduce the time between

   manufacture and consumption, both of which would reduce the amount of NDMA produced.

          539.    As reflected in the chart above, and as an example only, Rite Aid sold its CVS

   Health ranitidine product in bottles with as many as 95 tablets.

          540.    A copy of the label for the Rite Aid ranitidine product with 95 tablets follows:




          541.    Further the demand for large quantity package sizes put Defendant on notice that

   purchases were made for regular and extended use, and not for a one-time occasion.

          542.    Because Rite Aid failed to package its products in appropriate container sizes, Rite

   Aid failed to warn regarding and made false statements in the packaging of its products.

          543.    Rite Aid’s conduct, as described above, was reckless. Defendant regularly risked

   the lives of consumers and users of their products, including Plaintiffs, with full knowledge of the

   dangers of its products. Rite Aid made conscious decisions not to change the containers for its


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   Ranitidine-Containing Products.

                    c. Walgreens’ Failure to Warn and Misrepresentations in the Labeling and
                       Packaging of OTC Ranitidine-Containing Products

                      i. Walgreens is a Private Label Distributor for the Private-Label Product
                         Wal-Zan Ranitidine

             544.   Walgreens offers store brands, which are low-priced alternatives to name-brand

   products. Walgreens has numerous store brands, each catering to a different consumer need.

             545.   Almost all products offered under Walgreens store-brands are private label

   products, meaning Walgreens produces them through subsidized contracts awarded to the lowest

   bidder.

             546.   Walgreens uses the pre-fix “Wal-” together with a portion of the brand-name of an

   OTC medication to name its private-label OTC products. For example, Wal-Flu is Walgreens’

   private-label product that competes with Theraflu, Wal-itin is Walgreens’ private label product

   that competes with Claritin, and Wal-Dryl is Walgreens’ private-label product that is comparable

   to Benadryl.

             547.   Walgreens contracts with third-party manufacturers to manufacture its “Wal-” OTC

   medications.

             548.   With respect to OTC medications, Walgreens is considered a PLD. As a PLD,

   Walgreens is responsible for ensuring that all of its products comply with cGMPs and are not

   adulterated for failure to comply with cGMPs and are not misbranded.

             549.   Walgreens states that it understands that consumers “want to feel confident the

   products they use are safe for their intended purposes.”200


   200
      https://www.walgreens.com/topic/sr/sr_product_integrity_home.jsp (last accessed Jan. 26,
    2021).

                                                      164
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          550.    Walgreens claims it aims to do “business fairly and with integrity” which has led

   Walgreens to “drive responsible sourcing practices throughout our supply chain, protecting human

   rights and engaging with suppliers around ethical and environmental issues.”201

          551.    According to Walgreens, “[p]atient safety lies at the heart of our management of

   pharmacy operations, and we strive to be the industry leader by continuously seeking ways to

   minimize risks to patients in our dispensing, pharmacy services and advance and pharmacy supply

   chain operations.”202

          552.    Walgreens claims it engages in “ongoing supplier ethical compliance assessments”

   which includes “engaging with suppliers to improve when issues are detected.”

          553.    Walgreens also claims to screen suppliers against a matrix which assesses the

   suppliers’ management systems to discern whether they are operating in any way which violates

   Walgreens’ ethical sourcing commitments.203

          554.    Walgreens’ supplier requirements demonstrate its knowledge that it is ultimately

   responsible for ensuring that all of its products comply with cGMPs and are not adulterated for

   failure to comply with cGMPs and are not misbranded.

          555.    As part of its “Wal-” OTC product line, Walgreens sold ranitidine labeled “Wal-

   Zan,” which was intended to compete with brand-name Zantac OTC products.

          556.    An example of a Wal-Zan label for Walgreens’ store-brand or private-label


   201
     https://www.walgreensbootsalliance.com/sites/www/files/asset/Walgreens-Boots-Alliance-
    2019-Corporate-Social-Responsibility-Report_2.pdf (last accessed Jan. 26, 2021).
   202
     https://www.walgreensbootsalliance.com/sites/www/files/asset/Walgreens-Boots-Alliance-
    2019-Corporate-Social-Responsibility-Report_2.pdf (last accessed Jan. 26, 2021).
   203
     https://www.walgreensbootsalliance.com/sites/www/files/asset/Walgreens-Boots-Alliance-
    2019-Corporate-Social-Responsibility-Report_2.pdf (last accessed Jan. 26, 2021).



                                                     165
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   ranitidine follows:204




             557.   Walgreens Wal-Zan ranitidine products can be identified by the unique labeler code

   assigned to Walgreens by the FDA: 0363. Any NDC number starting with 0363 is a Walgreens

   private-label product.

             558.   A list of the Wal-Zan ranitidine products sold by Walgreens as the PLD includes,

   inter alia:




   204
         https://www.upcitemdb.com/upc/311917126432 (last accessed Feb. 6, 2021).

                                                       166
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                                                                                     ANDA           Start Marketing
             Product      Dosage   Package             NDC              ANDA         Manufacturer   Approval Date
             Wal-Zan
             Ranitidine

                          150 mg   200 tablet bottle   0363-0010-01     ANDA078192   Dr. Reddys           6/11/2011

                          150 mg   36 tablet bottle    0363-0010-23     ANDA078192   Dr. Reddys           6/11/2011

                          150 mg   65 tablet bottle    0363-0010-26     ANDA078192   Dr. Reddys           6/11/2011

                          150 mg   32 tablet bottle    0363-0010-32     ANDA078192   Dr. Reddys           6/11/2011

                          150 mg   24 tablet bottle    0363-0010-34     ANDA078192   Dr. Reddys           6/11/2011

                          150 mg   50 tablet bottle    0363-0010-50     ANDA078192   Dr. Reddys           6/11/2011

                          150 mg   65 tablet bottle    0363-0010-61     ANDA078192   Dr. Reddys           6/11/2011

                          75 mg    30 tablet bottle    0363-0131-30     ANDA075294   Dr. Reddys            1/6/2014

                          75 mg    45 tablet bottle    0363-0131-33     ANDA075294   Dr. Reddys            1/6/2014

                          75 mg    80 tablet bottle    0363-0131-80     ANDA075294   Dr. Reddys            1/6/2014

                          150 mg   65 tablet bottle    0363-1030-01     ANDA200172   Apotex               7/31/2015

                          150 mg   24 tablet bottle    0363-1030-02     ANDA200172   Apotex               7/31/2015

                          150 mg   50 tablet bottle    0363-1030-05     ANDA200172   Apotex               7/31/2015

                          150 mg   65 tablet bottle    0363-1030-06     ANDA200172   Apotex               7/31/2015

                          150 mg   200 tablet bottle   0363-1030-07     ANDA200172   Apotex               7/31/2015

                          150 mg   95 tablet bottle    0363-1030-09     ANDA200172   Apotex               7/31/2015

                          150 mg   95 tablet bottle    0363-0852-01     ANDA091429   Perrigo              1/11/2019

                          150 mg   65 tablet bottle      0363-0852-09   ANDA091429   Perrigo              1/11/2019
                                   1 tablet in 1 blister
                          150 mg   pack, 8 blister pack 0363-0852-51    ANDA091429   Perrigo              1/11/2019
                                   1 tablet in 1 blister
                          150 mg   pack, 24 blister pack 0363-0852-62   ANDA091429   Perrigo              1/11/2019

                          150 mg   200 tablet bottle   0363-0852-82     ANDA091429   Perrigo              1/11/2019

                          75 mg    80 tablet bottle    0363-0352-08     ANDA201745   Strides              9/24/2013

                          75 mg    30 tablet bottle    0363-0352-30     ANDA201745   Strides              9/24/2013

                          75 mg    80 tablet bottle    0363-1876-27     ANDA076195   Perrigo              1/11/2019

                          75 mg    30 tablet bottle    0363-1876-65     ANDA076195   Perrigo              1/11/2019

                          75 mg    80 tablet bottle    0363-1029-08     ANDA075167   Apotex               7/31/2015

                          75 mg    80 tablet bottle    0363-0271-27     ANDA076760   Wockhardt            2/24/2009

                          75 mg    30 tablet bottle    0363-0271-39     ANDA076760   Wockhardt            2/24/2009

                          75 mg    60 tablet bottle    0363-0271-72     ANDA076760   Wockhardt            2/24/2009

                          150 mg   24 tablet bottle    0363-0950-02     ANDA091429   Perrigo              9/17/2011

                          150 mg   85 tablet bottle    0363-0950-04     ANDA091429   Perrigo              9/17/2011

                          150 mg   65 tablet bottle    0363-0950-09     ANDA091429   Perrigo              9/17/2011

                          150 mg   32 tablet bottle    0363-0950-64     ANDA091429   Perrigo              9/17/2011

                          150 mg   95 tablet bottle    0363-0047-01     ANDA078653   Wockhardt             2/4/2008

                          150 mg   24 tablet bottle    0363-0047-02     ANDA078653   Wockhardt             2/4/2008

                          150 mg   50 tablet bottle    0363-0047-71     ANDA078653   Wockhardt             2/4/2008

                          150 mg   200 tablet bottle   0363-0362-02     ANDA200536   Strides              6/28/2011

                          150 mg   24 tablet bottle    0363-0362-23     ANDA200536   Strides              6/28/2011

                          150 mg   50 tablet bottle    0363-0362-50     ANDA200536   Strides              6/28/2011

                          150 mg   65 tablet bottle    0363-0362-52     ANDA200536   Strides              6/28/2011

                          150 mg   95 tablet bottle
                                                                  167ANDA200536
                                                       0363-0362-95                  Strides              6/28/2011
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          559.    Walgreens contracted with Perrigo, Dr. Reddy’s Laboratories, Apotex, Strides, and

   non-party Wockhardt to manufacture its Wal-Zan ranitidine products.

          560.    Delegating manufacturing or testing operations for Wal-Zan ranitidine to other

   companies did not exonerate Walgreens as the PLD from its regulatory requirements to establish

   a system of production and process controls to ensure its private-label products were not

   adulterated or misbranded prior to sale.

                        ii. Walgreens’ Failure to Warn and Misrepresentations with Respect to
                            the Labels

          561.    Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                          A drug or device shall be deemed to be misbranded –

                          (a) FALSE OR MISLEADING LABEL

                          (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

          562.    Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

          563.    Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Walgreens had a duty and was obligated to properly store, handle, and warehouse



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   ranitidine.

             564.   Testing conducted by the FDA confirms that improper storage of ranitidine has

   resulted in extremely high levels of NDMA.205 The FDA has also concluded that NDMA can

   increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

   found to increase significantly in samples stored at higher temperatures, including temperatures

   the product may be exposed to during normal distribution and handling. FDA’s testing also

   showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

   Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

   ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

   was deemed moot by the FDA because the agency sought to withdraw Ranitidine-Containing

   Products altogether.

             565.   Nothing prevented Walgreens from, on its own, taking actions to prevent

   accumulation of NDMA in Ranitidine-Containing Products by ensuring storage and transport at

   the lower end of the temperature range contained on the labels. Nothing prevented Walgreens from

   ensuring that ranitidine was not exposed to humidity or moisture.

             566.   At no time did Walgreens attempt to include, or cause its suppliers to attempt to

   include, a warning on the labels for Wal-Zan ranitidine that consumers were at elevated risk of

   developing cancer if the products were: (i) exposed to excessive heat; (ii) exposed to excessive

   moisture/humidity; (iii) consumed with high-nitrite foods; (iv) consumed daily for a period of

   greater than a few months. The FDA never rejected such cancer warnings.

             567.   At no time did Walgreens attempt to change, or cause its suppliers to attempt to



   205
         Woodcock Letter, supra note 95.

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   change, the Wal-Zan ranitidine label to delete a false or misleading expiration date, or to add a

   proper expiration date to ensure that Wal-Zan ranitidine products would not break down into

   NDMA prior to human consumption.

          568.   An example of a Wal-Zan ranitidine label reflecting that expiration dates were

   included on the packaging follows:




          569.   Based on the public scientific information, Walgreens knew or should have known

   that NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the


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   human stomach, and/or over time in storage.

          570.    At no time did Walgreens change its Wal-Zan ranitidine label to shorten the

   expiration date. Walgreens had the ability to cause its suppliers to unilaterally make such label

   changes for Wal-Zan ranitidine without prior FDA approval pursuant to the CBE regulation. Had

   Walgreens attempted such label changes, the FDA would not have rejected them.

          571.    Because Walgreens failed to include appropriate expiration dates on its products,

   Walgreens failed to warn regarding and made false statements in the labeling of its products.


                       iii. Walgreens’ Failure to Warn and Misrepresentations with Respect to
                            the Packaging

          572.    Title 21 U.S.C. §352(i)(1) provides, in pertinent part,

                         A drug or device shall be deemed to be misbranded—

                         (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE UNDER
                         ANOTHER NAME

                         (1) If it is a drug and its container is so made, formed, or filled as to be
                         misleading;….

   (emphasis in original).

          573.    As alleged above, each PLD was required to conduct, or cause its contract

   manufacturer to conduct, stability testing, which was required to take the container into account.

          574.    As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          575.    Walgreens knew or should have known that ranitidine had an inherent risk of

   degrading into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all

   the ingredients needed to form NDMA.

          576.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of


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   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          577.    A substantial factor in NDMA formation was the container system Walgreens

   chose. Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods

   by consumers after the seal is broken. This exposes the remaining units to humidity over time,

   which produces NDMA.

          578.    A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                   (a) Placing each unit of ranitidine in a blister pack or similar individually packaged
                       container would ensure humidity control until the consumer used each unit.

                   (b) Reducing the number of units of ranitidine in each bottle to a low number
                       would ensure the unused units were subject to humidity for only a shorter time
                       period, since consumers would purchase new bottles more frequently.

          579.    Walgreens could have changed, or caused its contract manufacturers to change, the

   container system it sold. FDA guidance specifically allows changing the number of units in a non-

   sterile drug under its Changes-Being Effected regulation.206 FDA guidance also would treat

   changing to a unit-dose container such as a blister-pack to be a moderate change that could be

   implemented through the Changes-Being Effected regulation.207

          580.    Walgreens was not required to put its ranitidine in the same containers as the other



   206
      See FDA, Guidance for Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21
    (Apr. 2004), https://www.fda.gov/media/71846/download (“A change in the number of units
    (e.g., tablets, capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in
    a unit-of-use container.”).
   207
     See id. at 20-21 (only requiring pre-approval for sterile drug products, when moving from unit
    dose containers to multiple dose containers, rather than non-sterile drug products moving to unit
    dose containers).



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   store-brand OTC products, because the duty of sameness does not apply to containers. It applies

   only to the drug label.208

          581.    A reasonably prudent PLD would have changed the containers for Ranitidine-

   Containing Products to protect the products from humidity and reduce the time between

   manufacture and consumption, both of which would reduce the amount of NDMA produced.

          582.    As reflected in the chart above, and as an example only, Walgreens sold its Wal-Zan

   ranitidine product in bottles with as many as 200 tablets.

          583.    A copy of the label for the Wal-Zan ranitidine product with 200 tablets follows:




          584.    Further the demand for large quantity package sizes put Defendant on notice that

   purchases were made for regular and extended use, and not for a one-time occasion.



   208
      See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container label, package insert, and,
    if applicable, Medication Guide) proposed for the drug product must be the same as the labeling
    approved for the reference listed drug ….”).

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          585.    Because Walgreens failed to package its products in appropriate container sizes,

   Walgreens failed to warn regarding and made false statements in the packaging of its products.

          586.    Walgreens’ conduct, as described above, was reckless. Defendant regularly risked

   the lives of consumers and users of their products, including Plaintiffs, with full knowledge of the

   dangers of its products. Walgreens made conscious decisions not to change the containers for its

   Ranitidine-Containing Products.

                  d. Walmart’s Failure to Warn and Misrepresentations in the Labeling and
                     Packaging of OTC Ranitidine-Containing Products

                      i. Walmart Is a Private Label Distributor for the Private Label Product
                         Equate Ranitidine

          587.    Walmart offers store brands, which are low-priced alternatives to name-brand

   products. Walmart has numerous store brands, each catering to a different consumer need.

          588.    Almost all products offered under Walmart store-brands are private label products,

   meaning Walmart produces them through subsidized contracts awarded to the lowest bidder.

          589.    Equate is Walmart’s store brand, or private label, for consumable pharmacy and

   health and beauty items, including OTC medications.

          590.    Walmart contracts with a third-party manufacturer to manufacture its Equate OTC

   medications.

          591.    With respect to OTC medications, Walmart is considered a PLD. As a PLD,

   Walmart is responsible for ensuring that all of its products comply with cGMPs and are not

   adulterated for failure to comply with cGMPs and are not misbranded.

          592.    Walmart requires all suppliers that provide prescription pharmaceutical products to

   its Pharmacy Distribution Centers, either directly or indirectly, to abide by its Responsible




                                                      174
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   Sourcing Standards for Suppliers.209

          593.    Walmart publishes “Supplier Requirements for Over-the-Counter Drugs, Vitamins,

   and Dietary & Nutritional Supplements” (“Supplier Requirements”).210

          594.    Walmart’s Supplier Requirements demonstrate its knowledge that it is ultimately

   responsible for ensuring that all of its products comply with cGMPs and are not adulterated for

   failure to comply with cGMPs and are not misbranded.

          595.    The Supplier Requirements mandate that all suppliers must provide “transparency”

   about the facilities used to produce any materials sold in Walmart stores.211

          596.    Walmart claims that the transparency “allows Walmart to assess supply chain risk,

   monitor for compliance…and deploy resources in a risk-based manner.”212

          597.    In order to ship any pharmaceutical product into any of Walmart’s Pharmacy

   Distribution Centers, Walmart claims that the supplier must meet or exceed all applicable laws and

   requirements, as well as adhere to any additional requirements stated in the agreement.213

          598.    Walmart also claims that “Facility disclosure is essential to achieving true supply

   chain transparency.”    To this end, Walmart requires that each facility that engages in the


   209
      https://cdn.corporate.walmart.com/cc/a8/5def88ed41bd82ece9d82124c4ce/final-02212017-
    prescription-product-supplier-requirements.pdf (last accessed Jan. 26, 2021)
   210
      https://cdn.corporate.walmart.com/ad/a5/af4737574b789a79f0f970a95668/health-wellness-
    product-safety-requirements.pdf (last accessed Feb. 1, 2021).
   211
      https://one.walmart.com/content/dam/responsiblesourcing/guidancedocuments/disclosure_pol
    icy_and_guidance-/Resource_DisclosurePolicyGuidance_ENG.pdf (last accessed Jan. 26, 2021)
   212
      https://one.walmart.com/content/dam/responsiblesourcing/guidancedocuments/disclosure_pol
    icy_and_guidance-/Resource_DisclosurePolicyGuidance_ENG.pdf (last accessed Jan. 26,
    2021)
   213
      https://cdn.corporate.walmart.com/cc/a8/5def88ed41bd82ece9d82124c4ce/final-02212017-
    prescription-product-supplier-requirements.pdf (last accessed Jan. 26, 2021).



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   manufacture, preparation, propagation, compounding, processing, packaging, labeling, storage,

   and distribution of sourced product must be disclosed to Walmart’s “Health & Wellness Product

   Safety” department.214

              599.   Pursuant to FDA requirements that the PLD is responsible for the manufacture and

   distribution of its private-label products, Walmart requires its suppliers to provide:

              a third party certification and audit showing conformance with current FDA Good
              Manufacturing Practices (cGMP) specific for the type of products manufactured,
              prepared, propagated, compounded, processed, stored, packaged, or labeled in each
              respective facility or operation. This means that each facility disclosed as outlined
              under the Factory & Facility Disclosure section must provide cGMP certification
              and cGMP conformance audit documentation by a Walmart approved third party
              auditing body annually to Health & Wellness Product Safety. Third party cGMP
              audits and certifications are in addition to any audits required by Walmart’s
              Responsible Sourcing team.[215]

              600.   Audit results containing “[i]tems showing non-conformance to standards will

   require submission of corrective measures acceptable to Health & Wellness Product Safety in order

   to receive approval” by Walmart.216

              601.   As part of its Equate OTC product line, Walmart sold ranitidine.

              602.   An example of an Equate label for Walmart’s store-brand or private-label ranitidine

   follows:217




   214
      https://cdn.corporate.walmart.com/cc/a8/5def88ed41bd82ece9d82124c4ce/final-02212017-
    prescription-product-supplier-requirements.pdf (last accessed Jan. 26, 2021).
   215
         Id. at 7.
   216
         Id. at 8.
   217
     https://www.walmart.com/grocery/ip/Equate-Maximum-Strength-Acid-Reducer-Ranitidine-
    Tablets-150-mg-220-Ct/24548560?athcpid=24548560&athpgid=similaritems&athcgid
    =null&athznid=null&athieid=null&athstid=CS014&athguid=19f5a29c-716c-4e72-98be-
    a41483b2e8eb&athena=true (last accessed Feb. 1, 2021).

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           603.    Walmart’s Equate ranitidine products can be identified by the unique labeler code

   assigned to Walmart by the FDA: 49035. Any NDC starting with 49035 is a Walmart private-label

   product.

           604.    A list of the Equate ranitidine products sold by Walmart as the PLD includes, inter

   alia:


                                                                                     ANDA              Start Marketing
    Product           Dosage   Package                   NDC            ANDA         Manufacturer      Approval Date
    Equate Ranitidine
    (Walmart)
                      150 mg   24 tablet pack            49035-608-02   ANDA091429   Perrigo                  2/12/2012
                      150 mg   90 tablet bottle          49035-608-75   ANDA091429   Perrigo                  2/12/2012
                      150 mg   65 tablet bottle          49035-800-09   ANDA091429   Perrigo                  2/22/2013
                      150 mg   90 tablet bottle          49035-800-75   ANDA091429   Perrigo                  2/22/2013
                               65 tablet, 2 bottles in
                     150 mg    1 carton                  49035-800-81   ANDA091429   Perrigo                  2/22/2013
                     75 mg     150 tablet bottle         49035-876-47   ANDA076195   Perrigo                  5/19/2017
                               65 tablet, 2 bottles in                               Dr. Reddys Labs
                     150 mg    1 carton                  49035-404-13   ANDA078192   Ltd                        1/5/2010
                                                                                     Dr. Reddys Labs
                     150 mg    24 tablet bottle          49035-404-34   ANDA078192   Ltd                        1/5/2010
                                                                                     Dr. Reddys Labs
                     150 mg    65 tablet bottle          49035-404-61   ANDA078192   Ltd                        1/5/2010
                                                                                     Dr. Reddys Labs
                     150 mg    220 tablet bottle         49035-404-65   ANDA078192   Ltd                       1/5/2010
                     150 mg    65 tablet bottle          49035-117-06   ANDA200172   Apotex Inc               6/29/2017
                     150 mg    65 tablet bottle          49035-852-09   ANDA091429   Perrigo                  2/12/2012

                     75 mg     30 tablet bottle       49035-353-30      ANDA201745   Strides Pharma           7/10/2012
                     75 mg     150 tablet bottle      49035-353-55      ANDA201745   Strides Pharma           7/10/2012
                     75 mg     10 tablet blister pack 49035-353-69      ANDA201745   Strides Pharma           7/10/2012



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          605.    Walmart contracted with Perrigo, Dr. Reddy’s Laboratories, Apotex, and Strides to

   manufacture its Equate ranitidine products.

          606.    Delegating manufacturing or testing operations for Equate ranitidine to other

   companies did not exonerate Walmart as the PLD from its regulatory requirements to establish a

   system of production and process controls to ensure its private-label products were not adulterated

   or misbranded prior to sale.

                  ii.   Walmart’s Failure to Warn and Misrepresentations with Regard to the
                        Labels

          607.    Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                          A drug or device shall be deemed to be misbranded –

                          (a) FALSE OR MISLEADING LABEL

                          (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

          608.    Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

          609.    Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Walmart had a duty and was obligated to ensure that its ranitidine was properly stored,



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   handled, and warehoused by Walmart or its suppliers.

             610.   Testing conducted by the FDA confirms that improper storage of ranitidine has

   resulted in extremely high levels of NDMA.218 The FDA has also concluded that NDMA can

   increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

   found to increase significantly in samples stored at higher temperatures, including temperatures

   the product may be exposed to during normal distribution and handling. FDA’s testing also

   showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

   Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

   ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

   was deemed moot by the FDA because the agency sought to withdraw Ranitidine-Containing

   Products altogether.

             611.   Nothing prevented Walmart from, on its own, taking actions to prevent

   accumulation of NDMA in Ranitidine-Containing Products by ensuring storage and transport at

   the lower end of the temperature range contained on the labels. Nothing prevented Walmart from

   ensuring that ranitidine was not exposed to humidity or moisture.

             612.   At no time did Walmart attempt to change, or cause its suppliers to attempt to

   change, the Equate ranitidine label to delete a false or misleading expiration date, or to add a proper

   expiration date to ensure that Equate ranitidine products would not break down into NDMA prior

   to human consumption.

             613.   An example of an Equate label reflecting that expiration dates were included on the

   packaging follows:



   218
         Woodcock Letter, supra note 95.

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          614.    Based on the public scientific information, Walmart knew or should have known

   that NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the

   human stomach, and/or over time in storage.

          615.    At no time did Walmart change its Equate ranitidine label to shorten the expiration

   date. Walmart had the ability to cause its suppliers to unilaterally make such label changes for

   Equate ranitidine without prior FDA approval pursuant to the CBE regulation. Had Walmart

   attempted such label changes, the FDA would not have rejected them.

          616.    Because Walmart failed to include appropriate expiration dates on its products,

   Walmart failed to warn regarding and made false statements in the labeling of its products.


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                 iii.   Walmart’s Failure to Warn and Misrepresentations with Respect to its
                        Packaging

          617.    Title 21 U.S.C. §352(i)(1) provides, in pertinent part,

                         A drug or device shall be deemed to be misbranded –

                         (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE UNDER
                         ANOTHER NAME

                         (1) If it is a drug and its container is so made, formed, or filled as to be
                         misleading;….

   (emphasis in original).

          618.    As alleged above, each PLD was required to conduct, or cause its contract

   manufacturer to conduct, stability testing, which was required to take the container into account.

          619.    As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          620.    Walmart knew or should have known that ranitidine had an inherent risk of

   degrading into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all

   the ingredients needed to form NDMA.

          621.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          622.    A substantial factor in NDMA formation was the container system Walmart chose.

   Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods by

   consumers after the seal is broken. This exposes the remaining units to humidity over time, which

   produces NDMA.

          623.    A different container would have reduced the amount of NDMA Plaintiffs



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   consumed in several ways:

                   (a)   Placing each unit of ranitidine in a blister pack or similar individually
                         packaged container would ensure humidity control until the consumer used
                         each unit.

                   (b)   Reducing the number of units of ranitidine in each bottle to a low number
                         would ensure the unused units were subject to humidity for only a shorter
                         time period, since consumers would purchase new bottles more frequently.

          624.    Walmart could have changed, or caused its contract manufacturers to change, the

   container system it sold. FDA guidance specifically allows changing the number of units in a non-

   sterile drug under its Changes-Being Effected regulation.219 FDA guidance also would treat

   changing to a unit-dose container such as a blister-pack to be a moderate change that could be

   implemented through the Changes-Being Effected regulation.220

          625.    Walmart was not required to put its ranitidine in the same containers as the other

   store-brand OTC products, because the duty of sameness does not apply to containers. It applies

   only to the drug label.221

          626.    A reasonably prudent PLD would have changed the containers for Ranitidine-

   Containing Products to protect the products from humidity and reduce the time between

   manufacture and consumption, both of which would reduce the amount of NDMA produced.




   219
      See FDA, Guidance for Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21
    (Apr. 2004), https://www.fda.gov/media/71846/download (“A change in the number of units
    (e.g., tablets, capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in
    a unit-of-use container.”).
   220
     See id. at 20–21 (only requiring pre-approval for sterile drug products, when moving from unit
    dose containers to multiple dose containers, rather than non-sterile drug products moving to unit
    dose containers).
   221
      See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container label, package insert, and,
    if applicable, Medication Guide) proposed for the drug product must be the same as the labeling
    approved for the reference listed drug ….”).

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          627.    As reflected in the chart above, and as an example only, Walmart sold its Equate

   ranitidine product in bottles with as many as 220 tablets.

          628.    A copy of the label for the Equate ranitidine product with 220 tablets follows:




          629.    Further the demand for large quantity package sizes put Defendant on notice that

   purchases were made for regular and extended use, and not for a one-time occasion.

          630.    Because Walmart failed to package its products in appropriate container sizes,

   Walmart failed to warn regarding and made false statements in the packaging of its products.

   Walmart’s conduct, as described above, was reckless. Defendant regularly risked the lives of

   consumers and users of their products, including Plaintiffs, with full knowledge of the dangers of

   its products. Walmart made conscious decisions not to change the containers for its Ranitidine-

   Containing Products.

           5. Store-Brand Manufacturer Defendants’ Failure to Warn and
              Misrepresentations in the Labeling of Ranitidine-Containing Products

          631.    The Store-Brand Manufacturer Defendants (or CMOs) are Apotex, Dr. Reddy’s,


                                                      183
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   Perrigo, and Strides.

             632.    A PLD222 contracts with a CMO to manufacture and process a drug.

             633.    A CMO, or Store-Brand Manufacturer Defendant for purposes of this complaint, is

   typically required by contract or supplier agreement with the PLD to comply with cGMPs, ensure

   that the private-label drugs are not adulterated for failure to comply with cGMPs, and are not

   misbranded.

             634.    Consumers of the private-label drug are third-party beneficiaries of the contract

   between the PLD and CMO, i.e., between the Store-Brand Defendant and Store-Brand

   Manufacturer Defendant.

             635.    A manufacturer is required to give adequate directions for the use of a

   pharmaceutical drug such that a “layman can use a drug safely and for the purposes for which it is

   intended,”223 and conform to requirements governing the appearance of the label.224

             636.    “Labeling” encompasses all written, printed or graphic material accompanying the

   drug or device,225 and therefore broadly encompasses nearly every form of promotional activity,

   including not only “package inserts” but also advertising.

             637.    “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the FDCA

   as including all printed matter accompanying any article. Congress did not, and we cannot, exclude

   from the definition printed matter which constitutes advertising.”226


   222
         21 C.F.R. §207.1.
   223
         21 C.F.R. §201.5.
   224
         Id., §201.15.
   225
         Id.; 65 Fed. Reg. 14286 (Mar. 16, 2000).
   226
         United States v. Research Labs., 126 F.2d 42, 45 (9th Cir. 1942).



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               638.   All Store-Brand Manufacturer Defendants are also responsible for conducting

   stability testing, by agreement with the PLDs and pursuant to federal law, which testing must be

   “designed to assess the stability characteristics of drug products.”227 Store-Brand Manufacturer

   Defendants must adopt a written testing program that includes: “(1) Sample size and test intervals

   based on statistical criteria for each attribute examined to assure valid estimates of stability; (2)

   Storage conditions for samples retained for testing; (3) Reliable, meaningful, and specific test

   methods; (4) Testing of the drug product in the same container-closure system as that in which the

   drug product is marketed; (5) Testing of drug products for reconstitution at the time of dispensing

   (as directed in the labeling) as well as after they are reconstituted.”228

               639.   The purpose of stability testing is, in part, to determine the “appropriate storage

   conditions and expiration dates.”229 And expiration dates, in turn, must be set to “assure that a

   drug product meets applicable standards of identity, strength, quality, and purity at the time of

   use.”230 An expiration date is “related to any storage conditions stated on the labeling, as

   determined by stability studies listed in § 211.166.”231

               640.   Notably, while generic medications must have the same active ingredients as their

   branded counterparts, the inactive ingredients, or excipients, may not necessarily be identical. For

   this reason, the stability of each generic drug may differ.

               641.   Each manufacturer must therefore conduct its own tests to determine and set




   227
         21 C.F.R. §211.166(a).
   228
         Id.
   229
         Id.
   230
         Id., §211.137(a).
   231
         Id., §211.137(b).

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   accurate retest or expiration dates.

             642.    The FDA made clear when it first adopted the expiration-date provision that the

   regulation means what it says. The purpose of the expiration date is not merely to consider the

   “stability of a specific active ingredient.” Instead, a compliant expiration date must account for

   multiple factors, including “the stability of the inactive ingredients, the interaction of active and

   inactive ingredients, the manufacturing process, the dosage form, the container closure system, the

   conditions under which the drug product is shipped, stored, and handled by wholesalers and

   retailers, and the length of time between initial manufacture and final use.”232

             643.    The FDA expressly recognizes that an initial expiration date may not be the final

   expiration date: “Where data from accelerated studies are used to project a tentative expiration

   date that is beyond a date supported by actual shelf life studies, there must be stability studies

   conducted . . . until the tentative expiration date is verified or the appropriate expiration date

   determined.”233

             644.    After a drug is approved, a manufacturer can make changes to its drug

   application. To do so, manufacturers must comply with the requirements of §§ 314.70 and

   314.71.234

             645.    Some of the requirements in those regulations require FDA approval before

   implementing a label change.235

             646.    But the FDA has long recognized a CBE supplement that permits a manufacturer


   232
         43 Fed. Reg. 45059 (Sept. 29, 1978).
   233
         21 C.F.R. §211.166(b).
   234
         See id., §314.97(a) (requiring generics to comply with §§314.70, 314.71).
   235
         Id., §314.70(b).



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   to make immediate changes, subject to the FDA’s post-change review.236

             647.    A manufacturer of an approved drug can use the CBE supplement to immediately

   make an “[a]ddition to a specification or changes in the methods or controls to provide increased

   assurance that the drug substance or drug product will have the characteristics of identity, strength

   quality, purity, or potency that it purports or is represented to possess.”237 “A specification is

   defined as a list of tests, references to analytical procedures, and appropriate acceptance criteria

   that are numerical limits, ranges, or other criteria for the tests described.”238

             648.    A manufacturer, therefore, need not seek FDA pre-approval to make changes to its

   stability studies to identify the appropriate expiration date—which must “assure that a drug product

   meets applicable standards of identity, strength, quality, and purity at the time of use” 239—or to

   ensure that the drug is shipped and stored under appropriate conditions.

             649.    A manufacturer of an approved drug can also use the CBE supplement to make

   changes “in the labeling to reflect newly acquired information” in order to “add or strengthen a

   contraindication, warning, precaution, or adverse reaction for which the evidence of a causal

   association satisfies the standard for inclusion in the labeling under § 201.57(c) of this chapter”;

   “add or strengthen an instruction about dosage and administration that is intended to increase the

   safe use of the drug product”; and “delete false, misleading, or unsupported indications for use or

   claims for effectiveness.”240


   236
         Id., §314.70(c)(3), (c)(6).
   237
         Id., §314.70(c)(6)(i).
   238
         65 Fed. Reg. 83042 (Dec. 29, 2000).
   239
         21 C.F.R. §211.137(a).
   240
         Id., §314.70(c)(6)(iii)(A), (C), (D).



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             650.    A manufacturer of an approved drug may make minor changes to a label with no

   approval or notice, so long as that change is described in an annual report. The illustrative but

   non-exhaustive list of minor changes includes “[a] change in the labeling concerning the

   description of the drug product or in the information about how the drug product is supplied, that

   does not involve a change in the dosage strength or dosage form.”241

             651.    A “minor change” further includes “[a]n extension of an expiration dating period

   based upon full shelf life data on production batches obtained from a protocol approved in the

   NDA.”242

             652.    At no time did any Store-Brand Manufacturer Defendant attempt to include a

   warning on the labels for Ranitidine-Containing Products that consumers were at elevated risk of

   developing cancer if the products were: (i) exposed to excessive heat; (ii) exposed to excessive

   moisture/humidity; (iii) consumed with high-nitrite foods; (iv) consumed daily for a period of

   greater than a few months. The FDA never rejected such cancer warnings.

             653.    At no time did any Store-Brand Manufacturer Defendant attempt to change its label

   to delete a false or misleading expiration date, or to add a proper expiration date to ensure that

   Ranitidine-Containing Products would not break down into NDMA prior to human consumption.

             654.    Based on the public scientific information, the Store-Brand Manufacturer

   Defendants knew or should have known that NDMA could form in ranitidine by exposure to heat,

   humidity, nitrites, the conditions of the human stomach, and/or over time in storage.

             655.    At no time did any Store-Brand Manufacturer Defendant change its label to shorten

   the expiration date. Store-Brand Manufacturer Defendants had the ability to unilaterally make


   241
         Id., §314.70 (d)(2)(ix).
   242
         Id., §314.70 (d)(2)(vi); see also id., §314.70(d)(2)(vii), (x).

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   such label changes (for both prescription and OTC) without prior FDA approval pursuant to the

   CBE regulation. Had any Store-Brand Manufacturer Defendant attempted such label changes, the

   FDA would not have rejected them.

             656.   Because they failed to include appropriate expiration dates on their products, Store-

   Brand Manufacturer Defendants made false statements in the labeling of their products.

                    a. Apotex’s Failure to Warn and Misrepresentations in the Labeling and
                       Packaging of OTC Ranitidine-Containing Products

                      i. Apotex is a Contract Manufacturing Organization for the Private-Label
                         Distributors Walmart, Walgreens, and Rite Aid.

             657.   Apotex is a CMO that contracted with multiple PLDs, including Walmart,

   Walgreens, and Rite Aid.

             658.   Apotex launched its “Private Label Division” in 2004, and launched its first OTC

   private label in the U.S. retail market in 2012. At that time Apotex’s Private Label Division

   renamed the division “Apotex Consumer Products (ACP).”243

             659.   The Apotex Consumer Products division is focused on “supporting Private Label

   strategies to increase retail margins and drive [retail] client retention.”244

             660.   Apotex maintains a Code of Conduct, which covers, inter alia, compliance with

   applicable laws and regulations. For example, the Code of Conduct provides: “As part of our

   quality standards, we are fully committed to ensuring our products are in full compliance with our

   rigorous internal standards, all application regulations, and GxP1. This commitment applies




   243
         http://www.apotexconsumerproducts.ca/ (last accessed Feb. 7, 2021).
   244
         http://www.apotexconsumerproducts.ca/ (last accessed Feb. 7, 2021).



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   equally to products produced in our facilities and those supplied by third-party manufacturers.”245

          661.     The footnote to “GxP” explains that “GxP collectively denotes Good

   Manufacturing Practice (GMP), Good Distribution Practice (GDP), Good Clinical Practice (GCP),

   Good Laboratory Practice (GLP) and Good Pharmacovigilance Practice (GVP) regulations.”

          662.     Apotex’s Code of Conduct further provides:




          663.     Apotex contracted with Walmart to manufacture Equate ranitidine products,

   including the following:

                                                                             ANDA           Start Marketing
   Product           Dosage   Package            NDC            ANDA         Manufacturer   Approval Date
   Equate Ranitidine
   (Walmart)

                   150 mg     65 tablet bottle   49035-117-06   ANDA200172   Apotex               6/29/2017


          664.     Apotex contracted with Walgreens to manufacture Wal-Zan ranitidine products,

   including:




   245
      https://www1.apotex.com/docs/librariesprovider3/business-ethics/code-of-conduct-en.pdf?sf
    vrsn=3bc170ed_18, at p. 13 (last accessed Feb. 7, 2021).

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                                                                              ANDA           Start Marketing
   Product         Dosage     Package             NDC            ANDA         Manufacturer   Approval Date
   Wal-Zan
   Ranitidine

                   150 mg     65 tablet bottle    0363-1030-01   ANDA200172   Apotex               7/31/2015

                   150 mg     24 tablet bottle    0363-1030-02   ANDA200172   Apotex               7/31/2015

                   150 mg     50 tablet bottle    0363-1030-05   ANDA200172   Apotex               7/31/2015

                   150 mg     65 tablet bottle    0363-1030-06   ANDA200172   Apotex               7/31/2015

                   150 mg     200 tablet bottle   0363-1030-07   ANDA200172   Apotex               7/31/2015

                   150 mg     95 tablet bottle    0363-1030-09   ANDA200172   Apotex               7/31/2015

                   75 mg      80 tablet bottle    0363-1029-08   ANDA075167   Apotex               7/31/2015


           665.   Apotex contracted with Rite Aid to manufacture Rite Aid ranitidine products,

   including:

                                                                              ANDA           Start Marketing
   Product         Dosage     Package             NDC            ANDA         Manufacturer   Approval Date
   Rite Aid
   Ranitidine

                   150 mg     95 tablet bottle    11822-4727-3   ANDA200172   Apotex               6/26/2017

                   150 mg     24 tablet bottle    11822-6051-8   ANDA200172   Apotex               6/26/2017

                   150 mg     50 tablet bottle    11822-6052-1   ANDA200172   Apotex               6/26/2017

                   150 mg     65 tablet bottle    11822-6052-2   ANDA200172   Apotex               6/26/2017

                   150 mg     24 tablet bottle    11822-6107-4   ANDA200172   Apotex               6/30/2017


           666.   Each of the PLDs contracted with Apotex, and Apotex agreed, to ensure that each

   of the private-label ranitidine products it manufactured complied with cGMPs and were not

   adulterated for failure to comply with cGMPs and were not misbranded.

           667.   Each of the PLDs contracted with Apotex, and Apotex agreed, to provide a third-

   party certification and submit to audits showing conformance with FDA CGMP specific for the

   private label ranitidine products.




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                      ii. Despite Apotex’s Agreements to Comply with cGMPs, Apotex Aas
                          Repeatedly Cited by the FDA.

             668.   The issues with the facility Apotex used to manufacture Ranitidine-Containing

   Products were documented in a pair of FDA warning letters in 2009 and 2010 regarding Apotex’s

   compliance with cGMPs.246

             669.   The FDA stated that its inspection noted a “documented” practice of “repackaging

   and assigning new batch numbers to products that failed the Acceptable Quality Level (“AQL”)

   test.

             670.   As an example of this practice, the FDA specifically identified ranitidine. The FDA

   wrote that:

             671.   For example, desiccant batch #HK8805 was used in approximately 76 different

   products, 11 of which failed the AQL desiccant leaking test. These 11 lots of contaminated

   Ranitidine Film Coated tablets 150 mg were initially rejected. However, 10 of these 11 lots were

   repackaged into 500 count bottles using a new lot of desiccant, and assigned a new batch number.

   These lots were then released for distribution without assessing the potential impact the leaking

   desiccant could have on product quality. You stated in your response that examination of retain

   samples for the 11 lots did not confirm the presence of leaky desiccant. However, it is possible

   that the absence of defective desiccant may be related to the limited number of retain samples

   examined. In your response to this letter please include a justification for the sample size and the

   corrective actions you have implemented to prevent reoccurrence of these types of events.[247]


   246
         http://fda-warning-letters.blogspot.com/2010/03/apotex-inc-32910.html.
   247
      http://fda-warning-letters.blogspot.com/2010/03/apotex-inc-32910.html (last accessed Feb. 13,
    2021). While Plaintiffs have included this warning letter here, the warning letter may be
    applicable to prescription generic ranitidine. Plaintiffs reserve the right to amend this allegation
    as further information is learned in discovery.

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             672.   This was not the only issue the FDA noted at that time regarding ranitidine. Indeed,

   the FDA stated that during a March 2008 inspection, “a yellow contaminant was found during the

   production of Ranitidine HCL batch #HV9588 that led to the rejection of the batch.” However, the

   FDA noted that the investigation into this yellow contaminant was not expanded to other lots

   manufactured by the same equipment prior to March 31, 2008.248

             673.   Apotex continued to have issues with the FDA and received an astounding four

   warning letters during the years it was manufacturing Ranitidine-Containing Products.

             674.   For example, in a 2012 Warning Letter, the FDA wrote that the “evidence suggests

   that Apotex has failed to implement adequate global and sustainable corrective and preventative

   actions” and that it “continues to manufacture and distribute pharmaceutical product without

   upholding its legal obligation to comply with cGMP.”249

             675.   A warning letter issued in 2015 called into question Apotex’s stability program,

   necessary to ensure that drug remained stable and safe throughout the expiration date. Indeed, the

   FDA documented multiple incidents of performing “trial” testing of samples, disregarding test

   results and reporting only those results that were favorable.250

             676.   The FDA also found that Apotex “failed to follow written procedures applicable to

   the quality control unit” and that the “quality control unit failed to review and approve all drug

   production and control records to determine compliance with all established, approved written



   248
         http://fda-warning-letters.blogspot.com/2010/03/apotex-inc-32910.html.
   249
      https://www.gmp-navigator.com/mygmp/mikrobiologie-sterilherstellung-hygiene/warning-
    letters-sterilfertigung?file=files/eca/userFiles/mygmp-guidelines/13-02-21-apotex.PDF.
   250
      https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations
    /warning-letters/apotex-research-private-limited-437669-01302015.



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   procedures before a batch is released or distributed.”251

          677.    In 2018, Apotex received yet another warning letter, which simply repeated the

   same observations the FDA had made in its 2008 and 2009 warning letters, which had gone

   uncorrected for over a decade. The warning letter included observations that:

                  (a) Apotex failed to thoroughly investigate any unexplained discrepancy or failure
                      of a batch or any of its components to meet any of its specifications, whether or
                      not the batch had already been distributed; and

                  (b) Apotex failed to establish valid in-process specifications.252

          678.    The FDA also found that the problems were more endemic to the overall corporate

   operation, finding that Apotex’s quality unit did not “fully exercise authority such as ensuring that

   appropriate investigations are performed with sound conclusions, identifying root causes, and

   supporting scientific justification.”253

          679.    The FDA also noted that the company’s overall quality systems were

   “inadequate.”254

          680.    In this letter, the FDA repeated the history of similar cGMP violations, and the fact

   that the FDA had previously communicated about the “need for appropriate and global quality

   oversight and control over the manufacture” of their products.255



   251
      https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations
    /warning-letters/apotex-research-private-limited-437669-01302015
   252
      https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations
    /warning-letters/apotex-research-private-limited-547439-08092018
   253
      https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations
    /warning-letters/apotex-research-private-limited-547439-08092018
   254
      https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations
    /warning-letters/apotex-research-private-limited-547439-08092018
   255
      https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations
    /warning-letters/apotex-research-private-limited-547439-08092018

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                     iii. Apotex’s Failure to Warn and Misrepresentations in the Labeling of
                          Ranitidine Products

             681.   Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                           A drug or device shall be deemed to be misbranded –

                           (a) FALSE OR MISLEADING LABEL

                           (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

             682.   Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

             683.   Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Defendant had a duty and was obligated to properly store, handle, and warehouse ranitidine.

             684.   Testing conducted by the FDA confirms that improper storage of ranitidine has

   resulted in extremely high levels of NDMA.256 The FDA has also concluded that NDMA can

   increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

   found to increase significantly in samples stored at higher temperatures, including temperatures

   the product may be exposed to during normal distribution and handling. FDA’s testing also


   256
         Woodcock Letter, supra note 95.

                                                         195
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   showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

   Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

   ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

   was deemed moot by the FDA because the agency sought to withdraw Ranitidine-Containing

   Products altogether.

          685.    Nothing prevented Apotex from, on its own, taking actions to prevent accumulation

   of NDMA in the private-label Ranitidine-Containing Products by ensuring storage and transport

   at the lower end of the temperature range contained on the labels. Nothing prevented Apotex from

   ensuring that ranitidine was not exposed to humidity or moisture.

          686.    At no time did Apotex attempt to include a warning on the labels for the private-

   label Ranitidine-Containing Products that consumers were at elevated risk of developing cancer if

   the products were: (i) exposed to excessive heat; (ii) exposed to excessive moisture/humidity; (iii)

   consumed with high-nitrite foods; (iv) consumed daily for a period of greater than a few months.

   The FDA never rejected such cancer warnings.

          687.    At no time did Apotex attempt to change the private-label ranitidine labels to delete

   a false or misleading expiration date, or to add a proper expiration date to ensure that the private-

   label ranitidine products would not break down into NDMA prior to human consumption.

          688.    The labels on the PLD products manufactured by Apotex or lists referenced above

   also reflect that Apotex packaged the store-branded ranitidine in large quantities. Because of the

   unstable nature of ranitidine, Apotex knew or should have known that packages containing large

   quantities were less likely to be used completely and stored properly by the expiration date,

   particularly when the expiration date on the label was extended beyond a safe and appropriate date.

   Further, the demand for large quantity packages caused Apotex to know that the use of ranitidine


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   was routine for most customers and not a one-time purchase or use.

          689.      Based on the public scientific information, Apotex knew or should have known that

   NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the human

   stomach, and/or over time in storage.

          690.      At no time did Apotex change the private-label ranitidine products to shorten the

   expiration date.

          691.      Apotex had the ability to unilaterally, or in conjunction with the PLDs, to make

   such label changes for the private-label ranitidine products without prior FDA approval pursuant

   to the CBE regulation. Had Apotex attempted such label changes, the FDA would not have

   rejected them.

          692.      Because it failed to include appropriate expiration dates on PLD ranitidine

   products, failed to provide proper storage instructions and failed to package the product in a

   manner that would lead to less risk of degradation and failed to warn of the inherent risks, Apotex

   failed to warn regarding and made false statements in the labeling of its private-label ranitidine

   products.

          693.      Because Apotex failed to include appropriate expiration dates on the private-label

   products it manufactured, Apotex failed to warn regarding and made false statements in the

   labeling of its products.

                      iv. Apotex’s Failure to Warn and Misrepresentations in the Packaging.

          694.      Title 21 U.S.C. §352(i)(1) provides, in pertinent part,

                           A drug or device shall be deemed to be misbranded –

                           (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE UNDER
                           ANOTHER NAME




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                          (1) If it is a drug and its container is so made, formed, or filled as to be
                          misleading;….

   (emphasis in original).

          695.    As alleged above, each contract manufacturer was required pursuant to federal law

   and contract to conduct stability testing, which was required to take the container into account.

          696.    As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          697.    Apotex knew or should have known that ranitidine had an inherent risk of degrading

   into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all the

   ingredients needed to form NDMA.

          698.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          699.    A substantial factor in NDMA formation was the container system Apotex chose.

   Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods by

   consumers after the seal is broken. This exposes the remaining units to humidity over time, which

   produces NDMA.

          700.    A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                  (a) Placing each unit of ranitidine in a blister pack or similar individually packaged
                      container would ensure humidity control until the consumer used each unit.

                  (b) Reducing the number of units of ranitidine in each bottle to a low number would
                      ensure the unused units were subject to humidity for only a shorter time period,
                      since consumers would purchase new bottles more frequently.

          701.    Apotex could have changed, or consulted with its PLD to change, the container


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   system it sold. FDA guidance specifically allows changing the number of units in a non-sterile

   drug under its Changes-Being Effected regulation.257 FDA guidance also would treat changing to

   a unit-dose container such as a blister-pack to be a moderate change that could be implemented

   through the Changes-Being Effected regulation.258

          702.    Apotex was not required to put its ranitidine in the same containers as the other

   store-brand OTC products, because the duty of sameness does not apply to containers. It applies

   only to the drug label.259

          703.    A reasonably prudent contract manufacturer would have changed, or consulted with

   its PLDs to change, the containers for Ranitidine-Containing Products to protect the products from

   humidity and reduce the time between manufacture and consumption, both of which would reduce

   the amount of NDMA produced.

          704.    Further the demand for large quantity package sizes put Defendant on notice that

   purchases were made for regular and extended use, and not for a one-time occasion.

          705.    Because Apotex failed to package its products in appropriate container sizes,

   Apotex failed to warn regarding and made false statements in the packaging of its private-label

   products.



   257
      See FDA, Guidance for Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21
    (Apr. 2004), https://www.fda.gov/media/71846/download (“A change in the number of units
    (e.g., tablets, capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in
    a unit-of-use container.”).
   258
     See id. at 20–21 (only requiring pre-approval for sterile drug products, when moving from unit
    dose containers to multiple dose containers, rather than non-sterile drug products moving to unit
    dose containers).
   259
      See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container label, package insert, and,
    if applicable, Medication Guide) proposed for the drug product must be the same as the labeling
    approved for the reference listed drug ….”).

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             706.   Apotex’s conduct, as described above, was reckless. Defendant regularly risked

   the lives of consumers and users of their products, including Plaintiffs, with full knowledge of the

   dangers of its products. Apotex made conscious decisions not to change the containers for its

   Ranitidine-Containing Products.


                    b. Dr. Reddy’s Failure to Warn and Misrepresentations in the Labeling and
                       Packaging of OTC Ranitidine-Containing Products

                       i. Dr. Reddy’s Is a Contract Manufacturing Organization for the
                          Private-Label Distributors Walmart, Walgreens, and CVS

             707.   Dr. Reddy’s is a CMO that contracted with multiple PLDs, including Walmart,

   Walgreens, and CVS.

             708.   According to Dr. Reddy’s, it manufactures and sells “Over-the-counter products:

   More than 170+ SKUs for private labels packaging presentations.”260

             709.   According to Dr. Reddy’s, its manufacturing facilities comply with regulatory and

   cGMP requirements of the United States, including quality and safety requirements set by the

   FDA.261

             710.   Dr. Reddy’s represents that its product responsibility includes “the assessment of

   health and safety impacts of products, extends from product development to manufacture, to

   product release, and to post-launch.”262 The website explains:263




   260
         https://www.drreddys.com/media/107298/otc_catalog.pdf (last accessed Feb. 7, 2021).
   261
     https://www.drreddys.com/OurCitizenship/SustainabilityReports/2009/pr-regulatory
    compliance.html (last accessed Feb. 7, 2021).
   262
         https://www.drreddys.com/OurCitizenship/SustainabilityReports/2009/pr-productsafety.html.
   263
         https://www.drreddys.com/OurCitizenship/SustainabilityReports/2009/pr-productsafety.html.

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          711.     Dr. Reddy’s maintains a Code of Business Conduct & Ethics. Dr. Reddy’s Code

   provides in part: “To ensure the safe and proper use of our products, information provided to our

   customers and healthcare professionals on the packaging label, inserts, local prescribing

   information, or sales and advertising material must be in compliance with all applicable laws,

   standards and regulations that apply to our products, and supported by scientific evidence where

   relevant.”264

          712.     The Code further warrants: “We do not include false or misleading information or

   any misrepresentation, overstatement of the efficacy of our products, or statements that downplay

   or minimize the risks associated with our products.”265

          713.     Dr. Reddy’s manufactured Brand Zantac 150®, and as explained in its OTC




   264
     https://www.drreddys.com/media/508807/cobe_booklet.pdf, at p.11 (last accessed Feb. 7,
    2021).
   265
     https://www.drreddys.com/media/508807/cobe_booklet.pdf, at p.11 (last accessed Feb. 7,
    2021).



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   catalog: “Select Dr. Reddys OTC products are available as private label.”266




          714.     Dr. Reddy’s contracted with Walmart to manufacture several Equate ranitidine

   products, including the following:

                                                                                  ANDA           Start Marketing
   Product           Dosage   Package              NDC               ANDA         Manufacturer   Approval Date
   Equate Ranitidine
   (Walmart)
                              65 tablet, 2 bottles in
                    150 mg    1 carton                49035-404-13   ANDA078192   Dr. Reddys            1/5/2010

                    150 mg    24 tablet bottle     49035-404-34      ANDA078192   Dr. Reddys            1/5/2010

                    150 mg    65 tablet bottle     49035-404-61      ANDA078192   Dr. Reddys            1/5/2010

                    150 mg    220 tablet bottle    49035-404-65      ANDA078192   Dr. Reddys            1/5/2010


          715.     Dr. Reddy’s contracted with Walgreens to manufacture several Wal-Zan ranitidine

   products, including:




   266
     https://www.drreddys.com/media/107298/otc_catalog.pdf, at p. 42 (last accessed Feb. 7,
    2021).

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                                                                              ANDA           Start Marketing
   Product         Dosage     Package             NDC            ANDA         Manufacturer   Approval Date
   Wal-Zan
   Ranitidine

                   150 mg     200 tablet bottle   0363-0010-01   ANDA078192   Dr. Reddys           6/11/2011

                   150 mg     36 tablet bottle    0363-0010-23   ANDA078192   Dr. Reddys           6/11/2011

                   150 mg     65 tablet bottle    0363-0010-26   ANDA078192   Dr. Reddys           6/11/2011

                   150 mg     32 tablet bottle    0363-0010-32   ANDA078192   Dr. Reddys           6/11/2011

                   150 mg     24 tablet bottle    0363-0010-34   ANDA078192   Dr. Reddys           6/11/2011

                   150 mg     50 tablet bottle    0363-0010-50   ANDA078192   Dr. Reddys           6/11/2011

                   150 mg     65 tablet bottle    0363-0010-61   ANDA078192   Dr. Reddys           6/11/2011

                   75 mg      30 tablet bottle    0363-0131-30   ANDA075294   Dr. Reddys            1/6/2014

                   75 mg      45 tablet bottle    0363-0131-33   ANDA075294   Dr. Reddys            1/6/2014

                   75 mg      80 tablet bottle    0363-0131-80   ANDA075294   Dr. Reddys            1/6/2014


           716.   Dr. Reddy’s contracted with CVS to manufacture CVS Health ranitidine products,

   including:

                                                                              ANDA           Start Marketing
   Product          Dosage    Package             NDC            ANDA         Manufacturer   Approval Date
   CVS Health
   Ranitidine (CVS)

                   150 mg     95 tablet bottle    69842-869-62   ANDA078192   Dr. Reddys            5/1/2010

                   75 mg      30 tablet bottle    69842-871-30   ANDA075294   Dr. Reddys            7/1/2009

                   75 mg      160 tablet bottle   69842-871-37   ANDA075294   Dr. Reddys            7/1/2009

                   75 mg      80 tablet bottle    69842-871-80   ANDA075294   Dr. Reddys            7/1/2009


           717.   Each of the PLDs contracted with Dr. Reddy’s, and Dr. Reddy’s agreed, to ensure

   that each of the private-label ranitidine products it manufactured complied with cGMPs and were

   not adulterated for failure to comply with cGMPs and were not misbranded.

           718.   Each of the PLDs contracted with Dr. Reddy’s, and Dr. Reddy’s agreed, to provide

   a third-party certification and submit to audits showing conformance with FDA cGMP specific for

   the private label ranitidine products.


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                      ii. Dr. Reddy’s Failure to Warn and Misrepresentations in the Labeling
                          of Ranitidine Products

             719.   Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                           A drug or device shall be deemed to be misbranded –

                           (a) FALSE OR MISLEADING LABEL

                           (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

             720.   Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

             721.   Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Defendant had a duty and was obligated to properly store, handle, and warehouse ranitidine.

             722.   Testing conducted by the FDA confirms that improper storage of ranitidine has

   resulted in extremely high levels of NDMA.267 The FDA has also concluded that NDMA can

   increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

   found to increase significantly in samples stored at higher temperatures, including temperatures

   the product may be exposed to during normal distribution and handling. FDA’s testing also


   267
         Woodcock Letter, supra note 95.

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   showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

   Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

   ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

   was deemed moot by the FDA because the agency sought to withdraw Ranitidine-Containing

   Products altogether.

          723.    Nothing prevented Dr. Reddy’s from, on its own, taking actions to prevent

   accumulation of NDMA in the private-label Ranitidine-Containing Products by ensuring storage

   and transport at the lower end of the temperature range contained on the labels. Nothing prevented

   Dr. Reddy’s from ensuring that ranitidine was not exposed to humidity or moisture.

          724.    At no time did Dr. Reddy’s attempt to include a warning on the labels for the

   private-label Ranitidine-Containing Products that consumers were at elevated risk of developing

   cancer if the products were: (i) exposed to excessive heat; (ii) exposed to excessive

   moisture/humidity; (iii) consumed with high-nitrite foods; (iv) consumed daily for a period of

   greater than a few months. The FDA never rejected such cancer warnings.

          725.    At no time did Dr. Reddy’s attempt to change the private-label ranitidine labels to

   delete a false or misleading expiration date, or to add a proper expiration date to ensure that the

   private-label ranitidine products would not break down into NDMA prior to human consumption.

          726.    The labels on the PLD products manufactured by Dr. Reddy’s or lists referenced

   above also reflect that Dr. Reddy’s packaged the store-branded ranitidine in large quantities.

   Because of the unstable nature of ranitidine, Dr. Reddy’s knew or should have known that

   packages containing large quantities were less likely to be used completely and stored properly by

   the expiration date, particularly when the expiration date on the label was extended beyond a safe

   and appropriate date. Further, the demand for large quantity packages caused Dr. Reddy’s to know


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   that the use of ranitidine was routine for most customers and not a one-time purchase or use.

          727.      Based on the public scientific information, Dr. Reddy’s knew or should have known

   that NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the

   human stomach, and/or over time in storage.

          728.      At no time did Dr. Reddy’s change the private-label ranitidine products to shorten

   the expiration date.

          729.      Dr. Reddy’s had the ability to unilaterally, or in conjunction with the PLDs, to make

   such label changes for the private-label ranitidine products without prior FDA approval pursuant

   to the CBE regulation. Had Dr. Reddy’s attempted such label changes, the FDA would not have

   rejected them.

          730.      Because it failed to include appropriate expiration dates on PLD ranitidine

   products, failed to provide proper storage instructions and failed to package the product in a

   manner that would lead to less risk of degradation and failed to warn of the inherent risks, Dr.

   Reddy’s failed to warn regarding and made false statements in the labeling of its private-label

   ranitidine products.

          731.      Because Dr. Reddy’s failed to include appropriate expiration dates on the private-

   label products it manufactured, Dr. Reddy’s failed to warn regarding and made false statements in

   the labeling of its products.

                      iii. Dr. Reddy’s Failure to Warn and Misrepresentations in the Packaging

          732.      Title 21 U.S.C. § 352(i)(1) provides, in pertinent part,

                           A drug or device shall be deemed to be misbranded –

                           (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE UNDER
                           ANOTHER NAME




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                          (1) If it is a drug and its container is so made, formed, or filled as to be
                          misleading;….

   (emphasis in original).

          733.    As alleged above, each contract manufacturer was required pursuant to federal law

   and contract to conduct stability testing, which was required to take the container into account.

          734.    As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          735.    Dr. Reddy’s knew or should have known that ranitidine had an inherent risk of

   degrading into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all

   the ingredients needed to form NDMA.

          736.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          737.    A substantial factor in NDMA formation was the container system Dr. Reddy’s

   chose. Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods

   by consumers after the seal is broken. This exposes the remaining units to humidity over time,

   which produces NDMA.

          738.    A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                  (a) Placing each unit of ranitidine in a blister pack or similar individually packaged
                      container would ensure humidity control until the consumer used each unit.

                  (b) Reducing the number of units of ranitidine in each bottle to a low number would
                      ensure the unused units were subject to humidity for only a shorter time period,
                      since consumers would purchase new bottles more frequently.

          739.    Dr. Reddy’s could have changed, or consulted with its PLD to change, the container


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   system it sold. FDA guidance specifically allows changing the number of units in a non-sterile

   drug under its Changes-Being Effected regulation.268 FDA guidance also would treat changing to

   a unit-dose container such as a blister-pack to be a moderate change that could be implemented

   through the Changes-Being Effected regulation.269

          740.       Dr. Reddy’s was not required to put its ranitidine in the same containers as the other

   store-brand OTC products, because the duty of sameness does not apply to containers. It applies

   only to the drug label.270

          741.       A reasonably prudent contract manufacturer would have changed, or consulted with

   its PLDs to change, the containers for Ranitidine-Containing Products to protect the products from

   humidity and reduce the time between manufacture and consumption, both of which would reduce

   the amount of NDMA produced.

          742.       Further the demand for large quantity package sizes put Defendant on notice that

   purchases were made for regular and extended use, and not for a one-time occasion.

          743.       Because Dr. Reddy’s failed to package its products in appropriate container sizes,

   Dr. Reddy’s failed to warn regarding and made false statements in the packaging of its private-

   label products.



   268
      See FDA, Guidance for Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21
    (Apr. 2004), https://www.fda.gov/media/71846/download (“A change in the number of units
    (e.g., tablets, capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in
    a unit-of-use container.”).
   269
     See id. at 20-21 (only requiring pre-approval for sterile drug products, when moving from unit
    dose containers to multiple dose containers, rather than non-sterile drug products moving to unit
    dose containers).
   270
      See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container label, package insert, and,
    if applicable, Medication Guide) proposed for the drug product must be the same as the labeling
    approved for the reference listed drug ….”).

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          744.    Dr. Reddy’s conduct, as described above, was reckless. Defendant regularly risked

   the lives of consumers and users of their products, including Plaintiffs, with full knowledge of the

   dangers of its products. Dr. Reddy’s made conscious decisions not to change the containers for its

   Ranitidine-Containing Products.

                 c. Perrigo’s Failure to Warn and Misrepresentations in the Labeling and
                    Packaging of OTC Ranitidine-Containing Products

                       i. Perrigo Is a Contract Manufacturing Organization for the Private-
                          Label Distributors Walmart, Walgreens, CVS, and Rite Aid

          745.    Perrigo is a CMO that contracted with multiple PLDs, including Walmart,

   Walgreens, CVS, and Rite Aid.

          746.    According to Perrigo, its Consumer Self-Care Americas segment is the “Self-Care

   Private Label Leader,” which “develops, manufactures, and markets over-the-counter (OTC) store

   brand products, primarily in the cough, cold, allergy, analgesics, gastrointestinal, smoking

   cessation, infant formula, and oral care.”271

          747.    Perrigo admits that store-brand products, or private label products, “must meet the

   same quality standards for manufacturing and packaging as their costlier brand name

   counterparts.”272

          748.    According to Perrigo, the purpose of private label products is to ensure “[c]onsumer

   confidence in buying OTC medications to prevent and treat acute and chronic conditions,” while




   271
      https://www.perrigo.com/consumer-self-care-americas-self-care-private-label-leader (last
    accessed Feb. 7, 2021).
   272
      https://www.perrigo.com/consumer-self-care-americas-self-care-private-label-leader (last
    accessed Feb. 7, 2021).



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   satisfying retailers for which “[s]tore brand self-care is a major contributor to retailer profits.”273

           749.    Perrigo explains that its expertise in mass customization for PLDs allows the

   company to take one SKU (or in this case ANDA) and translate it into hundreds of store-brand

   SKUs in multiple packaging and promotional configurations:274




           750.    Perrigo maintains a Code of Conduct, which covers, inter alia, compliance with

   applicable laws and regulations. For example, the Code of Conduct provides: “It is critical that we

   follow all quality, safety and Good Manufacturing policies and procedures,” explaining “As a

   pharmaceutical company, we are governed by Current Good Manufacturing Practices and other

   country-specific quality requirements for developing, manufacturing and packaging our

   products.”275


   273
      https://www.perrigo.com/consumer-self-care-americas-self-care-private-label-leader (last
    accessed Feb. 7, 2021).
   274
      https://www.perrigo.com/consumer-self-care-americas-self-care-private-label-leader (last
    accessed Feb. 7, 2021).
   275
     The Code of Conduct is available through a link on the page at https://www.perrigo.com/
    quality-product-safety (last accessed Feb. 7, 2021). Code of Conduct, at 7.



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          751.    Perrigo’s Code of Conduct further provides: “We follow rigorous laws, regulations

   and corporate policies to ensure that our packaging and promotional materials are accurate and

   adhere to appropriate marketing and advertising practices.”276

          752.    An excerpt of the Perrigo Code of Conduct follows:




          753.    According to Perrigo, its customers “include major global, national, and regional

   retail drug, supermarket, and mass merchandise chains such as Walmart, CVS, Walgreens Boots

   Alliance, Rite Aid, Kroger, Target, Dollar General, Sam’s Club, Costco, Petco, Petsmart, Aldi,

   Amazon, and major wholesalers, including McKesson, Cardinal Health, and Amerisource

   Bergen.”277


   276
     The Code of Conduct is available through a link on the page at https://www.perrigo.com/
    quality-product-safety (last accessed Feb. 7, 2021). Code of Conduct, at 7.
   277
       Form 10-K (for the year ended Dec. 31, 2017), Perrigo Company LLC, available at
    https://content.edgar-online.com/ExternalLink/EDGAR/0001585364-18-000015.html?hash


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          754.     Within Perrigo’s Consumer Self-Care Americas segment, one of Perrigo’s focuses

   is on digestive health, with a range of private label products to relieve upset stomach, diarrhea,

   heartburn, and indigestion.

          755.     Perrigo contracted with Walmart to manufacture several Equate ranitidine products,

   including the following:

                                                                                  ANDA           Start Marketing
   Product           Dosage   Package              NDC               ANDA         Manufacturer   Approval Date
   Equate Ranitidine
   (Walmart)

                    150 mg    24 tablet pack       49035-608-02      ANDA091429   Perrigo              2/12/2012

                    150 mg    90 tablet bottle     49035-608-75      ANDA091429   Perrigo              2/12/2012

                    150 mg    65 tablet bottle     49035-800-09      ANDA091429   Perrigo              2/22/2013

                    150 mg    90 tablet bottle        49035-800-75   ANDA091429   Perrigo              2/22/2013
                              65 tablet, 2 bottles in
                    150 mg    1 carton                49035-800-81   ANDA091429   Perrigo              2/22/2013

                    75 mg     150 tablet bottle    49035-876-47      ANDA076195   Perrigo              5/19/2017

                    150 mg    65 tablet bottle     49035-852-09      ANDA091429   Perrigo              2/12/2012


          756.     Perrigo contracted with Walgreens to manufacture several Wal-Zan ranitidine

   products, including:




    =97d278562bafad669bc43f3e9c76346345da67d63a6cf1330475b099ac1ff982&dest=CY17Q41
    0KEX1068_HTM#CY17Q410KEX1068_HTM (last accessed Feb. 7, 2021).

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                                                                              ANDA           Start Marketing
   Product        Dosage    Package             NDC              ANDA         Manufacturer   Approval Date
   Wal-Zan
   Ranitidine

                  150 mg    95 tablet bottle    0363-0852-01     ANDA091429   Perrigo              1/11/2019

                  150 mg    65 tablet bottle      0363-0852-09   ANDA091429   Perrigo              1/11/2019
                            1 tablet in 1 blister
                  150 mg    pack, 8 blister pack 0363-0852-51    ANDA091429   Perrigo              1/11/2019
                            1 tablet in 1 blister
                  150 mg    pack, 24 blister pack 0363-0852-62   ANDA091429   Perrigo              1/11/2019

                  150 mg    200 tablet bottle   0363-0852-82     ANDA091429   Perrigo              1/11/2019

                  75 mg     80 tablet bottle    0363-1876-27     ANDA076195   Perrigo              1/11/2019

                  75 mg     30 tablet bottle    0363-1876-65     ANDA076195   Perrigo              1/11/2019

                  150 mg    24 tablet bottle    0363-0950-02     ANDA091429   Perrigo              9/17/2011

                  150 mg    85 tablet bottle    0363-0950-04     ANDA091429   Perrigo              9/17/2011

                  150 mg    65 tablet bottle    0363-0950-09     ANDA091429   Perrigo              9/17/2011

                  150 mg    32 tablet bottle    0363-0950-64     ANDA091429   Perrigo              9/17/2011


           757.   Perrigo contracted with CVS to manufacture CVS Health ranitidine products,

   including:




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                                                                               ANDA           Start Marketing
   Product          Dosage   Package             NDC              ANDA         Manufacturer   Approval Date
   CVS Health
   Ranitidine (CVS)

                   75 mg     160 tablet bottle   69842-293-06     ANDA076195   Perrigo              5/25/2018

                   75 mg     80 tablet bottle    69842-293-27     ANDA076195   Perrigo              5/25/2018

                   75 mg     30 tablet bottle    69842-293-65     ANDA076195   Perrigo              5/25/2018

                   150 mg    95 tablet bottle    59779-540-01     ANDA091429   Perrigo              9/14/2015

                   150 mg    24 tablet bottle    59779-540-02     ANDA091429   Perrigo              9/14/2015

                   150 mg    65 tablet bottle    59779-540-09     ANDA091429   Perrigo              9/14/2015

                   150 mg    200 tablet bottle   59779-540-82     ANDA091429   Perrigo              9/14/2015

                   150 mg    95 tablet bottle    59779-950-01     ANDA091429   Perrigo              9/21/2011

                   150 mg    65 tablet bottle      59779-950-09   ANDA091429   Perrigo              9/21/2011
                             1 tablet in blister
                   150 mg    pack, 8 blister pack 59779-950-51    ANDA091429   Perrigo              9/21/2011
                             1 tablet in blister
                   150 mg    pack, 24 blister pack 59779-950-62   ANDA091429   Perrigo              9/21/2011

                   150 mg    32 tablet bottle    59779-950-64     ANDA091429   Perrigo              9/21/2011


           758.   Perrigo contracted with Rite Aid to manufacture Rite Aid ranitidine products,

   including:

                                                                               ANDA           Start Marketing
   Product         Dosage    Package             NDC              ANDA         Manufacturer   Approval Date
   Rite Aid
   Ranitidine
                             1 tablet in 1 blister
                   150 mg    pack, 24 blister pack 11822-0852-1   ANDA091429   Perrigo             10/26/2011

                   150 mg    50 tablet bottle    11822-0852-2     ANDA091429   Perrigo             10/26/2011

                   150 mg    65 tablet botlte    11822-0852-3     ANDA091429   Perrigo             10/26/2011

                   150 mg    95 tablet bottle    11822-0852-4     ANDA091429   Perrigo             10/26/2011

                   150 mg    24 tablet bottle    11822-0852-5     ANDA091429   Perrigo             10/26/2011

                   150 mg    24 tablet bottle    11822-0950-0     ANDA091429   Perrigo              12/7/2011

                   150 mg    50 tablet bottle    11822-0950-1     ANDA091429   Perrigo              12/7/2011


           759.   Each of the PLDs contracted with Perrigo, and Perrigo agreed, to ensure that each

   of the private-label ranitidine products it manufactured complied with cGMPs and were not


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   adulterated for failure to comply with cGMPs and were not misbranded.

           760.    Each of the PLDs contracted with Perrigo, and Perrigo agreed, to provide a third-

   party certification and submit to audits showing conformance with FDA cGMP specific for the

   private label ranitidine products.

                   ii. Despite Perrigo’s Agreements to Comply with cGMPs, Perrigo Was
                       Repeatedly Cited by the FDA

           761.    Since 2000, Perrigo’s manufacturing facilities have been inspected an astounding

   31 times, and during each inspection, the FDA issued observations and findings of non-compliance

   with cGMPs.

           762.    The FDA’s observations related to not only issues with the manufacture and testing

   of the product (including issues related to data integrity and inadequate quality assurance units)

   but also related to the storage of the product.

           763.    During a 2005 inspection, the FDA noted that Perrigo’s Standard Operating

   Procedures related to the environmental circumstances of where materials were being held were

   inadequate because it did not “provide instructions for employees to follow in the event an out of

   specification result is obtained for temperature and/or humidity to ensure that an investigation” is

   initiated.278

           764.    Over ten years later, the FDA noted more temperature related issues at this

   particular facility, finding that drug products were not being stored “under appropriate conditions

   of temperature so that their identity, strength, quality and purity are not affected.”279


   278
     FDA Form 483, Perrigo New York (FEI: 2450054), Aug. 31, 2006, released pursuant to
    FOIA request.
   279
      FDA Form 483, Perrigo New York (FEI: 2450054), Mar. 8, 2017, released pursuant to FOIA
    request.



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          765.       The FDA found that Perrigo’s temperature mapping studies in the raw material

   warehouse were not conducted in a manner that supported the identification of “worst case

   temperature locations.”280

          766.       In 2019, the FDA observed that Perrigo’s investigations of an “unexplained

   discrepancy and failure of a batch or any of its components to meet any of its specifications did

   not extend to other batches of the same drug product.”281

          767.       As it relates to the ongoing stability of its drug products, the FDA found that Perrigo

   had not investigated whether the methods used in ongoing stability studies which were validated

   prior to 2017 “are stability indicating” and whether the method is able to “detect all potential

   impurities.”282

          768.       During a 2019 inspection of a facility in Holland, Michigan, the FDA noted that

   Perrigo lacked procedures and controls to keep and maintain documents containing data generated

   during GMP activities.283

          769.       As an example of this deficiency, the FDA noted that discarded batch packaging

   records had been seen in “shred bins.”284




   280
      FDA Form 483, Perrigo New York (FEI: 2450054), Mar. 8, 2017, released pursuant to FOIA
    request.
   281
     FDA Form 483, Perrigo Company PLC (FEI: 1811666), Jan. 17, 2019, released pursuant to
    FOIA request.
   282
     FDA Form 483, Perrigo Company PLC (FEI: 1811666), Jan. 17, 2019, released pursuant to
    FOIA request.
   283
     FDA Form 483, L. Perrigo Company (FEI: 1000518646), Oct. 22, 2019, released pursuant to
    FOIA request.
   284
     FDA Form 483, L. Perrigo Company (FEI: 1000518646), Oct. 22, 2019, released pursuant to
    FOIA request.

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                     iii. Perrigo’s Failure to Warn and Misrepresentations in the Labels for the
                          Private-Label Ranitidine Products

             770.   Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                           A drug or device shall be deemed to be misbranded –

                           (a) FALSE OR MISLEADING LABEL

                           (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

             771.   Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

             772.   Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Defendant had a duty and was obligated to properly store, handle, and warehouse ranitidine.

             773.   Testing conducted by the FDA confirms that improper storage of ranitidine has

   resulted in extremely high levels of NDMA.285 The FDA has also concluded that NDMA can

   increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

   found to increase significantly in samples stored at higher temperatures, including temperatures

   the product may be exposed to during normal distribution and handling. FDA’s testing also


   285
         Woodcock Letter, supra note 95.

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   showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

   Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

   ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

   was deemed moot by the FDA because the agency sought to withdraw Ranitidine-Containing

   Products altogether.

          774.    Nothing prevented Perrigo from, on its own, taking actions to prevent accumulation

   of NDMA in the private-label Ranitidine-Containing Products by ensuring storage and transport

   at the lower end of the temperature range contained on the labels. Nothing prevented Perrigo from

   ensuring that ranitidine was not exposed to humidity or moisture.

          775.    At no time did Perrigo attempt to include a warning on the labels for the private-

   label Ranitidine-Containing Products that consumers were at elevated risk of developing cancer if

   the products were: (i) exposed to excessive heat; (ii) exposed to excessive moisture/humidity; (iii)

   consumed with high-nitrite foods; (iv) consumed daily for a period of greater than a few months.

   The FDA never rejected such cancer warnings.

          776.    At no time did Perrigo attempt to change the private-label ranitidine labels to delete

   a false or misleading expiration date, or to add a proper expiration date to ensure that the private-

   label ranitidine products would not break down into NDMA prior to human consumption.

          777.    The labels on the PLD products manufactured by Perrigo or lists referenced above

   also reflect that Perrigo packaged the store-branded ranitidine in large quantities. Because of the

   unstable nature of ranitidine, Perrigo knew or should have known that packages containing large

   quantities were less likely to be used completely and stored properly by the expiration date,

   particularly when the expiration date on the label was extended beyond a safe and appropriate date.

   Further, the demand for large quantity packages caused Perrigo to know that the use of ranitidine


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   was routine for most customers and not a one-time purchase or use.

          778.      Based on the public scientific information, Perrigo knew or should have known that

   NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the human

   stomach, and/or over time in storage.

          779.      At no time did Perrigo change the private-label ranitidine products to shorten the

   expiration date.

          780.      Perrigo had the ability to unilaterally, or in conjunction with the PLDs, to make

   such label changes for the private-label ranitidine products without prior FDA approval pursuant

   to the CBE regulation. Had Perrigo attempted such label changes, the FDA would not have

   rejected them.

          781.      Because it failed to include appropriate expiration dates on PLD ranitidine

   products, failed to provide proper storage instructions and failed to package the product in a

   manner that would lead to less risk of degradation and failed to warn of the inherent risks, Perrigo

   failed to warn regarding and made false statements in the labeling of its private-label ranitidine

   products.

          782.      Because Perrigo failed to include appropriate expiration dates on the private-label

   products it manufactured, Perrigo failed to warn regarding and made false statements in the

   labeling of its products.

                      iv. Perrigo’s Failure to Warn and Misrepresentations in Packaging

          783.      Title 21 U.S.C. §352(i)(1) provides, in pertinent part,

                           A drug or device shall be deemed to be misbranded –

                           (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE UNDER
                           ANOTHER NAME




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                          (1) If it is a drug and its container is so made, formed, or filled as to be
                          misleading;….

   (emphasis in original).

          784.    As alleged above, each contract manufacturer was required pursuant to federal law

   and contract to conduct stability testing, which was required to take the container into account.

          785.    As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          786.    Perrigo knew or should have known that ranitidine had an inherent risk of degrading

   into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all the

   ingredients needed to form NDMA.

          787.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          788.    A substantial factor in NDMA formation was the container system Perrigo chose.

   Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods by

   consumers after the seal is broken. This exposes the remaining units to humidity over time, which

   produces NDMA.

          789.    A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                  (a) Placing each unit of ranitidine in a blister pack or similar individually packaged
                      container would ensure humidity control until the consumer used each unit.

                  (b) Reducing the number of units of ranitidine in each bottle to a low number would
                      ensure the unused units were subject to humidity for only a shorter time period,
                      since consumers would purchase new bottles more frequently.

          790.    Perrigo could have changed, or consulted with its PLD to change, the container


                                                        220
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   system it sold. FDA guidance specifically allows changing the number of units in a non-sterile

   drug under its Changes-Being Effected regulation.286 FDA guidance also would treat changing to

   a unit-dose container such as a blister-pack to be a moderate change that could be implemented

   through the Changes-Being Effected regulation.287

          791.    Perrigo was not required to put its ranitidine in the same containers as the other

   store-brand OTC products, because the duty of sameness does not apply to containers. It applies

   only to the drug label.288

          792.    A reasonably prudent contract manufacturer would have changed, or consulted with

   its PLDs to change, the containers for Ranitidine-Containing Products to protect the products from

   humidity and reduce the time between manufacture and consumption, both of which would reduce

   the amount of NDMA produced.

          793.    Further the demand for large quantity package sizes put Defendant on notice that

   purchases were made for regular and extended use, and not for a one-time occasion.

          794.    Because Perrigo failed to package its products in appropriate container sizes,

   Perrigo failed to warn regarding and made false statements in the packaging of its private-label

   products.



   286
      See FDA, Guidance for Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21
    (Apr. 2004), https://www.fda.gov/media/71846/download (“A change in the number of units
    (e.g., tablets, capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in
    a unit-of-use container.”).
   287
     See id. at 20-21 (only requiring pre-approval for sterile drug products, when moving from unit
    dose containers to multiple dose containers, rather than non-sterile drug products moving to unit
    dose containers).
   288
      See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container label, package insert, and,
    if applicable, Medication Guide) proposed for the drug product must be the same as the labeling
    approved for the reference listed drug ….”).

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             795.   Perrigo’s conduct, as described above, was reckless. Defendant regularly risked

   the lives of consumers and users of their products, including Plaintiffs, with full knowledge of the

   dangers of its products. Perrigo made conscious decisions not to change the containers for its

   Ranitidine-Containing Products.

                    d. Strides’ Failure to Warn and Misrepresentations in the Labeling and
                       Packaging of OTC Ranitidine-Containing Products

                       i. Strides Is a Contract Manufacturing Organization for the Private-
                          Label Distributors Walmart, Walgreens, CVS, and Rite Aid

             796.   Strides is a CMO that contracted with multiple PLDs, including Walmart,

   Walgreens, CVS, and Rite Aid.

             797.   Strides contends that it has a “Clear vision of providing quality healthcare products

   to the market both in Prescription, Private label, OTC, and consumer health markets.”289

             798.   Strides contracted with Walmart to manufacture several Equate ranitidine products,

   including the following:

                                                                                   ANDA           Start Marketing
   Product           Dosage     Package              NDC              ANDA         Manufacturer   Approval Date
   Equate Ranitidine
   (Walmart)

                     75 mg      30 tablet bottle     49035-353-30     ANDA201745   Strides              7/10/2012

                     75 mg      150 tablet bottle    49035-353-55     ANDA201745   Strides              7/10/2012

                     75 mg      10 tablet blister pack 49035-353-69   ANDA201745   Strides              7/10/2012


             799.   Strides contracted with Walgreens to manufacture several Wal-Zan ranitidine

   products, including:




   289
         https://www.strides.com/pharma-united-states.html (last accessed Feb. 7, 2021).

                                                              222
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                                                                                ANDA           Start Marketing
   Product         Dosage    Package              NDC              ANDA         Manufacturer   Approval Date
   Wal-Zan
   Ranitidine

                   75 mg     80 tablet bottle     0363-0352-08     ANDA201745   Strides              9/24/2013

                   75 mg     30 tablet bottle     0363-0352-30     ANDA201745   Strides              9/24/2013

                   150 mg    200 tablet bottle    0363-0362-02     ANDA200536   Strides              6/28/2011

                   150 mg    24 tablet bottle     0363-0362-23     ANDA200536   Strides              6/28/2011

                   150 mg    50 tablet bottle     0363-0362-50     ANDA200536   Strides              6/28/2011

                   150 mg    65 tablet bottle     0363-0362-52     ANDA200536   Strides              6/28/2011

                   150 mg    95 tablet bottle     0363-0362-95     ANDA200536   Strides              6/28/2011


           800.   Strides contracted with CVS to manufacture CVS Health ranitidine products,

   including:

                                                                                ANDA           Start Marketing
   Product          Dosage   Package              NDC              ANDA         Manufacturer   Approval Date
   CVS Health
   Ranitidine (CVS)

                   75 mg     80 tablet bottle     59779-356-08     ANDA201745   Strides               9/9/2013

                   75 mg     160 tablet bottle    59779-356-16     ANDA201745   Strides               9/9/2013

                   75 mg     30 tablet blister pack 59779-356-31   ANDA201745   Strides               9/9/2013

                   150 mg    200 tablet bottle    59779-354-20     ANDA200536   Strides              8/21/2012

                   150 mg    24 tablet blister pack 59779-354-24   ANDA200536   Strides              8/21/2012

                   150 mg    65 tablet bottle     59779-354-65     ANDA200536   Strides              8/21/2012

                   150 mg    95 tablet bottle     59779-354-95     ANDA200536   Strides              8/21/2012


           801.   Strides contracted with Rite Aid to manufacture Rite Aid ranitidine products,

   including:

                                                                                ANDA           Start Marketing
   Product         Dosage    Package              NDC              ANDA         Manufacturer   Approval Date
   Rite Aid
   Ranitidine

                   75 mg     30 tablet bottle     11822-6190-0     ANDA200536   Strides              6/15/2013

                   75 mg     60 tablet bottle     11822-6190-1     ANDA200536   Strides              6/15/2013

                   75 mg     80 tablet bottle     11822-6190-8     ANDA200536   Strides              6/15/2013


                                                           223
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           802.   Each of the PLDs contracted with Strides, and Strides agreed, to ensure that each

   of the private-label ranitidine products it manufactured complied with cGMPs and were not

   adulterated for failure to comply with cGMPs and were not misbranded.

           803.   Each of the PLDs contracted with Strides, and Strides agreed, to provide a third-

   party certification and submit to audits showing conformance with FDA cGMP specific for the

   private label ranitidine products.

                    ii. Despite Strides’ Agreements to Comply with cGMPs, Apotex Was
                        Repeatedly Cited by the FDA

           804.   The FDA has repeatedly noted a slew of violations of cGMPs at Strides’

   manufacturing facilities over the years leading up to a recall of Ranitidine-Containing Products in

   2019.

           805.   For example, during a 2014 inspection of one of the facilities used by Strides to

   manufacture Ranitidine-Containing Products in Bangalore, India, the FDA made four critical

   observations about issues with Strides’ manufacturing practices and compliance with cGMPs.290

           806.   The FDA noted that Strides had not established control procedures to monitor the

   output and validate the performance of its manufacturing processes, resulting in “variability in the

   characteristics of in-process material and the drug product.”291

           807.   The FDA also observed that written procedures were not being followed to conduct

   annual evaluations of “returned or salvaged drug products and investigations conducted for each




   290
     FDA Form 483, Strides Arcolab Ltd (FEI: 3004554612), Aug. 26, 2014, released pursuant to
    FOIA request.
   291
     FDA Form 483, Strides Arcolab Ltd (FEI: 3004554612), Aug. 26, 2014, released pursuant to
    FOIA request.



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   drug product.”292

          808.    With respect to complaints made about the finished dose of its products, the FDA

   found that Strides’ complaint records were “deficient” because they did not include the findings

   of the investigation and follow-up regarding those investigations.293

          809.    The FDA noted that deficient complaint investigations appeared to be a “pattern”

   of problematic behavior at this Strides facility.294

          810.    Upon a return inspection of this particular facility in 2016, the FDA noted that the

   equipment used in the “manufacture, processing, packing or holding of drug products is not of

   appropriate design to facilitate operations for its intended use.”295

          811.    An inspection of this same facility in 2017 yielded even more observations related

   to Strides’ investigations into “unexplained discrepancies” about a drug product which was

   “sticking” and “melting” together. The FDA noted that Strides’ investigation “did not arrive at

   the actual root cause” of the problem which resulted in finished dose product “sticking” and

   “melting” together, and further that Strides had not taken “appropriate corrective actions.”296

          812.    Moreover, the FDA found that Strides lacked the “written procedures for




   292
     FDA Form 483, Strides Arcolab Ltd (FEI: 3004554612), Aug. 26, 2014, released pursuant to
    FOIA request.
   293
     FDA Form 483, Strides Arcolab Ltd (FEI: 3004554612), Aug. 26, 2014, released pursuant to
    FOIA request.
   294
     FDA Form 483, Strides Arcolab Ltd (FEI: 3004554612), Aug. 26, 2014, released pursuant to
    FOIA request.
   295
     FDA Form 483, Strides Arcolab Ltd (FEI: 3004554612), Feb. 19, 2016, released pursuant to
    FOIA request.
   296
     FDA Form 483, Strides Arcolab Ltd (FEI: 3004554612), May 26, 2017, released pursuant to
    FOIA request.



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   production and process controls” designed to assure that the drug products Strides manufactured

   had the “identity, strength, quality and purity they purport or are represented to possess.”297

          813.    In 2019, Strides’ issues with the FDA came to a head when the FDA issued the

   company a warning letter, its strongest rebuke.298

          814.    In the warning letter, the FDA summarized the “significant” violations of cGMP

   regulations, which included:

                  (a) Failure to establish an adequate control unit with the responsibility and
                      authority to approve or reject all components, drug product containers, closures,
                      in-process materials, packaging materials, labeling and drug products;

                  (b) Failure to thoroughly investigate any unexplained discrepancies or failures of a
                      batch or any of its components to meet any of its specifications, regardless of
                      whether the batch has already been distributed; and

                  (c) Data integrity issues related to its quality system, which did not adequately
                      ensure the “accuracy and integrity of data to support the safety, effectiveness
                      and quality of the drugs” manufactured by Strides.

                  iii. Strides’ Failure to Warn and Misrepresentations in the Labeling of
                       Ranitidine Products

          815.    Title 21 U.S.C. §352(a)(1) provides, in pertinent part,

                          A drug or device shall be deemed to be misbranded –

                          (a) FALSE OR MISLEADING LABEL

                          (1) If its labeling is false or misleading in any particular.

   (emphasis in original).

          816.    Title 21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good



   297
     FDA Form 483, Strides Arcolab Ltd (FEI: 3004554612), May 26, 2017, released pursuant to
    FOIA request.
   298
     https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/
    warning-letters/strides-pharma-science-limited-576722-07012019

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   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

             817.   Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Defendant had a duty and was obligated to properly store, handle, and warehouse ranitidine.

             818.   Testing conducted by the FDA confirms that improper storage of ranitidine has

   resulted in extremely high levels of NDMA.299 The FDA has also concluded that NDMA can

   increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

   found to increase significantly in samples stored at higher temperatures, including temperatures

   the product may be exposed to during normal distribution and handling. FDA’s testing also

   showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

   Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

   ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

   was deemed moot by the FDA because the agency sought to withdraw Ranitidine-Containing

   Products altogether.

             819.   Nothing prevented Strides from, on its own, taking actions to prevent accumulation

   of NDMA in the private-label Ranitidine-Containing Products by ensuring storage and transport



   299
         Woodcock Letter, supra note 95.

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   at the lower end of the temperature range contained on the labels. Nothing prevented Strides from

   ensuring that ranitidine was not exposed to humidity or moisture.

          820.    At no time did Strides attempt to include a warning on the labels for the private-

   label Ranitidine-Containing Products that consumers were at elevated risk of developing cancer if

   the products were: (i) exposed to excessive heat; (ii) exposed to excessive moisture/humidity; (iii)

   consumed with high-nitrite foods; (iv) consumed daily for a period of greater than a few months.

   The FDA never rejected such cancer warnings.

          821.    At no time did Strides attempt to change the private-label ranitidine labels to delete

   a false or misleading expiration date, or to add a proper expiration date to ensure that the private-

   label ranitidine products would not break down into NDMA prior to human consumption.

          822.    The labels on the PLD products manufactured by Strides or lists referenced above

   also reflect that Strides packaged the store-branded ranitidine in large quantities. Because of the

   unstable nature of ranitidine, Strides knew or should have known that packages containing large

   quantities were less likely to be used completely and stored properly by the expiration date,

   particularly when the expiration date on the label was extended beyond a safe and appropriate date.

   Further, the demand for large quantity packages caused Strides to know that the use of ranitidine

   was routine for most customers and not a one-time purchase or use.

          823.    Based on the public scientific information, Strides knew or should have known that

   NDMA could form in ranitidine by exposure to heat, humidity, nitrites, the conditions of the human

   stomach, and/or over time in storage.

          824.    At no time did Strides change the private-label ranitidine products to shorten the

   expiration date.

          825.    Strides had the ability to unilaterally, or in conjunction with the PLDs, to make such


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   label changes for the private-label ranitidine products without prior FDA approval pursuant to the

   CBE regulation. Had Strides attempted such label changes, the FDA would not have rejected

   them.

           826.       Because it failed to include appropriate expiration dates on PLD ranitidine

   products, failed to provide proper storage instructions and failed to package the product in a

   manner that would lead to less risk of degradation and failed to warn of the inherent risks, Strides

   failed to warn regarding and made false statements in the labeling of its private-label ranitidine

   products.

           827.       Because Strides failed to include appropriate expiration dates on the private-label

   products it manufactured, Strides failed to warn regarding and made false statements in the labeling

   of its products.

                       iv. Strides’ Failure to Warn and Misrepresentations in the Packaging.

           828.       Title 21 U.S.C. §352(i)(1) provides, in pertinent part,

                             A drug or device shall be deemed to be misbranded –

                             (i) DRUG; MISLEADING CONTAINER; IMITATION; OFFER FOR SALE UNDER
                             ANOTHER NAME

                             (1) If it is a drug and its container is so made, formed, or filled as to be
                             misleading;

   (emphasis in original).

           829.       As alleged above, each contract manufacturer was required pursuant to federal law

   and contract to conduct stability testing, which was required to take the container into account.

           830.       As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

           831.       Strides knew or should have known that ranitidine had an inherent risk of degrading


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   into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all the

   ingredients needed to form NDMA.

          832.    The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

          833.    A substantial factor in NDMA formation was the container system Strides chose.

   Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods by

   consumers after the seal is broken. This exposes the remaining units to humidity over time, which

   produces NDMA.

          834.    A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                  (a) Placing each unit of ranitidine in a blister pack or similar individually packaged
                      container would ensure humidity control until the consumer used each unit.

                  (b) Reducing the number of units of ranitidine in each bottle to a low number would
                      ensure the unused units were subject to humidity for only a shorter time period,
                      since consumers would purchase new bottles more frequently.

          835.    Strides could have changed, or consulted with its PLD to change, the container

   system it sold. FDA guidance specifically allows changing the number of units in a non-sterile

   drug under its Changes-Being Effected regulation.300 FDA guidance also would treat changing to

   a unit-dose container such as a blister-pack to be a moderate change that could be implemented




   300
      See FDA, Guidance for Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21
    (Apr. 2004), https://www.fda.gov/media/71846/download (“A change in the number of units
    (e.g., tablets, capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in
    a unit-of-use container.”).



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   through the Changes-Being Effected regulation.301

          836.    Strides was not required to put its ranitidine in the same containers as the other

   store-brand OTC products, because the duty of sameness does not apply to containers. It applies

   only to the drug label.302

          837.    A reasonably prudent contract manufacturer would have changed, or consulted with

   its PLDs to change, the containers for Ranitidine-Containing Products to protect the products from

   humidity and reduce the time between manufacture and consumption, both of which would reduce

   the amount of NDMA produced.

          838.    Further the demand for large quantity package sizes put Defendant on notice that

   purchases were made for regular and extended use, and not for a one-time occasion.

          839.    Because Strides failed to package its products in appropriate container sizes, Strides

   failed to warn regarding and made false statements in the packaging of its private-label products.

          840.    Strides’ conduct, as described above, was reckless. Defendant regularly risked the

   lives of consumers and users of their products, including Plaintiffs, with full knowledge of the

   dangers of its products. Strides made conscious decisions not to change the containers for its

   Ranitidine-Containing Products.




   301
         See id. at 20–21 (only requiring pre-approval for sterile drug products, when moving
    from unit dose containers to multiple dose containers, rather than non-sterile drug products
    moving to unit dose containers).
   302
           See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling (including the container label, package insert,
    and, if applicable, Medication Guide) proposed for the drug product must be the same as the
    labeling approved for the reference listed drug ….”).

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             V.     ADDITIONAL COUNT-SPECIFIC ALLEGATIONS

   A. ADDITIONAL ALLEGATIONS SPECIFIC TO PLAINTIFFS’ COUNTS FOR
      FAILURE TO WARN THROUGH WARNINGS AND PRECAUTIONS

          841.    Ranitidine leads to NDMA exposure in the following ways: (1) the NDMA levels

   in ranitidine increase as the drug breaks down in the human digestive system and interacts with

   various enzymes in the human body; and (2) the ranitidine molecule internally degrades to form

   NDMA, and the NDMA levels in the drug substance and the drug product increase over time under

   normal storage conditions, but more so with exposure to heat or humidity.

          842.    NDMA is a potent carcinogen in humans. Higher exposures to NDMA over longer

   time periods lead to even higher risks of cancer.

          843.    To mitigate degradation of ranitidine into NDMA in the stomach, consumers should

   have been warned not to take ranitidine with or after meals or in combination with a high-nitrite

   diet. No Ranitidine-Containing Product contained this warning.

          844.    To mitigate degradation of ranitidine into NDMA over time, and in the presence of

   heat or humidity, consumers could have been and should have been warned to consume ranitidine

   shortly after manufacturing and to store it in a cool, dry place (e.g., not in a bathroom). No

   Ranitidine-Containing Product contained this warning.

          845.    To mitigate the risk of NDMA causing cancer, consumers should have been warned

   to consume ranitidine for only short periods of time. No Ranitidine-Containing Product warned

   that cancer could result from long-term ingestion of ranitidine.

          846.    Brand Manufacturer Defendants knew or should have known about each of these

   risks in time to warn consumers.

          847.    As was alleged in more detail above, in 1981 Dr. de Flora published the results of



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   experiments in The Lancet showing that ranitidine produced NDMA in combination with gastric

   fluid and nitrites. This study put all future manufacturers of ranitidine on notice of the risks of

   consuming ranitidine in combination with high-nitrite foods.

          848.      GSK responded in The Lancet in November 1981. This response shows that GSK

   was in fact aware of Dr. de Flora’s research.

          849.      GSK told the FDA that Dr. de Flora’s research has no “practical clinical

   significance.”

          850.      GSK conducted another study around 1981 that found that ranitidine could cause

   nitrates to convert into nitrites in the human stomach, which, in combination with Dr. de Flora’s

   research, would mean a heightened risk of NDMA formation.               This should have sparked

   reconsideration of the claim that nitrites would not be high enough in the stomach for Dr. de Flora’s

   research to have practical significance.

          851.      In April 1982, GSK performed a study




          852.      After Zantac had been approved for marketing by the FDA, GSK conducted a study

   on how ranitidine breaks down in the human stomach and concluded that the amount of

   nitrosamines formed was low. That study was published in 1987. However, GSK used a less

   reliable test (a nitrogen oxide assay) designed for use in food and discarded two-thirds of the

   samples because they contained ranitidine (which the study claimed might produce a false

   positive).


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            853.   In 1983, after GSK’s flawed study, but before it was published, a University of

   Genoa study determined that ranitidine could react with nitrite and produce NDMA, which could

   induce DNA damage.

            854.   Also in 1983, Dr. de Flora published his complete findings, confirming his initial

   results about the risks of NDMA breakdown in the human stomach in combination with nitrites.

   GSK did not modify its position.

            855.   In 2002, a study indicated that NDMA was found in the urine and gastric fluid of

   children after taking ranitidine for four weeks.

            856.   In 2012, a study indicated that ranitidine may be a source of NDMA in drinking

   water.

            857.   In 2016, a Stanford University study suggested that NDMA amounts in humans

   increased after consuming ranitidine.

            858.   In 2019, Valisure tested ranitidine tablets to determine if they contained NDMA.

   Valisure’s ISO 17025 accredited laboratory used FDA recommended GC/MS headspace analysis

   method FY19-005-DPA8 for the determination of NDMA levels. As per the FDA protocol

   developed for Valsartan, this method was validated to a lower limit of detection of 25 ng. 303

   Valisure found when using the GC/MS headspace analysis method that ranitidine would transform

   into high levels of NDMA.

            859.   This testing by GC-MS demonstrates the instability of the ranitidine molecule and

   its propensity to break down under high temperatures.

            860.   Any Manufacturer Defendant could have studied ranitidine using the tests Valisure



   303
       U.S. Food & Drug Admin., Combined N-Nitrosodimethlyamine (NDMA) and N-
     Nitrosodiethylamine (NDEA) Impurity Assay, FY19-005-DPA-S (Jan. 28, 2019).

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   performed, and would have discovered that ranitidine transforms into NDMA when subjected to

   heat.

           861.   At all relevant times, Brand Manufacturer Defendants designed, manufactured,

   tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold Ranitidine-

   Containing Products, which are defective and unreasonably dangerous to consumers, including

   Plaintiffs, because they do not contain adequate warnings or instructions concerning the dangerous

   characteristics of ranitidine and NDMA. These actions were under the ultimate control and

   supervision of Brand Manufacturer Defendants.

           862.   Brand Manufacturer Defendants designed, manufactured, tested, marketed, labeled,

   packaged, handled, distributed, stored, sold, and/or otherwise released into the stream of commerce

   their Ranitidine-Containing Products, and in the course of the same, directly marketed the products

   to consumers and end users, including Plaintiffs, and, therefore, had a duty to warn of the risks

   associated with the use of ranitidine.

           863.   At all relevant times, Brand Manufacturer Defendants had a duty to properly

   manufacture, test, market, label, package, handle, distribute, store, sell, provide proper warnings,

   and/or take such steps as necessary to ensure their Ranitidine-Containing Products did not cause

   users and consumers to suffer from unreasonable and dangerous risks. Brand Manufacturer

   Defendants had a continuing duty to warn Plaintiffs of dangers associated with ranitidine. Brand

   Manufacturer Defendants, as manufacturers and sellers of pharmaceutical medication, are held to

   the knowledge of an expert in the field.

           864.   Brand Manufacturer Defendants had a continuing duty to provide appropriate and

   accurate warnings and precautions.

           865.   At the time of manufacture, Brand Manufacturer Defendants could have provided


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   warnings or instructions regarding the full and complete risks of ranitidine because they knew or

   should have known of the unreasonable risks of harm associated with the use of and/or exposure

   to such products.

          866.    At all relevant times, Brand Manufacturer Defendants failed and deliberately

   refused to investigate, study, test, or promote the safety or to minimize the dangers to users and

   consumers of their products and to those who would foreseeably use or be harmed by Brand

   Manufacturer Defendants’ Ranitidine-Containing Products.

          867.    Even though Brand Manufacturer Defendants knew or should have known that

   ranitidine posed a grave risk of harm, they failed to exercise reasonable care to warn of the

   dangerous risks associated with use and exposure to Ranitidine-Containing Products.             The

   dangerous propensities of Ranitidine-Containing Products and the carcinogenic characteristics of

   NDMA, as described above, were known to Brand Manufacturer Defendants, or scientifically

   knowable to Brand Manufacturer Defendants through appropriate research and testing by known

   methods, at the time they distributed, supplied or sold the product, but were not known to end users

   and consumers, such as Plaintiffs.

          868.    Brand Manufacturer Defendants knew or should have known that Ranitidine-

   Containing Products created significant risks of serious bodily harm to consumers, as alleged

   herein, and Brand Manufacturer Defendants failed to adequately warn or instruct consumers, i.e.,

   the reasonably foreseeable users, and physicians of the risks of exposure to Ranitidine-Containing

   Products. Defendants failed to warn and have wrongfully concealed information concerning the

   dangerous level of NDMA in Ranitidine-Containing Products, and further, have made false and/or

   misleading statements concerning the safety of ranitidine.

          869.    Brand Manufacturer Defendants possessed new information or new analyses of


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   existing information that empowered them unilaterally to change the warnings and precautions

   section of their Ranitidine-Containing Products’ label.

          870.    Despite this ability, Brand Manufacturer Defendants failed to warn of the risks of

   NDMA and their Ranitidine-Containing Products in the warnings and precautions section of their

   Ranitidine-Containing Products’ label.

          871.    At all relevant times, the Ranitidine-Containing Products were defective at the time

   they left the Defendants’ control. No extrinsic changes were made to alter the products Defendants

   manufactured. The warnings Plaintiffs and their doctors observed were not changed from when

   they left Defendants’ control.

          872.    Plaintiffs were exposed to Defendants’ Ranitidine-Containing Products without

   knowledge of their dangerous characteristics.

          873.    At all relevant times, Plaintiffs used and/or were exposed to the use of Defendants’

   Ranitidine-Containing Products while using them for their intended or reasonably foreseeable

   purposes, without knowledge of their dangerous characteristics.

          874.    Plaintiffs could not have reasonably discovered the defects and risks associated

   with Ranitidine-Containing Products prior to or at the time Plaintiffs consumed the drugs.

   Plaintiffs and their physicians relied upon the skill, superior knowledge, and judgment of Brand

   Manufacturer Defendants to know about and disclose serious health risks associated with using

   Defendants’ products.

          875.    Brand Manufacturer Defendants knew or should have known that the minimal

   warnings disseminated with their Ranitidine-Containing Products were inadequate, failed to

   communicate adequate information on the dangers and safe use/exposure, and failed to

   communicate warnings and instructions that were appropriate and adequate to render the products


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   safe for their ordinary, intended and reasonably foreseeable uses.

           876.   The information that Brand Manufacturer Defendants did provide or communicate

   failed to contain relevant warnings, hazards, and precautions that would have enabled consumers

   such as Plaintiffs to avoid using the drug. Instead, Defendants disseminated information that was

   inaccurate, false, and misleading, and which failed to communicate accurately or adequately the

   comparative severity, duration, and extent of the risk of injuries with use of and/or exposure to

   ranitidine; continued to aggressively promote the efficacy of Ranitidine-Containing Products, even

   after they knew or should have known of the unreasonable risks from use or exposure; and

   concealed, downplayed, or otherwise suppressed, through aggressive marketing and promotion,

   any information or research about the risks and dangers of ingesting ranitidine.

           877.   Had Brand Manufacturer Defendants provided adequate warnings and instructions

   and properly disclosed and disseminated the risks associated with their Ranitidine-Containing

   Products on the warnings and precautions section of their products’ labels, Plaintiffs could have

   avoided the risk of developing injuries and could have obtained or used alternative medication.

   However, as a result of Brand Manufacturer Defendants’ concealment of the dangers posed by

   their Ranitidine-Containing Products, Plaintiffs were not alerted, and so could not avert their

   injuries.

           878.   Brand Manufacturer Defendants’ conduct, as described above, was reckless. Brand

   Manufacturer Defendants risked the lives of consumers and users of their products, including

   Plaintiffs, with knowledge of the safety problems associated with Ranitidine-Containing Products,

   and suppressed this knowledge from the general public. Brand Manufacturer Defendants made

   conscious decisions not to warn or inform the unsuspecting public.           Brand Manufacturer

   Defendants’ reckless conduct warrants an award of punitive damages.


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           879.    Brand Manufacturer Defendants’ lack of adequate warnings and instructions in the

   warnings and precautions section of their Ranitidine-Containing Products’ labels were a

   substantial factor in causing Plaintiffs’ injuries.

   B. ADDITIONAL ALLEGATIONS SPECIFIC TO PLAINTIFFS’ COUNTS FOR
      FAILURE TO WARN THROUGH PROPER EXPIRATION DATES

           880.    Ranitidine leads to NDMA exposure in the following ways: (1) the NDMA levels

   in ranitidine increase as the drug breaks down in the human digestive system and interacts with

   various enzymes in the human body; and (2) the ranitidine molecule internally degrades to form

   NDMA, and the NDMA levels in the drug substance and the drug product increase over time under

   normal storage conditions, but more so with exposure to heat or humidity.

           881.    NDMA is a potent carcinogen in humans. Higher exposures to NDMA over longer

   time periods lead to even higher risks of cancer.

           882.    To mitigate degradation of ranitidine into NDMA over time, and in the presence of

   heat or humidity, consumers should be warned to consume ranitidine shortly after manufacturing.

   No Ranitidine-Containing Product contained this warning.

           883.    In fact, Ranitidine-Containing Products had expiration dating periods of one or two

   years, allowing gradual accumulation of more and more unsafe levels of NDMA. A much shorter

   period of a matter of months would have ensured that ranitidine contained far lower levels of

   NDMA when consumed.

           884.    Manufacturer Defendants (both brand and generic) and Store-Brand Defendants

   knew or should have known about each of these risks in time to warn consumers. Simple, widely

   available and cost-effective tests reveal these risks.

           885.    In setting expiration and/or retest dates for their ranitidine-containing drugs,



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   Manufacturer Defendants and Store-Brand Defendants were required to take into consideration the

   real-world conditions the drugs would be exposed to, including the conditions under which the

   drugs would be stored and shipped. See 21 C.F.R. §211.137.

          886.    In setting the expiration and/or retest dates for their ranitidine-containing drugs,

   Manufacturer Defendants and Store-Brand Defendants were also required to base those dates on

   stability testing, which in turn must account for storage conditions. 21 C.F.R. §211.166.

          887.    Storage conditions must account for conditions, including the storage container,

   heat, light, and humidity, among other things.

          888.    At all relevant times, each Defendant failed to adhere to their duties to set accurate

   expiration dates based upon stability testing that complied with the manufacturers’ duties to

   account for these real-world conditions. These actions were under the ultimate control and

   supervision of the Manufacturer Defendants.

          889.    Brand Manufacturer Defendants designed, manufactured, tested, marketed, labeled,

   packaged, handled, distributed, stored, and/or sold Ranitidine-Containing Products, which are

   defective and unreasonably dangerous to consumers, including Plaintiffs, because they do not

   contain adequate warnings or instructions concerning the dangerous characteristics of ranitidine

   and NDMA.

          890.    Generic Manufacturer Defendants and Store-Brand Defendants manufactured,

   tested, marketed, labeled, packaged, handled, distributed, stored, sold, and/or otherwise released

   into the stream of commerce their Ranitidine-Containing Products, and in the course of same,

   directly marketed the products to consumers and end users, including Plaintiffs, and, therefore,

   had a duty to warn of the risks associated with the use of ranitidine.

          891.    At all relevant times, Generic Manufacturer Defendants and Store-Brand


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   Defendants manufactured, tested, labeled, packaged, handled, distributed, stored, and/or sold

   Ranitidine-Containing Products, which are defective and unreasonably dangerous to consumers,

   including Plaintiffs. These actions were under the ultimate control and supervision of Generic

   Manufacturer Defendants, except as to the warning section of the label.

          892.    Generic Manufacturer Defendants and Store-Brand Defendants manufactured,

   tested, labeled, packaged, handled, distributed, stored, sold, and/or otherwise released into the

   stream of commerce their Ranitidine-Containing Products, and in the course of the same, knew

   and reasonably foresaw that their product would be substituted by custom or by law for a well-

   known product that was directly marketed to consumers and end users, including Plaintiffs.

   Generic Manufacturer Defendants and Store-Brand Defendants therefore had a duty to warn of the

   risks associated with the use of ranitidine.

          893.    Generic Manufacturer Defendants and Store-Brand Defendants had a duty to

   provide proper warnings to ensure their Ranitidine-Containing Products did not cause users and

   consumers to suffer from unreasonable and dangerous risks. Manufacturer Defendants, as a

   manufacturer of pharmaceutical medication, are held to the knowledge of an expert in the field.

          894.    Generic Manufacturer Defendants and Store-Brand Defendants had a continuing

   duty to provide appropriate and accurate instructions regarding the proper expiration and retest

   dates that were rooted in sufficient testing and based on real-world storage conditions.

          895.    At the time of manufacture and at other times before the ingestion of ranitidine,

   Generic Manufacturer Defendants and Store-Brand Defendants could have provided an expiration

   dating period for ranitidine that greatly reduced the shelf-life of the Ranitidine-Containing Product

   with time available to consume the product before higher NDMA levels were present.

   Manufacturer Defendants and Store-Brand Defendants knew or should have known of the


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   unreasonable risks of harm associated with the use of and/or exposure to ranitidine after months

   or years of degradation into NDMA.

          896.    At all relevant times, Defendants failed and deliberately refused to investigate,

   study, test, or promote the safety or to minimize the dangers to users and consumers of their

   products and to those who would foreseeably use or be harmed by Defendants’ Ranitidine-

   Containing Products.

          897.    Even though Defendants knew or should have known that ranitidine posed a grave

   risk of harm, they failed to exercise reasonable care to warn of the dangerous risks associated with

   use and exposure to Ranitidine-Containing Products. The dangerous propensities of Ranitidine-

   Containing Products and the carcinogenic characteristics of NDMA, as described above, were

   known to Defendants, or scientifically knowable to Defendants through appropriate research and

   testing by known methods, at the time they distributed, supplied or sold the product, but were not

   known to end users and consumers, such as Plaintiffs.

          898.    Defendants knew or should have known that Ranitidine-Containing Products

   created significant risks of serious bodily harm to consumers, as alleged herein, and Defendants

   failed to adequately warn or instruct consumers, i.e., the reasonably foreseeable users, and/or

   physicians of the risks of exposure to Ranitidine-Containing Products. Defendants failed to warn

   and have wrongfully concealed information concerning the dangerous level of NDMA in

   Ranitidine-Containing Products, and further, have made false and/or misleading statements

   concerning the safety of ranitidine.

          899.    At all relevant times, the Ranitidine-Containing Products were defective at the time

   they left the Defendants’ control. No extrinsic changes were made to alter the products Defendants

   manufactured and sold. The expiration dates Plaintiffs and their doctors observed were not


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   changed from when they left Defendants’ control.

          900.    Plaintiffs were exposed to Defendants’ Ranitidine-Containing Products without

   knowledge of their dangerous characteristics.

          901.    At all relevant times, Plaintiffs used and/or were exposed to the use of Defendants’

   Ranitidine-Containing Products while using them for their intended or reasonably foreseeable

   purposes, without knowledge of their dangerous characteristics.

          902.    Plaintiffs could not have reasonably discovered the defects and risks associated

   with Ranitidine-Containing Products prior to or at the time Plaintiffs consumed the drugs.

   Plaintiffs and their physicians relied upon the skill, superior knowledge, and judgment of

   Defendants to know about and disclose serious health risks associated with using Defendants’

   products.

          903.    Defendants knew or should have known that the expiration dating periods

   disseminated with their Ranitidine-Containing Products were inadequate because they were long

   enough for dangerous levels of NDMA to build up in ranitidine.

          904.    This alleged failure to warn is not limited to the information contained on the

   section of the Ranitidine-Containing Products’ label devoted to health warnings. Defendants were

   able, in accord with federal law, to comply with relevant state law by providing a short expiration

   dating period that would accurately warn consumers not to consume ranitidine after significant

   portions of it had progressively deteriorated into NDMA. But Defendants did not disclose these

   known risks through any medium.

          905.    Had Defendants provided adequate warnings and instructions and properly

   disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

   Plaintiffs could have avoided the risk of developing injuries and could have obtained or used


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   alternative medication. However, as a result of Defendants’ concealment of the dangers posed by

   their Ranitidine-Containing Products, Plaintiffs were not alerted, and so could not avert their

   injuries.

           906.   Defendants’ conduct, as described above, was reckless. Defendants risked the lives

   of consumers and users of their products, including Plaintiffs, with knowledge of the safety

   problems associated with Ranitidine-Containing Products, and suppressed this knowledge from

   the general public. Defendants made conscious decisions not to redesign, warn or inform the

   unsuspecting public. Defendants’ reckless conduct warrants an award of punitive damages.

   Defendants’ lack of adequate warnings and instructions accompanying their Ranitidine-

   Containing Products were a substantial factor in causing Plaintiffs’ injuries.

   C. ADDITIONAL ALLEGATIONS SPECIFIC TO PLAINTIFFS’ COUNTS FOR
      FAILURE TO WARN THROUGH FDA

           907.   At all relevant times, Brand Manufacturer Defendants designed, manufactured,

   tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold Ranitidine-

   Containing Products, which are defective and unreasonably dangerous to consumers, including

   Plaintiffs. These actions were under the ultimate control and supervision of Brand Manufacturer

   Defendants.

           908.   Brand Manufacturer Defendants designed, manufactured, tested, marketed, labeled,

   packaged, handled, distributed, stored, sold, and/or otherwise released into the stream of commerce

   their Ranitidine-Containing Products, and in the course of the same, directly marketed the products

   to consumers and end users, including Plaintiffs, and, therefore, had a duty to warn of the risks

   associated with the use of ranitidine.

           909.   At all relevant times, Generic Manufacturer Defendants manufactured, tested,



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   labeled, packaged, handled, distributed, stored, and/or sold Ranitidine-Containing Products, which

   are defective and unreasonably dangerous to consumers, including Plaintiffs. These actions were

   under the ultimate control and supervision of Generic Manufacturer Defendants.

          910.    Generic Manufacturer Defendants manufactured, tested, labeled, packaged,

   handled, distributed, stored, sold, and/or otherwise released into the stream of commerce their

   Ranitidine-Containing Products, and in the course of the same, knew and reasonably foresaw that

   their product would be substituted by custom or by law for a well-known product that was directly

   marketed to consumers and end users, including Plaintiffs. Generic Manufacturer Defendants

   therefore had a duty to warn of the risks associated with the use of ranitidine.

          911.    Manufacturer Defendants (both brand and generic) had a duty to warn Plaintiffs of

   dangers associated with ranitidine.

          912.    At the time of manufacture and at other times before the ingestion of ranitidine,

   Manufacturer Defendants could have provided the warnings or instructions regarding ranitidine’s

   risk of cancer because they knew or should have known of the unreasonable risks of harm

   associated with the use of and/or exposure to such products.

          913.    Manufacturer Defendants, as manufacturers and sellers of pharmaceutical

   medication, are held to the knowledge of an expert in the field.

          914.    At all relevant times, Manufacturer Defendants failed and deliberately refused to

   investigate, study, test, or promote the safety or to minimize the dangers to users and consumers

   of their products and to those who would foreseeably use or be harmed by Manufacturer

   Defendants’ Ranitidine-Containing Products.

          915.    Even though Manufacturer Defendants knew or should have known that ranitidine

   posed a grave risk of harm, they failed to exercise reasonable care to warn of the dangerous risks


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   associated with use and exposure to Ranitidine-Containing Products. The dangerous propensities

   of Ranitidine-Containing Products and the carcinogenic characteristics of NDMA, as described

   above, were known to Manufacturer Defendants, or scientifically knowable to Manufacturer

   Defendants through appropriate research and testing by known methods, at the time they

   distributed, supplied or sold the product, but were not known to end users and consumers, such as

   Plaintiffs.

           916.   At all relevant times, Manufacturer Defendants’ Ranitidine-Containing Products

   were expected to and did reach Plaintiffs without a substantial change in their anticipated or

   expected design as manufactured, tested, marketed, labeled, packaged, handled, distributed, stored,

   and/or sold by the Brand Manufacturer or Generic Manufacturer Defendants.

           917.   Plaintiffs were exposed to Manufacturer Defendants’ Ranitidine-Containing

   Products without knowledge of their dangerous characteristics.            Plaintiffs could not have

   reasonably discovered the defects and risks associated with Ranitidine-Containing Products prior

   to or at the time Plaintiffs consumed the drugs. Plaintiffs and their physicians relied upon the skill,

   superior knowledge, and judgment of Manufacturer Defendants to know about and disclose serious

   health risks associated with using Manufacturer Defendants’ products.

           918.   At all relevant times, Plaintiffs used and/or were exposed to the use of Manufacturer

   Defendants’ Ranitidine-Containing Products while using them for their intended or reasonably

   foreseeable purposes, without knowledge of their dangerous characteristics.

           919.   Manufacturer Defendants knew or should have known that the minimal warnings

   disseminated with their Ranitidine-Containing Products were inadequate, failed to communicate

   adequate information on the dangers and safe use/exposure, and failed to communicate warnings

   and instructions that were appropriate and adequate to render the products safe for their ordinary,


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   intended and reasonably foreseeable uses.

          920.    The information that Manufacturer Defendants did provide or communicate failed

   to contain relevant warnings, expiration dates, hazards, and precautions that would have enabled

   consumers such as Plaintiffs to avoid using the drug.         Instead, Manufacturer Defendants

   disseminated information that was inaccurate, false, and misleading, and which failed to

   communicate accurately or adequately the comparative severity, duration, and extent of the risk of

   injuries with use of and/or exposure to ranitidine; continued to aggressively promote the efficacy

   of Ranitidine-Containing Products, even after they knew or should have known of the

   unreasonable risks from use or exposure; and concealed, downplayed, or otherwise suppressed,

   through aggressive marketing and promotion, any information or research about the risks and

   dangers of ingesting ranitidine.

          921.    This alleged failure to warn is not limited to the information contained on

   Ranitidine-Containing Products’ labeling. Manufacturer Defendants were able, in accord with

   federal law, to comply with relevant state law by disclosing the known risks associated with

   ranitidine to the FDA.

          922.    Both Brand Manufacturer Defendants and Generic Manufacturer Defendants are

   required under federal law to submit adverse event reports. See 21 C.F.R. §314.80. These

   requirements place an affirmative obligation on manufacturers to seek out information about their

   products. Every manufacturer “must promptly review all adverse drug experience information

   obtained or otherwise received by the applicant from any source, foreign or domestic, including

   information derived from commercial marketing experience, postmarketing clinical investigations,

   postmarketing epidemiological/surveillance studies, reports in the scientific literature, and

   unpublished scientific papers. … Any person subject to the reporting requirements under


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   paragraph (c) of this section must also develop written procedures for the surveillance, receipt,

   evaluation, and reporting of postmarketing adverse drug experiences to FDA.”             21 C.F.R.

   §314.80(b). Each Manufacturer Defendant systematically failed to submit adverse event reports

   about the cancer risks of ranitidine. Each Manufacturer Defendant failed to put in place procedures

   ensuring full compliance with their reporting obligations.

          923.    According to the FDA’s Adverse Events Reporting System (FAERS) with data up

   to September 2020, 59% of all-time adverse events for branded and generic ranitidine were filed

   in 2020. Before 2019, the volume of adverse events reported for Ranitidine-Containing Products

   that mentioned cancer as a reaction was insignificant.

          924.    Both Brand Manufacturer Defendants and Generic Manufacturer Defendants also

   may, consistent with federal law, inform the FDA of new analyses of data, newly revealed risks,

   new testing, or other information about their drugs.

          925.    Upon information and belief, at all relevant times, Manufacturer Defendants failed

   to adhere to their pharmacovigilance obligations to collect, analyze, and report adverse events to

   consumers and physicians through the FDA.

          926.    Manufacturer Defendants, by failing to adequately warn of the risk of NDMA,

   failed to provide physicians and consumers (like Plaintiffs) with sufficient information for them to

   know enough to report adverse events when they occurred.

          927.    The failure by the Manufacturer Defendants to sufficiently report adverse events to

   the FDA prevented physicians and researchers from having access to accurate information about

   the true risks of Zantac and ranitidine.

          928.    Physicians can and did conduct studies about the risks of Zantac and ranitidine

   based upon the data available through the FAERS. Had the Manufacturer Defendants adequately


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   warned the FDA by putting in place sufficient pharmacovigilance programs and adequate

   warnings, physicians conducting studies would have been able to better ascertain, report, and

   publish literature on the true risks associated with ingesting Zantac and ranitidine.

          929.    Nonetheless, Defendants failed to inform the FDA of the risks of ranitidine

   breaking down into carcinogenic NDMA.

          930.    When the FDA was told of the risks of ranitidine in 2019, it promptly posted notices

   on its website, investigated the issue, and ordered a recall. The broader medical community

   became aware of, and reacted to, the cancer risks of ranitidine.

          931.    Had Manufacturer Defendants submitted adverse event reports concerning

   ranitidine’s cancer risks or otherwise informed the FDA of those risks years earlier, the FDA would

   have acted similarly by publicizing and investigating the concerns, and, ultimately, ordering a

   recall. The medical community would also have been promptly aware of the risks. Plaintiffs’

   doctors would not have prescribed ranitidine in light of those risks and the availability of safe

   substitutes. Similarly, Plaintiffs would not have purchased and ingested ranitidine.

          932.    Had Manufacturer Defendants submitted adverse event reports concerning

   ranitidine’s cancer risks or otherwise informed the FDA of those risks years earlier, Plaintiffs could

   have avoided the risk of developing injuries and could have obtained or used alternative

   medication.

          933.    However, as a result of Manufacturer Defendants’ concealment of the dangers

   posed by their Ranitidine-Containing Products, Plaintiffs could not have averted their injuries.

          934.    Manufacturer Defendants’ conduct, as described above, was reckless.

   Manufacturer Defendants risked the lives of consumers and users of their products, including

   Plaintiffs, with knowledge of the safety problems associated with Ranitidine-Containing Products,


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   and suppressed this knowledge from the general public and the FDA.

           935.   Manufacturer Defendants made conscious decisions not to warn or inform the

   unsuspecting public or FDA, though they could have done so. Manufacturer Defendants’ reckless

   conduct warrants an award of punitive damages.

           936.   Manufacturer Defendants’ failure to provide adequate warnings and instructions

   accompanying their Ranitidine-Containing Products were a substantial factor in causing Plaintiffs’

   injuries.

   D. ADDITIONAL ALLEGATIONS SPECIFIC TO PLAINTIFFS’ COUNTS
      REGARDING NEGLIGENT PRODUCT CONTAINERS

           937.   As alleged above, each Manufacturer Defendant and Store-Brand Defendant was

   required to conduct stability testing, which was required to take the container into account.

           938.   As previously alleged, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

           939.   Defendants knew or should have known that ranitidine had an inherent risk of

   degrading into NDMA because it has both a nitroso (N) and dimethylamine (DMA), which are all

   the ingredients needed to form NDMA.

           940.   The Ranitidine-Containing Products Plaintiffs consumed had excessive levels of

   NDMA in part because they were subjected to high levels of humidity and were stored for a long

   period of time (often in humid locations such as bathrooms).

           941.   A substantial factor in NDMA formation was the container system manufacturers

   chose. Pill bottles with large numbers of units of ranitidine are likely to be stored for long periods

   by consumers after the seal is broken. This exposes the remaining units to humidity over time,

   which produces NDMA.



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          942.     A different container would have reduced the amount of NDMA Plaintiffs

   consumed in several ways:

                     (a) Placing each unit of ranitidine in a blister pack or similar individually
                         packaged container would ensure humidity control until the consumer used
                         each unit.

                     (b) Reducing the number of units of ranitidine in each bottle to a low number
                         would ensure the unused units were subject to humidity for only a shorter
                         time period, since consumers would purchase new bottles more frequently.

          943.     Each Manufacturer Defendant and Store-Brand Defendant could have unilaterally

   changed the container system it sold. FDA guidance specifically allows changing the number of

   units in a non-sterile drug under its Changes Being Effected regulation. See FDA, Guidance for

   Industry, Changes to an Approved NDA or ANDA, Revision 1, at 21 (Apr. 2004),

   https://www.fda.gov/media/71846/download (“A change in the number of units (e.g., tablets,

   capsules) or labeled amount (e.g., grams, milliliters) of a nonsterile drug product in a unit-of-use

   container.”).

          944.     FDA guidance also would treat changing to a unit-dose container such as a blister-

   pack to be a moderate change that could be implemented through the Changes Being Effected

   regulation. See id. at 20–21 (only requiring pre-approval for sterile drug products, when moving

   from unit dose containers to multiple dose containers, rather than non-sterile drug products moving

   to unit dose containers).

          945.     Generic Manufacturer Defendants and Store-Brand Defendants were not required

   to put their generic ranitidine in the same containers as the branded product, because the duty of

   sameness does not apply to containers.

          946.     It applies only to the drug label. See 21 C.F.R. §314.94(a)(8)(iv) (“Labeling

   (including the container label, package insert, and, if applicable, Medication Guide) proposed for


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   the drug product must be the same as the labeling approved for the reference listed drug ….”).

          947.    A reasonably prudent manufacturer would have changed the containers for

   Ranitidine-Containing Products to protect the products from humidity and reduce the time between

   manufacture and consumption, both of which would reduce the amount of NDMA produced.

          948.    Instead, the Store-Brand Defendants sold their Store-BRandedr ranitidine products

   in large containers. By way of example, Walmart sold its Equate ranitidine product in bottles with

   as many as 220 tablets. Similarly, Walgreens sold its Wal-Zan ranitidine products in bottles with

   as many as 200 tablets. CVS also sold its ranitidine products, called CVS Health, in bottles with

   as many as 200 tablets.

          949.    Defendants’ negligence was a substantial factor in causing Plaintiffs’ injuries.

          950.    Defendants’ conduct, as described above, was reckless. Defendants regularly

   risked the lives of consumers and users of their products, including Plaintiffs, with full knowledge

   of the dangers of their products. Defendants have made conscious decisions not to change the

   containers for their Ranitidine-Containing Products.

   E. ADDITIONAL ALLEGATIONS SPECIFIC TO PLAINTIFFS’ COUNTS FOR
      NEGLIGENT STORAGE AND TRANSPORTATION

          951.    As alleged above, ranitidine degrades into NDMA more quickly at higher

   temperatures, at higher humidity levels, and under other poor storage or handling conditions.

          952.    Brand Manufacturer Defendants, Generic Manufacturer Defendants and Store-

   Brand Defendants are well aware of the need to maintain sensitive pharmaceutical drugs under

   proper shipping and storage conditions, and that maintaining the highest safety techniques is best

   for the consumer. Brand Manufacturer Defendants and Generic Manufacturer Defendants are and

   were well aware of the importance of precise temperature control down to the degree as well as



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   the importance of precise humidity control. More precise, colder transportation is, of course, more

   expensive than less precise, warmer transportation.

          953.    The temperature and humidity specifications placed on Ranitidine-Containing

   Products also affect the stability of Ranitidine-Containing Products.

          954.    NDMA forms due to chemical reactions in the human body, and degradation before

   consumption (principally heat, humidity, or time). Testing is performed before consumption and

   the age of the ranitidine is documented, so neither time nor degradation in the body should produce

   substantial variation. The best inference must be that substantial variation in heat and humidity is

   causing differing amounts of NDMA to form.

          955.    Defendants are aware that Ranitidine is highly sensitive to humidity and moisture.

   Ranitidine that is subjected to humidity and/or moisture, degrades quickly and forms excessive

   amount of NDMA.

          956.    Defendants must account for these heat and humidity conditions and specifications

   in order to set proper shipping, storage and handling policies as well as accurate retest and

   expiration dates.

          957.    Testing of the quantity of NDMA in ranitidine performed to date has shown

   substantial variation among different batches. Some ranitidine has much more NDMA when

   tested, and some has less.

          958.    Defendants admit that substantial variation exists in NDMA levels in their

   Ranitidine-Containing Products, and that levels increase over time but more so when subjected to

   heat and humidity.

          959.    Different Ranitidine-Containing Products listed slightly different storage and

   transportation requirements, but a common label requirement was “store at 20°C to 25°C (68°F to


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   77°F)” and “avoid excessive heat or humidity.”

           960.        Manufacturer Defendants and Store-Brand Defendants transport finished drug

   product from their facilities to distributor warehouses, as well as storing finished drug products in

   their facilities.

           961.        Some Brand Manufacturer Defendants and Generic Manufacturer Defendants also

   purchase API, which they store at their facilities. Their agreements with API manufacturers

   govern how API is transported to them. The storage and transportation conditions of API is not

   dictated by the label for finished Ranitidine-Containing Products and may differ.

           962.        Upon information and belief, Manufacturer Defendants and Store-Brand

   Defendants systematically caused Ranitidine-Containing Products to be exposed to excessive

   levels of heat and/or humidity during manufacture, storage, shipping and handling that violated

   the instructions on the finished products’ labels and caused ranitidine to degrade more quickly

   thereby increasing the levels of NDMA in the product.

           963.        Based upon the documents produced by Defendants and based upon further

   information and belief, the Manufacturer Defendants and Store-Brand Defendants failed to ensure

   that their finished Ranitidine-Containing Products were stored and transported safely and were not

   exposed to excessive heat and humidity.

           964.        Based upon the documents produced by Defendants and based upon further

   information and belief, the Manufacturer Defendants and Store-Brand Defendants failed to ensure

   that API they stored, transported, or over which they could control storage or transportation, were

   not exposed to excessive heat and humidity.

           965.        Upon information and belief, Defendants failed to implement rigorous policies to

   ensure substantial compliance with the heat and/or humidity requirements on product labels. This


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   failure led to widespread noncompliance.

            966.   For example, Manufacturer Defendants shipped Ranitidine-Containing Products

   through the mail. This method of transportation – whether through the United States Postal Service

   or large common carriers such as FedEx and UPS – does not guarantee controlled temperature or

   humidity. Because of Manufacturer Defendants’ and Store-Brand Defendants’ choice to allow

   this method of transportation, Ranitidine-Containing Products shipped through the mail were

   systematically subject to excessive heat or humidity on days when the weather was hot or humid.

   In addition, Manufacturer Defendants and Store-Brand Defendants failed to properly monitor

   temperature and/or humidity levels during storage and transport.

            967.   Based upon the documents produced by Defendants and based upon further

   information and belief, the Manufacturer Defendants and Store-Brand Defendants failed to ensure

   that their Ranitidine-Containing Products (in both API and finished dose form) were stored and

   transported safely and were not exposed to excessive heat and humidity and systematically

   exposed ranitidine to excessive levels of heat and humidity that violated the instructions on the

   products’ labels.

            968.   Defendants, directly or indirectly, transported, stored, handled, and/or sold

   Ranitidine-Containing Products that were used by Plaintiffs.

            969.   At all relevant times, Manufacturer Defendants and Store-Brand Defendants had a

   duty to exercise reasonable care in the storage and transportation of ranitidine API and Ranitidine-

   Containing Products to ensure the products were not unreasonably dangerous to consumers and

   users.

            970.   At all relevant times, Manufacturer Defendants and Store-Brand Defendants knew

   or should have known of the need for storing and transporting finished Ranitidine-Containing


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   Products within the labeled temperature range and at low humidity, and for storing and transporting

   Ranitidine-Containing Products and ranitidine API at a reasonable, low temperature that would

   prevent degradation, and at low humidity.

           971.    Manufacturer Defendants and Store-Brand Defendants ignored this risk. They did

   not ensure ranitidine API and Ranitidine-Containing Products were stored at low humidity or

   within the temperature range on the label. Instead, ranitidine API and Ranitidine-Containing

   Products were subjected to excessive humidity and/or heat during transportation and shipping

   which caused the drug to degrade leading to the formation of excessive levels of NDMA.

           972.    Ignoring the risks of degradation and NDMA forming was unreasonable and

   reckless.

           973.    Plaintiffs did not know the nature and extent of the injuries that could result from

   the intended use of and/or exposure to Ranitidine-Containing Products.

           974.    Defendants’ negligence was a substantial factor in causing Plaintiffs’ injuries.

     VI.       PLAINTIFFS’ USE OF RANITIDINE-CONTAINING PRODUCTS

           975.    Plaintiffs ingested Ranitidine-Containing Products at various times as part of their

   treatment for gastric ulcers, heartburn, acid indigestion, sour stomach, and other gastrointestinal

   conditions.

           976.    Plaintiffs used Ranitidine-Containing Products designed, manufactured, tested,

   marketed, labeled, packaged, handled, distributed, stored, and/or sold by Defendants. Those

   products, unbeknownst to Plaintiffs, transformed into dangerous levels of NDMA.

           977.    Based on prevailing scientific evidence, exposure to NDMA caused by consuming

   Defendants’ Ranitidine-Containing Products causes cancer in humans, including serious and

   potentially fatal Subject Cancers.


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          978.    As a direct and proximate result of Defendants’ unlawful conduct alleged herein,

   Plaintiffs and the Class members have sustained a significantly increased risk of developing the

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          979.    The latent injuries from which Plaintiffs the Class members suffer require

   specialized testing (with resultant treatment) that is not generally given to the public at large. The

   available monitoring regime is specific for individuals exposed to products known to significantly

   increase the risk of the Subject Cancers because of ingesting Ranitidine-Containing Products and

   is different from that normally recommended in the absence of exposure to this risk of harm.

          980.    The medical monitoring regime should include, but is not limited to, baseline tests

   and periodic diagnostic examinations that will assist in early detection and diagnosing the Subject

   Cancers. This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          981.    The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          982.    By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Class members

   will suffer long-term injuries, disease, and losses without adequate treatment will be significantly

   reduced.

          983.    Plaintiffs’ prescribing physicians would not have prescribed and/or recommended

   Ranitidine-Containing Products to Plaintiffs, would have changed the way in which they treated

   Plaintiffs’ relevant conditions, changed the way they warned Plaintiffs about the signs and

   symptoms of serious adverse effects of Ranitidine-Containing Products, and discussed with


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   Plaintiffs the true risks of cancer, had Manufacturer Defendants provided said physicians with an

   appropriate and adequate warning regarding the risks associated with the use of Ranitidine-

   Containing Products.

             984.   Upon information and belief, Plaintiffs’ physicians were unaware of the increased

   risk of multiple types of cancer associated with the use of Ranitidine-Containing Products due to

   ranitidine’s transformation into NDMA and, if they had been informed, would have used and

   prescribed alternative therapies to Plaintiffs.

             985.   Plaintiffs would not have used Ranitidine-Containing Products had Plaintiffs

   known of or been fully and adequately informed by Defendants of the true increased risks and

   serious dangers of taking the drugs.

                VII.    TOLLING / FRAUDULENT CONCEALMENT

             986.   Plaintiffs assert all applicable statutory and common law rights and theories related

   to the tolling or extension of any applicable statute of limitations, including equitable tolling,

   delayed discovery, discovery rule, and/or fraudulent concealment.

             987.   The discovery rule applies to toll the running of the statute of limitations until

   Plaintiffs knew, or through the exercise of reasonable care and diligence should have known, of

   facts that Plaintiffs had been injured, the cause of the injury, and the tortious nature of the

   wrongdoing that caused the injury.

             988.   The nature of Plaintiffs’ injuries, damages, or their causal relationship to

   Defendants’ conduct was not discovered, and through reasonable care and due diligence could not

   have been discovered until a date within the applicable statute of limitations for filing Plaintiffs’

   claims.

             989.   Plaintiffs bring this medical monitoring complaint within the applicable statute of


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   limitations. Specifically, Plaintiffs bring this action within the prescribed time limits following

   Plaintiffs’ awareness of their risk of injury and Plaintiffs’ knowledge of the wrongful cause. Prior

   to such time, Plaintiffs did not know and had no reason to know of their injuries and/or the

   wrongful cause of those injuries.

          990.    The running of the statute of limitations is tolled due to equitable tolling.

   Defendants are estopped from relying on any statutes of limitation or repose by virtue of their acts

   of fraudulent concealment, through affirmative misrepresentations and omissions to Plaintiffs and

   defects associated with Ranitidine-Containing Products as they transform into NDMA.

   Defendants affirmatively withheld and/or misrepresented facts concerning the safety of ranitidine.

   As a result of Defendants’ misrepresentations and concealment, Plaintiffs and Plaintiffs’

   physicians were unaware, and could not have known or have learned through reasonable diligence,

   of facts related to Defendants’ misrepresentations or omissions, that Plaintiffs had been exposed

   to the risks alleged herein, or that those risks were the direct and proximate result of the wrongful

   acts and/or omissions of Defendants.

          991.    Given Defendants’ affirmative actions of concealment by failing to disclose this

   known but non-public information about the defects – information over which Defendants had

   exclusive control – and because Plaintiffs could not reasonably have known that Defendants’

   Ranitidine-Containing Products were defective, Defendants are estopped from relying on any

   statutes of limitations or repose that might otherwise be applicable to the claims asserted herein.

                          VIII.     CLASS ALLEGATIONS

   A. CLASS DEFINITIONS

          992.    Plaintiffs bring this action in their individual capacities and on behalf of their

   respective State Classes (described below), pursuant to Federal Rules of Civil Procedure 23(a),


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   (b)(2)-(3), and/or (c)(4).

       1. Brand Manufacturer Prescription Medical Monitoring Class

                                                GSK

           993.    Plaintiffs identified in the table below bring claims against Defendant GSK on

   behalf of themselves and their respective State GSK Prescription Medical Monitoring Class, each

   of which is defined as “All individuals who used GSK’s prescription Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:

              Plaintiff Name                               State of Usage

              Golbenaz Bakhtiar                            CA
              Jeffrey Pisano                               CO
              Michael Galloway                             FL
              Alexander Monger                             FL
              Laura Monger                                 FL
              Michael Tomlinson                            FL
              Teresa Dowler                                IN
              Alberta Griffin                              MD
              Ronda Lockett                                MO
              Michael Galloway                             OH
              Felicia Ball                                 PA

       2. Brand Manufacturer OTC Medical Monitoring Classes

                                                GSK

           994.    Plaintiffs identified in the table below bring claims against Defendant GSK on

   behalf of themselves and their respective State GSK OTC Medical Monitoring Class, each of

   which is defined as “All individuals who used GSK’s OTC Ranitidine-Containing Products while

   a resident of [State] and have not been diagnosed with a Subject Cancer”:



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             Plaintiff Name                                State of Usage

             Richard Obrien                                CA
             Jeffrey Pisano                                CO
             Michael Galloway                              FL
             Ricardo Moròn                                 FL
             Ronald Ragis                                  FL
             Charles Longfield                             MD
             Ronda Lockett                                 MO
             Jonathan Ferguson                             NV

                                                Pfizer

          995.   Plaintiffs identified in the table below bring claims against Defendant Pfizer on

   behalf of themselves and their respective State Pfizer OTC Medical Monitoring Class, each of

   which is defined as “All individuals who used Pfizer’s OTC Ranitidine-Containing Products while

   a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                  State of Usage

            Golbenaz Bakhtiar                               CA
            Richard Obrien                                  CA
            Virginia Aragon                                 CA
            Jeffrey Pisano                                  CO
            Gustavo Velasquez                               FL
            Joshua Winans                                   FL
            Ricardo Moròn                                   FL
            Ronald Ragis                                    FL
            Alberta Griffin                                 MD
            Ida Adams                                       MD; WV
            Charles Longfield                               MD



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            Ronda Lockett                                    MO
            Jonathan Ferguson                                NV
            Chris Troyan                                     OH
            Michael Galloway                                 FL; OH

                                                  BI

          996.   Plaintiffs identified in the table below bring claims against Defendant BI on behalf

   of themselves and their respective State BI OTC Medical Monitoring Class, each of which is

   defined as “All individuals who used BI’s OTC Ranitidine-Containing Products while a resident

   of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                   State of Usage

            Tangie Sims                                      AZ
            Golbenaz Bakhtiar                                CA
            Richard Obrien                                   CA
            Virginia Aragon                                  CA
            Jonathan Ferguson                                CA
            Jeffrey Pisano                                   CO
            Ronald Ragan                                     CO
            Clifton McKinnon                                 FL
            Gustavo Velasquez                                FL
            Jeannie Black                                    FL
            Joshua Winans                                    FL
            Marva Mccall                                     FL
            Michael Tomlinson                                FL
            Ricardo Moròn                                    FL
            Sharon Tweg                                      FL
            Ronald Ragis                                     FL
            Rebecca Sizemore                                 IN


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            Teresa Dowler                                   IN
            Tracy Wells                                     IN
            Charles Longfield                               MD
            Alberta Griffin                                 MD
            Ida Adams                                       MD; WV
            Antrenise Campbell                              MO
            Lorie Kendall-Songer                            MO
            Angel Vega                                      MT
            Cesar Pinon                                     NV
            Chris Troyan                                    OH
            Michael Galloway                                OH
            Patricia Hess                                   OH
            Teresa Waters                                   UT


                                                Sanofi

          997.   Plaintiffs identified in the table below bring claims against Defendant Sanofi on

   behalf of themselves and their respective State Sanofi OTC Medical Monitoring Class, each of

   which is defined as “All individuals who used Sanofi’s OTC Ranitidine-Containing Products while

   a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                  State of Usage

            Tangie Sims                                     AZ
            Golbenaz Bakhtiar                               CA
            Richard Obrien                                  CA
            Virginia Aragon                                 CA
            Jeffrey Pisano                                  CO
            Ronald Ragan                                    CO
            Gustavo Velasquez                               FL
            Jeannie Black                                   FL


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            Joshua Winans                                  FL
            Michael Tomlinson                              FL
            Ricardo Moròn                                  FL
            Sharon Tweg                                    FL
            Sonia Diaz                                     FL
            Rebecca Sizemore                               IN
            Teresa Dowler                                  IN
            Tracy Wells                                    IN
            Alberta Griffin                                MD
            Ida Adams                                      MD
            Lorie Kendall-Songer                           MO
            Chris Troyan                                   OH
            Michael Galloway                               OH
            Teresa Waters                                  UT


      3. Generic Prescription Medical Monitoring Classes

                                               Amneal

          998.   Plaintiffs identified in the table below bring claims against Defendant Amneal on

   behalf of themselves and their respective State Amneal Prescription Medical Monitoring Class,

   each of which is defined as “All individuals who used Amneal’s OTC Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                 State of Usage

            Armando Tapia                                  AZ
            Golbenaz Bakhtiar                              CA
            Royal Handy                                    CA
            Virginia Aragon                                CA
            Kevin Nelson                                   DC
            Ana Pereira                                    FL


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            Clifton McKinnon                               FL
            Daniel Taylor                                  FL
            Hattie Kelley                                  FL
            Irma Arcaya                                    FL
            Joyce Taylor                                   FL
            Alexander Monger                               FL
            Laura Monger                                   FL
            Michael Fesser                                 FL
            Michael Tomlinson                              FL
            Sonia Diaz                                     FL
            Karen Foster                                   FL
            Rebecca Sizemore                               IN
            Teresa Dowler                                  IN
            Timberly Goble                                 IN
            Alberta Griffin                                MD
            Darlene Whittington-Coates                     MD
            Brenda Newcomb                                 MO
            Cynthia Gibbs                                  MO
            Elaine Aaron                                   MO
            Michael Galloway                               OH; FL
            Patricia Hess                                  OH
            Felicia Ball                                   PA
            Joyce Guerrieri                                PA
            Teresa Waters                                  UT
            Mynetta Hastings                               WV


                                            Dr. Reddy’s

          999.   Plaintiffs identified in the table below bring claims against Defendant Dr. Reddy’s

   on behalf of themselves and their respective State Dr. Reddy’s Prescription Medical Monitoring



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   Class, each of which is defined as “All individuals who used Dr. Reddy’s prescription Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                                State of Usage

              Armando Tapia                                 AZ
              Golbenaz Bakhtiar                             CA
              Royal Handy                                   CA
              Virginia Aragon                               CA
              Kevin Nelson                                  DC
              Ana Pereira                                   FL
              Clifton McKinnon                              FL
              Daniel Taylor                                 FL
              Hattie Kelley                                 FL
              Irma Arcaya                                   FL
              Jeannie Black                                 FL
              Joyce Taylor                                  FL
              Marva Mccall                                  FL
              Michael Fesser                                FL
              Michael Tomlinson                             FL
              Sonia Diaz                                    FL
              Karen Foster                                  FL
              Rebecca Sizemore                              IN
              Teresa Dowler                                 IN
              Tracy Wells                                   IN
              Timberly Goble                                IN
              Alberta Griffin                               MD
              Darlene Whittington-Coates                    MD
              Antrenise Campbell                            MO



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              Brenda Newcomb                               MO
              Cynthia Gibbs                                MO
              Elaine Aaron                                 MO
              Michael Galloway                             OH
              Patricia Hess                                OH
              Felicia Ball                                 PA
              Joyce Guerrieri                              PA
              Teresa Waters                                UT
              Mynetta Hastings                             WV


                                             Glenmark

          1000. Plaintiffs identified in the table below bring claims against Defendant Glenmark on

   behalf of themselves and their respective State Glenmark Prescription Medical Monitoring Class,

   each of which is defined as “All individuals who used Glenmark’s prescription Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                               State of Usage

              Armando Tapia                                AZ
              Golbenaz Bakhtiar                            CA
              Royal Handy                                  CA
              Virginia Aragon                              CA
              Kevin Nelson                                 DC
              Ana Pereira                                  FL
              Clifton McKinnon                             FL
              Daniel Taylor                                FL
              Hattie Kelley                                FL
              Irma Arcaya                                  FL
              Jeannie Black                                FL


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            Joyce Taylor                                    FL
            Marva Mccall                                    FL
            Michael Fesser                                  FL
            Michael Tomlinson                               FL
            Sonia Diaz                                      FL
            Karen Foster                                    FL
            Rebecca Sizemore                                IN
            Teresa Dowler                                   IN
            Tracy Wells                                     IN
            Timberly Goble                                  IN
            Alberta Griffin                                 MD
            Darlene Whittington-Coates                      MD
            Brenda Newcomb                                  MO
            Cynthia Gibbs                                   MO
            Elaine Aaron                                    MO
            Michael Galloway                                OH
            Patricia Hess                                   OH
            Felicia Ball                                    PA
            Joyce Guerrieri                                 PA
            Teresa Waters                                   UT
            Mynetta Hastings                                WV

                                               Sandoz

          1001. Plaintiffs identified in the table below bring claims against Defendant Sandoz on

   behalf of themselves and their respective State Sandoz Prescription Medical Monitoring Class,

   each of which is defined as “All individuals who used Sandoz’s prescription Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:




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          Plaintiff Name                       State of Usage

          Armando Tapia                        AZ
          Golbenaz Bakhtiar                    CA
          Royal Handy                          CA
          Virginia Aragon                      CA
          Jeffrey Pisano                       CO
          Kevin Nelson                         DC
          Ana Pereira                          FL
          Clifton McKinnon                     FL
          Daniel Taylor                        FL
          Hattie Kelley                        FL
          Irma Arcaya                          FL
          Jeannie Black                        FL
          Joyce Taylor                         FL
          Marva Mccall                         FL
          Michael Fesser                       FL
          Michael Tomlinson                    FL
          Sonia Diaz                           FL
          Karen Foster                         FL
          Rebecca Sizemore                     IN
          Teresa Dowler                        IN
          Tracy Wells                          IN
          Timberly Goble                       IN
          Alberta Griffin                      MD
          Darlene Whittington-Coates           MD
          Antrenise Campbell                   MO
          Brenda Newcomb                       MO
          Cynthia Gibbs                        MO
          Elaine Aaron                         MO



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            Michael Galloway                                OH; FL
            Patricia Hess                                   OH
            Felicia Ball                                    PA
            Joyce Guerrieri                                 PA
            Teresa Waters                                   UT
            Mynetta Hastings                                WV

                                               Strides

          1002. Plaintiffs identified in the table below bring claims against Defendant Strides on

   behalf of themselves and their respective State Strides Prescription Medical Monitoring Class,

   each of which is defined as “All individuals who used Strides’ prescription Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                  State of Usage

            Armando Tapia                                   AZ
            Golbenaz Bakhtiar                               CA
            Royal Handy                                     CA
            Virginia Aragon                                 CA
            Kevin Nelson                                    DC
            Ana Pereira                                     FL
            Clifton McKinnon                                FL
            Daniel Taylor                                   FL
            Hattie Kelley                                   FL
            Irma Arcaya                                     FL
            Jeannie Black                                   FL
            Joyce Taylor                                    FL
            Marva Mccall                                    FL
            Michael Fesser                                  FL
            Michael Tomlinson                               FL


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            Plaintiff Name                                 State of Usage

            Sonia Diaz                                     FL
            Karen Foster                                   FL
            Rebecca Sizemore                               IN
            Teresa Dowler                                  IN
            Tracy Wells                                    IN
            Timberly Goble                                 IN
            Alberta Griffin                                MD
            Darlene Whittington-Coates                     MD
            Brenda Newcomb                                 MO
            Cynthia Gibbs                                  MO
            Elaine Aaron                                   MO
            Michael Galloway                               OH
            Patricia Hess                                  OH
            Felicia Ball                                   PA
            Joyce Guerrieri                                PA
            Teresa Waters                                  UT
            Mynetta Hastings                               WV


                                                Teva

          1003. Plaintiffs identified in the table below bring claims against Defendant Teva on

   behalf of themselves and their respective State Teva Prescription Medical Monitoring Class, each

   of which is defined as “All individuals who used Teva’s prescription Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                 State of Usage

            Armando Tapia                                  AZ
            Golbenaz Bakhtiar                              CA
            Royal Handy                                    CA


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          Plaintiff Name                       State of Usage

          Virginia Aragon                      CA
          Jeffrey Pisano                       CO
          Clifton McKinnon                     FL
          Daniel Taylor                        FL
          Hattie Kelley                        FL
          Irma Arcaya                          FL
          Joyce Taylor                         FL
          Alexander Monger                     FL
          Laura Monger                         FL
          Marva Mccall                         FL
          Michael Fesser                       FL
          Michael Tomlinson                    FL
          Karen Foster                         FL
          Rebecca Sizemore                     IN
          Tracy Wells                          IN
          Timberly Goble                       IN
          Alberta Griffin                      MD
          Antrenise Campbell                   MO
          Brenda Newcomb                       MO
          Cynthia Gibbs                        MO
          Elaine Aaron                         MO
          Michael Galloway                     OH; FL
          Patricia Hess                        OH
          Felicia Ball                         PA
          Joyce Guerrieri                      PA
          Mynetta Hastings                     WV




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      4. Store-Brand Medical Monitoring Classes

                                                CVS

          1004. Plaintiffs identified in the table below bring claims against Defendant CVS on

   behalf of themselves and their respective State CVS Medical Monitoring Class, each of which is

   defined as “All individuals who used CVS Health-branded Ranitidine-Containing Products while

   a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                  State of Usage

            Richard Obrien                                  CA
            Rebecca Sizemore                                IN
            Chris Troyan                                    OH
            Patricia Hess                                   OH
            Mynetta Hastings                                WV

                                              Rite Aid

          1005. Plaintiffs identified in the table below bring claims against Defendant Rite Aid on

   behalf of themselves and their respective State Rite Aid Medical Monitoring Class, each of which

   is defined as “All individuals who used Rite Aid-branded Ranitidine-Containing Products while a

   resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                  State of Usage
            Golbenaz Bakhtiar                               CA

            Richard Obrien                                  CA

                                             Walgreens

          1006. Plaintiffs identified in the table below bring claims against Defendant Walgreens

   on behalf of themselves and their respective State Walgreens Medical Monitoring Class, each of

   which is defined as “All individuals who used Wal-Zan-branded Ranitidine-Containing Products


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   while a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                  State of Usage

            Tangie Sims                                     AZ

            Golbenaz Bakhtiar                               CA
            Jonathan Ferguson                               CA
            Jeffrey Pisano                                  CO
            Ronald Ragan                                    CO
            Ronald Ragis                                    FL

                                              Walmart

          1007. Plaintiffs identified in the table below bring claims against Defendant Walmart on

   behalf of themselves and their respective State Walmart Medical Monitoring Class, each of which

   is defined as “All individuals who used Equate-branded Ranitidine-Containing Products while a

   resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                  State of Usage

            Tangie Sims                                     AZ

            Jonathan Ferguson                               CA
            Jeffrey Pisano                                  CO
            Ronald Ragan                                    CO
            Michael Tomlinson                               FL
            Mynetta Hastings                                WV

      5. Store-Brand Manufacturer Medical Monitoring Classes

                                               Apotex

          1008. Plaintiffs identified in the table below bring claims against Defendant Apotex on

   behalf of themselves and their respective State Apotex Rite Aid Medical Monitoring Class, each

   of which is defined as “All individuals who used Apotex’s Rite Aid-branded Ranitidine-

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   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                                State of Usage

              Golbenaz Bakhtiar                             CA
              Richard Obrien                                CA

          1009. Plaintiffs identified in the table below bring claims against Defendant Apotex on

   behalf of themselves and their respective State Apotex Wal-Zan Medical Monitoring Class, each

   of which is defined as “All individuals who used Apotex’s Wal-Zan-branded Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                                State of Usage

              Tangie Sims                                   AZ
              Golbenaz Bakhtiar                             CA
              Jeffrey Pisano                                CO
              Ronald Ragan                                  CO
              Ronald Ragis                                  FL

          1010. Plaintiffs identified in the table below bring claims against Defendant Apotex on

   behalf of themselves and their respective State Apotex Equate Medical Monitoring Class, each of

   which is defined as “All individuals who used Apotex’s Equate Ranitidine-Containing Products

   while a resident of [State] and have not been diagnosed with a Subject Cancer”:

              Plaintiff Name                                State of Usage

              Tangie Sims                                   AZ
              Jeffrey Pisano                                CO
              Ronald Ragan                                  CO



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              Michael Tomlinson                            FL
              Mynetta Hastings                             WV

                                            Dr. Reddy’s

          1011. Plaintiffs identified in the table below bring claims against Defendant Dr. Reddy’s

   on behalf of themselves and their respective State Dr. Reddy’s CVS Health Medical Monitoring

   Class, each of which is defined as “All individuals who used Dr. Reddy’s CVS Health-branded

   Ranitidine-Containing Products while a resident of [State] and have not been diagnosed with a

   Subject Cancer”:

              Plaintiff Name                               State of Usage

              Richard Obrien                               CA
              Rebecca Sizemore                             IN
              Chris Troyan                                 OH
              Patricia Hess                                OH
              Mynetta Hastings                             WV

          1012. Plaintiffs identified in the table below bring claims against Defendant Dr. Reddy’s

   on behalf of themselves and their respective State Dr. Reddy’s Wal-Zan Medical Monitoring Class,

   each of which is defined as “All individuals who used Dr. Reddy’s Wal-Zan-branded Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                               State of Usage

              Tangie Sims                                  AZ
              Golbenaz Bakhtiar                            CA
              Jonathan Ferguson                            CA
              Jeffrey Pisano                               CO



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              Plaintiff Name                               State of Usage

              Ronald Ragan                                 CO
              Ronald Ragis                                 FL

          1013. Plaintiffs identified in the table below bring claims against Defendant Dr. Reddy’s

   on behalf of themselves and their respective State Dr. Reddy’s Equate Medical Monitoring Class,

   each of which is defined as “All individuals who used Dr. Reddy’s Equate-branded Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                               State of Usage

              Tangie Sims                                  AZ

              Jonathan Ferguson                            CA
              Jeffrey Pisano                               CO
              Ronald Ragan                                 CO
              Michael Tomlinson                            FL
              Mynetta Hastings                             WV

                                              Perrigo

          1014. Plaintiffs identified in the table below bring claims against Defendant Perrigo on

   behalf of themselves and their respective State Perrigo CVS Health Medical Monitoring Class,

   each of which is defined as “All individuals who used Perrigo’s CVS Health-branded Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                               State of Usage

              Richard Obrien                               CA
              Rebecca Sizemore                             IN


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              Plaintiff Name                               State of Usage

              Chris Troyan                                 OH
              Patricia Hess                                OH
              Mynetta Hastings                             WV

          1015. Plaintiffs identified in the table below bring claims against Defendant Perrigo on

   behalf of themselves and their respective State Perrigo Rite Aid Medical Monitoring Class, each

   of which is defined as “All individuals who used Perrigo’s Rite Aid-branded Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                               State of Usage

              Golbenaz Bakhtiar                            CA
              Richard Obrien                               CA

          1016. Plaintiffs identified in the table below bring claims against Defendant Perrigo on

   behalf of themselves and their respective State Perrigo Wal-Zan Medical Monitoring Class, each

   of which is defined as “All individuals who used Perrigo’s Wal-Zan-branded Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                               State of Usage

              Tangie Sims                                  AZ
              Golbenaz Bakhtiar                            CA
              Jonathan Ferguson                            CA
              Jeffrey Pisano                               CO
              Ronald Ragan                                 CO
              Ronald Ragis                                 FL



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          1017. Plaintiffs identified in the table below bring claims against Defendant Perrigo on

   behalf of themselves and their respective State Perrigo Equate Medical Monitoring Class, each of

   which is defined as “All individuals who used Perrigo’s Equate-branded Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:

              Plaintiff Name                               State of Usage

              Tangie Sims                                  AZ
              Jonathan Ferguson                            CA
              Jeffrey Pisano                               CO
              Ronald Ragan                                 CO
              Michael Tomlinson                            FL
              Mynetta Hastings                             WV

                                               Strides

          1018. Plaintiffs identified in the table below bring claims against Defendant Strides on

   behalf of themselves and their respective State Strides CVS Health Medical Monitoring Class,

   each of which is defined as “All individuals who used Strides’ CVS Health-branded Ranitidine-

   Containing Products while a resident of [State] and have not been diagnosed with a Subject

   Cancer”:

              Plaintiff Name                               State

              Richard Obrien                               CA
              Rebecca Sizemore                             IN
              Chris Troyan                                 OH
              Patricia Hess                                OH
              Mynetta Hastings                             WV

          1019. Plaintiffs identified in the table below bring claims against Defendant Strides on

   behalf of themselves and their respective State Strides Rite Aid Medical Monitoring Class, each

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   of which is defined as “All individuals who used Strides’ Rite Aid-branded Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                 State

            Golbenaz Bakhtiar                              CA
            Richard Obrien                                 CA

          1020. Plaintiffs identified in the table below bring claims against Defendant Strides on

   behalf of themselves and their respective State Strides Wal-Zan Medical Monitoring Class, each

   of which is defined as “All individuals who used Strides’ Wal-Zan-branded Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                 State

            Tangie Sims                                    AZ
            Golbenaz Bakhitar                              CA
            Jonathan Ferguson                              CA
            Jeffrey Pisano                                 CO
            Ronald Ragan                                   CO
            Ronald Ragis                                   FL

          1021. Plaintiffs identified in the table below bring claims against Defendant Strides on

   behalf of themselves and their respective State Strides Equate Medical Monitoring Class, each of

   which is defined as “All individuals who used Strides’ Equate-branded Ranitidine-Containing

   Products while a resident of [State] and have not been diagnosed with a Subject Cancer”:

            Plaintiff Name                                 State

            Tangie Sims                                    AZ
            Jonathan Ferguson                              CA
            Jeffrey Pisano                                 CO



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             Ronald Ragan                                      CO
             Michael Tomlinson                                 FL
             Mynetta Hastings                                  WV

                                     *       *       *

          1022. The aforementioned Classes may be collectively referred to as the “Classes” or

   “State Classes.”

          1023. Excluded from the State Classes are Defendants and any of their affiliates, parents,

   subsidiaries, officers, and directors; any entity in which Defendants have a controlling interest; all

   persons who make a timely election to be excluded from the class; governmental entities; and all

   judges assigned to hear any aspect of this litigation, including their immediate family members.

          1024. Plaintiffs reserve the right to modify or amend the class definitions, including the

   addition of one or more subclasses, following discovery and prior to class certification.

   B. FED. R. CIV. P. 23 REQUIREMENTS

          1025. Each of the proposed State Classes meets the requirements of Federal Rules of Civil

   Procedure 23(a), 23(b)(2), 23(b)(3) and/or 23(c)(4).

          1026. Numerosity. The members of each State Class are so numerous that joinder is

   impracticable. Zantac has for decades been one of the most popular medications for relief of

   heartburn, acid reflux, and similar conditions and, thus, it is reasonable to infer that each State

   Class includes thousands of members who are geographically dispersed.

          1027. Typicality. Plaintiffs’ claims are typical of the claims of putative State Class

   members in that Plaintiffs’ claims arise out of the same common course of conduct that gives rise

   to the claims of the other State Class members. Each Plaintiff, like each State Class member, took

   prescription and/or OTC Ranitidine-Containing Products, including Zantac, manufactured or sold


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   by Defendants, which are not safe for human consumption and, thus, Plaintiffs, like each State

   Class member, face an increased risk of developing any of the Subject Cancers. Plaintiffs, like

   each State Class member, were injured through Defendants’ common course of misconduct, and

   Plaintiffs are advancing the same legal theories on behalf of themselves and the State Class

   members.

          1028. Adequacy. Plaintiffs will fairly and adequately protect the interests of the State

   Class members. Plaintiffs’ interests and the interests of all other members of each respective State

   Class are identical and not antagonistic. Plaintiffs intend to vigorously prosecute this case and will

   fairly and adequately protect the State Class members’ interests. Plaintiffs have retained counsel

   who are competent and experienced in litigating class actions, including litigation of this kind.

          1029. Commonality and Predominance. There are numerous questions of law and fact

   common to the State Classes, and these common questions predominate over any issues affecting

   only individual State Class members. Questions common to the State Classes include, but are not

   limited to, the following:

              (a) whether Zantac and other Ranitidine-Containing Products contain, are likely to
                  contain, or exposed State Class members to, unacceptable levels of NDMA;

              (b) whether consumption of Zantac and other Ranitidine-Containing Products
                  increases the risk of developing any of the Subject Cancers;

              (c) whether Defendants knew or should have known that Zantac and other Ranitidine-
                  Containing Products contain, or are likely to contain, unacceptable levels of
                  NDMA;

              (d) whether Defendants knew or should have known that consumption of Zantac and
                  other Ranitidine-Containing Products increased the risk of developing any of the
                  Subject Cancers;

              (e) whether Defendants acted to conceal the fact that Zantac and other Ranitidine-
                  Containing Products expose users to unacceptable quantities of NDMA;



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              (f) whether Defendants acted to conceal the fact that consumption of Zantac and other
                  Ranitidine-Containing Products, including Zantac, increased the risk of developing
                  cancer;

              (g) whether Brand Manufacturer Defendants’ warnings regarding the risks of cancer
                  were adequate;

              (h) whether Defendants had a duty to, and failed to, timely, adequately, and
                  appropriately report adverse events and other appropriate information to the FDA;

              (i) whether Defendants failed to warn consumers regarding the appropriate expiration
                  dates for Zantac and other Ranitidine-Containing Products;

              (j) whether Defendants were negligent in labeling, packaging, marketing, advertising,
                  promoting and/or manufacturing and/or selling Zantac and other Ranitidine-
                  Containing Products;

              (k) whether Defendants were negligent in labeling, packaging, marketing, advertising,
                  and/or promoting Zantac and other Ranitidine-Containing Products and their safety
                  when used within the expiration dates;

              (l) whether Defendants’ labeling, packaging, marketing, advertising, and/or promoting
                  Zantac and other Ranitidine-Containing Products and their safety when used
                  beyond the expiration dates;

              (m) whether Defendants were negligent in their storage and/or transportation of Zantac
                  and other Ranitidine-Containing Products;

              (n) whether Defendants are liable for failing to warn of the risks associated with use of
                  Zantac and other Ranitidine-Containing Products;

              (o) whether Plaintiffs and State Class members are entitled to medical monitoring relief
                  as a result of their increased risk of developing the Subject Cancers based on use of
                  Zantac and other Ranitidine-Containing Products; and

              (p) the type and format of medical monitoring relief, declaratory relief and/or
                  injunctive relief that is appropriate.

          1030. Superiority. A class action is superior to other available means for the fair and

   efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

   in the management of this class action. The quintessential purpose of the class action mechanism

   is to permit litigation against wrongdoers even when damages to an individual plaintiff may not



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   be sufficient to justify individual litigation. Here, the damages suffered by Plaintiffs and the State

   Class are relatively small compared to the burden and expense required to individually litigate

   their claims against Defendants, and thus, individual litigation to redress Defendants’ wrongful

   conduct would be impracticable. Individual litigation by each State Class member would also

   strain the court system, create the potential for inconsistent or contradictory judgments, and

   increase the delay and expense to all parties and the court system. By contrast, the class action

   device presents fewer management difficulties and provides the benefits of a single adjudication,

   economies of scale, and comprehensive supervision by a single court.

          1031. Injunctive and Declaratory Relief. Class certification is also appropriate under

   Rule 23(b)(2) because Defendants acted and refused to act on grounds generally applicable to the

   State Class as a whole, such that final declaratory and/or injunctive relief is appropriate with

   respect to the State Class as a whole. Such declaratory and/or injunctive relief includes, but is not

   limited to, implementation and funding of a medical monitoring program for Plaintiffs and State

   Class members that is sufficient to monitor their health and ensure the early detection and diagnosis

   of diseases, specifically the Subject Cancers.

          1032. Plaintiffs reserve the right to seek certification of Rule 23(c)(4) of common

   questions related to Defendants’ knowledge, conduct, products, and duties.

                              IX.    CAUSES OF ACTION

   A. CAUSES OF ACTION AGAINST DEFENDANT GSK WITH RESPECT TO
      PRESCRIPTION ZANTAC

          1033. Plaintiffs identified in the table below bring claims against Defendant GSK with

   respect to prescription Zantac on behalf of themselves and their respective State GSK Prescription

   Medical Monitoring Class under the laws of their respective states of usage. Each Plaintiff



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   incorporates by reference the allegations specific to them from Section III.B. and the allegations

   set forth in Section VI, supra, into their respective claims below.

              Plaintiff Name                                  State of Usage

              Golbenaz Bakhtiar                               CA
              Jeffrey Pisano                                  CO
              Michael Galloway                                FL
              Alexander Monger                                FL
              Laura Monger                                    FL
              Michael Tomlinson                               FL
              Teresa Dowler                                   IN
              Alberta Griffin                                 MD
              Ronda Lockett                                   MO
              Michael Galloway                                OH
              Felicia Ball                                    PA

         1. California

                                          COUNT 1:
          Negligence – Failure to Warn Through Warnings and Precautions – California

          1034. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1035. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

   of the California GSK Prescription Medical Monitoring Class (for the purposes of this Count,

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   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1036. The allegations in this Count apply to GSK during the time periods in which it was

   manufacturing Ranitidine-Containing Products.       The relevant time periods are alleged in

   paragraphs 152-71, which are incorporated by reference.

          1037. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

          1038. Under California law, manufacturers, including Defendant, have a duty of

   reasonable care to warn of particular risks that are known or knowable in light of the generally

   recognized and prevailing scientific and medical knowledge available at the time of manufacture

   and distribution.

          1039. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1040. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1041. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the California GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer


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   economic losses and expenses associated with ongoing medical monitoring.

          1042. The latent injuries from which Plaintiff and the California GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1043. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1044. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1045. By monitoring and testing Plaintiffs, the risk that Plaintiff and the California GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1046. Plaintiff and the California GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiff and the California GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiff and the California GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.


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          1047. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1048. Plaintiff and the California GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiff and the California GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 2:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

          1049. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7–24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1050. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

   of the California GSK Prescription Medical Monitoring Class (for the purposes of this Count,



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   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1051. The allegations in this Count apply to GSK during the time periods in which it was

   manufacturing Ranitidine-Containing Products.       The relevant time periods are alleged in

   paragraphs 152-71, which are incorporated by reference.

          1052. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

          1053. Under California law, manufacturers, including Defendant, have a duty of

   reasonable care to warn of particular risks that are known or knowable in light of the generally

   recognized and prevailing scientific and medical knowledge available at the time of manufacture

   and distribution.

          1054. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

   consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1055. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1056. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the California GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1057. The latent injuries from which Plaintiffs and the California GSK Prescription


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   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1058. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1059. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1060. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1061. Plaintiffs and the California GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1062. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1063. Plaintiffs and the California GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California GSK Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 3:
          Strict Liability – Failure to Warn Consumers Through The FDA – California

          1064. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7–24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1065. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

   of the California GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1066. The allegations in this Count apply to GSK during the time periods in which it was



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   manufacturing Ranitidine-Containing Products.        The relevant time periods are alleged in

   paragraphs 152-71, which are incorporated by reference.

          1067. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

          1068. Under California law, manufacturers, including Defendant, bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes

   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).

          1069. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

          1070. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1071. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. See 21 C.F.R. §314.70. As an alternative theory of breach, if this method

   of warning consumers was unavailable, slower, or less effective, Brand Manufacturer Defendants,

   including Defendant, had a duty to warn the FDA as a third party who would disseminate

   information to the public. Defendant failed to warn anyone through any medium.


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          1072. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting.

          1073. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the California GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1074. The latent injuries from which Plaintiffs and the California GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1075. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1076. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1077. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK


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   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1078. Plaintiffs and the California GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1079. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1080. Plaintiffs and the California GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiff and the California GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 4:
                             Negligent Product Containers – California

          1081. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7–24



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   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1082. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

   of the California GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1083. The allegations in this Count apply to GSK during the time periods in which it was

   manufacturing Ranitidine-Containing Products.         The relevant time periods are alleged in

   paragraphs 152-71, which are incorporated by reference.

          1084. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

          1085. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

          1086. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          1087. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and the California

   GSK Prescription Medical Monitoring Class members have sustained a significantly increased risk

   of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.


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          1088. The latent injuries from which Plaintiffs and the California GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1089. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1090. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1091. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1092. Plaintiffs and the California GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiff and the California GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1093. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1094. Plaintiffs and the California GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiff and the California GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 5:
                         Negligent Storage and Transportation – California

          1095. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7–24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1096. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

   of the California GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).



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          1097. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1098. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1099. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.

          1100. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1101. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the California GSK Prescription Medical Monitoring

   Class members have sustained a significantly increased risk of developing serious and potentially

   fatal Subject Cancers and have suffered and will suffer economic losses and expenses associated

   with ongoing medical monitoring.

          1102. The latent injuries from which Plaintiffs and the California GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1103. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1104. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1105. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1106. Plaintiffs and the California GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1107. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1108. Plaintiffs and the California GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California GSK Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

         2. Colorado

                                          COUNT 6:
    Medical Monitoring – Negligence – Failure to Warn Through Warnings and Precautions –
                                           Colorado

          1109. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1110. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1111. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1112.     Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

          1113. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased


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   their risk of developing serious and potentially fatal Subject Cancers.

          1114. Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

          1115. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1116. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1117. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Colorado GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing the Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          1118. The latent injuries from which Plaintiffs and the Colorado GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally


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   recommended in the absence of exposure to this risk of harm.

          1119. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1120. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1121. By monitoring and testing Plaintiffs, the risk Plaintiffs and the Colorado GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1122. Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1123. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.


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          1124. Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a Court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 7:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                          Colorado

          1125. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1126. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1127. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1128. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.


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          1129. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1130.    Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

          1131. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1132. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1133. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Colorado GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing the Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          1134. The latent injuries from which Plaintiffs and the Colorado GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.


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          1135. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1136. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1137. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1138. Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1139. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1140. Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class have an


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   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 8:
                    Medical Monitoring – Negligent Product Containers – Colorado

          1141. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7–24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1142. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1143. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1144. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

          1145. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased



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   their risk of developing various types of serious and potentially fatal Subject Cancers.

          1146. Under Colorado law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

          1147. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          1148. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and the Colorado

   GSK Prescription Medical Monitoring Class members have sustained a significantly increased risk

   of developing the Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          1149. The latent injuries from which Plaintiffs and the Colorado GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1150. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1151. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          1152. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1153. Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1154. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1155. Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 9:
             Medical Monitoring – Negligent Storage and Transportation – Colorado



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          1156. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7–24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1157. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1158. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1159. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1160. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing various types of serious and potentially fatal Subject Cancers.

          1161. Under Colorado law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

          1162. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1163. As a direct and proximate result of these systematic failures, excessive levels of


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   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Colorado GSK Prescription Medical Monitoring

   Class members have sustained a significantly increased risk of developing the Subject Cancers and

   have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          1164. The latent injuries from which Plaintiffs and the Colorado GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1165. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1166. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1167. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1168. Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1169. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1170. Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

        3. Florida

                                         COUNT 10:
    Medical Monitoring – Negligence – Failure to Warn Through Warnings and Precautions –
                                            Florida

          1171. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7–-4

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing


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   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1172. This cause of action is brought by Michael Galloway, Alexander Monger, Laura

   Monger, and Michael Tomlinson, individually and on behalf of the Florida GSK Prescription

   Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against GSK (for the

   purposes of this Count, “Defendant”).

          1173. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1174. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

          1175. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1176. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          1177. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.


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          1178. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1179. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Florida GSK Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing the

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1180. The latent injuries from which Plaintiffs and the Florida GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1181. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1182. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1183. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida GSK


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   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1184. Plaintiffs and the Florida GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1185. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1186. Plaintiffs and the Florida GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 11:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                           Florida

          1187. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24


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   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1188. This cause of action is brought by Michael Galloway, Alexander Monger, Laura

   Monger, and Michael Tomlinson, individually and on behalf of the Florida GSK Prescription

   Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against GSK (for the

   purposes of this Count, “Defendant”).

          1189. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1190. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

          1191. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1192. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          1193. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe


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   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1194. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1195. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida GSK Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing the

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1196. The latent injuries from which Plaintiffs and the Florida GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1197. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1198. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          1199. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1200. Plaintiffs and the Florida GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1201. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1202. Plaintiffs and the Florida GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 12:
                  Medical Monitoring – Negligent Product Containers – Florida



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          1203. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1204. This cause of action is brought by Michael Galloway and Michael Tomlinson,

   individually and on behalf of the Florida GSK Prescription Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1205. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1206. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

          1207. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1208. Under Florida law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

          1209. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          1210. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused


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   Plaintiffs’ injuries.

           1211. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and Florida GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing the Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

           1212. The latent injuries from which Plaintiffs and the Florida GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

           1213. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

           1214. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

           1215. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

           1216. Plaintiffs and the Florida GSK Prescription Medical Monitoring Class members


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   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1217. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1218. Plaintiffs and the Florida GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 13:
              Medical Monitoring – Negligent Storage and Transportation – Florida

          1219. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1220. This cause of action is brought by Michael Galloway, Alexander Monger, Laura

   Monger, and Michael Tomlinson, individually and on behalf of the Florida GSK Prescription

   Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against GSK (for the

   purposes of this Count, “Defendant”).

          1221. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1222. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1223. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1224. Under Florida law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

          1225. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1226. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and Florida GSK Prescription Medical Monitoring Class

   members have sustained a significantly increased risk of developing the Subject Cancers and have


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   suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          1227. The latent injuries from which Plaintiffs and the Florida GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1228. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1229. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1230. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1231. Plaintiffs and the Florida GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida GSK Prescription Medical


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   Monitoring Class members as frequently and appropriately as necessary.

          1232. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1233. Plaintiffs and the Florida GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

         4. Indiana

                                         COUNT 14:
           Negligence – Failure to Warn Through Warnings and Precautions – Indiana

          1234. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.



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          1235. This cause of action is brought by Teresa Dowler, individually and on behalf of the

   Indiana GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1236. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1237. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

          1238. Under Indiana law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate instructions for safe use and a warning as to dangers inherent in improper use.

          1239. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Productwere unreasonably inadequate because they did

   not warn of the risk of cancer when taken over long periods, when stored under humid conditions,

   when stored under hot conditions, when consumed with a high-nitrite diet, and when consumed

   long after manufacture.

          1240. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1241. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Indiana GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer


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   economic losses and expenses associated with ongoing medical monitoring.

          1242. The latent injuries from which Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1243. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1244. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1245. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1246. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.


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          1247. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1248. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 15:
            Negligence – Failure To Warn Through Proper Expiration Dates – Indiana

          1249. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1250. This cause of action is brought by Teresa Dowler, individually and on behalf of the

   Indiana GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),



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   against GSK (for the purposes of this Count, “Defendant”).

          1251. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1252. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

          1253.   Under Indiana law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate instructions for safe use and a warning as to dangers inherent in improper use.

          1254. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1255. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1256. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Indiana GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1257. The latent injuries from which Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals


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   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1258. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1259. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1260. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1261. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1262. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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   notifying all Indiana GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1263. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 16:
              Negligence – Failure to Warn Consumers Through the FDA – Indiana

          1264. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1265. This cause of action is brought by Teresa Dowler, individually and on behalf of the

   Indiana GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1266. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          1267. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

          1268. Under Indiana law, manufacturers, including Defendant, bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes

   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).

          1269. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

          1270. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1271. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. See 21 C.F.R. §314.70. As an alternative theory of breach, if this method

   of warning consumers was unavailable, slower, or less effective, Brand Manufacturer Defendants,

   including Defendant, had a duty to warn the FDA as a third party who would disseminate

   information to the public. Defendant failed to warn anyone through any medium.

          1272. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks


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   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting.

          1273. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Indiana GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1274. The latent injuries from which Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1275. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1276. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1277. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          1278. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1279. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1280. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 17:
                              Negligent Product Containers – Indiana

          1281. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1282. This cause of action is brought by Teresa Dowler, individually and on behalf of the

   Indiana GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1283. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1284. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

          1285. Under Indiana law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

          1286. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          1287. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and the Indiana

   GSK Prescription Medical Monitoring Class members have sustained a significantly increased risk

   of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1288. The latent injuries from which Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1289. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1290. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1291. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1292. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1293. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1294. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 18:
                          Negligent Storage and Transportation – Indiana

          1295. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1296. This cause of action is brought by Teresa Dowler, individually and on behalf of the

   Indiana GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1297. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs



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   152-71, which are incorporated by reference.

          1298. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1299. Under Indiana law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in transporting and storing products.

          1300. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1301. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1302. The latent injuries from which Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1303. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          1304. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1305. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1306. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1307. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1308. Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,


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   Plaintiffs and the Indiana GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

         5. Maryland

                                         COUNT 19:
          Negligence – Failure to Warn Through Warnings and Precautions – Maryland

          1309. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1310. This cause of action is brought by Alberta Griffin, individually and on behalf of the

   Maryland GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1311. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1312. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

          1313. Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.

          1314. Defendant breached this duty for its Ranitidine-Containing Products. The warnings



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   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1315. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1316. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Maryland GSK Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1317. The latent injuries from which Plaintiffs and the Maryland GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1318. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.


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          1319. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1320. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1321. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1322. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1323. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members will continue


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   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 20:
          Negligence – Failure To Warn Through Proper Expiration Dates – Maryland

          1324. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1325. This cause of action is brought by Alberta Griffin, individually and on behalf of the

   Maryland GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1326. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1327. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

          1328.     Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.

          1329. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.



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          1330. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1331. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland GSK Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1332. The latent injuries from which Plaintiffs and the Maryland GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1333. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1334. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1335. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK


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   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1336. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1337. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1338. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 21:
            Negligence – Failure To Warn Consumers Through the FDA – Maryland

          1339. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24



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   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1340. This cause of action is brought by Alberta Griffin, individually and on behalf of the

   Maryland GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1341. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1342. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

          1343. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

   recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

   Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

   beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

   effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

   reasonable efforts would, in some circumstances, entail a warning to a third party such as the

   FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

          1344. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers, like


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   Defendant, may fulfill their state law duty to warn by informing the FDA, which is a third party

   that is reasonably expected to pool and share safety-related information and publicize risks to the

   medical community.

          1345. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1346. Under federal regulations, Brand Manufacturer Defendants, like Defendant, are

   able to revise the warnings on their branded products when new information arises or new analyses

   are performed. As an alternative theory of breach, if this method of warning consumers was

   unavailable, slower, or less effective, Brand Manufacturer Defendants, like Defendant, had a duty

   to warn the FDA as a third party who would disseminate information to the public. Defendants

   failed to warn anyone through any medium.

          1347. Specifically, Defendants failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of to make reasonable efforts to ensure an effective warning reached

   consumers.

          1348. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland GSK Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.


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          1349. The latent injuries from which Plaintiffs and the Maryland GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1350. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1351. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1352. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1353. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1354. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1355. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 22:
                              Negligent Product Containers – Maryland

          1356. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1357. This cause of action is brought by Alberta Griffin, individually and on behalf of the

   Maryland GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).



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          1358. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1359. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

          1360. Under Maryland law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

          1361. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          1362. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and Maryland

   GSK Prescription Medical Monitoring Class members have sustained a significantly increased risk

   of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1363. The latent injuries from which Plaintiffs and the Maryland GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1364. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          1365. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1366. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1367. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1368. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1369. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,


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   Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 23:
                         Negligent Storage and Transportation – Maryland

          1370. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1371. This cause of action is brought by Alberta Griffin, individually and on behalf of the

   Maryland GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1372. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1373. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1374. Under Maryland law, Defendant had a duty to exercise reasonable care in

   transporting and storing products.

          1375. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and



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   humidity.

          1376. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored,

   transported, and, therefore, Plaintiffs and Maryland GSK Prescription Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1377. The latent injuries from which Plaintiffs and the Maryland GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1378. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1379. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1380. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          1381. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1382. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1383. Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland GSK Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

        6. Missouri

                                         COUNT 24:
          Negligence – Failure to Warn Through Warnings and Precautions – Missouri

          1384. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-



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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1385. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

           1386. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1387. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

           1388. Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           1389. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           1390. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the


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   use of the Ranitidine-Containing Products.

          1391. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Missouri GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1392. The latent injuries from which Plaintiffs and the Missouri GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1393. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1394. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1395. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1396. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members


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   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1397. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1398. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 25:
           Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

          1399. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1400. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

           1401. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1402. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

           1403.   Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           1404. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           1405. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

           1406. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Missouri GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of


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   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1407. The latent injuries from which Plaintiffs and the Missouri GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1408. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1409. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1410. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1411. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK Prescription Medical


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   Monitoring Class members as frequently and appropriately as necessary.

           1412. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

           1413. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 26:
            Strict Liability – Failure to Warn Consumers Through the FDA – Missouri

           1414. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1415. This cause of action is brought by Ronda Lockett, individually and on behalf of the



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   Missouri GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1416. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1417. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

          1418. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

   of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

   [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

   state law to warn consumers about the risks of using their product, which Williams argues Bayer

   breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

   Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

          1419. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

   manufacturers, such as Defendant, have a state law duty to do so.

          1420. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1421. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. As an alternative theory of breach, if this method of warning consumers

   was unavailable, slower, or less effective, Brand Manufacturer Defendants, including Defendant,


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   had a duty to warn the FDA as a third party who would disseminate information to the public.

   Brand Manufacturer Defendants failed to warn anyone through any medium.

          1422. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          1423. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Missouri GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1424. The latent injuries from which Plaintiffs and the Missouri GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1425. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1426. The available monitoring regime is reasonably necessary according to


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   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1427. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1428. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1429. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          1430. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.


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                        COUNT 27: Negligent Product Containers – Missouri

           1431. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1432. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

           1433. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1434. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

           1435. Under Missouri law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           1436. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           1437. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant manufactured, stored, and transported, and,

   therefore, Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members have


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   sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

   and have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          1438. The latent injuries from which Plaintiffs and the Missouri GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1439. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1440. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1441. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1442. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

           1443. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

           1444. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                   COUNT 28: Negligent Storage and Transportation – Missouri

           1445. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1446. This cause of action is brought by Ronda Lockett, individually and on behalf of the


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   Missouri GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1447. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1448. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1449. Under Missouri law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

          1450. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1451. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Missouri GSK Prescription Medical Monitoring

   Class members have sustained a significantly increased risk of developing serious and potentially

   fatal Subject Cancers and have suffered and will suffer economic losses and expenses associated

   with ongoing medical monitoring.

          1452. The latent injuries from which Plaintiffs and the Missouri GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally


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   recommended in the absence of exposure to this risk of harm.

          1453. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1454. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1455. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1456. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1457. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.


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          1458. Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

         7. Ohio

                                           COUNT 29:
          Strict Liability – Failure to Warn Through Warnings and Precautions – Ohio

          1459. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1460. This cause of action is brought by Michael Galloway, individually and on behalf of

   the Ohio GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1461. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1462. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-



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   Specific Allegations) as to GSK.

          1463. Under Ohio law, a manufacturer, like Defedant, has the duty to provide an adequate

   warning of the risks associated with its product that it knows or should have known about, and a

   duty to provide adequate post-marketing warnings or instructions.

          1464. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Product were inadequate because they did not warn of the

   risk of cancer when taken over long periods, when stored under humid conditions, when stored

   under hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1465. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1466. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Ohio GSK Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1467. The latent injuries from which Plaintiffs and the Ohio GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the


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   absence of exposure to this risk of harm.

          1468. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1469. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1470. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1471. Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Ohio GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1472. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio GSK Prescription Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.


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          1473. Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.


                                           COUNT 30:
           Strict Liability – Failure To Warn Through Proper Expiration Dates – Ohio

          1474. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1475. This cause of action is brought by Michael Galloway, individually and on behalf of

   the Ohio GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1476. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1477. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.


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          1478. Under Ohio law, a manufacturer, like Defendant, has the duty to provide an

   adequate warning of the risks associated with its product that it knows or should have known about,

   and a duty to provide adequate post-marketing warnings or instructions.

          1479. Defendant breached this duty for the Ranitidine-Containing it manufactured. The

   warnings included on each Ranitidine-Containing Product were inadequate because The expiration

   date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when

   consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1480. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1481. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Ohio GSK Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1482. The latent injuries from which Plaintiffs and the Ohio GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1483. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1484. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1485. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1486. Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Ohio GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1487. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio GSK Prescription Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1488. Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 31:
                                Negligent Product Containers – Ohio

          1489. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1490. This cause of action is brought by Michael Galloway, individually and on behalf of

   the Ohio GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1491. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1492. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

          1493. Under Ohio law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.



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           1494. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           1495. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused

   Plaintiffs’ injuries.

           1496. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and the Ohio GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           1497. The latent injuries from which Plaintiffs and the Ohio GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

           1498. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

           1499. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          1500. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1501. Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Ohio GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1502. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio GSK Prescription Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1503. Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 32:
                           Negligent Storage and Transportation – Ohio



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          1504. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1505. This cause of action is brought by Michael Galloway, individually and on behalf of

   the Ohio GSK Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1506. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1507. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1508. Under Ohio law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in transporting and storing products.

          1509. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1510. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class


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   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1511. The latent injuries from which Plaintiffs and the Ohio GSK Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1512. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1513. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1514. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio GSK

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1515. Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the Ohio GSK Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1516. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio GSK Prescription Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1517. Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Ohio GSK Prescription Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

        8. Pennsylvania

                                         COUNT 33:
     Medical Monitoring – Negligent Failure to Warn Through Warnings and Precautions –
                                        Pennsylvania

          1518. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully


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   stated herein.

          1519. This cause of action is brought by Felicia Ball, individually and on behalf of the

   Pennsylvania GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1520. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1521. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

          1522. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing various types of serious and potentially fatal Subject Cancers.

          1523. Under Pennsylvania law, a manufacturer, like Defendant, has a duty of reasonable

   care to provide an adequate warning.

          1524. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1525. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1526. As a direct and proximate result of Defendant’s failure to provide adequate


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   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Pennsylvania GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1527. The latent injuries from which Plaintiffs and the Pennsylvania GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1528. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1529. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1530. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   GSK Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

   losses without adequate treatment will be significantly reduced.

          1531. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, Defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania GSK Prescription Medical


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   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania GSK

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          1532. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania GSK Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          1533. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 34:
      Medical Monitoring – Negligent Failure to Warn Through Proper Expiration Dates –
                                        Pennsylvania

          1534. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully


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   stated herein.

          1535. This cause of action is brought by Felicia Ball, individually and on behalf of the

   Pennsylvania GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1536. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1537. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

          1538. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing various types of serious and potentially fatal Subject CancersRanitidine-

   Containing Products”).

          1539.     Under Pennsylvania law, a manufacturer, like Defendant, has a duty of reasonable

   care to provide an adequate warning.

          1540. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1541. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1542. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Pennsylvania GSK


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   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing the Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          1543. The latent injuries from which Plaintiffs and the Pennsylvania GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1544. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1545. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1546. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   GSK Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

   losses without adequate treatment will be significantly reduced.

          1547. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, Defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania GSK Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust


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   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania GSK

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          1548. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania GSK Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          1549. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 35:
        Medical Monitoring – Negligent Failure to Warn Consumers Through the FDA –
                                        Pennsylvania

          1550. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.


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          1551. This cause of action is brought by Felicia Ball, individually and on behalf of the

   Pennsylvania GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1552. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1553. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

          1554. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1555. Pennsylvania law “may impose liability for the failure to report to the FDA. …the

   duty to warn is discharged by ‘providing information about the product’s dangerous propensities,’

   which undoubtedly encompasses Medtronic’s alleged failures to report known problems, adverse

   events and malfunctions, and the comment does not require the third party to disclose the warnings,

   but rather be reasonably relied upon to do so.” Silver v. Medtronic, Inc., 236 F. Supp. 3d 889, 900

   (M.D. Pa. 2017); see also McLaughlin v. Bayer Corp., 172 F. Supp. 3d 804, 838 (E.D. Pa. 2016)

   (“we follow the reasoning of the en banc decision in Stengel”); Bull v. St. Jude Med., Inc., No. CV

   17-1141, 2018 WL 3397544, at *9 (E.D. Pa. July 12, 2018) (“Plaintiffs has alleged that St. Jude

   violated state tort law, namely, by failing to warn physicians about the risks of the Riata ST Lead

   based on the failure to fully comply with its federal duty to report all adverse events to the FDA

   via MDRs in a timely manner.”).

          1556. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,


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   manufacturers, like Defendant, have a state law duty to do so.

          1557. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1558. Under federal regulations, Brand Manufacturers, like Defendant, are able to revise

   the warnings on their branded products when new information arises or new analyses are

   performed. Brand Manufacturers, like Defendant, were also required to warn consumers through

   a warning to FDA as a third party who would disseminate information to the public. Defendant

   failed to warn anyone through any medium.

          1559. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          1560. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Pennsylvania GSK

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing the Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          1561. The latent injuries from which Plaintiffs and the Pennsylvania GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers


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   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1562. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1563. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1564. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   GSK Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

   losses without adequate treatment will be significantly reduced.

          1565. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, Defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania GSK Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a

   trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania GSK

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          1566. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania GSK Prescription Medical Monitoring Class members in writing that


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   they may require frequent medical monitoring for the purpose of diagnosis.

          1567. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 36:
                Medical Monitoring – Negligent Product Containers – Pennsylvania

          1568. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1569. This cause of action is brought by Felicia Ball, individually and on behalf of the

   Pennsylvania GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1570. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1571. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-



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   Specific Allegations) as to GSK.

          1572. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing various types of serious and potentially fatal Subject Cancers.

          1573. Under Pennsylvania law, a pharmaceutical manufacturer, like Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

          1574. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          1575. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and the

   Pennsylvania GSK Prescription Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          1576. The latent injuries from which Plaintiffs and the Pennsylvania GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1577. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1578. The available monitoring regime is reasonably necessary according to


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   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1579. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   GSK Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

   losses without adequate treatment will be significantly reduced.

          1580. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, Defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania GSK Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a

   trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania GSK

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          1581. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania GSK Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          1582. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.


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                                         COUNT 37:
           Medical Monitoring – Negligent Storage and Transportation – Pennsylvania

          1583. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully

   stated herein.

          1584. This cause of action is brought by Felicia Ball, individually and on behalf of the

   Pennsylvania GSK Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1585. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1586. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1587. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1588. Under Pennsylvania law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

          1589. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and



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   humidity.

          1590. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring

   Class members have sustained a significantly increased risk of developing the Subject Cancers and

   have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          1591. The latent injuries from which Plaintiffs and the Pennsylvania GSK Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          1592. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1593. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1594. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   GSK Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

   losses without adequate treatment will be significantly reduced.


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          1595. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, Defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania GSK Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania GSK

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          1596. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania GSK Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          1597. Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Pennsylvania GSK Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

   B. CAUSES OF ACTION AGAINST DEFENDANT GSK WITH RESPECT TO OTC
      ZANTAC

          1598. Plaintiffs identified in the table below bring claims against Defendant GSK with

   respect to OTC Zantac on behalf of themselves and their respective State GSK OTC Medical

   Monitoring Class under the laws of their respective states of usage. Each Plaintiff incorporates by



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   reference the allegations specific to them from Section III.B. and the allegations set forth in Section

   VI, supra, into their respective claims below.

              Plaintiff Name                                   State of Usage
              Richard Obrien                                   CA
              Jeffrey Pisano                                   CO
              Michael Galloway                                 FL
              Ricardo Moròn                                    FL
              Ronald Ragis                                     FL
              Charles Longfield                                MD
              Ronda Lockett                                    MO
              Jonathan Ferguson                                NV

         1. California

                                         COUNT 38:
          Negligence – Failure to Warn Through Warnings and Precautions – California

           1599. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1600. This cause of action is brought by Richard Obrien, individually and on behalf of

   the California GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1601. The allegations in this Count apply to GSK during the time period in which it was


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   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1602. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

           1603. Under California law, manufacturers, like Defendant, have a duty of reasonable

   care to warn of particular risks that are known or knowable in light of the generally recognized

   and prevailing scientific and medical knowledge available at the time of manufacture and

   distribution.

           1604. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           1605. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

           1606. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and California GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

           1607. The latent injuries from which Plaintiffs and the California GSK OTC Medical


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   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1608. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1609. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1610. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1611. Plaintiffs and the California GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1612. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1613. Plaintiffs and the California GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.


                                          COUNT 39:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

           1614. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1615. This cause of action is brought by Richard Obrien, individually and on behalf of

   the California GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1616. The allegations in this Count apply to GSK during the time period in which it was


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   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1617. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

          1618.    Under California law, manufacturers, including Defendant, have a duty of

   reasonable care to warn of particular risks that are known or knowable in light of the generally

   recognized and prevailing scientific and medical knowledge available at the time of manufacture

   and distribution.

          1619. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1620. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1621. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1622. The latent injuries from which Plaintiffs and the California GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals


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   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1623. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1624. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1625. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1626. Plaintiffs and the California GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1627. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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   notifying all California GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1628. Plaintiffs and the California GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 40:
           Strict Liability – Failure to Warn Consumers Through the FDA – California

           1629. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1630. This cause of action is brought by Richard Obrien, individually and on behalf of

   the California GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1631. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          1632. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

          1633. Under California law, manufacturers, including Defendant, bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes

   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).

          1634. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

          1635. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1636. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. See 21 C.F.R. § 314.70. As an alternative theory of breach, if this method

   of warning consumers was unavailable, slower, or less effective, Brand Manufacturer Defendants,

   including Defendant, had a duty to warn the FDA as a third party who would disseminate

   information to the public. Defendant failed to warn anyone through any medium.

          1637. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks


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   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting.

          1638. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1639. The latent injuries from which Plaintiffs and the California GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1640. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1641. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1642. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          1643. Plaintiffs and the California GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1644. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1645. Plaintiffs and the California GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 41:
                            Negligent Product Containers – California

          1646. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1647. This cause of action is brought by Richard Obrien, individually and on behalf of

   the California GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1648. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1649. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

           1650. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

           1651. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           1652. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and California

   GSK OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           1653. The latent injuries from which Plaintiffs and the California GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1654. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1655. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1656. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1657. Plaintiffs and the California GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1658. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1659. Plaintiffs and the California GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 42:
                          Negligent Storage and Transportation – California

           1660. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1661. This cause of action is brought by Richard Obrien, individually and on behalf of

   the California GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1662. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs



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   152-71, which are incorporated by reference.

          1663. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1664. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.

          1665. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1666. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and California GSK OTC Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1667. The latent injuries from which Plaintiffs and the California GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1668. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          1669. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1670. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1671. Plaintiffs and the California GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1672. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1673. Plaintiffs and the California GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,


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   Plaintiffs and the California GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

         2. Colorado

                                         COUNT 43:
     Medical Monitoring – Negligent Failure to Warn Through Warnings and Precautions –
                                          Colorado

           1674. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1675. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1676. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1677. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

           1678. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing various types of serious and potentially fatal Subject Cancers.

           1679. Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care


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   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

          1680. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1681. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1682. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Colorado GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing the

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1683. The latent injuries from which Plaintiffs and the Colorado GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1684. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1685. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1686. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1687. Plaintiffs and the Colorado GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1688. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1689. Plaintiffs and the Colorado GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 44:
      Medical Monitoring – Negligent Failure to Warn Through Proper Expiration Dates –
                                          Colorado

           1690. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1691. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1692. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1693. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

           1694. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing various types of serious and potentially fatal Subject Cancers.


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          1695.    Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

          1696. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1697. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1698. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Colorado GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing the

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1699. The latent injuries from which Plaintiffs and the Colorado GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1700. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1701. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1702. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1703. Plaintiffs and the Colorado GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1704. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1705. Plaintiffs and the Colorado GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

           COUNT 45: Medical Monitoring – Negligent Product Containers – Colorado

           1706. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1707. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1708. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1709. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

           1710. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing various types of serious and potentially fatal Subject Cancers.

           1711. Under Colorado law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.


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          1712. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          1713. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and the Colorado

   GSK OTC Medical Monitoring Class members have sustained a significantly increased risk of

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1714. The latent injuries from which Plaintiffs and the Colorado GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1715. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1716. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1717. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          1718. Plaintiffs and the Colorado GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1719. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1720. Plaintiffs and the Colorado GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 46:
             Medical Monitoring – Negligent Storage and Transportation – Colorado

          1721. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1722. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1723. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1724. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

           1725. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing various types of serious and potentially fatal Subject Cancers.

           1726. Under Colorado law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           1727. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           1728. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Colorado GSK OTC Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal


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   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1729. The latent injuries from which Plaintiffs and the Colorado GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1730. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1731. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1732. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1733. Plaintiffs and the Colorado GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado GSK OTC Medical


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   Monitoring Class members as frequently and appropriately as necessary.

           1734. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1735. Plaintiffs and the Colorado GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

         3. Florida

                                         COUNT 47:
     Medical Monitoring – Negligent Failure to Warn Through Warnings and Precautions –
                                           Florida

           1736. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.


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          1737. This cause of action is brought by Michael Galloway, Ricardo Moron and Ronald

   Ragis, individually and on behalf of the Florida GSK OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

          1738. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1739. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

          1740. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1741. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          1742. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1743. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.


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          1744. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Florida GSK OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          1745. The latent injuries from which Plaintiffs and the Florida GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1746. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1747. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1748. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1749. Plaintiffs and the Florida GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the Florida GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Florida GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          1750. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1751. Plaintiffs and the Florida GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida GSK OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 48:
      Medical Monitoring – Negligent Failure to Warn Through Proper Expiration Dates –
                                           Florida

          1752. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing


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   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1753. This cause of action is brought by Michael Galloway, Ricardo Moron and Ronald

   Ragis, individually and on behalf of the Florida GSK OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

           1754. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1755. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

           1756. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           1757. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

           1758. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           1759. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.


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          1760. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Florida GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing the

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1761. The latent injuries from which Plaintiffs and the Florida GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1762. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1763. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1764. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1765. Plaintiffs and the Florida GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the Florida GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Florida GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          1766. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1767. Plaintiffs and the Florida GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida GSK OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 49:
                  Medical Monitoring – Negligent Product Containers – Florida

          1768. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing



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   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1769. This cause of action is brought by Michael Galloway, Ricardo Moron and Ronald

   Ragis, individually and on behalf of the Florida GSK OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

           1770. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1771. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

           1772. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           1773. Under Florida law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           1774. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           1775. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant manufactured, stored, and transported, and,

   therefore, Plaintiffs and Florida GSK OTC Medical Monitoring Class members have sustained a

   significantly increased risk of developing the Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           1776. The latent injuries from which Plaintiffs and the Florida GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1777. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1778. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1779. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1780. Plaintiffs and the Florida GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Florida GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          1781. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1782. Plaintiffs and the Florida GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida GSK OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 50:
               Medical Monitoring – Negligent Storage and Transportation – Florida

           1783. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1784. This cause of action is brought by Michael Galloway, Ricardo Moron and Ronald

   Ragis, individually and on behalf of the Florida GSK OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against GSK (for the purposes of this Count, “Defendant”).

           1785. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs



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   152-71, which are incorporated by reference.

          1786. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          1787. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          1788. Under Florida law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

          1789. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1790. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, transported, and

   sold, and, therefore, Plaintiffs and Florida GSK OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing the Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          1791. The latent injuries from which Plaintiffs and the Florida GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1792. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1793. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1794. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1795. Plaintiffs and the Florida GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Florida GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          1796. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1797. Plaintiffs and the Florida GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-


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   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida GSK OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

         4. Maryland

                                         COUNT _51:
          Negligence – Failure to Warn Through Warnings and Precautions – Maryland

           1798. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1799. This cause of action is brought by Charles Longfield, individually and on behalf of

   the Maryland GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1800. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1801. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

           1802. Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.



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          1803. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1804. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1805. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Maryland GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing the

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1806. The latent injuries from which Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1807. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          1808. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1809. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1810. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1811. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1812. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,


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   Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 52:
           Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

           1813. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1814. This cause of action is brought by Charles Longfield, individually and on behalf of

   the Maryland GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1815. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1816. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

           1817.   Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.

           1818. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe



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   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1819. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1820. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1821. The latent injuries from which Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1822. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1823. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          1824. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1825. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1826. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1827. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 53:
            Negligence – Failure to Warn Consumers Through the FDA – Maryland



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           1828. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1829. This cause of action is brought by Charles Longfield, individually and on behalf of

   the Maryland GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1830. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1831. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

           1832. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

   recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

   Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

   beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

   effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

   reasonable efforts would, in some circumstances, entail a warning to a third party such as the

   FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

           1833. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the


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   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers, like

   Defendant, may fulfill their state law duty to warn by informing the FDA, which is a third party

   that is reasonably expected to pool and share safety-related information and publicize risks to the

   medical community.

          1834. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1835. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. As an alternative theory of breach, if this method of warning consumers

   was unavailable, slower, or less effective, Brand Manufacturer Defendants, like Defendant, had a

   duty to warn the FDA as a third party who would disseminate information to the public.

   Defendants failed to warn anyone through any medium.

          1836. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of to make reasonable efforts to ensure an effective warning reached

   consumers.

          1837. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses


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   and expenses associated with ongoing medical monitoring.

          1838. The latent injuries from which Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1839. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1840. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1841. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1842. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.


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           1843. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1844. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 54:
                              Negligent Product Containers – Maryland

           1845. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1846. This cause of action is brought by Charles Longfield, individually and on behalf of

   the Maryland GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),



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   against GSK (for the purposes of this Count, “Defendant”).

          1847. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1848. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

          1849. Under Maryland law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

          1850. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          1851. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and, therefore, Plaintiffs and Maryland

   GSK OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          1852. The latent injuries from which Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1853. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1854. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1855. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1856. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1857. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1858. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 55:
                          Negligent Storage and Transportation – Maryland

           1859. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1860. This cause of action is brought by Charles Longfield, individually and on behalf of

   the Maryland GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1861. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1862. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

           1863. Under Maryland law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           1864. Defendant breached this duty by failing to implement or enforce policies to ensure



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   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          1865. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and Maryland GSK OTC Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          1866. The latent injuries from which Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1867. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1868. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1869. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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   without adequate treatment will be significantly reduced.

          1870. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1871. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1872. Plaintiffs and the Maryland GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

        5. Missouri

                                         COUNT 56:
          Negligence – Failure to Warn Through Warnings and Precautions – Missouri

          1873. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24



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   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1874. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1875. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1876. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

           1877. Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           1878. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           1879. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs


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   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1880. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Missouri GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1881. The latent injuries from which Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1882. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1883. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1884. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          1885. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1886. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1887. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 57:
           Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

          1888. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1889. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1890. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1891. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

           1892.   Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           1893. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           1894. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

           1895. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Missouri GSK OTC


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   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1896. The latent injuries from which Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1897. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1898. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1899. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1900. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

           1901. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1902. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 58:
            Strict Liability – Failure to Warn Consumers Through the FDA – Missouri

           1903. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.



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          1904. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

          1905. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1906. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

          1907. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

   of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

   [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

   state law to warn consumers about the risks of using their product, which Williams argues Bayer

   breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

   Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

          1908. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

   manufacturers, such as Defendant, have a state law duty to do so.

          1909. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1910. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. As an alternative theory of breach, if this method of warning consumers


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   was unavailable, slower, or less effective, Brand Manufacturer Defendants, including Defendant,

   had a duty to warn the FDA as a third party who would disseminate information to the public.

   Brand Manufacturer Defendants failed to warn anyone through any medium.

          1911. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          1912. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Missouri GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1913. The latent injuries from which Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1914. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.


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          1915. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1916. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1917. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1918. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1919. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members will continue to face


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   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 59:
                               Negligent Product Containers – Missouri

           1920. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1921. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1922. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1923. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

           1924. Under Missouri law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           1925. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           1926. As a direct and proximate result of this failure, excessive levels of NDMA built up



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   in the Ranitidine-Containing Products Defendant manufactured, stored, and transported, and,

   therefore, Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

   and have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          1927. The latent injuries from which Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1928. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1929. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1930. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1931. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the Missouri GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1932. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1933. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 60:
                         Negligent Storage and Transportation – Missouri

          1934. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing



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   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1935. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1936. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1937. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

           1938. Under Missouri law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           1939. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           1940. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Missouri GSK OTC Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

           1941. The latent injuries from which Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1942. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1943. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1944. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1945. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri GSK OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri GSK OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          1946. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1947. Plaintiffs and the Missouri GSK OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri GSK OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

         6. Nevada

                                         COUNT 61:
           Negligence – Failure to Warn Through Warnings and Precautions – Nevada

           1948. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1949. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1950. The allegations in this Count apply to GSK during the time period in which it was



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   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          1951. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to GSK.

          1952. Under Nevada law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

          1953. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          1954. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1955. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Nevada GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1956. The latent injuries from which Plaintiffs and the Nevada GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals


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   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1957. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1958. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1959. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1960. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          1961. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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   notifying all Nevada GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           1962. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada GSK OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 62:
            Negligence – Failure to Warn Through Proper Expiration Dates – Nevada

           1963. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1964. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1965. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          1966. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to GSK.

          1967.   Under Nevada law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

          1968. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          1969. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          1970. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Nevada GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1971. The latent injuries from which Plaintiffs and the Nevada GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1972. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1973. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1974. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1975. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          1976. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1977. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term


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   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada GSK OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 63:
               Negligence – Failure to Warn Consumers Through the FDA – Nevada

           1978. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1979. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1980. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1981. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to GSK.

           1982. “Nevada law contains a parallel requirement [to federal law] because it imposes a

   continuing duty on manufacturers to warn of defects in their products.” Scovil v. Medtronic Inc.,



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   No. 2:14-CV-00213-APG, 2015 WL 880614, at *7 (D. Nev. Mar. 2, 2015); see also Forest v. E.I.

   DuPont de Nemours & Co., 791 F. Supp. 1460, 1464 (D. Nev. 1992) (discussing Restatement

   (Second) § 388 and explaining that at the summary judgment stage, “negligence and strict liability

   claims should be considered together” and that on failure to warn the “Nevada formulation is based

   on California common law”).

          1983. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers, like

   Defendant, may fulfill their state law duty to warn by informing the FDA, which is a third party

   that is reasonably expected to pool and share safety-related information and publicize risks to the

   medical community.

          1984. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          1985. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. As an alternative theory of breach, if this method of warning consumers

   was unavailable, slower, or less effective, Brand Manufacturer Defendants, including Defendant,

   had a duty to warn the FDA as a third party who would disseminate information to the public.

   Brand Manufacturer Defendants failed to warn anyone through any medium.

          1986. Specifically, Defendants failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This


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   failure breached their duty of reasonable care.

          1987. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Nevada GSK OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          1988. The latent injuries from which Plaintiffs and the Nevada GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          1989. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          1990. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          1991. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          1992. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members seek


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   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          1993. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          1994. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada GSK OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 64:
                              Negligent Product Containers – Nevada

          1995. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           1996. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           1997. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           1998. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to GSK.

           1999. Under Nevada law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in choosing and making the containers for its products.

           2000. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           2001. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products each Manufacturer Defendant sold, and, therefore, Plaintiffs

   and the Nevada GSK OTC Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

           2002. The latent injuries from which Plaintiffs and the Nevada GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals


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   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2003. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2004. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2005. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2006. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2007. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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   notifying all Nevada GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2008. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada GSK OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 65:
                           Negligent Storage and Transportation – Nevada

           2009. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 360-83 (describing

   GSK’s failure to warn), 384-427 (describing Brand OTC Manufacturers’ failure to warn), and 975-

   85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           2010. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada GSK OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against GSK (for the purposes of this Count, “Defendant”).

           2011. The allegations in this Count apply to GSK during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          2012. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to GSK.

          2013. Under Nevada law, Defendant, has a duty to exercise reasonable care in

   transporting and storing products.

          2014. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2015. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Nevada GSK OTC Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2016. The latent injuries from which Plaintiffs and the Nevada GSK OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2017. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.


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          2018. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2019. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada GSK

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2020. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada GSK OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2021. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada GSK OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2022. Plaintiffs and the Nevada GSK OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada GSK OTC Medical Monitoring Class members will continue to face an


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   unreasonable risk of injury and disability and remain undiagnosed.

   C. CAUSES OF ACTION AGAINST DEFENDANT PFIZER WITH RESPECT TO OTC
      ZANTAC

          2023. Plaintiffs identified in the table below bring claims against Defendant Pfizer with

   respect to prescription Zantac on behalf of themselves and their respective State Pfizer OTC

   Medical Monitoring Class under the laws of their respective states of usage. Each Plaintiff

   incorporates by reference the allegations specific to them from Section III.B. and the allegations

   set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage
             Golbenaz Bakhtiar                                 CA
             Richard Obrien                                    CA
             Virginia Aragon                                   CA
             Jeffrey Pisano                                    CO
             Gustavo Velasquez                                 FL
             Joshua Winans                                     FL
             Ricardo Moròn                                     FL
             Ronald Ragis                                      FL
             Alberta Griffin                                   MD
             Ida Adams                                         MD; WV
             Charles Longfield                                 MD
             Ronda Lockett                                     MO
             Jonathan Ferguson                                 NV
             Chris Troyan                                      OH
             Michael Galloway                                  FL; OH

        1. California

                                        COUNT 66:
         Negligence – Failure to Warn Through Warnings and Precautions – California


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           2024. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2025. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Pfizer OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count,

   “Defendant”).

           2026. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2027. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Pfizer.

           2028. Under California law, manufacturers, like Defendant, have a duty of reasonable

   care to warn of particular risks that are known or knowable in light of the generally recognized

   and prevailing scientific and medical knowledge available at the time of manufacture and

   distribution.

           2029. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under


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   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2030. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2031. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and California Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2032. The latent injuries from which Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2033. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2034. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          2035. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2036. Plaintiffs and the California Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2037. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2038. Plaintiffs and the California Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiff and the California Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.




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                                          COUNT 67:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

           2039. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2040. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Pfizer OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count,

   “Defendant”).

           2041. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2042. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Pfizer.

           2043.    Under California law, manufacturers, including Defendant, have a duty of

   reasonable care to warn of particular risks that are known or knowable in light of the generally

   recognized and prevailing scientific and medical knowledge available at the time of manufacture

   and distribution.

           2044. Defendant breached this duty for its Ranitidine-Containing Products.            The



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   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2045. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2046. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2047. The latent injuries from which Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2048. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2049. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          2050. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2051. Plaintiffs and the California Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2052. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2053. Plaintiffs and the California Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.




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                                            COUNT 68:
           Strict Liability – Failure to Warn Consumers Through the FDA – California

           2054. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2055. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Pfizer OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count,

   “Defendant”).

           2056. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2057. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Pfizer.

           2058. Under California law, manufacturers, including Defendant, bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes

   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).



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          2059. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

          2060. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          2061. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. See 21 C.F.R. § 314.70. As an alternative theory of breach, if this method

   of warning consumers was unavailable, slower, or less effective, Brand Manufacturer Defendants,

   including Defendant, had a duty to warn the FDA as a third party who would disseminate

   information to the public. Defendant failed to warn anyone through any medium.

          2062. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting.

          2063. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.


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          2064. The latent injuries from which Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2065. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2066. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2067. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2068. Plaintiffs and the California Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2069. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2070. Plaintiffs and the California Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 69:
                               Negligent Product Containers – California

           2071. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2072. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Pfizer OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count,



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   “Defendant”).

          2073. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2074. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Pfizer.

          2075. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

          2076. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          2077. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California

   Pfizer OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          2078. The latent injuries from which Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2079. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2080. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2081. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2082. Plaintiffs and the California Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2083. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2084. Plaintiffs and the California Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 70:
                          Negligent Storage and Transportation – California

           2085. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2086. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Pfizer OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count,

   “Defendant”).

           2087. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2088. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Pfizer.

           2089. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.



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          2090. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2091. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and therefore Plaintiffs and California Pfizer OTC Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2092. The latent injuries from which Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2093. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2094. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2095. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Pfizer


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   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2096. Plaintiffs and the California Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2097. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2098. Plaintiffs and the California Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

        2. Colorado

                                         COUNT 71:
    Medical Monitoring – Negligence – Failure to Warn Through Warnings and Precautions –
                                           Colorado


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           2099. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2100. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2101. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2102. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Pfizer.

           2103. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           2104. Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

           2105. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under


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   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2106. Plaintiff or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2107. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiff and Colorado Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2108. The latent injuries from which Plaintiff and the Colorado Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2109. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2110. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          2111. By monitoring and testing Plaintiff, the risk that Plaintiff and the Colorado Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2112. Plaintiff and the Colorado Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiff and the Colorado Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiff and the Colorado Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2113. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2114. Plaintiff and the Colorado Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiff and the Colorado Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.




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                                        COUNT 72:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                          Colorado

           2115. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2116. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2117. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2118. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Pfizer.

           2119. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           2120.    Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

           2121. Defendant breached this duty for its Ranitidine-Containing Products.              The


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   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2122. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2123. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Colorado Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2124. The latent injuries from which Plaintiffs and the Colorado Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2125. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2126. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          2127. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2128. Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2129. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2130. Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.




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                                          COUNT 73:
                  Medical Monitoring – Negligent Product Containers – Colorado

           2131. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2132. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2133. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2134. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Pfizer.

           2135. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           2136. Under Colorado law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           2137. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.



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          2138. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Colorado Pfizer

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2139. The latent injuries from which Plaintiffs and the Colorado Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2140. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2141. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2142. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2143. Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2144. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2145. Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 74:
            Medical Monitoring – Negligent Storage And Transportation – Colorado

          2146. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing



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   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2147. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

   Colorado Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2148. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2149. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Pfizer.

           2150. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           2151. Under Colorado law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           2152. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           2153. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and Colorado Pfizer OTC Medical Monitoring Class members have sustained a

   significantly increased risk of developing Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           2154. The latent injuries from which Plaintiffs and the Colorado Pfizer OTC Medical


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   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2155. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2156. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2157. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2158. Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2159. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2160. Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

         3. Florida
                                         COUNT 75:
    Medical Monitoring – Negligence – Failure to Warn Through Warnings and Precautions –
                                            Florida

           2161. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2162. This cause of action is brought by Gustavo Velasquez, Joshua Winans, Ricardo

   Moron, Michael Galloway, and Ronald Ragis, individually and on behalf of the Florida Pfizer

   OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Pfizer (for



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   the purposes of this Count, “Defendant”).

          2163. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2164. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Pfizer.

          2165. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2166. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          2167. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2168. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2169. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Florida Pfizer OTC Medical


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   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          2170. The latent injuries from which Plaintiffs and the Florida Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2171. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2172. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2173. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2174. Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the Florida Pfizer OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

           2175. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2176. Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 76:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                           Florida

           2177. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.


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          2178. This cause of action is brought by Gustavo Velasquez, Joshua Winans, Ricardo

   Moron, Michael Galloway, and Ronald Ragis, individually and on behalf of the Florida Pfizer

   OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Pfizer (for

   the purposes of this Count, “Defendant”).

          2179. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2180. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Pfizer.

          2181. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2182. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          2183. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2184. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2185. As a direct and proximate result of Defendant’s failure to provide an adequate


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   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Florida Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2186. The latent injuries from which Plaintiffs and the Florida Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2187. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2188. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2189. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2190. Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class


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   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Pfizer OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

          2191. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2192. Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida members will continue to face an unreasonable risk of injury and disability and

   remain undiagnosed.

                                         COUNT 77:
                  Medical Monitoring – Negligent Product Containers – Florida

          2193. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine



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   and injury), as if fully stated herein.

           2194. This cause of action is brought by Gustavo Velasquez, Joshua Winans, Ricardo

   Moron, Michael Galloway, and Ronald Ragis, individually and on behalf of the Florida Pfizer

   OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Pfizer (for

   the purposes of this Count, “Defendant”).

           2195. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2196. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Pfizer.

           2197. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           2198. Under Florida law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           2199. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           2200. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused

   Plaintiffs’ injuries.

           2201. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and the Florida

   Pfizer OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing Subject Cancers and have suffered and will suffer economic losses and expenses


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   associated with ongoing medical monitoring.

          2202. The latent injuries from which Plaintiffs and the Florida Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2203. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2204. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2205. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2206. Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Pfizer OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.


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           2207. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2208. Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 78:
               Medical Monitoring – Negligent Storage and Transportation – Florida

           2209. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2210. This cause of action is brought by Gustavo Velasquez, Joshua Winans, Ricardo

   Moron, Michael Galloway, and Ronald Ragis, individually and on behalf of the Florida Pfizer



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   OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Pfizer (for

   the purposes of this Count, “Defendant”).

          2211. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2212. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Pfizer.

          2213. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2214. Under Florida law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

          2215. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2216. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class members have sustained a

   significantly increased risk of developing Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          2217. The latent injuries from which Plaintiffs and the Florida Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of


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   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2218. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2219. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2220. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2221. Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Pfizer OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

          2222. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Pfizer OTC Medical Monitoring Class members in writing that they may


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   require frequent medical monitoring for the purpose of diagnosis.

           2223. Plaintiffs and the Florida Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

         4. Maryland

                                         COUNT 79:
          Negligence – Failure to Warn Through Warnings and Precautions – Maryland

           2224. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2225. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Pfizer OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2226. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          2227. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Pfizer.

          2228. Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.

          2229. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2230. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2231. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Maryland Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2232. The latent injuries from which Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the


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   absence of exposure to this risk of harm.

          2233. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2234. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2235. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2236. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2237. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.


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           2238. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 80:
           Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

           2239. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2240. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Pfizer OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2241. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2242. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Pfizer.



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          2243.   Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.

          2244. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2245. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2246. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2247. The latent injuries from which Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2248. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          2249. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2250. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2251. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2252. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2253. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,


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   Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 81:
              Negligence – Failure to Warn Consumers Through the FDA– Maryland

           2254. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2255. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Pfizer OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2256. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2257. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Pfizer

           2258. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

   recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

   Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

   beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an



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   effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

   reasonable efforts would, in some circumstances, entail a warning to a third party such as the

   FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

          2259. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers, like

   Defendant, may fulfill their state law duty to warn by informing the FDA, which is a third party

   that is reasonably expected to pool and share safety-related information and publicize risks to the

   medical community.

          2260. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          2261. Under federal regulations, Brand Manufacturer Defendants, like Defendant, are

   able to revise the warnings on their branded products when new information arises or new analyses

   are performed. As an alternative theory of breach, if this method of warning consumers was

   unavailable, slower, or less effective, Brand Manufacturer Defendants, like Defendant, had a duty

   to warn the FDA as a third party who would disseminate information to the public. Defendants

   failed to warn anyone through any medium.

          2262. Specifically, Defendants failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of to make reasonable efforts to ensure an effective warning reached

   consumers.


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          2263. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2264. The latent injuries from which Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2265. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2266. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2267. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2268. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2269. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2270. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 82:
                             Negligent Product Containers– Maryland

          2271. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing



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   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2272. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Pfizer OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2273. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2274. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Pfizer.

           2275. Under Maryland law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           2276. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           2277. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland

   Pfizer OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           2278. The latent injuries from which Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of


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   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2279. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2280. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2281. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2282. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2283. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Pfizer OTC Medical Monitoring Class members in writing that they may


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   require frequent medical monitoring for the purpose of diagnosis.

           2284. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 83:
                          Negligent Storage and Transportation – Maryland

           2285. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2286. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Pfizer OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2287. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2288. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-



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   Specific Allegations) as to Pfizer.

          2289. Under Maryland law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

          2290. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2291. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and Maryland Pfizer OTC Medical Monitoring Class members have sustained a

   significantly increased risk of developing serious and potentially fatal Subject Cancers and have

   suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          2292. The latent injuries from which Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2293. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2294. The available monitoring regime is reasonably necessary according to


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   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2295. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2296. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2297. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2298. Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.


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         5. Missouri

                                          COUNT 84:
           Negligence – Failure to Warn Through Warnings and Precautions – Missouri

           2299. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2300. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2301. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2302. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Pfizer.

           2303. Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           2304. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under



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   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2305. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2306. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Missouri Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2307. The latent injuries from which Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2308. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2309. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          2310. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2311. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2312. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2313. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.




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                                          COUNT 85:
            Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

           2314. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2315. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2316. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2317. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Pfizer.

           2318.    Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           2319. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           2320. Plaintiffs or their doctors would have read and heeded these warnings had they been



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   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2321. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Missouri Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2322. The latent injuries from which Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2323. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2324. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2325. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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   without adequate treatment will be significantly reduced.

          2326. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2327. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2328. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 86:
           Strict Liability – Failure to Warn Consumers Through the FDA – Missouri

          2329. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-



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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2330. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2331. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2332. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Pfizer

           2333. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

   of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

   [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

   state law to warn consumers about the risks of using their product, which Williams argues Bayer

   breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

   Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

           2334. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

   manufacturers, such as Defendant, have a state law duty to do so.

           2335. The FDA was reasonably expected to disseminate this information. No speculation


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   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          2336. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. As an alternative theory of breach, if this method of warning consumers

   was unavailable, slower, or less effective, Brand Manufacturer Defendants, including Defendant,

   had a duty to warn the FDA as a third party who would disseminate information to the public.

   Brand Manufacturer Defendants failed to warn anyone through any medium.

          2337. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          2338. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Missouri Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2339. The latent injuries from which Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the


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   absence of exposure to this risk of harm.

          2340. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2341. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2342. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2343. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2344. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.


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           2345. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 87:
                                Negligent Product Containers – Missouri

           2346. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2347. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2348. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2349. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Pfizer.



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          2350. Under Missouri law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

          2351. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          2352. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant manufactured, stored, and transported, and,

   therefore, Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

   and have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          2353. The latent injuries from which Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2354. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2355. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          2356. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2357. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2358. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2359. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 88:
                         Negligent Storage and Transportation – Missouri



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           2360. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2361. This cause of action is brought by Ronda Lockett, individually and on behalf of the

   Missouri Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2362. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2363. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Pfizer.

           2364. Under Missouri law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           2365. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           2366. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class


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   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2367. The latent injuries from which Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2368. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2369. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2370. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2371. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the Missouri Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2372. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2373. Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Pfizer OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

        6. Nevada

                                         COUNT 89:
           Negligence – Failure to Warn Through Warnings and Precautions – Nevada

          2374. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine



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   and injury), as if fully stated herein.

           2375. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2376. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2377. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Pfizer.

           2378. Under Nevada law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           2379. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           2380. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

           2381. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and the Nevada Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing


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   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2382. The latent injuries from which Plaintiffs and the Nevada Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2383. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2384. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2385. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2386. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring


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   Class members as frequently and appropriately as necessary.

           2387. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2388. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 90:
             Negligence – Failure to Warn Through Proper Expiration Dates – Nevada

           2389. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2390. This cause of action is brought by Jonathan Ferguson, individually and on behalf



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   of the Nevada Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

          2391. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2392. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Pfizer.

          2393.    Under Nevada law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

          2394. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2395. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2396. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Nevada Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2397. The latent injuries from which Plaintiffs and the Nevada Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2398. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2399. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2400. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2401. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

          2402. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2403. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 91:
               Negligence – Failure to Warn Consumers Through the FDA – Nevada

           2404. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2405. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2406. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs



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   152-71, which are incorporated by reference.

          2407. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Pfizer

          2408. “Nevada law contains a parallel requirement [to federal law] because it imposes a

   continuing duty on manufacturers to warn of defects in their products.” Scovil v. Medtronic Inc.,

   No. 2:14-CV-00213-APG, 2015 WL 880614, at *7 (D. Nev. Mar. 2, 2015); see also Forest v. E.I.

   DuPont de Nemours & Co., 791 F. Supp. 1460, 1464 (D. Nev. 1992) (discussing Restatement

   (Second) § 388 and explaining that at the summary judgment stage, “negligence and strict liability

   claims should be considered together” and that on failure to warn the “Nevada formulation is based

   on California common law”).

          2409. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers, like

   Defendant, may fulfill their state law duty to warn by informing the FDA, which is a third party

   that is reasonably expected to pool and share safety-related information and publicize risks to the

   medical community.

          2410. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          2411. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. As an alternative theory of breach, if this method of warning consumers

   was unavailable, slower, or less effective, Brand Manufacturer Defendants, including Defendant,

   had a duty to warn the FDA as a third party who would disseminate information to the public.


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   Brand Manufacturer Defendants failed to warn anyone through any medium.

          2412. Specifically, Defendants failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          2413. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Nevada Pfizer OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2414. The latent injuries from which Plaintiffs and the Nevada Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2415. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2416. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          2417. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2418. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

          2419. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2420. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.




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                                              COUNT 92:
                                 Negligent Product Containers – Nevada

           2421. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2422. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2423. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2424. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Pfizer.

           2425. Under Nevada law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in choosing and making the containers for its products.

           2426. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           2427. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products each Manufacturer Defendant sold, and, therefore, Plaintiffs



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   and the Nevada Pfizer OTC Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          2428. The latent injuries from which Plaintiffs and the Nevada Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2429. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2430. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2431. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2432. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

           2433. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada Pfizer OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2434. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 93:
                            Negligent Storage and Transportation – Nevada

           2435. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.



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          2436. This cause of action is brought by Jonathan Ferguson, individually and on behalf

   of the Nevada Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

          2437. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2438. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Pfizer.

          2439. Under Nevada law, Defendant, has a duty to exercise reasonable care in

   transporting and storing products.

          2440. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2441. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and, therefore, Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class

   members have sustained a significantly increased risk of developing serious and potentially fatal

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2442. The latent injuries from which Plaintiffs and the Nevada Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of


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   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2443. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2444. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2445. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2446. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, Defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Nevada Pfizer OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

          2447. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada Pfizer OTC Medical Monitoring Class members in writing that they may


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   require frequent medical monitoring for the purpose of diagnosis.

           2448. Plaintiffs and the Nevada Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

         7. Ohio

                                            COUNT 94:
           Strict Liability – Failure to Warn Through Warnings and Precautions – Ohio

           2449. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2450. This cause of action is brought by Chris Troyan and Michael Galloway,

   individually and on behalf of the Ohio Pfizer OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2451. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          2452. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Pfizer.

          2453. Under Ohio law, a manufacturer, like Defendant, has the duty to provide an

   adequate warning of the risks associated with its product that it knows or should have known about,

   and a duty to provide adequate post-marketing warnings or instructions.

          2454. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Product were inadequate because they did not warn of the

   risk of cancer when taken over long periods, when stored under humid conditions, when stored

   under hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2455. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2456. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Ohio Pfizer OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2457. The latent injuries from which Plaintiffs and the Ohio Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of


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   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2458. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2459. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2460. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2461. Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2462. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Pfizer OTC Medical Monitoring Class members in writing that they may require


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   frequent medical monitoring for the purpose of diagnosis.

           2463. Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 95:
            Strict Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           2464. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2465. This cause of action is brought by Chris Troyan and Michael Galloway,

   individually and on behalf of the Ohio Pfizer OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2466. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2467. Plaintiffs incorporate herein Paragraphs 880-906 (Additional Count-Specific



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   Allegations) as to Pfizer.

          2468.    Under Ohio law, a manufacturer, like Defendant, has the duty to provide an

   adequate warning of the risks associated with its product that it knows or should have known about,

   and a duty to provide adequate post-marketing warnings or instructions.

          2469. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Product were inadequate because The expiration date

   improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

   long after manufacture, when in fact the products degraded into NDMA over time.

          2470. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2471. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio Pfizer OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2472. The latent injuries from which Plaintiffs and the Ohio Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.


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          2473. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2474. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2475. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2476. Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2477. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Pfizer OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2478. Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class have an inadequate


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   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 96:
                                  Negligent Product Containers – Ohio

           2479. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2480. This cause of action is brought by Chris Troyan and Michael Galloway,

   individually and on behalf of the Ohio Pfizer OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2481. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2482. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Pfizer.

           2483. Under Ohio law, a pharmaceutical manufacturer, like Defendant, has a duty to



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   exercise reasonable care in choosing and making the containers for its products.

          2484. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          2485. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio Pfizer

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          2486. The latent injuries from which Plaintiffs and the Ohio Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2487. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2488. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2489. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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   without adequate treatment will be significantly reduced.

          2490. Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2491. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Pfizer OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2492. Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 97:
                           Negligent Storage and Transportation – Ohio

          2493. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-



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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2494. This cause of action is brought by Chris Troyan and Michael Galloway,

   individually and on behalf of the Ohio Pfizer OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against Pfizer (for the purposes of this Count, “Defendant”).

           2495. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2496. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Pfizer.

           2497. Under Ohio law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in transporting and storing products.

           2498. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           2499. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and therefore Plaintiffs and Ohio Pfizer OTC Medical Monitoring Class members

   have sustained a significantly increased risk of developing serious and potentially fatal Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing


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   medical monitoring.

          2500. The latent injuries from which Plaintiffs and the Ohio Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2501. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2502. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2503. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Pfizer

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2504. Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.


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           2505. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Pfizer OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           2506. Plaintiffs and the Ohio Pfizer OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio Pfizer OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

         8. West Virginia

                                        COUNT 98:
    Medical Monitoring – Negligent Failure To Warn Through Warnings And Precautions –
                                        West Virginia

           2507. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2508. This cause of action is brought by Ida Adams, individually and on behalf of the


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   West Virginia Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

          2509. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2510. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Pfizer.

          2511. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2512. Under West Virginia law, a manufacturer, like Defendant, has a duty to provide an

   adequate warning of the risks of its products if it is reasonably foreseeable that the product would

   be unreasonably dangerous if distributed without a particular warning.

          2513. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each its Ranitidine-Containing Products were unreasonably inadequate because they

   did not warn of the risk of cancer when taken over long periods, when stored under humid

   conditions, when stored under hot conditions, when consumed with a high-nitrite diet, and when

   consumed long after manufacture.

          2514. Plaintiff or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2515. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of its Ranitidine-Containing Products, Plaintiff and West Virginia Pfizer OTC


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   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2516. The latent injuries from which Plaintiff and the West Virginia Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2517. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2518. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2519. By monitoring and testing Plaintiff, the risk that Plaintiff and the West Virginia

   Pfizer OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2520. Plaintiff and the West Virginia Pfizer OTC Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiff and the West Virginia Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiff and the West Virginia Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

           2521. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all West Virginia Pfizer OTC Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

           2522. Plaintiff and the West Virginia Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiff and the West Virginia Pfizer OTC Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 99:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                       West Virginia

           2523. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.


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          2524. This cause of action is brought by Ida Adams, individually and on behalf of the

   West Virginia Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

          2525. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2526. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Pfizer.

          2527. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2528.    Under West Virginia law, a manufacturer, like Defendant, has a duty to provide an

   adequate warning of the risks of its products if it is reasonably foreseeable that the product would

   be unreasonably dangerous if distributed without a particular warning.

          2529. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2530. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2531. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the West Virginia Pfizer

   OTC Medical Monitoring Class members have sustained a significantly increased risk of


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   developing Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2532. The latent injuries from which Plaintiffs and the West Virginia Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2533. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2534. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2535. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

   Pfizer OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2536. Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the West Virginia Pfizer OTC Medical


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   Monitoring Class members as frequently and appropriately as necessary.

           2537. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all West Virginia Pfizer OTC Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

           2538. Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 100:
                Medical Monitoring – Negligent Product Containers – West Virginia

           2539. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2540. This cause of action is brought by Ida Adams, individually and on behalf of the



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   West Virginia Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

          2541. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2542. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Pfizer.

          2543. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2544. Under West Virginia law, a pharmaceutical manufacturer, like Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

          2545. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          2546. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and West Virginia

   Pfizer OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2547. The latent injuries from which Plaintiffs and the West Virginia Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the


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   absence of exposure to this risk of harm.

          2548. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2549. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2550. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

   Pfizer OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2551. Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the West Virginia Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2552. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all West Virginia Pfizer OTC Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.


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           2553. Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 101:
           Medical Monitoring – Negligent Storage and Transportation –West Virginia

           2554. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2555. This cause of action is brought by Ida Adams, individually and on behalf of the

   West Virginia Pfizer OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Pfizer (for the purposes of this Count, “Defendant”).

           2556. The allegations in this Count apply to Pfizer during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2557. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Pfizer.



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          2558. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2559. Under West Virginia law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

          2560. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2561. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and West Virginia Pfizer OTC Medical Monitoring Class members have sustained a

   significantly increased risk of developing Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          2562. The latent injuries from which Plaintiffs and the West Virginia Pfizer OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2563. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2564. The available monitoring regime is reasonably necessary according to


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   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2565. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

   Pfizer OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2566. Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the West Virginia Pfizer OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          2567. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all West Virginia Pfizer OTC Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          2568. Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the West Virginia Pfizer OTC Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.


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   D. CAUSES OF ACTION AGAINST DEFENDANT BI WITH RESPECT TO OTC
      ZANTAC

          2569. Plaintiffs identified in the table below bring claims against Defendant BI with

   respect to prescription Zantac on behalf of themselves and their respective State BI OTC Medical

   Monitoring Class under the laws of their respective states of usage. Each Plaintiff incorporates by

   reference the allegations specific to them from Section III.B. and the allegations set forth in Section

   VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage
             Tangie Sims                                       AZ
             Golbenaz Bakhtiar                                 CA
             Richard Obrien                                    CA
             Virginia Aragon                                   CA
             Jonathan Ferguson                                 CA
             Jeffrey Pisano                                    CO
             Ronald Ragan                                      CO
             Clifton McKinnon                                  FL
             Gustavo Velasquez                                 FL
             Jeannie Black                                     FL
             Joshua Winans                                     FL
             Marva Mccall                                      FL
             Michael Tomlinson                                 FL
             Ricardo Moròn                                     FL
             Sharon Tweg                                       FL
             Ronald Ragis                                      FL
             Rebecca Sizemore                                  IN
             Teresa Dowler                                     IN
             Tracy Wells                                       IN
             Charles Longfield                                 MD


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             Plaintiff Name                                  State of Usage
             Alberta Griffin                                 MD
             Ida Adams                                       MD; WV
             Antrenise Campbell                              MO
             Lorie Kendall-Songer                            MO
             Angel Vega                                      MT
             Cesar Pinon                                     NV
             Chris Troyan                                    OH
             Michael Galloway                                OH
             Patricia Hess                                   OH
             Teresa Waters                                   UT

         1. Arizona

                                         COUNT 102:
           Negligence – Failure to Warn Through Warnings and Precautions – Arizona

           2570. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2571. This cause of action is brought by Tangie Sims, individually and on behalf of the

   Arizona BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           2572. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

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   152-71, which are incorporated by reference.

          2573. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

          2574. Under Arizona law manufacturers, like Defendants, have a duty of reasonable care

   to adequately warn of a particular risk that was known or knowable in light of the generally

   recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          2575. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2576. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2577. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Arizona BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal bladder, breast, colorectal/intestinal, esophageal, gastric, kidney, liver, lung,

   pancreatic, and prostate cancers (“Subject Cancers”) and have suffered and will suffer economic

   losses and expenses associated with ongoing medical monitoring.

          2578. The latent injuries from which Plaintiffs and the Arizona BI OTC Medical


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   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2579. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2580. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2581. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2582. Plaintiffs and the Arizona BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Arizona BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2583. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           2584. Plaintiffs and the Arizona BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Arizona BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                         COUNT 103:
            Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

           2585. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2586. This cause of action is brought by Tangie Sims, individually and on behalf of the

   Arizona BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           2587. The allegations in this Count apply to BI during the time period in which it was



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   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2588. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

          2589.    Under Arizona law, manufacturers, like Defendant, have a duty of reasonable care

   to adequately warn of a particular risk that was known or knowable in light of the generally

   recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          2590. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2591. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2592. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal bladder, breast, colorectal/intestinal, esophageal, gastric, kidney, liver, lung,

   pancreatic, and prostate cancers (“Subject Cancers”) and have suffered and will suffer economic

   losses and expenses associated with ongoing medical monitoring.

          2593. The latent injuries from which Plaintiffs and the Arizona BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2594. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2595. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2596. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2597. Plaintiffs and the Arizona BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Arizona BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2598. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           2599. Plaintiffs and the Arizona BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Arizona BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                             COUNT 104:
                                Negligent Product Containers – Arizona

           2600. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2601. This cause of action is brought by Tangie Sims, individually and on behalf of the

   Arizona BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           2602. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs



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   152-71, which are incorporated by reference.

          2603. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

          2604. Under Arizona law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

          2605. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          2606. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Arizona BI

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          2607. The latent injuries from which Plaintiffs and the Arizona BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2608. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2609. The available monitoring regime is reasonably necessary according to


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   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2610. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2611. Plaintiffs and the Arizona BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Arizona BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2612. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2613. Plaintiffs and the Arizona BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Arizona BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.


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                                             COUNT 105:
                            Negligent Storage and Transportation –Arizona

           2614. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2615. This cause of action is brought by Tangie Sims, individually and on behalf of the

   Arizona BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           2616. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2617. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

           2618. Under Arizona law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

           2619. Each Retailer and Distributor Defendant, like Defendant, breached this duty by

   failing to implement or enforce policies to ensure Ranitidine-Containing Products and ranitidine

   API remained free from excessive heat and humidity.

           2620. As a direct and proximate result of these systematic failures, excessive levels of



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   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and Arizona BI OTC Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal bladder, breast, colorectal/intestinal,

   esophageal, gastric, kidney, liver, lung, pancreatic, and prostate cancers (“Subject Cancers”) and

   have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          2621. The latent injuries from which Plaintiffs and the Arizona BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2622. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2623. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2624. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2625. Plaintiffs and the Arizona BI OTC Medical Monitoring Class members seek


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   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Arizona BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2626. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2627. Plaintiffs and the Arizona BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Arizona BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

        2. California

                                        COUNT 106:
         Negligence – Failure to Warn Through Warnings and Precautions – California

          2628. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2629. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, Virginia

   Aragon, and Jonathan Ferguson, individually and on behalf of the California BI OTC Medical

   Monitoring Class (for the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this

   Count, “Defendant”).

           2630. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2631. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

           2632. Under California law, manufacturers, like Defendant, have a duty of reasonable

   care to warn of particular risks that are known or knowable in light of the generally recognized

   and prevailing scientific and medical knowledge available at the time of manufacture and

   distribution.

           2633. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           2634. Plaintiffs or their doctors would have read and heeded these warnings had they been


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   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2635. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and California BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2636. The latent injuries from which Plaintiffs and the California BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2637. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2638. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2639. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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   without adequate treatment will be significantly reduced.

          2640. Plaintiffs and the California BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the California BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2641. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2642. Plaintiffs and the California BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the California BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 107:
          Negligence – Failure to Warn Through Proper Expiration Dates – California

          2643. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-



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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2644. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, Virginia

   Aragon, and Jonathan Ferguson, individually and on behalf of the California BI OTC Medical

   Monitoring Class (for the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this

   Count, “Defendant”).

           2645. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2646. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

           2647.    Under California law, manufacturers, including Defendant, have a duty of

   reasonable care to warn of particular risks that are known or knowable in light of the generally

   recognized and prevailing scientific and medical knowledge available at the time of manufacture

   and distribution.

           2648. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           2649. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs


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   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2650. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2651. The latent injuries from which Plaintiffs and the California BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2652. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2653. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2654. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          2655. Plaintiffs and the California BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the California BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2656. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2657. Plaintiffs and the California BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the California BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 108:
           Strict Liability –Failure to Warn Consumers Through the FDA – California

          2658. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2659. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, Virginia

   Aragon, and Jonathan Ferguson, individually and on behalf of the California BI OTC Medical

   Monitoring Class (for the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this

   Count, “Defendant”).

           2660. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2661. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to BI.

           2662. Under California law, manufacturers, including Defendant, bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes

   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).

           2663. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.


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          2664. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          2665. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. See 21 C.F.R. § 314.70. As an alternative theory of breach, if this method

   of warning consumers was unavailable, slower, or less effective, Brand Manufacturer Defendants,

   including Defendant, had a duty to warn the FDA as a third party who would disseminate

   information to the public. Defendant failed to warn anyone through any medium.

          2666. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting.

          2667. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2668. The latent injuries from which Plaintiffs and the California BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the


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   absence of exposure to this risk of harm.

          2669. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2670. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2671. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2672. Plaintiffs and the California BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the California BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2673. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.


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           2674. Plaintiffs and the California BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the California BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 109:
                               Negligent Product Containers –California

           2675. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2676. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, Virginia

   Aragon, and Jonathan Ferguson, individually and on behalf of the California BI OTC Medical

   Monitoring Class (for the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this

   Count, “Defendant”).

           2677. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2678. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-



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   Specific Allegations) as to BI.

          2679. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

          2680. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          2681. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California BI

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          2682. The latent injuries from which Plaintiffs and the California BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2683. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2684. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          2685. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2686. Plaintiffs and the California BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the California BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2687. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2688. Plaintiffs and the California BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the California BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 110:
                        Negligent Storage And Transportation – California



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           2689. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2690. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, Virginia

   Aragon, and Jonathan Ferguson, individually and on behalf of the California BI OTC Medical

   Monitoring Class (for the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this

   Count, “Defendant”).

           2691. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2692. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

           2693. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.

           2694. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           2695. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and


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   transported. These high levels of NDMA caused Plaintiffs’ injuries.

          2696. Plaintiffs and California BI OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

   and have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          2697. The latent injuries from which Plaintiffs and the California BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2698. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2699. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2700. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2701. Plaintiffs and the California BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the California BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the California BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2702. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2703. Plaintiffs and the California BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the California BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

        3. Colorado

                                        COUNT 111:
    Medical Monitoring – Negligence – Failure To Warn Through Warnings And Precautions
                                          – Colorado

          2704. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing


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   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2705. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

   and on behalf of the Colorado BI OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2706. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2707. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

           2708. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           2709. Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

           2710. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           2711. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs


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   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2712. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Colorado BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          2713. The latent injuries from which Plaintiffs and the Colorado BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2714. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2715. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2716. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          2717. Plaintiffs and the Colorado BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Colorado BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2718. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2719. Plaintiffs and the Colorado BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Colorado BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.


                                        COUNT 112:
     Medical Monitoring – Negligence –Failure to Warn Through Proper Expiration Dates –
                                          Colorado

          2720. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-



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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2721. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

   and on behalf of the Colorado BI OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2722. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2723. Plaintiffs incorporate herein Paragraphs 880-906 (Additional Count-Specific

   Allegations) as to BI.

           2724. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           2725.    Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

           2726. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           2727. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs


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   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2728. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Colorado BI OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2729. The latent injuries from which Plaintiffs and the Colorado BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2730. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2731. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2732. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          2733. Plaintiffs and the Colorado BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Colorado BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2734. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2735. Plaintiffs and the Colorado BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Colorado BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 113:
                 Medical Monitoring – Negligent Product Containers – Colorado

          2736. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2737. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

   and on behalf of the Colorado BI OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2738. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2739. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

           2740. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           2741. Under Colorado law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           2742. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           2743. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Colorado BI

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.


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          2744. The latent injuries from which Plaintiffs and the Colorado BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2745. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2746. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2747. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2748. Plaintiffs and the Colorado BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Colorado BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2749. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2750. Plaintiffs and the Colorado BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Colorado BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 114:
              Medical Monitoring – Negligent Storage and Transportation – Colorado

           2751. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2752. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

   and on behalf of the Colorado BI OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).



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          2753. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2754. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

          2755. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2756. Under Colorado law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

          2757. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2758. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and Colorado BI OTC Medical Monitoring Class members have sustained a significantly

   increased risk of developing Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2759. The latent injuries from which Plaintiffs and the Colorado BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.


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          2760. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2761. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2762. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2763. Plaintiffs and the Colorado BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Colorado BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2764. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2765. Plaintiffs and the Colorado BI OTC Medical Monitoring Class have an inadequate


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   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Colorado BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

         4. Florida

                                        COUNT 115:
          Medical Monitoring – Negligence – Failure to Warn Through Warnings and –
                                      PrecautionsFlorida

           2766. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2767. This cause of action is brought by Clifton McKinnon, Gustavo Velasquez, Jeannie

   Black, Joshua Winans, Marva McCall, Michael Tomlinson, Ricardo Moron, Sharon Tweg, and

   Ronald Ragis, individually and on behalf of the Florida BI OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2768. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2769. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-


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   Specific Allegations) as to BI.

          2770. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2771. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          2772. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2773. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2774. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Florida BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          2775. The latent injuries from which Plaintiffs and the Florida BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2776. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2777. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2778. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2779. Plaintiffs and the Florida BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Florida BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Florida BI OTC Medical Monitoring Class members as

   frequently and appropriately as necessary.

          2780. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           2781. Plaintiffs and the Florida BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                       COUNT 116:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                           Florida

           2782. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2783. This cause of action is brought by Clifton McKinnon, Gustavo Velasquez, Jeannie

   Black, Joshua Winans, Marva McCall, Michael Tomlinson, Ricardo Moron, Sharon Tweg, and

   Ronald Ragis, individually and on behalf of the Florida BI OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2784. The allegations in this Count apply to BI during the time period in which it was


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   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2785. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

          2786. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2787. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

          2788. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2789. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2790. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          2791. The latent injuries from which Plaintiffs and the Florida BI OTC Medical


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   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2792. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2793. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2794. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2795. Plaintiffs and the Florida BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Florida BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Florida BI OTC Medical Monitoring Class members as

   frequently and appropriately as necessary.

          2796. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           2797. Plaintiffs and the Florida BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                          COUNT 117:
                     Medical Monitoring – Negligent Product Contain – Florida

           2798. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2799. This cause of action is brought by Clifton McKinnon, Gustavo Velasquez, Jeannie

   Black, Joshua Winans, Marva McCall, Michael Tomlinson, Ricardo Moron, Sharon Tweg, and

   Ronald Ragis, individually and on behalf of the Florida BI OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).



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          2800. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2801. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

          2802. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          2803. Under Florida law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

          2804. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          2805. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Florida BI OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          2806. The latent injuries from which Plaintiffs and the Florida BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2807. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2808. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2809. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2810. Plaintiffs and the Florida BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Florida BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Florida BI OTC Medical Monitoring Class members as

   frequently and appropriately as necessary.

          2811. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2812. Plaintiffs and the Florida BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term


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   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                          COUNT 118:
               Medical Monitoring – Negligent Storage and Transportation – Florida

           2813. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7–24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2814. This cause of action is brought by Clifton McKinnon, Gustavo Velasquez, Jeannie

   Black, Joshua Winans, Marva McCall, Michael Tomlinson, Ricardo Moron, Sharon Tweg, and

   Ronald Ragis, individually and on behalf of the Florida BI OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2815. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2816. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

           2817. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased



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   their risk of developing serious and potentially fatal Subject Cancers.

          2818. Under Florida law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

          2819. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2820. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and Florida BI OTC Medical Monitoring Class members have sustained a significantly

   increased risk of developing Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2821. The latent injuries from which Plaintiffs and the Florida BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2822. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2823. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          2824. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2825. Plaintiffs and the Florida BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Florida BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Florida BI OTC Medical Monitoring Class members as

   frequently and appropriately as necessary.

          2826. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2827. Plaintiffs and the Florida BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Florida BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

        5. Indiana


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                                         COUNT 119:
           Negligence – Failure to Warn Through Warnings And Precautions – Indiana

           2828. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2829. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2830. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2831. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

           2832. Under Indiana law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate instructions for safe use and a warning as to dangers inherent in improper use.

           2833. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after



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   manufacture.

          2834. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2835. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Indiana BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2836. The latent injuries from which Plaintiffs and the Indiana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2837. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2838. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          2839. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2840. Plaintiffs and the Indiana BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          2841. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2842. Plaintiffs and the Indiana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Indiana BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

    COUNT 120: Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

          2843. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24


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   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2844. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2845. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2846. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

           2847.    Under Indiana law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate instructions for safe use and a warning as to dangers inherent in improper use.

           2848. Defendant breached this duty for its Ranitidine-Containing Products.                 The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           2849. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.


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          2850. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2851. The latent injuries from which Plaintiffs and the Indiana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2852. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2853. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2854. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2855. Plaintiffs and the Indiana BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          2856. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2857. Plaintiffs and the Indiana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Indiana BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                         COUNT 121:
              Negligence – Failure to Warn Consumers Through the FDA – Indiana

          2858. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing



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   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2859. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2860. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2861. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to BI.

           2862. Under Indiana law, manufacturers, including Defendant, bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes

   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).

           2863. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

           2864. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.


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          2865. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. See 21 C.F.R. § 314.70. As an alternative theory of breach, if this method

   of warning consumers was unavailable, slower, or less effective, Brand Manufacturer Defendants,

   including Defendant, had a duty to warn the FDA as a third party who would disseminate

   information to the public. Defendant failed to warn anyone through any medium.

          2866. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting.

          2867. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2868. The latent injuries from which Plaintiffs and the Indiana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2869. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2870. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2871. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2872. Plaintiffs and the Indiana BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          2873. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2874. Plaintiffs and the Indiana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-


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   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Indiana BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                             COUNT 122:
                                Negligent Product Containers – Indiana

           2875. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2876. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”) , against BI (for the purposes of this Count, “Defendant”).

           2877. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2878. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

           2879. Under Indiana law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           2880. Defendant breached this duty by failing to utilize containers that would minimize



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   the NDMA produced in its Ranitidine-Containing Products.

          2881. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Indiana BI OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          2882. The latent injuries from which Plaintiffs and the Indiana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2883. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2884. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2885. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2886. Plaintiffs and the Indiana BI OTC Medical Monitoring Class members seek


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   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          2887. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2888. Plaintiffs and the Indiana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Indiana BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                           COUNT 123:
                          Negligent Storage and Transportation – Indiana

          2889. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2890. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”) , against BI (for the purposes of this Count, “Defendant”).

           2891. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2892. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

           2893. Under Indiana law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in transporting and storing products.

           2894. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           2895. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported. These high levels of NDMA caused Plaintiff’ injuries.

           2896. Plaintiffs and Indiana BI OTC Medical Monitoring Class members have sustained

   a significantly increased risk of developing serious and potentially fatal Subject Cancers and have

   suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.


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          2897. The latent injuries from which Plaintiffs and the Indiana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2898. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2899. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2900. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          2901. Plaintiffs and the Indiana BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Indiana BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          2902. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           2903. Plaintiffs and the Indiana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Indiana BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

         6. Maryland

                                        COUNT 124:
          Negligence –Failure to Warn Through Warnings and Precautions – Maryland

           2904. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2905. This cause of action is brought by Charles Longfield, Alberta Griffin, and Ida

   Adams, individually and on behalf of the Maryland BI OTC Medical Monitoring Class (for the



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   purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

          2906. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2907. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

          2908. Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.

          2909. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2910. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2911. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Maryland BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2912. The latent injuries from which Plaintiffs and the Maryland BI OTC Medical


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   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2913. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2914. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2915. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2916. Plaintiffs and the Maryland BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Maryland BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2917. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2918. Plaintiffs and the Maryland BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Maryland BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 125:
           Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

           2919. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2920. This cause of action is brought by Charles Longfield, Alberta Griffin, and Ida

   Adams, individually and on behalf of the Maryland BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2921. The allegations in this Count apply to BI during the time period in which it was



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   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2922. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

          2923.    Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.

          2924. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          2925. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2926. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2927. The latent injuries from which Plaintiffs and the Maryland BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the


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   absence of exposure to this risk of harm.

          2928. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2929. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2930. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2931. Plaintiffs and the Maryland BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Maryland BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2932. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.


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           2933. Plaintiffs and the Maryland BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Maryland BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 126:
              Negligence – Failure to Warn Consumers Through the FDA – Maryland

           2934. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2935. This cause of action is brought by Charles Longfield, Alberta Griffin, and Ida

   Adams, individually and on behalf of the Maryland BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2936. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2937. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to BI.



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          2938. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

   recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

   Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

   beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

   effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

   reasonable efforts would, in some circumstances, entail a warning to a third party such as the

   FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

          2939. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers, like

   Defendant, may fulfill their state law duty to warn by informing the FDA, which is a third party

   that is reasonably expected to pool and share safety-related information and publicize risks to the

   medical community.

          2940. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          2941. Under federal regulations, Brand Manufacturer Defendants, like Defendant, are

   able to revise the warnings on their branded products when new information arises or new analyses

   are performed. As an alternative theory of breach, if this method of warning consumers was

   unavailable, slower, or less effective, Brand Manufacturer Defendants, like Defendant, had a duty

   to warn the FDA as a third party who would disseminate information to the public. Defendants

   failed to warn anyone through any medium.

          2942. Specifically, Defendants failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks


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   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of to make reasonable efforts to ensure an effective warning reached

   consumers.

          2943. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2944. The latent injuries from which Plaintiffs and the Maryland BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2945. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2946. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2947. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland BI


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   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2948. Plaintiffs and the Maryland BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Maryland BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2949. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2950. Plaintiffs and the Maryland BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Maryland BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 127:
                             Negligent Product Containers– Maryland

          2951. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24



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   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2952. This cause of action is brought by Charles Longfield, Alberta Griffin, and Ida

   Adams, individually and on behalf of the Maryland BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2953. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2954. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

           2955. Under Maryland law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           2956. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           2957. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland BI

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.


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          2958. The latent injuries from which Plaintiffs and the Maryland BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2959. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2960. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2961. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2962. Plaintiffs and the Maryland BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Maryland BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2963. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           2964. Plaintiffs and the Maryland BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Maryland BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 128:
                          Negligent Storage and Transportation – Maryland

           2965. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2966. This cause of action is brought by Charles Longfield, Alberta Griffin, and Ida

   Adams, individually and on behalf of the Maryland BI OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).



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          2967. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          2968. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

          2969. Under Maryland law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

          2970. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          2971. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and Maryland BI OTC Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          2972. The latent injuries from which Plaintiffs and the Maryland BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2973. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          2974. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2975. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2976. Plaintiffs and the Maryland BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Maryland BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2977. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          2978. Plaintiffs and the Maryland BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-


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   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Maryland BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

         7. Missouri

                                         COUNT 129:
           Negligence – Failure to Warn Through Warnings and Precautions –Missouri

           2979. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2980. This cause of action is brought by Antrenise Campbell and Lorie Kendall-Songer,

   individually and on behalf of the Missouri BI OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2981. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2982. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

           2983. Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.



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          2984. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          2985. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          2986. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Missouri BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          2987. The latent injuries from which Plaintiffs and the Missouri BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          2988. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          2989. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          2990. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          2991. Plaintiffs and the Missouri BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Missouri BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          2992. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          2993. Plaintiffs and the Missouri BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs


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   and the Missouri BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 130:
            Negligence –Failure to Warn Through Proper Expiration Dates – Missouri

           2994. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           2995. This cause of action is brought by Antrenise Campbell and Lorie Kendall-Songer,

   individually and on behalf of the Missouri BI OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           2996. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           2997. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

           2998.    Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           2999. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe



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   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3000. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3001. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3002. The latent injuries from which Plaintiffs and the Missouri BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3003. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3004. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          3005. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3006. Plaintiffs and the Missouri BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Missouri BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3007. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3008. Plaintiffs and the Missouri BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Missouri BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 131:
           Strict Liability – Failure to Warn Consumers Through the FDA – Missouri



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           3009. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3010. This cause of action is brought by Antrenise Campbell and Lorie Kendall-Songer,

   individually and on behalf of the Missouri BI OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           3011. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3012. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to BI.

           3013. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

   of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

   [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

   state law to warn consumers about the risks of using their product, which Williams argues Bayer

   breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

   Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

           3014. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,


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   manufacturers, such as Defendant, have a state law duty to do so.

          3015. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          3016. Under federal regulations, Brand Manufacturer Defendants, like Defendant, are

   able to revise the warnings on their branded products when new information arises or new analyses

   are performed. As an alternative theory of breach, if this method of warning consumers was

   unavailable, slower, or less effective, Brand Manufacturer Defendants, like Defendant, had a duty

   to warn the FDA as a third party who would disseminate information to the public. Brand

   Manufacturer Defendants failed to warn anyone through any medium.

          3017. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          3018. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3019. The latent injuries from which Plaintiffs and the Missouri BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals


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   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3020. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3021. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3022. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3023. Plaintiffs and the Missouri BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Missouri BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3024. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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   notifying all Missouri BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           3025. Plaintiffs and the Missouri BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Missouri BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 132:
                                Negligent Product Containers – Missouri

           3026. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3027. This cause of action is brought by Antrenise Campbell and Lorie Kendall-Songer,

   individually and on behalf of the Missouri BI OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           3028. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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           3029. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

           3030. Under Missouri law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3031. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3032. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused

   Plaintiffs’ injuries.

           3033. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Missouri BI

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           3034. The latent injuries from which Plaintiffs and the Missouri BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

           3035. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          3036. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3037. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3038. Plaintiffs and the Missouri BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Missouri BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3039. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3040. Plaintiffs and the Missouri BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs


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   and the Missouri BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 133:
                           Negligent Storage and Transportation – Missouri

           3041. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3042. This cause of action is brought by Antrenise Campbell and Lorie Kendall-Songer,

   individually and on behalf of the Missouri BI OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).

           3043. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3044. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

           3045. Under Missouri law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           3046. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and



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   humidity.

          3047. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold. These high

   levels of NDMA caused Plaintiffs’ injuries.

          3048. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported. These high levels of NDMA caused Plaintiff’ injuries.

          3049. Plaintiffs and Missouri BI OTC Medical Monitoring Class members have sustained

   a significantly increased risk of developing serious and potentially fatal Subject Cancers and have

   suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          3050. The latent injuries from which Plaintiffs and the Missouri BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3051. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3052. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          3053. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3054. Plaintiffs and the Missouri BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Missouri BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3055. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3056. Plaintiffs and the Missouri BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Missouri BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

        8. Montana


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                                        COUNT 134:
    Medical Monitoring – Negligence – Failure to Warn Through Warnings and Precautions –
                                           Montana

           3057. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3058. This cause of action is brought by Angel Vega, individually and on behalf of the

   Montana BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           3059. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3060. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

           3061. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3062. Under Montana law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           3063. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk


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   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          3064. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3065. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Montana BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          3066. The latent injuries from which Plaintiffs and the Montana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3067. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3068. The available monitoring regime is reasonably necessary according to


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   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3069. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Montana BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3070. Plaintiffs and the Montana BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Montana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Montana BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3071. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Montana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3072. Plaintiffs and the Montana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Montana BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.


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                                       COUNT 135:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                          Montana

           3073. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3074. This cause of action is brought by Angel Vega, individually and on behalf of the

   Montana BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           3075. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3076. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

           3077. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3078.    Under Montana law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           3079. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe


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   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3080. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3081. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Montana BI OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          3082. The latent injuries from which Plaintiffs and the Montana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3083. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3084. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          3085. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Montana BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3086. Plaintiffs and the Montana BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Montana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Montana BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3087. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Montana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3088. Plaintiffs and the Montana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Montana BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 136:
                 Medical Monitoring – Negligent Product Containers – Montana



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           3089. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3090. This cause of action is brought by Angel Vega, individually and on behalf of the

   Montana BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           3091. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3092. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

           3093. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3094. Under Montana law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3095. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3096. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused


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   Plaintiffs’ injuries.

           3097. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Montana BI

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

           3098. The latent injuries from which Plaintiffs and the Montana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

           3099. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

           3100. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

           3101. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Montana BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

           3102. Plaintiffs and the Montana BI OTC Medical Monitoring Class members seek


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   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Montana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Montana BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3103. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Montana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3104. Plaintiffs and the Montana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Montana BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 137:
             Medical Monitoring – Negligent Storage and Transportation – Montana

          3105. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3106. This cause of action is brought by Angel Vega, individually and on behalf of the

   Montana BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           3107. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3108. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

           3109. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3110. Under Montana law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           3111. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           3112. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold. These high

   levels of NDMA caused Plaintiffs’ injuries.

           3113. Plaintiffs and Montana BI OTC Medical Monitoring Class members have sustained

   a significantly increased risk of developing Subject Cancers and have suffered and will suffer


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   economic losses and expenses associated with ongoing medical monitoring.

          3114. The latent injuries from which Plaintiffs and the Montana BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3115. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3116. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3117. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Montana BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3118. Plaintiffs and the Montana BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Montana BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Montana BI OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.


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           3119. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Montana BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           3120. Plaintiffs and the Montana BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Montana BI OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

         9. Nevada

                                         COUNT 138:
           Negligence – Failure to Warn Through Warnings and Precautions – Nevada

           3121. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3122. This cause of action is brought by Cesar Pinon, individually and on behalf of the



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   Nevada BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

          3123. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3124. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

          3125. Under Nevada law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

          3126. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          3127. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3128. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Nevada BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.


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          3129. The latent injuries from which Plaintiffs and the Nevada BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3130. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3131. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3132. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3133. Plaintiffs and the Nevada BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          3134. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           3135. Plaintiffs and the Nevada BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.


                                         COUNT 139:
             Negligence –Failure to Warn Through Proper Expiration Dates – Nevada

           3136. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3137. This cause of action is brought by Cesar Pinon, individually and on behalf of the

   Nevada BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).


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          3138. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3139. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

          3140.    Under Nevada law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

          3141. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3142. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3143. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Nevada BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3144. The latent injuries from which Plaintiffs and the Nevada BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of


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   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3145. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3146. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3147. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3148. Plaintiffs and the Nevada BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          3149. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada BI OTC Medical Monitoring Class members in writing that they may require


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   frequent medical monitoring for the purpose of diagnosis.

           3150. Plaintiffs and the Nevada BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                          COUNT 140:
               Negligence – Failure to Warn Consumers Through the FDA – Nevada

           3151. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3152. This cause of action is brought by Cesar Pinon, individually and on behalf of the

   Nevada BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           3153. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3154. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-



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   Specific Allegations) as to BI.

          3155. “Nevada law contains a parallel requirement [to federal law] because it imposes a

   continuing duty on manufacturers to warn of defects in their products.” Scovil v. Medtronic Inc.,

   No. 2:14-CV-00213-APG, 2015 WL 880614, at *7 (D. Nev. Mar. 2, 2015); see also Forest v. E.I.

   DuPont de Nemours & Co., 791 F. Supp. 1460, 1464 (D. Nev. 1992) (discussing Restatement

   (Second) § 388 and explaining that at the summary judgment stage, “negligence and strict liability

   claims should be considered together” and that on failure to warn the “Nevada formulation is based

   on California common law”).

          3156. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers, like

   Defendant, may fulfill their state law duty to warn by informing the FDA, which is a third party

   that is reasonably expected to pool and share safety-related information and publicize risks to the

   medical community.

          3157. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          3158. Under federal regulations, Brand Manufacturer Defendants, like Defendant, are

   able to revise the warnings on their branded products when new information arises or new analyses

   are performed. As an alternative theory of breach, if this method of warning consumers was

   unavailable, slower, or less effective, Brand Manufacturer Defendants, like Defendant, had a duty

   to warn the FDA as a third party who would disseminate information to the public. Brand

   Manufacturer Defendants failed to warn anyone through any medium.

          3159. Specifically, Defendants failed to submit adverse event reports related to cancer for


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   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          3160. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Nevada BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3161. The latent injuries from which Plaintiffs and the Nevada BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3162. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3163. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3164. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada BI OTC


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   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3165. Plaintiffs and the Nevada BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          3166. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3167. Plaintiffs and the Nevada BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                           COUNT 141:
                              Negligent Product Containers – Nevada

          3168. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24



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   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3169. This cause of action is brought by Cesar Pinon, individually and on behalf of the

   Nevada BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

           3170. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3171. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

           3172. Under Nevada law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3173. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3174. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products each Manufacturer Defendant sold. These high levels of

   NDMA caused Plaintiffs’ injuries.

           3175. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Nevada BI OTC


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   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3176. The latent injuries from which Plaintiffs and the Nevada BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3177. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3178. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3179. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3180. Plaintiffs and the Nevada BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical


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   monitoring and diagnosis of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

           3181. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           3182. Plaintiffs and the Nevada BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                             COUNT 142:
                            Negligent Storage and Transportation – Nevada

           3183. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.



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          3184. This cause of action is brought by Cesar Pinon, individually and on behalf of the

   Nevada BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against

   BI (for the purposes of this Count, “Defendant”).

          3185. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3186. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

          3187. Under Nevada law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

          3188. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          3189. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold. These high

   levels of NDMA caused Plaintiffs’ injuries.

          3190. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and therefore Plaintiffs and Nevada BI OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

   and have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          3191. The latent injuries from which Plaintiffs and the Nevada BI OTC Medical


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   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3192. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3193. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3194. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Nevada BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3195. Plaintiffs and the Nevada BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Nevada BI OTC Medical Monitoring Class members

   as frequently and appropriately as necessary.

          3196. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Nevada BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           3197. Plaintiffs and the Nevada BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Nevada BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

         10. Ohio

                                            COUNT 143:
           Strict Liability – Failure to Warn Through Warnings and Precautions – Ohio

           3198. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3199. This cause of action is brought by Chris Troyan, Michael Galloway, and Patricia

   Hess, individually and on behalf of the Ohio BI OTC Medical Monitoring Class (for the purposes

   of this Count, “Plaintiffs”), against BI (for the purposes of this Count, “Defendant”).



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          3200. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3201. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

          3202. Under Ohio law, a manufacturer, like Defendant, has the duty to provide an

   adequate warning of the risks associated with its product that it knows or should have known about,

   and a duty to provide adequate post-marketing warnings or instructions.

          3203. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Product were inadequate because they did not warn of the

   risk of cancer when taken over long periods, when stored under humid conditions, when stored

   under hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          3204. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3205. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Ohio BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3206. The latent injuries from which Plaintiffs and the Ohio BI OTC Medical Monitoring


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   Class members suffer require specialized testing (with resultant treatment) that is not generally

   given to the public at large. The available monitoring regime is specific for individuals exposed

   to products known to significantly increase the risk of the Subject Cancers because of ingesting

   Ranitidine-Containing Products and is different from that normally recommended in the absence

   of exposure to this risk of harm.

          3207. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3208. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3209. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3210. Plaintiffs and the Ohio BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Ohio BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Ohio BI OTC Medical Monitoring Class members as frequently

   and appropriately as necessary.

          3211. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           3212. Plaintiffs and the Ohio BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                            COUNT 144:
            Strict Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           3213. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3214. This cause of action is brought by Chris Troyan, Michael Galloway, and Patricia

   Hess, individually and on behalf of the Ohio BI OTC Medical Monitoring Class (for the purposes

   of this Count, “Plaintiffs”) , against BI (for the purposes of this Count, “Defendant”).

           3215. The allegations in this Count apply to BI during the time period in which it was



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   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3216. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

          3217.    Under Ohio law, a manufacturer, like Defendant, has the duty to provide an

   adequate warning of the risks associated with its product that it knows or should have known about,

   and a duty to provide adequate post-marketing warnings or instructions.

          3218. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Product were inadequate because The expiration date

   improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

   long after manufacture, when in fact the products degraded into NDMA over time.

          3219. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3220. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3221. The latent injuries from which Plaintiffs and the Ohio BI OTC Medical Monitoring

   Class members suffer require specialized testing (with resultant treatment) that is not generally

   given to the public at large. The available monitoring regime is specific for individuals exposed


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   to products known to significantly increase the risk of the Subject Cancers because of ingesting

   Ranitidine-Containing Products and is different from that normally recommended in the absence

   of exposure to this risk of harm.

          3222. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3223. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3224. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3225. Plaintiffs and the Ohio BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Ohio BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Ohio BI OTC Medical Monitoring Class members as frequently

   and appropriately as necessary.

          3226. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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   notifying all Ohio BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           3227. Plaintiffs and the Ohio BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                             COUNT 145:
                                  Negligent Product Containers – Ohio

           3228. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3229. This cause of action is brought by Chris Troyan, Michael Galloway, and Patricia

   Hess, individually and on behalf of the Ohio BI OTC Medical Monitoring Class (for the purposes

   of this Count, “Plaintiffs”) , against BI (for the purposes of this Count, “Defendant”).

           3230. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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           3231. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

           3232. Under Ohio law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3233. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3234. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused

   Plaintiffs’ injuries.

           3235. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio BI OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

           3236. The latent injuries from which Plaintiffs and the Ohio BI OTC Medical Monitoring

   Class members suffer require specialized testing (with resultant treatment) that is not generally

   given to the public at large. The available monitoring regime is specific for individuals exposed

   to products known to significantly increase the risk of the Subject Cancers because of ingesting

   Ranitidine-Containing Products and is different from that normally recommended in the absence

   of exposure to this risk of harm.

           3237. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          3238. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3239. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3240. Plaintiffs and the Ohio BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Ohio BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Ohio BI OTC Medical Monitoring Class members as frequently

   and appropriately as necessary.

          3241. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3242. Plaintiffs and the Ohio BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs


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   and the Ohio BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                             COUNT 146:
                             Negligent Storage And Transportation – Ohio

           3243. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3244. This cause of action is brought by Chris Troyan, Michael Galloway, and Patricia

   Hess, individually and on behalf of the Ohio BI OTC Medical Monitoring Class (for the purposes

   of this Count, “Plaintiffs”) , against BI (for the purposes of this Count, “Defendant”).

           3245. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3246. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

           3247. Under Ohio law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in transporting and storing products.

           3248. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and



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   humidity.

          3249. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and therefore Plaintiffs and Ohio BI OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

   and have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          3250. The latent injuries from which Plaintiffs and the Ohio BI OTC Medical Monitoring

   Class members suffer require specialized testing (with resultant treatment) that is not generally

   given to the public at large. The available monitoring regime is specific for individuals exposed

   to products known to significantly increase the risk of the Subject Cancers because of ingesting

   Ranitidine-Containing Products and is different from that normally recommended in the absence

   of exposure to this risk of harm.

          3251. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3252. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3253. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.


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          3254. Plaintiffs and the Ohio BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Ohio BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Ohio BI OTC Medical Monitoring Class members as frequently

   and appropriately as necessary.

          3255. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3256. Plaintiffs and the Ohio BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

        11. Utah

                                        COUNT 147:
    Medical Monitoring – Negligence – Failure to Warn Through Warnings and Precautions –
                                             Utah

          3257. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-


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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3258. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against BI

   (for the purposes of this Count, “Defendant”).

           3259. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3260. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

           3261. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3262. Under Utah law, a manufacturer, like Defendant, has a duty of reasonable care to

   provide an adequate warning of the risks of its products.

           3263. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           3264. Plaintiffs or their doctors would have read and heeded these warnings had they been


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   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3265. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Utah BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          3266. The latent injuries from which Plaintiffs and the Utah BI OTC Medical Monitoring

   Class members suffer require specialized testing (with resultant treatment) that is not generally

   given to the public at large. The available monitoring regime is specific for individuals exposed

   to products known to significantly increase the risk of the Subject Cancers because of ingesting

   Ranitidine-Containing Products and is different from that normally recommended in the absence

   of exposure to this risk of harm.

          3267. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3268. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3269. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without


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   adequate treatment will be significantly reduced.

          3270. Plaintiffs and the Utah BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Utah BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Utah BI OTC Medical Monitoring Class members as frequently

   and appropriately as necessary.

          3271. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3272. Plaintiffs and the Utah BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Utah BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                        COUNT 148:
    Medical Monitoring – Negligence – Failure To Warn Through Proper Expiration Dates –
                                            Utah

          3273. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-


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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3274. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against BI

   (for the purposes of this Count, “Defendant”).

           3275. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3276. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

           3277. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3278.    Under Utah law, a manufacturer, like Defendant, has a duty of reasonable care to

   provide an adequate warning of the risks of its products.

           3279. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           3280. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the


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   use of the Ranitidine-Containing Products.

          3281. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Utah BI OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          3282. The latent injuries from which Plaintiffs and the Utah BI OTC Medical Monitoring

   Class members suffer require specialized testing (with resultant treatment) that is not generally

   given to the public at large. The available monitoring regime is specific for individuals exposed

   to products known to significantly increase the risk of the Subject Cancers because of ingesting

   Ranitidine-Containing Products and is different from that normally recommended in the absence

   of exposure to this risk of harm.

          3283. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3284. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3285. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3286. Plaintiffs and the Utah BI OTC Medical Monitoring Class members seek creation


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   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Utah BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Utah BI OTC Medical Monitoring Class members as frequently

   and appropriately as necessary.

          3287. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3288. Plaintiffs and the Utah BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Utah BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                         COUNT 149:
                    Medical Monitoring – Negligent Product Containers –Utah

          3289. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3290. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against BI

   (for the purposes of this Count, “Defendant”).

           3291. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3292. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

           3293. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3294. Under Utah law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3295. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3296. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused

   Plaintiffs’ injuries.

           3297. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Utah BI OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing


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   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          3298. The latent injuries from which Plaintiffs and the Utah BI OTC Medical Monitoring

   Class members suffer require specialized testing (with resultant treatment) that is not generally

   given to the public at large. The available monitoring regime is specific for individuals exposed

   to products known to significantly increase the risk of the Subject Cancers because of ingesting

   Ranitidine-Containing Products and is different from that normally recommended in the absence

   of exposure to this risk of harm.

          3299. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3300. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3301. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3302. Plaintiffs and the Utah BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Utah BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Utah BI OTC Medical Monitoring Class members as frequently


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   and appropriately as necessary.

           3303. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah BI OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

           3304. Plaintiffs and the Utah BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Utah BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

                                         COUNT 150:
                Medical Monitoring – Negligent Storage and Transportation – Utah

           3305. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3306. This cause of action is brought by Teresa Waters, individually and on behalf of the



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   Utah BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”) , against BI

   (for the purposes of this Count, “Defendant”).

          3307. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3308. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

          3309. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          3310. Under Utah law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

          3311. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          3312. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and Utah BI OTC Medical Monitoring Class members have sustained a significantly

   increased risk of developing Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3313. The latent injuries from which Plaintiffs and the Utah BI OTC Medical Monitoring

   Class members suffer require specialized testing (with resultant treatment) that is not generally

   given to the public at large. The available monitoring regime is specific for individuals exposed

   to products known to significantly increase the risk of the Subject Cancers because of ingesting


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   Ranitidine-Containing Products and is different from that normally recommended in the absence

   of exposure to this risk of harm.

          3314. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3315. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3316. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah BI OTC

   Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

   adequate treatment will be significantly reduced.

          3317. Plaintiffs and the Utah BI OTC Medical Monitoring Class members seek creation

   of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

   diagnoses of Plaintiffs and the Utah BI OTC Medical Monitoring Class members for the Subject

   Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

   and diagnosis of Plaintiffs and the Utah BI OTC Medical Monitoring Class members as frequently

   and appropriately as necessary.

          3318. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah BI OTC Medical Monitoring Class members in writing that they may require


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   frequent medical monitoring for the purpose of diagnosis.

           3319. Plaintiffs and the Utah BI OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Utah BI OTC Medical Monitoring Class members will continue to face an unreasonable

   risk of injury and disability and remain undiagnosed.

         12. West Virginia

                                        COUNT 151:
     Medical Monitoring – Negligent Failure to Warn Through Warnings and Precautions –
                                        West Virginia

           3320. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3321. This cause of action is brought by Ida Adams, individually and on behalf of the

   West Virginia BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against BI (for the purposes of this Count, “Defendant”).

           3322. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.


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          3323. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to BI.

          3324. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          3325. Under West Virginia law, a manufacturer, like Defendant, has a duty to provide an

   adequate warning of the risks of its products if it is reasonably foreseeable that the product would

   be unreasonably dangerous if distributed without a particular warning.

          3326. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each its Ranitidine-Containing Products were unreasonably inadequate because they

   did not warn of the risk of cancer when taken over long periods, when stored under humid

   conditions, when stored under hot conditions, when consumed with a high-nitrite diet, and when

   consumed long after manufacture.

          3327. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3328. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of its Ranitidine-Containing Products, Plaintiff and West Virginia BI OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          3329. The latent injuries from which Plaintiff and the West Virginia BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3330. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3331. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3332. By monitoring and testing Plaintiff, the risk that Plaintiff and the West Virginia BI

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3333. Plaintiff and the West Virginia BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiff and the West Virginia BI OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiff and the West Virginia BI OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3334. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all West Virginia BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3335. Plaintiff and the West Virginia BI OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiff and the West Virginia BI OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                       COUNT 152:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                       West Virginia

           3336. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3337. This cause of action is brought by Ida Adams, individually and on behalf of the

   West Virginia BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against BI (for the purposes of this Count, “Defendant”).

           3338. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs


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   152-71, which are incorporated by reference.

          3339. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to BI.

          3340. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          3341.    Under West Virginia law, a manufacturer, like Defendant, has a duty to provide an

   adequate warning of the risks of its products if it is reasonably foreseeable that the product would

   be unreasonably dangerous if distributed without a particular warning.

          3342. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3343. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3344. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the West Virginia BI OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          3345. The latent injuries from which Plaintiffs and the West Virginia BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals


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   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3346. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3347. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3348. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

   BI OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3349. Plaintiffs and the West Virginia BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the West Virginia BI OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the West Virginia BI OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3350. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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   notifying all West Virginia BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3351. Plaintiffs and the West Virginia BI OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the West Virginia BI OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 153:
                Medical Monitoring – Negligent Product Containers – West Virginia

           3352. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3353. This cause of action is brought by Ida Adams, individually and on behalf of the

   West Virginia BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against BI (for the purposes of this Count, “Defendant”).

           3354. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          3355. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to BI.

          3356. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          3357. Under West Virginia law, a pharmaceutical manufacturer, like Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

          3358. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          3359. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and West Virginia

   BI OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3360. The latent injuries from which Plaintiffs and the West Virginia BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3361. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.


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          3362. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3363. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

   BI OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3364. Plaintiffs and the West Virginia BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the West Virginia BI OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the West Virginia BI OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3365. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all West Virginia BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3366. Plaintiffs and the West Virginia BI OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the West Virginia BI OTC Medical Monitoring Class members will continue to face


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   an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 154:
           Medical Monitoring – Negligent Storage and Transportation –West Virginia

           3367. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3368. This cause of action is brought by Ida Adams, individually and on behalf of the

   West Virginia BI OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against BI (for the purposes of this Count, “Defendant”).

           3369. The allegations in this Count apply to BI during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3370. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to BI.

           3371. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3372. Under West Virginia law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           3373. Defendant breached this duty by failing to implement or enforce policies to ensure



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   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          3374. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and West Virginia BI OTC Medical Monitoring Class members have sustained a

   significantly increased risk of developing Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          3375. The latent injuries from which Plaintiffs and the West Virginia BI OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3376. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3377. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3378. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

   BI OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          3379. Plaintiffs and the West Virginia BI OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the West Virginia BI OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the West Virginia BI OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3380. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all West Virginia BI OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3381. Plaintiffs and the West Virginia BI OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the West Virginia BI OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

   E. CAUSES OF ACTION AGAINST DEFENDANT SANOFI WITH RESPECT TO OTC
      ZANTAC

          3382. Plaintiffs identified in the table below bring claims against Defendant Sanofi with

   respect to prescription Zantac on behalf of themselves and their respective State Sanofi OTC

   Medical Monitoring Class under the laws of their respective states of usage. Each Plaintiff



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   incorporates by reference the allegations specific to them from Section III.B. and the allegations

   set forth in Section VI, supra, into their respective claims below.

            Plaintiff Name                                    State
            Tangie Sims                                       AZ
            Golbenaz Bakhtiar                                 CA
            Richard Obrien                                    CA
            Virginia Aragon                                   CA
            Jeffrey Pisano                                    CO
            Ronald Ragan                                      CO
            Gustavo Velasquez                                 FL
            Jeannie Black                                     FL
            Joshua Winans                                     FL
            Michael Tomlinson                                 FL
            Ricardo Moròn                                     FL
            Sharon Tweg                                       FL
            Sonia Diaz                                        FL
            Rebecca Sizemore                                  IN
            Teresa Dowler                                     IN
            Tracy Wells                                       IN
            Alberta Griffin                                   MD
            Ida Adams                                         MD
            Lorie Kendall-Songer                              MO
            Chris Troyan                                      OH
            Michael Galloway                                  OH
            Teresa Waters                                     UT


        1. Arizona

                                         COUNT 155:
           Negligence – Failure to Warn Through Warnings and Precautions – Arizona



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           3383. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3384. This cause of action is brought by Tangie Sims, individually and on behalf of the

   Arizona Sanofi OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Sanofi (for the purposes of this Count, “Defendant”).

           3385. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3386. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

           3387. Under Arizona law manufacturers, like Defendants, have a duty of reasonable care

   to adequately warn of a particular risk that was known or knowable in light of the generally

   recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

           3388. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after


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   manufacture.

          3389. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3390. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Arizona Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3391. The latent injuries from which Plaintiffs and the Arizona Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3392. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3393. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          3394. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3395. Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Arizona Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3396. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3397. Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 156:
            Negligence –Failure to Warn Through Proper Expiration Dates – Arizona



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           3398. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3399. This cause of action is brought by Tangie Sims, individually and on behalf of the

   Arizona Sanofi OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Sanofi (for the purposes of this Count, “Defendant”).

           3400. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3401. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Sanofi.

           3402.    Under Arizona law, manufacturers, like Defendant, have a duty of reasonable care

   to adequately warn of a particular risk that was known or knowable in light of the generally

   recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

           3403. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           3404. Plaintiffs or their doctors would have read and heeded these warnings had they been


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   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3405. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3406. The latent injuries from which Plaintiffs and the Arizona Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3407. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3408. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3409. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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   without adequate treatment will be significantly reduced.

          3410. Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Arizona Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3411. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3412. Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                      COUNT 157: Negligent Product Containers – Arizona

          3413. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of


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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3414. This cause of action is brought by Tangie Sims, individually and on behalf of the

   Arizona Sanofi OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Sanofi (for the purposes of this Count, “Defendant”).

           3415. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3416. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3417. Under Arizona law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3418. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3419. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Arizona Sanofi

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           3420. The latent injuries from which Plaintiffs and the Arizona Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3421. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3422. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3423. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3424. Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Arizona Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3425. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3426. Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 158:
                            Negligent Storage and Transportation –Arizona

           3427. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3428. This cause of action is brought by Tangie Sims, individually and on behalf of the

   Arizona Sanofi OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Sanofi (for the purposes of this Count, “Defendant”).

           3429. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs



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   152-71, which are incorporated by reference.

          3430. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.

          3431. Under Arizona law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

          3432. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          3433. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold. These high

   levels of NDMA caused Plaintiffs’ injuries.

          3434. Plaintiffs and Arizona Sanofi OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

   and have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          3435. The latent injuries from which Plaintiffs and the Arizona Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3436. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3437. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3438. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3439. Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Arizona Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3440. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3441. Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Arizona Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

         2. California

                                         COUNT 159:
           Negligence –Failure to Warn Through Warnings and Precautions –California

           3442. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3443. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Sanofi OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count,

   “Defendant”).

           3444. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3445. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

           3446. Under California law, manufacturers, like Defendant, have a duty of reasonable

   care to warn of particular risks that are known or knowable in light of the generally recognized

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   and prevailing scientific and medical knowledge available at the time of manufacture and

   distribution.

           3447. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           3448. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

           3449. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and California Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

           3450. The latent injuries from which Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

           3451. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3452. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3453. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Sanofi OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3454. Plaintiffs and the California Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3455. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3456. Plaintiffs and the California Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 160:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

           3457. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3458. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Sanofi OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count,

   “Defendant”).

           3459. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3460. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Sanofi.

           3461.    Under California law, manufacturers, including Defendant, have a duty of



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   reasonable care to warn of particular risks that are known or knowable in light of the generally

   recognized and prevailing scientific and medical knowledge available at the time of manufacture

   and distribution.

          3462. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3463. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3464. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3465. The latent injuries from which Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3466. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3467. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3468. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Sanofi OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3469. Plaintiffs and the California Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3470. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3471. Plaintiffs and the California Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 161:
            Strict Liability –Failure to Warn Consumers Through the FDA –California

           3472. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3473. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Sanofi OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count,

   “Defendant”).

           3474. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3475. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Sanofi.

           3476. Under California law, manufacturers, including Defendant, bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes



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   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).

          3477. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

          3478. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          3479. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. See 21 C.F.R. § 314.70. As an alternative theory of breach, if this method

   of warning consumers was unavailable, slower, or less effective, Brand Manufacturer Defendants,

   including Defendant, had a duty to warn the FDA as a third party who would disseminate

   information to the public. Defendant failed to warn anyone through any medium.

          3480. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting.

          3481. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Sanofi OTC


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   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3482. The latent injuries from which Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3483. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3484. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3485. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Sanofi OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3486. Plaintiffs and the California Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3487. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3488. Plaintiffs and the California Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 162:
                            Negligent Product Containers – California

          3489. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine




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   and injury), as if fully stated herein.

           3490. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Sanofi OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count,

   “Defendant”).

           3491. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3492. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3493. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

           3494. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3495. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California

   Sanofi OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           3496. The latent injuries from which Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of


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   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3497. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3498. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3499. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Sanofi OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3500. Plaintiffs and the California Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3501. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Sanofi OTC Medical Monitoring Class members in writing that they may


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   require frequent medical monitoring for the purpose of diagnosis.

           3502. Plaintiffs and the California Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the California Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 163:
                          Negligent Storage And Transportation – California

           3503. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3504. This cause of action is brought by Golbenaz Bakhtiar, Richard Obrien, and Virginia

   Aragon, individually and on behalf of the California Sanofi OTC Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count,

   “Defendant”).

           3505. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          3506. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.

          3507. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.

          3508. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          3509. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported. These high levels of NDMA caused Plaintiffs’ injuries.

          3510. Plaintiffs and California Sanofi OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

   and have suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          3511. The latent injuries from which Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3512. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          3513. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3514. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Sanofi OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3515. Plaintiffs and the California Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the California Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the California Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3516. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3517. Plaintiffs and the California Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,


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   Plaintiffs and the California Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

         3. Colorado

                                        COUNT 164:
    Medical Monitoring – Negligence – Failure to Warn Through Warnings and Precautions –
                                           Colorado

           3518. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3519. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

   and on behalf of the Colorado Sanofi OTC Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3520. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3521. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

           3522. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3523. Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care


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   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

          3524. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          3525. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3526. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Colorado Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          3527. The latent injuries from which Plaintiffs and the Colorado Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3528. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3529. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3530. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3531. Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3532. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3533. Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                       COUNT 165:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                          Colorado

           3534. Plaintiffs incorporate by reference each allegation set forth in -24 (describing Brand

   Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 384-427 (describing Brand OTC

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           3535. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

   and on behalf of the Colorado Sanofi OTC Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3536. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3537. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Sanofi.

           3538. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.


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          3539.    Under Colorado law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate warnings or instructions for use that adequately inform the user of any specific

   risk of harm that may be involved in any intended or reasonably expected use.

          3540. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3541. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3542. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Colorado Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   Subject Cancers and have suffered and will suffer economic losses and expenses associated with

   ongoing medical monitoring.

          3543. The latent injuries from which Plaintiffs and the Colorado Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3544. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3545. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3546. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3547. Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3548. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3549. Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 166:
                  Medical Monitoring – Negligent Product Containers – Colorado

           3550. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3551. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

   and on behalf of the Colorado Sanofi OTC Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3552. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3553. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3554. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3555. Under Colorado law, a pharmaceutical manufacturer, like Defendant, has a duty to



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   exercise reasonable care in choosing and making the containers for its products.

          3556. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          3557. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Colorado

   Sanofi OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3558. The latent injuries from which Plaintiffs and the Colorado Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3559. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3560. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3561. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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   without adequate treatment will be significantly reduced.

          3562. Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Colorado Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3563. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3564. Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 167:
             Medical Monitoring – Negligent Storage and Transportation – Colorado

          3565. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-



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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3566. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

   and on behalf of the Colorado Sanofi OTC Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3567. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3568. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.

           3569. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3570. Under Colorado law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           3571. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           3572. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold. These high

   levels of NDMA caused Plaintiffs’ injuries.


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          3573. Plaintiffs and Colorado Sanofi OTC Medical Monitoring Class members have

   sustained a significantly increased risk of developing Subject Cancers and have suffered and will

   suffer economic losses and expenses associated with ongoing medical monitoring.

          3574. The latent injuries from which Plaintiffs and the Colorado Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3575. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3576. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3577. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3578. Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the Colorado Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3579. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Colorado Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3580. Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Colorado Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

        4. Florida

                                       COUNT 168:
    Medical Monitoring –Negligence –Failure to Warn Through Warnings and Precautions –
                                          Florida

          3581. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine


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   and injury), as if fully stated herein.

           3582. This cause of action is brought by Gustavo Velasquez, Jeannie Black, Joshua

   Winans, Michael Tomlinson, Ricardo Moron, Sharon Tweg, and Sonia Diaz, individually and on

   behalf of the Florida Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3583. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3584. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

           3585. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3586. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

           3587. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

           3588. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs


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   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3589. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Florida Sanofi OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          3590. The latent injuries from which Plaintiffs and the Florida Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3591. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3592. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3593. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          3594. Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Sanofi OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

          3595. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3596. Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.


                                       COUNT 169:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                           Florida

          3597. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-



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   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3598. This cause of action is brought by Gustavo Velasquez, Jeannie Black, Joshua

   Winans, Michael Tomlinson, Ricardo Moron, Sharon Tweg, and Sonia Diaz, individually and on

   behalf of the Florida Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3599. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3600. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Sanofi.

           3601. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3602. Under Florida law, a manufacturer, like Defendant, has the duty of reasonable care

   to provide an adequate warning of a particular risk that was known or knowable in light of the

   generally recognized and prevailing best scientific and medical knowledge available at the time of

   manufacture and distribution.

           3603. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.


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          3604. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3605. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and the Florida Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          3606. The latent injuries from which Plaintiffs and the Florida Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3607. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3608. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3609. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Sanofi


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   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3610. Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Sanofi OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

          3611. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3612. Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 170:
                  Medical Monitoring – Negligent Product Containers – Florida

          3613. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24



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   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3614. This cause of action is brought by Gustavo Velasquez, Jeannie Black, Joshua

   Winans, Michael Tomlinson, Ricardo Moron, Sharon Tweg, and Sonia Diaz, individually and on

   behalf of the Florida Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3615. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3616. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3617. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3618. Under Florida law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3619. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3620. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused


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   Plaintiffs’ injuries.

           3621. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Florida Sanofi

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

           3622. The latent injuries from which Plaintiffs and the Florida Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

           3623. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

           3624. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

           3625. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

           3626. Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class members seek


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   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Sanofi OTC Medical Monitoring

   Class members as frequently and appropriately as necessary.

          3627. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3628. Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 171:
              Medical Monitoring – Negligent Storage and Transportation – Florida

          3629. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3630. This cause of action is brought by Gustavo Velasquez, Jeannie Black, Joshua

   Winans, Michael Tomlinson, Ricardo Moron, Sharon Tweg, and Sonia Diaz, individually and on

   behalf of the Florida Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3631. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3632. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.

           3633. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3634. Under Florida law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

           3635. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           3636. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold. These high

   levels of NDMA caused Plaintiffs’ injuries.

           3637. Plaintiffs and Florida Sanofi OTC Medical Monitoring Class members have


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   sustained a significantly increased risk of developing Subject Cancers and have suffered and will

   suffer economic losses and expenses associated with ongoing medical monitoring.

          3638. The latent injuries from which Plaintiffs and the Florida Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3639. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3640. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3641. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3642. Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Sanofi OTC Medical Monitoring


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   Class members as frequently and appropriately as necessary.

           3643. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3644. Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

         5. Indiana

                                         COUNT 172:
           Negligence – Failure to Warn Through Warnings and Precautions – Indiana

           3645. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.



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          3646. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana Sanofi OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

          3647. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3648. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

          3649. Under Indiana law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate instructions for safe use and a warning as to dangers inherent in improper use.

          3650. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          3651. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3652. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Indiana Sanofi OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses


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   associated with ongoing medical monitoring.

          3653. The latent injuries from which Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3654. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3655. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3656. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3657. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.


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           3658. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3659. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 173:
            Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

           3660. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3661. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana Sanofi OTC Medical Monitoring Class (for the



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   purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

          3662. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3663. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Sanofi.

          3664.    Under Indiana law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide adequate instructions for safe use and a warning as to dangers inherent in improper use.

          3665. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

   consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3666. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3667. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Sanofi OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3668. The latent injuries from which Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals


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   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3669. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3670. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3671. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3672. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3673. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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   notifying all Indiana Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3674. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 174:
               Negligence – Failure to Warn Consumers Through the FDA – Indiana

           3675. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3676. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana Sanofi OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3677. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.



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          3678. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Sanofi.

          3679. Under Indiana law, manufacturers, including Defendant, bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes

   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).

          3680. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

          3681. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          3682. Under federal regulations, Brand Manufacturer Defendants, including Defendant,

   are able to revise the warnings on their branded products when new information arises or new

   analyses are performed. See 21 C.F.R. § 314.70. As an alternative theory of breach, if this method

   of warning consumers was unavailable, slower, or less effective, Brand Manufacturer Defendants,

   including Defendant, had a duty to warn the FDA as a third party who would disseminate

   information to the public. Defendant failed to warn anyone through any medium.

          3683. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks


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   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting.

          3684. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Sanofi OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3685. The latent injuries from which Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3686. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3687. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3688. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          3689. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3690. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3691. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 175:
                              Negligent Product Containers – Indiana

          3692. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3693. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana Sanofi OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3694. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3695. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3696. Under Indiana law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3697. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3698. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Indiana Sanofi

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           3699. The latent injuries from which Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3700. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3701. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3702. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3703. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3704. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3705. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 176:
                            Negligent Storage and Transportation – Indiana

           3706. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3707. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Tracy

   Wells, individually and on behalf of the Indiana Sanofi OTC Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3708. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs



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   152-71, which are incorporated by reference.

          3709. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.

          3710. Under Indiana law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in transporting and storing products.

          3711. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          3712. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and therefore Plaintiffs and Indiana Sanofi OTC Medical Monitoring Class members

   have sustained a significantly increased risk of developing serious and potentially fatal Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          3713. The latent injuries from which Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3714. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          3715. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3716. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3717. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Indiana Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3718. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3719. Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,


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   Plaintiffs and the Indiana Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.



         6. Maryland

                                         COUNT 177:
          Negligence – Failure to Warn Through Warnings and Precautions – Maryland

           3720. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3721. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3722. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3723. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

           3724. Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.



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          3725. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          3726. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3727. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Maryland Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3728. The latent injuries from which Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3729. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the


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   development of, and health effects associated with, the Subject Cancers.

          3730. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3731. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3732. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3733. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3734. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,


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   Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 178:
           Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

           3735. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3736. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3737. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3738. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Sanofi.

           3739.    Under Maryland law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of a danger it knew or should have had known about.

           3740. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe



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   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3741. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3742. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3743. The latent injuries from which Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3744. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3745. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          3746. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3747. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3748. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3749. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 179:
             Negligence – Failure to Warn Consumers Through the FDA – Maryland



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           3750. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3751. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3752. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3753. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Sanofi.

           3754. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

   recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

   Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

   beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

   effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

   reasonable efforts would, in some circumstances, entail a warning to a third party such as the

   FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

           3755. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the


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   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers, like

   Defendant, may fulfill their state law duty to warn by informing the FDA, which is a third party

   that is reasonably expected to pool and share safety-related information and publicize risks to the

   medical community.

          3756. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          3757. Under federal regulations, Brand Manufacturer Defendants, like Defendant, are

   able to revise the warnings on their branded products when new information arises or new analyses

   are performed. As an alternative theory of breach, if this method of warning consumers was

   unavailable, slower, or less effective, Brand Manufacturer Defendants, like Defendant, had a duty

   to warn the FDA as a third party who would disseminate information to the public. Defendants

   failed to warn anyone through any medium.

          3758. Specifically, Defendants failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendants also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of to make reasonable efforts to ensure an effective warning reached

   consumers.

          3759. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses


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   and expenses associated with ongoing medical monitoring.

          3760. The latent injuries from which Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3761. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3762. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3763. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3764. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.


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           3765. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3766. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 180:
                               Negligent Product Containers – Maryland

           3767. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3768. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Sanofi OTC Medical Monitoring Class (for the purposes of this Count,



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   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3769. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3770. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3771. Under Maryland law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3772. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3773. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused

   Plaintiffs’ injuries.

           3774. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland

   Sanofi OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           3775. The latent injuries from which Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the


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   absence of exposure to this risk of harm.

          3776. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3777. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3778. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3779. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3780. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.


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           3781. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 181:
                          Negligent Storage and Transportation – Maryland

           3782. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3783. This cause of action is brought by Alberta Griffin and Ida Adams, individually and

   on behalf of the Maryland Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3784. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3785. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.



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          3786. Under Maryland law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

          3787. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          3788. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiffs and Maryland Sanofi OTC Medical Monitoring Class members have sustained a

   significantly increased risk of developing serious and potentially fatal Subject Cancers and have

   suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          3789. The latent injuries from which Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3790. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3791. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          3792. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3793. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Maryland Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3794. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3795. Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Maryland Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

        7. Missouri


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                                         COUNT 182:
           Negligence – Failure to Warn Through Warnings and Precautions – Missouri

           3796. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3797. This cause of action is brought by Lorie Kendall-Songer, individually and on behalf

   of the Missouri Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3798. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3799. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

           3800. Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           3801. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after



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   manufacture.

          3802. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3803. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Missouri Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3804. The latent injuries from which Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3805. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3806. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          3807. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3808. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3809. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3810. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 183:
           Negligence – Failure to Warn Through Proper Expiration Dates – Missouri



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           3811. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3812. This cause of action is brought by Lorie Kendall-Songer, individually and on behalf

   of the Missouri Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3813. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3814. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Sanofi.

           3815.    Under Missouri law, a manufacturer, like Defendant, has a duty of reasonable care

   to provide an adequate warning of the risks of its products.

           3816. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

   consumed long after manufacture, when in fact the products degraded into NDMA over time.

           3817. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the


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   use of the Ranitidine-Containing Products.

          3818. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3819. The latent injuries from which Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3820. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3821. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3822. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3823. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members seek


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   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3824. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3825. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 184:
           Strict Liability – Failure to Warn Consumers Through the FDA – Missouri

          3826. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3827. This cause of action is brought by Lorie Kendall-Songer, individually and on behalf

   of the Missouri Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3828. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3829. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Sanofi.

           3830. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

   of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

   [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

   state law to warn consumers about the risks of using their product, which Williams argues Bayer

   breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

   Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

           3831. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

   manufacturers, such as Defendant, have a state law duty to do so.

           3832. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.


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          3833. Under federal regulations, Brand Manufacturer Defendants, like Defendant, are

   able to revise the warnings on their branded products when new information arises or new analyses

   are performed. As an alternative theory of breach, if this method of warning consumers was

   unavailable, slower, or less effective, Brand Manufacturer Defendants, like Defendant, had a duty

   to warn the FDA as a third party who would disseminate information to the public. Brand

   Manufacturer Defendants failed to warn anyone through any medium.

          3834. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          3835. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Sanofi OTC

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          3836. The latent injuries from which Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3837. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3838. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3839. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3840. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3841. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3842. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 185:
                                Negligent Product Containers – Missouri

           3843. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3844. This cause of action is brought by Lorie Kendall-Songer, individually and on behalf

   of the Missouri Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3845. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3846. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3847. Under Missouri law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.



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          3848. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          3849. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Missouri Sanofi

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          3850. The latent injuries from which Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3851. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3852. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3853. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.


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          3854. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3855. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3856. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 186:
                         Negligent Storage and Transportation – Missouri

          3857. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of



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   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3858. This cause of action is brought by Lorie Kendall-Songer, individually and on behalf

   of the Missouri Sanofi OTC Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3859. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3860. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.

           3861. Under Missouri law, Defendant has a duty to exercise reasonable care in

   transporting and storing products.

           3862. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           3863. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported, and therefore Plaintiffs and Missouri Sanofi OTC Medical Monitoring Class members

   have sustained a significantly increased risk of developing serious and potentially fatal Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.


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          3864. The latent injuries from which Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3865. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3866. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3867. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3868. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Missouri Sanofi OTC Medical

   Monitoring Class members as frequently and appropriately as necessary.

          3869. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3870. Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Sanofi OTC Medical Monitoring Class members will continue to face

   an unreasonable risk of injury and disability and remain undiagnosed.

         8. Ohio

                                            COUNT 187:
           Strict Liability – Failure to Warn Through Warnings and Precautions – Ohio

           3871. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3872. This cause of action is brought by Chris Troyan and Michael Galloway,

   individually and on behalf of the Ohio Sanofi OTC Medical Monitoring Class (for the purposes of



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   this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

          3873. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3874. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

          3875. Under Ohio law, a manufacturer, like Defendant, has the duty to provide an

   adequate warning of the risks associated with its product that it knows or should have known about,

   and a duty to provide adequate post-marketing warnings or instructions.

          3876. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Product were inadequate because they did not warn of the

   risk of cancer when taken over long periods, when stored under humid conditions, when stored

   under hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          3877. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3878. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Ohio Sanofi OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.


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          3879. The latent injuries from which Plaintiffs and the Ohio Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3880. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3881. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3882. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3883. Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3884. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3885. Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 188:
            Strict Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           3886. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3887. This cause of action is brought by Chris Troyan and Michael Galloway,

   individually and on behalf of the Ohio Sanofi OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).



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          3888. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

          3889. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Sanofi.

          3890.   Under Ohio law, a manufacturer, like Defendant, has the duty to provide an

   adequate warning of the risks associated with its product that it knows or should have known about,

   and a duty to provide adequate post-marketing warnings or instructions.

          3891. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Product were inadequate because The expiration date

   improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

   long after manufacture, when in fact the products degraded into NDMA over time.

          3892. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3893. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio Sanofi OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3894. The latent injuries from which Plaintiffs and the Ohio Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3895. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3896. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3897. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3898. Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3899. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

           3900. Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 189:
                                  Negligent Product Containers – Ohio

           3901. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3902. This cause of action is brought by Chris Troyan and Michael Galloway,

   individually and on behalf of the Ohio Sanofi OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3903. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs



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   152-71, which are incorporated by reference.

           3904. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3905. Under Ohio law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3906. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3907. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused

   Plaintiffs’ injuries.

           3908. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio Sanofi

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           3909. The latent injuries from which Plaintiffs and the Ohio Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

           3910. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3911. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3912. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3913. Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3914. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3915. Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-


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   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 190:
                             Negligent Storage and Transportation – Ohio

           3916. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3917. This cause of action is brought by Chris Troyan and Michael Galloway,

   individually and on behalf of the Ohio Sanofi OTC Medical Monitoring Class (for the purposes of

   this Count, “Plaintiffs”), against Sanofi (for the purposes of this Count, “Defendant”).

           3918. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3919. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.

           3920. Under Ohio law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in transporting and storing products.

           3921. Defendant breached this duty by failing to implement or enforce policies to ensure



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   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          3922. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported. These high levels of NDMA caused Plaintiffs’ injuries.

          3923. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

   transported. These high levels of NDMA caused Plaintiff’ injuries.

          3924. Plaintiff and Ohio Sanofi OTC Medical Monitoring Class members have sustained

   a significantly increased risk of developing serious and potentially fatal Subject Cancers and have

   suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          3925. The latent injuries from which Plaintiffs and the Ohio Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3926. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3927. The available monitoring regime is reasonably necessary according to


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   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3928. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3929. Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3930. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Sanofi OTC Medical Monitoring Class members in writing that they may

   require frequent medical monitoring for the purpose of diagnosis.

          3931. Plaintiffs and the Ohio Sanofi OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Ohio Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.


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         9. Utah

                                        COUNT 191:
    Medical Monitoring – Negligence – Failure to Warn Through Warnings and Precautions –
                                             Utah

           3932. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3933. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah Sanofi OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

   Sanofi (for the purposes of this Count, “Defendant”).

           3934. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3935. Plaintiffs incorporate herein by reference Paragraphs 841-79 (Additional Count-

   Specific Allegations) as to Sanofi.

           3936. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3937. Under Utah law, a manufacturer, like Defendant, has a duty of reasonable care to

   provide an adequate warning of the risks of its products.

           3938. Defendant breached this duty for its Ranitidine-Containing Products. The warnings


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   included on Ranitidine-Containing Products were inadequate because they did not warn of the risk

   of cancer when taken over long periods, when stored under humid conditions, when stored under

   hot conditions, when consumed with a high-nitrite diet, and when consumed long after

   manufacture.

          3939. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3940. As a direct and proximate result of Defendant’s failure to provide adequate

   warnings of the risk of Ranitidine-Containing Products, Plaintiffs and Utah Sanofi OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing Subject

   Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

   medical monitoring.

          3941. The latent injuries from which Plaintiffs and the Utah Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3942. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.


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          3943. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3944. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3945. Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3946. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah Sanofi OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3947. Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Utah Sanofi OTC Medical Monitoring Class members will continue to face an


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   unreasonable risk of injury and disability and remain undiagnosed.

                                       COUNT 192:
    Medical Monitoring – Negligence – Failure to Warn Through Proper Expiration Dates –
                                            Utah

           3948. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3949. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah Sanofi OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

   Sanofi (for the purposes of this Count, “Defendant”).

           3950. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3951. Plaintiffs incorporate herein by reference as to Sanofi.

           3952. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3953.    Under Utah law, a manufacturer, like Defendant, has a duty of reasonable care to

   provide an adequate warning of the risks of its products.

           3954. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe


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   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          3955. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          3956. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Utah Sanofi OTC Medical

   Monitoring Class members have sustained a significantly increased risk of developing serious and

   potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

   associated with ongoing medical monitoring.

          3957. The latent injuries from which Plaintiffs and the Utah Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3958. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3959. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          3960. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3961. Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3962. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah Sanofi OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3963. Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Utah Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 193:
                    Medical Monitoring – Negligent Product Containers – Utah



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           3964. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing

   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3965. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah Sanofi OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

   Sanofi (for the purposes of this Count, “Defendant”).

           3966. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3967. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Sanofi.

           3968. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3969. Under Utah law, a pharmaceutical manufacturer, like Defendant, has a duty to

   exercise reasonable care in choosing and making the containers for its products.

           3970. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           3971. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold. These high levels of NDMA caused


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   Plaintiffs’ injuries.

           3972. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Utah Sanofi

   OTC Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           3973. The latent injuries from which Plaintiffs and the Utah Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

           3974. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

           3975. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

           3976. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

           3977. Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class members seek


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   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3978. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah Sanofi OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3979. Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Utah Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 194:
               Medical Monitoring – Negligent Storage and Transportation – Utah

          3980. Plaintiffs incorporate by reference each allegation set forth in paragraphs 7-24

   (describing Brand Manufacturer Defendants), 185-249 (describing the recall of ranitidine), 254-

   91 (describing the breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of

   ranitidine before ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing



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   failure to notify FDA), 332-59 (describing good manufacturing practices), 384-427 (describing

   Brand OTC Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine

   and injury), as if fully stated herein.

           3981. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah Sanofi OTC Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

   Sanofi (for the purposes of this Count, “Defendant”).

           3982. The allegations in this Count apply to Sanofi during the time period in which it was

   manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

   152-71, which are incorporated by reference.

           3983. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Sanofi.

           3984. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           3985. Under Utah law, Defendant has a duty to exercise reasonable care in transporting

   and storing products.

           3986. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           3987. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products Defendant handled and sold, and therefore

   Plaintiff and Utah Sanofi OTC Medical Monitoring Class members have sustained a significantly

   increased risk of developing Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.


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          3988. The latent injuries from which Plaintiffs and the Utah Sanofi OTC Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          3989. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          3990. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          3991. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Sanofi

   OTC Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          3992. Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class members seek

   creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class members

   for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

   monitoring and diagnosis of Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class

   members as frequently and appropriately as necessary.

          3993. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah Sanofi OTC Medical Monitoring Class members in writing that they may require

   frequent medical monitoring for the purpose of diagnosis.

          3994. Plaintiffs and the Utah Sanofi OTC Medical Monitoring Class have an inadequate

   remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

   physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

   approved medical monitoring program as described herein, or established by the Court, Plaintiffs

   and the Utah Sanofi OTC Medical Monitoring Class members will continue to face an

   unreasonable risk of injury and disability and remain undiagnosed.

   F. CAUSES OF ACTION AGAINST DEFENDANT AMNEAL WITH RESPECT TO
      PRESCRIPTION RANITIDINE

          3995. Plaintiffs identified in the table below bring claims against Defendant Amneal with

   respect to prescription ranitidine on behalf of themselves and their respective State Amneal

   Prescription Medical Monitoring Class under the laws of their respective states of usage. Each

   Plaintiff incorporates by reference the allegations specific to them from Section III.B. and the

   allegations set forth in Section VI, supra, into their respective claims below.

            Plaintiff Name                                    State of Usage

            Armando Tapia                                     AZ
            Golbenaz Bakhtiar                                 CA
            Royal Handy                                       CA
            Virginia Aragon                                   CA
            Kevin Nelson                                      DC



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          Ana Pereira                               FL
          Clifton McKinnon                          FL
          Daniel Taylor                             FL
          Hattie Kelley                             FL
          Irma Arcaya                               FL
          Joyce Taylor                              FL
          Alexander Monger                          FL
          Laura Monger                              FL
          Michael Fesser                            FL
          Michael Tomlinson                         FL
          Sonia Diaz                                FL
          Karen Foster                              FL
          Rebecca Sizemore                          IN
          Teresa Dowler                             IN
          Timberly Goble                            IN
          Alberta Griffin                           MD
          Darlene Whittington-Coates                MD
          Brenda Newcomb                            MO
          Cynthia Gibbs                             MO
          Elaine Aaron                              MO
          Michael Galloway                          OH; FL
          Patricia Hess                             OH
          Felicia Ball                              PA
          Joyce Guerrieri                           PA
          Teresa Waters                             UT
          Mynetta Hastings                          WV


       1. Arizona

                                       COUNT 195:
          Negligence – Failure to Warn Through Proper Expiration Dates – Arizona


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           3996. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           3997. This cause of action is brought by Armando Tapia individually and on behalf of the

   Arizona Amneal Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           3998. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           3999. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

           4000.    Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

   duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

   of the generally recognized and prevailing best scientific and medical knowledge available at the

   time of manufacture and distribution.

           4001. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.


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          4002. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          4003. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancerssustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4004. The latent injuries from which Plaintiffs and the Arizona Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4005. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4006. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.


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          4007. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4008. Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona Amneal Prescription Medical Monitoring

   Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

   for the medical monitoring and diagnosis of Plaintiffs and the Arizona Amneal Prescription

   Medical Monitoring Class members as frequently and appropriately as necessary.

          4009. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4010. Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.


                                           COUNT 196:
                              Negligent Product Containers – Arizona


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           4011. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4012. This cause of action is brought by Armando Tapia individually and on behalf of the

   Arizona Amneal Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4013. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4014. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.

           4015. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

           4016. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           4017. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Arizona

   Amneal Prescription Medical Monitoring Class members have sustained a significantly increased


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   risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4018. The latent injuries from which Plaintiffs and the Arizona Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4019. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4020. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4021. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4022. Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona Amneal Prescription Medical Monitoring

   Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

   for the medical monitoring and diagnosis of Plaintiffs and the Arizona Amneal Prescription


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   Medical Monitoring Class members as frequently and appropriately as necessary.

           4023. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

           4024. Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 197:
                            Negligent Storage and Transportation – Arizona

           4025. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.



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          4026. This cause of action is brought by Armando Tapia individually and on behalf of the

   Arizona Amneal Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

          4027. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

          4028. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

          4029. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.

          4030. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          4031. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

   Arizona Amneal Prescription Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          4032. The latent injuries from which Plaintiffs and the Arizona Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers


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   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4033. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4034. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4035. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4036. Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Arizona Amneal Prescription Medical Monitoring

   Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

   for the medical monitoring and diagnosis of Plaintiffs and the Arizona Amneal Prescription

   Medical Monitoring Class members as frequently and appropriately as necessary.

          4037. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Arizona Amneal Prescription Medical Monitoring Class members in writing that they


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   may require frequent medical monitoring for the purpose of diagnosis.

           4038. Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Arizona Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

         2. California

                                         COUNT 198:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

           4039. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4040. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

   Aragon individually and on behalf of the California Amneal Prescription Medical Monitoring

   Class (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4041. The allegations in this Count apply to Amneal during the time period in which it



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   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

          4042. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

          4043.   Under California law, manufacturers have a duty of reasonable care to warn of

   particular risks that are known or knowable in light of the generally recognized and prevailing

   scientific and medical knowledge available at the time of manufacture and distribution.

          4044. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

   consumed long after manufacture, when in fact the products degraded into NDMA over time.

          4045. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          4046. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4047. The latent injuries from which Plaintiffs and the California Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers


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   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4048. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4049. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4050. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4051. Plaintiffs and the California Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the California Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4052. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Amneal Prescription Medical Monitoring Class members in writing that


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   they may require frequent medical monitoring for the purpose of diagnosis.

           4053. Plaintiffs and the California Amneal Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the California Amneal Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 199:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           4054. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4055. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

   Aragon individually and on behalf of the California Amneal Prescription Medical Monitoring

   Class (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4056. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in



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   paragraphs 172-84, which are incorporated by reference.

          4057. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Defendant.

          4058. Under California law, manufacturers (including Defendant) bear “a duty to convey

   warnings to a third party that can reasonably be expected to warn the consumer,” which includes

   “a requirement to file adverse event reports with the FDA if that is the only available method to

   warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

   429, as modified (Feb. 3, 2014).

          4059. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

          4060. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          4061. Because federal law requires generic drug labels to largely match branded drug

   labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

   risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

   information to the public, Defendant failed to warn anyone through any medium.

          4062. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that


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   were available, including ordinary correspondence with the agency or regulatory reporting.

          4063. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4064. The latent injuries from which Plaintiffs and the California Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4065. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4066. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4067. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4068. Plaintiffs and the California Amneal Prescription Medical Monitoring Class


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   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the California Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4069. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4070. Plaintiffs and the California Amneal Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the California Amneal Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 200:
                             Negligent Product Containers – California

          4071. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4072. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

   Aragon individually and on behalf of the California Amneal Prescription Medical Monitoring

   Class (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4073. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4074. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.

           4075. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

           4076. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           4077. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California

   Amneal Prescription Medical Monitoring Class members have sustained a significantly increased

   risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           4078. The latent injuries from which Plaintiffs and the California Amneal Prescription


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   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4079. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4080. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4081. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4082. Plaintiffs and the California Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the California Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4083. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be


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   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

           4084. Plaintiffs and the California Amneal Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the California Amneal Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 201:
                          Negligent Storage and Transportation – California

           4085. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4086. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

   Aragon individually and on behalf of the California Amneal Prescription Medical Monitoring

   Class (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,



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   “Defendant”).

          4087. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

          4088. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

          4089. Under California law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.

          4090. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          4091. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

   California Amneal Prescription Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          4092. The latent injuries from which Plaintiffs and the California Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.


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          4093. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4094. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4095. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4096. Plaintiffs and the California Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the California Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4097. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all California Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4098. Plaintiffs and the California Amneal Prescription Medical Monitoring Class have


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   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the California Amneal Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

         3. District of Columbia

                                         COUNT 202:
           Negligence – Failure to Warn Through Proper Expiration Dates –oColumbia

           4099. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4100. This cause of action is brought by Kevin Nelson individually and on behalf of the

   District of Columbia Amneal Prescription Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4101. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.       The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4102. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-



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   Specific Allegations) as to Defendant.

          4103.    Under District of Columbia law, pharmaceutical manufacturers, including

   Defendant, have a duty of reasonable care to adequately warn of a particular risk that was known

   or knowable in light of the generally recognized and prevailing best scientific and medical

   knowledge available at the time of manufacture and distribution.

          4104. Defendant breached this duty for its Ranitidine-Containing Products.               The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          4105. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          4106. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia

   Amneal Prescription Medical Monitoring Class members have sustained a significantly increased

   risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4107. The latent injuries from which Plaintiffs and the District of Columbia Amneal

   Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

   treatment) that is not generally given to the public at large. The available monitoring regime is

   specific for individuals exposed to products known to significantly increase the risk of the Subject

   Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.


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          4108. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4109. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4110. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

   Columbia Amneal Prescription Medical Monitoring Class members will suffer long-term injuries,

   disease, and losses without adequate treatment will be significantly reduced.

          4111. Plaintiffs and the District of Columbia Amneal Prescription Medical Monitoring

   Class members seek creation of a Court-supervised, defendant-funded medical monitoring

   program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Amneal

   Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

   should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

   District of Columbia Amneal Prescription Medical Monitoring Class members as frequently and

   appropriately as necessary.

          4112. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all District of Columbia Amneal Prescription Medical Monitoring Class members in

   writing that they may require frequent medical monitoring for the purpose of diagnosis.


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           4113. Plaintiffs and the District of Columbia Amneal Prescription Medical Monitoring

   Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

   for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

   Products. Without a court-approved medical monitoring program as described herein, or

   established by the Court, Plaintiffs and the District of Columbia Amneal Prescription Medical

   Monitoring Class members will continue to face an unreasonable risk of injury and disability and

   remain undiagnosed.

                                         COUNT 203:
        Negligence – Failure to Warn Consumers Through the FDA – District of Columbia

           4114. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4115. This cause of action is brought by Kevin Nelson individually and on behalf of the

   District of Columbia Amneal Prescription Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4116. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.       The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.



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          4117. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Defendant.

          4118. Under District of Columbia law, there exists a duty owed by Defendant under

   failure to warn and negligence principles to follow FDA reporting requirements and notify the

   FDA of new information. See Kubicki ex rel. Kubicki v. Medtronic, No. CIV.A. 12-00734 CKK,

   2013 WL 1739580, at *6–*8 (D.D.C. Mar. 21, 2013) (“[T]he Complaint alleges that Defendants

   knew, or should have known that technical problems were occurring in the 522 Pump subsequent

   to PMA approval, but never notified the FDA … despite their obligations under the federal

   regulations to do so. … Relatedly, the Complaint alleges failure to conduct post-approval market

   surveillance, including reporting all serious adverse events …. Accordingly, Plaintiffs have

   sufficiently pled parallel claims….”) (citing, inter alia, Stengel v. Medtronic Inc., 704 F.3d 1224,

   1232–33 (9th Cir. 2013)).

          4119. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.

          4120. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          4121. Because federal law requires generic drug labels to largely match branded drug

   labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

   than warning the FDA as a third party who would disseminate information to the public, Defendant


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   failed to warn anyone through any medium.

          4122. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached Defendant’s duty of reasonable care.

          4123. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia

   Amneal Prescription Medical Monitoring Class members have sustained a significantly increased

   risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4124. The latent injuries from which Plaintiffs and the District of Columbia Amneal

   Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

   treatment) that is not generally given to the public at large. The available monitoring regime is

   specific for individuals exposed to products known to significantly increase the risk of the Subject

   Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4125. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4126. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          4127. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

   Columbia Amneal Prescription Medical Monitoring Class members will suffer long-term injuries,

   disease, and losses without adequate treatment will be significantly reduced.

          4128. Plaintiffs and the District of Columbia Amneal Prescription Medical Monitoring

   Class members seek creation of a Court-supervised, defendant-funded medical monitoring

   program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Amneal

   Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

   should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

   District of Columbia Amneal Prescription Medical Monitoring Class members as frequently and

   appropriately as necessary.

          4129. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all District of Columbia Amneal Prescription Medical Monitoring Class members in

   writing that they may require frequent medical monitoring for the purpose of diagnosis.

          4130. Plaintiffs and the District of Columbia Amneal Prescription Medical Monitoring

   Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

   for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

   Products. Without a court-approved medical monitoring program as described herein, or

   established by the Court, Plaintiffs and the District of Columbia Amneal Prescription Medical

   Monitoring Class members will continue to face an unreasonable risk of injury and disability and


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   remain undiagnosed.

                                            COUNT 204:
                         Negligent Product Containers – District of Columbia

           4131. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4132. This cause of action is brought by Kevin Nelson individually and on behalf of the

   District of Columbia Amneal Prescription Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4133. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.       The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4134. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.

           4135. Under District of Columbia law, a pharmaceutical manufacturer, including

   Defendant, has a duty to exercise reasonable care in choosing and making the containers for its

   products.

           4136. Defendant breached this duty by failing to utilize containers that would minimize



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   the NDMA produced in its Ranitidine-Containing Products.

          4137. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and District of

   Columbia Amneal Prescription Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          4138. The latent injuries from which Plaintiffs and the District of Columbia Amneal

   Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

   treatment) that is not generally given to the public at large. The available monitoring regime is

   specific for individuals exposed to products known to significantly increase the risk of the Subject

   Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4139. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4140. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4141. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

   Columbia Amneal Prescription Medical Monitoring Class members will suffer long-term injuries,

   disease, and losses without adequate treatment will be significantly reduced.

          4142. Plaintiffs and the District of Columbia Amneal Prescription Medical Monitoring


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   Class members seek creation of a Court-supervised, defendant-funded medical monitoring

   program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Amneal

   Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

   should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

   District of Columbia Amneal Prescription Medical Monitoring Class members as frequently and

   appropriately as necessary.

          4143. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all District of Columbia Amneal Prescription Medical Monitoring Class members in

   writing that they may require frequent medical monitoring for the purpose of diagnosis.

          4144. Plaintiffs and the District of Columbia Amneal Prescription Medical Monitoring

   Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

   for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

   Products. Without a court-approved medical monitoring program as described herein, or

   established by the Court, Plaintiffs and the District of Columbia Amneal Prescription Medical

   Monitoring Class members will continue to face an unreasonable risk of injury and disability and

   remain undiagnosed.

                                          COUNT 205:
                   Negligent Storage and Transportation – District of Columbia

          4145. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4146. This cause of action is brought by Kevin Nelson individually and on behalf of the

   District of Columbia Amneal Prescription Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4147. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4148. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

           4149. Under District of Columbia law, a pharmaceutical manufacturer, including

   Defendant, has a duty to exercise reasonable care in transporting and storing products.

           4150. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           4151. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

   District of Columbia Amneal Prescription Medical Monitoring Class members have sustained a


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   significantly increased risk of developing serious and potentially fatal Subject Cancers and have

   suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.

          4152. The latent injuries from which Plaintiffs and the District of Columbia Amneal

   Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

   treatment) that is not generally given to the public at large. The available monitoring regime is

   specific for individuals exposed to products known to significantly increase the risk of the Subject

   Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4153. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4154. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4155. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

   Columbia Amneal Prescription Medical Monitoring Class members will suffer long-term injuries,

   disease, and losses without adequate treatment will be significantly reduced.

          4156. Plaintiffs and the District of Columbia Amneal Prescription Medical Monitoring

   Class members seek creation of a Court-supervised, defendant-funded medical monitoring

   program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Amneal

   Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring


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   should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

   District of Columbia Amneal Prescription Medical Monitoring Class members as frequently and

   appropriately as necessary.

          4157. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all District of Columbia Amneal Prescription Medical Monitoring Class members in

   writing that they may require frequent medical monitoring for the purpose of diagnosis.

          4158. Plaintiffs and the District of Columbia Amneal Prescription Medical Monitoring

   Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

   for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

   Products. Without a court-approved medical monitoring program as described herein, or

   established by the Court, Plaintiffs and the District of Columbia Amneal Prescription Medical

   Monitoring Class members will continue to face an unreasonable risk of injury and disability and

   remain undiagnosed.

        4. Florida

                                        COUNT 206:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

          4159. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4160. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

   Hattie Kelley, Irma Arcaya, Joyce Taylor, Alexander Monger, Laura Monger, Michael Fesser,

   Michael Tomlinson, Sonia Diaz, Michael Galloway, and Karen Foster, individually and on behalf

   of the Florida Amneal Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4161. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4162. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

           4163. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           4164.    Under Florida law, pharmaceutical manufacturers, including Defendant, have a

   duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

   of the generally recognized and prevailing best scientific and medical knowledge available at the

   time of manufacture and distribution.

           4165. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.


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          4166. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          4167. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida Amneal Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          4168. The latent injuries from which Plaintiffs and the Florida Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4169. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4170. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4171. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Amneal


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   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4172. Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Amneal Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          4173. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4174. Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 207:
                  Medical Monitoring – Negligent Product Containers – Florida

          4175. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4176. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

   Hattie Kelley, Irma Arcaya, Joyce Taylor, Michael Fesser, Michael Tomlinson, Sonia Diaz,

   Michael Galloway, and Karen Foster, individually and on behalf of the Florida Amneal

   Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

   Amneal (for the purposes of this Count, “Defendant”).

           4177. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4178. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.

           4179. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           4180. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in choosing and making the containers for its products.

           4181. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.


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          4182. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Florida Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4183. The latent injuries from which Plaintiffs and the Florida Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4184. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4185. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4186. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4187. Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will


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   facilitate the diagnoses of Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Florida Amneal Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          4188. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4189. Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 208:
              Medical Monitoring – Negligent Storage and Transportation – Florida

          4190. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4191. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

   Hattie Kelley, Irma Arcaya, Joyce Taylor, Alexander Monger, Laura Monger, Michael Fesser,

   Michael Tomlinson, Sonia Diaz, Michael Galloway, and Karen Foster individually and on behalf

   of the Florida Amneal Prescription Medical Monitoring Class (for the purposes of this Count,

   “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4192. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4193. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

           4194. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           4195. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in transporting and storing products.

           4196. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           4197. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and


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   Florida Amneal Prescription Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          4198. The latent injuries from which Plaintiffs and the Florida Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4199. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4200. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4201. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4202. Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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   the medical monitoring and diagnosis of Plaintiffs and the Florida Amneal Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          4203. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Florida Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4204. Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Florida Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

        5. Indiana

                                         COUNT 209:
            Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

          4205. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4206. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Timberly

   Goble, individually and on behalf of the Indiana Amneal Prescription Medical Monitoring Class

   (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4207. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4208. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

           4209.    Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

   care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

   use.

           4210. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           4211. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

           4212. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Amneal Prescription


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   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          4213. The latent injuries from which Plaintiffs and the Indiana Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4214. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4215. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4216. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4217. Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Amneal Prescription Medical Monitoring

   Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay


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   for the medical monitoring and diagnosis of Plaintiffs and the Indiana Amneal Prescription

   Medical Monitoring Class members as frequently and appropriately as necessary.

          4218. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4219. Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 210:
              Negligence – Failure to Warn Consumers Through the FDA – Indiana

          4220. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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   as if fully stated herein.

           4221. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Timberly

   Goble, individually and on behalf of the Indiana Amneal Prescription Medical Monitoring Class

   (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4222. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4223. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Defendant.

           4224. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law

   based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

   2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

   2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed

   by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

   establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

   … in providing the warnings or instructions.”)

           4225. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

   where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

   reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

   they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

   safety-related information and publicize risks to the medical community.

           4226. The FDA was reasonably expected to disseminate this information. No speculation


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   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          4227. Because federal law requires generic drug labels to largely match branded drug

   labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

   than warning the FDA as a third party who would disseminate information to the public, Generic

   Manufacturer Defendants failed to warn anyone through any medium.

          4228. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          4229. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Amneal Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          4230. The latent injuries from which Plaintiffs and the Indiana Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4231. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4232. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4233. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4234. Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Amneal Prescription Medical Monitoring

   Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

   for the medical monitoring and diagnosis of Plaintiffs and the Indiana Amneal Prescription

   Medical Monitoring Class members as frequently and appropriately as necessary.

          4235. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4236. Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 211:
                                Negligent Product Containers – Indiana

           4237. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4238. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Timberly

   Goble, individually and on behalf of the Indiana Amneal Prescription Medical Monitoring Class

   (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4239. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.       The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4240. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.



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          4241. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in choosing and making the containers for its products.

          4242. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          4243. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Indiana Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4244. The latent injuries from which Plaintiffs and the Indiana Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4245. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4246. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4247. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Amneal


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   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4248. Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Amneal Prescription Medical Monitoring

   Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

   for the medical monitoring and diagnosis of Plaintiffs and the Indiana Amneal Prescription

   Medical Monitoring Class members as frequently and appropriately as necessary.

          4249. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4250. Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 212:
                          Negligent Storage and Transportation – Indiana

          4251. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4252. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, and Timberly

   Goble, individually and on behalf of the Indiana Amneal Prescription Medical Monitoring Class

   (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4253. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4254. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

           4255. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in transporting and storing products.

           4256. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           4257. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer


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   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

   Indiana Amneal Prescription Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          4258. The latent injuries from which Plaintiffs and the Indiana Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4259. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4260. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4261. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4262. Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Indiana Amneal Prescription Medical Monitoring


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   Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

   for the medical monitoring and diagnosis of Plaintiffs and the Indiana Amneal Prescription

   Medical Monitoring Class members as frequently and appropriately as necessary.

          4263. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Indiana Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4264. Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Indiana Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

        6. Maryland

                                        COUNT 213:
          Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

          4265. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

            4266. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

   individually and on behalf of the Maryland Amneal Prescription Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

            4267. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

            4268. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

            4269.   Under Maryland law, a manufacturer, including Defendant, has a duty of

   reasonable care to provide an adequate warning of a danger it knew or should have had known

   about.

            4270. Defendant breached this duty for its Ranitidine-Containing Products.           The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            4271. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

            4272. As a direct and proximate result of Defendant’s failure to provide an adequate


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   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4273. The latent injuries from which Plaintiffs and the Maryland Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4274. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4275. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4276. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4277. Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Maryland Amneal Prescription Medical


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   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4278. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4279. Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 214:
             Negligence – Failure to Warn Consumers Through the FDA – Maryland

          4280. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4281. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

   individually and on behalf of the Maryland Amneal Prescription Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4282. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.          The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4283. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Defendant.

           4284. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

   recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

   Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

   beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

   effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

   reasonable efforts would, in some circumstances, entail a warning to a third party such as the

   FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

           4285. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

   fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

   expected to pool and share safety-related information and publicize risks to the medical

   community.


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          4286. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          4287. Because federal law requires generic drug labels to largely match branded drug

   labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

   than warning the FDA as a third party who would disseminate information to the public, Generic

   Manufacturer Defendants failed to warn anyone through any medium.

          4288. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that

   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of to make reasonable efforts to ensure an effective warning reached

   consumers.

          4289. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4290. The latent injuries from which Plaintiffs and the Maryland Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally


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   recommended in the absence of exposure to this risk of harm.

          4291. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4292. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4293. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4294. Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Maryland Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4295. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.


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           4296. Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 215:
                                Negligent Product Containers – Maryland

           4297. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4298. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

   individually and on behalf of the Maryland Amneal Prescription Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4299. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.       The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.



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          4300. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.

          4301. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in choosing and making the containers for its products.

          4302. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          4303. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland

   Amneal Prescription Medical Monitoring Class members have sustained a significantly increased

   risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4304. The latent injuries from which Plaintiffs and the Maryland Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4305. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4306. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and


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   treatment of the Subject Cancers.

          4307. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4308. Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Maryland Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4309. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4310. Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.




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                                             COUNT 216:
                           Negligent Storage and Transportation – Maryland

           4311. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4312. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

   individually and on behalf of the Maryland Amneal Prescription Medical Monitoring Class (for

   the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4313. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4314. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

           4315. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.

           4316. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and



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   humidity.

          4317. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

   Maryland Amneal Prescription Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          4318. The latent injuries from which Plaintiffs and the Maryland Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4319. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4320. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4321. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.


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          4322. Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Maryland Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4323. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Maryland Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4324. Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class have

   an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

   of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

   Without a court-approved medical monitoring program as described herein, or established by the

   Court, Plaintiffs and the Maryland Amneal Prescription Medical Monitoring Class members will

   continue to face an unreasonable risk of injury and disability and remain undiagnosed.

        7. Missouri

                                         COUNT 217:
           Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

          4325. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4326. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

   Aaron, individually and on behalf of the Missouri Amneal Prescription Medical Monitoring Class

   (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4327. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4328. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

           4329.    Under Missouri law, a manufacturer, including Defendant, has a duty of reasonable

   care to provide an adequate warning of the risks of its products.

           4330. Defendant breached this duty for its Ranitidine-Containing Products.            The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           4331. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the


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   use of the Ranitidine-Containing Products.

          4332. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4333. The latent injuries from which Plaintiffs and the Missouri Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4334. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4335. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4336. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4337. Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class


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   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Missouri Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4338. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4339. Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 218:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – Missouri

          4340. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4341. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

   Aaron, individually and on behalf of the Missouri Amneal Prescription Medical Monitoring Class

   (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4342. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.       The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4343. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Defendant.

           4344. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

   of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

   [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

   state law to warn consumers about the risks of using their product, which Williams argues Bayer

   breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

   Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

           4345. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

   manufacturers have a state law duty to do so.

           4346. The FDA was reasonably expected to disseminate this information. No speculation


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   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          4347. Because federal law requires generic drug labels to largely match branded drug

   labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

   than warning the FDA as a third party who would disseminate information to the public, Generic

   Manufacturer Defendants failed to warn anyone through any medium.

          4348. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Manufacturer Defendants also failed to warn the FDA

   of the risks that ranitidine degrades into NDMA and causes cancer through other communication

   channels that were available, including ordinary correspondence with the agency or regulatory

   reporting. This failure breached their duty of reasonable care.

          4349. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4350. The latent injuries from which Plaintiffs and the Missouri Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4351. The medical monitoring regime should include, but is not limited to, baseline tests


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   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4352. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4353. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4354. Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Missouri Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4355. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4356. Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 219:
                                Negligent Product Containers – Missouri

           4357. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4358. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

   Aaron, individually and on behalf of the Missouri Amneal Prescription Medical Monitoring Class

   (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4359. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.       The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4360. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.



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          4361. Under Missouri law, a manufacturer, including Defendant, has a duty to exercise

   reasonable care in choosing and making the containers for its products.

          4362. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          4363. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Missouri

   Amneal Prescription Medical Monitoring Class members have sustained a significantly increased

   risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4364. The latent injuries from which Plaintiffs and the Missouri Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4365. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4366. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4367. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri


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   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4368. Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Missouri Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4369. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4370. Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 220:
                         Negligent Storage and Transportation – Missouri

          4371. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4372. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

   Aaron, individually and on behalf of the Missouri Amneal Prescription Medical Monitoring Class

   (for the purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count,

   “Defendant”).

           4373. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4374. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

           4375. Under Missouri law, a pharmaceutical manufacturer, including Defendant, has a

   duty to exercise reasonable care in transporting and storing products.

           4376. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           4377. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer


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   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

   Missouri Amneal Prescription Medical Monitoring Class members have sustained a significantly

   increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

   will suffer economic losses and expenses associated with ongoing medical monitoring.

          4378. The latent injuries from which Plaintiffs and the Missouri Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4379. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4380. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4381. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4382. Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Missouri Amneal Prescription Medical


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   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4383. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Missouri Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4384. Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Missouri Amneal Prescription Medical Monitoring Class members will continue

   to face an unreasonable risk of injury and disability and remain undiagnosed.

        8. Ohio

                                           COUNT 221:
      Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

          4385. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4386. This cause of action is brought by Michael Galloway and Patricia Hess, individually

   and on behalf of the Ohio Amneal Prescription Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4387. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4388. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

           4389.    Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

   adequate warning of the risks associated with its product that it knows or should have known about,

   and a duty to provide adequate post-marketing warnings or instructions.

           4390. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

   included on each Ranitidine-Containing Product were inadequate because the expiration date

   improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

   long after manufacture, when in fact the products degraded into NDMA over time.

           4391. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

           4392. As a direct and proximate result of Defendant’s failure to provide an adequate


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   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio Amneal Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing

   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          4393. The latent injuries from which Plaintiffs and the Ohio Amneal Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          4394. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4395. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4396. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4397. Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class


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   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Ohio Amneal Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          4398. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4399. Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 224:
                               Negligent Product Containers – Ohio

          4400. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4401. This cause of action is brought by Michael Galloway and Patricia Hess, individually

   and on behalf of the Ohio Amneal Prescription Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4402. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4403. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.

           4404. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in choosing and making the containers for its products.

           4405. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           4406. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

           4407. The latent injuries from which Plaintiffs and the Ohio Amneal Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of


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   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          4408. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4409. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4410. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4411. Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Ohio Amneal Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          4412. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Amneal Prescription Medical Monitoring Class members in writing that they


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   may require frequent medical monitoring for the purpose of diagnosis.

           4413. Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                               COUNT 225:
                                Negligent Storage and Transportation – Ohio

           4414. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4415. This cause of action is brought by Michael Galloway and Patricia Hess, individually

   and on behalf of the Ohio Amneal Prescription Medical Monitoring Class (for the purposes of this

   Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4416. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.



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          4417. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

          4418. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in transporting and storing products.

          4419. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

          4420. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and Ohio

   Amneal Prescription Medical Monitoring Class members have sustained a significantly increased

   risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4421. The latent injuries from which Plaintiffs and the Ohio Amneal Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          4422. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.


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          4423. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4424. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4425. Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Ohio Amneal Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          4426. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Ohio Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

          4427. Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Ohio Amneal Prescription Medical Monitoring Class members will continue to


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   face an unreasonable risk of injury and disability and remain undiagnosed.

         9. Pennsylvania

                                       COUNT 226:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Pennsylvania

           4428. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4429. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

   and on behalf of the Pennsylvania Amneal Prescription Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4430. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4431. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

           4432. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           4433.    Under Pennsylvania law, a manufacturer, including Defendant, has a duty of



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   reasonable care to provide an adequate warning.

          4434. Defendant breached this duty for its Ranitidine-Containing Products.              The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          4435. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          4436. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4437. The latent injuries from which Plaintiffs and the Pennsylvania Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4438. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.


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          4439. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4440. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4441. Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4442. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4443. Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring Class

   have an inadequate remedy at law in that monetary damages alone cannot compensate them for

   the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

   Products. Without a court-approved medical monitoring program as described herein, or

   established by the Court, Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring


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   Class members will continue to face an unreasonable risk of injury and disability and remain

   undiagnosed.

                                       COUNT 227:
      Medical Monitoring – Failure to Warn Consumers Through the FDA – Pennsylvania

           4444. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4445. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

   and on behalf of the Pennsylvania Amneal Prescription Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4446. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4447. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

   Specific Allegations) as to Defendant.

           4448. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           4449. Pennsylvania law “may impose liability for the failure to report to the FDA. …the



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   duty to warn is discharged by ‘providing information about the product’s dangerous propensities,’

   which undoubtedly encompasses Medtronic’s alleged failures to report known problems, adverse

   events and malfunctions, and the comment does not require the third party to disclose the warnings,

   but rather be reasonably relied upon to do so.” Silver v. Medtronic, Inc., 236 F. Supp. 3d 889, 900

   (M.D. Pa. 2017); see also McLaughlin v. Bayer Corp., 172 F. Supp. 3d 804, 838 (E.D. Pa. 2016)

   (“we follow the reasoning of the en banc decision in Stengel”); Bull v. St. Jude Med., Inc., No. CV

   17-1141, 2018 WL 3397544, at *9 (E.D. Pa. July 12, 2018) (“Plaintiff has alleged that St. Jude

   violated state tort law, namely, by failing to warn physicians about the risks of the Riata ST Lead

   based on the failure to fully comply with its federal duty to report all adverse events to the FDA

   via MDRs in a timely manner.”).

          4450. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

   FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

   manufacturers have a state law duty to do so.

          4451. The FDA was reasonably expected to disseminate this information. No speculation

   is necessary on this point, because the FDA in fact did warn consumers and the medical community

   when they learned of these risks.

          4452. Because federal law requires generic drug labels to largely match branded drug

   labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

   than warning the FDA as a third party who would disseminate information to the public, Generic

   Manufacturer Defendants failed to warn anyone through any medium.

          4453. Specifically, Defendant failed to submit adverse event reports related to cancer for

   ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

   that ranitidine degrades into NDMA and causes cancer through other communication channels that


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   were available, including ordinary correspondence with the agency or regulatory reporting. This

   failure breached their duty of reasonable care.

          4454. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4455. The latent injuries from which Plaintiffs and the Pennsylvania Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4456. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4457. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4458. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.


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          4459. Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4460. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4461. Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring Class

   have an inadequate remedy at law in that monetary damages alone cannot compensate them for

   the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

   Products. Without a court-approved medical monitoring program as described herein, or

   established by the Court, Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring

   Class members will continue to face an unreasonable risk of injury and disability and remain

   undiagnosed.

                                        COUNT 228:
               Medical Monitoring – Negligent Product Containers – Pennsylvania

          4462. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.

           4463. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

   and on behalf of the Pennsylvania Amneal Prescription Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4464. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4465. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.

           4466. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           4467. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

   a duty to exercise reasonable care in choosing and making the containers for its products.

           4468. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

           4469. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Pennsylvania

   Amneal Prescription Medical Monitoring Class members have sustained a significantly increased


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   risk of developing serious and potentially Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4470. The latent injuries from which Plaintiffs and the Pennsylvania Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4471. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4472. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4473. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4474. Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Amneal


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   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4475. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

          4476. Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring Class

   have an inadequate remedy at law in that monetary damages alone cannot compensate them for

   the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

   Products. Without a court-approved medical monitoring program as described herein, or

   established by the Court, Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring

   Class members will continue to face an unreasonable risk of injury and disability and remain

   undiagnosed.

                                        COUNT 229:
           Medical Monitoring – Negligent Storage and Transportation – Pennsylvania

          4477. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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   as if fully stated herein.

           4478. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

   and on behalf of the Pennsylvania Amneal Prescription Medical Monitoring Class (for the

   purposes of this Count, “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4479. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

           4480. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

   Specific Allegations) as to Defendant.

           4481. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

           4482. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

   a duty to exercise reasonable care in transporting and storing products.

           4483. Defendant breached this duty by failing to implement or enforce policies to ensure

   Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

   humidity.

           4484. As a direct and proximate result of these systematic failures, excessive levels of

   NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

   Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

   Pennsylvania Amneal Prescription Medical Monitoring Class members have sustained a

   significantly increased risk of developing serious and potentially fatal Subject Cancers and have

   suffered and will suffer economic losses and expenses associated with ongoing medical

   monitoring.


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          4485. The latent injuries from which Plaintiffs and the Pennsylvania Amneal Prescription

   Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

   that is not generally given to the public at large. The available monitoring regime is specific for

   individuals exposed to products known to significantly increase the risk of the Subject Cancers

   because of ingesting Ranitidine-Containing Products and is different from that normally

   recommended in the absence of exposure to this risk of harm.

          4486. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4487. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4488. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

   Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

   and losses without adequate treatment will be significantly reduced.

          4489. Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring Class

   members seek creation of a Court-supervised, defendant-funded medical monitoring program

   which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Amneal Prescription Medical

   Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

   fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Amneal

   Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

          4490. Accordingly, Defendant should be required to establish a medical monitoring


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   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Pennsylvania Amneal Prescription Medical Monitoring Class members in writing that

   they may require frequent medical monitoring for the purpose of diagnosis.

           4491. Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring Class

   have an inadequate remedy at law in that monetary damages alone cannot compensate them for

   the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

   Products. Without a court-approved medical monitoring program as described herein, or

   established by the Court, Plaintiffs and the Pennsylvania Amneal Prescription Medical Monitoring

   Class members will continue to face an unreasonable risk of injury and disability and remain

   undiagnosed.

         10. Utah

                                         COUNT 230:
         Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Utah

           4492. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.



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          4493. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah Amneal Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Amneal (for the purposes of this Count, “Defendant”).

          4494. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

          4495. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

   Specific Allegations) as to Defendant.

          4496. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          4497.    Under Utah law, a manufacturer, including Defendant, has a duty of reasonable

   care to provide an adequate warning of the dangers from a foreseeable use of its product that it

   knows or should have known about.

          4498. Defendant breached this duty for its Ranitidine-Containing Products.             The

   expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

   when consumed long after manufacture, when in fact the products degraded into NDMA over time.

          4499. Plaintiffs or their doctors would have read and heeded these warnings had they been

   included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

   would have been made aware of the risks of developing the Subject Cancers associated with the

   use of the Ranitidine-Containing Products.

          4500. As a direct and proximate result of Defendant’s failure to provide an adequate

   warning of the risks of Ranitidine-Containing Products, Plaintiffs and Utah Amneal Prescription

   Medical Monitoring Class members have sustained a significantly increased risk of developing


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   serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

   and expenses associated with ongoing medical monitoring.

          4501. The latent injuries from which Plaintiffs and the Utah Amneal Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of

   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          4502. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4503. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4504. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4505. Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Utah Amneal Prescription Medical


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   Monitoring Class members as frequently and appropriately as necessary.

           4506. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah Amneal Prescription Medical Monitoring Class members in writing that they

   may require frequent medical monitoring for the purpose of diagnosis.

           4507. Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class have an

   inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

   long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

   a court-approved medical monitoring program as described herein, or established by the Court,

   Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class members will continue to

   face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 231:
                     Medical Monitoring – Negligent Product Containers – Utah

           4508. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

   (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

   framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

   breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

   ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

   FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

   Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

   as if fully stated herein.



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          4509. This cause of action is brought by Teresa Waters, individually and on behalf of the

   Utah Amneal Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

   against Amneal (for the purposes of this Count, “Defendant”).

          4510. The allegations in this Count apply to Amneal during the time period in which it

   was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

   paragraphs 172-84, which are incorporated by reference.

          4511. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

   Specific Allegations) as to Defendant.

          4512. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

   their risk of developing serious and potentially fatal Subject Cancers.

          4513. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

   to exercise reasonable care in choosing and making the containers for its products.

          4514. Defendant breached this duty by failing to utilize containers that would minimize

   the NDMA produced in its Ranitidine-Containing Products.

          4515. As a direct and proximate result of this failure, excessive levels of NDMA built up

   in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Utah Amneal

   Prescription Medical Monitoring Class members have sustained a significantly increased risk of

   developing serious and potentially fatal Subject Cancers and have suffered and will suffer

   economic losses and expenses associated with ongoing medical monitoring.

          4516. The latent injuries from which Plaintiffs and the Utah Amneal Prescription Medical

   Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

   generally given to the public at large. The available monitoring regime is specific for individuals

   exposed to products known to significantly increase the risk of the Subject Cancers because of


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   ingesting Ranitidine-Containing Products and is different from that normally recommended in the

   absence of exposure to this risk of harm.

          4517. The medical monitoring regime should include, but is not limited to, baseline tests

   and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

   This diagnostic program will facilitate treatment and interventions that will mitigate the

   development of, and health effects associated with, the Subject Cancers.

          4518. The available monitoring regime is reasonably necessary according to

   contemporary scientific principles within the medical community specializing in the diagnosis and

   treatment of the Subject Cancers.

          4519. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Amneal

   Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

   without adequate treatment will be significantly reduced.

          4520. Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class members

   seek creation of a Court-supervised, defendant-funded medical monitoring program which will

   facilitate the diagnoses of Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class

   members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

   the medical monitoring and diagnosis of Plaintiffs and the Utah Amneal Prescription Medical

   Monitoring Class members as frequently and appropriately as necessary.

          4521. Accordingly, Defendant should be required to establish a medical monitoring

   program that includes, among other things: (a) establishing a trust fund, in an amount to be

   determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

   Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

   notifying all Utah Amneal Prescription Medical Monitoring Class members in writing that they


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    may require frequent medical monitoring for the purpose of diagnosis.

            4522. Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 232:
                 Medical Monitoring – Negligent Storage and Transportation – Utah

            4523. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4524. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Amneal Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Amneal (for the purposes of this Count, “Defendant”).

            4525. The allegations in this Count apply to Amneal during the time period in which it

    was manufacturing Ranitidine-Containing Products.       The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           4526. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           4527. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           4528. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           4529. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           4530. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and Utah

    Amneal Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4531. The latent injuries from which Plaintiffs and the Utah Amneal Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           4532. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4533. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4534. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Amneal

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           4535. Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Amneal Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           4536. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Amneal Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           4537. Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Amneal Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          11. West Virginia

                                        COUNT 233:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

            4538. Plaintiffs incorporate by reference each allegation set forth in paragraphs 41–153

    (describing Generic Manufacturer Defendants) and 432–37 (describing the regulatory framework

    for generics) and paragraphs 322–42 (describing the recall of ranitidine), 385–97 (describing the

    breakdown of ranitidine before ingestion), 405–08 (describing Defendant’s knowledge), 409–31

    (describing the regulatory framework for drug manufacturers), and 455–66 (describing Plaintiffs’

    use of ranitidine and injury), as if fully stated herein.

            4539. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4540. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Amneal Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).



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           4541. The allegations in this Count apply to Amneal during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4542. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           4543. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           4544.    Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

           4545. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           4546. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           4547. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and West Virginia Amneal

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4548. The latent injuries from which Plaintiffs and the West Virginia Amneal Prescription


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    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4549. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4550. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4551. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4552. Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Amneal Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Amneal

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4553. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Amneal Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

            4554. Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                           COUNT 234:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            4555. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4556. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Amneal Prescription Medical Monitoring Class (for the purposes of this Count,



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    “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

           4557. The allegations in this Count apply to Amneal during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4558. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           4559. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           4560. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           4561. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           4562. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and West Virginia

    Amneal Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4563. The latent injuries from which Plaintiffs and the West Virginia Amneal Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           4564. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4565. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4566. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4567. Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Amneal Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Amneal

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4568. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Amneal Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           4569. Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring Class


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    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                          COUNT 235:
            Medical Monitoring – Negligent Storage and Transportation – West Virginia

            4570. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4571. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            4572. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Amneal Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Amneal (for the purposes of this Count, “Defendant”).

            4573. The allegations in this Count apply to Amneal during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4574. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            4575. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            4576. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

            4577. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            4578. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and West

    Virginia Amneal Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

            4579. The latent injuries from which Plaintiffs and the West Virginia Amneal Prescription


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    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4580. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4581. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4582. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Amneal Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4583. Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Amneal Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Amneal

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4584. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Amneal Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           4585. Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Amneal Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.


    G. CAUSES OF ACTION AGAINST DEFENDANT DR. REDDY’S WITH RESPECT TO
       PRESCRIPTION RANITIDINE

           4586. Plaintiffs identified in the table below bring claims against Defendant Dr. Reddy’s

    with respect to prescription ranitidine on behalf of themselves and their respective State Dr.

    Reddy’s Prescription Medical Monitoring Class under the laws of their respective states of usage.

    Each Plaintiff incorporates by reference the allegations specific to them from Section III.B. and

    the allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Armando Tapia                                     AZ
             Golbenaz Bakhtiar                                 CA
             Royal Handy                                       CA
             Virginia Aragon                                   CA



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           Kevin Nelson                         DC
           Ana Pereira                          FL
           Clifton McKinnon                     FL
           Daniel Taylor                        FL
           Hattie Kelley                        FL
           Irma Arcaya                          FL
           Jeannie Black                        FL
           Joyce Taylor                         FL
           Marva Mccall                         FL
           Michael Fesser                       FL
           Michael Tomlinson                    FL
           Sonia Diaz                           FL
           Karen Foster                         FL
           Rebecca Sizemore                     IN
           Teresa Dowler                        IN
           Tracy Wells                          IN
           Timberly Goble                       IN
           Alberta Griffin                      MD
           Darlene Whittington-Coates           MD
           Antrenise Campbell                   MO
           Brenda Newcomb                       MO
           Cynthia Gibbs                        MO
           Elaine Aaron                         MO
           Michael Galloway                     OH
           Patricia Hess                        OH
           Felicia Ball                         PA
           Joyce Guerrieri                      PA
           Teresa Waters                        UT
           Mynetta Hastings                     WV



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          1. Arizona

                                          COUNT 236:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            4587. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4588. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            4589. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4590. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            4591.    Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.



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           4592. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           4593. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           4594. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4595. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4596. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4597. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4598. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4599. Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4600. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4601. Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.


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                                              COUNT 237:
                                 Negligent Product Containers – Arizona

            4602. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4603. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            4604. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4605. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            4606. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            4607. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            4608. As a direct and proximate result of this failure, excessive levels of NDMA built up



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    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Arizona Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4609. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4610. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4611. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4612. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4613. Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical


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    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4614. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4615. Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 238:
                          Negligent Storage and Transportation – Arizona

           4616. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4617. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            4618. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4619. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            4620. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            4621. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            4622. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Arizona Dr. Reddy’s Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

            4623. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Prescription


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    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4624. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4625. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4626. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4627. Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4628. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            4629. Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Arizona Dr. Reddy’s Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          2. California

                                          COUNT 239:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            4630. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4631. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Dr. Reddy’s Prescription Medical Monitoring



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    Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this

    Count, “Defendant”).

           4632. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4633. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           4634.   Under California law, manufacturers have a duty of reasonable care to warn of

    particular risks that are known or knowable in light of the generally recognized and prevailing

    scientific and medical knowledge available at the time of manufacture and distribution.

           4635. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

    consumed long after manufacture, when in fact the products degraded into NDMA over time.

           4636. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           4637. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4638. The latent injuries from which Plaintiffs and the California Dr. Reddy’s


                                                       984
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    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4639. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4640. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4641. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4642. Plaintiffs and the California Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California

    Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and appropriately as

    necessary.

           4643. Accordingly, Defendant should be required to establish a medical monitoring


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    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

            4644. Plaintiffs and the California Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the California Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                             COUNT 240:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            4645. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4646. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia



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    Aragon, individually and on behalf of the California Dr. Reddy’s Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this

    Count, “Defendant”).

           4647. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4648. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           4649. Under California law, manufacturers (including Defendant) bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           4650. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           4651. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           4652. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer


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    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           4653. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           4654. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4655. The latent injuries from which Plaintiffs and the California Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4656. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4657. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           4658. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4659. Plaintiffs and the California Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California

    Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and appropriately as

    necessary.

           4660. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           4661. Plaintiffs and the California Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the California Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and


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    remain undiagnosed.

                                               COUNT 241:
                                 Negligent Product Containers – California

            4662. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4663. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Dr. Reddy’s Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this

    Count, “Defendant”).

            4664. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4665. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            4666. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            4667. Defendant breached this duty by failing to utilize containers that would minimize



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    the NDMA produced in its Ranitidine-Containing Products.

           4668. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4669. The latent injuries from which Plaintiffs and the California Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4670. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4671. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4672. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4673. Plaintiffs and the California Dr. Reddy’s Prescription Medical Monitoring Class


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    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California

    Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and appropriately as

    necessary.

           4674. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           4675. Plaintiffs and the California Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the California Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                            COUNT 242:
                          Negligent Storage and Transportation – California

           4676. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4677. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Dr. Reddy’s Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this

    Count, “Defendant”).

            4678. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4679. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            4680. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            4681. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            4682. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.


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    Plaintiffs and California Dr. Reddy’s Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           4683. The latent injuries from which Plaintiffs and the California Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4684. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4685. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4686. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4687. Plaintiffs and the California Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Prescription


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    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California

    Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and appropriately as

    necessary.

           4688. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           4689. Plaintiffs and the California Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the California Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

         3. District of Columbia

                                        COUNT 243:
      Negligence – Failure to Warn Through Proper Expiration Dates – District of Columbia

           4690. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4691. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            4692. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4693. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            4694.    Under District of Columbia law, pharmaceutical manufacturers, including

    Defendant, have a duty of reasonable care to adequately warn of a particular risk that was known

    or knowable in light of the generally recognized and prevailing best scientific and medical

    knowledge available at the time of manufacture and distribution.

            4695. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            4696. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the


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    use of the Ranitidine-Containing Products.

           4697. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4698. The latent injuries from which Plaintiffs and the District of Columbia Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4699. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4700. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4701. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term

    injuries, disease, and losses without adequate treatment will be significantly reduced.

           4702. Plaintiffs and the District of Columbia Dr. Reddy’s Prescription Medical


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    Monitoring Class members seek creation of a Court-supervised, defendant-funded medical

    monitoring program which will facilitate the diagnoses of Plaintiffs and the District of Columbia

    Dr. Reddy’s Prescription Medical Monitoring Class members for the Subject Cancers. The medical

    monitoring should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs

    and the District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members as

    frequently and appropriately as necessary.

           4703. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           4704. Plaintiffs and the District of Columbia Dr. Reddy’s Prescription Medical

    Monitoring Class have an inadequate remedy at law in that monetary damages alone cannot

    compensate them for the risk of long-term physical and economic losses due to ingesting

    Ranitidine-Containing Products. Without a court-approved medical monitoring program as

    described herein, or established by the Court, Plaintiffs and the District of Columbia Dr. Reddy’s

    Prescription Medical Monitoring Class members will continue to face an unreasonable risk of

    injury and disability and remain undiagnosed.

                                         COUNT 244:
        Negligence – Failure to Warn Consumers Through the FDA – District of Columbia

           4705. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4706. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            4707. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4708. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            4709. Under District of Columbia law, there exists a duty owed by Defendant under

    failure to warn and negligence principles to follow FDA reporting requirements and notify the

    FDA of new information. See Kubicki ex rel. Kubicki v. Medtronic, No. CIV.A. 12-00734 CKK,

    2013 WL 1739580, at *6–*8 (D.D.C. Mar. 21, 2013) (“[T]he Complaint alleges that Defendants

    knew, or should have known that technical problems were occurring in the 522 Pump subsequent

    to PMA approval, but never notified the FDA … despite their obligations under the federal

    regulations to do so. … Relatedly, the Complaint alleges failure to conduct post-approval market

    surveillance, including reporting all serious adverse events …. Accordingly, Plaintiffs have

    sufficiently pled parallel claims….”) (citing, inter alia, Stengel v. Medtronic Inc., 704 F.3d 1224,


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    1232–33 (9th Cir. 2013)).

           4710. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           4711. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           4712. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Defendant

    failed to warn anyone through any medium.

           4713. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached Defendant’s duty of reasonable care.

           4714. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.


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           4715. The latent injuries from which Plaintiffs and the District of Columbia Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4716. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4717. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4718. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term

    injuries, disease, and losses without adequate treatment will be significantly reduced.

           4719. Plaintiffs and the District of Columbia Dr. Reddy’s Prescription Medical

    Monitoring Class members seek creation of a Court-supervised, defendant-funded medical

    monitoring program which will facilitate the diagnoses of Plaintiffs and the District of Columbia

    Dr. Reddy’s Prescription Medical Monitoring Class members for the Subject Cancers. The medical

    monitoring should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs

    and the District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members as

    frequently and appropriately as necessary.


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            4720. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

            4721. Plaintiffs and the District of Columbia Dr. Reddy’s Prescription Medical

    Monitoring Class have an inadequate remedy at law in that monetary damages alone cannot

    compensate them for the risk of long-term physical and economic losses due to ingesting

    Ranitidine-Containing Products. Without a court-approved medical monitoring program as

    described herein, or established by the Court, Plaintiffs and the District of Columbia Dr. Reddy’s

    Prescription Medical Monitoring Class members will continue to face an unreasonable risk of

    injury and disability and remain undiagnosed.

                                             COUNT 245:
                          Negligent Product Containers – District of Columbia

            4722. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.



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           4723. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

           4724. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4725. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           4726. Under District of Columbia law, a pharmaceutical manufacturer, including

    Defendant, has a duty to exercise reasonable care in choosing and making the containers for its

    products.

           4727. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           4728. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and District of

    Columbia Dr. Reddy’s Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           4729. The latent injuries from which Plaintiffs and the District of Columbia Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject


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    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4730. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4731. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4732. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term

    injuries, disease, and losses without adequate treatment will be significantly reduced.

           4733. Plaintiffs and the District of Columbia Dr. Reddy’s Prescription Medical

    Monitoring Class members seek creation of a Court-supervised, defendant-funded medical

    monitoring program which will facilitate the diagnoses of Plaintiffs and the District of Columbia

    Dr. Reddy’s Prescription Medical Monitoring Class members for the Subject Cancers. The medical

    monitoring should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs

    and the District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members as

    frequently and appropriately as necessary.

           4734. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

            4735. Plaintiffs and the District of Columbia Dr. Reddy’s Prescription Medical

    Monitoring Class have an inadequate remedy at law in that monetary damages alone cannot

    compensate them for the risk of long-term physical and economic losses due to ingesting

    Ranitidine-Containing Products. Without a court-approved medical monitoring program as

    described herein, or established by the Court, Plaintiffs and the District of Columbia Dr. Reddy’s

    Prescription Medical Monitoring Class members will continue to face an unreasonable risk of

    injury and disability and remain undiagnosed.

                                            COUNT 246:
                     Negligent Storage and Transportation – District of Columbia

            4736. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4737. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            4738. The allegations in this Count apply to Dr. Reddy’s during the time period in which



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    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4739. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           4740. Under District of Columbia law, a pharmaceutical manufacturer, including

    Defendant, has a duty to exercise reasonable care in transporting and storing products.

           4741. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           4742. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members

    have sustained a significantly increased risk of developing serious and potentially fatal Subject

    Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

    medical monitoring.

           4743. The latent injuries from which Plaintiffs and the District of Columbia Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4744. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4745. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4746. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term

    injuries, disease, and losses without adequate treatment will be significantly reduced.

           4747. Plaintiffs and the District of Columbia Dr. Reddy’s Prescription Medical

    Monitoring Class members seek creation of a Court-supervised, defendant-funded medical

    monitoring program which will facilitate the diagnoses of Plaintiffs and the District of Columbia

    Dr. Reddy’s Prescription Medical Monitoring Class members for the Subject Cancers. The medical

    monitoring should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs

    and the District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members as

    frequently and appropriately as necessary.

           4748. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Dr. Reddy’s Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           4749. Plaintiffs and the District of Columbia Dr. Reddy’s Prescription Medical


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    Monitoring Class have an inadequate remedy at law in that monetary damages alone cannot

    compensate them for the risk of long-term physical and economic losses due to ingesting

    Ranitidine-Containing Products. Without a court-approved medical monitoring program as

    described herein, or established by the Court, Plaintiffs and the District of Columbia Dr. Reddy’s

    Prescription Medical Monitoring Class members will continue to face an unreasonable risk of

    injury and disability and remain undiagnosed.

          4. Florida

                                         COUNT 247:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

            4750. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4751. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Dr. Reddy’s

    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr.

    Reddy’s (for the purposes of this Count, “Defendant”).

            4752. The allegations in this Count apply to Dr. Reddy’s during the time period in which



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    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4753. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           4754. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           4755.    Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           4756. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           4757. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           4758. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4759. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Prescription


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    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4760. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4761. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4762. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4763. Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4764. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            4765. Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 248:
                     Medical Monitoring – Negligent Product Containers – Florida

            4766. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4767. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Dr. Reddy’s



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    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr.

    Reddy’s (for the purposes of this Count, “Defendant”).

           4768. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4769. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           4770. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           4771. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           4772. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           4773. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Florida Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4774. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally


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    recommended in the absence of exposure to this risk of harm.

           4775. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4776. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4777. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4778. Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4779. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.


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            4780. Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 249:
                Medical Monitoring – Negligent Storage and Transportation – Florida

            4781. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4782. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Dr. Reddy’s

    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr.

    Reddy’s (for the purposes of this Count, “Defendant”).

            4783. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           4784. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           4785. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           4786. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           4787. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           4788. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Florida Dr. Reddy’s Prescription Medical Monitoring Class members have sustained

    a significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           4789. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           4790. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4791. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4792. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4793. Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4794. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4795. Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class have


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    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Florida Dr. Reddy’s Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          5. Indiana

                                           COUNT 250:
              Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

            4796. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4797. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Dr. Reddy’s Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the

    purposes of this Count, “Defendant”).

            4798. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           4799. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           4800.   Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

    use.

           4801. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           4802. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           4803. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4804. The latent injuries from which Plaintiffs and the Indiana Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           4805. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4806. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4807. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4808. Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4809. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4810. Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class have


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    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 251:
                Negligence – Failure to Warn Consumers Through the FDA – Indiana

            4811. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4812. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Dr. Reddy’s Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the

    purposes of this Count, “Defendant”).

            4813. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4814. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-



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    Specific Allegations) as to Defendant.

           4815. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law

    based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

    2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

    2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed

    by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

    establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

    … in providing the warnings or instructions.”)

           4816. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

    where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

    reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

    they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

    safety-related information and publicize risks to the medical community.

           4817. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           4818. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           4819. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that


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    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           4820. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4821. The latent injuries from which Plaintiffs and the Indiana Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4822. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4823. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4824. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.


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           4825. Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4826. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4827. Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 252:
                               Negligent Product Containers – Indiana

           4828. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4829. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Dr. Reddy’s Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the

    purposes of this Count, “Defendant”).

            4830. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4831. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            4832. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            4833. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            4834. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Indiana Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.


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           4835. The latent injuries from which Plaintiffs and the Indiana Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4836. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4837. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4838. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4839. Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4840. Accordingly, Defendant should be required to establish a medical monitoring


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    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            4841. Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 253:
                             Negligent Storage and Transportation – Indiana

            4842. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4843. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Dr. Reddy’s Prescription Medical



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    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the

    purposes of this Count, “Defendant”).

           4844. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4845. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           4846. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           4847. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           4848. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Indiana Dr. Reddy’s Prescription Medical Monitoring Class members have sustained

    a significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           4849. The latent injuries from which Plaintiffs and the Indiana Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4850. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4851. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4852. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4853. Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4854. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Dr. Reddy’s Prescription Medical Monitoring Class members in writing that


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    they may require frequent medical monitoring for the purpose of diagnosis.

            4855. Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Dr. Reddy’s Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          6. Maryland

                                          COUNT 254:
            Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

            4856. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4857. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            4858. The allegations in this Count apply to Dr. Reddy’s during the time period in which



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    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

             4859. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

             4860.   Under Maryland law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning of a danger it knew or should have had known

    about.

             4861. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

             4862. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

             4863. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

             4864. The latent injuries from which Plaintiffs and the Maryland Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4865. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4866. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4867. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4868. Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4869. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Dr. Reddy’s Prescription Medical Monitoring Class members in writing


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    that they may require frequent medical monitoring for the purpose of diagnosis.

            4870. Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                           COUNT 255:
               Negligence – Failure to Warn Consumers Through the FDA – Maryland

            4871. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4872. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            4873. The allegations in this Count apply to Dr. Reddy’s during the time period in which



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    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           4874. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           4875. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

    recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

    Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

    beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

    effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

    reasonable efforts would, in some circumstances, entail a warning to a third party such as the

    FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

           4876. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           4877. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           4878. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.


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           4879. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of to make reasonable efforts to ensure an effective warning reached

    consumers.

           4880. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4881. The latent injuries from which Plaintiffs and the Maryland Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4882. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4883. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           4884. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4885. Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4886. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           4887. Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.


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                                               COUNT 256:
                                 Negligent Product Containers – Maryland

            4888. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4889. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            4890. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4891. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            4892. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            4893. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.



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           4894. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4895. The latent injuries from which Plaintiffs and the Maryland Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4896. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4897. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4898. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4899. Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program


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    which will facilitate the diagnoses of Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4900. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           4901. Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                            COUNT 257:
                          Negligent Storage and Transportation – Maryland

           4902. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4903. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            4904. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4905. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            4906. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            4907. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            4908. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Maryland Dr. Reddy’s Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers


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    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           4909. The latent injuries from which Plaintiffs and the Maryland Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4910. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4911. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4912. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4913. Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Dr. Reddy’s


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    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4914. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           4915. Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Maryland Dr. Reddy’s Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

         7. Missouri

                                          COUNT 258:
            Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

           4916. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4917. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Dr. Reddy’s Prescription

    Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for

    the purposes of this Count, “Defendant”).

            4918. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4919. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            4920.    Under Missouri law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the risks of its products.

            4921. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            4922. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            4923. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of


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    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4924. The latent injuries from which Plaintiffs and the Missouri Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4925. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4926. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4927. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4928. Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Dr. Reddy’s


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    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4929. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4930. Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                            COUNT 259:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – Missouri

           4931. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            4932. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Dr. Reddy’s Prescription

    Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for

    the purposes of this Count, “Defendant”).

            4933. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4934. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            4935. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

    of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

    [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

    state law to warn consumers about the risks of using their product, which Williams argues Bayer

    breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

    Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

            4936. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.

            4937. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

            4938. Because federal law requires generic drug labels to largely match branded drug


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    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           4939. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Manufacturer Defendants also failed to warn the FDA

    of the risks that ranitidine degrades into NDMA and causes cancer through other communication

    channels that were available, including ordinary correspondence with the agency or regulatory

    reporting. This failure breached their duty of reasonable care.

           4940. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4941. The latent injuries from which Plaintiffs and the Missouri Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4942. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           4943. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4944. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4945. Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4946. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4947. Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring


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    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                              COUNT 260:
                                 Negligent Product Containers – Missouri

            4948. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4949. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Dr. Reddy’s Prescription

    Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for

    the purposes of this Count, “Defendant”).

            4950. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4951. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            4952. Under Missouri law, a manufacturer, including Defendant, has a duty to exercise

    reasonable care in choosing and making the containers for its products.



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           4953. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           4954. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Missouri Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4955. The latent injuries from which Plaintiffs and the Missouri Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4956. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4957. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4958. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.


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           4959. Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4960. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4961. Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                           COUNT 261:
                          Negligent Storage and Transportation – Missouri

           4962. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4963. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Dr. Reddy’s Prescription

    Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for

    the purposes of this Count, “Defendant”).

            4964. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4965. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            4966. Under Missouri law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            4967. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            4968. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.


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    Plaintiffs and Missouri Dr. Reddy’s Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           4969. The latent injuries from which Plaintiffs and the Missouri Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4970. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4971. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4972. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4973. Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical


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    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4974. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4975. Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Missouri Dr. Reddy’s Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

         8. Ohio

                                            COUNT 262:
       Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           4976. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4977. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            4978. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4979. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            4980.    Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

    adequate warning of the risks associated with its product that it knows or should have known about,

    and a duty to provide adequate post-marketing warnings or instructions.

            4981. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on each Ranitidine-Containing Product were inadequate because the expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

            4982. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.


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           4983. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           4984. The latent injuries from which Plaintiffs and the Ohio Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4985. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           4986. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           4987. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           4988. Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program


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    which will facilitate the diagnoses of Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Ohio Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           4989. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           4990. Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 263:
                                Negligent Product Containers – Ohio

           4991. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            4992. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            4993. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            4994. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            4995. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            4996. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            4997. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            4998. The latent injuries from which Plaintiffs and the Ohio Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           4999. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5000. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5001. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5002. Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Ohio Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5003. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Ohio Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5004. Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 264:
                                 Negligent Storage and Transportation – Ohio

            5005. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5006. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            5007. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           5008. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           5009. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           5010. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5011. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Ohio Dr. Reddy’s Prescription Medical Monitoring Class members have sustained

    a significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           5012. The latent injuries from which Plaintiffs and the Ohio Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5013. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5014. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5015. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5016. Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Ohio Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5017. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5018. Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Dr. Reddy’s Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          9. Pennsylvania

                                        COUNT 265:
     Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Pennsylvania

            5019. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5020. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            5021. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5022. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.



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           5023. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5024.    Under Pennsylvania law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning.

           5025. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5026. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5027. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5028. The latent injuries from which Plaintiffs and the Pennsylvania Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5029. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5030. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5031. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5032. Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5033. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5034. Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class


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    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                        COUNT 266:
       Medical Monitoring – Failure to Warn Consumers Through the FDA – Pennsylvania

            5035. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5036. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            5037. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           5038. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           5039. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5040. Pennsylvania law “may impose liability for the failure to report to the FDA. …the

    duty to warn is discharged by ‘providing information about the product’s dangerous propensities,’

    which undoubtedly encompasses Medtronic’s alleged failures to report known problems, adverse

    events and malfunctions, and the comment does not require the third party to disclose the warnings,

    but rather be reasonably relied upon to do so.” Silver v. Medtronic, Inc., 236 F. Supp. 3d 889, 900

    (M.D. Pa. 2017); see also McLaughlin v. Bayer Corp., 172 F. Supp. 3d 804, 838 (E.D. Pa. 2016)

    (“we follow the reasoning of the en banc decision in Stengel”); Bull v. St. Jude Med., Inc., No. CV

    17-1141, 2018 WL 3397544, at *9 (E.D. Pa. July 12, 2018) (“Plaintiff has alleged that St. Jude

    violated state tort law, namely, by failing to warn physicians about the risks of the Riata ST Lead

    based on the failure to fully comply with its federal duty to report all adverse events to the FDA

    via MDRs in a timely manner.”).

           5041. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.

           5042. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5043. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather


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    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           5044. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           5045. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5046. The latent injuries from which Plaintiffs and the Pennsylvania Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5047. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5048. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5049. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5050. Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5051. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5052. Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical


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    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                          COUNT 267:
                 Medical Monitoring – Negligent Product Containers – Pennsylvania

            5053. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5054. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            5055. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5056. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5057. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           5058. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           5059. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5060. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Pennsylvania

    Dr. Reddy’s Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5061. The latent injuries from which Plaintiffs and the Pennsylvania Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5062. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5063. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5064. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania


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    Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5065. Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5066. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5067. Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.




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                                         COUNT 268:
            Medical Monitoring – Negligent Storage and Transportation – Pennsylvania

            5068. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5069. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            5070. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5071. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5072. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5073. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.



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           5074. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5075. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           5076. The latent injuries from which Plaintiffs and the Pennsylvania Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5077. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5078. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           5079. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5080. Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5081. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5082. Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.


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          10. Utah

                                          COUNT 269:
          Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Utah

            5083. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5084. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            5085. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5086. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5087. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5088.    Under Utah law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the dangers from a foreseeable use of its product that it



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    knows or should have known about.

           5089. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5090. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5091. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Utah Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5092. The latent injuries from which Plaintiffs and the Utah Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5093. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           5094. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5095. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5096. Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Utah Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Utah Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5097. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5098. Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class members will continue


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    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 270:
                      Medical Monitoring – Negligent Product Containers – Utah

            5099. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5100. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            5101. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5102. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5103. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5104. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.



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           5105. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5106. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Utah Dr.

    Reddy’s Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5107. The latent injuries from which Plaintiffs and the Utah Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5108. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5109. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5110. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.


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           5111. Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Utah Dr. Reddy’s Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Utah Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5112. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5113. Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 271:
                Medical Monitoring – Negligent Storage and Transportation – Utah

           5114. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5115. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            5116. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5117. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5118. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5119. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            5120. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            5121. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.


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    Plaintiffs and Utah Dr. Reddy’s Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           5122. The latent injuries from which Plaintiffs and the Utah Dr. Reddy’s Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5123. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5124. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5125. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Dr.

    Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5126. Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Utah Dr. Reddy’s Prescription Medical


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    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Utah Dr. Reddy’s

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5127. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Dr. Reddy’s Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5128. Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Dr. Reddy’s Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         11. West Virginia

                                        COUNT 272:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

           5129. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5130. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            5131. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5132. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5133. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5134.    Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

            5135. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            5136. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.


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           5137. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and West Virginia Dr. Reddy’s

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially Subject Cancers and have suffered and will suffer economic

    losses and expenses associated with ongoing medical monitoring.

           5138. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5139. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5140. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5141. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5142. Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring


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    program which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    West Virginia Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5143. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5144. Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                          COUNT 273:
                Medical Monitoring – Negligent Product Containers – West Virginia

           5145. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5146. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            5147. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5148. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5149. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5150. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

            5151. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            5152. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and West Virginia

    Dr. Reddy’s Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and


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    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5153. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5154. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5155. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5156. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5157. Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    West Virginia Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and


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    appropriately as necessary.

           5158. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5159. Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                         COUNT 274:
           Medical Monitoring – Negligent Storage and Transportation – West Virginia

           5160. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            5161. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            5162. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5163. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5164. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5165. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

            5166. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            5167. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and West Virginia Dr. Reddy’s Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.


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           5168. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5169. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5170. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5171. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Dr. Reddy’s Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5172. Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    West Virginia Dr. Reddy’s Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.


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           5173. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5174. Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

    H. CAUSES OF ACTION AGAINST DEFENDANT GLENMARK WITH RESPECT TO
       PRESCRIPTION RANITIDINE

           5175. Plaintiffs identified in the table below bring claims against Defendant Glenmark

    with respect to prescription ranitidine on behalf of themselves and their respective State Glenmark

    Prescription Medical Monitoring Class under the laws of their respective states of usage. Each

    Plaintiff incorporates by reference the allegations specific to them from Section III.B. and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Armando Tapia                                     AZ
             Golbenaz Bakhtiar                                 CA
             Royal Handy                                       CA


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           Plaintiff Name                       State of Usage

           Virginia Aragon                      CA
           Kevin Nelson                         DC
           Ana Pereira                          FL
           Clifton McKinnon                     FL
           Daniel Taylor                        FL
           Hattie Kelley                        FL
           Irma Arcaya                          FL
           Jeannie Black                        FL
           Joyce Taylor                         FL
           Marva Mccall                         FL
           Michael Fesser                       FL
           Michael Tomlinson                    FL
           Sonia Diaz                           FL
           Karen Foster                         FL
           Rebecca Sizemore                     IN
           Teresa Dowler                        IN
           Tracy Wells                          IN
           Timberly Goble                       IN
           Alberta Griffin                      MD
           Darlene Whittington-Coates           MD
           Brenda Newcomb                       MO
           Cynthia Gibbs                        MO
           Elaine Aaron                         MO
           Michael Galloway                     OH
           Patricia Hess                        OH
           Felicia Ball                         PA
           Joyce Guerrieri                      PA
           Teresa Waters                        UT



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              Plaintiff Name                                  State of Usage

              Mynetta Hastings                                WV



          1. Arizona

                                          COUNT 275:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            5176. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5177. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Glenmark Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5178. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5179. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5180.    Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

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    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           5181. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5182. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5183. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5184. The latent injuries from which Plaintiffs and the Arizona Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5185. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           5186. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5187. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5188. Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5189. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5190. Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the


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    Court, Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 276:
                                 Negligent Product Containers – Arizona

            5191. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5192. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Glenmark Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5193. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5194. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5195. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            5196. Defendant breached this duty by failing to utilize containers that would minimize



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    the NDMA produced in its Ranitidine-Containing Products.

           5197. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Arizona

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5198. The latent injuries from which Plaintiffs and the Arizona Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5199. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5200. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5201. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5202. Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class


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    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5203. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5204. Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 277:
                          Negligent Storage and Transportation – Arizona

           5205. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5206. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Glenmark Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5207. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5208. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5209. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            5210. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            5211. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Arizona Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.


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           5212. The latent injuries from which Plaintiffs and the Arizona Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5213. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5214. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5215. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5216. Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5217. Accordingly, Defendant should be required to establish a medical monitoring


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    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5218. Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Arizona Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          2. California

                                          COUNT 278:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            5219. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5220. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia



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    Aragon, individually and on behalf of the California Glenmark Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this

    Count, “Defendant”).

           5221. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5222. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           5223.   Under California law, manufacturers have a duty of reasonable care to warn of

    particular risks that are known or knowable in light of the generally recognized and prevailing

    scientific and medical knowledge available at the time of manufacture and distribution.

           5224. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

    consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5225. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5226. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.


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           5227. The latent injuries from which Plaintiffs and the California Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5228. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5229. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5230. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5231. Plaintiffs and the California Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5232. Accordingly, Defendant should be required to establish a medical monitoring


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    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5233. Plaintiffs and the California Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Glenmark Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 279:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            5234. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5235. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Glenmark Prescription Medical Monitoring



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    Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this

    Count, “Defendant”).

           5236. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5237. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           5238. Under California law, manufacturers (including Defendant) bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           5239. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           5240. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5241. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate


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    information to the public, Defendant failed to warn anyone through any medium.

           5242. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           5243. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5244. The latent injuries from which Plaintiffs and the California Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5245. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5246. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           5247. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5248. Plaintiffs and the California Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5249. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5250. Plaintiffs and the California Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Glenmark Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 280:
                              Negligent Product Containers – California



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            5251. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5252. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Glenmark Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this

    Count, “Defendant”).

            5253. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5254. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5255. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            5256. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            5257. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California


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    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5258. The latent injuries from which Plaintiffs and the California Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5259. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5260. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5261. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5262. Plaintiffs and the California Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust


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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5263. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5264. Plaintiffs and the California Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Glenmark Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 281:
                         Negligent Storage and Transportation – California

           5265. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            5266. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Glenmark Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this

    Count, “Defendant”).

            5267. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5268. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5269. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            5270. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            5271. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    California Glenmark Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

            5272. The latent injuries from which Plaintiffs and the California Glenmark Prescription


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    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5273. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5274. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5275. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5276. Plaintiffs and the California Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5277. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5278. Plaintiffs and the California Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Glenmark Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          3. District of Columbia

                                        COUNT 282:
      Negligence – Failure to Warn Through Proper Expiration Dates – District of Columbia

            5279. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5280. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Glenmark Prescription Medical Monitoring Class (for the purposes of this



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    Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

           5281. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5282. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           5283.   Under District of Columbia law, pharmaceutical manufacturers, including

    Defendant, have a duty of reasonable care to adequately warn of a particular risk that was known

    or knowable in light of the generally recognized and prevailing best scientific and medical

    knowledge available at the time of manufacture and distribution.

           5284. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5285. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5286. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5287. The latent injuries from which Plaintiffs and the District of Columbia Glenmark


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    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5288. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5289. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5290. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Glenmark Prescription Medical Monitoring Class members will suffer long-term

    injuries, disease, and losses without adequate treatment will be significantly reduced.

           5291. Plaintiffs and the District of Columbia Glenmark Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Glenmark

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5292. Accordingly, Defendant should be required to establish a medical monitoring


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    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Glenmark Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

            5293. Plaintiffs and the District of Columbia Glenmark Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                          COUNT 283:
         Negligence – Failure to Warn Consumers Through the FDA – District of Columbia

            5294. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5295. This cause of action is brought by Kevin Nelson, individually and on behalf of the



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    District of Columbia Glenmark Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

           5296. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5297. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           5298. Under District of Columbia law, there exists a duty owed by Defendant under

    failure to warn and negligence principles to follow FDA reporting requirements and notify the

    FDA of new information. See Kubicki ex rel. Kubicki v. Medtronic, No. CIV.A. 12-00734 CKK,

    2013 WL 1739580, at *6–*8 (D.D.C. Mar. 21, 2013) (“[T]he Complaint alleges that Defendants

    knew, or should have known that technical problems were occurring in the 522 Pump subsequent

    to PMA approval, but never notified the FDA … despite their obligations under the federal

    regulations to do so. … Relatedly, the Complaint alleges failure to conduct post-approval market

    surveillance, including reporting all serious adverse events …. Accordingly, Plaintiffs have

    sufficiently pled parallel claims….”) (citing, inter alia, Stengel v. Medtronic Inc., 704 F.3d 1224,

    1232–33 (9th Cir. 2013)).

           5299. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           5300. The FDA was reasonably expected to disseminate this information. No speculation


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    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5301. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Defendant

    failed to warn anyone through any medium.

           5302. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached Defendant’s duty of reasonable care.

           5303. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5304. The latent injuries from which Plaintiffs and the District of Columbia Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5305. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5306. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5307. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Glenmark Prescription Medical Monitoring Class members will suffer long-term

    injuries, disease, and losses without adequate treatment will be significantly reduced.

           5308. Plaintiffs and the District of Columbia Glenmark Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Glenmark

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5309. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Glenmark Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5310. Plaintiffs and the District of Columbia Glenmark Prescription Medical Monitoring


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    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                             COUNT 284:
                          Negligent Product Containers – District Of Columbia

            5311. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5312. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Glenmark Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5313. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5314. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-



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    Specific Allegations) as to Defendant.

           5315. Under District of Columbia law, a pharmaceutical manufacturer, including

    Defendant, has a duty to exercise reasonable care in choosing and making the containers for its

    products.

           5316. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5317. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and District of

    Columbia Glenmark Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           5318. The latent injuries from which Plaintiffs and the District of Columbia Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5319. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5320. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5321. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Glenmark Prescription Medical Monitoring Class members will suffer long-term

    injuries, disease, and losses without adequate treatment will be significantly reduced.

           5322. Plaintiffs and the District of Columbia Glenmark Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Glenmark

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5323. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Glenmark Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5324. Plaintiffs and the District of Columbia Glenmark Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Glenmark Prescription Medical


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    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                            COUNT 285:
                     Negligent Storage and Transportation – District of Columbia

            5325. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5326. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Glenmark Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5327. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5328. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5329. Under District of Columbia law, a pharmaceutical manufacturer, including

    Defendant, has a duty to exercise reasonable care in transporting and storing products.

            5330. Defendant breached this duty by failing to implement or enforce policies to ensure



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    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5331. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    District of Columbia Glenmark Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           5332. The latent injuries from which Plaintiffs and the District of Columbia Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5333. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5334. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5335. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of


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    Columbia Glenmark Prescription Medical Monitoring Class members will suffer long-term

    injuries, disease, and losses without adequate treatment will be significantly reduced.

           5336. Plaintiffs and the District of Columbia Glenmark Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Glenmark

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5337. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Glenmark Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5338. Plaintiffs and the District of Columbia Glenmark Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

         4. Florida


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                                         COUNT 286:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

            5339. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5340. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Glenmark

    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Glenmark (for the purposes of this Count, “Defendant”).

            5341. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5342. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5343. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5344.    Under Florida law, pharmaceutical manufacturers, including Defendant, have a



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    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           5345. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5346. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5347. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5348. The latent injuries from which Plaintiffs and the Florida Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5349. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5350. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5351. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5352. Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Florida Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Florida Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5353. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5354. Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 287:
                     Medical Monitoring – Negligent Product Containers – Florida

            5355. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5356. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Glenmark

    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Glenmark (for the purposes of this Count, “Defendant”).

            5357. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5358. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           5359. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5360. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           5361. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5362. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Florida

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5363. The latent injuries from which Plaintiffs and the Florida Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5364. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5365. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           5366. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5367. Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Florida Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Florida Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5368. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5369. Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.




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                                           COUNT 288:
                Medical Monitoring – Negligent Storage and Transportation – Florida

            5370. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5371. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Glenmark

    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Glenmark (for the purposes of this Count, “Defendant”).

            5372. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5373. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5374. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5375. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty



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    to exercise reasonable care in transporting and storing products.

           5376. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5377. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Florida Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5378. The latent injuries from which Plaintiffs and the Florida Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5379. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5380. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           5381. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5382. Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Florida Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Florida Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5383. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5384. Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Glenmark Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         5. Indiana




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                                           COUNT 289:
              Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

            5385. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5386. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Glenmark Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes

    of this Count, “Defendant”).

            5387. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5388. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5389.    Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

    use.

            5390. Defendant breached this duty for its Ranitidine-Containing Products.             The



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    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5391. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5392. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5393. The latent injuries from which Plaintiffs and the Indiana Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5394. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5395. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           5396. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5397. Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5398. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5399. Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.




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                                           COUNT 290:
                Negligence – Failure to Warn Consumers Through the FDA – Indiana

            5400. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5401. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Glenmark Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes

    of this Count, “Defendant”).

            5402. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5403. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            5404. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law

    based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

    2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

    2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed



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    by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

    establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

    … in providing the warnings or instructions.”)

           5405. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

    where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

    reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

    they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

    safety-related information and publicize risks to the medical community.

           5406. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5407. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           5408. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           5409. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of


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    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5410. The latent injuries from which Plaintiffs and the Indiana Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5411. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5412. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5413. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5414. Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Glenmark


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    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

            5415. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5416. Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 291:
                                 Negligent Product Containers – Indiana

            5417. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.



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           5418. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Glenmark Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes

    of this Count, “Defendant”).

           5419. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5420. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           5421. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           5422. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5423. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Indiana

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5424. The latent injuries from which Plaintiffs and the Indiana Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally


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    recommended in the absence of exposure to this risk of harm.

           5425. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5426. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5427. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5428. Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5429. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.


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            5430. Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 292:
                             Negligent Storage and Transportation – Indiana

            5431. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5432. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Glenmark Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes

    of this Count, “Defendant”).

            5433. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           5434. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           5435. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           5436. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5437. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Indiana Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5438. The latent injuries from which Plaintiffs and the Indiana Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5439. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           5440. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5441. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5442. Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5443. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5444. Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Glenmark Prescription Medical Monitoring Class members will


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    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          6. Maryland

                                          COUNT 293:
            Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

            5445. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5446. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Glenmark Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count,

    “Defendant”).

            5447. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5448. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5449.    Under Maryland law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning of a danger it knew or should have had known



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    about.

             5450. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

             5451. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

             5452. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

             5453. The latent injuries from which Plaintiffs and the Maryland Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

             5454. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           5455. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5456. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5457. Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5458. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5459. Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class members will


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    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 294:
               Negligence – Failure to Warn Consumers Through the FDA – Maryland

            5460. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5461. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Glenmark Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count,

    “Defendant”).

            5462. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.          The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5463. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            5464. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

    recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

    Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends



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    beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

    effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

    reasonable efforts would, in some circumstances, entail a warning to a third party such as the

    FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

           5465. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           5466. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5467. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           5468. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of to make reasonable efforts to ensure an effective warning reached

    consumers.

           5469. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5470. The latent injuries from which Plaintiffs and the Maryland Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5471. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5472. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5473. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5474. Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Glenmark Prescription Medical


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    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5475. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5476. Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 295:
                              Negligent Product Containers – Maryland

           5477. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5478. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Glenmark Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count,

    “Defendant”).

            5479. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5480. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5481. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            5482. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            5483. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

            5484. The latent injuries from which Plaintiffs and the Maryland Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5485. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5486. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5487. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5488. Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5489. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Maryland Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5490. Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 296:
                            Negligent Storage and Transportation – Maryland

            5491. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5492. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Glenmark Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count,

    “Defendant”).

            5493. The allegations in this Count apply to Glenmark during the time period in which it



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    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5494. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           5495. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           5496. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5497. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Maryland Glenmark Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           5498. The latent injuries from which Plaintiffs and the Maryland Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5499. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5500. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5501. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5502. Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5503. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5504. Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk


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    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Maryland Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          7. Missouri

                                           COUNT 297:
             Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

            5505. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5506. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

    Aaron, individually and on behalf of the Missouri Glenmark Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this

    Count, “Defendant”).

            5507. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5508. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-



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    Specific Allegations) as to Defendant.

           5509.   Under Missouri law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the risks of its products.

           5510. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5511. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5512. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5513. The latent injuries from which Plaintiffs and the Missouri Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5514. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5515. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5516. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5517. Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5518. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5519. Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.


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    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 298:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – Missouri

            5520. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5521. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

    Aaron, individually and on behalf of the Missouri Glenmark Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this

    Count, “Defendant”).

            5522. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5523. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            5524. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause



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    of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

    [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

    state law to warn consumers about the risks of using their product, which Williams argues Bayer

    breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

    Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

           5525. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.

           5526. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5527. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           5528. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Manufacturer Defendants also failed to warn the FDA

    of the risks that ranitidine degrades into NDMA and causes cancer through other communication

    channels that were available, including ordinary correspondence with the agency or regulatory

    reporting. This failure breached their duty of reasonable care.

           5529. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of


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    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5530. The latent injuries from which Plaintiffs and the Missouri Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5531. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5532. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5533. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5534. Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Glenmark


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    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

            5535. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5536. Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 299:
                                 Negligent Product Containers – Missouri

            5537. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.



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           5538. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

    Aaron, individually and on behalf of the Missouri Glenmark Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this

    Count, “Defendant”).

           5539. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5540. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           5541. Under Missouri law, a manufacturer, including Defendant, has a duty to exercise

    reasonable care in choosing and making the containers for its products.

           5542. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5543. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Missouri

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5544. The latent injuries from which Plaintiffs and the Missouri Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally


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    recommended in the absence of exposure to this risk of harm.

           5545. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5546. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5547. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5548. Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5549. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.


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            5550. Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 300:
                            Negligent Storage and Transportation – Missouri

            5551. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5552. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

    Aaron, individually and on behalf of the Missouri Glenmark Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this

    Count, “Defendant”).

            5553. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           5554. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           5555. Under Missouri law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           5556. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5557. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Missouri Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5558. The latent injuries from which Plaintiffs and the Missouri Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5559. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           5560. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5561. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5562. Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Glenmark Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Glenmark

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5563. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Glenmark Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5564. Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Missouri Glenmark Prescription Medical Monitoring Class members will


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    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          8. Ohio

                                            COUNT 301:
       Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

            5565. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5566. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Glenmark Prescription Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5567. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5568. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5569.    Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

    adequate warning of the risks associated with its product that it knows or should have known about,

    and a duty to provide adequate post-marketing warnings or instructions.



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           5570. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on each Ranitidine-Containing Product were inadequate because The expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

           5571. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5572. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio Glenmark Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           5573. The latent injuries from which Plaintiffs and the Ohio Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5574. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           5575. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5576. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Glenmark

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5577. Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Glenmark Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           5578. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Glenmark Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           5579. Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class members will continue


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    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 302:
                                 Negligent Product Containers – Ohio

            5580. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5581. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Glenmark Prescription Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5582. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5583. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5584. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            5585. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.



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           5586. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5587. The latent injuries from which Plaintiffs and the Ohio Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5588. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5589. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5590. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Glenmark

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5591. Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will


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    facilitate the diagnoses of Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Glenmark Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           5592. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Glenmark Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           5593. Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 303:
                            Negligent Storage and Transportation – Ohio

           5594. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5595. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Glenmark Prescription Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5596. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5597. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            5598. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            5599. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and Ohio

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

            5600. The latent injuries from which Plaintiffs and the Ohio Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5601. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5602. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5603. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Glenmark

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5604. Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Glenmark Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           5605. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Ohio Glenmark Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            5606. Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Glenmark Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          9. Pennsylvania

                                        COUNT 304:
     Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Pennsylvania

            5607. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5608. This cause of action is brought by Elmer Cook, Felicia Ball, and Joyce Guerrieri,

    individually and on behalf of the Pennsylvania Glenmark Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count,

    “Defendant”).



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           5609. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5610. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           5611. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5612.    Under Pennsylvania law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning.

           5613. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5614. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5615. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5616. The latent injuries from which Plaintiffs and the Pennsylvania Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant


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    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5617. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5618. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5619. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5620. Plaintiffs and the Pennsylvania Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Glenmark Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    Pennsylvania Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5621. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Glenmark Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

            5622. Plaintiffs and the Pennsylvania Glenmark Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                        COUNT 305:
       Medical Monitoring – Failure to Warn Consumers Through the FDA – Pennsylvania

            5623. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5624. This cause of action is brought by Elmer Cook, Felicia Ball, and Joyce Guerrieri,

    individually and on behalf of the Pennsylvania Glenmark Prescription Medical Monitoring Class



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    (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count,

    “Defendant”).

           5625. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5626. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           5627. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5628. Pennsylvania law “may impose liability for the failure to report to the FDA. …the

    duty to warn is discharged by ‘providing information about the product’s dangerous propensities,’

    which undoubtedly encompasses Medtronic’s alleged failures to report known problems, adverse

    events and malfunctions, and the comment does not require the third party to disclose the warnings,

    but rather be reasonably relied upon to do so.” Silver v. Medtronic, Inc., 236 F. Supp. 3d 889, 900

    (M.D. Pa. 2017); see also McLaughlin v. Bayer Corp., 172 F. Supp. 3d 804, 838 (E.D. Pa. 2016)

    (“we follow the reasoning of the en banc decision in Stengel”); Bull v. St. Jude Med., Inc., No. CV

    17-1141, 2018 WL 3397544, at *9 (E.D. Pa. July 12, 2018) (“Plaintiff has alleged that St. Jude

    violated state tort law, namely, by failing to warn physicians about the risks of the Riata ST Lead

    based on the failure to fully comply with its federal duty to report all adverse events to the FDA

    via MDRs in a timely manner.”).

           5629. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.


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           5630. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5631. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           5632. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           5633. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5634. The latent injuries from which Plaintiffs and the Pennsylvania Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           5635. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5636. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5637. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5638. Plaintiffs and the Pennsylvania Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Glenmark Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    Pennsylvania Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5639. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Glenmark Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.


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            5640. Plaintiffs and the Pennsylvania Glenmark Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                          COUNT 306:
                 Medical Monitoring – Negligent Product Containers – Pennsylvania

            5641. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5642. This cause of action is brought by Elmer Cook, Felicia Ball, and Joyce Guerrieri,

    individually and on behalf of the Pennsylvania Glenmark Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count,

    “Defendant”).

            5643. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           5644. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           5645. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5646. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           5647. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5648. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Pennsylvania

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5649. The latent injuries from which Plaintiffs and the Pennsylvania Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5650. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           5651. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5652. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5653. Plaintiffs and the Pennsylvania Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Glenmark Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    Pennsylvania Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5654. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Glenmark Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5655. Plaintiffs and the Pennsylvania Glenmark Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing


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    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                         COUNT 307:
            Medical Monitoring – Negligent Storage and Transportation – Pennsylvania

            5656. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5657. This cause of action is brought by Elmer Cook, Felicia Ball, and Joyce Guerrieri,

    individually and on behalf of the Pennsylvania Glenmark Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Glenmark (for the purposes of this Count,

    “Defendant”).

            5658. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5659. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.



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           5660. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5661. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

           5662. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5663. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Pennsylvania Glenmark Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           5664. The latent injuries from which Plaintiffs and the Pennsylvania Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5665. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           5666. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5667. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5668. Plaintiffs and the Pennsylvania Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Glenmark Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    Pennsylvania Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5669. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Glenmark Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5670. Plaintiffs and the Pennsylvania Glenmark Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing


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    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

          10. Utah

                                          COUNT 308:
          Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Utah

            5671. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5672. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Glenmark Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5673. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5674. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.



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           5675. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5676.    Under Utah law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the dangers from a foreseeable use of its product that it

    knows or should have known about.

           5677. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5678. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5679. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Utah Glenmark Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           5680. The latent injuries from which Plaintiffs and the Utah Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           5681. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5682. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5683. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Glenmark

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5684. Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Glenmark Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           5685. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Glenmark Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           5686. Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class have an


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    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 309:
                      Medical Monitoring – Negligent Product Containers – Utah

            5687. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5688. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Glenmark Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5689. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5690. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           5691. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5692. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           5693. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5694. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Utah Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5695. The latent injuries from which Plaintiffs and the Utah Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5696. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5697. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           5698. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Glenmark

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5699. Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Glenmark Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           5700. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Glenmark Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           5701. Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.




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                                          COUNT 310:
                 Medical Monitoring – Negligent Storage and Transportation – Utah

            5702. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5703. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Glenmark Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5704. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5705. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5706. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5707. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            5708. Defendant breached this duty by failing to implement or enforce policies to ensure



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    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5709. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and Utah

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5710. The latent injuries from which Plaintiffs and the Utah Glenmark Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5711. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5712. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5713. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Glenmark

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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    without adequate treatment will be significantly reduced.

           5714. Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Glenmark Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           5715. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Glenmark Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           5716. Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Glenmark Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         11. West Virginia

                                        COUNT 311:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

           5717. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5718. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Glenmark Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5719. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5720. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5721. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5722.    Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

            5723. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.


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           5724. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5725. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and West Virginia Glenmark

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5726. The latent injuries from which Plaintiffs and the West Virginia Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5727. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5728. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5729. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia


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    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5730. Plaintiffs and the West Virginia Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Glenmark Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West

    Virginia Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5731. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Glenmark Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5732. Plaintiffs and the West Virginia Glenmark Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.




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                                           COUNT 312:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            5733. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5734. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Glenmark Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5735. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5736. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5737. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5738. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

            5739. Defendant breached this duty by failing to utilize containers that would minimize



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    the NDMA produced in its Ranitidine-Containing Products.

           5740. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and West Virginia

    Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5741. The latent injuries from which Plaintiffs and the West Virginia Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5742. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5743. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5744. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5745. Plaintiffs and the West Virginia Glenmark Prescription Medical Monitoring Class


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    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Glenmark Prescription

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West

    Virginia Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5746. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Glenmark Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5747. Plaintiffs and the West Virginia Glenmark Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                         COUNT 313:
           Medical Monitoring – Negligent Storage and Transportation – West Virginia

           5748. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5749. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Glenmark Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Glenmark (for the purposes of this Count, “Defendant”).

            5750. The allegations in this Count apply to Glenmark during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5751. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5752. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5753. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

            5754. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            5755. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer


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    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and West

    Virginia Glenmark Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5756. The latent injuries from which Plaintiffs and the West Virginia Glenmark

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5757. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5758. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5759. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Glenmark Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5760. Plaintiffs and the West Virginia Glenmark Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Glenmark Prescription


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    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West

    Virginia Glenmark Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5761. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Glenmark Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           5762. Plaintiffs and the West Virginia Glenmark Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Glenmark Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

    I. CAUSES OF ACTION AGAINST DEFENDANT SANDOZ WITH RESPECT TO
       PRESCRIPTION RANITIDINE

           5763. Plaintiffs identified in the table below bring claims against Defendant Sandoz with

    respect to prescription ranitidine on behalf of themselves and their respective State Sandoz

    Prescription Medical Monitoring Classes under the laws of their respective states of usage. Each




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    Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Armando Tapia                                     AZ
             Golbenaz Bakhtiar                                 CA
             Royal Handy                                       CA
             Virginia Aragon                                   CA
             Jeffrey Pisano                                    CO
             Kevin Nelson                                      DC
             Ana Pereira                                       FL
             Clifton McKinnon                                  FL
             Daniel Taylor                                     FL
             Hattie Kelley                                     FL
             Irma Arcaya                                       FL
             Jeannie Black                                     FL
             Joyce Taylor                                      FL
             Marva Mccall                                      FL
             Michael Fesser                                    FL
             Michael Tomlinson                                 FL
             Sonia Diaz                                        FL
             Karen Foster                                      FL
             Rebecca Sizemore                                  IN
             Teresa Dowler                                     IN
             Tracy Wells                                       IN
             Timberly Goble                                    IN
             Alberta Griffin                                   MD
             Darlene Whittington-Coates                        MD
             Antrenise Campbell                                MO
             Brenda Newcomb                                    MO


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              Plaintiff Name                                  State of Usage

              Cynthia Gibbs                                   MO
              Elaine Aaron                                    MO
              Michael Galloway                                OH; FL
              Patricia Hess                                   OH
              Felicia Ball                                    PA
              Joyce Guerrieri                                 PA
              Teresa Waters                                   UT
              Mynetta Hastings                                WV


          1. Arizona

                                          COUNT 314:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            5764. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5765. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).




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           5766. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5767. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           5768.   Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           5769. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5770. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5771. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Sandoz Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           5772. The latent injuries from which Plaintiffs and the Arizona Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5773. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5774. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5775. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5776. Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the Arizona Sandoz Prescription

    Medical Monitoring Class members as frequently and appropriately as necessary.

           5777. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            5778. Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 315:
                                 Negligent Product Containers – Arizona

            5779. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5780. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).




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           5781. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5782. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           5783. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           5784. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5785. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Arizona Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5786. The latent injuries from which Plaintiffs and the Arizona Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5787. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5788. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5789. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5790. Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the Arizona Sandoz Prescription

    Medical Monitoring Class members as frequently and appropriately as necessary.

           5791. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           5792. Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 316:
                             Negligent Storage and Transportation – Arizona

            5793. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5794. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5795. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5796. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5797. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.



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           5798. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5799. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Arizona Sandoz Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5800. The latent injuries from which Plaintiffs and the Arizona Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5801. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5802. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           5803. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5804. Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the Arizona Sandoz Prescription

    Medical Monitoring Class members as frequently and appropriately as necessary.

           5805. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           5806. Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         2. California




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                                          COUNT 317:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            5807. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5808. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Sandoz Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count,

    “Defendant”).

            5809. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5810. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5811.    Under California law, manufacturers have a duty of reasonable care to warn of

    particular risks that are known or knowable in light of the generally recognized and prevailing

    scientific and medical knowledge available at the time of manufacture and distribution.




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           5812. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

    consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5813. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5814. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5815. The latent injuries from which Plaintiffs and the California Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5816. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           5817. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5818. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5819. Plaintiffs and the California Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5820. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5821. Plaintiffs and the California Sandoz Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the




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    Court, Plaintiffs and the California Sandoz Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 318:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            5822. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5823. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Sandoz Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count,

    “Defendant”).

            5824. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5825. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            5826. Under California law, manufacturers (including Defendant) bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes



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    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           5827. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           5828. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5829. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           5830. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           5831. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of




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    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5832. The latent injuries from which Plaintiffs and the California Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5833. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5834. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5835. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5836. Plaintiffs and the California Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust




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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5837. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5838. Plaintiffs and the California Sandoz Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Sandoz Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 319:
                              Negligent Product Containers – California

           5839. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            5840. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Sandoz Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count,

    “Defendant”).

            5841. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5842. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            5843. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            5844. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            5845. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California

    Sandoz Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            5846. The latent injuries from which Plaintiffs and the California Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5847. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5848. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5849. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5850. Plaintiffs and the California Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5851. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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    notifying all California Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5852. Plaintiffs and the California Sandoz Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Sandoz Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 320:
                           Negligent Storage and Transportation – California

            5853. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5854. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Sandoz Prescription Medical Monitoring

    Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count,

    “Defendant”).




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           5855. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5856. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           5857. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           5858. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5859. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    California Sandoz Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5860. The latent injuries from which Plaintiffs and the California Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.




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           5861. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5862. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5863. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5864. Plaintiffs and the California Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5865. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.




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            5866. Plaintiffs and the California Sandoz Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Sandoz Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          3. Colorado

                                         COUNT 321:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

            5867. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5868. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

    Colorado Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5869. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           5870. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           5871. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5872.    Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

           5873. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5874. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5875. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Colorado Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5876. The latent injuries from which Plaintiffs and the Colorado Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5877. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5878. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5879. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5880. Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5881. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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    notifying all Colorado Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            5882. Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 322:
                    Medical Monitoring – Negligent Product Containers – Colorado

            5883. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5884. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

    Colorado Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).




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           5885. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           5886. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           5887. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5888. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           5889. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5890. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Colorado

    Sandoz Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5891. The latent injuries from which Plaintiffs and the Colorado Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.




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           5892. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5893. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5894. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5895. Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5896. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.




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            5897. Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 323:
               Medical Monitoring – Negligent Storage and Transportation – Colorado

            5898. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5899. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

    Colorado Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5900. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5901. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-



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    Specific Allegations) as to Defendant.

           5902. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5903. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           5904. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           5905. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Colorado Sandoz Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5906. The latent injuries from which Plaintiffs and the Colorado Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5907. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5908. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5909. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           5910. Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           5911. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           5912. Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          4. District of Columbia

                                        COUNT 324:
      Negligence – Failure to Warn Through Proper Expiration Dates – District of Columbia

            5913. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5914. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Sandoz Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5915. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5916. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.




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           5917.    Under District of Columbia law, pharmaceutical manufacturers, including

    Defendant, have a duty of reasonable care to adequately warn of a particular risk that was known

    or knowable in light of the generally recognized and prevailing best scientific and medical

    knowledge available at the time of manufacture and distribution.

           5918. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5919. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5920. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5921. The latent injuries from which Plaintiffs and the District of Columbia Sandoz

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.




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           5922. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5923. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5924. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5925. Plaintiffs and the District of Columbia Sandoz Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Sandoz

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Sandoz Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5926. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Sandoz Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.


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            5927. Plaintiffs and the District of Columbia Sandoz Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Sandoz Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                          COUNT 325:
         Negligence – Failure to Warn Consumers Through the FDA – District of Columbia

            5928. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5929. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Sandoz Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5930. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           5931. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           5932. Under District of Columbia law, there exists a duty owed by Defendant under

    failure to warn and negligence principles to follow FDA reporting requirements and notify the

    FDA of new information. See Kubicki ex rel. Kubicki v. Medtronic, No. CIV.A. 12-00734 CKK,

    2013 WL 1739580, at *6–*8 (D.D.C. Mar. 21, 2013) (“[T]he Complaint alleges that Defendants

    knew, or should have known that technical problems were occurring in the 522 Pump subsequent

    to PMA approval, but never notified the FDA … despite their obligations under the federal

    regulations to do so. … Relatedly, the Complaint alleges failure to conduct post-approval market

    surveillance, including reporting all serious adverse events …. Accordingly, Plaintiffs have

    sufficiently pled parallel claims….”) (citing, inter alia, Stengel v. Medtronic Inc., 704 F.3d 1224,

    1232–33 (9th Cir. 2013)).

           5933. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           5934. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           5935. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather




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    than warning the FDA as a third party who would disseminate information to the public, Defendant

    failed to warn anyone through any medium.

           5936. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached Defendant’s duty of reasonable care.

           5937. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5938. The latent injuries from which Plaintiffs and the District of Columbia Sandoz

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5939. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           5940. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5941. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5942. Plaintiffs and the District of Columbia Sandoz Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Sandoz

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Sandoz Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5943. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Sandoz Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5944. Plaintiffs and the District of Columbia Sandoz Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or


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    established by the Court, Plaintiffs and the District of Columbia Sandoz Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                             COUNT 326:
                          Negligent Product Containers – District of Columbia

            5945. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5946. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Sandoz Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5947. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5948. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.




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           5949. Under District of Columbia law, a pharmaceutical manufacturer, including

    Defendant, has a duty to exercise reasonable care in choosing and making the containers for its

    products.

           5950. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5951. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and District of

    Columbia Sandoz Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           5952. The latent injuries from which Plaintiffs and the District of Columbia Sandoz

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5953. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5954. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           5955. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           5956. Plaintiffs and the District of Columbia Sandoz Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Sandoz

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Sandoz Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5957. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Sandoz Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5958. Plaintiffs and the District of Columbia Sandoz Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Sandoz Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.


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                                            COUNT 327:
                     Negligent Storage and Transportation – District of Columbia

            5959. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5960. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Sandoz Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5961. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5962. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            5963. Under District of Columbia law, a pharmaceutical manufacturer, including

    Defendant, has a duty to exercise reasonable care in transporting and storing products.

            5964. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.



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           5965. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    District of Columbia Sandoz Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           5966. The latent injuries from which Plaintiffs and the District of Columbia Sandoz

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5967. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5968. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5969. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.


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           5970. Plaintiffs and the District of Columbia Sandoz Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Sandoz

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Sandoz Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           5971. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Sandoz Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           5972. Plaintiffs and the District of Columbia Sandoz Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Sandoz Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

         5. Florida

                                         COUNT 328:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida



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            5973. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5974. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Galloway, Michael Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the

    Florida Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5975. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5976. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            5977. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            5978.    Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light




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    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           5979. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           5980. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           5981. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida Sandoz Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           5982. The latent injuries from which Plaintiffs and the Florida Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5983. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           5984. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           5985. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           5986. Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           5987. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           5988. Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 329:
                     Medical Monitoring – Negligent Product Containers – Florida

            5989. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            5990. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Galloway, Michael Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the

    Florida Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            5991. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            5992. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           5993. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           5994. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           5995. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           5996. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Florida Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           5997. The latent injuries from which Plaintiffs and the Florida Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           5998. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           5999. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6000. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6001. Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6002. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6003. Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 330:
                Medical Monitoring – Negligent Storage and Transportation – Florida

            6004. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6005. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Galloway, Michael Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the

    Florida Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6006. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6007. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.




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           6008. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6009. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           6010. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6011. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Florida Sandoz Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           6012. The latent injuries from which Plaintiffs and the Florida Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6013. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           6014. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6015. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6016. Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6017. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6018. Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Florida Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          6. Indiana

                                           COUNT 331:
              Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

            6019. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6020. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Sandoz Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes

    of this Count, “Defendant”).

            6021. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6022. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.




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           6023.    Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

    use.

           6024. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6025. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6026. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Sandoz Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6027. The latent injuries from which Plaintiffs and the Indiana Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6028. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6029. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6030. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6031. Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6032. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6033. Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 332:
                Negligence – Failure to Warn Consumers Through the FDA – Indiana

            6034. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6035. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Sandoz Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes

    of this Count, “Defendant”).

            6036. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6037. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.




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           6038. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law

    based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

    2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

    2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed

    by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

    establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

    … in providing the warnings or instructions.”)

           6039. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

    where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

    reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

    they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

    safety-related information and publicize risks to the medical community.

           6040. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           6041. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           6042. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that




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    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           6043. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Sandoz Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6044. The latent injuries from which Plaintiffs and the Indiana Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6045. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6046. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6047. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           6048. Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6049. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6050. Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 333:
                               Negligent Product Containers – Indiana

           6051. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6052. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Sandoz Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes

    of this Count, “Defendant”).

            6053. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6054. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6055. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            6056. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            6057. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Indiana Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.


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           6058. The latent injuries from which Plaintiffs and the Indiana Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6059. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6060. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6061. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6062. Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.




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            6063. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            6064. Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 334:
                             Negligent Storage and Transportation – Indiana

            6065. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.




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           6066. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Sandoz Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes

    of this Count, “Defendant”).

           6067. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           6068. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           6069. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           6070. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6071. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Indiana Sandoz Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           6072. The latent injuries from which Plaintiffs and the Indiana Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6073. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6074. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6075. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6076. Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6077. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Indiana Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            6078. Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          7. Maryland

                                          COUNT 335:
            Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

            6079. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6080. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Sandoz Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).




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             6081. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

             6082. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

             6083.   Under Maryland law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning of a danger it knew or should have had known

    about.

             6084. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

             6085. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

             6086. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

             6087. The latent injuries from which Plaintiffs and the Maryland Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6088. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6089. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6090. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6091. Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6092. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Maryland Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            6093. Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 336:
               Negligence – Failure to Warn Consumers Through the FDA – Maryland

            6094. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6095. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Sandoz Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).




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           6096. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.          The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           6097. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           6098. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

    recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

    Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

    beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

    effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

    reasonable efforts would, in some circumstances, entail a warning to a third party such as the

    FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

           6099. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           6100. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           6101. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather




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    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           6102. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of to make reasonable efforts to ensure an effective warning reached

    consumers.

           6103. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6104. The latent injuries from which Plaintiffs and the Maryland Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6105. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           6106. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6107. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6108. Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6109. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6110. Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                               COUNT 337:
                                 Negligent Product Containers – Maryland

            6111. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6112. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Sandoz Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6113. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6114. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6115. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.




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           6116. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6117. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland

    Sandoz Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6118. The latent injuries from which Plaintiffs and the Maryland Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6119. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6120. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6121. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.


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           6122. Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6123. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6124. Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 338:
                         Negligent Storage and Transportation – Maryland

           6125. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6126. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Sandoz Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6127. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6128. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6129. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            6130. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            6131. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Maryland Sandoz Prescription Medical Monitoring Class members have sustained a significantly




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    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           6132. The latent injuries from which Plaintiffs and the Maryland Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6133. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6134. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6135. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6136. Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust




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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6137. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6138. Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         8. Missouri

                                          COUNT 339:
            Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

           6139. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6140. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Sandoz Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes

    of this Count, “Defendant”).

            6141. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6142. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6143.    Under Missouri law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the risks of its products.

            6144. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            6145. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            6146. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of


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    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6147. The latent injuries from which Plaintiffs and the Missouri Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6148. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6149. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6150. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6151. Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust




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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6152. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6153. Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 340:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – Missouri

           6154. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            6155. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron , individually and on behalf of the Missouri Sandoz Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes

    of this Count, “Defendant”).

            6156. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6157. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            6158. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

    of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

    [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

    state law to warn consumers about the risks of using their product, which Williams argues Bayer

    breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

    Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

            6159. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.

            6160. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.




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           6161. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           6162. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Manufacturer Defendants also failed to warn the FDA

    of the risks that ranitidine degrades into NDMA and causes cancer through other communication

    channels that were available, including ordinary correspondence with the agency or regulatory

    reporting. This failure breached their duty of reasonable care.

           6163. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6164. The latent injuries from which Plaintiffs and the Missouri Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6165. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6166. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6167. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6168. Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6169. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6170. Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 341:
                                 Negligent Product Containers – Missouri

            6171. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6172. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Sandoz Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes

    of this Count, “Defendant”).

            6173. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6174. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.




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           6175. Under Missouri law, a manufacturer, including Defendant, has a duty to exercise

    reasonable care in choosing and making the containers for its products.

           6176. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6177. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Missouri

    Sandoz Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6178. The latent injuries from which Plaintiffs and the Missouri Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6179. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6180. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           6181. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6182. Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6183. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6184. Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 342:
                          Negligent Storage and Transportation – Missouri



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            6185. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6186. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Sandoz Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes

    of this Count, “Defendant”).

            6187. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6188. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6189. Under Missouri law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            6190. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.




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           6191. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Missouri Sandoz Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           6192. The latent injuries from which Plaintiffs and the Missouri Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6193. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6194. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6195. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.




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           6196. Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Missouri Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Missouri Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6197. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6198. Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Sandoz Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         9. Ohio

                                            COUNT 343:
       Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           6199. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6200. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Sandoz Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6201. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6202. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6203.    Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

    adequate warning of the risks associated with its product that it knows or should have known about,

    and a duty to provide adequate post-marketing warnings or instructions.

            6204. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on each Ranitidine-Containing Product were inadequate because The expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

            6205. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs


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    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6206. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio Sandoz Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6207. The latent injuries from which Plaintiffs and the Ohio Sandoz Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6208. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6209. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6210. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           6211. Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6212. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6213. Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 344:
                                Negligent Product Containers – Ohio

           6214. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6215. This cause of action is brought by Michael Galloway and Patricia Hess,

    individually and on behalf of the Ohio Sandoz Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6216. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6217. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6218. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            6219. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            6220. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.




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           6221. The latent injuries from which Plaintiffs and the Ohio Sandoz Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6222. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6223. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6224. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6225. Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.




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            6226. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            6227. Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 345:
                                 Negligent Storage and Transportation – Ohio

            6228. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.




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           6229. This cause of action is brought by Michael Galloway and Patricia Hess,

    individually and on behalf of the Ohio Sandoz Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

           6230. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           6231. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           6232. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           6233. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6234. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and Ohio

    Sandoz Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6235. The latent injuries from which Plaintiffs and the Ohio Sandoz Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6236. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6237. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6238. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6239. Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6240. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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    notifying all Ohio Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            6241. Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Sandoz Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          10. Pennsylvania

                                        COUNT 346:
     Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Pennsylvania

            6242. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6243. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Sandoz Prescription Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).




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           6244. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           6245. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           6246. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6247.    Under Pennsylvania law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning.

           6248. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6249. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6250. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6251. The latent injuries from which Plaintiffs and the Pennsylvania Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6252. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6253. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6254. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6255. Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6256. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            6257. Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                        COUNT 347:
       Medical Monitoring – Failure to Warn Consumers Through the FDA – Pennsylvania

            6258. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6259. This cause of action is brought by Felicia Ball and Joyce Guerrieri , individually

    and on behalf of the Pennsylvania Sandoz Prescription Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).



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           6260. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           6261. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           6262. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6263. Pennsylvania law “may impose liability for the failure to report to the FDA. …the

    duty to warn is discharged by ‘providing information about the product’s dangerous propensities,’

    which undoubtedly encompasses Medtronic’s alleged failures to report known problems, adverse

    events and malfunctions, and the comment does not require the third party to disclose the warnings,

    but rather be reasonably relied upon to do so.” Silver v. Medtronic, Inc., 236 F. Supp. 3d 889, 900

    (M.D. Pa. 2017); see also McLaughlin v. Bayer Corp., 172 F. Supp. 3d 804, 838 (E.D. Pa. 2016)

    (“we follow the reasoning of the en banc decision in Stengel”); Bull v. St. Jude Med., Inc., No. CV

    17-1141, 2018 WL 3397544, at *9 (E.D. Pa. July 12, 2018) (“Plaintiff has alleged that St. Jude

    violated state tort law, namely, by failing to warn physicians about the risks of the Riata ST Lead

    based on the failure to fully comply with its federal duty to report all adverse events to the FDA

    via MDRs in a timely manner.”).

           6264. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.




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           6265. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           6266. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           6267. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           6268. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6269. The latent injuries from which Plaintiffs and the Pennsylvania Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           6270. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6271. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6272. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6273. Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6274. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.




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            6275. Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                          COUNT 348:
                 Medical Monitoring – Negligent Product Containers – Pennsylvania

            6276. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6277. This cause of action is brought by Felicia Ball and Joyce Guerrieri , individually

    and on behalf of the Pennsylvania Sandoz Prescription Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6278. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           6279. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           6280. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6281. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           6282. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6283. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Pennsylvania

    Sandoz Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6284. The latent injuries from which Plaintiffs and the Pennsylvania Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6285. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           6286. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6287. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6288. Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6289. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6290. Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring


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    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                         COUNT 349:
            Medical Monitoring – Negligent Storage and Transportation – Pennsylvania

            6291. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6292. This cause of action is brought by Felicia Ball and Joyce Guerrieri , individually

    and on behalf of the Pennsylvania Sandoz Prescription Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6293. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6294. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6295. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.




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           6296. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

           6297. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6298. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Pennsylvania Sandoz Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6299. The latent injuries from which Plaintiffs and the Pennsylvania Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6300. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           6301. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6302. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6303. Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6304. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Sandoz Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6305. Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the Pennsylvania Sandoz Prescription Medical Monitoring


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    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

          11. Utah

                                          COUNT 350:
          Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Utah

            6306. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6307. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Sandoz Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Sandoz (for the purposes of this Count, “Defendant”).

            6308. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6309. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6310. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           6311.    Under Utah law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the dangers from a foreseeable use of its product that it

    knows or should have known about.

           6312. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6313. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6314. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Utah Sandoz Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6315. The latent injuries from which Plaintiffs and the Utah Sandoz Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6316. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6317. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6318. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6319. Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6320. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6321. Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 351:
                      Medical Monitoring – Negligent Product Containers – Utah

            6322. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6323. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Sandoz Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Sandoz (for the purposes of this Count, “Defendant”).

            6324. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6325. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6326. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           6327. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           6328. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6329. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Utah Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6330. The latent injuries from which Plaintiffs and the Utah Sandoz Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6331. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6332. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           6333. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6334. Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6335. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6336. Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 352:
                Medical Monitoring – Negligent Storage and Transportation – Utah



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            6337. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6338. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Sandoz Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Sandoz (for the purposes of this Count, “Defendant”).

            6339. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6340. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6341. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6342. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            6343. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.


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           6344. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and Utah

    Sandoz Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6345. The latent injuries from which Plaintiffs and the Utah Sandoz Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6346. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6347. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6348. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Sandoz

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.




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           6349. Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Sandoz Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6350. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Sandoz Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6351. Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Sandoz Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

         12. West Virginia

                                        COUNT 353:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

           6352. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6353. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6354. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6355. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6356. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6357.    Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

            6358. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.




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           6359. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6360. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and West Virginia Sandoz

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6361. The latent injuries from which Plaintiffs and the West Virginia Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6362. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6363. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           6364. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6365. Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6366. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Sandoz Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           6367. Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.




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                                           COUNT 354:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            6368. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6369. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6370. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6371. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6372. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6373. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.




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           6374. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6375. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and West Virginia

    Sandoz Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6376. The latent injuries from which Plaintiffs and the West Virginia Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6377. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6378. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6379. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.


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           6380. Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Sandoz Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6381. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Sandoz Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           6382. Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                         COUNT 355:
           Medical Monitoring – Negligent Storage and Transportation – West Virginia

           6383. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6384. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Sandoz Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Sandoz (for the purposes of this Count, “Defendant”).

            6385. The allegations in this Count apply to Sandoz during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            6386. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6387. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6388. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

            6389. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            6390. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer


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    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and West

    Virginia Sandoz Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           6391. The latent injuries from which Plaintiffs and the West Virginia Sandoz Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6392. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6393. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6394. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Sandoz Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6395. Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Sandoz Prescription Medical


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    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Sandoz

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6396. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Sandoz Prescription Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           6397. Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Sandoz Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

    J. CAUSES OF ACTION AGAINST DEFENDANT STRIDES WITH RESPECT TO
       PRESCRIPTION RANITIDINE

           5188. Plaintiffs identified in the table below bring claims against Defendant Strides with

    respect to prescription ranitidine on behalf of themselves and their respective State Strides

    Prescription Medical Monitoring Classes under the laws of their respective states of usage. Each




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    Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Armando Tapia                                     AZ
             Golbenaz Bakhtiar                                 CA
             Royal Handy                                       CA
             Virginia Aragon                                   CA
             Kevin Nelson                                      DC
             Ana Pereira                                       FL
             Clifton McKinnon                                  FL
             Daniel Taylor                                     FL
             Hattie Kelley                                     FL
             Irma Arcaya                                       FL
             Jeannie Black                                     FL
             Joyce Taylor                                      FL
             Marva Mccall                                      FL
             Michael Fesser                                    FL
             Michael Tomlinson                                 FL
             Sonia Diaz                                        FL
             Karen Foster                                      FL
             Rebecca Sizemore                                  IN
             Teresa Dowler                                     IN
             Tracy Wells                                       IN
             Timberly Goble                                    IN
             Alberta Griffin                                   MD
             Darlene Whittington-Coates                        MD
             Brenda Newcomb                                    MO
             Cynthia Gibbs                                     MO
             Elaine Aaron                                      MO


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              Plaintiff Name                                   State of Usage

              Michael Galloway                                 OH
              Patricia Hess                                    OH
              Felicia Ball                                     PA
              Joyce Guerrieri                                  PA
              Teresa Waters                                    UT
              Mynetta Hastings                                 WV

          1. Arizona

                                          COUNT 356:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            6398. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6399. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Strides Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6400. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.



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           6401. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           6402.   Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           6403. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6404. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6405. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Strides Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6406. The latent injuries from which Plaintiffs and the Arizona Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers




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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6407. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6408. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6409. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6410. Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6411. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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    notifying all Arizona Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            6412. Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 357:
                                 Negligent Product Containers – Arizona

            6413. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6414. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Strides Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).




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           6415. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           6416. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           6417. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           6418. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6419. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Arizona Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6420. The latent injuries from which Plaintiffs and the Arizona Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6421. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6422. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6423. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6424. Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6425. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6426. Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 358:
                             Negligent Storage and Transportation – Arizona

            6427. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6428. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Strides Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6429. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6430. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6431. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.



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           6432. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6433. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Arizona Strides Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6434. The latent injuries from which Plaintiffs and the Arizona Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6435. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6436. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           6437. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6438. Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6439. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6440. Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         2. California




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                                          COUNT 359:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            6441. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6442. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, Virginia

    Aragon, individually and on behalf of the California Strides Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6443. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6444. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6445.    Under California law, manufacturers have a duty of reasonable care to warn of

    particular risks that are known or knowable in light of the generally recognized and prevailing

    scientific and medical knowledge available at the time of manufacture and distribution.




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           6446. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

    consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6447. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6448. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6449. The latent injuries from which Plaintiffs and the California Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6450. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           6451. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6452. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6453. Plaintiffs and the California Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6454. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6455. Plaintiffs and the California Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the California Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 360:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            6456. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6457. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Strides Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6458. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6459. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            6460. Under California law, manufacturers (including Defendant) bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes



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    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           6461. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           6462. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           6463. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           6464. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           6465. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of




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    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6466. The latent injuries from which Plaintiffs and the California Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6467. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6468. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6469. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6470. Plaintiffs and the California Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust




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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6471. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6472. Plaintiffs and the California Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 361:
                              Negligent Product Containers – California

           6473. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            6474. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Strides Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6475. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6476. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6477. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            6478. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            6479. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California

    Strides Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            6480. The latent injuries from which Plaintiffs and the California Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6481. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6482. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6483. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6484. Plaintiffs and the California Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6485. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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    notifying all California Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            6486. Plaintiffs and the California Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 362:
                           Negligent Storage and Transportation – California

            6487. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6488. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Strides Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).




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           6489. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           6490. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           6491. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           6492. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6493. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and California Strides Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6494. The latent injuries from which Plaintiffs and the California Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           6495. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6496. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6497. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6498. Plaintiffs and the California Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6499. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.




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            6500. Plaintiffs and the California Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          3. District of Columbia

                                        COUNT 363:
      Negligence – Failure to Warn Through Proper Expiration Dates – District of Columbia

            6501. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6502. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Strides Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6503. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.



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           6504. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           6505.    Under District of Columbia law, pharmaceutical manufacturers, including

    Defendant, have a duty of reasonable care to adequately warn of a particular risk that was known

    or knowable in light of the generally recognized and prevailing best scientific and medical

    knowledge available at the time of manufacture and distribution.

           6506. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6507. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6508. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6509. The latent injuries from which Plaintiffs and the District of Columbia Strides

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject




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    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6510. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6511. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6512. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Strides Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           6513. Plaintiffs and the District of Columbia Strides Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Strides

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Strides Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           6514. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all District of Columbia Strides Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

            6515. Plaintiffs and the District of Columbia Strides Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Strides Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                          COUNT 364:
         Negligence – Failure to Warn Consumers Through the FDA – District of Columbia

            6516. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6517. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Strides Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).




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           6518. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           6519. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           6520. Under District of Columbia law, there exists a duty owed by Defendant under

    failure to warn and negligence principles to follow FDA reporting requirements and notify the

    FDA of new information. See Kubicki ex rel. Kubicki v. Medtronic, No. CIV.A. 12-00734 CKK,

    2013 WL 1739580, at *6–*8 (D.D.C. Mar. 21, 2013) (“[T]he Complaint alleges that Defendants

    knew, or should have known that technical problems were occurring in the 522 Pump subsequent

    to PMA approval, but never notified the FDA … despite their obligations under the federal

    regulations to do so. … Relatedly, the Complaint alleges failure to conduct post-approval market

    surveillance, including reporting all serious adverse events …. Accordingly, Plaintiffs have

    sufficiently pled parallel claims….”) (citing, inter alia, Stengel v. Medtronic Inc., 704 F.3d 1224,

    1232–33 (9th Cir. 2013)).

           6521. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           6522. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.


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           6523. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Defendant

    failed to warn anyone through any medium.

           6524. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached Defendant’s duty of reasonable care.

           6525. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and District of Columbia Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6526. The latent injuries from which Plaintiffs and the District of Columbia Strides

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6527. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6528. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6529. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Strides Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           6530. Plaintiffs and the District of Columbia Strides Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Strides

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Strides Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           6531. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Strides Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           6532. Plaintiffs and the District of Columbia Strides Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them


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    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Strides Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                             COUNT 365:
                          Negligent Product Containers – District of Columbia

            6533. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6534. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Strides Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6535. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6536. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           6537. Under District of Columbia law, a pharmaceutical manufacturer, including

    Defendant, has a duty to exercise reasonable care in choosing and making the containers for its

    products.

           6538. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6539. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and District of

    Columbia Strides Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           6540. The latent injuries from which Plaintiffs and the District of Columbia Strides

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6541. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6542. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           6543. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Strides Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           6544. Plaintiffs and the District of Columbia Strides Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Strides

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Strides Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           6545. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Strides Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           6546. Plaintiffs and the District of Columbia Strides Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Strides Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.


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                                            COUNT 366:
                     Negligent Storage and Transportation – District of Columbia

            6547. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6548. This cause of action is brought by Kevin Nelson, individually and on behalf of the

    District of Columbia Strides Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6549. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6550. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6551. Under District of Columbia law, a pharmaceutical manufacturer, including

    Defendant, has a duty to exercise reasonable care in transporting and storing products.

            6552. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.



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           6553. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and District of Columbia Strides Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6554. The latent injuries from which Plaintiffs and the District of Columbia Strides

    Prescription Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6555. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6556. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6557. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the District of

    Columbia Strides Prescription Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.


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           6558. Plaintiffs and the District of Columbia Strides Prescription Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the District of Columbia Strides

    Prescription Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    District of Columbia Strides Prescription Medical Monitoring Class members as frequently and

    appropriately as necessary.

           6559. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all District of Columbia Strides Prescription Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           6560. Plaintiffs and the District of Columbia Strides Prescription Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the District of Columbia Strides Prescription Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

         4. Florida

                                         COUNT 367:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida



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            6561. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6562. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Strides

    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Strides (for the purposes of this Count, “Defendant”).

            6563. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6564. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6565. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6566.    Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light




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    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           6567. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6568. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6569. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida Strides Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6570. The latent injuries from which Plaintiffs and the Florida Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6571. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6572. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6573. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6574. Plaintiffs and the Florida Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6575. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6576. Plaintiffs and the Florida Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 368:
                     Medical Monitoring – Negligent Product Containers – Florida

            6577. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6578. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Strides

    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Strides (for the purposes of this Count, “Defendant”).

            6579. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6580. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           6581. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6582. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           6583. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6584. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Florida Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6585. The latent injuries from which Plaintiffs and the Florida Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6586. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           6587. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6588. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6589. Plaintiffs and the Florida Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6590. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6591. Plaintiffs and the Florida Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Florida Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 369:
                Medical Monitoring – Negligent Storage and Transportation – Florida

            6592. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6593. This cause of action is brought by Ana Pereira, Clifton McKinnon, Daniel Taylor,

    Hattie Kelley, Irma Arcaya, Jeannie Black, Joyce Taylor, Marva Mccall, Michael Fesser, Michael

    Tomlinson, Sonia Diaz, and Karen Foster, individually and on behalf of the Florida Strides

    Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Strides (for the purposes of this Count, “Defendant”).

            6594. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6595. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.




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           6596. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6597. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           6598. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6599. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Florida Strides Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6600. The latent injuries from which Plaintiffs and the Florida Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6601. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6602. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6603. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6604. Plaintiffs and the Florida Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6605. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6606. Plaintiffs and the Florida Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          5. Indiana

                                           COUNT 370:
              Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

            6607. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6608. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Strides Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of

    this Count, “Defendant”).

            6609. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6610. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.



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           6611.    Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

    use.

           6612. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6613. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6614. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Strides Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6615. The latent injuries from which Plaintiffs and the Indiana Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6616. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6617. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6618. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6619. Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6620. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6621. Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 371:
                Negligence – Failure to Warn Consumers Through the FDA – Indiana

            6622. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6623. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Strides Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of

    this Count, “Defendant”).

            6624. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6625. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.




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           6626. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law

    based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

    2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

    2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed

    by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

    establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

    … in providing the warnings or instructions.”)

           6627. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

    where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

    reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

    they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

    safety-related information and publicize risks to the medical community.

           6628. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           6629. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           6630. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that




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    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           6631. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Strides Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6632. The latent injuries from which Plaintiffs and the Indiana Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6633. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6634. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6635. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           6636. Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6637. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6638. Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 372:
                                Negligent Product Containers – Indiana

           6639. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6640. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Strides Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of

    this Count, “Defendant”).

            6641. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6642. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6643. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            6644. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            6645. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Indiana Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.


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           6646. The latent injuries from which Plaintiffs and the Indiana Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6647. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6648. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6649. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6650. Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.




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            6651. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            6652. Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 373:
                             Negligent Storage and Transportation – Indiana

            6653. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.




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           6654. This cause of action is brought by Rebecca Sizemore, Teresa Dowler, Tracy Wells,

    and Timberly Goble, individually and on behalf of the Indiana Strides Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of

    this Count, “Defendant”).

           6655. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           6656. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           6657. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           6658. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6659. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Indiana Strides Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6660. The latent injuries from which Plaintiffs and the Indiana Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6661. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6662. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6663. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6664. Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6665. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            6666. Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          6. Maryland

                                          COUNT 374:
            Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

            6667. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6668. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Strides Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).



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             6669. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

             6670. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

             6671.   Under Maryland law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning of a danger it knew or should have had known

    about.

             6672. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

             6673. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

             6674. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

             6675. The latent injuries from which Plaintiffs and the Maryland Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6676. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6677. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6678. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6679. Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6680. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Maryland Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            6681. Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 375:
               Negligence – Failure to Warn Consumers Through the FDA – Maryland

            6682. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6683. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Strides Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).




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           6684. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           6685. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           6686. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

    recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

    Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

    beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

    effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

    reasonable efforts would, in some circumstances, entail a warning to a third party such as the

    FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

           6687. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           6688. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           6689. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather




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    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           6690. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of to make reasonable efforts to ensure an effective warning reached

    consumers.

           6691. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6692. The latent injuries from which Plaintiffs and the Maryland Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6693. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           6694. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6695. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6696. Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6697. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6698. Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                               COUNT 376:
                                 Negligent Product Containers – Maryland

            6699. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6700. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Strides Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6701. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6702. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6703. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.




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           6704. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6705. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland

    Strides Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6706. The latent injuries from which Plaintiffs and the Maryland Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6707. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6708. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6709. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.


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           6710. Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6711. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6712. Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 377:
                         Negligent Storage and Transportation – Maryland

           6713. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6714. This cause of action is brought by Alberta Griffin and Darlene Whittington-Coates,

    individually and on behalf of the Maryland Strides Prescription Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6715. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6716. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6717. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            6718. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            6719. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Maryland Strides Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have


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    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6720. The latent injuries from which Plaintiffs and the Maryland Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6721. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6722. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6723. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6724. Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Maryland Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust




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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Maryland Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6725. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6726. Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         7. Missouri

                                          COUNT 378:
            Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

           6727. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6728. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

    Aaron, individually and on behalf of the Missouri Strides Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6729. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6730. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6731.    Under Missouri law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the risks of its products.

            6732. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            6733. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            6734. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of


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    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6735. The latent injuries from which Plaintiffs and the Missouri Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6736. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6737. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6738. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6739. Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Missouri Strides Prescription Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay




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    for the medical monitoring and diagnosis of Plaintiffs and the Missouri Strides Prescription

    Medical Monitoring Class members as frequently and appropriately as necessary.

           6740. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6741. Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 379:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – Missouri

           6742. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            6743. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

    Aaron, individually and on behalf of the Missouri Strides Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6744. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6745. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

    of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

    [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

    state law to warn consumers about the risks of using their product, which Williams argues Bayer

    breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

    Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

            6746. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.

            6747. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

            6748. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather




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    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           6749. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Manufacturer Defendants also failed to warn the FDA

    of the risks that ranitidine degrades into NDMA and causes cancer through other communication

    channels that were available, including ordinary correspondence with the agency or regulatory

    reporting. This failure breached their duty of reasonable care.

           6750. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6751. The latent injuries from which Plaintiffs and the Missouri Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6752. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           6753. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6754. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6755. Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Missouri Strides Prescription Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the Missouri Strides Prescription

    Medical Monitoring Class members as frequently and appropriately as necessary.

           6756. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6757. Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 380:
                                 Negligent Product Containers – Missouri

            6758. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6759. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

    Aaron, individually and on behalf of the Missouri Strides Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6760. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6761. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6762. Under Missouri law, a manufacturer, including Defendant, has a duty to exercise

    reasonable care in choosing and making the containers for its products.



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           6763. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6764. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Missouri

    Strides Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6765. The latent injuries from which Plaintiffs and the Missouri Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6766. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6767. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6768. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           6769. Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Missouri Strides Prescription Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the Missouri Strides Prescription

    Medical Monitoring Class members as frequently and appropriately as necessary.

           6770. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6771. Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 381:
                          Negligent Storage and Transportation – Missouri

           6772. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6773. This cause of action is brought by Brenda Newcomb, Cynthia Gibbs, and Elaine

    Aaron, individually and on behalf of the Missouri Strides Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6774. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6775. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6776. Under Missouri law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            6777. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            6778. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Missouri Strides Prescription Medical Monitoring Class members have sustained a


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    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6779. The latent injuries from which Plaintiffs and the Missouri Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6780. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6781. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6782. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6783. Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Missouri Strides Prescription Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay


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    for the medical monitoring and diagnosis of Plaintiffs and the Missouri Strides Prescription

    Medical Monitoring Class members as frequently and appropriately as necessary.

           6784. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6785. Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Strides Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         8. Ohio

                                            COUNT 382:
       Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           6786. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6787. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Strides Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6788. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6789. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6790.    Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

    adequate warning of the risks associated with its product that it knows or should have known about,

    and a duty to provide adequate post-marketing warnings or instructions.

            6791. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on each Ranitidine-Containing Product were inadequate because The expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

            6792. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            6793. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio Strides Prescription


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    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6794. The latent injuries from which Plaintiffs and the Ohio Strides Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6795. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6796. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6797. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6798. Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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    the medical monitoring and diagnosis of Plaintiffs and the Ohio Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6799. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6800. Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 383:
                                 Negligent Product Containers – Ohio

           6801. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            6802. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Strides Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6803. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6804. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6805. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            6806. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            6807. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            6808. The latent injuries from which Plaintiffs and the Ohio Strides Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of




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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6809. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6810. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6811. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6812. Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6813. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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    notifying all Ohio Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            6814. Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 384:
                                 Negligent Storage and Transportation – Ohio

            6815. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6816. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Strides Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).




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           6817. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           6818. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           6819. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           6820. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6821. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Ohio Strides Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6822. The latent injuries from which Plaintiffs and the Ohio Strides Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.


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           6823. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6824. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6825. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6826. Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6827. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.




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            6828. Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          9. Pennsylvania

                                        COUNT 385:
     Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Pennsylvania

            6829. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6830. This cause of action is brought by Elmer Cook, Felicia Ball, and Joyce Guerrieri,

    individually and on behalf of the Pennsylvania Strides Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).




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           6831. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           6832. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           6833. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6834.    Under Pennsylvania law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning.

           6835. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6836. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6837. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6838. The latent injuries from which Plaintiffs and the Pennsylvania Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6839. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6840. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6841. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6842. Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6843. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            6844. Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 386:
       Medical Monitoring – Failure to Warn Consumers Through the FDA – Pennsylvania

            6845. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6846. This cause of action is brought by Elmer Cook, Felicia Ball, and Joyce Guerrieri,

    individually and on behalf of the Pennsylvania Strides Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).



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           6847. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           6848. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           6849. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6850. Pennsylvania law “may impose liability for the failure to report to the FDA. …the

    duty to warn is discharged by ‘providing information about the product’s dangerous propensities,’

    which undoubtedly encompasses Medtronic’s alleged failures to report known problems, adverse

    events and malfunctions, and the comment does not require the third party to disclose the warnings,

    but rather be reasonably relied upon to do so.” Silver v. Medtronic, Inc., 236 F. Supp. 3d 889, 900

    (M.D. Pa. 2017); see also McLaughlin v. Bayer Corp., 172 F. Supp. 3d 804, 838 (E.D. Pa. 2016)

    (“we follow the reasoning of the en banc decision in Stengel”); Bull v. St. Jude Med., Inc., No. CV

    17-1141, 2018 WL 3397544, at *9 (E.D. Pa. July 12, 2018) (“Plaintiff has alleged that St. Jude

    violated state tort law, namely, by failing to warn physicians about the risks of the Riata ST Lead

    based on the failure to fully comply with its federal duty to report all adverse events to the FDA

    via MDRs in a timely manner.”).

           6851. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.




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           6852. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           6853. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           6854. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           6855. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6856. The latent injuries from which Plaintiffs and the Pennsylvania Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           6857. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6858. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6859. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6860. Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6861. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.




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            6862. Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 387:
                 Medical Monitoring – Negligent Product Containers – Pennsylvania

            6863. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6864. This cause of action is brought by Elmer Cook, Felicia Ball, and Joyce Guerrieri,

    individually and on behalf of the Pennsylvania Strides Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6865. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.



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           6866. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           6867. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           6868. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           6869. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6870. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Pennsylvania

    Strides Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6871. The latent injuries from which Plaintiffs and the Pennsylvania Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6872. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           6873. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6874. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6875. Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6876. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6877. Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the




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    Court, Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 388:
            Medical Monitoring – Negligent Storage and Transportation – Pennsylvania

            6878. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6879. This cause of action is brought by Elmer Cook, Felicia Ball, and Joyce Guerrieri,

    individually and on behalf of the Pennsylvania Strides Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count,

    “Defendant”).

            6880. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6881. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6882. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           6883. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

           6884. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           6885. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Pennsylvania Strides Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6886. The latent injuries from which Plaintiffs and the Pennsylvania Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6887. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           6888. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6889. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6890. Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6891. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6892. Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the




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    Court, Plaintiffs and the Pennsylvania Strides Prescription Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          10. Utah

                                          COUNT 389:
          Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Utah

            6893. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6894. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Strides Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            6895. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6896. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) Defendant.

            6897. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           6898.    Under Utah law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the dangers from a foreseeable use of its product that it

    knows or should have known about.

           6899. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6900. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6901. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Utah Strides Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6902. The latent injuries from which Plaintiffs and the Utah Strides Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6903. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6904. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6905. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6906. Plaintiffs and the Utah Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6907. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6908. Plaintiffs and the Utah Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 390:
                      Medical Monitoring – Negligent Product Containers – Utah

            6909. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6910. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Strides Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            6911. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6912. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6913. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           6914. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           6915. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6916. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Utah Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6917. The latent injuries from which Plaintiffs and the Utah Strides Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6918. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6919. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           6920. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6921. Plaintiffs and the Utah Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6922. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6923. Plaintiffs and the Utah Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 391:
                Medical Monitoring – Negligent Storage and Transportation – Utah



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            6924. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6925. This cause of action is brought by Teresa Waters, individually and on behalf of the

    Utah Strides Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            6926. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6927. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6928. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6929. Under Utah law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            6930. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.


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           6931. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and Utah Strides Prescription Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6932. The latent injuries from which Plaintiffs and the Utah Strides Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           6933. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6934. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6935. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Utah Strides

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           6936. Plaintiffs and the Utah Strides Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Utah Strides Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Utah Strides Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6937. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Utah Strides Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           6938. Plaintiffs and the Utah Strides Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Utah Strides Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

         11. West Virginia

                                        COUNT 392:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

           6939. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6940. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6941. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6942. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            6943. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6944.    Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

            6945. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.




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           6946. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6947. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and West Virginia Strides

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6948. The latent injuries from which Plaintiffs and the West Virginia Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6949. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6950. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           6951. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6952. Plaintiffs and the West Virginia Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6953. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6954. Plaintiffs and the West Virginia Strides Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Strides Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.




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                                           COUNT 393:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            6955. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6956. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6957. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6958. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            6959. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6960. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.




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           6961. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           6962. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and West Virginia

    Strides Prescription Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           6963. The latent injuries from which Plaintiffs and the West Virginia Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6964. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6965. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6966. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.


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           6967. Plaintiffs and the West Virginia Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6968. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6969. Plaintiffs and the West Virginia Strides Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Strides Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                         COUNT 394:
           Medical Monitoring – Negligent Storage and Transportation – West Virginia

           6970. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6971. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            6972. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6973. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            6974. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            6975. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

            6976. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            6977. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic


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    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and West Virginia Strides Prescription Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           6978. The latent injuries from which Plaintiffs and the West Virginia Strides Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           6979. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6980. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6981. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Strides Prescription Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           6982. Plaintiffs and the West Virginia Strides Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program


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    which will facilitate the diagnoses of Plaintiffs and the West Virginia Strides Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           6983. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           6984. Plaintiffs and the West Virginia Strides Prescription Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Strides Prescription Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

    K. CAUSES OF ACTION AGAINST DEFENDANT TEVA WITH RESPECT TO
       PRESCRIPTION RANITIDINE

           6985. Plaintiffs identified in the table below bring claims against Defendant Teva with

    respect to prescription ranitidine on behalf of themselves and their respective State Teva

    Prescription Medical Monitoring Classes under the laws of their respective states of usage. Each




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    Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Armando Tapia                                     AZ
             Golbenaz Bakhtiar                                 CA
             Royal Handy                                       CA
             Virginia Aragon                                   CA
             Jeffrey Pisano                                    CO
             Clifton McKinnon                                  FL
             Daniel Taylor                                     FL
             Hattie Kelley                                     FL
             Irma Arcaya                                       FL
             Joyce Taylor                                      FL
             Alexander Monger                                  FL
             Laura Monger                                      FL
             Marva Mccall                                      FL
             Michael Fesser                                    FL
             Michael Tomlinson                                 FL
             Karen Foster                                      FL
             Rebecca Sizemore                                  IN
             Tracy Wells                                       IN
             Timberly Goble                                    IN
             Alberta Griffin                                   MD
             Antrenise Campbell                                MO
             Brenda Newcomb                                    MO
             Cynthia Gibbs                                     MO
             Elaine Aaron                                      MO
             Michael Galloway                                  OH; FL
             Patricia Hess                                     OH


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              Plaintiff Name                                   State of Usage

              Felicia Ball                                     PA
              Joyce Guerrieri                                  PA
              Mynetta Hastings                                 WV



          1. Arizona

                                          COUNT 395:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            6986. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            6987. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            6988. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            6989. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.


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           6990.   Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           6991. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           6992. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           6993. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           6994. The latent injuries from which Plaintiffs and the Arizona Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.




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           6995. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           6996. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           6997. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           6998. Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           6999. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.




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            7000. Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 396:
                                 Negligent Product Containers – Arizona

            7001. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7002. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7003. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7004. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-



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    Specific Allegations) as to Defendant.

           7005. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           7006. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7007. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Arizona Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7008. The latent injuries from which Plaintiffs and the Arizona Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7009. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7010. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           7011. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7012. Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7013. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7014. Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 397:
                          Negligent Storage and Transportation – Arizona



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            7015. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7016. This cause of action is brought by Armando Tapia, individually and on behalf of

    the Arizona Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7017. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7018. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            7019. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            7020. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            7021. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer


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    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Arizona Teva Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7022. The latent injuries from which Plaintiffs and the Arizona Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7023. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7024. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7025. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7026. Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7027. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7028. Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

         2. California

                                         COUNT 398:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

           7029. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7030. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Teva Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of this Count,

    “Defendant”).

            7031. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7032. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            7033.    Under California law, manufacturers have a duty of reasonable care to warn of

    particular risks that are known or knowable in light of the generally recognized and prevailing

    scientific and medical knowledge available at the time of manufacture and distribution.

            7034. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiff that Ranitidine-Containing Products were safe when

    consumed long after manufacture, when in fact the products degraded into NDMA over time.

            7035. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.




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           7036. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7037. The latent injuries from which Plaintiffs and the California Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7038. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7039. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7040. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7041. Plaintiffs and the California Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will


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    facilitate the diagnoses of Plaintiffs and the California Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7042. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7043. Plaintiffs and the California Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Teva Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 399:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           7044. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7045. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Teva Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of this Count,

    “Defendant”).

            7046. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7047. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            7048. Under California law, manufacturers (including Defendant) bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

            7049. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.




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           7050. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           7051. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           7052. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           7053. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7054. The latent injuries from which Plaintiffs and the California Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.




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           7055. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7056. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7057. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7058. Plaintiffs and the California Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7059. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.




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            7060. Plaintiffs and the California Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Teva Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                               COUNT 400:
                                 Negligent Product Containers – California

            7061. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7062. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Teva Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of this Count,

    “Defendant”).

            7063. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.



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           7064. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           7065. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           7066. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7067. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and California Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7068. The latent injuries from which Plaintiffs and the California Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7069. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           7070. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7071. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7072. Plaintiffs and the California Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7073. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7074. Plaintiffs and the California Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the California Teva Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 401:
                           Negligent Storage and Transportation – California

            7075. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7076. This cause of action is brought by Golbenaz Bakhtiar, Royal Handy, and Virginia

    Aragon, individually and on behalf of the California Teva Prescription Medical Monitoring Class

    (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of this Count,

    “Defendant”).

            7077. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7078. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            7079. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.



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           7080. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           7081. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    California Teva Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7082. The latent injuries from which Plaintiffs and the California Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7083. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7084. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           7085. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7086. Plaintiffs and the California Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7087. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7088. Plaintiffs and the California Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Teva Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         3. Colorado




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                                         COUNT 402:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

            7089. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7090. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

    Colorado Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7091. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7092. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            7093. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            7094.    Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.



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           7095. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7096. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7097. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Colorado Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7098. The latent injuries from which Plaintiffs and the Colorado Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7099. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           7100. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7101. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7102. Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7103. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7104. Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 403:
                    Medical Monitoring – Negligent Product Containers – Colorado

            7105. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7106. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

    Colorado Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7107. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7108. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            7109. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.




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           7110. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           7111. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7112. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Colorado Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7113. The latent injuries from which Plaintiffs and the Colorado Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7114. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7115. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           7116. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7117. Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7118. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7119. Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 404:
              Medical Monitoring – Negligent Storage and Transportation – Colorado



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            7120. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7121. This cause of action is brought by Jeffrey Pisano, individually and on behalf of the

    Colorado Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7122. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7123. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            7124. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            7125. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            7126. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.


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           7127. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Colorado Teva Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7128. The latent injuries from which Plaintiffs and the Colorado Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7129. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7130. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7131. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.




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           7132. Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7133. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7134. Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

         4. Florida

                                         COUNT 405:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

           7135. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7136. This cause of action is brought by Clifton McKinnon, Daniel Taylor, Hattie Kelley,

    Irma Arcaya, Joyce Taylor, Alexander Monger, Laura Monger, Marva Mccall, Michael Fesser,

    Michael Galloway, Michael Tomlinson, and Karen Foster, individually and on behalf of the

    Florida Teva Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Teva (for the purposes of this Count, “Defendant”).

            7137. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7138. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            7139. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            7140.    Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.




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           7141. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7142. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7143. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7144. The latent injuries from which Plaintiffs and the Florida Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7145. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           7146. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7147. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7148. Plaintiffs and the Florida Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7149. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7150. Plaintiffs and the Florida Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Florida Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 406:
                     Medical Monitoring – Negligent Product Containers – Florida

            7151. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7152. This cause of action is brought by Clifton McKinnon, Daniel Taylor, Hattie Kelley,

    Irma Arcaya, Joyce Taylor, Marva Mccall, Michael Fesser, Michael Galloway, Michael

    Tomlinson, and Karen Foster, individually and on behalf of the Florida Teva Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of

    this Count, “Defendant”).

            7153. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7154. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.




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           7155. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           7156. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           7157. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7158. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Florida Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7159. The latent injuries from which Plaintiffs and the Florida Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7160. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           7161. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7162. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7163. Plaintiffs and the Florida Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7164. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7165. Plaintiffs and the Florida Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Florida Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 407:
                Medical Monitoring – Negligent Storage and Transportation – Florida

            7166. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7167. This cause of action is brought by Clifton McKinnon, Daniel Taylor, Hattie Kelley,

    Irma Arcaya, Joyce Taylor, Alexander Monger, Laura Monger, Marva Mccall, Michael Fesser,

    Michael Galloway, Michael Tomlinson, and Karen Foster, individually and on behalf of the

    Florida Teva Prescription Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Teva (for the purposes of this Count, “Defendant”).

            7168. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7169. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.




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           7170. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           7171. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           7172. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           7173. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Florida Teva Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7174. The latent injuries from which Plaintiffs and the Florida Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7175. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           7176. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7177. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7178. Plaintiffs and the Florida Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7179. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7180. Plaintiffs and the Florida Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Florida Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          5. Indiana

                                           COUNT 408:
              Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

            7181. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7182. This cause of action is brought by Rebecca Sizemore, Tracy Wells, and Timberly

    Goble, individually and on behalf of the Indiana Teva Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of this Count,

    “Defendant”).

            7183. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7184. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.




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           7185.    Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

    use.

           7186. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7187. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7188. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7189. The latent injuries from which Plaintiffs and the Indiana Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7190. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7191. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7192. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7193. Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7194. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7195. Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 409:
                Negligence – Failure to Warn Consumers Through the FDA – Indiana

            7196. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7197. This cause of action is brought by Rebecca Sizemore, Tracy Wells, and Timberly

    Goble, individually and on behalf of the Indiana Teva Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of this Count,

    “Defendant”).

            7198. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7199. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.




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           7200. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law

    based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

    2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

    2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed

    by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

    establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

    … in providing the warnings or instructions.”)

           7201. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

    where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

    reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

    they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

    safety-related information and publicize risks to the medical community.

           7202. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           7203. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           7204. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that




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    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           7205. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7206. The latent injuries from which Plaintiffs and the Indiana Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7207. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7208. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7209. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           7210. Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7211. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7212. Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 410:
                               Negligent Product Containers – Indiana

           7213. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7214. This cause of action is brought by Rebecca Sizemore, Tracy Wells, and Timberly

    Goble, individually and on behalf of the Indiana Teva Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of this Count,

    “Defendant”).

            7215. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7216. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            7217. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            7218. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            7219. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Indiana Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.


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           7220. The latent injuries from which Plaintiffs and the Indiana Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7221. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7222. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7223. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7224. Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.




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            7225. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            7226. Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 411:
                             Negligent Storage and Transportation – Indiana

            7227. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.




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           7228. This cause of action is brought by Rebecca Sizemore, Tracy Wells, and Timberly

    Goble, individually and on behalf of the Indiana Teva Prescription Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of this Count,

    “Defendant”).

           7229. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           7230. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           7231. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           7232. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           7233. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Indiana Teva Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7234. The latent injuries from which Plaintiffs and the Indiana Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals


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    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7235. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7236. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7237. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7238. Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7239. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Indiana Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            7240. Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          6. Maryland

                                          COUNT 412:
            Negligence – Failure to Warn Through Proper Expiration Dates – Maryland

            7241. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7242. This cause of action is brought by Alberta Griffin, individually and on behalf of the

    Maryland Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).




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             7243. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

             7244. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

             7245.   Under Maryland law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning of a danger it knew or should have had known

    about.

             7246. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

             7247. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

             7248. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

             7249. The latent injuries from which Plaintiffs and the Maryland Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7250. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7251. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7252. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7253. Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Maryland Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7254. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Maryland Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            7255. Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 413:
               Negligence – Failure to Warn Consumers Through the FDA – Maryland

            7256. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7257. This cause of action is brought by Alberta Griffin, individually and on behalf of the

    Maryland Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).




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           7258. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           7259. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           7260. Under Maryland law, a “failure to warn claim is parallel. Maryland tort law

    recognizes that a ‘duty to warn can undergird a negligence case in ... a product liability action....’

    Gourdine v. Crews, 405 Md. 722, 955 A.2d 769, 779 (2008). Moreover, this duty to warn extends

    beyond the time of sale, and requires the manufacturer to make ‘reasonable efforts’ to convey an

    effective warning. Owens–Illinois, Inc. v. Zenobia, 325 Md. 420, 601 A.2d 633, 646 (1992). And

    reasonable efforts would, in some circumstances, entail a warning to a third party such as the

    FDA.” Williams v. Smith & Nephew, Inc., 123 F. Supp. 3d 733, 742 (D. Md. 2015).

           7261. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           7262. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           7263. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather




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    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           7264. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of to make reasonable efforts to ensure an effective warning reached

    consumers.

           7265. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Maryland Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7266. The latent injuries from which Plaintiffs and the Maryland Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7267. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           7268. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7269. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7270. Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Maryland Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7271. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7272. Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,




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    Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                               COUNT 414:
                                 Negligent Product Containers – Maryland

            7273. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7274. This cause of action is brought by Alberta Griffin, individually and on behalf of the

    Maryland Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7275. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7276. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            7277. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.




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           7278. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7279. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Maryland Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7280. The latent injuries from which Plaintiffs and the Maryland Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7281. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7282. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7283. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           7284. Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Maryland Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7285. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7286. Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 415:
                         Negligent Storage and Transportation – Maryland

           7287. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7288. This cause of action is brought by Alberta Griffin, individually and on behalf of the

    Maryland Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7289. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7290. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            7291. Under Maryland law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            7292. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            7293. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Maryland Teva Prescription Medical Monitoring Class members have sustained a significantly




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    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7294. The latent injuries from which Plaintiffs and the Maryland Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7295. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7296. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7297. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Maryland Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7298. Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for




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    the medical monitoring and diagnosis of Plaintiffs and the Maryland Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7299. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Maryland Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7300. Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Maryland Teva Prescription Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         7. Missouri

                                          COUNT 416:
            Negligence – Failure to Warn Through Proper Expiration Dates – Missouri

           7301. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription



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    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7302. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Teva Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of

    this Count, “Defendant”).

            7303. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7304. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            7305.    Under Missouri law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide an adequate warning of the risks of its products.

            7306. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            7307. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            7308. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing


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    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7309. The latent injuries from which Plaintiffs and the Missouri Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7310. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7311. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7312. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7313. Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for




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    the medical monitoring and diagnosis of Plaintiffs and the Missouri Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7314. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7315. Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 417:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – Missouri

           7316. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),



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    as if fully stated herein.

            7317. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Teva Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of

    this Count, “Defendant”).

            7318. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7319. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            7320. Missouri imposes a duty to warn the FDA under “a traditional state law tort cause

    of action; specifically, a strict liability failure to warn claim. See Mo. Rev. Stat. § 537.760. …

    [This duty] is instead grounded on a well-established duty imposed on manufacturers by Missouri

    state law to warn consumers about the risks of using their product, which Williams argues Bayer

    breached by failing to meet the post-premarket approval reporting requirements ….” Williams v.

    Bayer Corp., 541 S.W.3d 594, 606 (Mo. Ct. App. 2017).

            7321. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.

            7322. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.




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           7323. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           7324. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Manufacturer Defendants also failed to warn the FDA

    of the risks that ranitidine degrades into NDMA and causes cancer through other communication

    channels that were available, including ordinary correspondence with the agency or regulatory

    reporting. This failure breached their duty of reasonable care.

           7325. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Missouri Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7326. The latent injuries from which Plaintiffs and the Missouri Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7327. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.




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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7328. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7329. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7330. Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Missouri Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7331. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7332. Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 418:
                                 Negligent Product Containers – Missouri

            7333. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7334. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Teva Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of

    this Count, “Defendant”).

            7335. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7336. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.




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           7337. Under Missouri law, a manufacturer, including Defendant, has a duty to exercise

    reasonable care in choosing and making the containers for its products.

           7338. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7339. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Missouri Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7340. The latent injuries from which Plaintiffs and the Missouri Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7341. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7342. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           7343. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7344. Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Missouri Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7345. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7346. Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 419:
                          Negligent Storage and Transportation – Missouri



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            7347. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7348. This cause of action is brought by Antrenise Campbell, Brenda Newcomb, Cynthia

    Gibbs, and Elaine Aaron, individually and on behalf of the Missouri Teva Prescription Medical

    Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Teva (for the purposes of

    this Count, “Defendant”).

            7349. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7350. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            7351. Under Missouri law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            7352. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.




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           7353. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Missouri Teva Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7354. The latent injuries from which Plaintiffs and the Missouri Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7355. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7356. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7357. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Missouri Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.




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           7358. Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Missouri Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7359. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Missouri Teva Prescription Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           7360. Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Missouri Teva Prescription Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

         8. Ohio

                                            COUNT 420:
       Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           7361. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7362. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Teva Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7363. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7364. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            7365.    Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

    adequate warning of the risks associated with its product that it knows or should have known about,

    and a duty to provide adequate post-marketing warnings or instructions.

            7366. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on each Ranitidine-Containing Product were inadequate because The expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

            7367. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs


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    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7368. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio Teva Prescription

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7369. The latent injuries from which Plaintiffs and the Ohio Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7370. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7371. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7372. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           7373. Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7374. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Teva Prescription Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7375. Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 421:
                                Negligent Product Containers – Ohio

           7376. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7377. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Teva Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7378. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7379. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            7380. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            7381. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            7382. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Ohio Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.




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           7383. The latent injuries from which Plaintiffs and the Ohio Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7384. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7385. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7386. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7387. Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.




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            7388. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Teva Prescription Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            7389. Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 422:
                                 Negligent Storage and Transportation – Ohio

            7390. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.




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           7391. This cause of action is brought by Michael Galloway and Patricia Hess, individually

    and on behalf of the Ohio Teva Prescription Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

           7392. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           7393. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           7394. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           7395. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           7396. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and Ohio

    Teva Prescription Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7397. The latent injuries from which Plaintiffs and the Ohio Teva Prescription Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7398. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7399. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7400. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Teva

    Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7401. Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Teva Prescription Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7402. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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    notifying all Ohio Teva Prescription Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            7403. Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Teva Prescription Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

          9. Pennsylvania

                                        COUNT 423:
     Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Pennsylvania

            7404. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7405. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Teva Prescription Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).




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           7406. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           7407. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           7408. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           7409.    Under Pennsylvania law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide an adequate warning.

           7410. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7411. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7412. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7413. The latent injuries from which Plaintiffs and the Pennsylvania Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7414. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7415. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7416. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Teva Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           7417. Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Teva Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Teva

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           7418. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Teva Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            7419. Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                        COUNT 424:
       Medical Monitoring – Failure to Warn Consumers Through the FDA – Pennsylvania

            7420. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7421. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Teva Prescription Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).




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           7422. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           7423. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           7424. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           7425. Pennsylvania law “may impose liability for the failure to report to the FDA. …the

    duty to warn is discharged by ‘providing information about the product’s dangerous propensities,’

    which undoubtedly encompasses Medtronic’s alleged failures to report known problems, adverse

    events and malfunctions, and the comment does not require the third party to disclose the warnings,

    but rather be reasonably relied upon to do so.” Silver v. Medtronic, Inc., 236 F. Supp. 3d 889, 900

    (M.D. Pa. 2017); see also McLaughlin v. Bayer Corp., 172 F. Supp. 3d 804, 838 (E.D. Pa. 2016)

    (“we follow the reasoning of the en banc decision in Stengel”); Bull v. St. Jude Med., Inc., No. CV

    17-1141, 2018 WL 3397544, at *9 (E.D. Pa. July 12, 2018) (“Plaintiff has alleged that St. Jude

    violated state tort law, namely, by failing to warn physicians about the risks of the Riata ST Lead

    based on the failure to fully comply with its federal duty to report all adverse events to the FDA

    via MDRs in a timely manner.”).

           7426. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning the FDA would be effective in warning the end consumer or her doctor,

    manufacturers have a state law duty to do so.




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           7427. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           7428. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           7429. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           7430. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Pennsylvania Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7431. The latent injuries from which Plaintiffs and the Pennsylvania Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           7432. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7433. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7434. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Teva Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           7435. Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Teva Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Teva

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           7436. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Teva Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.




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            7437. Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 425:
                 Medical Monitoring – Negligent Product Containers – Pennsylvania

            7438. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7439. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Teva Prescription Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7440. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7441. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-



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    Specific Allegations) as to Defendant.

           7442. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           7443. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           7444. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7445. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and Pennsylvania

    Teva Prescription Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7446. The latent injuries from which Plaintiffs and the Pennsylvania Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7447. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           7448. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7449. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Teva Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           7450. Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Teva Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Teva

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           7451. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Teva Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           7452. Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the




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    Court, Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 426:
            Medical Monitoring – Negligent Storage and Transportation – Pennsylvania

            7453. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7454. This cause of action is brought by Felicia Ball and Joyce Guerrieri, individually

    and on behalf of the Pennsylvania Teva Prescription Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7455. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7456. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            7457. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.




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           7458. Under Pennsylvania law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

           7459. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           7460. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and

    Pennsylvania Teva Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7461. The latent injuries from which Plaintiffs and the Pennsylvania Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7462. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.




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           7463. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7464. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Pennsylvania

    Teva Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           7465. Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Pennsylvania Teva Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Pennsylvania Teva

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           7466. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Pennsylvania Teva Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           7467. Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the




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    Court, Plaintiffs and the Pennsylvania Teva Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          10. West Virginia

                                        COUNT 427:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

            7468. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7469. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7470. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7471. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            7472. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           7473.    Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

           7474. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7475. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7476. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and West Virginia Teva

    Prescription Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7477. The latent injuries from which Plaintiffs and the West Virginia Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7478. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7479. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7480. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Teva Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           7481. Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Teva Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Teva

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           7482. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Teva Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           7483. Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.


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    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 428:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            7484. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7485. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7486. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7487. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            7488. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           7489. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           7490. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7491. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in the Ranitidine-Containing Products Defendant sold, and therefore Plaintiffs and West Virginia

    Teva Prescription Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7492. The latent injuries from which Plaintiffs and the West Virginia Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7493. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7494. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.




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           7495. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Teva Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           7496. Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Teva Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Teva

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           7497. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Teva Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           7498. Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 429:
           Medical Monitoring – Negligent Storage and Transportation – West Virginia



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            7499. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 428-50 (describing Generic Prescription

    Manufacturers’ failure to warn), and 975-85 (describing Plaintiffs’ use of ranitidine and injury),

    as if fully stated herein.

            7500. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Teva Prescription Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Teva (for the purposes of this Count, “Defendant”).

            7501. The allegations in this Count apply to Teva during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            7502. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            7503. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            7504. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

            7505. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.


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           7506. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, which Plaintiffs consumed. Plaintiffs and West

    Virginia Teva Prescription Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           7507. The latent injuries from which Plaintiffs and the West Virginia Teva Prescription

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           7508. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosis of the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7509. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7510. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Teva Prescription Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.




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           7511. Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Teva Prescription Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Teva

    Prescription Medical Monitoring Class members as frequently and appropriately as necessary.

           7512. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Teva Prescription Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           7513. Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the West Virginia Teva Prescription Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

    L. CAUSES OF ACTION AGAINST DEFENDANT CVS WITH RESPECT TO CVS
       HEALTH-BRANDED RANITIDINE

           7514. Plaintiffs identified in the table below bring claims against Defendant CVS with

    respect to CVS Health-branded OTC ranitidine on behalf of themselves and their respective State

    CVS Medical Monitoring Class under the laws of their respective states of usage. Each Plaintiff

    incorporates by reference the allegations specific to them from Section III.B and the allegations

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    set forth in Section VI, supra, into their respective claims below.

              Plaintiff Name                                     State of Usage

              Richard Obrien                                     CA
              Rebecca Sizemore                                   IN
              Chris Troyan                                       OH
              Patricia Hess                                      OH
              Mynetta Hastings                                   WV


         1. California

                                           Count 430:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

           7515. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7516. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    CVS (for the purposes of this Count, “Defendant”).

           7517. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..


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           7518. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to CVS.

           7519.   Under California law, Defendant had a duty of reasonable care to adequately warn

    of a particular risk that was known or knowable in light of the generally recognized and prevailing

    best scientific and medical knowledge available at the time of manufacture and distribution.

           7520. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7521. Plaintiffs have read and heeded these warnings had they been included with the

    Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs would have been

    made aware of the risks of developing the Subject Cancers associated with the use of the

    Ranitidine-Containing Products.

           7522. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California CVS Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7523. The latent injuries from which Plaintiffs and the California CVS Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.


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           7524. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7525. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7526. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California CVS

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7527. Plaintiffs and the California CVS Medical Monitoring Class members seek creation

    of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the California CVS Medical Monitoring Class members for the Subject

    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the California CVS Medical Monitoring Class members as

    frequently and appropriately as necessary.

           7528. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California CVS Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7529. Plaintiffs and the California CVS Medical Monitoring Class have an inadequate


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    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the California CVS Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

                                             COUNT 431:
                               Negligent Product Containers – California

           7530. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7531. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    CVS (for the purposes of this Count, “Defendant”).

           7532. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7533. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to CVS.



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           7534. Under California law, Defendant had a duty to exercise reasonable care in choosing

    and making the containers for its products.

           7535. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7536. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and California CVS

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7537. The latent injuries from which Plaintiffs and the California CVS Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7538. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7539. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7540. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California CVS


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    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7541. Plaintiffs and the California CVS Medical Monitoring Class members seek creation

    of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the California CVS Medical Monitoring Class members for the Subject

    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the California CVS Medical Monitoring Class members as

    frequently and appropriately as necessary.

           7542. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California CVS Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7543. Plaintiffs and the California CVS Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the California CVS Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

                                           COUNT 432:
                         Negligent Storage and Transportation – California

           7544. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91



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    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7545. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    CVS (for the purposes of this Count, “Defendant”).

           7546. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7547. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to CVS.

           7548. Under California law, Defendant had a duty to exercise reasonable care in

    transporting and storing products.

           7549. Defendant breached this duty by failing to implement or enforce policies to ensure

    its Ranitidine-Containing Products remained free from excessive heat and humidity, as required

    both by the duty of reasonable care and the label.

           7550. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and

    California CVS Medical Monitoring Class members have sustained a significantly increased risk


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    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7551. The latent injuries from which Plaintiffs and the California CVS Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7552. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7553. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7554. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California CVS

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7555. Plaintiffs and the California CVS Medical Monitoring Class members seek creation

    of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the California CVS Medical Monitoring Class members for the Subject

    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the California CVS Medical Monitoring Class members as


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    frequently and appropriately as necessary.

           7556. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California CVS Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7557. Plaintiffs and the California CVS Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the California CVS Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

         2. Indiana


                                          COUNT 433:
             Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

           7558. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.


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           7559. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    CVS (for the purposes of this Count, “Defendant”).

           7560. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7561. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to CVS.

           7562. Under Indiana law, Defendant has a duty of reasonable care to provide adequate

    instructions for safe use and a warning as to dangers inherent in improper use.

           7563. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7564. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7565. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Indiana CVS Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.


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           7566. The latent injuries from which Plaintiffs and the Indiana CVS Medical Monitoring

    Class members suffer require specialized testing (with resultant treatment) that is not generally

    given to the public at large. The available monitoring regime is specific for individuals exposed

    to products known to significantly increase the risk of the Subject Cancers because of ingesting

    Ranitidine-Containing Products and is different from that normally recommended in the absence

    of exposure to this risk of harm.

           7567. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7568. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7569. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana CVS

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7570. Plaintiffs and the Indiana CVS Medical Monitoring Class members seek creation

    of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the Indiana CVS Medical Monitoring Class members for the Subject

    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the Indiana CVS Medical Monitoring Class members as frequently

    and appropriately as necessary.

           7571. Accordingly, Defendant should be required to establish a medical monitoring


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    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana CVS Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7572. Plaintiffs and the Indiana CVS Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Indiana CVS Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

                                              COUNT 434:
                                 Negligent Product Containers – Indiana

           7573. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7574. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    CVS (for the purposes of this Count, “Defendant”).



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           7575. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7576. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to CVS.

           7577. Under Indiana law, Defendant has a duty to exercise reasonable care in choosing

    and making the containers for its products.

           7578. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7579. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Indiana CVS Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7580. The latent injuries from which Plaintiffs and the Indiana CVS Medical Monitoring

    Class members suffer require specialized testing (with resultant treatment) that is not generally

    given to the public at large. The available monitoring regime is specific for individuals exposed

    to products known to significantly increase the risk of the Subject Cancers because of ingesting

    Ranitidine-Containing Products and is different from that normally recommended in the absence

    of exposure to this risk of harm.

           7581. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7582. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7583. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana CVS

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7584. Plaintiffs and the Indiana CVS Medical Monitoring Class members seek creation

    of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the Indiana CVS Medical Monitoring Class members for the Subject

    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the Indiana CVS Medical Monitoring Class members as frequently

    and appropriately as necessary.

           7585. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana CVS Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7586. Plaintiffs and the Indiana CVS Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-


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    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Indiana CVS Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

                                             COUNT 435:
                            Negligent Storage and Transportation – Indiana

           7587. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7588. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    CVS (for the purposes of this Count, “Defendant”).

           7589. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7590. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to CVS.

           7591. Under Indiana law, Defendant had a duty to exercise reasonable care in transporting

    and storing products.



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           7592. Defendant breached this duty by failing to implement or enforce policies to ensure

    its Ranitidine-Containing Products remained free from excessive heat and humidity, as required

    both by the duty of reasonable care and the label.

           7593. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and

    Indiana CVS Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7594. The latent injuries from which Plaintiffs and the Indiana CVS Medical Monitoring

    Class members suffer require specialized testing (with resultant treatment) that is not generally

    given to the public at large. The available monitoring regime is specific for individuals exposed

    to products known to significantly increase the risk of the Subject Cancers because of ingesting

    Ranitidine-Containing Products and is different from that normally recommended in the absence

    of exposure to this risk of harm.

           7595. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7596. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7597. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana CVS

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without


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    adequate treatment will be significantly reduced.

           7598. Plaintiffs and the Indiana CVS Medical Monitoring Class members seek creation

    of a Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the Indiana CVS Medical Monitoring Class members for the Subject

    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the Indiana CVS Medical Monitoring Class members as frequently

    and appropriately as necessary.

           7599. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana CVS Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7600. Plaintiffs and the Indiana CVS Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Indiana CVS Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

         3. Ohio

                                            COUNT 436:
       Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           7601. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91



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    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7602. This cause of action is brought by Chris Troyan and Patricia Hess, individually and

    on behalf of the Ohio CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against CVS (for the purposes of this Count, “Defendant”).

           7603. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7604. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to CVS.

           7605. Under Ohio law, Defendant has the duty to provide an adequate warning of the risks

    associated with its product that it knows or should have known about, and a duty to provide

    adequate post-marketing warnings or instructions.

           7606. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on its Ranitidine-Containing Products were inadequate because The expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

           7607. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Ohio CVS Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7608. The latent injuries from which Plaintiffs and the Ohio CVS Medical Monitoring

    Class members suffer require specialized testing (with resultant treatment) that is not generally

    given to the public at large. The available monitoring regime is specific for individuals exposed

    to products known to significantly increase the risk of the Subject Cancers because of ingesting

    Ranitidine-Containing Products and is different from that normally recommended in the absence

    of exposure to this risk of harm.

           7609. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7610. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7611. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio CVS

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7612. Plaintiffs and the Ohio CVS Medical Monitoring Class members seek creation of a

    Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the Ohio CVS Medical Monitoring Class members for the Subject


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    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the Ohio CVS Medical Monitoring Class members as frequently

    and appropriately as necessary.

           7613. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio CVS Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7614. Plaintiffs and the Ohio CVS Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Ohio CVS Medical Monitoring Class members will continue to face an unreasonable risk of injury

    and disability and remain undiagnosed.

                                            COUNT 437:
                                 Negligent Product Containers – Ohio

           7615. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and



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    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7616. This cause of action is brought by Chris Troyan and Patricia Hess, individually and

    on behalf of the Ohio CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against CVS (for the purposes of this Count, “Defendant”).

           7617. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7618. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to CVS.

           7619. Under Ohio law, Defendant had a duty to exercise reasonable care in choosing and

    making the containers for its products.

           7620. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7621. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Ohio CVS Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7622. The latent injuries from which Plaintiffs and the Ohio CVS Medical Monitoring

    Class members suffer require specialized testing (with resultant treatment) that is not generally

    given to the public at large. The available monitoring regime is specific for individuals exposed

    to products known to significantly increase the risk of the Subject Cancers because of ingesting


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    Ranitidine-Containing Products and is different from that normally recommended in the absence

    of exposure to this risk of harm.

           7623. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7624. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7625. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio CVS

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7626. Plaintiffs and the Ohio CVS Medical Monitoring Class members seek creation of a

    Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the Ohio CVS Medical Monitoring Class members for the Subject

    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the Ohio CVS Medical Monitoring Class members as frequently

    and appropriately as necessary.

           7627. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio CVS Medical Monitoring Class members in writing that they may require


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    frequent medical monitoring for the purpose of diagnosis.

           7628. Plaintiffs and the Ohio CVS Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Ohio CVS Medical Monitoring Class members will continue to face an unreasonable risk of injury

    and disability and remain undiagnosed.

                                             COUNT 438:
                              Negligent Storage and Transportation – Ohio

           7629. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7630. This cause of action is brought by Chris Troyan and Patricia Hess, individually and

    on behalf of the Ohio CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against CVS (for the purposes of this Count, “Defendant”).

           7631. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..



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           7632. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to CVS.

           7633. Under Ohio law, Defendant has a duty to exercise reasonable care in transporting

    and storing products.

           7634. Defendant breached this duty by failing to implement or enforce policies to ensure

    its Ranitidine-Containing Products remained free from excessive heat and humidity, as required

    both by the duty of reasonable care and the label.

           7635. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, Plaintiffs and Ohio CVS Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7636. The latent injuries from which Plaintiffs and the Ohio CVS Medical Monitoring

    Class members suffer require specialized testing (with resultant treatment) that is not generally

    given to the public at large. The available monitoring regime is specific for individuals exposed

    to products known to significantly increase the risk of the Subject Cancers because of ingesting

    Ranitidine-Containing Products and is different from that normally recommended in the absence

    of exposure to this risk of harm.

           7637. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7638. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7639. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio CVS

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7640. Plaintiffs and the Ohio CVS Medical Monitoring Class members seek creation of a

    Court-supervised, defendant-funded medical monitoring program which will facilitate the

    diagnoses of Plaintiffs and the Ohio CVS Medical Monitoring Class members for the Subject

    Cancers. The medical monitoring should include a trust fund to pay for the medical monitoring

    and diagnosis of Plaintiffs and the Ohio CVS Medical Monitoring Class members as frequently

    and appropriately as necessary.

           7641. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio CVS Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7642. Plaintiffs and the Ohio CVS Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Ohio CVS Medical Monitoring Class members will continue to face an unreasonable risk of injury

    and disability and remain undiagnosed.


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         4. West Virginia


                                        COUNT 439:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

           7643. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7644. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against CVS (for the purposes of this Count, “Defendant”).

           7645. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7646. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to CVS.

           7647. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           7648. Under West Virginia law, Defendant has the duty to provide an adequate warning

    of the risks of its products if it is reasonably foreseeable that the product would be unreasonably


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    dangerous if distributed without a particular warning.

           7649. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7650. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7651. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and West Virginia CVS Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7652. The latent injuries from which Plaintiffs and the West Virginia CVS Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7653. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           7654. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7655. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    CVS Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7656. Plaintiffs and the West Virginia CVS Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia CVS Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the West Virginia CVS Medical Monitoring

    Class members as frequently and appropriately as necessary.

           7657. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia CVS Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7658. Plaintiffs and the West Virginia CVS Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the West Virginia CVS Medical Monitoring Class members will continue to face an


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    unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 440:
                  Medical Monitoring – Negligent Product Containers – West Virginia

           7659. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7660. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against CVS (for the purposes of this Count, “Defendant”).

           7661. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

           7662. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to CVS.

           7663. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing various types of serious and potentially fatal Subject Cancers.

           7664. Under West Virginia law, Defendant has a duty to exercise reasonable care in

    choosing and making the containers for its products.



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           7665. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7666. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and West Virginia CVS

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7667. The latent injuries from which Plaintiffs and the West Virginia CVS Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7668. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7669. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7670. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    CVS Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.


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           7671. Plaintiffs and the West Virginia CVS Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia CVS Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the West Virginia CVS Medical Monitoring

    Class members as frequently and appropriately as necessary.

           7672. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia CVS Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7673. Plaintiffs and the West Virginia CVS Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the West Virginia CVS Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 441:
           Medical Monitoring – Negligent Storage and Transportation – West Virginia

           7674. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after



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    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 451-55 (describing

    Store-Brand Defendants’ failure to warn), 456-506 (describing CVS-specific allegations), and

    975-85 (describing Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

           7675. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia CVS Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against CVS (for the purposes of this Count, “Defendant”).

           7676. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling CVS Health-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

           7677. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to CVS.

           7678. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           7679. Under West Virginia law, Defendant has a duty to exercise reasonable care in

    transporting and storing products.

           7680. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products remained free from excessive heat and humidity, as required both

    by the duty of reasonable care and the label.

           7681. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and West

    Virginia CVS Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer


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    economic losses and expenses associated with ongoing medical monitoring.

           7682. The latent injuries from which Plaintiffs and the West Virginia CVS Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7683. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7684. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7685. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    CVS Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7686. Plaintiffs and the West Virginia CVS Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia CVS Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the West Virginia CVS Medical Monitoring

    Class members as frequently and appropriately as necessary.


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           7687. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia CVS Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7688. Plaintiffs and the West Virginia CVS Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the West Virginia CVS Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

    M. CAUSES OF ACTION AGAINST DEFENDANT RITE AID WITH RESPECT TO
       RITE AID-BRANDED RANITIDINE

           7689. Plaintiffs identified in the table below bring claims against Defendant CVS with

    respect to Rite Aid-branded OTC ranitidine on behalf of themselves and their respective State Rite

    Aid Medical Monitoring Class under the laws of their respective states of usage. Each Plaintiff

    incorporates by reference the allegations specific to them from Section III.B and the allegations

    set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage
             Golbenaz Bakhtiar                                 CA

             Richard Obrien                                    CA




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                                          COUNT 442:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            7690. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 507-43 (describing Rite Aid-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7691. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Rite Aid Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Rite Aid (for the purposes of this Count, “Defendant”).

            7692. The allegations in this Count apply to Rite Aid during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling its Rite Aid-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated by reference.

            7693. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Rite Aid.

            7694.    Under California law, Defendant had a duty of reasonable care to adequately warn

    of a particular risk that was known or knowable in light of the generally recognized and prevailing

    best scientific and medical knowledge available at the time of manufacture and distribution.

            7695. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe



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    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7696. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7697. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Rite Aid Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7698. The latent injuries from which Plaintiffs and the California Rite Aid Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7699. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7700. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           7701. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Rite

    Aid Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7702. Plaintiffs and the California Rite Aid Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Rite Aid Medical Monitoring

    Class members as frequently and appropriately as necessary.

           7703. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Rite Aid Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7704. Plaintiffs and the California Rite Aid Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the California Rite Aid Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 443:
                              Negligent Product Containers – California



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            7705. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 507-43 (describing Rite Aid-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7706. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Rite Aid Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Rite Aid (for the purposes of this Count, “Defendant”).

            7707. The allegations in this Count apply to Rite Aid during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling its Rite Aid-branded Ranitidine-

    Containing Products. The relevant time period is alleged in paragraphs 172-84, which are

    incorporated by reference.

            7708. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Rite Aid.

            7709. Under California law, Defendant had a duty to exercise reasonable care in choosing

    and making the containers for its products.

            7710. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            7711. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and California Rite Aid


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    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7712. The latent injuries from which Plaintiff and the California Rite Aid Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7713. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7714. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7715. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Rite

    Aid Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7716. Plaintiffs and the California Rite Aid Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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    the medical monitoring and diagnosis of Plaintiffs and the California Rite Aid Medical Monitoring

    Class members as frequently and appropriately as necessary.

           7717. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Rite Aid Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7718. Plaintiffs and the California Rite Aid Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the California Rite Aid Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 444:
                          Negligent Storage and Transportation – California

           7719. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 507-43 (describing Rite Aid-specific allegations), and 975-85 (describing



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    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7720. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Rite Aid Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Rite Aid (for the purposes of this Count, “Defendant”).

            7721. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Rite Aid-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7722. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Rite Aid.

            7723. Under California law, Defendant had a duty to exercise reasonable care in

    transporting and storing products.

            7724. Defendant breached this duty by failing to implement or enforce policies to ensure

    its Ranitidine-Containing Products remained free from excessive heat and humidity, as required

    both by the duty of reasonable care and the label.

            7725. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiff and

    California Rite Aid Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            7726. The latent injuries from which Plaintiff and the California Rite Aid Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7727. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7728. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7729. By monitoring and testing Plaintiffs, the risk that Plaintiff and the California Rite

    Aid Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           7730. Plaintiff and the California Rite Aid Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiff and the California Rite Aid Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiff and the California Rite Aid Medical Monitoring Class

    members as frequently and appropriately as necessary.

           7731. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Rite Aid Medical Monitoring Class members in writing that they may


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    require frequent medical monitoring for the purpose of diagnosis.

           7732. Plaintiff and the California Rite Aid Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiff

    and the California Rite Aid Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

    N. CAUSES OF ACTION AGAINST DEFENDANT WALGREENS WITH RESPECT
       TO WAL-ZAN-BRANDED RANITIDINE

           7733. Plaintiffs identified in the table below bring claims against Defendant CVS with

    respect to Wal-Zan-branded OTC ranitidine on behalf of themselves and their respective State

    Walgreens Medical Monitoring Class under the laws of their respective states of usage. Each

    Plaintiffs incorporates by reference the allegations specific to them from Section III.B. and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Tangie Sims                                       AZ

             Golbenaz Bakhtiar                                 CA
             Jonathan Ferguson                                 CA
             Jeffrey Pisano                                    CO
             Ronald Ragan                                      CO
             Ronald Ragis                                      FL


         1. Arizona

                                          COUNT 445:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

           7734. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

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    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7735. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Walgreens Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Walgreens (for the purposes of this Count, “Defendant”).

            7736. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

            7737. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Walgreens.

            7738. Under Arizona law, Defendant has a duty of reasonable care to adequately warn of

    a particular risk that was known or knowable in light of the generally recognized and prevailing

    best scientific and medical knowledge available at the time of manufacture and distribution.

            7739. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            7740. Plaintiffs or their doctors would have read and heeded these warnings had they been


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    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7741. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Walgreens Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7742. The latent injuries from which Plaintiffs and the Arizona Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7743. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7744. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7745. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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    without adequate treatment will be significantly reduced.

           7746. Plaintiffs and the Arizona Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Walgreens Medical Monitoring

    Class members as frequently and appropriately as necessary.

           7747. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7748. Plaintiffs and the Arizona Walgreens Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Arizona Walgreens Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 446:
                               Negligent Product Containers – Arizona

           7749. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),



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    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7750. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Walgreens Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Walgreens (for the purposes of this Count, “Defendant”).

            7751. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

            7752. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walgreens.

            7753. Under Arizona law, Defendant has a duty to exercise reasonable care in choosing

    and making the containers for its products.

            7754. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            7755. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Arizona Walgreens

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses


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    and expenses associated with ongoing medical monitoring.

           7756. The latent injuries from which Plaintiffs and the Arizona Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7757. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7758. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7759. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7760. Plaintiffs and the Arizona Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Walgreens Medical Monitoring

    Class members as frequently and appropriately as necessary.


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            7761. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            7762. Plaintiffs and the Arizona Walgreens Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Arizona Walgreens Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 447:
                            Negligent Storage and Transportation – Arizona

            7763. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7764. This cause of action is brought by Tangie Sims, individually and on behalf of the



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    Arizona Walgreens Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Walgreens (for the purposes of this Count, “Defendant”).

           7765. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

           7766. Plaintiffs also incorporates herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Walgreens.

           7767. Under Arizona law, Defendant has a duty to exercise reasonable care in transporting

    and storing products.

           7768. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products remained free from excessive heat and humidity, as required both

    by the duty of reasonable care and the label.

           7769. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Arizona Walgreens

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7770. The latent injuries from which Plaintiffs and the Arizona Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.


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           7771. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7772. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7773. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7774. Plaintiffs and the Arizona Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Walgreens Medical Monitoring

    Class members as frequently and appropriately as necessary.

           7775. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7776. Plaintiffs and the Arizona Walgreens Medical Monitoring Class have an inadequate


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    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Arizona Walgreens Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

          2. California

                                          COUNT 448:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            7777. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7778. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Walgreens Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Walgreens (for the purposes of this Count, “Defendant”).

            7779. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7780. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-



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    Specific Allegations) as to Walgreens.

           7781.   Under California law, Defendant has a duty of reasonable care to adequately warn

    of a particular risk that was known or knowable in light of the generally recognized and prevailing

    best scientific and medical knowledge available at the time of manufacture and distribution.

           7782. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7783. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7784. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Walgreens

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7785. The latent injuries from which Plaintiffs and the California Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7786. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7787. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7788. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7789. Plaintiffs and the California Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Walgreens Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7790. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7791. Plaintiffs and the California Walgreens Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Walgreens Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 449:
                                Negligent Product Containers – California

            7792. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7793. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Walgreens Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Walgreens (for the purposes of this Count, “Defendant”).

            7794. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7795. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walgreens.

            7796. Under California law, Defendant had a duty to exercise reasonable care in choosing



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    and making the containers for its products.

           7797. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7798. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and California Walgreens

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7799. The latent injuries from which Plaintiffs and the California Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7800. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7801. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7802. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses


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    without adequate treatment will be significantly reduced.

           7803. Plaintiffs and the California Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Walgreens Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7804. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7805. Plaintiffs and the California Walgreens Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Walgreens Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 450:
                         Negligent Storage and Transportation – California

           7806. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),



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    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7807. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Walgreens Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Walgreens (for the purposes of this Count, “Defendant”).

            7808. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7809. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Walgreens.

            7810. Under California law, Defendant had a duty to exercise reasonable care in

    transporting and storing products.

            7811. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products remained free from excessive heat and humidity, as required both

    by the duty of reasonable care and the label.

            7812. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and

    California Walgreens Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer


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    economic losses and expenses associated with ongoing medical monitoring.

           7813. The latent injuries from which Plaintiffs and the California Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7814. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7815. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7816. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7817. Plaintiffs and the California Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Walgreens Medical

    Monitoring Class members as frequently and appropriately as necessary.


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            7818. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            7819. Plaintiffs and the California Walgreens Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffsand the California Walgreens Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

          3. Colorado

                                         COUNT 451:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

            7820. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.



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           7821. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Walgreens Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Walgreens (for the purposes of this Count, “Defendant”).

           7822. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

           7823. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Walgreens.

           7824. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing various types of serious and potentially fatal Subject Cancers.

           7825. Under Colorado law, Defendant has a duty of reasonable care to provide adequate

    warnings or instructions for use that adequately inform the user of any specific risk of harm that

    may be involved in any intended or reasonably expected use.

           7826. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7827. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7828. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Colorado Walgreens

    Medical Monitoring Class members have sustained a significantly increased risk of developing


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    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7829. The latent injuries from which Plaintiffs and the Colorado Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7830. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7831. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7832. By monitoring and testing Plaintiffs, the risk that Plaintiffs sand the Colorado

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7833. Plaintiffs and the Colorado Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Walgreens Medical


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    Monitoring Class members as frequently and appropriately as necessary.

            7834. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            7835. Plaintiffs and the Colorado Walgreens Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Walgreens Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 452:
                   Medical Monitoring – Negligent Product Containers – Colorado

            7836. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.



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           7837. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Walgreens Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Walgreens (for the purposes of this Count, “Defendant”).

           7838. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

           7839. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walgreens.

           7840. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing various types of serious and potentially fatal Subject Cancers

           7841. Under Colorado law, Defendant has a duty to exercise reasonable care in choosing

    and making the containers for its products.

           7842. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           7843. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Colorado Walgreens

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7844. The latent injuries from which Plaintiffs and the Colorado Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7845. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7846. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7847. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7848. Plaintiffs and the Colorado Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Walgreens Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7849. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Walgreens Medical Monitoring Class members in writing that they may


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    require frequent medical monitoring for the purpose of diagnosis.

            7850. Plaintiffs and the Colorado Walgreens Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Walgreens Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 453:
               Medical Monitoring – Negligent Storage and Transportation – Colorado

            7851. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7852. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Walgreens Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Walgreens (for the purposes of this Count, “Defendant”).

            7853. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.



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           7854. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Walgreens.

           7855. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing various types of serious and potentially fatal Subject Cancers.

           7856. Under Colorado law, Defendant has a duty to exercise reasonable care in

    transporting and storing products.

           7857. Defendant breached this duty by failing to implement or enforce policies to ensure

    its Ranitidine-Containing Products remained free from excessive heat and humidity, as required

    both by the duty of reasonable care and the label.

           7858. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the

    Colorado Walgreens Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7859. The latent injuries from which Plaintiffs and the Colorado Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7860. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           7861. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7862. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7863. Plaintiffs and the Colorado Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Walgreens Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Walgreens Medical

    Monitoring Class members as frequently and appropriately as necessary.

           7864. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7865. Plaintiffs and the Colorado Walgreens Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the Colorado Walgreens Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

          4. Florida

                                         COUNT 454:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

            7866. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7867. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Walgreens Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Walgreens (for the purposes of this Count, “Defendant”).

            7868. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7869. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Walgreens.

            7870. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing various types of serious and potentially fatal Subject Cancers.



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           7871. Under Florida law, Defendant has the duty of reasonable care to provide an

    adequate warning of a particular risk that was known or knowable in light of the generally

    recognized and prevailing best scientific and medical knowledge available at the time of

    manufacture and distribution.

           7872. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7873. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7874. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida Walgreens Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7875. The latent injuries from which Plaintiffs and the Florida Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7876. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7877. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7878. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7879. Plaintiffs and the Florida Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Walgreens Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Florida Walgreens Medical Monitoring Class

    members as frequently and appropriately as necessary.

           7880. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7881. Plaintiffs and the Florida Walgreens Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term


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    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Florida Walgreens Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

            7882. Under Florida law, manufacturers, including Defendant, have a duty of reasonable

    care to warn of particular risks that are known or knowable in light of the generally recognized

    and prevailing scientific and medical knowledge available at the time of manufacture and

    distribution.

            7883. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            7884. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

                                          COUNT 455:
                    Medical Monitoring – Negligent Product Containers – Florida

            7885. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’



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    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7886. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Walgreens Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Walgreens (for the purposes of this Count, “Defendant”).

            7887. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7888. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walgreens.

            7889. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing various types of serious and potentially fatal Subject Cancers.

            7890. Under Florida law, Defendant has a duty to exercise reasonable care in choosing

    and making the containers for its products.

            7891. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            7892. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Florida Walgreens

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

            7893. The latent injuries from which Plaintiffs and the Florida Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7894. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7895. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7896. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7897. Plaintiffs and the Florida Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Walgreens Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Florida Walgreens Medical Monitoring Class

    members as frequently and appropriately as necessary.

           7898. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            7899. Plaintiffs and the Florida Walgreens Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Florida Walgreens Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 456:
                      Medical Monitoring – Storage and Transportation – Florida

            7900. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 544-86 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7901. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against Walgreens

    (for the purposes of this Count, “Defendant”).

            7902. The allegations in this Count apply to Defendant during the time period in which it



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    was manufacturing, shipping, storing, handling, and/or selling Wal-Zan-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

           7903. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Walgreens.

           7904. Plaintiff’s exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing various types of serious and potentially fatal Subject Cancers.

           7905. Under Florida law, Defendant has a duty to exercise reasonable care in transporting

    and storing products.

           7906. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products remained free from excessive heat and humidity, as required both

    by the duty of reasonable care and the label.

           7907. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and

    Florida Walgreens Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           7908. The latent injuries from which Plaintiffs and the Florida Walgreens Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7909. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7910. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7911. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida

    Walgreens Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7912. Plaintiffs and the Florida Walgreens Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Walgreens Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Florida Walgreens Medical Monitoring Class

    members as frequently and appropriately as necessary.

           7913. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Walgreens Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7914. Plaintiffs and the Florida Walgreens Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term


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    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Florida Walgreens Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

    O. CAUSES OF ACTION AGAINST DEFENDANT WALMART WITH RESPECT TO
       EQUATE-BRANDED RANITIDINE

           7915. Plaintiffs identified in the table below bring claims against Defendant Walmart with

    respect to Equate-branded ranitidine on behalf of themselves and their respective State Walmart

    Prescription Medical Monitoring Class under the laws of their respective states of usage. Each

    Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Tangie Sims                                       AZ

             Jonathan Ferguson                                 CA
             Jeffrey Pisano                                    CO
             Ronald Ragan                                      CO
             Michael Tomlinson                                 FL
             Mynetta Hastings                                  WV

         1. Arizona

    COUNT 457:
    Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

           7916. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

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    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7917. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Walmart (for the purposes of this Count, “Defendant”).

            7918. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7919. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Walmart.

            7920. Under Arizona law, Defendant has a duty of reasonable care to adequately warn of

    a particular risk that was known or knowable in light of the generally recognized and prevailing

    best scientific and medical knowledge available at the time of manufacture and distribution.

            7921. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            7922. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            7923. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Arizona Walmart Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7924. The latent injuries from which Plaintiffs and the Arizona Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7925. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7926. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7927. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7928. Plaintiffs and the Arizona Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Walmart Medical Monitoring Class members


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    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Arizona Walmart Medical Monitoring Class

    members as frequently and appropriately as necessary.

           7929. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Walmart Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7930. Plaintiffs and the Arizona Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Arizona Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 458:
                               Negligent Product Containers – Arizona

           7931. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’



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    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7932. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Walmart (for the purposes of this Count, “Defendant”).

            7933. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7934. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walmart.

            7935. Under Arizona law, Defendant has a duty to exercise reasonable care in choosing

    and making the containers for its products.

            7936. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            7937. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Arizona Walmart

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

            7938. The latent injuries from which Plaintiffs and the Arizona Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7939. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7940. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7941. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7942. Plaintiffs and the Arizona Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Walmart Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Arizona Walmart Medical Monitoring Class

    members as frequently and appropriately as necessary.

           7943. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Walmart Medical Monitoring Class members in writing that they may require


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    frequent medical monitoring for the purpose of diagnosis.

            7944. Plaintiffs and the Arizona Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Arizona Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 459:
                            Negligent Storage and Transportation – Arizona

            7945. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7946. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”), against

    Walmart (for the purposes of this Count, “Defendant”).

            7947. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.



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           7948. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Walmart.

           7949. Under Arizona law, Defendant has a duty to exercise reasonable care in transporting

    and storing products.

           7950. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products remained free from excessive heat and humidity, as required both

    by the duty of reasonable care and the label.

           7951. As a direct and proximate result of these systemic, excessive levels of NDMA built

    up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Arizona Walmart

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7952. The latent injuries from which Plaintiffs and the Arizona Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7953. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7954. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7955. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7956. Plaintiffs and the Arizona Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Walmart Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Arizona Walmart Medical Monitoring Class

    members as frequently and appropriately as necessary.

           7957. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Walmart Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           7958. Plaintiffs and the Arizona Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Arizona Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.


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          2. California

                                          COUNT 460:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            7959. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7960. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).

            7961. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7962. Plaintiffs incorporate herein by reference paragraphs Paragraphs 880-906

    (Additional Count-Specific Allegations) as to Walmart.

            7963.    Under California law, Defendant has a duty of reasonable care to adequately warn

    of a particular risk that was known or knowable in light of the generally recognized and prevailing

    best scientific and medical knowledge available at the time of manufacture and distribution.

            7964. Defendant breached this duty for its Ranitidine-Containing Products.             The



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    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           7965. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           7966. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and California Walmart Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           7967. The latent injuries from which Plaintiffs and the California Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7968. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7969. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           7970. By monitoring and testing Plaintiffs, the risk that Plaintiff and the California

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7971. Plaintiffs and the California Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Walmart Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Walmart Medical Monitoring

    Class members as frequently and appropriately as necessary.

           7972. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7973. Plaintiffs and the California Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the California Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.




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                                              COUNT 461:
                                Negligent Product Containers – California

            7974. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7975. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).

            7976. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7977. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walmart.

            7978. Under California law, Defendant had a duty to exercise reasonable care in choosing

    and making the containers for its products.

            7979. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            7980. As a direct and proximate result of this failure, excessive levels of NDMA built up



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    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and California Walmart

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           7981. The latent injuries from which Plaintiffs and the California Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7982. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7983. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7984. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7985. Plaintiffs and the California Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Walmart Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Walmart Medical Monitoring

    Class members as frequently and appropriately as necessary.

           7986. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           7987. Plaintiffs and the California Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the California Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 462:
                          Negligent Storage and Transportation – California

           7988. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’



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    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            7989. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).

            7990. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            7991. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Walmart.

            7992. Under California law, Defendant had a duty to exercise reasonable care in

    transporting and storing products.

            7993. Defendant breached this duty by failing to implement or enforce policies to ensure

    its Ranitidine-Containing Products remained free from excessive heat and humidity, as required

    both by the duty of reasonable care and the label.

            7994. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the

    California Walmart Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            7995. The latent injuries from which Plaintiffs and the California Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals


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    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           7996. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           7997. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           7998. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           7999. Plaintiffs and the California Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Walmart Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Walmart Medical Monitoring

    Class members as frequently and appropriately as necessary.

           8000. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all California Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            8001. Plaintiffs and the California Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the California Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

          3. Colorado

                                         COUNT 463:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

            8002. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8003. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Walmart Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Walmart (for the purposes of this Count, “Defendant”).

            8004. The allegations in this Count apply to Defendant during the time period in which it



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    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

           8005. Plaintiffs incorporate herein by reference paragraphs Paragraphs 880-906

    (Additional Count-Specific Allegations) as to Walmart.

           8006. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8007. Under Colorado law, Defendant has a duty of reasonable care to provide adequate

    warnings or instructions for use that adequately inform the user of any specific risk of harm that

    may be involved in any intended or reasonably expected use.

           8008. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8009. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8010. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Colorado Walmart Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8011. The latent injuries from which Plaintiffs and the Colorado Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8012. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8013. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8014. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8015. Plaintiffs and the Colorado Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Walmart Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Colorado Walmart Medical Monitoring Class

    members as frequently and appropriately as necessary.

           8016. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            8017. Plaintiffs and the Colorado Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Colorado Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 464:
                   Medical Monitoring – Negligent Product Containers – Colorado

            8018. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8019. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Walmart Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Walmart (for the purposes of this Count, “Defendant”).

            8020. The allegations in this Count apply to Defendant during the time period in which it



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    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

           8021. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walmart.

           8022. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8023. Under Colorado law, Defendant has a duty to exercise reasonable care in choosing

    and making the containers for its products.

           8024. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8025. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Colorado Walmart

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           8026. The latent injuries from which Plaintiffs and the Colorado Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8027. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8028. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8029. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8030. Plaintiffs and the Colorado Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Walmart Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Colorado Walmart Medical Monitoring Class

    members as frequently and appropriately as necessary.

           8031. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8032. Plaintiffs and the Colorado Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-


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    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Colorado Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 465:
               Medical Monitoring – Negligent Storage and Transportation – Colorado

            8033. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8034. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Walmart Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Walmart (for the purposes of this Count, “Defendant”).

            8035. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            8036. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Walmart.

            8037. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           8038. Under Colorado law, Defendant has a duty to exercise reasonable care in

    transporting and storing products.

           8039. Defendant breached this duty by failing to implement or enforce policies to ensure

    its Ranitidine-Containing Products remained free from excessive heat and humidity, as required

    both by the duty of reasonable care and the label.

           8040. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and

    Colorado Walmart Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8041. The latent injuries from which Plaintiffs and the Colorado Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8042. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8043. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           8044. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8045. Plaintiffs and the Colorado Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Walmart Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Colorado Walmart Medical Monitoring Class

    members as frequently and appropriately as necessary.

           8046. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8047. Plaintiffs and the Colorado Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Colorado Walmart Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

         4. Florida




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                                         COUNT 466:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

            8048. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8049. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).

            8050. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            8051. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Walmart.

            8052. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8053. Under Florida law, Defendant has the duty of reasonable care to provide an

    adequate warning of a particular risk that was known or knowable in light of the generally

    recognized and prevailing best scientific and medical knowledge available at the time of



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    manufacture and distribution.

           8054. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8055. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8056. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and Florida Walmart Medical

    Monitoring Class members have sustained a significantly increased risk of developing serious and

    potentially fatal Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8057. The latent injuries from which Plaintiffs and the Florida Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8058. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           8059. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8060. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Walmart

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           8061. Plaintiffs and the Florida Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Walmart Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Florida Walmart Medical Monitoring Class

    members as frequently and appropriately as necessary.

           8062. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Walmart Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           8063. Plaintiffs and the Florida Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Florida Walmart Medical Monitoring Class members will continue to face an unreasonable


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    risk of injury and disability and remain undiagnosed.

                                           COUNT 467:
                     Medical Monitoring – Negligent Product Containers – Florida

            8064. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8065. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).

            8066. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            8067. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walmart.

            8068. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8069. Under Florida law, Defendant has a duty to exercise reasonable care in choosing

    and making the containers for its products.



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           8070. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8071. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and Florida Walmart

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           8072. The latent injuries from which Plaintiffs and the Florida Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8073. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8074. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8075. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Walmart

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.


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           8076. Plaintiffs and the Florida Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Walmart Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Florida Walmart Medical Monitoring Class

    members as frequently and appropriately as necessary.

           8077. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Walmart Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           8078. Plaintiffs and the Florida Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Florida Walmart Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

                                          COUNT 468:
               Medical Monitoring – Negligent Storage and Transportation – Florida

           8079. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after



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    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8080. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).

            8081. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

            8082. Plaintiffs also incorporate herein by reference Paragraphs 951-74 (Additional

    Count-Specific Allegations) as to Walmart.

            8083. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8084. Under Florida law, Defendant has a duty to exercise reasonable care in transporting

    and storing products.

            8085. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products remained free from excessive heat and humidity, as required both

    by the duty of reasonable care and the label.

            8086. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and

    Florida Walmart Medical Monitoring Class members have sustained a significantly increased risk


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    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8087. The latent injuries from which Plaintiffs and the Florida Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8088. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8089. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8090. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Walmart

    Medical Monitoring Class members will suffer long-term injuries, disease, and losses without

    adequate treatment will be significantly reduced.

           8091. Plaintiffs and the Florida Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Walmart Medical Monitoring Class members

    for the Subject Cancers. The medical monitoring should include a trust fund to pay for the medical

    monitoring and diagnosis of Plaintiffs and the Florida Walmart Medical Monitoring Class


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    members as frequently and appropriately as necessary.

           8092. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Walmart Medical Monitoring Class members in writing that they may require

    frequent medical monitoring for the purpose of diagnosis.

           8093. Plaintiffs and the Florida Walmart Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Florida Walmart Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

         5. West Virginia

                                        COUNT 469:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

           8094. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing



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    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8095. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).

            8096. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

            8097. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Walmart.

            8098. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8099. Under West Virginia law, Defendant has the duty to provide an adequate warning

    of the risks of its products if it is reasonably foreseeable that the product would be unreasonably

    dangerous if distributed without a particular warning.

            8100. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            8101. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            8102. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of Ranitidine-Containing Products, Plaintiffs and West Virginia Walmart

    Medical Monitoring Class members have sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           8103. The latent injuries from which Plaintiffs and the West Virginia Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8104. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8105. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8106. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8107. Plaintiffs and the West Virginia Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Walmart Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the West Virginia Walmart Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8108. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8109. Plaintiffs and the West Virginia Walmart Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Walmart Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 470:
                Medical Monitoring – Negligent Product Containers – West Virginia

           8110. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’



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    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8111. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).

            8112. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by

    reference..

            8113. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Walmart.

            8114. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing various types of serious and potentially fatal Subject Cancers.

            8115. Under West Virginia law, Defendant has a duty to exercise reasonable care in

    choosing and making the containers for its products.

            8116. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8117. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and West Virginia

    Walmart Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            8118. The latent injuries from which Plaintiffs and the West Virginia Walmart Medical


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    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8119. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8120. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8121. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8122. Plaintiffs and the West Virginia Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Walmart Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the West Virginia Walmart Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8123. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            8124. Plaintiffs and the West Virginia Walmart Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Walmart Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 471:
            Medical Monitoring – Negligent Storage and Transportation – West Virginia

            8125. Plaintiffs incorporate by reference each allegation set forth in paragraphs 78-91

    (describing Store-Brand Defendants), 318-23 (describing the regulatory framework for generics),

    185-249 (describing the recall of ranitidine), 254-91 (describing the breakdown of ranitidine after

    ingestion), 292-304 (describing the breakdown of ranitidine before ingestion), 305-16 (describing

    Defendant’s knowledge), 332-59 (describing good manufacturing practices), 409–31 (describing

    the regulatory framework for drug manufacturers), 451-55 (describing Store-Brand Defendants’

    failure to warn), 587-630 (describing Walgreens-specific allegations), and 975-85 (describing

    Plaintiffs’ use of ranitidine and injury), as if fully stated herein.

            8126. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Walmart Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Walmart (for the purposes of this Count, “Defendant”).



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           8127. The allegations in this Count apply to Defendant during the time period in which it

    was manufacturing, shipping, storing, handling, and/or selling Equate-branded Ranitidine-

    Containing Products, which is set forth in paragraphs 172-84 and incorporated herein by reference.

           8128. Plaintiffs also incorporate herein by reference paragraphs Paragraphs 951-74

    (Additional Count-Specific Allegations) as to Walmart.

           8129. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8130. Under West Virginia law, Defendant has a duty to exercise reasonable care in

    transporting and storing products.

           8131. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products remained free from excessive heat and humidity, as required both

    by the duty of reasonable care and the label.

           8132. As a direct and proximate result of these systemic failures, excessive levels of

    NDMA built up in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and West

    Virginia Walmart Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8133. The latent injuries from which Plaintiffs and the West Virginia Walmart Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.


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           8134. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8135. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8136. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Walmart Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8137. Plaintiffs and the West Virginia Walmart Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Walmart Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the West Virginia Walmart Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8138. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Walmart Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8139. Plaintiffs and the West Virginia Walmart Medical Monitoring Class have an


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    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Walmart Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.


    P. CAUSES OF ACTION AGAINST DEFENDANT APOTEX WITH RESPECT TO
       PRIVATE-LABEL PRODUCT RITE AID RANITIDINE

           8140. Plaintiffs identified in the table below bring claims against Defendant Apotex with

    respect to private-label product Rite Aid ranitidine on behalf of themselves and their respective

    State Apotex Rite Aid Medical Monitoring Class under the laws of their respective states of usage.

    Each Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Golbenaz Bakhtiar                                 CA
             Richard Obrien                                    CA



                                          COUNT 472:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

           8141. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8142. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Apotex Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8143. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8144. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8145.   Under California law, manufacturers, including Defendant have a duty of

    reasonable care to warn of particular risks that are known or knowable in light of the generally

    recognized and prevailing scientific and medical knowledge available at the time of manufacture

    and distribution.

            8146. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            8147. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.


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           8148. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of Ranitidine-Containing Products, Plaintiffs and the California Apotex Rite

    Aid Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8149. The latent injuries from which Plaintiffs and the California Apotex Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8150. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8151. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8152. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Apotex Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8153. Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will


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    facilitate the diagnoses of Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Apotex Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8154. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Apotex Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8155. Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 473:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           8156. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8157. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Apotex Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8158. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8159. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            8160. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

            8161. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

            8162. The FDA was reasonably expected to disseminate this information. No speculation


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    is necessary on this point because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           8163. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           8164. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           8165. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Apotex

    Rite Aid Medical Monitoring Class mhave sustained a significantly increased risk of developing

    serious and potentially fatal Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           8166. The latent injuries from which Plaintiffs and the California Apotex Rite Aid

    Medical Monitoring Class msuffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8167. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8168. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8169. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Apotex Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8170. Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Apotex Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8171. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Apotex Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8172. Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 474:
                                Negligent Product Containers – California

            8173. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8174. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Apotex Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8175. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8176. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8177. Under California law, a pharmaceutical manufacturer, including Defendant, has a



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    duty to exercise reasonable care in choosing and making the containers for its products.

           8178. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8179. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Apotex

    Rite Aid Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8180. The latent injuries from which Plaintiffs and the California Apotex Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8181. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8182. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8183. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Apotex Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and


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    losses without adequate treatment will be significantly reduced.

           8184. Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Apotex Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8185. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Apotex Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8186. Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 475:
                         Negligent Storage and Transportation – California

           8187. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8188. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Apotex Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8189. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8190. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8191. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            8192. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            8193. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand and Generic Manufacturer

    Defendant manufactured, stored, and transported, and therefore Plaintiffs and the California


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    Apotex Rite Aid Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8194. The latent injuries from which Plaintiffs and the California Apotex Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8195. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8196. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8197. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Apotex Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8198. Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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    the medical monitoring and diagnosis of Plaintiffs and the California Apotex Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8199. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Apotex Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8200. Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Apotex Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

    Q. CAUSES OF ACTION AGAINST DEFENDANT APOTEX WITH RESPECT TO
       PRIVATE-LABEL PRODUCT WAL-ZAN RANITIDINE

           8201. Plaintiffs identified in the table below bring claims against Defendant Apotex with

    respect to private-label product Wal-Zan ranitidine on behalf of themselves and their respective

    State Apotex Wal-Zan Medical Monitoring Class under the laws of their respective states of usage.

    Each Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Tangie Sims                                       AZ


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              Golbenaz Bakhtiar                                  CA
              Jeffrey Pisano                                     CO
              Ronald Ragan                                       CO
              Ronald Ragis                                       FL



          1. Arizona

                                          COUNT 476:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            8202. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8203. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Apotex (for the purposes of this Count, “Defendant”).

            8204. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8205. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-



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    Specific Allegations) as to Defendant.

           8206.   Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           8207. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8208. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8209. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Arizona Apotex Wal-

    Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8210. The latent injuries from which Plaintiffs and the Arizona Apotex Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.


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           8211. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8212. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8213. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Apotex

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8214. Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8215. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8216. Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class have an


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    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 477:
                                 Negligent Product Containers – Arizona

            8217. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8218. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Apotex (for the purposes of this Count, “Defendant”).

            8219. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8220. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-



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    Specific Allegations) as to Defendant.

           8221. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           8222. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8223. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Arizona Apotex

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8224. The latent injuries from which Plaintiffs and the Arizona Apotex Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8225. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8226. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           8227. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Apotex

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8228. Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8229. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8230. Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.




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                                             COUNT 478:
                            Negligent Storage and Transportation – Arizona

            8231. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8232. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Apotex (for the purposes of this Count, “Defendant”).

            8233. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8234. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8235. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            8236. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and



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    humidity.

           8237. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.

           8238. The latent injuries from which Plaintiffs and the Arizona Apotex Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8239. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8240. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8241. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Apotex

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           8242. Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8243. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8244. Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

         2. California

                                         COUNT 479:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

           8245. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8246. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

    of the California Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8247. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8248. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8249.   Under California law, manufacturers, including Defendant, have a duty of

    reasonable care to warn of particular risks that are known or knowable in light of the generally

    recognized and prevailing scientific and medical knowledge available at the time of manufacture

    and distribution.

            8250. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            8251. Plaintiffs or their doctors would have read and heeded these warnings had they been


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    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8252. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Apotex

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8253. The latent injuries from which Plaintiffs and the California Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8254. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8255. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8256. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and


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    losses without adequate treatment will be significantly reduced.

           8257. Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8258. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8259. Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 480:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           8260. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8261. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

    of the California Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8262. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8263. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            8264. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

            8265. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably


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    expected to pool and share safety-related information and publicize risks to the medical

    community.

           8266. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           8267. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           8268. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           8269. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Apotex

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8270. The latent injuries from which Plaintiffs and the California Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally


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    recommended in the absence of exposure to this risk of harm.

           8271. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8272. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8273. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8274. Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8275. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.


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            8276. Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 481:
                                Negligent Product Containers – California

            8277. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8278. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

    of the California Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8279. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           8280. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           8281. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           8282. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8283. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Apotex

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8284. The latent injuries from which Plaintiffs and the California Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8285. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8286. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           8287. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8288. Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8289. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8290. Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.




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                                             COUNT 482:
                           Negligent Storage and Transportation – California

            8291. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8292. This cause of action is brought by Golbenaz Bakhtiar, individually and on behalf

    of the California Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8293. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8294. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8295. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            8296. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and



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    humidity.

           8297. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.

           8298. The latent injuries from which Plaintiffs and the California Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8299. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8300. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8301. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.


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           8302. Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8303. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8304. Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

         3. Colorado

                                         COUNT 483:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

           8305. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8306. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Apotex Wal-Zan Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8307. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8308. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8309. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8310.   Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

            8311. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.


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           8312. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8313. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Colorado Apotex

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8314. The latent injuries from which Plaintiffs and the Colorado Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8315. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8316. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8317. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado


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    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8318. Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8319. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8320. Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 484:
                  Medical Monitoring – Negligent Product Containers – Colorado

           8321. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8322. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Apotex Wal-Zan Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8323. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8324. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8325. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8326. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            8327. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8328. As a direct and proximate result of this failure, excessive levels of NDMA built up


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    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Colorado Apotex

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8329. The latent injuries from which Plaintiffs and the Colorado Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8330. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8331. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8332. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8333. Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8334. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8335. Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 485:
              Medical Monitoring – Negligent Storage and Transportation – Colorado

           8336. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8337. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Apotex Wal-Zan Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8338. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8339. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8340. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8341. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            8342. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            8343. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical


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    monitoring.

           8344. The latent injuries from which Plaintiffs and the Colorado Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8345. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8346. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8347. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8348. Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.


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           8349. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Apotex Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

    Plaintiffs and the Colorado Apotex Wal-Zan Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Colorado Apotex Wal-Zan Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

         4. Florida

                                         COUNT 486:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

           8350. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of



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    ranitidine and injury), as if fully stated herein.

            8351. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Apotex (for the purposes of this Count, “Defendant”).

            8352. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8353. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8354. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8355.   Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

            8356. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            8357. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            8358. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Florida Apotex Wal-

    Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8359. The latent injuries from which Plaintiffs and the Florida Apotex Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8360. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8361. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8362. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Apotex

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8363. Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8364. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Apotex Wal-Zan Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8365. Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 487:
                   Medical Monitoring – Negligent Product Containers – Florida

           8366. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8367. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Apotex (for the purposes of this Count, “Defendant”).

            8368. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8369. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8370. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8371. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            8372. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8373. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Florida Apotex

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

            8374. The latent injuries from which Plaintiffs and the Florida Apotex Wal-Zan Medical


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    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8375. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8376. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8377. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Apotex

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8378. Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8379. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Apotex Wal-Zan Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            8380. Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 488:
                Medical Monitoring – Negligent Storage and Transportation – Florida

            8381. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8382. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),



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    against Apotex (for the purposes of this Count, “Defendant”).

           8383. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8384. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           8385. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8386. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           8387. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8388. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           8389. The latent injuries from which Plaintiffs and the Florida Apotex Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8390. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8391. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8392. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Apotex

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8393. Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Apotex Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8394. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Apotex Wal-Zan Medical Monitoring Class members in writing that they may


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    require frequent medical monitoring for the purpose of diagnosis.

            8395. Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Apotex Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          5. West Virginia

                                        COUNT 489:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

            8396. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8397. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8398. The allegations in this Count apply to Apotex during the time period in which it



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    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8399. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           8400. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8401.    Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

           8402. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8403. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8404. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the West Virginia Apotex

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8405. The latent injuries from which Plaintiffs and the West Virginia Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8406. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8407. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8408. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8409. Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Apotex Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Apotex

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8410. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Apotex Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            8411. Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 490:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            8412. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8413. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).



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           8414. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8415. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           8416. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8417. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           8418. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8419. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the West Virginia

    Apotex Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk

    of developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8420. The latent injuries from which Plaintiffs and the West Virginia Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8421. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8422. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8423. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8424. Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Apotex Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Apotex

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8425. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Apotex Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8426. Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk


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    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 491:
            Medical Monitoring – Negligent Storage and Transportation – West Virginia

            8427. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8428. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Apotex Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8429. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8430. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.



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           8431. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8432. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

           8433. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8434. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    West Virginia Apotex Wal-Zan Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           8435. The latent injuries from which Plaintiffs and the West Virginia Apotex Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8436. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           8437. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8438. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Apotex Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8439. Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Apotex Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Apotex

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8440. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Apotex Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8441. Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the West Virginia Apotex Wal-Zan Medical Monitoring Class members will


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    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

    R. CAUSES OF ACTION AGAINST DEFENDANT APOTEX WITH RESPECT TO
       PRIVATE-LABEL PRODUCT EQUATE RANITIDINE

           8442. Plaintiffs identified in the table below bring claims against Defendant Apotex with

    respect to private-label product Equate ranitidine on behalf of themselves and their respective State

    Apotex Equate Medical Monitoring Class under the laws of their respective states of usage. Each

    Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Tangie Sims                                       AZ
             Jeffrey Pisano                                    CO
             Ronald Ragan                                      CO
             Michael Tomlinson                                 FL
             Mynetta Hastings                                  WV



         1. Arizona

                                          COUNT 492:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

           8443. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

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    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8444. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Apotex Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Apotex (for the purposes of this Count, “Defendant”).

            8445. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8446. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8447.   Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

            8448. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            8449. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            8450. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Arizona Apotex


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    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8451. The latent injuries from which Plaintiffs and the Arizona Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8452. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8453. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8454. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Apotex

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8455. Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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    the medical monitoring and diagnosis of Plaintiffs and the Arizona Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8456. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Apotex Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8457. Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 493:
                               Negligent Product Containers – Arizona

           8458. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to



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    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8459. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Apotex Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Apotex (for the purposes of this Count, “Defendant”).

            8460. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8461. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8462. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            8463. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8464. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Arizona Apotex

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            8465. The latent injuries from which Plaintiffs and the Arizona Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8466. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8467. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8468. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Apotex

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8469. Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8470. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Apotex Equate Medical Monitoring Class members in writing that they may


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    require frequent medical monitoring for the purpose of diagnosis.

            8471. Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 494:
                            Negligent Storage and Transportation – Arizona

            8472. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8473. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Apotex Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Apotex (for the purposes of this Count, “Defendant”).

            8474. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           8475. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           8476. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           8477. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8478. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.

           8479. The latent injuries from which Plaintiffs and the Arizona Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8480. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           8481. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8482. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Apotex

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8483. Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8484. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Apotex Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8485. Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the Arizona Apotex Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

          2. Colorado

                                         COUNT 495:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

            8486. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8487. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Apotex Equate Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8488. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8489. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8490. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased



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    their risk of developing serious and potentially fatal Subject Cancers.

           8491.    Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

           8492. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8493. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8494. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Colorado Apotex

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8495. The latent injuries from which Plaintiffs and the Colorado Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8496. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8497. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8498. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Apotex Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8499. Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8500. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Apotex Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8501. Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 496:
                   Medical Monitoring – Negligent Product Containers – Colorado

            8502. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8503. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Apotex Equate Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8504. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8505. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           8506. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8507. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           8508. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8509. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Colorado Apotex

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8510. The latent injuries from which Plaintiffs and the Colorado Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8511. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8512. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           8513. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Apotex Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8514. Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8515. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Apotex Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8516. Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.




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                                           COUNT 497:
               Medical Monitoring – Negligent Storage and Transportation – Colorado

            8517. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8518. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Apotex Equate Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8519. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8520. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8521. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8522. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.



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           8523. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8524. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           8525. The latent injuries from which Plaintiffs and the Colorado Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8526. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8527. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8528. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado


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    Apotex Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8529. Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8530. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Apotex Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

    Plaintiffs and the Colorado Apotex Equate Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Colorado Apotex Equate Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

         3. Florida

                                         COUNT 498:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida



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            8531. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8532. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Apotex Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8533. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8534. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8535. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8536.   Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.


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           8537. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8538. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8539. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Florida Apotex

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8540. The latent injuries from which Plaintiffs and the Florida Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8541. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8542. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8543. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Apotex

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8544. Plaintiffs and the Florida Apotex Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Apotex Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8545. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Apotex Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8546. Plaintiffs and the Florida Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Apotex Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.


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                                           COUNT 499:
                     Medical Monitoring – Negligent Product Containers – Florida

            8547. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8548. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Apotex Equate Medical Monitoring Class             (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8549. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8550. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8551. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8552. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.



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           8553. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8554. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Florida Apotex

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8555. The latent injuries from which Plaintiffs and the Florida Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8556. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8557. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8558. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Apotex

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           8559. Plaintiffs and the Florida Apotex Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Apotex Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8560. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Apotex Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8561. Plaintiffs and the Florida Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Apotex Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 500:
               Medical Monitoring – Negligent Storage and Transportation – Florida

           8562. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8563. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Apotex Equate Medical Monitoring Class             (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8564. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8565. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8566. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8567. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            8568. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            8569. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and


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    transported, and therefore Plaintiffs and the Florida Apotex Equate Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           8570. The latent injuries from which Plaintiffs and the Florida Apotex Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           8571. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8572. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8573. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Apotex

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           8574. Plaintiffs and the Florida Apotex Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Apotex Equate Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Apotex Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           8575. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Apotex Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           8576. Plaintiffs and the Florida Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Apotex Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

         6. West Virginia

                                        COUNT 501:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

           8577. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8578. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Apotex Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8579. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8580. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8581. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8582.   Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

            8583. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            8584. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the


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    use of the Ranitidine-Containing Products.

           8585. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the West Virginia Apotex

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8586. The latent injuries from which Plaintiffs and the West Virginia Apotex Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8587. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8588. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8589. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Apotex Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8590. Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class members


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    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Apotex Equate Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Apotex Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.

           8591. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Apotex Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8592. Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 502:
                Medical Monitoring – Negligent Product Containers – West Virginia

           8593. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            8594. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Apotex Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

            8595. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8596. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8597. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8598. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

            8599. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8600. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the West Virginia

    Apotex Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing the Subject Cancers and have suffered and will suffer economic losses and expenses


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    associated with ongoing medical monitoring.

           8601. The latent injuries from which Plaintiffs and the West Virginia Apotex Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8602. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8603. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8604. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Apotex Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8605. Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Apotex Equate Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Apotex Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.


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            8606. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Apotex Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            8607. Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 503:
            Medical Monitoring – Negligent Storage and Transportation – West Virginia

            8608. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 657-706 (describing Apotex-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.



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           8609. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Apotex Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Apotex (for the purposes of this Count, “Defendant”).

           8610. The allegations in this Count apply to Apotex during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8611. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           8612. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8613. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

           8614. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8615. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    West Virginia Apotex Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           8616. The latent injuries from which Plaintiffs and the West Virginia Apotex Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8617. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8618. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8619. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Apotex Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8620. Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Apotex Equate Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Apotex Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.

           8621. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Apotex Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

             8622. Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Apotex Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

    S. CAUSES OF ACTION AGAINST DEFENDANT DR. REDDY’S WITH RESPECT TO
       PRIVATE-LABEL PRODUCT CVS HEALTH RANITIDINE

             8623. Plaintiffs identified in the table below bring claims against Defendant Dr. Reddy’s

    with respect to private-label product CVS Health ranitidine on behalf of themselves and their

    respective State Dr. Reddy’s CVS Health Medical Monitoring Class under the laws of their

    respective states of usage. Each Plaintiff incorporates by reference the allegations specific to them

    from Section III.B and the allegations set forth in Section IV, supra, into their respective claims

    below.

               Plaintiff Name                                  State of Usage

               Richard Obrien                                  CA
               Rebecca Sizemore                                IN
               Chris Troyan                                    OH
               Patricia Hess                                   OH
               Mynetta Hastings                                WV




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          1. California

                                          COUNT 504:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            8624. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8625. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8626. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8627. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8628.   Under California law, manufacturers, including Defendant, have a duty of

    reasonable care to warn of particular risks that are known or knowable in light of the generally

    recognized and prevailing scientific and medical knowledge available at the time of manufacture



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    and distribution.

           8629. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8630. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8631. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Dr.

    Reddy’s CVS Health Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8632. The latent injuries from which Plaintiffs and the California Dr. Reddy’s CVS

    Health Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8633. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           8634. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8635. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8636. Plaintiffs and the California Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s CVS Health

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California

    Dr. Reddy’s CVS Health Medical Monitoring Class members as frequently and appropriately as

    necessary.

           8637. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s CVS Health Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           8638. Plaintiffs and the California Dr. Reddy’s CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or


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    established by the Court, Plaintiffs and the California Dr. Reddy’s CVS Health Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                             COUNT 505:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            8639. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8640. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8641. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8642. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            8643. Under California law, manufacturers, including Defendant, bear “a duty to convey



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    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           8644. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           8645. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           8646. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           8647. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           8648. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Dr.

    Reddy’s CVS Health Medical Monitoring Class members have sustained a significantly increased


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    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8649. The latent injuries from which Plaintiffs and the California Dr. Reddy’s CVS

    Health Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8650. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8651. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8652. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8653. Plaintiffs and the California Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s CVS Health

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California


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    Dr. Reddy’s CVS Health Medical Monitoring Class members as frequently and appropriately as

    necessary.

           8654. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s CVS Health Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           8655. Plaintiffs and the California Dr. Reddy’s CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the California Dr. Reddy’s CVS Health Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                           COUNT 506:
                             Negligent Product Containers – California

           8656. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8657. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8658. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8659. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8660. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            8661. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8662. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Dr.

    Reddy’s CVS Health Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            8663. The latent injuries from which Plaintiffs and the California Dr. Reddy’s CVS

    Health Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is


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    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8664. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8665. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8666. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8667. Plaintiffs and the California Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s CVS Health

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California

    Dr. Reddy’s CVS Health Medical Monitoring Class members as frequently and appropriately as

    necessary.

           8668. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s CVS Health Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

            8669. Plaintiffs and the California Dr. Reddy’s CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the California Dr. Reddy’s CVS Health Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                             COUNT 507:
                           Negligent Storage and Transportation – California

            8670. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8671. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this Count,



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    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

           8672. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8673. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           8674. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           8675. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8676. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore, Plaintiffs and the

    California Dr. Reddy’s CVS Health Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           8677. The latent injuries from which Plaintiffs and the California Dr. Reddy’s CVS

    Health Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally


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    recommended in the absence of exposure to this risk of harm.

           8678. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8679. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8680. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8681. Plaintiffs and the California Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s CVS Health

    Medical Monitoring Class members for the Subject Cancers. The medical monitoring should

    include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California

    Dr. Reddy’s CVS Health Medical Monitoring Class members as frequently and appropriately as

    necessary.

           8682. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s CVS Health Medical Monitoring Class members in writing


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    that they may require frequent medical monitoring for the purpose of diagnosis.

            8683. Plaintiffs and the California Dr. Reddy’s CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the California Dr. Reddy’s CVS Health Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

          2. Indiana

                                          COUNT 508:
             Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

            8684. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8685. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).



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           8686. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8687. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           8688.   Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

    use.

           8689. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8690. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8691. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Indiana Dr. Reddy’s

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8692. The latent injuries from which Plaintiffs and the Indiana Dr. Reddy’s CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8693. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8694. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8695. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8696. Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Dr. Reddy’s

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           8697. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            8698. Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 509:
                Negligence – Failure to Warn Consumers Through the FDA – Indiana

            8699. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8700. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8701. The allegations in this Count apply to Dr. Reddy’s during the time period in which



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    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8702. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

           8703. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law

    based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

    2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

    2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed

    by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

    establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

    … in providing the warnings or instructions.”)

           8704. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

    where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

    reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

    they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

    safety-related information and publicize risks to the medical community.

           8705. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           8706. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.


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           8707. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           8708. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Indiana Dr. Reddy’s

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8709. The latent injuries from which Plaintiffs and the Indiana Dr. Reddy’s CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8710. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8711. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           8712. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8713. Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Dr. Reddy’s

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           8714. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8715. Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 510:
                               Negligent Product Containers – Indiana



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            8716. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8717. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8718. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8719. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8720. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            8721. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8722. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Indiana Dr.


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    Reddy’s CVS Health Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8723. The latent injuries from which Plaintiffs and the Indiana Dr. Reddy’s CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8724. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8725. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8726. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8727. Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust


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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Dr. Reddy’s

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           8728. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8729. Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 511:
                          Negligent Storage and Transportation – Indiana

           8730. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to



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    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8731. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8732. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8733. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8734. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            8735. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            8736. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members have sustained a

    significantly increased risk of developing serious and potentially fatal Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

            8737. The latent injuries from which Plaintiffs and the Indiana Dr. Reddy’s CVS Health


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    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8738. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8739. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8740. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8741. Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Indiana Dr. Reddy’s

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           8742. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            8743. Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Indiana Dr. Reddy’s CVS Health Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          3. Ohio

                                            COUNT 512:
       Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

            8744. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8745. This cause of action is brought by Chris Troyan, and Patricia Hess, individually and



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    on behalf of the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

           8746. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8747. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           8748.   Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

    adequate warning of the risks associated with its product that it knows or should have known about,

    and a duty to provide adequate post-marketing warnings or instructions.

           8749. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on each Ranitidine-Containing Product were inadequate because The expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

           8750. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8751. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Ohio Dr. Reddy’s

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.


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           8752. The latent injuries from which Plaintiffs and the Ohio Dr. Reddy’s CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8753. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8754. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8755. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8756. Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Ohio Dr. Reddy’s CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           8757. Accordingly, Defendant should be required to establish a medical monitoring


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    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Dr. Reddy’s CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            8758. Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 513:
                                   Negligent Product Containers – Ohio

            8759. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8760. This cause of action is brought by Chris Troyan, and Patricia Hess, individually and



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    on behalf of the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

           8761. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8762. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           8763. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           8764. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8765. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Ohio Dr. Reddy’s

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8766. The latent injuries from which Plaintiffs and the Ohio Dr. Reddy’s CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8767. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8768. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8769. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8770. Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Ohio Dr. Reddy’s CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           8771. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Dr. Reddy’s CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8772. Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 514:
                              Negligent Storage and Transportation – Ohio

            8773. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8774. This cause of action is brought Chris Troyan, and Patricia Hess, individually and

    on behalf of the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8775. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8776. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.



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           8777. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           8778. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8779. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Ohio Dr. Reddy’s CVS Health Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           8780. The latent injuries from which Plaintiffs and the Ohio Dr. Reddy’s CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8781. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8782. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           8783. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Dr.

    Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           8784. Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Ohio Dr. Reddy’s CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           8785. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Dr. Reddy’s CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8786. Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Dr. Reddy’s CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         4. West Virginia


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                                        COUNT 515:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

            8787. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8788. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8789. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8790. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8791. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8792.   Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the



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    product would be unreasonably dangerous if distributed without a particular warning.

           8793. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8794. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8795. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the West Virginia Dr.

    Reddy’s CVS Health Medical Monitoring Class members have sustained a significantly increased

    risk of developing the Subject Cancers and have suffered and will suffer economic losses and

    expenses associated with ongoing medical monitoring.

           8796. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s CVS

    Health Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8797. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           8798. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8799. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Dr. Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           8800. Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s CVS

    Health Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class members as frequently and

    appropriately as necessary.

           8801. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           8802. Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or


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    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.

                                           COUNT 516:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            8803. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8804. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8805. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8806. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8807. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased



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    their risk of developing serious and potentially fatal Subject Cancers.

           8808. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           8809. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8810. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the West Virginia Dr.

    Reddy’s CVS Health Medical Monitoring Class members have sustained a significantly increased

    risk of developing the Subject Cancers and have suffered and will suffer economic losses and

    expenses associated with ongoing medical monitoring.

           8811. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s CVS

    Health Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8812. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8813. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           8814. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Dr. Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           8815. Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s CVS

    Health Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class members as frequently and

    appropriately as necessary.

           8816. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           8817. Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.


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                                          COUNT 517:
            Medical Monitoring – Negligent Storage and Transportation – West Virginia

            8818. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8819. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8820. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8821. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8822. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8823. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.



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           8824. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8825. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class members have sustained a

    significantly increased risk of developing the Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8826. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s CVS

    Health Medical Monitoring Class members suffer require specialized testing (with resultant

    treatment) that is not generally given to the public at large. The available monitoring regime is

    specific for individuals exposed to products known to significantly increase the risk of the Subject

    Cancers because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8827. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8828. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8829. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia


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    Dr. Reddy’s CVS Health Medical Monitoring Class members will suffer long-term injuries,

    disease, and losses without adequate treatment will be significantly reduced.

           8830. Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical Monitoring

    Class members seek creation of a Court-supervised, defendant-funded medical monitoring

    program which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s CVS

    Health Medical Monitoring Class members for the Subject Cancers. The medical monitoring

    should include a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs and the

    West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class members as frequently and

    appropriately as necessary.

           8831. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s CVS Health Medical Monitoring Class members in

    writing that they may require frequent medical monitoring for the purpose of diagnosis.

           8832. Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical Monitoring

    Class have an inadequate remedy at law in that monetary damages alone cannot compensate them

    for the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s CVS Health Medical

    Monitoring Class members will continue to face an unreasonable risk of injury and disability and

    remain undiagnosed.




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    T. CAUSES OF ACTION AGAINST DEFENDANT DR. REDDY’S WITH RESPECT TO
       PRIVATE-LABEL PRODUCT WAL-ZAN

           8833. Plaintiffs identified in the table below bring claims against Defendant Dr. Reddy’s

    with respect to private-label product Wal-Zan ranitidine on behalf of themselves and their

    respective State Dr. Reddy’s Wal-Zan Medical Monitoring Class under the laws of their respective

    states of usage. Each Plaintiff incorporates by reference the allegations specific to them from

    Section III.B and the allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State

             Tangie Sims                                       AZ
             Golbenaz Bakhtiar                                 CA
             Jonathan Ferguson                                 CA
             Jeffrey Pisano                                    CO
             Ronald Ragan                                      CO
             Ronald Ragis                                      FL



         1. Arizona

                                          COUNT 518:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

           8834. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to


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    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8835. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8836. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8837. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8838.   Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

            8839. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            8840. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            8841. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Arizona Dr. Reddy’s


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    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8842. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8843. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8844. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8845. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8846. Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust


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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8847. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8848. Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 519:
                               Negligent Product Containers – Arizona

           8849. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to



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    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8850. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8851. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8852. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8853. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            8854. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8855. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Arizona Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            8856. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8857. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8858. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8859. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8860. Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8861. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that


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    they may require frequent medical monitoring for the purpose of diagnosis.

            8862. Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 520:
                            Negligent Storage and Transportation – Arizona

            8863. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8864. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8865. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           8866. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           8867. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           8868. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8869. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           8870. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8871. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           8872. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8873. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8874. Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8875. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8876. Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the Arizona Dr. Reddy’s Wal-Zan Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          2. California

                                          COUNT 521:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            8877. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8878. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Dr. Reddy’s Wal-Zan Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            8879. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8880. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.



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           8881.   Under California law, manufacturers have a duty of reasonable care to warn of

    particular risks that are known or knowable in light of the generally recognized and prevailing

    scientific and medical knowledge available at the time of manufacture and distribution.

           8882. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8883. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8884. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8885. The latent injuries from which Plaintiffs and the California Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8886. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8887. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8888. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8889. Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8890. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8891. Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.


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    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 522:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            8892. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8893. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Dr. Reddy’s Wal-Zan Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            8894. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8895. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.



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           8896. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           8897. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           8898. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           8899. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           8900. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           8901. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Dr.


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    Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8902. The latent injuries from which Plaintiffs and the California Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8903. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8904. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8905. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8906. Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust


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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8907. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8908. Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 523:
                              Negligent Product Containers – California

           8909. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to



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    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8910. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Dr. Reddy’s Wal-Zan Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).

            8911. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8912. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            8913. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            8914. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            8915. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            8916. The latent injuries from which Plaintiffs and the California Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8917. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8918. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8919. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8920. Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8921. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all California Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            8922. Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 524:
                           Negligent Storage and Transportation – California

            8923. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8924. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Dr. Reddy’s Wal-Zan Medical Monitoring Class (for

    the purposes of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count,

    “Defendant”).



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           8925. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           8926. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           8927. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           8928. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8929. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, which Plaintiffs consumed.

    Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class members have

    sustained a significantly increased risk of developing serious and potentially fatal Subject Cancers

    and have suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           8930. The latent injuries from which Plaintiffs and the California Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           8931. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8932. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8933. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8934. Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8935. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8936. Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class have


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    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Dr. Reddy’s Wal-Zan Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

          3. Colorado

                                         COUNT 525:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

            8937. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8938. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8939. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           8940. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           8941. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8942.    Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

           8943. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8944. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8945. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Colorado Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           8946. The latent injuries from which Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8947. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8948. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8949. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8950. Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8951. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that


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    they may require frequent medical monitoring for the purpose of diagnosis.

            8952. Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 526:
                   Medical Monitoring – Negligent Product Containers – Colorado

            8953. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8954. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8955. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           8956. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           8957. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           8958. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           8959. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           8960. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Colorado Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly increased

    risk of developing the Subject Cancers and have suffered and will suffer economic losses and

    expenses associated with ongoing medical monitoring.

           8961. The latent injuries from which Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8962. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           8963. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8964. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8965. Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8966. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           8967. Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the


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    Court, Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 527:
               Medical Monitoring – Negligent Storage and Transportation – Colorado

            8968. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8969. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes

    of this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8970. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8971. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            8972. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           8973. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           8974. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           8975. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           8976. The latent injuries from which Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8977. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           8978. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           8979. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8980. Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members as frequently and appropriately as necessary.

           8981. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

    Plaintiffs and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Colorado Dr. Reddy’s Wal-Zan Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

         4. Florida


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                                         COUNT 528:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

            8982. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8983. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            8984. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            8985. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            8986. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            8987.    Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light



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    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           8988. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           8989. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           8990. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Florida Dr. Reddy’s

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           8991. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           8992. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           8993. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           8994. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           8995. Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members as frequently and appropriately as necessary.

           8996. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           8997. Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 529:
                     Medical Monitoring – Negligent Product Containers – Florida

            8998. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            8999. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9000. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9001. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9002. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           9003. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           9004. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9005. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Florida Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9006. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9007. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9008. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9009. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.


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    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9010. Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members as frequently and appropriately as necessary.

           9011. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9012. Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 530:
               Medical Monitoring – Negligent Storage and Transportation – Florida

           9013. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9014. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9015. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9016. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9017. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9018. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            9019. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.


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           9020. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           9021. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9022. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9023. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9024. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.

    Reddy’s Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9025. Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members


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    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s Wal-Zan

    Medical Monitoring Class members as frequently and appropriately as necessary.

           9026. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9027. Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Dr. Reddy’s Wal-Zan Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

    U. CAUSES OF ACTION AGAINST DEFENDANT DR. REDDY’S WITH RESPECT TO
       PRIVATE-LABEL PRODUCT EQUATE RANITIDINE

           9028. Plaintiffs identified in the table below bring claims against Defendant Dr. Reddy’s

    with respect to private-label product Equate ranitidine on behalf of themselves and their respective

    State Dr. Reddy’s Equate Medical Monitoring Class under the laws of their respective states of

    usage. Each Plaintiff incorporates by reference the allegations specific to them from Section III.B



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    and the allegations set forth in Section VI, supra, into their respective claims below.

              Plaintiff Name                                       State of Usage

              Tangie Sims                                          AZ

              Jonathan Ferguson                                    CA
              Jeffrey Pisano                                       CO
              Ronald Ragan                                         CO
              Michael Tomlinson                                    FL
              Mynetta Hastings                                     WV



          1. Arizona

                                          COUNT 531:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            9029. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9030. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9031. The allegations in this Count apply to Dr. Reddy’s during the time period in which

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    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9032. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           9033.   Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           9034. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9035. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9036. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Arizona Dr. Reddy’s

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9037. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9038. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9039. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9040. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9041. Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9042. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Arizona Dr. Reddy’s Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            9043. Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 532:
                                 Negligent Product Containers – Arizona

            9044. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9045. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9046. The allegations in this Count apply to Dr. Reddy’s during the time period in which



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    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9047. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           9048. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           9049. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9050. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Arizona Dr.

    Reddy’s Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9051. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9052. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           9053. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9054. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9055. Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9056. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Dr. Reddy’s Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9057. Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class members will continue


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    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 533:
                            Negligent Storage and Transportation – Arizona

            9058. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9059. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9060. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9061. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9062. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            9063. Defendant breached this duty by failing to implement or enforce policies to ensure



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    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9064. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Arizona Dr. Reddy’s Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           9065. The latent injuries from which Plaintiffs and the Arizona Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9066. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9067. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9068. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and


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    losses without adequate treatment will be significantly reduced.

           9069. Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Dr. Reddy’s Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9070. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Dr. Reddy’s Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9071. Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Dr. Reddy’s Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         2. California

                                         COUNT 534:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

           9072. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9073. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9074. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9075. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9076.    Under California law, manufacturers, including Defendant, have a duty of

    reasonable care to warn of particular risks that are known or knowable in light of the generally

    recognized and prevailing scientific and medical knowledge available at the time of manufacture

    and distribution.

            9077. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.


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           9078. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9079. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Dr.

    Reddy’s Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9080. The latent injuries from which Plaintiffs and the California Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9081. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9082. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9083. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.


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    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9084. Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Dr. Reddy’s

    Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9085. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Equate Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9086. Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 535:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           9087. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9088. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9089. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9090. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            9091. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

            9092. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may


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    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           9093. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           9094. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           9095. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           9096. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Dr.

    Reddy’s Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9097. The latent injuries from which Plaintiffs and the California Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9098. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9099. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9100. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9101. Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Dr. Reddy’s

    Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9102. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Equate Medical Monitoring Class members in writing that


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    they may require frequent medical monitoring for the purpose of diagnosis.

            9103. Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 536:
                                Negligent Product Containers – California

            9104. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9105. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9106. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           9107. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           9108. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           9109. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9110. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Dr.

    Reddy’s Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9111. The latent injuries from which Plaintiffs and the California Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9112. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9113. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9114. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9115. Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Dr. Reddy’s

    Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9116. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Equate Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9117. Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.


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                                             COUNT 537:
                           Negligent Storage and Transportation – California

            9118. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9119. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9120. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9121. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9122. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            9123. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and



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    humidity.

           9124. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    California Dr. Reddy’s Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           9125. The latent injuries from which Plaintiffs and the California Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9126. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9127. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9128. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.


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           9129. Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Dr. Reddy’s

    Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9130. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Dr. Reddy’s Equate Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9131. Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Dr. Reddy’s Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         3. Colorado

                                         COUNT 538:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

           9132. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9133. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9134. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9135. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9136. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9137.    Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

            9138. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.


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           9139. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9140. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Colorado Dr. Reddy’s

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9141. The latent injuries from which Plaintiffs and the Colorado Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9142. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9143. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9144. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Dr.


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    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9145. Plaintiffs and the Colorado Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Dr. Reddy’s

    Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9146. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Dr. Reddy’s Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9147. Plaintiffs and the Colorado Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Dr. Reddy’s Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 539:
                  Medical Monitoring – Negligent Product Containers – Colorado

           9148. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9149. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9150. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9151. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9152. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9153. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            9154. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            9155. As a direct and proximate result of this failure, excessive levels of NDMA built up


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    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Colorado Dr.

    Reddy’s Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9156. The latent injuries from which Plaintiffs and the Colorado Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9157. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9158. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9159. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9160. Plaintiffs and the Colorado Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Dr. Reddy’s Equate Medical


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    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Dr. Reddy’s

    Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9161. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Dr. Reddy’s Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9162. Plaintiffs and the Colorado Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Dr. Reddy’s Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 540:
              Medical Monitoring – Negligent Storage and Transportation – Colorado

           9163. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9164. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of

    this Count, “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9165. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9166. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9167. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9168. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            9169. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            9170. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Colorado Dr. Reddy’s Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses


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    and expenses associated with ongoing medical monitoring.

           9171. The latent injuries from which Plaintiffs and the Colorado Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9172. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9173. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9174. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9175. Plaintiffs and the Colorado Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the Colorado Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the Colorado Dr. Reddy’s

    Equate Medical Monitoring Class members as frequently and appropriately as necessary.


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           9176. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Dr. Reddy’s Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

    Plaintiffs and the Colorado Dr. Reddy’s Equate Medical Monitoring Class have an inadequate

    remedy at law in that monetary damages alone cannot compensate them for the risk of long-term

    physical and economic losses due to ingesting Ranitidine-Containing Products. Without a court-

    approved medical monitoring program as described herein, or established by the Court, Plaintiffs

    and the Colorado Dr. Reddy’s Equate Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

         4. Florida

                                         COUNT 541:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

           9177. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use



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    of ranitidine and injury), as if fully stated herein.

            9178. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9179. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9180. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9181. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9182.   Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

            9183. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            9184. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            9185. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Florida Dr. Reddy’s

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9186. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9187. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9188. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9189. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9190. Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9191. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9192. Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 542:
                   Medical Monitoring – Negligent Product Containers – Florida

           9193. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9194. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9195. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9196. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9197. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9198. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            9199. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            9200. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Florida Dr.

    Reddy’s Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

            9201. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Equate


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    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9202. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9203. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9204. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9205. Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9206. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            9207. Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 543:
                Medical Monitoring – Negligent Storage and Transportation – Florida

            9208. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9209. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,



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    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

           9210. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9211. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           9212. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9213. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           9214. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9215. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Florida Dr. Reddy’s Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           9216. The latent injuries from which Plaintiffs and the Florida Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9217. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9218. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9219. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Dr.

    Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9220. Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Dr. Reddy’s Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9221. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Dr. Reddy’s Equate Medical Monitoring Class members in writing that they


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    may require frequent medical monitoring for the purpose of diagnosis.

            9222. Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Dr. Reddy’s Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          5. West Virginia

                                        COUNT 544:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

            9223. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9224. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9225. The allegations in this Count apply to Dr. Reddy’s during the time period in which



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    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9226. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           9227. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9228.    Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

           9229. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9230. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9231. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the West Virginia Dr.

    Reddy’s Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9232. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9233. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9234. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9235. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Dr. Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9236. Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Dr.

    Reddy’s Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9237. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s Equate Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            9238. Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                           COUNT 545:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            9239. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9240. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,



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    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

           9241. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9242. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           9243. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9244. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           9245. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9246. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the West Virginia Dr.

    Reddy’s Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9247. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           9248. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9249. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9250. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Dr. Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9251. Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Dr.

    Reddy’s Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9252. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s Equate Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9253. Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring Class


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    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                          COUNT 546:
            Medical Monitoring – Negligent Storage and Transportation – West Virginia

            9254. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 707-44 (describing Dr. Reddy’s-specific allegations), and 975-85 (describing Plaintiffs’ use

    of ranitidine and injury), as if fully stated herein.

            9255. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Dr. Reddy’s Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Dr. Reddy’s (for the purposes of this Count, “Defendant”).

            9256. The allegations in this Count apply to Dr. Reddy’s during the time period in which

    it was manufacturing Ranitidine-Containing Products. The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           9257. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           9258. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9259. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

           9260. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9261. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    West Virginia Dr. Reddy’s Equate Medical Monitoring Class members have sustained a

    significantly increased risk of developing the Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9262. The latent injuries from which Plaintiffs and the West Virginia Dr. Reddy’s Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9263. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9264. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9265. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Dr. Reddy’s Equate Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9266. Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Dr.

    Reddy’s Equate Medical Monitoring Class members as frequently and appropriately as necessary.

           9267. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Dr. Reddy’s Equate Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9268. Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing


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    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Dr. Reddy’s Equate Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

    V. CAUSES OF ACTION AGAINST DEFENDANT PERRIGO WITH RESPECT TO
       PRIVATE-LABEL PRODUCT CVS HEALTH RANITIDINE

           9269. Plaintiffs identified in the table below bring claims against Defendant Perrigo with

    respect to private-label product CVS Health ranitidine on behalf of themselves and their respective

    State Perrigo CVS Health Medical Monitoring Class under the laws of their respective states of

    usage. Each Plaintiff incorporates by reference the allegations specific to them from Section III.B

    and the allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Richard Obrien                                    CA
             Rebecca Sizemore                                  IN
             Chris Troyan                                      OH
             Patricia Hess                                     OH
             Mynetta Hastings                                  WV



         1. California

                                          COUNT 547:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

           9270. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before


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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9271. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9272. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9273. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9274.   Under California law, manufacturers, including Defendant, have a duty of

    reasonable care to warn of particular risks that are known or knowable in light of the generally

    recognized and prevailing scientific and medical knowledge available at the time of manufacture

    and distribution.

            9275. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            9276. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the


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    use of the Ranitidine-Containing Products.

           9277. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Perrigo

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9278. The latent injuries from which Plaintiffs and the California Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9279. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9280. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9281. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9282. Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class


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    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Perrigo CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Perrigo CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           9283. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9284. Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 548:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           9285. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9286. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9287. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9288. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            9289. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

            9290. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.


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           9291. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           9292. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           9293. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           9294. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Perrigo

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9295. The latent injuries from which Plaintiffs and the California Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9296. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9297. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9298. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9299. Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Perrigo CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Perrigo CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           9300. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9301. Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk


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    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 549:
                                Negligent Product Containers – California

            9302. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9303. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9304. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9305. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           9306. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           9307. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9308. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Perrigo

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9309. The latent injuries from which Plaintiffs and the California Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9310. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9311. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9312. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California


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    Perrigo CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9313. Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Perrigo CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Perrigo CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           9314. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9315. Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 550:
                         Negligent Storage and Transportation – California

           9316. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9317. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9318. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9319. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9320. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            9321. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            9322. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and


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    transported, and therefore Plaintiffs and the California Perrigo CVS Health Medical Monitoring

    Class members have sustained a significantly increased risk of developing serious and potentially

    fatal Subject Cancers and have suffered and will suffer economic losses and expenses associated

    with ongoing medical monitoring.

           9323. The latent injuries from which Plaintiffs and the California Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9324. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9325. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9326. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9327. Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Perrigo CVS Health Medical


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    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Perrigo CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           9328. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9329. Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Perrigo CVS Health Medical Monitoring Class members will

    continue to face an unreasonable risk of injury and disability and remain undiagnosed.

         2. Indiana

                                          COUNT 551:
             Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

           9330. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9331. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9332. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9333. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9334.   Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

    use.

            9335. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            9336. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            9337. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Indiana Perrigo CVS

    Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9338. The latent injuries from which Plaintiffs and the Indiana Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9339. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9340. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9341. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Perrigo

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9342. Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Perrigo CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9343. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Perrigo CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9344. Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 552:
               Negligence – Failure to Warn Consumers Through the FDA – Indiana

           9345. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9346. This cause of action is brought by Rebecca Sizemore, individually and on behalf

    of the Indiana Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9347. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9348. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            9349. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law

    based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

    2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

    2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed

    by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

    establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

    … in providing the warnings or instructions.”)

            9350. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

    where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

    reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

    they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

    safety-related information and publicize risks to the medical community.


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           9351. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           9352. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           9353. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.

           9354. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Indiana Perrigo CVS

    Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9355. The latent injuries from which Plaintiffs and the Indiana Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           9356. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9357. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9358. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Perrigo

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9359. Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Perrigo CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9360. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Perrigo CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9361. Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class have an


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    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 553:
                                 Negligent Product Containers – Indiana

            9362. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9363. This cause of action is brought by Rebecca Sizemore, individually and on behalf

    of the Indiana Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9364. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9365. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-



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    Specific Allegations) as to Defendant.

           9366. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           9367. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9368. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Indiana Perrigo

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9369. The latent injuries from which Plaintiffs and the Indiana Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9370. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9371. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           9372. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Perrigo

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9373. Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Perrigo CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9374. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Perrigo CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9375. Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 554:
                           Negligent Storage and Transportation – Indiana



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            9376. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9377. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9378. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9379. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9380. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            9381. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            9382. As a direct and proximate result of these systematic failures, excessive levels of


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    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           9383. The latent injuries from which Plaintiffs and the Indiana Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9384. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9385. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9386. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Perrigo

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9387. Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will


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    facilitate the diagnoses of Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Perrigo CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9388. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Perrigo CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9389. Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Perrigo CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

         3. Ohio

                                            COUNT 555:
       Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

           9390. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9391. This cause of action is brought by Chris Troyan and Patricia Hess, individually and

    on behalf of the Ohio Perrigo CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9392. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9393. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9394.   Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

    adequate warning of the risks associated with its product that it knows or should have known about,

    and a duty to provide adequate post-marketing warnings or instructions.

            9395. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on each Ranitidine-Containing Product were inadequate because The expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

            9396. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the


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    use of the Ranitidine-Containing Products.

           9397. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Ohio Perrigo CVS

    Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9398. The latent injuries from which Plaintiffs and the Ohio Perrigo CVS Health Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9399. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9400. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9401. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Perrigo

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9402. Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class members


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    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Perrigo CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9403. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Perrigo CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9404. Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 556:
                                Negligent Product Containers – Ohio

           9405. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9406. This cause of action is brought by Chris Troyan and Patricia Hess,individually and

    on behalf of the Ohio Perrigo CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9407. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9408. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9409. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            9410. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            9411. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Ohio Perrigo CVS

    Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            9412. The latent injuries from which Plaintiffs and the Ohio Perrigo CVS Health Medical


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    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9413. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9414. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9415. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Perrigo

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9416. Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Perrigo CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9417. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Perrigo CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            9418. Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 557:
                              Negligent Storage and Transportation – Ohio

            9419. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9420. This cause of action is brought by Chris Troyan and Patricia Hess, individually and

    on behalf of the Ohio Perrigo CVS Health Medical Monitoring Class (for the purposes of this



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    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

           9421. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9422. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           9423. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           9424. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9425. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.

           9426. The latent injuries from which Plaintiffs and the Ohio Perrigo CVS Health Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.


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           9427. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9428. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9429. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Perrigo

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9430. Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Perrigo CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9431. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Perrigo CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9432. Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class have an


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    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Perrigo CVS Health Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          4. West Virginia

                                        COUNT 558:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

            9433. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9434. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9435. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.



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           9436. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           9437. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9438. Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

           9439. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9440. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9441. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the West Virginia Perrigo

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9442. The latent injuries from which Plaintiffs and the West Virginia Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers


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    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9443. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9444. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9445. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Perrigo CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9446. Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Perrigo CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Perrigo

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           9447. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Perrigo CVS Health Medical Monitoring Class members in writing


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    that they may require frequent medical monitoring for the purpose of diagnosis.

            9448. Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                           COUNT 559:
                 Medical Monitoring – Negligent Product Containers – West Virginia

            9449. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9450. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9451. The allegations in this Count apply to Perrigo during the time period in which it



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    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9452. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           9453. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9454. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           9455. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9456. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the West Virginia

    Perrigo CVS Health Medical Monitoring Class members have sustained a significantly increased

    risk of developing the Subject Cancers and have suffered and will suffer economic losses and

    expenses associated with ongoing medical monitoring.

           9457. The latent injuries from which Plaintiffs and the West Virginia Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9458. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9459. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9460. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Perrigo CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9461. Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Perrigo CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Perrigo

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           9462. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Perrigo CVS Health Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           9463. Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing


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    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                          COUNT 560:
            Medical Monitoring – Negligent Storage and Transportation – West Virginia

            9464. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9465. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Perrigo CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9466. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9467. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.



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           9468. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9469. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

           9470. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9471. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the West Virginia Perrigo CVS Health Medical

    Monitoring Class members have sustained a significantly increased risk of developing the Subject

    Cancers and have suffered and will suffer economic losses and expenses associated with ongoing

    medical monitoring.

           9472. The latent injuries from which Plaintiffs and the West Virginia Perrigo CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9473. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           9474. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9475. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Perrigo CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9476. Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Perrigo CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Perrigo

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           9477. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Perrigo CVS Health Medical Monitoring Class members in writing

    that they may require frequent medical monitoring for the purpose of diagnosis.

           9478. Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Perrigo CVS Health Medical Monitoring


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    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.


    W. CAUSES OF ACTION AGAINST DEFENDANT PERRIGO WITH RESPECT TO
       PRIVATE-LABEL PRODUCT RITE AID RANITIDINE

            9479. Plaintiffs identified in the table below bring claims against Defendant Perrigo with

    respect to private-label product Rite Aid ranitidine on behalf of themselves and their respective

    State Perrigo Rite Aid Medical Monitoring Class under the laws of their respective states of usage.

    Each Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

              Plaintiff Name                                    State

              Golbenaz Bakhtiar                                 CA
              Richard Obrien                                    CA
                                          COUNT 561:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            9480. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.



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           9481. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Perrigo Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

           9482. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9483. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           9484.    Under California law, manufacturers, including Defendant, have a duty of

    reasonable care to warn of particular risks that are known or knowable in light of the generally

    recognized and prevailing scientific and medical knowledge available at the time of manufacture

    and distribution.

           9485. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9486. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9487. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Perrigo

    Rite Aid Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer


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    economic losses and expenses associated with ongoing medical monitoring.

           9488. The latent injuries from which Plaintiffs and the California Perrigo Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9489. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9490. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9491. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9492. Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.


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           9493. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9494. Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 562:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           9495. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of




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    ranitidine and injury), as if fully stated herein.

            9496. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Perrigo Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9497. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9498. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            9499. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

            9500. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

            9501. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

            9502. Because federal law requires generic drug labels to largely match branded drug


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    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           9503. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           9504. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Perrigo

    Rite Aid Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9505. The latent injuries from which Plaintiffs and the California Perrigo Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9506. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9507. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9508. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9509. Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9510. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9511. Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.


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                                              COUNT 563:
                                Negligent Product Containers – California

            9512. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9513. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Perrigo Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9514. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9515. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9516. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            9517. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.



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           9518. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Perrigo

    Rite Aid Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9519. The latent injuries from which Plaintiffs and the California Perrigo Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9520. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9521. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9522. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9523. Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will


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    facilitate the diagnoses of Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9524. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9525. Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 564:
                          Negligent Storage and Transportation – California

           9526. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9527. This cause of action is brought by Golbenaz Bakhtiar and Richard Obrien,

    individually and on behalf of the California Perrigo Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9528. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9529. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9530. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            9531. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            9532. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.


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           9533. The latent injuries from whiyou mch Plaintiffs and the California Perrigo Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9534. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9535. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9536. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9537. Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9538. Accordingly, Defendant should be required to establish a medical monitoring


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    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9539. Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

    X. CAUSES OF ACTION AGAINST DEFENDANT PERRIGO WITH RESPECT TO
       PRIVATE-LABEL PRODUCT WAL-ZAN RANITIDINE

           9540. Plaintiffs identified in the table below bring claims against Defendant Perrigo with

    respect to private-label product Wal-Zan ranitidine on behalf of themselves and their respective

    State Perrigo Wal-Zan Medical Monitoring Class under the laws of their respective states of usage.

    Each Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Tangie Sims                                       AZ
             Golbenaz Bakhtiar                                 CA
             Jonathan Ferguson                                 CA
             Jeffrey Pisano                                    CO
             Ronald Ragan                                      CO


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                 Ronald Ragis                                    FL



            1.       Arizona

                                          COUNT 565:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            9541. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9542. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).

            9543. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9544. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9545.     Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

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    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           9546. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9547. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9548. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Arizona Perrigo Wal-

    Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9549. The latent injuries from which Plaintiffs and the Arizona Perrigo Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9550. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           9551. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9552. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Perrigo

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9553. Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9554. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9555. Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 566:
                                 Negligent Product Containers – Arizona

            9556. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9557. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).

            9558. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9559. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9560. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.



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           9561. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9562. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Arizona Perrigo

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9563. The latent injuries from which Plaintiffs and the Arizona Perrigo Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9564. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9565. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9566. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Perrigo

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           9567. Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9568. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9569. Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 567:
                          Negligent Storage and Transportation – Arizona

           9570. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9571. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).

            9572. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9573. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9574. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            9575. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            9576. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal


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    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.

           9577. The latent injuries from which Plaintiffs and the Arizona Perrigo Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9578. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9579. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9580. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Perrigo

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9581. Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Perrigo Wal-Zan Medical


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    Monitoring Class members as frequently and appropriately as necessary.

           9582. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9583. Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

           2.     California

                                         COUNT 568:
           Negligence – Failure to Warn Through Proper Expiration Dates – California

           9584. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to



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    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9585. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Perrigo Wal-Zan Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9586. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9587. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9588.   Under California law, manufacturers, like Defendant, have a duty of reasonable

    care to warn of particular risks that are known or knowable in light of the generally recognized

    and prevailing scientific and medical knowledge available at the time of manufacture and

    distribution.

            9589. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            9590. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            9591. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Perrigo


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    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9592. The latent injuries from which Plaintiffs and the California Perrigo Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9593. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9594. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9595. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9596. Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9597. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9598. Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 569:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           9599. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to



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    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9600. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Perrigo Wal-Zan Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9601. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9602. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            9603. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

            9604. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

            9605. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.


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           9606. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           9607. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           9608. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Perrigo

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9609. The latent injuries from which Plaintiffs and the California Perrigo Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9610. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           9611. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9612. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9613. Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9614. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9615. Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class members will continue to


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    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 570:
                                Negligent Product Containers – California

            9616. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9617. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Perrigo Wal-Zan Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9618. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9619. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9620. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            9621. Defendant breached this duty by failing to utilize containers that would minimize



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    the NDMA produced in its Ranitidine-Containing Products.

           9622. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Perrigo

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9623. The latent injuries from which Plaintiffs and the California Perrigo Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9624. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9625. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9626. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9627. Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class members


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    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9628. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9629. Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 571:
                         Negligent Storage and Transportation – California

           9630. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before



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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9631. This cause of action is brought by Golbenaz Bakhtiar and Jonathan Ferguson,

    individually and on behalf of the California Perrigo Wal-Zan Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9632. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9633. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9634. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            9635. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            9636. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with


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    ongoing medical monitoring.

           9637. The latent injuries from which Plaintiffs and the California Perrigo Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9638. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9639. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9640. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9641. Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.


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           9642. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9643. Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

           3.      Colorado

                                         COUNT 572:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

           9644. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of



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    ranitidine and injury), as if fully stated herein.

            9645. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9646. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9647. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9648. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9649.   Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

            9650. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            9651. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            9652. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Colorado Perrigo


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    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9653. The latent injuries from which Plaintiffs and the Colorado Perrigo Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9654. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9655. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9656. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Perrigo Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9657. Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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    the medical monitoring and diagnosis of Plaintiffs and the Colorado Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9658. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9659. Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 573:
                  Medical Monitoring – Negligent Product Containers – Colorado

           9660. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to



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    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9661. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9662. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9663. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9664. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9665. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            9666. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            9667. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Colorado Perrigo

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

            9668. The latent injuries from which Plaintiffs and the Colorado Perrigo Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9669. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9670. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9671. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Perrigo Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9672. Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9673. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            9674. Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 574:
               Medical Monitoring – Negligent Storage and Transportation – Colorado

            9675. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9676. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).



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           9677. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9678. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           9679. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9680. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           9681. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9682. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           9683. The latent injuries from which Plaintiffs and the Colorado Perrigo Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally


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    recommended in the absence of exposure to this risk of harm.

           9684. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9685. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9686. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Perrigo Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9687. Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9688. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Perrigo Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.


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    Plaintiffs and the Colorado Perrigo Wal-Zan Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Colorado Perrigo Wal-Zan Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

            4.      Florida

                                         COUNT 575:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

            9689. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9690. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).

            9691. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           9692. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           9693. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9694.    Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           9695. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9696. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9697. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Florida Perrigo Wal-

    Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9698. The latent injuries from which Plaintiffs and the Florida Perrigo Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not


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    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9699. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9700. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9701. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Perrigo

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9702. Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9703. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Perrigo Wal-Zan Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            9704. Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 576:
                     Medical Monitoring – Negligent Product Containers – Florida

            9705. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9706. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).



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           9707. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.         The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9708. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           9709. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9710. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           9711. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9712. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Florida Perrigo

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9713. The latent injuries from which Plaintiffs and the Florida Perrigo Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9714. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9715. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9716. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Perrigo

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9717. Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9718. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Perrigo Wal-Zan Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9719. Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 577:
                Medical Monitoring – Negligent Storage and Transportation – Florida

            9720. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9721. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Perrigo Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).

            9722. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9723. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.



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           9724. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9725. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           9726. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9727. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           9728. The latent injuries from which Plaintiffs and the Florida Perrigo Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9729. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           9730. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9731. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Perrigo

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9732. Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Perrigo Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9733. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Perrigo Wal-Zan Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9734. Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Perrigo Wal-Zan Medical Monitoring Class members will continue to


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    face an unreasonable risk of injury and disability and remain undiagnosed.

    Y. CAUSES OF ACTION AGAINST DEFENDANT PERRIGO WITH RESPECT TO
       PRIVATE-LABEL PRODUCT EQUATE RANITIDINE

           9735. Plaintiffs identified in the table below bring claims against Defendant Perrigo with

    respect to private-label product Equate ranitidine on behalf of themselves and their respective State

    Perrigo Equate Medical Monitoring Class under the laws of their respective states of usage. Each

    Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Tangie Sims                                       AZ
             Jonathan Ferguson                                 CA
             Jeffrey Pisano                                    CO
             Ronald Ragan                                      CO
             Michael Tomlinson                                 FL
             Mynetta Hastings                                  WV



        1. Arizona

                                          COUNT 578:
             Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

           9736. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory


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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9737. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Perrigo Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).

            9738. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9739. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9740.   Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

            9741. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            9742. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            9743. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Arizona Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9744. The latent injuries from which Plaintiffs and the Arizona Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9745. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9746. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9747. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Perrigo

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9748. Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9749. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9750. Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 579:
                               Negligent Product Containers – Arizona

           9751. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9752. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Perrigo Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).

            9753. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9754. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9755. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            9756. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            9757. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Arizona Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            9758. The latent injuries from which Plaintiffs and the Arizona Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals


                                                         2008
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    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9759. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9760. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9761. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Perrigo

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9762. Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9763. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all Arizona Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            9764. Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 580:
                            Negligent Storage and Transportation – Arizona

            9765. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9766. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Perrigo Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Perrigo (for the purposes of this Count, “Defendant”).

            9767. The allegations in this Count apply to Perrigo during the time period in which it



                                                         2010
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    was manufacturing Ranitidine-Containing Products.        The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

           9768. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           9769. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           9770. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9771. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.

           9772. The latent injuries from which Plaintiffs and the Arizona Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9773. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


                                                      2011
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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9774. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9775. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Perrigo

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9776. Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9777. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9778. Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Perrigo Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

         2. California

                                          COUNT 581:
            Negligence – Failure to Warn Through Proper Expiration Dates – California

            9779. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9780. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9781. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9782. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.



                                                         2013
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           9783.    Under California law, manufacturers, including Defendant, have a duty of

    reasonable care to warn of particular risks that are known or knowable in light of the generally

    recognized and prevailing scientific and medical knowledge available at the time of manufacture

    and distribution.

           9784. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9785. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9786. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9787. The latent injuries from which Plaintiffs and the California Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9788. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9789. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9790. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9791. Plaintiffs and the California Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9792. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9793. Plaintiffs and the California Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 582:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            9794. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9795. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9796. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9797. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.



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           9798. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           9799. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           9800. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           9801. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           9802. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           9803. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Perrigo


                                                       2017
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    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9804. The latent injuries from which Plaintiffs and the California Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9805. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9806. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9807. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9808. Plaintiffs and the California Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for


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    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9809. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9810. Plaintiffs and the California Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 583:
                             Negligent Product Containers – California

           9811. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to



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    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9812. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9813. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9814. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9815. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            9816. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            9817. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            9818. The latent injuries from which Plaintiffs and the California Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9819. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9820. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9821. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9822. Plaintiffs and the California Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9823. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Equate Medical Monitoring Class members in writing that they


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    may require frequent medical monitoring for the purpose of diagnosis.

            9824. Plaintiffs and the California Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Perrigo Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 584:
                           Negligent Storage and Transportation – California

            9825. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9826. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9827. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in



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    paragraphs 172-84, which are incorporated by reference.

           9828. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           9829. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           9830. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9831. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the California Perrigo Equate Medical Monitoring Class

    members have sustained a significantly increased risk of developing serious and potentially fatal

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.

           9832. The latent injuries from which Plaintiffs and the California Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9833. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           9834. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9835. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9836. Plaintiffs and the California Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9837. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Perrigo Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9838. Plaintiffs and the California Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the California Perrigo Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

          5. Colorado

                                         COUNT 585:
       Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

            9839. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9840. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Perrigo Equate Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9841. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9842. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9843. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased



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    their risk of developing serious and potentially fatal Subject Cancers.

           9844.    Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

           9845. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9846. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9847. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Colorado Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9848. The latent injuries from which Plaintiffs and the Colorado Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9849. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9850. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9851. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9852. Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9853. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9854. Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 586:
                   Medical Monitoring – Negligent Product Containers – Colorado

            9855. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9856. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Perrigo Equate Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9857. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9858. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           9859. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           9860. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           9861. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9862. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Colorado Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9863. The latent injuries from which Plaintiffs and the Colorado Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9864. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9865. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           9866. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9867. Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9868. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9869. Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.




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                                           COUNT 587:
               Medical Monitoring – Negligent Storage and Transportation – Colorado

            9870. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9871. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Perrigo Equate Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9872. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9873. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9874. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9875. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.



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           9876. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           9877. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and

    transported, and therefore Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           9878. The latent injuries from which Plaintiffs and the Colorado Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9879. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9880. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9881. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado


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    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9882. Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9883. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

    Plaintiffs and the Colorado Perrigo Equate Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Colorado Perrigo Equate Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

         6. Florida

                                         COUNT 588:
        Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida



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            9884. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9885. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9886. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9887. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9888. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9889.   Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.


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           9890. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9891. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9892. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Florida Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9893. The latent injuries from which Plaintiffs and the Florida Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9894. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9895. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9896. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Perrigo

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9897. Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9898. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9899. Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.


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                                           COUNT 589:
                     Medical Monitoring – Negligent Product Containers – Florida

            9900. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9901. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9902. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9903. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9904. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9905. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.



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           9906. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9907. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Florida Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9908. The latent injuries from which Plaintiffs and the Florida Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9909. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9910. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9911. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Perrigo

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           9912. Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9913. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9914. Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 590:
               Medical Monitoring – Negligent Storage and Transportation – Florida

           9915. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9916. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9917. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9918. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9919. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9920. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            9921. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            9922. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products Defendant manufactured, stored, and


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    transported, and therefore Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class

    members have sustained a significantly increased risk of developing the Subject Cancers and have

    suffered and will suffer economic losses and expenses associated with ongoing medical

    monitoring.

           9923. The latent injuries from which Plaintiffs and the Florida Perrigo Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           9924. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9925. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9926. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Perrigo

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           9927. Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Perrigo Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           9928. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Perrigo Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           9929. Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Perrigo Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

         7. West Virginia

                                        COUNT 591:
    Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West Virginia

           9930. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9931. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9932. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9933. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            9934. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9935.   Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

            9936. Defendant breached this duty for its Ranitidine-Containing Products.            The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            9937. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the


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    use of the Ranitidine-Containing Products.

           9938. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the West Virginia Perrigo

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9939. The latent injuries from which Plaintiffs and the West Virginia Perrigo Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9940. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9941. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9942. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9943. Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class members


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    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Perrigo Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.

           9944. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Perrigo Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9945. Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                          COUNT 592:
                Medical Monitoring – Negligent Product Containers – West Virginia

           9946. Plaintiffs incorporate by reference each allegation set forth in paragraphs 41–153

    (describing Generic Manufacturer Defendants), 432–37 (describing the regulatory framework for

    generics), 322–42 (describing the recall of ranitidine), 385–97 (describing the breakdown of

    ranitidine before ingestion), 405–08 (describing Defendant’s knowledge), 409–31 (describing the



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    regulatory framework for drug manufacturers), and 455–66 (describing Plaintiffs’ use of ranitidine

    and injury) as if fully stated herein.

            9947. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9948. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9949. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9950. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            9951. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9952. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.


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           9953. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           9954. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the West Virginia

    Perrigo Equate Medical Monitoring Class members have sustained a significantly increased risk

    of developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           9955. The latent injuries from which Plaintiffs and the West Virginia Perrigo Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9956. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9957. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9958. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.


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           9959. Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Perrigo Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.

           9960. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Perrigo Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9961. Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                         COUNT 593:
           Medical Monitoring – Negligent Storage and Transportation – West Virginia

           9962. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 745-95 (describing Perrigo-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9963. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Perrigo Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Perrigo (for the purposes of this Count, “Defendant”).

            9964. The allegations in this Count apply to Perrigo during the time period in which it

    was manufacturing Ranitidine-Containing Products.           The relevant time period is alleged in

    paragraphs 172-84, which are incorporated by reference.

            9965. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            9966. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            9967. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

            9968. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            9969. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic


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    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    West Virginia Perrigo Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           9970. The latent injuries from which Plaintiffs and the West Virginia Perrigo Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           9971. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9972. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9973. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Perrigo Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           9974. Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring


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    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Perrigo Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.

           9975. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Perrigo Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           9976. Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Perrigo Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

    Z. CAUSES OF ACTION AGAINST DEFENDANT STRIDES WITH RESPECT TO
       PRIVATE-LABEL PRODUCT CVS HEALTH RANITIDINE

           9977. Plaintiffs identified in the table below bring claims against Defendant Strides with

    respect to private-label product CVS Health ranitidine on behalf of themselves and their respective

    State Strides CVS Health Medical Monitoring Class under the laws of their respective states of

    usage. Each Plaintiff incorporates by reference the allegations specific to them from Section III.B

    and the allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage



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              Richard Obrien                                    CA
              Rebecca Sizemore                                  IN
              Chris Troyan                                      OH
              Patricia Hess                                     OH
              Mynetta Hastings                                  WV


          1. California

                                            COUNT 594:
              Negligence – Failure to Warn Through Proper Expiration Dates – California

            9978. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9979. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            9980. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            9981. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-


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    Specific Allegations) as to Defendant.

           9982.   Under California law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           9983. Defendant breached this duty for its Ranitidine-Containing Products.              The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           9984. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           9985. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Strides

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           9986. The latent injuries from which Plaintiffs and the California Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.


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           9987. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           9988. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           9989. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           9990. Plaintiffs and the California Strides CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           9991. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           9992. Plaintiffs and the California Strides CVS Health Medical Monitoring Class have an


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    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT _595:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            9993. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            9994. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            9995. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            9996. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-



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    Specific Allegations) as to Defendant.

           9997. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           9998. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           9999. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           10000. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           10001. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           10002. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Strides

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10003. The latent injuries from which Plaintiffs and the California Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10004. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10005. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10006. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           10007. Plaintiffs and the California Strides CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides CVS Health Medical


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    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           10008. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           10009. Plaintiffs and the California Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 596:
                              Negligent Product Containers – California

           10010. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10011. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10012. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10013. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10014. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            10015. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            10016. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Strides

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            10017. The latent injuries from which Plaintiffs and the California Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for


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    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10018. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10019. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10020. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           10021. Plaintiffs and the California Strides CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           10022. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)


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    notifying all California Strides CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            10023. Plaintiffs and the California Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 597:
                           Negligent Storage and Transportation – California

            10024. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10025. This cause of action is brought by Richard Obrien, individually and on behalf of

    the California Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10026. The allegations in this Count apply to Strides during the time period in which it was



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    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           10027. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           10028. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           10029. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           10030. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    California Strides CVS Health Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           10031. The latent injuries from which Plaintiffs and the California Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10032. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10033. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10034. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           10035. Plaintiffs and the California Strides CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides CVS

    Health Medical Monitoring Class members as frequently and appropriately as necessary.

           10036. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           10037. Plaintiffs and the California Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          2. Indiana

                                            COUNT 598:
               Negligence – Failure to Warn Through Proper Expiration Dates – Indiana

            10038. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10039. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10040. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10041. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.



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           10042. Under Indiana law, a manufacturer, including Defendant, has a duty of reasonable

    care to provide adequate instructions for safe use and a warning as to dangers inherent in improper

    use.

           10043. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           10044. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10045. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Indiana Strides CVS

    Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10046. The latent injuries from which Plaintiffs and the Indiana Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10047. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10048. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10049. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Strides

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10050. Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Strides CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10051. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Strides CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10052. Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 599:
                  Negligence – Failure to Warn Consumers Through the FDA – Indiana

            10053. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10054. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10055. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10056. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            10057. Indiana law allows a plaintiff to “state[] plausible claims for relief under state law



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    based on an alleged failure to warn the FDA.” McAfee v. Medtronic, Inc., No. 1:12-CV-417 RLM,

    2015 WL 3617755, at *5 (N.D. Ind. June 4, 2015), on reconsideration, No. 1:12-CV-417 RLM,

    2016 WL 2588807 (N.D. Ind. May 5, 2016) (rejecting causation). Failures to warn are governed

    by negligence principles. Ind. Code Ann. § 34-20-2-2. (“[T]he party making the claim must

    establish that the manufacturer or seller failed to exercise reasonable care under the circumstances

    … in providing the warnings or instructions.”)

           10058. Defendant ultimately owed this duty to warn to the consumer, not the FDA. Yet,

    where warning an end consumer or her doctor directly is difficult, manufacturers “fail[] to exercise

    reasonable care under the circumstances,” Ind. Code Ann. § 34-20-2-2, in warning consumers if

    they fail to warn the FDA, which is a third party that is reasonably expected to pool and share

    safety-related information and publicize risks to the medical community.

           10059. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           10060. Because federal law requires generic drug labels to largely match branded drug

    labels, Defendant was not able to warn consumers directly of the cancer risks of ranitidine. Rather

    than warning the FDA as a third party who would disseminate information to the public, Generic

    Manufacturer Defendants failed to warn anyone through any medium.

           10061. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting. This

    failure breached their duty of reasonable care.


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           10062. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Indiana Strides CVS

    Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10063. The latent injuries from which Plaintiffs and the Indiana Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10064. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10065. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10066. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Strides

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10067. Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will


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    facilitate the diagnoses of Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Strides CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10068. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Strides CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10069. Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 600:
                                 Negligent Product Containers – Indiana

           10070. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10071. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10072. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10073. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10074. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            10075. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            10076. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Indiana Strides

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            10077. The latent injuries from which Plaintiffs and the Indiana Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)


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    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10078. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10079. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10080. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Strides

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10081. Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Strides CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10082. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing


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    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Strides CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

            10083. Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 601:
                               Negligent Storage and Transportation – Indiana

            10084. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10085. This cause of action is brought by Rebecca Sizemore, individually and on behalf of

    the Indiana Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).



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           10086. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           10087. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           10088. Under Indiana law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           10089. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           10090. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Indiana Strides CVS Health Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           10091. The latent injuries from which Plaintiffs and the Indiana Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10092. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10093. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10094. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Indiana Strides

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10095. Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Indiana Strides CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10096. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Indiana Strides CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10097. Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Indiana Strides CVS Health Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

          3. Ohio

                                              COUNT 602:
         Strict Products Liability – Failure to Warn Through Proper Expiration Dates – Ohio

            10098. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10099. This cause of action is brought by Chris Troyan and Patricia Hess, individually and

    on behalf of the Ohio Strides CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10100. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10101. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-



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    Specific Allegations) as to Defendant.

           10102. Under Ohio law, a manufacturer, including Defendant, has the duty to provide an

    adequate warning of the risks associated with its product that it knows or should have known about,

    and a duty to provide adequate post-marketing warnings or instructions.

           10103. Defendant breached this duty for its Ranitidine-Containing Products. The warnings

    included on each Ranitidine-Containing Product were inadequate because The expiration date

    improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe when consumed

    long after manufacture, when in fact the products degraded into NDMA over time.

           10104. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10105. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Ohio Strides CVS

    Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10106. The latent injuries from which Plaintiffs and the Ohio Strides CVS Health Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.


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           10107. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10108. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10109. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Strides

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10110. Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Strides CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10111. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Strides CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10112. Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class have an


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    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 603:
                                     Negligent Product Containers – Ohio

            10113. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10114. This cause of action is brought by Chris Troyan and Patricia Hess, individually and

    on behalf of the Ohio Strides CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10115. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10116. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-



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    Specific Allegations) as to Defendant.

           10117. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           10118. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           10119. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Ohio Strides CVS

    Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10120. The latent injuries from which Plaintiffs and the Ohio Strides CVS Health Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10121. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10122. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           10123. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Strides

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10124. Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Strides CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10125. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Strides CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10126. Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 604:
                              Negligent Storage and Transportation – Ohio



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            10127. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10128. This cause of action is brought by Chris Troyan and Patricia Hess, individually and

    on behalf of the Ohio Strides CVS Health Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10129. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10130. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            10131. Under Ohio law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            10132. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            10133. As a direct and proximate result of these systematic failures, excessive levels of


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    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and thefore Plaintiffs and the Ohio

    Strides CVS Health Medical Monitoring Class members have sustained a significantly increased

    risk of developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10134. The latent injuries from which Plaintiffs and the Ohio Strides CVS Health Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10135. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10136. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10137. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Ohio Strides

    CVS Health Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10138. Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will


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    facilitate the diagnoses of Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Ohio Strides CVS Health Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10139. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Ohio Strides CVS Health Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10140. Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Ohio Strides CVS Health Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.


         4. West Virginia
                                           COUNT 605:
           Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West
                                             Virginia

           10141. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before


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    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10142. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10143. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10144. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10145. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10146. Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

            10147. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            10148. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs


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    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10149. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the West Virginia Strides

    CVS Health Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           10150. The latent injuries from which Plaintiffs and the West Virginia Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10151. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10152. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10153. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Strides CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.


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           10154. Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Strides CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           10155. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           10156. Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                             COUNT 606:
                   Medical Monitoring – Negligent Product Containers – West Virginia

           10157. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10158. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10159. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10160. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10161. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10162. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

            10163. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            10164. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the West Virginia


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    Strides CVS Health Medical Monitoring Class members have sustained a significantly increased

    risk of developing the Subject Cancers and have suffered and will suffer economic losses and

    expenses associated with ongoing medical monitoring.

           10165. The latent injuries from which Plaintiffs and the West Virginia Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10166. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10167. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10168. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Strides CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           10169. Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Strides CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust


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    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.

           10170. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           10171. Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                           COUNT 607:
             Medical Monitoring – Negligent Storage and Transportation – West Virginia

           10172. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10173. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides CVS Health Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10174. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10175. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            10176. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10177. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.

            10178. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            10179. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    West Virginia Strides CVS Health Medical Monitoring Class members have sustained a

    significantly increased risk of developing the Subject Cancers and have suffered and will suffer


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    economic losses and expenses associated with ongoing medical monitoring.

           10180. The latent injuries from which Plaintiffs and the West Virginia Strides CVS Health

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10181. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10182. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10183. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Strides CVS Health Medical Monitoring Class members will suffer long-term injuries, disease,

    and losses without adequate treatment will be significantly reduced.

           10184. Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the West Virginia Strides CVS Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides

    CVS Health Medical Monitoring Class members as frequently and appropriately as necessary.


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           10185. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides CVS Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           10186. Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the West Virginia Strides CVS Health Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

    AA. CAUSES OF ACTION AGAINST DEFENDANT STRIDES WITH RESPECT TO
      PRIVATE-LABEL PRODUCT RITE AID RANITIDINE

           10187. Plaintiffs identified in the table below bring claims against Defendant Strides with

    respect to private-label product Rite Aid ranitidine on behalf of themselves and their respective

    State Strides Rite Aid Medical Monitoring Class under the laws of their respective states of usage.

    Each Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Golbenaz Bakhtiar                                 CA
             Richard Obrien                                    CA



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                                            COUNT 608:
              Negligence – Failure to Warn Through Proper Expiration Dates – California

            10188. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10189. This cause of action is brought by Golbenaz Bakhitar and Richard Obrien,

    individually and on behalf of the California Strides Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10190. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10191. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10192. Under California law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.


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           10193. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           10194. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10195. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Strides

    Rite Aid Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10196. The latent injuries from which Plaintiffs and the California Strides Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10197. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10198. The available monitoring regime is reasonably necessary according to


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    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10199. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10200. Plaintiffs and the California Strides Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10201. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10202. Plaintiffs and the California Strides Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.


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                                             COUNT 609:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            10203. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10204. This cause of action is brought by Golbenaz Bakhitar and Richard Obrien,

    individually and on behalf of the California Strides Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10205. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10206. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            10207. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,



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    429, as modified (Feb. 3, 2014).

           10208. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           10209. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           10210. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           10211. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           10212. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Strides

    Rite Aid Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10213. The latent injuries from which Plaintiffs and the California Strides Rite Aid


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    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10214. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10215. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10216. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10217. Plaintiffs and the California Strides Rite Aid Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides Rite Aid Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides Rite

    Aid Health Medical Monitoring Class members as frequently and appropriately as necessary.

           10218. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Rite Aid Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

            10219. Plaintiffs and the California Strides Rite Aid Health Medical Monitoring Class have

    an inadequate remedy at law in that monetary damages alone cannot compensate them for the risk

    of long-term physical and economic losses due to ingesting Ranitidine-Containing Products.

    Without a court-approved medical monitoring program as described herein, or established by the

    Court, Plaintiffs and the California Strides Rite Aid Health Medical Monitoring Class members

    will continue to face an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 610:
                                  Negligent Product Containers – California

            10220. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10221. This cause of action is brought by Golbenaz Bakhitar and Richard Obrien,

    individually and on behalf of the California Strides Rite Aid Medical Monitoring Class (for the



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    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

           10222. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           10223. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           10224. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           10225. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           10226. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Strides

    Rite Aid Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10227. The latent injuries from which Plaintiffs and the California Strides Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10228. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10229. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10230. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10231. Plaintiffs and the California Strides Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10232. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10233. Plaintiffs and the California Strides Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                               COUNT 611:
                             Negligent Storage and Transportation – California

            10234. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10235. This cause of action is brought by Golbenaz Bakhitar and Richard Obrien,

    individually and on behalf of the California Strides Rite Aid Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10236. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10237. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            10238. Under California law, a pharmaceutical manufacturer, including Defendant, has a



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    duty to exercise reasonable care in transporting and storing products.

           10239. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           10240. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    California Strides Rite Aid Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           10241. The latent injuries from which Plaintiffs and the California Strides Rite Aid

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10242. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10243. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           10244. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Rite Aid Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10245. Plaintiffs and the California Strides Rite Aid Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Rite Aid Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Rite Aid Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10246. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Rite Aid Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10247. Plaintiffs and the California Strides Rite Aid Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Rite Aid Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

    BB. CAUSES OF ACTION AGAINST DEFENDANT STRIDES WITH RESPECT TO
       PRIVATE-LABEL PRODUCT WAL-ZAN RANITIDINE



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           10248. Plaintiffs identified in the table below bring claims against Defendant Strides with

    respect to private-label product Wal-Zan ranitidine on behalf of themselves and their respective

    State Strides Wal-Zan Medical Monitoring Class under the laws of their respective states of usage.

    Each Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage

             Tangie Sims                                       AZ
             Golbenaz Bakhitar                                 CA
             Jonathan Ferguson                                 CA
             Jeffrey Pisano                                    CO
             Ronald Ragan                                      CO
             Ronald Ragis                                      FL



         1. Arizona

                                            COUNT 612:
               Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

           10249. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of



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    ranitidine and injury), as if fully stated herein.

            10250. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Strides Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10251. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10252. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10253. Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

            10254. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            10255. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            10256. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Arizona Strides Wal-

    Zan Medical Monitoring Class members have sustained a significantly increased risk of


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    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10257. The latent injuries from which Plaintiffs and the Arizona Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10258. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10259. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10260. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10261. Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Wal-Zan Medical


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    Monitoring Class members as frequently and appropriately as necessary.

           10262. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10263. Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                              COUNT 613:
                                 Negligent Product Containers – Arizona

           10264. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of



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    ranitidine and injury), as if fully stated herein.

            10265. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Strides Wal-Zan Medical Monitoring Class(for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10266. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10267. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10268. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            10269. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            10270. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Arizona Strides

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            10271. The latent injuries from which Plaintiffs and the Arizona Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the


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    absence of exposure to this risk of harm.

           10272. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10273. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10274. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10275. Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10276. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.


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            10277. Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                               COUNT 614:
                              Negligent Storage and Transportation – Arizona

            10278. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10279. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Strides Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10280. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.



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           10281. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           10282. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           10283. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           10284. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Arizona Strides Wal-Zan Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           10285. The latent injuries from which Plaintiffs and the Arizona Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10286. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           10287. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10288. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10289. Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10290. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10291. Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Wal-Zan Medical Monitoring Class members will continue to


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    face an unreasonable risk of injury and disability and remain undiagnosed.

          2. California

                                            COUNT 615:
              Negligence – Failure to Warn Through Proper Expiration Dates – California

            10292. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10293. This cause of action is brought by Golbenaz Bakhitar and Jonathan Ferguson,

    individually and on behalf of the California Strides Wal-Zan Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10294. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10295. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10296. Under California law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light



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    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           10297. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           10298. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10299. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Strides

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10300. The latent injuries from which Plaintiffs and the California Strides Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10301. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           10302. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10303. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10304. Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10305. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10306. Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 616:
       Strict Products Liability – Failure to Warn Consumers Through the FDA – California

            10307. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10308. This cause of action is brought by Golbenaz Bakhitar and Jonathan Ferguson,

    individually and on behalf of the California Strides Wal-Zan Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10309. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10310. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            10311. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes



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    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

           10312. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

           10313. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community

    when they learned of these risks.

           10314. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           10315. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           10316. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Strides

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer


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    economic losses and expenses associated with ongoing medical monitoring.

           10317. The latent injuries from which Plaintiffs and the California Strides Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10318. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10319. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10320. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10321. Plaintiffs and the California Strides Wal-Zan Health Medical Monitoring Class

    members seek creation of a Court-supervised, defendant-funded medical monitoring program

    which will facilitate the diagnoses of Plaintiffs and the California Strides Wal-Zan Health Medical

    Monitoring Class members for the Subject Cancers. The medical monitoring should include a trust

    fund to pay for the medical monitoring and diagnosis of Plaintiffs and the California Strides Wal-

    Zan Health Medical Monitoring Class members as frequently and appropriately as necessary.


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           10322. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Wal-Zan Health Medical Monitoring Class members in writing that

    they may require frequent medical monitoring for the purpose of diagnosis.

           10323. Plaintiffs and the California Strides Wal-Zan Health Medical Monitoring Class

    have an inadequate remedy at law in that monetary damages alone cannot compensate them for

    the risk of long-term physical and economic losses due to ingesting Ranitidine-Containing

    Products. Without a court-approved medical monitoring program as described herein, or

    established by the Court, Plaintiffs and the California Strides Wal-Zan Health Medical Monitoring

    Class members will continue to face an unreasonable risk of injury and disability and remain

    undiagnosed.

                                              COUNT 617:
                                Negligent Product Containers – California

           10324. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of



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    ranitidine and injury), as if fully stated herein.

            10325. This cause of action is brought by Golbenaz Bakhitar and Jonathan Ferguson,

    individually and on behalf of the California Strides Wal-Zan Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10326. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10327. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10328. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            10329. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            10330. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Strides

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

            10331. The latent injuries from which Plaintiffs and the California Strides Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally


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    recommended in the absence of exposure to this risk of harm.

           10332. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10333. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10334. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10335. Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10336. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.


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            10337. Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                               COUNT 618:
                             Negligent Storage and Transportation – California

            10338. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10339. This cause of action is brought by Golbenaz Bakhitar and Jonathan Ferguson,

    individually and on behalf of the California Strides Wal-Zan Medical Monitoring Class (for the

    purposes of this Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10340. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.



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           10341. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           10342. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           10343. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           10344. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    California Strides Wal-Zan Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           10345. The latent injuries from which Plaintiffs and the California Strides Wal-Zan

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10346. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.


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           10347. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10348. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10349. Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10350. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10351. Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Wal-Zan Medical Monitoring Class members will continue to


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    face an unreasonable risk of injury and disability and remain undiagnosed.

          3. Colorado

                                           COUNT 619:
         Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

            10352. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10353. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Strides Wal-Zan Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10354. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10355. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10356. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.



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           10357. Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

           10358. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           10359. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10360. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Colorado Strides Wal-

    Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           10361. The latent injuries from which Plaintiffs and the Colorado Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10362. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.


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    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10363. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10364. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10365. Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10366. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10367. Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without


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    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 620:
                     Medical Monitoring – Negligent Product Containers – Colorado

            10368. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10369. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Strides Wal-Zan Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10370. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10371. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10372. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased



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    their risk of developing serious and potentially fatal Subject Cancers.

           10373. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           10374. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           10375. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Colorado Strides

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           10376. The latent injuries from which Plaintiffs and the Colorado Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10377. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10378. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           10379. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10380. Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10381. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10382. Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 621:
                Medical Monitoring – Negligent Storage and Transportation – Colorado



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            10383. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10384. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Strides Wal-Zan Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10385. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10386. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            10387. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10388. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            10389. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and


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    humidity.

           10390. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Colorado Strides Wal-Zan Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           10391. The latent injuries from which Plaintiffs and the Colorado Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10392. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10393. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10394. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.


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           10395. Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10396. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Strides Wal-Zan Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

    Plaintiffs and the Colorado Strides Wal-Zan Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Colorado Strides Wal-Zan Medical Monitoring Class members will continue to face an

    unreasonable risk of injury and disability and remain undiagnosed.

         4. Florida

                                           COUNT 622:
          Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

           10397. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory



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    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10398. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Strides Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10399. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10400. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10401. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10402. Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

            10403. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe


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    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           10404. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10405. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Florida Strides Wal-

    Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           10406. The latent injuries from which Plaintiffs and the Florida Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10407. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10408. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.


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           10409. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10410. Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10411. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Wal-Zan Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10412. Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 623:
                     Medical Monitoring – Negligent Product Containers – Florida



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            10413. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10414. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Strides Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10415. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10416. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10417. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10418. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

            10419. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.


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           10420. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Florida Strides

    Wal-Zan Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10421. The latent injuries from which Plaintiffs and the Florida Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10422. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10423. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10424. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10425. Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will


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    facilitate the diagnoses of Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Wal-Zan Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10426. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Wal-Zan Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10427. Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 624:
                 Medical Monitoring – Negligent Storage and Transportation – Florida

           10428. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify



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    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10429. This cause of action is brought by Ronald Ragis, individually and on behalf of the

    Florida Strides Wal-Zan Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10430. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10431. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            10432. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10433. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

            10434. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            10435. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Florida Strides Wal-Zan Medical Monitoring Class members have sustained a significantly


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    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           10436. The latent injuries from which Plaintiffs and the Florida Strides Wal-Zan Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10437. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10438. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10439. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Wal-Zan Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10440. Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Wal-Zan Medical


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    Monitoring Class members as frequently and appropriately as necessary.

           10441. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Wal-Zan Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10442. Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Strides Wal-Zan Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

    CC. CAUSES OF ACTION AGAINST DEFENDANT STRIDES WITH RESPECT TO
      PRIVATE-LABEL PRODUCT EQUATE RANITIDINE

           10443. Plaintiffs identified in the table below bring claims against Defendant Strides with

    respect to private-label product Equate ranitidine on behalf of themselves and their respective State

    Strides Equate Medical Monitoring Class under the laws of their respective states of usage. Each

    Plaintiff incorporates by reference the allegations specific to them from Section III.B and the

    allegations set forth in Section VI, supra, into their respective claims below.

             Plaintiff Name                                    State of Usage
             Tangie Sims                                       AZ
             Jonathan Ferguson                                 CA
             Jeffrey Pisano                                    CO


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              Ronald Ragan                                      CO
              Michael Tomlinson                                 FL
              Mynetta Hastings                                  WV



          1. Arizona

                                            COUNT 625:
               Negligence – Failure to Warn Through Proper Expiration Dates – Arizona

            10444. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10445. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Strides Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10446. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10447. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.


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           10448. Under Arizona law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           10449. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           10450. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10451. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Arizona Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10452. The latent injuries from which Plaintiffs and the Arizona Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10453. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10454. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10455. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10456. Plaintiffs and the Arizona Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10457. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Strides Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10458. Plaintiffs and the Arizona Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 626:
                                   Negligent Product Containers – Arizona

            10459. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10460. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Strides Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10461. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10462. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           10463. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

           10464. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           10465. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Arizona Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10466. The latent injuries from which Plaintiffs and the Arizona Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10467. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10468. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10469. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides


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    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10470. Plaintiffs and the Arizona Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10471. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Strides Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10472. Plaintiffs and the Arizona Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 627:
                            Negligent Storage and Transportation – Arizona

           10473. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77



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    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10474. This cause of action is brought by Tangie Sims, individually and on behalf of the

    Arizona Strides Equate Medical Monitoring Class (for the purposes of this Count, “Plaintiffs”),

    against Strides (for the purposes of this Count, “Defendant”).

            10475. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10476. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            10477. Under Arizona law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            10478. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            10479. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic


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    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Arizona Strides Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           10480. The latent injuries from which Plaintiffs and the Arizona Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10481. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10482. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10483. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Arizona Strides

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10484. Plaintiffs and the Arizona Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Arizona Strides Equate Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Arizona Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10485. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Arizona Strides Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10486. Plaintiffs and the Arizona Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Arizona Strides Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

         2. California
                                           COUNT 628:
             Negligence – Failure to Warn Through Proper Expiration Dates – California

           10487. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory


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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10488. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10489. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10490. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10491. Under California law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

            10492. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            10493. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            10494. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10495. The latent injuries from which Plaintiffs and the California Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10496. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10497. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10498. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10499. Plaintiffs and the California Strides Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Equate Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10500. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10501. Plaintiffs and the California Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                            COUNT 629:
      Strict Products Liability – Failure to Warn Consumers Through the FDA – California

           10502. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10503. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10504. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10505. Plaintiffs incorporate herein by reference Paragraphs 907-36 (Additional Count-

    Specific Allegations) as to Defendant.

            10506. Under California law, manufacturers, including Defendant, bear “a duty to convey

    warnings to a third party that can reasonably be expected to warn the consumer,” which includes

    “a requirement to file adverse event reports with the FDA if that is the only available method to

    warn doctors and consumers,” pursuant to Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413,

    429, as modified (Feb. 3, 2014).

            10507. This duty to warn, owed by Defendant, is ultimately owed to the consumer, not the

    FDA. Yet, where warning an end consumer or her doctor directly is difficult, manufacturers may

    fulfill their state law duty to warn by informing the FDA, which is a third party that is reasonably

    expected to pool and share safety-related information and publicize risks to the medical

    community.

            10508. The FDA was reasonably expected to disseminate this information. No speculation

    is necessary on this point, because the FDA in fact did warn consumers and the medical community


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    when they learned of these risks.

           10509. Because federal law requires generic drug labels to largely match branded drug

    labels, see 21 C.F.R. § 314.94(a), Defendant was not able to warn consumers directly of the cancer

    risks of NDMA in ranitidine. Rather than warning the FDA as a third party who would disseminate

    information to the public, Defendant failed to warn anyone through any medium.

           10510. Specifically, Defendant failed to submit adverse event reports related to cancer for

    ranitidine, as required by FDA regulations. Defendant also failed to warn the FDA of the risks

    that ranitidine degrades into NDMA and causes cancer through other communication channels that

    were available, including ordinary correspondence with the agency or regulatory reporting.

           10511. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the California Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10512. The latent injuries from which Plaintiffs and the California Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10513. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           10514. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10515. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10516. Plaintiffs and the California Strides Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10517. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10518. Plaintiffs and the California Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the California Strides Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                                COUNT 630:
                                  Negligent Product Containers – California

            10519. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10520. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10521. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10522. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10523. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.



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           10524. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           10525. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the California Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing serious and potentially fatal Subject Cancers and have suffered and will suffer

    economic losses and expenses associated with ongoing medical monitoring.

           10526. The latent injuries from which Plaintiffs and the California Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10527. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10528. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10529. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.


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           10530. Plaintiffs and the California Strides Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10531. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10532. Plaintiffs and the California Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 631:
                           Negligent Storage and Transportation – California

           10533. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the



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    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10534. This cause of action is brought by Jonathan Ferguson, individually and on behalf

    of the California Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10535. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10536. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            10537. Under California law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

            10538. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

            10539. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    California Strides Equate Medical Monitoring Class members have sustained a significantly


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    increased risk of developing serious and potentially fatal Subject Cancers and have suffered and

    will suffer economic losses and expenses associated with ongoing medical monitoring.

           10540. The latent injuries from which Plaintiffs and the California Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10541. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10542. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10543. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the California

    Strides Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10544. Plaintiffs and the California Strides Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the California Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the California Strides Equate Medical


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    Monitoring Class members as frequently and appropriately as necessary.

           10545. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all California Strides Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10546. Plaintiffs and the California Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the California Strides Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.


         3. Colorado

                                           COUNT 632:
         Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Colorado

           10547. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to


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    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10548. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Strides Equate Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10549. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10550. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10551. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10552. Under Colorado law, a manufacturer, including Defendant, has a duty of

    reasonable care to provide adequate warnings or instructions for use that adequately inform the

    user of any specific risk of harm that may be involved in any intended or reasonably expected use.

            10553. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

            10554. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

            10555. As a direct and proximate result of Defendant’s failure to provide an adequate


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    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Colorado Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           10556. The latent injuries from which Plaintiffs and the Colorado Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10557. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10558. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10559. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Strides

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10560. Plaintiffs and the Colorado Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Strides Equate Medical Monitoring Class


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    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10561. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Strides Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10562. Plaintiffs and the Colorado Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Strides Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                           COUNT 633:
                    Medical Monitoring – Negligent Product Containers – Colorado

           10563. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory



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    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10564. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Strides Equate Medical Monitoring Class (for the purposes of this

    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10565. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10566. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

            10567. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10568. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in choosing and making the containers for its products.

            10569. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

            10570. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Colorado Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

            10571. The latent injuries from which Plaintiffs and the Colorado Strides Equate Medical


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    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10572. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10573. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10574. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Strides

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10575. Plaintiffs and the Colorado Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10576. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Strides Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            10577. Plaintiffs and the Colorado Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Colorado Strides Equate Medical Monitoring Class members will continue to

    face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 634:
                 Medical Monitoring – Negligent Storage and Transportation – Colorado

            10578. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10579. This cause of action is brought by Jeffrey Pisano and Ronald Ragan, individually

    and on behalf of the Colorado Strides Equate Medical Monitoring Class (for the purposes of this



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    Count, “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

           10580. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           10581. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

           10582. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           10583. Under Colorado law, a pharmaceutical manufacturer, including Defendant, has a

    duty to exercise reasonable care in transporting and storing products.

           10584. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           10585. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Colorado Strides Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           10586. The latent injuries from which Plaintiffs and the Colorado Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of


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    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10587. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10588. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10589. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Colorado Strides

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10590. Plaintiffs and the Colorado Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Colorado Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Colorado Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10591. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Colorado Strides Equate Medical Monitoring Class members in writing that they may


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    require frequent medical monitoring for the purpose of diagnosis.

    Plaintiffs and the Colorado Strides Equate Medical Monitoring Class have an inadequate remedy

    at law in that monetary damages alone cannot compensate them for the risk of long-term physical

    and economic losses due to ingesting Ranitidine-Containing Products. Without a court-approved

    medical monitoring program as described herein, or established by the Court, Plaintiffs and the

    Colorado Strides Equate Medical Monitoring Class members will continue to face an unreasonable

    risk of injury and disability and remain undiagnosed.

          4. Florida

                                           COUNT 635:
          Medical Monitoring – Failure to Warn Through Proper Expiration Dates – Florida

            10592. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10593. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10594. The allegations in this Count apply to Strides during the time period in which it was



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    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           10595. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

           10596. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           10597. Under Florida law, pharmaceutical manufacturers, including Defendant, have a

    duty of reasonable care to adequately warn of a particular risk that was known or knowable in light

    of the generally recognized and prevailing best scientific and medical knowledge available at the

    time of manufacture and distribution.

           10598. Defendant breached this duty for its Ranitidine-Containing Products.               The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           10599. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10600. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the Florida Strides Equate

    Medical Monitoring Class members have sustained a significantly increased risk of developing the

    Subject Cancers and have suffered and will suffer economic losses and expenses associated with

    ongoing medical monitoring.

           10601. The latent injuries from which Plaintiffs and the Florida Strides Equate Medical


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    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10602. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10603. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10604. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10605. Plaintiffs and the Florida Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10606. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be


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    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

            10607. Plaintiffs and the Florida Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Strides Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 636:
                       Medical Monitoring – Negligent Product Containers – Florida

            10608. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10609. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Strides Equate Medical Monitoring Class (for the purposes of this Count,



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    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

           10610. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

           10611. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.

           10612. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           10613. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in choosing and making the containers for its products.

           10614. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           10615. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the Florida Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           10616. The latent injuries from which Plaintiffs and the Florida Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.


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           10617. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10618. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10619. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10620. Plaintiffs and the Florida Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10621. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10622. Plaintiffs and the Florida Strides Equate Medical Monitoring Class have an


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    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the Florida Strides Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 637:
                  Medical Monitoring – Negligent Storage and Transportation – Florida

            10623. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10624. This cause of action is brought by Michael Tomlinson, individually and on behalf

    of the Florida Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10625. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10626. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-



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    Specific Allegations) as to Defendant.

           10627. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           10628. Under Florida law, a pharmaceutical manufacturer, including Defendant, has a duty

    to exercise reasonable care in transporting and storing products.

           10629. Defendant breached this duty by failing to implement or enforce policies to ensure

    its Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           10630. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    Florida Strides Equate Medical Monitoring Class members have sustained a significantly increased

    risk of developing the Subject Cancers and have suffered and will suffer economic losses and

    expenses associated with ongoing medical monitoring.

           10631. The latent injuries from which Plaintiffs and the Florida Strides Equate Medical

    Monitoring Class members suffer require specialized testing (with resultant treatment) that is not

    generally given to the public at large. The available monitoring regime is specific for individuals

    exposed to products known to significantly increase the risk of the Subject Cancers because of

    ingesting Ranitidine-Containing Products and is different from that normally recommended in the

    absence of exposure to this risk of harm.

           10632. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the


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    development of, and health effects associated with, the Subject Cancers.

           10633. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10634. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the Florida Strides

    Equate Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

           10635. Plaintiffs and the Florida Strides Equate Medical Monitoring Class members seek

    creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the Florida Strides Equate Medical Monitoring Class

    members for the Subject Cancers. The medical monitoring should include a trust fund to pay for

    the medical monitoring and diagnosis of Plaintiffs and the Florida Strides Equate Medical

    Monitoring Class members as frequently and appropriately as necessary.

           10636. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all Florida Strides Equate Medical Monitoring Class members in writing that they may

    require frequent medical monitoring for the purpose of diagnosis.

           10637. Plaintiffs and the Florida Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,


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    Plaintiffs and the Florida Strides Equate Medical Monitoring Class members will continue to face

    an unreasonable risk of injury and disability and remain undiagnosed.

          5. West Virginia

                                            COUNT 638:
            Medical Monitoring – Failure to Warn Through Proper Expiration Dates – West
                                              Virginia

            10638. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10639. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10640. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10641. Plaintiffs incorporate herein by reference Paragraphs 880-906 (Additional Count-

    Specific Allegations) as to Defendant.

            10642. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased


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    their risk of developing serious and potentially fatal Subject Cancers.

           10643. Under West Virginia law, a manufacturer, including Defendant, has the duty to

    provide an adequate warning of the risks of its products if it is reasonably foreseeable that the

    product would be unreasonably dangerous if distributed without a particular warning.

           10644. Defendant breached this duty for its Ranitidine-Containing Products.             The

    expiration date improperly instructed Plaintiffs that its Ranitidine-Containing Products were safe

    when consumed long after manufacture, when in fact the products degraded into NDMA over time.

           10645. Plaintiffs or their doctors would have read and heeded these warnings had they been

    included with the Ranitidine-Containing Products. Had such warnings been provided, Plaintiffs

    would have been made aware of the risks of developing the Subject Cancers associated with the

    use of the Ranitidine-Containing Products.

           10646. As a direct and proximate result of Defendant’s failure to provide an adequate

    warning of the risks of its Ranitidine-Containing Products, Plaintiffs and the West Virginia Strides

    Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           10647. The latent injuries from which Plaintiffs and the West Virginia Strides Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10648. The medical monitoring regime should include, but is not limited to, baseline tests


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    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10649. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10650. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Strides Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10651. Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Strides Equate Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.

           10652. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10653. Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of


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    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                                             COUNT 639:
                   Medical Monitoring – Negligent Product Containers – West Virginia

            10654. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10655. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10656. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10657. Plaintiffs incorporate herein by reference Paragraphs 937-50 (Additional Count-

    Specific Allegations) as to Defendant.



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           10658. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

           10659. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in choosing and making the containers for its products.

           10660. Defendant breached this duty by failing to utilize containers that would minimize

    the NDMA produced in its Ranitidine-Containing Products.

           10661. As a direct and proximate result of this failure, excessive levels of NDMA built up

    in Defendant’s Ranitidine-Containing Products, and therefore Plaintiffs and the West Virginia

    Strides Equate Medical Monitoring Class members have sustained a significantly increased risk of

    developing the Subject Cancers and have suffered and will suffer economic losses and expenses

    associated with ongoing medical monitoring.

           10662. The latent injuries from which Plaintiffs and the West Virginia Strides Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10663. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10664. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and


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    treatment of the Subject Cancers.

           10665. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia

    Strides Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10666. Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Strides Equate Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.

           10667. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10668. Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.




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                                            COUNT 640:
              Medical Monitoring – Negligent Storage and Transportation – West Virginia

            10669. Plaintiffs incorporate by reference each allegation set forth in paragraphs 25-77

    (describing Generic Prescription Manufacturer Defendants), 318-23 (describing the regulatory

    framework for generics), 185-249 (describing the recall of ranitidine), 254-91 (describing the

    breakdown of ranitidine after ingestion), 292-304 (describing the breakdown of ranitidine before

    ingestion), 305-16 (describing Defendant’s knowledge), 324-31 (describing failure to notify

    FDA), 332-59 (describing good manufacturing practices), 409–31 (describing the regulatory

    framework for drug manufacturers), 631-56 (describing Store-Brand Manufacturers’ failure to

    warn), 796-840 (describing Strides-specific allegations), and 975-85 (describing Plaintiffs’ use of

    ranitidine and injury), as if fully stated herein.

            10670. This cause of action is brought by Mynetta Hastings, individually and on behalf of

    the West Virginia Strides Equate Medical Monitoring Class (for the purposes of this Count,

    “Plaintiffs”), against Strides (for the purposes of this Count, “Defendant”).

            10671. The allegations in this Count apply to Strides during the time period in which it was

    manufacturing Ranitidine-Containing Products. The relevant time period is alleged in paragraphs

    172-84, which are incorporated by reference.

            10672. Plaintiffs incorporate herein by reference Paragraphs 951-74 (Additional Count-

    Specific Allegations) as to Defendant.

            10673. Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

    their risk of developing serious and potentially fatal Subject Cancers.

            10674. Under West Virginia law, a pharmaceutical manufacturer, including Defendant, has

    a duty to exercise reasonable care in transporting and storing products.



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           10675. Defendant breached this duty by failing to implement or enforce policies to ensure

    Ranitidine-Containing Products and ranitidine API remained free from excessive heat and

    humidity.

           10676. As a direct and proximate result of these systematic failures, excessive levels of

    NDMA built up in the Ranitidine-Containing Products each Brand-Name and Generic

    Manufacturer Defendant manufactured, stored, and transported, and therefore Plaintiffs and the

    West Virginia Strides Equate Medical Monitoring Class members have sustained a significantly

    increased risk of developing the Subject Cancers and have suffered and will suffer economic losses

    and expenses associated with ongoing medical monitoring.

           10677. The latent injuries from which Plaintiffs and the West Virginia Strides Equate

    Medical Monitoring Class members suffer require specialized testing (with resultant treatment)

    that is not generally given to the public at large. The available monitoring regime is specific for

    individuals exposed to products known to significantly increase the risk of the Subject Cancers

    because of ingesting Ranitidine-Containing Products and is different from that normally

    recommended in the absence of exposure to this risk of harm.

           10678. The medical monitoring regime should include, but is not limited to, baseline tests

    and diagnostic examination that will assist in early detection and diagnosing the Subject Cancers.

    This diagnostic program will facilitate treatment and interventions that will mitigate the

    development of, and health effects associated with, the Subject Cancers.

           10679. The available monitoring regime is reasonably necessary according to

    contemporary scientific principles within the medical community specializing in the diagnosis and

    treatment of the Subject Cancers.

           10680. By monitoring and testing Plaintiffs, the risk that Plaintiffs and the West Virginia


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    Strides Equate Medical Monitoring Class members will suffer long-term injuries, disease, and

    losses without adequate treatment will be significantly reduced.

           10681. Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class members

    seek creation of a Court-supervised, defendant-funded medical monitoring program which will

    facilitate the diagnoses of Plaintiffs and the West Virginia Strides Equate Medical Monitoring

    Class members for the Subject Cancers. The medical monitoring should include a trust fund to pay

    for the medical monitoring and diagnosis of Plaintiffs and the West Virginia Strides Equate

    Medical Monitoring Class members as frequently and appropriately as necessary.

           10682. Accordingly, Defendant should be required to establish a medical monitoring

    program that includes, among other things: (a) establishing a trust fund, in an amount to be

    determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

    Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

    notifying all West Virginia Strides Equate Medical Monitoring Class members in writing that they

    may require frequent medical monitoring for the purpose of diagnosis.

           10683. Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class have an

    inadequate remedy at law in that monetary damages alone cannot compensate them for the risk of

    long-term physical and economic losses due to ingesting Ranitidine-Containing Products. Without

    a court-approved medical monitoring program as described herein, or established by the Court,

    Plaintiffs and the West Virginia Strides Equate Medical Monitoring Class members will continue

    to face an unreasonable risk of injury and disability and remain undiagnosed.

                              X.    PRAYER FOR RELIEF

           Plaintiffs, on behalf of themselves and the proposed State Classes, respectfully request that

    the Court:


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           A.      Determine that this action may be maintained as a class action pursuant to Federal

    Rules of Civil Procedure 23(a), 23(b)(2), 23(b)(3), and/or 23(c)(4), direct that reasonable notice of

    this action be given to the State Classes, appoint Plaintiffs as named representatives of their

    respective State Classes, and appoint Plaintiffs’ counsel as Class Counsel;

           B.      Enter judgment against Defendants and in favor of Plaintiffs and the State Classes;

           C.      Grant equitable relief in the form of a medical monitoring program to be funded by

    Defendants;

           D.      Award Plaintiffs and the State Classes their costs of suit, including reasonable

    attorneys’ fees, as provided by law;

           E.      Award any other relief that is deemed just and proper.



                                  XI.      JURY DEMAND

           Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs, on behalf of themselves and the

    State Classes, demand a trial by jury on all issues to triable.


    DATED: February 22, 2021




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                                         Respectfully submitted,

   /s/ Tracy A. Finken                               By: /s/ Robert C. Gilbert
   Tracy A. Finken                                   Robert C. Gilbert, FBN 561861
   Email: tfinken@anapolweiss.com                    Email: gilbert@kolawyers.com
   ANAPOL WEISS                                      KOPELOWITZ OSTROW FERGUSON
   One Logan Square                                  WEISELBERG GILBERT
   130 North 18th Street, Suite 1600                 2800 Ponce de Leon Boulevard, Suite 1100
   Philadelphia, PA 19103                            Coral Gables, FL 33134
   Tel: (215) 735-1130                               Tel: (305) 384-7269

   /s/ Michael L. McGlamry                           /s/ Adam Pulaski
   Michael L. McGlamry                               Adam Pulaski
   Email: efile@pmkm.com                             Email: adam@pulaskilawfirm.com
   POPE McGLAMRY, P.C.                               PULASKI KHERKHER, PLLC
   3391 Peachtree Road NE, Suite 300                 2925 Richmond Avenue, Suite 1725
   Atlanta, GA 30326                                 Houston, TX 77098
   Tel: (404) 523-7706                               Tel: (713) 664-4555

                                        Plaintiffs’ Co-Lead Counsel

   Rosemarie Riddell Bogdan                          Mark J. Dearman, FBN 0982407
   Email: Rosemarie.bogdan@1800law1010.com           Email: mdearman@rgrdlaw.com
   MARTIN, HARDING & MAZZOTTI                        ROBBINS GELLER RUDMAN & DOWD
   1222 Troy-Schenectady Road                        120 East Palmetto Park Road, Suite 500
   PO Box 15141                                      Boca Raton, FL 33432
   Albany, NY 12212                                  Tel.: (561) 750-3000
   Tel.: (518) 862-1200

   Elizabeth A. Fegan                                Marlene J. Goldenberg
   Email: beth@feganscott.com                        Email: mjgoldenberg@goldenberglaw.com
   FEGAN SCOTT, LLC                                  GOLDENBERG LAW, PLLC
   150 S. Wacker Dr., 24th Floor                     800 LaSalle Avenue, Suite 2150
   Chicago, IL 60606                                 Minneapolis, MN 55402
   Tel.: (312) 741-1019                              Tel.: (612) 333-4662

   Ashley Keller                                     Frederick Longer
   Email: ack@kellerlenkner.com                      Email: flonger@lfsblaw.com
   KELLER | LENKNER                                  LEVIN SEDRAN & BERMAN
   150 N. Riverside Plaza, Suite 4270                510 Walnut Street, Suite 500
   Chicago, IL 60606                                 Philadelphia, PA 19106
   Tel.: (312) 741-5222                              Tel.: (215) 592-1500



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   Roopal P. Luhana                        Francisco R. Maderal, FBN 0041481
   Email: luhana@chaffinluhana.com         Email: frank@colson.com
   CHAFFIN LUHANA LLP                      COLSON HICKS EIDSON
   600 Third Avenue, 12th Floor            255 Alhambra Circle, Penthouse
   New York, NY 10016                      Coral Gables, FL 33134
   Tel.: (888) 480-1123                    Tel.: (305) 476-7400

   Ricardo M. Martinez-Cid, FBN 383988     Lauren S. Miller
   Email: RMartinez-Cid@Podhurst.com       Email: lmiller@corywatson.com
   PODHURST ORSECK, P.A.                   CORY WATSON, P.C.
   SunTrust International Center           2131 Magnolia Ave S
   One S.E. 3rd Avenue, Suite 2300         Birmingham, AL 35205
   Miami, FL 33130                         Tel.: (205) 328-2200
   Tel.: (305) 358-2800

   Melanie H. Muhlstock                    Daniel A. Nigh, FBN 30905
   Email: mmuhlstock@yourlawyer.com        Email: dnigh@levinlaw.com
   PARKER WAICHMAN LLP                     LEVIN PAPANTONIO THOMAS
   6 Harbor Park DrivePort                 MITCHELL RAFFERTY & PROCTOR, P.A.
   Washington, NY 11050                    316 South Baylen Street, Suite 600
   Tel.: (516) 466-6500                    Pensacola, FL 32502
                                           Tel.: (888) 435-7001

   Carmen S. Scott                         Mikal C. Watts
   Email: cscott@motleyrice.com            Email: mcwatts@wattsguerra.com
   MOTLEY RICE LLC                         WATTS GUERRA LLP
   28 Bridgeside Blvd.                     4 Dominion Drive
   Mount Pleasant, SC 29464                Building 3, Suite 100
   Tel.: (843) 216-9160                    San Antonio, TX 78257
                                           Tel.: (800) 294-0055

   Sarah N. Westcot, FBN 1018272           Conlee S. Whiteley
   Email: swestcot@bursor.com              Email: c.whiteley@kanner-law.com
   BURSOR & FISHER, P.A.                   KANNER & WHITELEY, L.L.C.
   2665 S. Bayshore Drive, Suite 220       701 Camp Street
   Miami, FL 33133                         New Orleans, LA 70130
   Tel.: (305) 330-5512                    Tel.: (504) 524-5777

   Frank Woodson                           R. Brent Wisner
   Email: Frank.Woodson@BeasleyAllen.com   Email: rbwisner@baumhedlundlaw.com
   BEASLEY ALLEN LAW FIRM                  BAUM HEDLUND ARISTEI &
   218 Commerce Street                     GOLDMAN, P.C.
   Montgomery, AL 36104                    10940 Wilshire Boulevard, 17th Floor

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   Tel.: (334) 269-2343                           Los Angeles, CA 90024
                                                  Tel.: (310) 207-3233

                                     Plaintiffs’ Steering Committee
                          Plaintiffs’ Law and Briefing Committee Co-Chairs
                                       Plaintiffs’ Liaison Counsel

   Paige Boldt                                    Je Yon Jung
   Email: pboldt@wattsguerra.com                  Email: JJung@maylightfootlaw.com
   WATTS GUERRA LLP                               MAY LIGHTFOOT, PLLC
   5726 W. Hausman Rd., Ste. 119                  3200 Martin Luther King Jr. Avenue S.E.
   San Antonio, TX 78249                          3rd Floor
   Tel: (210) 447-0500                            Washington, DC 20032
                                                  Tel: (202) 918-1824

   Adam W. Krause                                 Nicola Larmond-Harvey, FBN 0105312
   Email: adam@krauseandkinsman.com               Email: nicola@saunderslawyers.com
   KRAUSE AND KINSMAN, LLC                        SAUNDERS & WALKER, P.A.
   4717 Grand Avenue, Suite 250                   3491 Gandy Boulevard North, Suite 200
   Kansas City, MO 64112                          Pinellas Park, FL 33781
   Tel: (816) 760-2700                            Tel: (727) 579-4500

   Bradford B. Lear
   Email: Lear@learwerts.com
   LEAR WERTS LLP
   103 Ripley Street
   Columbia, MO 65203
   Tel: (573) 875-1992

                           Plaintiffs’ Leadership Development Committee




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on February 22, 2021, I electronically filed the foregoing document

    with the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

    counsel of record or parties registered to receive CM/ECF Electronic Filings.



                                                                /s/ Robert C. Gilbert
                                                               ROBERT C. GILBERT




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